Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 1 of 348 PageID:
                                  60775




                       Exhibit 10
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 2 of 348 PageID:
                                  60776
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 3 of 348 PageID:
                                  60777
                                     2


    I.       BACKGROUND:

            I am certified by the American Board of Pathology in Anatomic Pathology, Clinical
    Pathology and Cytopathology. I received my medical degree from The Ohio State University
    College of Medicine in Columbus, Ohio. I completed my residency in Anatomic and Clinical
    Pathology at Massachusetts General Hospital, a Harvard Medical School teaching hospital in
    Boston, Massachusetts. Following my residency, I completed a two-year gynecologic and
    cytology fellowship as the Robert E. Scully Fellow in Pathology at Massachusetts General
    Hospital, named after Dr. Robert Scully, who was a giant in the field of gynecologic
    pathology. This fellowship was focused on gynecologic pathology, perinatal pathology, and
    cytopathology. I studied the causes and mechanisms of disease as part of my training, and
    studied gynecologic cancer and disease in depth during my fellowship training. To this day, I
    routinely follow the gynecologic pathology literature as part of my regular practice.

            I am currently a full partner in a private practice group, Commonwealth Pathology
    Partners PC. I have staff privileges at Massachusetts General Hospital, North Shore Medical
    Center (consisting of Salem Hospital in Salem, MA and Union Hospital in Lynn, MA) and
    Newton-Wellesley Hospital. I was hired by Commonwealth Pathology Partners PC to be the
    group’s gynecologic pathology expert. Although all of the anatomic pathologists in our group
    practice general anatomic pathology, our group employs fellowship-trained pathologists in
    many subspecialty areas of pathology. This means that I see the majority of gynecologic
    surgical pathology specimens from my hospital sites, and if another pathologist needs an
    opinion on a gynecologic case, I will review it. I also presently serve as the autopsy director at
    North Shore Medical Center. I regularly attend and participate in numerous multidisciplinary
    conferences at Massachusetts General Hospital at the Cancer Center site in Danvers, MA.

            Before entering private practice, I was a staff pathologist and Instructor of Pathology
    at Beth Israel Deaconess Medical Center (BIDMC), another Harvard Medical School teaching
    hospital. During my time at BIDMC, I performed specialty sign-out in gynecologic pathology,
    perinatal pathology and cytology. I was also served as the Associate Director of the
    Cytopathology Fellowship Program at BIDMC, served on numerous pathology department
    committees, and taught several courses at Harvard Medical School before I was recruited for
    my current position. My curriculum vitae is attached as Exhibit A. It further details these
    positions and the remainder of my work experience in this field. Exhibit B details the
    references cited in this report, as well as other materials and data I considered.

           I have been asked to provide an expert report regarding my opinions on the question of
    general causality in the case of talcum powder product use and ovarian cancer. All of my
    opinions stated below are held to a reasonable degree of medical and scientific certainty. I
    reserve the right to modify or change my opinion based on further documents or information
    that may be provided to me in the future.

           A pathologist is a physician who has completed medical school and a post-graduate
    residency in pathology (either clinical pathology, anatomic pathology, or both).Like me, many
    pathologists go on to complete fellowships following their education and residency.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 4 of 348 PageID:
                                  60778
                                     3


            Pathology is the study of disease; pathologists spend much of their time both in
    training and in daily practice studying the causes and presentations of disease. The years of
    medical training are of critical importance in daily practice; pathologists must make clinical
    assessments, based in part on medical and epidemiologic knowledge, about identification of
    causes, risk factors, clinical sequelae, morphologic, and genetic features of disease.

           In order to produce accurate diagnoses, pathologists must be knowledgeable about the
    medical, scientific, and epidemiologic evidence base. A knowledge of advancements in
    technologies applied to tissue samples must be continuously maintained. This involves not
    only maintaining current knowledge of the pathology literature, but also of the literature in
    various other fields such as oncology and other fields relevant to our practice.

            One of the tools used in the process of identifying talc particles in tissue is polarized
    light microscopy. Anatomic pathologists routinely use polarized light microscopy in clinical
    practice. As an example, one might use polarized light microscopy to find foreign material
    and explain an inflammatory reaction. The most common application in my practice is for
    identifying calcium oxalate crystals in breast biopsies done for radiologically identified
    calcifications. I estimate I use polarized light microscopy for this purpose about twice a
    month.

           In anatomic pathology, the pathologist not only needs to be aware of the numerous
    possible diagnoses, but also of the causes of diseases one may encounter in any given organ
    system. Coming to a diagnosis requires knowledge of the medical, scientific, and
    epidemiologic literature. Pathologists must be proficient in the current literature that informs
    and supports their conclusions.

            Ultimately, a pathologist’s diagnosis must make biological sense and must be
    supported by the weight of the available medical and scientific information. Not only must a
    particular case match the morphological characteristics of the diagnosis being made, but it
    must fit the clinical presentation, the patient history, and it must be consistent with what is
    known about the disease, including what is known about disease causation. These are the
    same medical and scientific information resources that I rely on for my opinions in this report.

           Thus, the work that I’ve done in this report is similar to what I do in my daily practice.
    My clinical practice requires ongoing familiarity with the same medical evidence that I have
    considered here.

             Ovarian cancer has an incidence rate of 11.8 per 100,000, and thus is relatively rare
    (Torre 2018). At my current private practice, I am the primary pathologist on approximately
    6,000 cases annually. This includes both surgical pathology and cytopathology cases. I would
    be diagnosing, ruling out, or looking for ovarian cancer or metastatic ovarian cancer (among
    other diseases), in approximately 2000 cases a year as a rough estimate. Of those, I estimate
    that I diagnose about 30 cases per year as ovarian tumors. Academic teaching hospitals
    generally tend to have a higher volume of ovarian tumor cases due to their large referral bases.
    While I was a staff pathologist at Beth Israel Deaconess Medical Center, the pathology
    department implemented a subspecialty sign-out schedule in 2010. In my last two years there,
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 5 of 348 PageID:
                                  60779
                                     4


     I signed out predominantly gynecologic surgical pathology in addition to cytopathology (in
     prior years the department had a general surgical pathology schedule, which meant all types of
     cases went to each anatomic pathologist regardless of subspecialty fellowship training).
     During that time, I estimate I signed out about 500 ovarian tumor cases per year. Similarly,
     while I was a fellow at Massachusetts General Hospital from 2005-2007, I independently
     signed out gynecologic surgical pathology and estimate I signed out approximately 500
     ovarian tumor cases per year. As a resident in anatomic pathology at Massachusetts General
     Hospital, I was exposed to hundreds of ovarian tumor cases both during my clinical case work
     and didactic sessions.

             Of note, during my time at Massachusetts General Hospital, both Drs. Robert Scully
     and Debra Bell were still working in the Department of Pathology. Dr. Scully was a co-author
     on Dr. Cramer’s first paper on talc and ovarian cancer in 1982, and Dr. Bell was a co-author
     on Drs. Harlow and Cramer’s 1992 paper on talc and ovarian cancer. Dr. Bell’s tenure as
     Cytopathology Director also overlapped with my time there. This meant that I spent
     significant time with Dr. Bell during my residency and fellowship. I was the primary author of
     a paper on ovarian serous borderline tumors in 2006, with Dr. Bell serving as a co-author. Dr.
     Scully, known as a giant in gynecologic pathology, was semi-retired by the time I started my
     pathology residency in 2001. However, he was at the hospital nearly every day and all of the
     gynecologic pathologists would still show him cases on a consult basis. Dr. Robert Young, the
     director of my fellowship program, was a Scully protege and continued his consulting
     practice. It is because of my training at Massachusetts General Hospital and my interactions
     with both Drs. Scully and Bell that I first became aware of their work on talc and ovarian
     cancer. Since then, I have maintained a professional interest in and have continued to monitor
     developments in the science regarding talcum powder exposure and ovarian cancer, and it has
     been the subject of professional discussions pre-dating this litigation.

             My billing rate is $500 per hour. I have previously testified in one matter, a deposition
     for the case of Julie Lagadimas, as Personal Rep. of the Estate of Dawn M. O'Toole v. R.J.
     Reynolds Tobacco Co., et al; Norfolk Super. Ct. Case No. 1582-CV-01474.


    II.       GENERAL CAUSATION OPINIONS:

           Based on assessing and weighing the totality of the evidence, and following the
     methodology set forth below, I hold the following opinions to a reasonable degree of scientific
     and medical certainty:

            1. Talcum powder products and their constituent minerals can reach the ovaries
     through migration up the genital tract from the perineum to the fallopian tubes and ovaries.
     There is also evidence that these products can be transported through the lymphatic system
     (Cramer 2007). Another biologically plausible pathway is inhalation leading to lymphatic
     transport to the ovaries (Suzuki 1991, Marchiori 2010, Frank 2011).

            2. Once reaching the ovaries, talcum powder products can cause chronic inflammation,
     can increase oxidative stress, and can reduce immune response. These are biologically
     plausible and likely mechanisms for ovarian cancer development and progression.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 6 of 348 PageID:
                                  60780
                                     5



            3. There are chemical similarities between asbestos and talc and there are striking
     pathological similarities between invasive serous ovarian cancer and mesothelioma.

             4. There is evidence that talcum powder products manufactured by Johnson & Johnson
     (Johnson’s Baby Powder and Shower to Shower) have contained and continue to contain
     asbestos, talc containing asbestiform fibers (fibrous talc), and heavy metals such as cobalt,
     nickel, and chromium. Other than cobalt, which has been identified as a “possible” carcinogen
     by the International Agency for Research on Cancer (IARC), all of these constituents have
     been identified as known carcinogens by IARC (IARC 1987, IARC 2012).

            5. For purposes of my opinions, I have reviewed and relied upon Dr. Crowley’s report
     regarding the fragrance chemical constituents in Johnson & Johnson talcum powder products
     (Crowley Report), as well as testing reports and analysis which include, Dr. Blount (Blount
     Report), Dr. Longo and Dr. Mark Rigler (Longo et al. Report), as well as the corporate
     testimonies of John Hopkins and Julie Pier. The presence of these constituents as part of
     talcum powder products provides additional evidence of biological plausibility for causation
     regarding talc and ovarian cancer.

              My opinions and conclusions are supported by epidemiologic studies showing an
     increased risk of ovarian cancer in women who used talcum powder products for perineal
     dusting, animal and in vitro studies, cellular biology studies, and pathological evidence which
     provides a highly biologically plausible mechanism for talc’s carcinogenicity. Based on the
     totality of evidence, it is my opinion to a reasonable degree of scientific and medical certainty,
     that perineal exposure to talcum powder products can cause epithelial ovarian cancer.


   III.           METHODOLOGY FOR ASSESSING CAUSATION AND PRINCIPLES OF
                  CAUSAL INFERENCE:

             For this report, I followed the same methodology that I use in my clinical practice and
     research, a method that is generally accepted in the medical community. I used the same
     standards for evaluating and interpreting medical and scientific evidence, and I followed
     generally accepted standards in science and medicine for assessing causation, including
     consideration of the Bradford Hill viewpoints.

             My causal assessment in this case is based on my background, training, education and
     experience as a physician and pathologist in interpreting, comparing, and weighing the totality
     of the available biologic, pathologic and epidemiologic evidence. I considered this evidence in
     the context of the Bradford Hill causation assessment viewpoints to reach an opinion
     regarding whether talcum powder products1 can cause epithelial ovarian cancer.

             Bradford Hill’s discussion of a causal relationship includes strength of association,
     consistency, coherence, specificity, temporality, biological plausibility, dose-response,
     experimental evidence, and analogy as different “viewpoints” of a causal relationship between

     1
         In my report, the term “talc” is used to refer to talcum powder products.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 7 of 348 PageID:
                                  60781
                                     6


    an exposure and a disease. Consideration of Bradford Hill’s approach to causation, which I
    discuss in more detail below, supports general causation of talcum powder product exposure
    and ovarian cancer. The Bradford Hill causation viewpoints are not a checklist of
    requirements, and it does not call for a mechanical application of his 9 considerations for
    assessing a causal relationship; rather, it is properly understood as providing a framework for
    an assessment of the totality of the evidence leading to a judgment about causation. As
    Bradford Hill himself put it, “What I do not believe…is that we can usefully lay down some
    hard-and-fast rule of evidence that must be obeyed….None of my nine viewpoints can bring
    indisputable evidence for or against the cause-and-effect hypothesis and none can be required
    as the sine qua non.” I agree with that statement.

            My methodology began with a systematic review of the medical literature to ascertain
    the relevant body of scientific evidence that I would consider. This included consideration of a
    large number of peer-reviewed publications reporting the results of human epidemiological
    studies investigating the association between talc exposure and ovarian cancer. I also
    considered and weighed other lines of evidence pertaining to explaining relevant, plausible,
    and likely mechanisms for how talcum powder product exposure causes ovarian cancer. This
    included carcinogenicity studies and data regarding talc and its constituents. Counsel for
    plaintiffs also provided me with medical literature to review, most of which overlapped with
    materials that I found independently through my own medical literature searches.

           Relevance is not simply a yes/no proposition; it is a variable that ranges from not
    relevant to directly relevant, and there is a range between these extremes. Only a careful
    review of the evidence leads to an assessment of the degree of relevance. Much of science
    involves extrapolation and generalization from one study to the general population. The
    assessment of relevance is based on the extent that the study results are pertinent to the issue
    under consideration.

            Human data is generally more relevant than animal data when assessing causation in
    humans. However, animal studies on exposure and disease are performed to advance our
    understanding of the human response to the same dose-adjusted exposure, and thus animal
    data is often relevant and important in that it can provide important information that forms
    part of the total evidence assessment. For example, if an exposure to talc in a rat causes
    inflammation, that could be relevant to assessing the effect in humans.

             All observational studies have limitations, requiring careful interpretation. Reliability
    determinations focus on the degree of confidence in a study’s internal validity. Reliability,
    like relevance, is not a yes/no proposition. For human epidemiologic observational studies,
    reliability assessments entail consideration of alternative explanations, including the role of
    chance and the likelihood that the results are affected by bias or confounding. Factors to be
    considered include: (1) Do we have reliable and appropriate measures of exposure; (2) do we
    have reliable assessments of disease; (3) do we have comparable groups for comparison; (4)
    have the investigators adjusted for potential confounding; (5) are the study results likely the
    result of a systematic bias; and, (6) does the study have enough exposures and sufficient
    power to detect an association if it exists?
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 8 of 348 PageID:
                                  60782
                                     7


            I also consider the type of study design and whether it is suited to the question being
    researched. There is a general hierarchy of evidence, which I also consider, but study type and
    its position in the hierarchy will only have value if the study is otherwise relevant and reliable.
    For example, a randomized clinical trial may be the “gold standard,” but one must still look at
    whether the study does in fact provide a relevant and reliable result for the issue of interest
    (here, whether talcum powder products are capable of causing ovarian cancer).

             In weighing the evidence other important considerations include: How does the study
    define, ascertain, and measure talc exposure? What type of study was it? Other considerations
    include: Has the study been or can it be replicated? Is the study result consistent with other
    studies? Has the study been published and has it been peer reviewed? Has the study been
    conducted on a relevant population? How does the study adjust for potential confounders and
    how does the study minimize or account for bias? Is there a potential for misclassification of
    exposure or disease based on the circumstances under which the data was gathered or
    analyzed? What is the potential that study results could be due to chance, bias, or
    confounding? Is there a statistical analysis, with a reported error rate? Were the results
    statistically significant, and, if not, are the results still important when considered with all
    other evidence from the perspective of overall consistency? What is the size of the study
    population? Is the study large enough to detect an association if it exists? Do the results make
    biologic sense? This is a list of examples of considerations for weighing the evidence, and is
    not intended to be comprehensive.

             In weighing the evidence, I also consider the reported “P values” and confidence
    intervals (the result of statistical calculations), along with the reported relative risks and odds
    ratios, and other details about each study as explained above and below. The concept of
    “statistical significance” is often misunderstood. In assessing any statistical evidence
    pertaining to medical issues, medical and scientific researchers note whether certain findings
    are “statistically significant.” However, findings that are not “statistically significant” are
    often statistically and clinically important and should be considered and weighed along with
    other available evidence in making causal assessments. The concept of statistical significance
    using arbitrary cutoffs has no relationship to the strength or direction of an estimated
    association, and may have very little relationship with the actual validity of a study’s results.
    A “P value” of 0.05 or less is often considered statistically significant, whereas 0.06 is not.2 I
    agree with the epidemiologists who consider this “cut-off” to be arbitrary, because, for
    example, the .01 difference between p = 0.05 and p. = 0.06 is essentially the difference
    between a 5% vs. 6% probability that the observed association is due to the role of chance.
    Even where a confidence interval includes “1,” depending on the values of the lower and
    upper bounds of the confidence interval, the most likely interpretation of the study results may
    be that there is an association between an exposure and the increased risk of a disease.




    2
      In epidemiologic studies, epidemiologists or statisticians calculate a P-value and/or 95% confidence
    interval (“CI”) for each risk estimate. Essentially, the P-value and the CI assess the likelihood that the
    observed association is due to the play of chance. A 95% CI means that if the same experiment is repeated
    many times, 95% of the time, the true value of the risk estimate will fall between the upper and lower
    bound of the CI. The narrower the CI, the more precise and reliable the risk estimate is considered to be.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 9 of 348 PageID:
                                  60783
                                     8


            Bradford Hill stated that “[n]o formal tests of significance can answer those questions
    [of causation]. Such tests can, and should, remind us of the effects of the play of chance…
    Beyond that, they contribute nothing…” Therefore, in weighing the evidence, I note the P-
    value and/or the confidence interval reported with a study’s results, and consider this to be an
    important piece of information for interpreting study results. I do not think it is appropriate to
    disregard results just because they do not meet an arbitrary statistical threshold, a view also
    held by the American Statistical Association (Wasserstein 2016).

            All observational studies have limitations, and the potential for “bias” and
    confounding. The presence of some bias is not generally a basis for scientists to disregard a
    study. Instead, when interpreting a study, biases must be considered and assessed for the
    likelihood that they may obscure, diminish, or magnify a study result, so the direction and
    magnitude of any bias must also be considered where possible. Some biases will have the
    effect of obscuring or understating an association between exposure and disease. Typically,
    study investigators will include as part of their published paper reporting the study results, the
    important strengths and limitations (including their assessment of the role of bias, chance and
    confounding) in the study.

              In weighing the evidence, I also consider the likelihood that the study may understate
    or fail to detect an association that did exist (a Type II error, often due to lack of “power”); or
    the converse, that a study result may overstate an association or find an association that is not
    real (Type 1 error). In interpreting studies that do not report an association with an increased
    risk of ovarian cancer, one issue is whether the results provide reliable evidence of the
    absence of an association. The only way for data to provide statistical reassurance about the
    absence of an association is, in the absence of any important systematic error in the data, for
    the upper bound of a reasonable confidence interval (such as a 95% confidence interval) to be
    close to the null value.

            When a study finds an association between exposure and disease, causation is one
    explanation, but it is not the only explanation. Other explanations must be considered and
    assessed. When an observational study results in a reported association between exposure and
    disease (i.e., relative risk or odds ratio greater than 1.0), and if alternative explanations (i.e.,
    the role of bias, confounding and chance) are considered and determined to be unlikely
    explanations, then causation remains a likely explanation, subject to consideration of the Hill
    viewpoints. In order to reach an opinion that an association is causal between talc exposure
    and ovarian cancer, I considered whether there are other potential explanations that better
    explain the relationship and which are consistent with the totality of the scientific evidence.
    This assessment is informed by considering how a specific study fits into the overall totality
    of the evidence.

            My opinions on causation are informed by a review of the strengths and limitations of
    the epidemiology evidence along with a review of other lines of evidence, including animal
    data and evidence on biological plausibility, likely mechanism(s) and dose/response. Thus, as
    part of my methodology, I have considered whether there is an alternative explanation to
    causation, based on an assessment of the totality of evidence. For example, I have considered
    whether the findings of the human epidemiologic studies are best explained by chance,
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 10 of 348 PageID:
                                  60784
                                     9


     confounding or bias, when viewed separately, and most importantly, when viewed as a whole,
     and in light of the several lines of experimental evidence discussed in this report.

             Based on my review of the totality of evidence, which I have weighed based on the
     considerations described above, I conclude with a high degree of medical and scientific
     certainty that exposure to talcum powder products can cause ovarian cancer. Causation is the
     best explanation for assimilating, assessing and weighing the totality of evidence. In reaching
     this opinion, I found it compelling that the epidemiologic studies that captured talc exposure
     consistently found an association between exposure to talc applied in the perineal area and
     epithelial ovarian cancer. The studies also provide persuasive evidence of a dose response
     effect, one of the viewpoints of causality discussed by Bradford Hill. There also is persuasive
     evidence of plausible and likely causal mechanisms for how talc exposure leads to ovarian
     cancer.

             The other explanations for an association (other than causation) are bias, chance and
     confounding, and “reverse causation.”3 While it may not possible when looking at a single
     study to determine whether a recall bias, or a selection bias, or a potential confounder is
     materially affecting the results, I find it helpful to consider how each study fits into the whole.
     Here, multiple studies have been conducted in different populations, by different
     investigators, using different methods, and using different study types, and yet there is general
     consistency in the results. The vast majority of studies and meta-analyses find an association
     with an increased risk of ovarian cancer. Under these circumstances, viewing the evidence as
     a whole, the likelihood that the consistent finding of an association can be explained by bias,
     or chance or confounding is highly unlikely, especially in light of the results of the other lines
     of evidence.

               Finally, as part of my methodology of considering alternative explanations for the
     evidence, I made an effort to understand the opinions of both the plaintiff and defense experts
     as concerning the issue of talc and causation of ovarian cancer. In that regard I have reviewed
     some plaintiff and defense expert testimony and reports, which are identified on my reference
     list. I also cited to the extensive medical literature I considered in connection with my work on
     this report.


    IV.        MECHANISM OF TALC’S CARCINOGENICITY

            There is a plausible and likely biologic mechanism whereby talc causes
     inflammation which can lead to epithelial ovarian cancer. Chronic inflammation has been
     causally linked to a number of cancers. The evidence of the relationship between
     inflammation and cancer is based on many studies, including studies supporting the

     3
      In epidemiology, reverse causation is when the exposure-disease process is reversed; In other words, the
     exposure causes the risk factor. Here, the question is whether exposure to talcum powder products causes
     ovarian cancer or whether ovarian cancer causes increased usage of talcum powder products? I am not
     aware of any evidence to support a conclusion that reverse causation is a plausible explanation for the
     association between exposure to talcum powder products and ovarian cancer. The principal presenting
     symptom is abdominal bloating, which does not appear to lead to more talc use.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 11 of 348 PageID:
                                  60785
                                     10


     conclusion that inflammation plays a role in increasing the risk of epithelial ovarian
     carcinoma. As stated by the National Cancer Institute, “Over time, chronic inflammation
     can cause DNA damage and lead to cancer. For example, people with chronic
     inflammatory bowel diseases…have an increased risk of colon cancer.” The time interval
     between inflammatory response and presentation of cancer can be many years. Animal
     studies, particularly, may show granulomatous or other inflammatory reactions while not
     necessarily demonstrating neoplastic changes due to the time interval required for cancer
     to develop.

              Studies have shown that pelvic inflammatory disease and endometriosis (known
     to cause an inflammatory reaction) increase the risk of ovarian cancer (Risch 1995,
     Brinton 1997, Ness 2000, Brinton 2004, Kobayashi 2007, Lin 2011, Zhou 2017). Genofre
     et al. (2007) showed that talc can induce inflammation. Ness (1999) reported that
     inflammation of ovarian epithelium is a risk factor for ovarian cancer.

             Inflammation has been implicated in carcinogenesis in several ways.
     Inflammation increases cytokines (Ness 1999). Shukla (2009) showed that nonfibrous
     talc can induce an inflammatory response that alters expression of genes in cancer
     pathways such as COX-2, ATF3, IL-6, and IL-8 in mesothelial cells. Further,
     inflammation increases oxidative stress (Ness 1999); Buz’Zard (2007) revealed that talc
     can induce oxidative stress and create reactive oxygen species (ROS), which in turn can
     induce ovarian neoplastic transformation in human ovarian cells. See also Saed (2017).


    V.        INFLAMMATION

             Inflammation can produce toxic oxidants such as ROS that can be a source of
     mutagenesis to DNA. This damage to DNA by ROS is now accepted as a major cause of
     cancer, and has been demonstrated in ovarian cancer (Senthil 2004, Saed 2010, Saed
     2017) as well as in breast and hepatocellular carcinoma (Waris 2006, Saed 2017). Talc
     exposure has been shown to cause a statistically significant increase in ROS in ovarian
     polymorphonuclear neutrophils (PMNs), resulting in a decrease in cell viability and
     neoplastic transformation of ovarian cells. The authors concluded that “talc increased
     proliferation, induced neoplastic transformation and increased ROS generation time-
     dependently in the ovarian cells.” (Buz’Zard 2007)

              Thus, it is accepted that inflammation causes oxidative stress. Oxidative stress leads to
     the formation of ROS and reactive nitrogen species (RNS). Oxidative stress is an important
     factor in the initiation and development of several cancers, including ovarian cancer (Senthil
     2004, Saed 2010, Saed 2018). The production of oxidants and free radicals affects cellular
     mechanisms that control cell proliferation and apoptosis, which in turn play a role in the
     initiation and development of several cancers (Saed 2018). ROS and RNS can induce genetic
     mutations and DNA damage, thus causing oncogenic phenotypes. Additionally, oxidative
     stress affects transcription factors that modulate the expression of genes important to the
     development and metastasis of cancer cells (Saed 2018). Oxidative stress is also known to
     activate certain signaling pathways, which are critical for the initiation and maintenance of the
     oncogenic phenotype (Waris 2006). In fact, the major source of cellular ROS, the NAD(P)H
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 12 of 348 PageID:
                                  60786
                                     11


     oxidase family of enzymes, has been linked to the survival and growth of tumor cells in
     pancreatic and lung cancers (Reuter 2010, Rojas 2016). Pro-oxidant enzymes such as
     myeloperoxidase (MPO), inducible nitric oxide synthase (iNOS), and NAD(P)H oxidase have
     been associated with initiation, progression, survival, and increased risk in cancers such as
     breast, ovarian, lung, prostate, bladder, colorectal, and melanoma (Lengyel 2010, Fletcher
     2017, Saed 2017, Saed 2018). Angiogenesis is critical for the survival of solid tumors and is
     also regulated by ROS (Reuter 2010, Saed 2017). Thus, it is clear that alteration of oxidative
     balance can provide an environment for cancer cell survival (Saed 2018).

             Gene point mutations resulting in single nucleotide polymorphisms (SNPs), or a
     variation in a single base pair in DNA, have been associated with oxidative DNA repair genes
     and redox genes with cancer susceptibility (Klaunig 2010). There is evidence that genetic
     polymorphisms in genes with anti-tumor activity are associated with cell cycle genes and play
     a role in ovarian cancer etiology (Goode 2009, Notaridou 2011). There are associations of
     specific SNPs in oxidant and anti-oxidant enzymes with increased risk and survival of ovarian
     cancer (Belotte 2015, Fletcher 2017).

             Higher levels of oxidants have been described in epithelial ovarian cancer
     (Malone 2006, Saed 2010, Jiang 2011). Fletcher et al. published an abstract in the March
     2018 Reproductive Sciences that showed talc can generate a pro-oxidant state in both
     normal ovarian epithelial and ovarian cancer cells. In this study, there was a marked
     increase in mRNA levels of the pro-oxidant enzymes iNOS and MPO in talc treated
     ovarian cancer cell lines and normal ovarian epithelial cells, as compared to controls
     within 24 hours. There was also a marked decrease in the mRNA levels of the anti-
     oxidant enzymes catalase (CAT), glutathione peroxidase (GPX), and superoxide
     dismutase 3 (SOD3), but a marked increase in glutathione reductase (GSR) and no
     change in glutathione S-transferase (GST) in the talc treated ovarian cancer cell line and
     in normal ovarian epithelial cells compared to controls within 24 hours (Fletcher 2018).
     In addition to tumorigenic cells generating high levels of ROS that activate signaling
     pathways which promote proliferation, it is known that tumorigenic cells maintain a high
     level of antioxidant activity to prevent buildup of ROS to levels that could induce tumor
     cell death (Schieber 2014, Saed 2017).

             ROS and RNS are normally neutralized by enzymes such as SOD, CAT, GST,
     glutathione (GSH), thioredoxin coupled with thioredoxin reductase, glutaredoxin, glutathione
     peroxidase (GPX), and GSR (Lei 2016). Glutathione S-transferase is involved in
     detoxification of carcinogens by catalyzing their conjugation to GSH (Lei 2016). The GS-X-
     MRP1 efflux pump, which removes toxins from cells, is known to be stimulated by the
     GSH/GSSG complex and this process has been investigated as a mechanism for the
     development of tumor chemoresistance (Ishikawa 1993, Circu 2012).

             Further, data demonstrates that talc exposure caused a statistically significant increase
     in ROS in ovarian polymorphonuclear neutrophils (PMNs), which resulted in a decrease in
     cell viability and neoplastic transformation of ovarian cells (Buz’Zard 2007).
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 13 of 348 PageID:
                                  60787
                                     12


             Additionally, inflammation induces increased cellular proliferation, giving rise to
     potential DNA replication errors. This is one of the ways increased lifetime ovulations
     increase the risk of epithelial ovarian carcinomas. Studies have shown that ovulation results in
     an inflammatory response to disruption of the ovarian epithelium with the release of
     inflammatory mediators that initiate cellular transformation and growth (Richards 2002).
     Endometriosis causes an inflammatory reaction (including macrophage activation, cytokine
     release, and expression of growth factors) and is a risk factor for clear cell (Figure 4) and
     endometrioid (Figure 5) ovarian carcinomas (Risch 1995, Brinton 1997, Ness 2000, Brinton
     2004, Kobayashi 2007, Edwards 2015). Studies have also shown that pelvic inflammatory
     disease (PID) is an ovarian cancer risk factor (Risch 1995, Brinton 1997, Ness 2000, Brinton
     2004, Kobayashi 2007, Lin 2011, Zhou 2017). Several prospective studies suggest that
     elevated serum levels of inflammatory markers such as CRP, TNF-α and IL-6 are predictive
     of development of ovarian cancer (McSorley 2007, Lundin 2009, Clendenen 2011, Toriola
     2011, Poole 2013, Trabert 2014, Gupta 2016).

             There also are some studies showing a protective effect of anti-inflammatory drugs on
     the risk of developing carcinoma, although some studies have failed to show a protective
     effect (Wu 2009). An analysis of many randomized controlled studies did show a reduced risk
     of developing carcinoma with aspirin use (Rothwell 2012). A 2014 article specifically
     evaluating ovarian carcinoma analyzed pooled data from 12 population-based case-control
     studies and showed a reduction of ovarian cancer risk with frequent aspirin and high-dose
     non-steroidal anti-inflammatory (NSAID) use (Trabert 2014). This further supports the role of
     inflammation in carcinogenesis, as this effect cannot be explained by other etiologies
     (Baandrup 2013, Trabert 2014).

              Talc is not an inert substance. It has been shown to cause inflammation. Studies have
     shown increases in markers of inflammation following talc exposure (Allaire 1989, Genofre
     2007, Arellano-Orden 2013). Talc is used therapeutically for patients with recurrent
     pneumothorax and pleural effusions based upon its ability to induce inflammation and
     adhesions. Injecting talc into the pleural space causes an inflammatory and granulomatous
     reaction, causing fibrosis and scarring which prevents further pneumothorax development
     (Antonangelo 2006, Najmunnisa 2007). This is mediated through the release of cytokines and
     chemokines (Nasreen 1998, van den Heuvel 1998), and the production of basic fibroblast
     growth factor (bFGF) (Antony 2004). It is worth noting that asbestos fibers are also known to
     initiate an inflammatory and scarring process within the pleura and peritoneum, which can
     eventually lead to neoplastic transformation of the mesothelium. The time interval between
     the initial inflammatory response for asbestos and talc and the development of cancer can be
     many years. Remote exposure will not necessarily mean there will be evidence of current
     inflammation or foreign body reaction when tissues are examined.

            There also is evidence that talc induces macrophage TNF-α expression (Cheng 2000).
     Macrophages that express TNF-α promote ovarian tumorigenesis (Hagemann 2006). TNF-α is
     involved in chronic inflammation and induces mutations in vitro (Yan 2006). TNF-α induced
     chromosomal mutations occur mostly in cells with p53 aberrations (Yan 2006). Of note, high
     grade serous carcinomas typically have inactivating mutations in p53. Both talc and TNF-α
     induce macrophage expression of IL-8 (Nasreen 1998, van den Heuvel 1998), which attracts
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 14 of 348 PageID:
                                  60788
                                     13


     neutrophils that then release ROS. This in turn causes a feedback loop between ROS
     generation and increased TNF-α expression, causing increased DNA damage (Xie 2000). This
     is an important line of biological experimental evidence supporting my causation opinion. The
     strongest association of talc and ovarian cancer is with invasive serous carcinomas, which
     commonly have p53 mutations, and TNF-α induced chromosomal mutations occur mostly in
     cells with p53 aberrations. Talc has been shown to induce macrophage TNF-α expression,
     which has been shown to promote ovarian tumorigenesis.


    VI.       ROLE OF IMMUNE SYSTEM IN CARCINOGENESIS

             Studies have evaluated the protective role of the immune system in carcinogenesis,
     and in particular anti-MUC1 antibodies (Cramer 2005). MUC1 is a high molecular weight
     transmembrane protein expressed in many normal organs in a highly-glycosylated form. In
     cancer, including ovarian carcinoma, MUC1 is expressed at high levels in a poorly-
     glycosylated form. Anti-MUC1 antibodies are produced when high levels of the poorly-
     glycosylated form of MUC1 present to the immune system. Anti-MUC1 antibodies have been
     found in some cancers (Ho 1993, Dong 1997, Feng 2002) and have been associated with
     improved prognoses (Kotera 1994). Chronic processes including endometriosis, ovulation and
     talc exposure affect expression of MUC1 (Cramer 2005, Vlad 2006, Terry 2007). Decreased
     anti-MUC1 antibody production caused by these processes plausibly leads to immune-
     tolerance of an early ovarian carcinoma. Cramer et al. published a paper in 2005 that showed
     factors which increase the levels of anti-MUC1 antibodies lower the risk of ovarian carcinoma
     (Cramer 2005). Factors that decrease anti-MUC1 antibodies, such as incessant ovulation, have
     been associated with an increased risk of ovarian carcinoma (Terry 2007). Prospective data
     from the Nurses’ Health Study (NHS) showed that tubal ligation increases anti-MUC1
     antibodies, potentially by the procedure triggering the production of anti-MUC1, thus
     indicating another way tubal ligation exerts its protective effect. The study also showed that
     increased numbers of ovulatory cycles decrease anti-MUC1 antibodies, providing an
     explanation for the increased risk of ovarian cancer with increased lifetime ovulations
     (Pinheiro 2010). These studies provide evidence that MUC1 antibodies serve a role in the
     mechanism of and immune response in ovarian carcinogenesis. Because talc use is associated
     with a decrease in MUC1 antibody expression, the above is relevant to assessing the risk of
     talc use and ovarian cancer and provides further evidence supporting causation.


   VII.       COSMETIC TALC

            Cosmetic talc has been used for decades, applied directly or indirectly to the genital
     region because of its high absorbency and softness (Langseth 2008).

              Talc is a magnesium silicate hydroxide, characterized by water molecules in between
     silicate sheets. Asbestos is also a silicate mineral, but is somewhat morphologically distinct
     from talc and belongs to different silicate mineral groups. However, the chemical similarity of
     asbestos and talc led some researchers to postulate that both talc and asbestos could be causes
     of ovarian cancer (Graham 1967, Henderson 1971, Longo 1979). Early research into the
     possible link between talc and ovarian cancer was also instigated due to the fact that high
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 15 of 348 PageID:
                                  60789
                                     14


     grade serous carcinoma, a type of invasive serous epithelial ovarian cancer (Figure 1), shown
     to be most commonly associated with perineal talc use, has striking morphologic similarities
     to mesothelioma (Figure 2), the tumor most associated with asbestos (Graham 1967). High
     grade ovarian serous carcinoma and mesothelioma express similar immunohistochemical
     markers, most notably cytokeratin pattern, WT-1 and calretinin. In fact, a great deal of
     surgical pathology literature deals with the nuances in differentiating peritoneal mesothelioma
     from high grade serous carcinoma. In the last few years, additional immunohistochemical
     panels have been developed that help distinguish between these two tumors (Laury 2010,
     Ordonez 2013), including PAX8, which is also expressed in fallopian tube epithelium. The
     morphologic and immunohistochemical similarities between asbestos and talc malignancies
     constitute another line of evidence supporting my opinion that talc exposure in the genital area
     causes ovarian cancer. Later in this report, I address the evidence that asbestos exposure can
     cause ovarian cancer.



  VIII.       TALC MIGRATION, TRANSLOCATION, INHALATION, AND
              LYMPHATIC TRANSPORT

             In order for cosmetic talc applied to the perineum to reach the ovary or fallopian tube
     and exert a neoplastic effect, it needs to travel up through the vagina and uterus. It is known
     that substances can travel proximally through the female genital tract to the fallopian tubes
     and ovaries (Egli 1961, Venter 1979). Several studies have demonstrated the presence of talc
     in ovarian tissue (Henderson 1971, Henderson 1979, Mostafa 1985, Heller 1996) and even in
     the pelvic lymph nodes of a woman with ovarian cancer and long-term genital exposure to
     cosmetic talc (Cramer 2007). This is evidence that talc can be transported through the
     lymphatic system. Thus, another biologically plausible pathway is inhalation leading to
     lymphatic transport to the ovaries (Suzuki 1991, Marchiori 2010, Frank 2011).

             There is evidence that serous ovarian cancers are actually of fallopian tube origin (Piek
     2003, Kindelberger 2007, Kurman 2010, Erickson 2013). When considering whether talcum
     powder can cause ovarian cancer, this consideration is not critical. Talcum powder
     particulates reach both the fallopian tubes and ovarian surfaces by migrating proximally.


    IX.       TALC IN TISSUE

              As mentioned above, several studies have demonstrated the presence of talc in ovarian
     tissue (Henderson 1971, Henderson 1979, Mostafa 1985, Heller 1996) and one study found
     talc in the pelvic lymph nodes of a woman with ovarian cancer and long-term genital exposure
     to cosmetic talc (Cramer 2007). In Cramer et al.’s 2007 paper, the methods used by Dr. John
     Godleski to identify talc particles in tissue are outlined (Cramer 2007).

             Tissue was first analyzed using polarized light microscopy to identify birefringent
     particles within the tissue plane. Polarized light microscopy is used in routine practice in
     anatomic pathology. One of the most common uses in surgical pathology is for the
     identification of calcium oxalate calcifications in breast tissue. In some lesions of the breast,
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 16 of 348 PageID:
                                  60790
                                     15


     ranging from benign to malignant, calcifications occur that can be a marker for disease and
     are discovered on breast mammography. After mammography reveals calcifications and the
     radiologist determines them to be suspicious for disease, the area with calcifications is
     biopsied. The biopsy sample is then X-rayed to confirm the presence of the calcifications, and
     then submitted to the pathology laboratory for histologic analysis and diagnosis. The
     pathologist correlates the calcifications seen under the microscope with those in the specimen
     X-ray to be sure the calcifications the radiologist identified are visualized in the tissue sample.
     Calcium oxalate is a certain type of calcification that is not easily seen on light microscopy. If
     there appears to be a discrepancy between the tissue under light microscopy and the specimen
     X-ray (lack of calcifications under light microscopy), the pathologist will use polarized light
     microscopy to help identify calcium oxalate crystals, which are birefringent. Similarly, Dr.
     Godleski used polarized light microscopy to identify birefringent material that could be
     further analyzed using SEM and EDX.

             SEM was more commonly used in surgical pathology before immunohistochemical
     studies were routinely used and before the common availability of molecular testing.
     However, SEM is still routinely used as an important diagnostic tool in areas of pathology in
     which immunohistochemical studies and molecular testing are less helpful, such as medical
     renal pathology, neuromuscular disorders and rare tumors. SEM uses electrons for imaging,
     analogous to light microscopy using light. SEM allows for much greater magnification
     (>100,000X) than light microscopy.

             EDX is a qualitative and quantitative chemical analysis used in conjunction with SEM.
     It detects X-rays emitted from the sample during electron scanning to determine the elemental
     composition of the particle being examined. EDX is widely used in many biomedical areas, as
     it provides precise information on the chemical composition of subcellular structures that can
     be correlated with their SEM images (Wyroba 2015).

             In Cramer et al 2007, the authors analyzed four pelvic lymph nodes from a 68 year old
     woman with ovarian papillary serous carcinoma and a small component of clear cell
     carcinoma. She had been a daily talc user for 30 years, having applied it to underwear and
     sanitary napkins. The lymph nodes showed birefringent particles via polarized light
     microscopy and were then analyzed by SEM and EDX. This showed magnesium and silicate
     signatures consistent with talc (Cramer 2007). Of note, there are similar studies performed
     with asbestos fibers in tissue sections (Roggli 1983, 1986).

             Additionally, studies have shown Raman microscopy can be used to identify talc
     spectra in routinely processed, but unstained, histologic pathology specimens. Raman
     microscopy uses laser light to elicit the chemical and microstructural characterization of
     materials (Campion 2018).

              Although the presence of talc particles found in ovarian cancer tissue does not prove
     that the talc played a causal role, when considered with the other lines of evidence supporting
     causation discussed in this report, the presence of talc in ovarian cancer tissue is certainly
     consistent with causation and provides additional evidence in support of a causal relationship
     between talcum powder products and ovarian cancer.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 17 of 348 PageID:
                                  60791
                                     16




    X.          EPIDEMIOLOGICAL DATA REGARDING TALC USE AND OVARIAN
                CANCER:

             As detailed below, there is consistent evidence from multiple observational
     studies, pooled analyses, and meta-analyses that exposure to talcum powder products is
     associated with an increased risk of ovarian cancer. When combined and considered with
     the biological evidence described above, this consistent epidemiologic data from multiple
     studies provides strong evidence that the association is, in fact causal.

             Although occasional studies have not found talc powder applied to the perineum
     or contraceptive diaphragms4 to be a significant risk for developing ovarian cancer, as
     detailed below, most have found an association, and the cumulative evidence from these
     studies, when considered with the other lines of evidence discussed above, provides
     strong and compelling evidence of a causal association.


    XI.         CASE-CONTROL STUDIES

             Henderson first observed talc particles embedded in both ovarian tumors and
     normal ovaries (Henderson 1971). The first epidemiologic study on genital talc use and
     the risk of ovarian cancer was a case-control study by Cramer et al. (Cramer 1982). In
     this study, 215 women with epithelial ovarian cancer and 215 age-matched controls were
     questioned about talc use on the perineum and/or on sanitary napkins; 42.8% of ovarian
     cancer patients reported regular use of talc (prior to developing ovarian cancer) compared
     to 28.4% of controls, with an odds ratio (OR) of 1.92 (95% confidence level (CI) 1.27-
     2.89). The greatest risk in this study occurred in women who had used talc powder both
     directly on their perineum and on sanitary napkins compared to women who had no
     history of talc powder use; the odds ratio was 3.28 (CI 1.68-6.42). Of note, Cramer et al.
     did not exclude women from the control group who had a history of hysterectomy or
     other “pelvic surgeries” if the patient had intact ovaries by self-report. This could
     potentially lead to an underestimate of the risk of talc and ovarian cancer, as the controls
     may have had other confounding factors. They did control for confounding factors such
     as age, parity, religion, education, age of menarche, oral contraceptive use, hormone
     replacement therapy and smoking history.

             While case control studies may have limitations with selection bias, Cramer et al.
     state “Our sample of cases represents more than 50% of ovarian cancer cases diagnosed

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      It is likely that studies based on talc with diaphragm use are generally limited to use by women for birth
     control purposes. This will not capture use before or after the women’s use of diaphragms for contraceptive
     purposes, a potential of multiple years that will not be captured in the study. Even for the years when
     women are using diaphragms, it is likely they are not using diaphragms for birth control on a daily basis.
     Therefore, diaphragm studies are likely to be biased toward the null; i.e., likely to understate talc exposure,
     and for that reason are likely to fail to detect an association that actually exists or understate the magnitude
     of risk.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 18 of 348 PageID:
                                  60792
                                     17


     in Boston residents in the study period. Therefore, it is difficult to conceive of a plausible
     bias in the selection of cases that would yield this excess use of talc.” (Cramer 1982)

             In additional to the Cramer 1982 study, numerous other case-control studies
     addressing talc use and ovarian cancer have shown statistically significant odds ratios
     greater than 1, indicating talc use is associated with an increased ovarian cancer risk
     (Harlow 1989, Booth 1989, Harlow 1992, Chang 1997, Cook 1997, Green 1997, Godard
     1998, Cramer 1999, Gertig 2000, Ness 2000, Mills 2004, Merritt 2008, Wu 2009,
     Moorman 2009, Rosenblatt 2011, Kurta 2012, Houghton 2014, Wu 2015, Schildkraut
     2016, Cramer 2016).

             In a 1983 letter to the editor in JAMA in response to the 1982 Cramer study,
     Hartge and Hoover state that they found an association between genital talc use and
     ovarian cancer with a RR of 2.5, but the sample size was small (7 cases to 3 controls),
     resulting in a wide confidence interval (0.7-10.0). They did not find an association
     between ovarian cancer and body talc use or talc use on diaphragms, but again the sample
     sizes were small (Hartge 1983). Similarly, a study published by Tzonou et al. in 1983
     showed no association between perineal talc use and ovarian cancer (RR 1.05; CI 0.28 to
     3.98) but the frequency of reporting talc use was low in the study population, thus the
     wide CI (Tzonou 1983).

             Whittemore et al. published a case-control study in 1988 that showed a RR of
     perineal talc use and ovarian cancer of 1.40, with a p value of 0.06. They did not see an
     increased risk of ovarian cancer in women who used talc on sanitary napkins or
     diaphragms. They did see an increased risk of ovarian cancer in women who used
     perineal talc for 1 to 9 years compared to those who used it for a shorter period (RR 1.60,
     p=0.05, CI 1.00-2.7) but did not see an increase with perineal talc users greater than 10
     years (RR 1.11, p=0.61, CI 0.74-1.65). A strength of this study is that participants were
     not only asked about their history of talc use, but also about their history of cigarette
     smoking, coffee and alcohol consumption, thus addressing recall bias. A possible
     limitation of this study is the fact that the control group was a combined group of two
     separate control groups: one hospital based from the hospitals where the cases were
     admitted, and one community based. It was not described for what conditions the hospital
     controls were admitted (Whittemore 1988).

             In 1989 Booth et al. published a study that showed an increased risk of ovarian
     cancer in daily talc users (RR 1.3, CI 0.8-1.9) and weekly talc users (RR 2.0, CI 1.3-3.4)
     as opposed to monthly (RR 0.7, CI 0.3-1.8) and rare (RR 0.9, CI 0.3-2.4) users. There
     were limitations of this study, however; participants were limited to women younger than
     65 who had been diagnosed within the two years prior to interview. The data was
     adjusted for age in 5 year stratas and socio-economic status, but socio-economic status
     was based upon husband’s career if married and participant’s career if never married.
     Strengths, however, included queries of hormone replacement therapy, type of
     contraceptive use, and duration of oral contraceptive use; this helps to address recall bias.
     Additionally, hospital-based controls admitted for gynecologic disease and breast cancer,
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 19 of 348 PageID:
                                  60793
                                     18


     among other diseases, were excluded and hospital admission diagnoses were listed
     (Booth 1989).

             Harlow’s 1992 study included 235 women with epithelial ovarian cancer and
     compared them to 239 control women matched for age, race and residence. After
     adjusting for age, parity, weight, education, marital status, religion, use of sanitary
     napkins and douching, it was found that talc use increased the ovarian cancer risk by 50%
     (OR=1.5, CI 1.0-2.1). Harlow’s 1992 study also involved a dose-response effect; duration
     and frequency of perineal talc use was calculated into lifetime talc applications. Lifetime
     application ORs, when compared to control women with no perineal talc exposure, were
     1.3 for <1000 (CI 0.7-2.7), 1.5 for 1000-10,000 (CI 0.9-2.4) and 1.8 for >10,000 (CI 1.0-
     3.0) (Harlow 1992). A dose response effect is a consideration in assessing causation.
     Harlow, Terry (2013) and Wu (2015) studies provide clear evidence of a dose effect.
     Particular strengths of the Harlow study are the number of potential confounding factors
     adjusted for and the detailed history on type of use and duration of use. Women with
     body exposure (non-genital) were considered non-exposed. Additionally, in the Harlow
     study, women were also asked about dietary and smoking histories, which helps to
     address potential recall bias.

             Rosenblatt et al. published a study in 1992 that showed an increased risk of
     ovarian cancer with talc use (OR 1.7, but a small sample size with CI 0.7-3.9) (Rosenblatt
     1992). In the Rosenblatt study, participants were also asked about oral contraceptive use
     and hormone replacement therapy, which helps to address potential recall bias. Another
     study published in 1992 by Chen et al. evaluated the association between talc use and
     ovarian cancer in a Beijing population. They found a RR of 3.9 in women with a history
     of use greater than 3 months, but the sample size was small with a 95% CI of 0.9-10.63.
     They also included dusting powder to the lower abdomen as well as perineum (Chen
     1992), which would likely understate the magnitude of the association.

              A 1997 study published in the journal Cancer by Chang et al. analyzed 450
     patients with either ovarian borderline tumors or invasive ovarian carcinomas and
     showed an increased risk of tumor in women with either direct perineal application of talc
     or talc use on sanitary napkins (OR=1.42 after adjusting for age, parity, tubal ligation,
     hysterectomy, duration of oral contraceptive use, length of breastfeeding after pregnancy,
     and family history of ovarian cancer CI 1.08-1.86). For invasive ovarian carcinomas, the
     adjusted OR was 1.51 (CI 1.13-2.01). For borderline tumors, the adjusted OR was 1.24
     (CI 0.76-2.02) (Chang 1997). The authors found that a borderline-significant association
     between duration of talc exposure and risk (OR 1.09, 95% CI 0.98-1.21, per 10 years of
     exposure). No significant association was found between frequency of exposure and risk.
     In comparing invasive and borderline carcinomas, risk remained elevated for both
     carcinoma types. The study did not assess for non-genital talc use. A particular strength
     of this study is that the same questions regarding talc use were asked about cornstarch
     use; they found no significant risk of ovarian cancer with cornstarch use (OR 0.31, CI
     0.06-1.66), although only 1% of the populations reported using cornstarch (Chang 1997).
     Still, this helps to reconcile potential confounding risk factors of ovarian cancer in people
     more likely to use perineal powder. The interviews with participants also included taking
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 20 of 348 PageID:
                                  60794
                                     19


     histories on oral contraceptive use and hormone replacement therapy, which helps to
     address recall bias.

             Cook et al. also published a study in 1997 that evaluated 313 women with
     epithelial ovarian tumors (both invasive and borderline) and 422 controls. Only white
     women were included. They found that there was an increased risk of ovarian cancer with
     direct perineal powder dusting of 60% (OR=1.6, CI 1.1-2.3) and 90% (OR=1.9, CI 1.1-
     3.1) for genital deodorant sprays sprayed directly onto the perineum. Lifetime number of
     talc applications provided evidence of dose-response: a statistically significant increased
     risk (OR=1.7, CI 1.0-2.9 for less than or equal to 500 applications, OR=2.6, CI 0.9-7.6
     for greater than 500 applications). A strength of this study is that participants were asked
     about smoking and contraceptive use, which helps to address recall bias. A limitation of
     this data is that all types of powder were included, such as cornstarch, “baby powder,”
     “deodorant powder,” and “scented body/bath powder.” However, the authors state, “No
     specific type of powder used for perineal dusting, diaphragm storage, or on sanitary
     napkins was strongly related to ovarian cancer risk, although there was a suggestion of an
     elevated risk associated with any use of talcum powder and bath/body powders (RR =
     1.6, 95 percent Cl 0.9-2.8, and RR = 1.5, 95 percent Cl 0.9-2.4, respectively).” (Cook
     1997)

             In 1997, an Australian study performed by The Survey of Women’s Health Study
     Group enrolled 824 women with epithelial ovarian tumors, both invasive and borderline,
     and 855 controls. They found that the risk of ovarian cancer was highest among women
     who were talc users and had not undergone surgical sterilization (RR=1.3, CI 1.1-1.7)
     after adjusting for age, parity, duration of oral contraceptive use, BMI, smoking,
     education and family history of ovarian cancer. The risk was lowest in women who had
     not applied talc to their perineum and had either a tubal ligation or hysterectomy
     (RR=0.6, CI 0.50-0.84) (Green 1997). Because tubal ligation limits transport of talc
     fibers to the ovary, this study, with a finding of a protective effect in women with tubal
     ligation, provides an important piece of additional evidence. Strengths of this study
     include high response rate (90% of cases and 73% of eligible controls) and the
     verification of past surgical procedures by contacting participants’ surgeons.
     Additionally, participants were asked questions about other potential exposures such as
     smoking histories and pelvic inflammatory disease, which helps to address recall bias.
     Limitations include a lack of data on quantity of talc use.

             In 1999, Wong et al. published a paper that did not show a consistent association
     with talc powder and ovarian cancer, evaluated by length of use as follows: talc use for 1-
     9 years (OR 0.9; 95% CI 0.6, 1.5), 10-19 years (OR 1.4; 95% CI 0.9, 2.2), or more than
     20 years (OR 0.9; 95% CI 0.6, 1.2). This was after adjustment for age at diagnosis, parity,
     oral contraceptive use, smoking history, family history of epithelial ovarian cancer, age at
     menarche, menopausal status, income, education, geographic location, history of tubal
     ligation, and previous hysterectomy. However, this study would tend to understate the
     magnitude of an association with genital talc use because it included talc use on thighs as
     well as genitals. The study used hospital controls, which raises a question of whether the
     controls were comparable to the cases (Wong 1999).
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 21 of 348 PageID:
                                  60795
                                     20



             As part of Cramer et al.’s 1999 study, 563 women with newly diagnosed
     epithelial ovarian cancer were compared to 523 controls, and showed that perineal talc
     users had a significantly increased odds ratio for epithelial ovarian cancer (OR=1.60, CI
     1.18-2.15). The effect of talc use was even stronger for invasive serous carcinoma
     (OR=1.70, CI 1.22-2.39). This was after adjusting for age, parity, oral contraceptive use,
     body mass index and family history of breast or ovarian cancer. The higher risk for
     women with invasive serous carcinoma was replicated in other studies, and this is an
     important finding in these studies because of its specificity. In addressing potential recall
     bias, Cramer et al. state, “…recall bias seems more likely to affect exposures that have
     occurred over a short term than those that have occurred over a long term. Since average
     duration of talc use exceeded 20 years in both cases and controls in our current study,
     genital talc exposure may be less likely to be subject to recall bias… It also seems
     reasonable that selective recall would lead to cases reporting all types of talc exposure
     more frequently than controls, but our study found that cases did not report a significant
     excess of talc use in non-genital areas compared to controls. Finally, if recall accounted
     for the association, one would expect little variation in the odds ratios by histologic type
     of ovarian cancer…. Regarding potential bias from confounding, we found no evidence
     that genital talc exposure varied by key risk factors for ovarian cancer such as age, parity
     or [oral contraceptive] use and little variability of the association by these and other
     variables.” (Cramer 1999)

             Ness et al.’s 2000 study evaluated 767 women with ovarian epithelial borderline
     tumors and ovarian invasive cancer compared to 1367 controls. Consistent talc use,
     defined as at least once per month for six or more months, increased the ovarian cancer
     risk by 50% (OR=1.5, CI 1.1-2.0) when applied to the perineal area directly and
     increased the risk by 60% (OR=1.6, CI 1.1-2.3) when used on sanitary napkins. This is
     after adjusting for age, parity, tubal ligation, hysterectomy, duration of oral contraceptive
     use, breast feeding and family history of ovarian cancer (Ness 2000). One explanation of
     the increased risk of talc use on sanitary napkins is that sanitary napkins may keep a
     larger amount of talc closer to the vagina over the course of several hours, thus increasing
     the risk of entry to perineum, while talc directly applied to the perineum may more easily
     disperse, however, many studies have failed to show an increased risk in ovarian cancer
     in participants whose only exposure to talc was on sanitary napkins. The strengths of this
     study include addressing multiple confounding factors. No dose-response was found;
     weaknesses include that only duration information was available, and genital/rectal talc
     use durations reported were combined with duration of use on the feet. Additionally,
     women who used just once per month were categorized as a user. These weaknesses may
     cause an underestimation of risk, and may have accounted for the lack of dose-response
     found.

            Mills et al. published a study in 2004 that evaluated the association between talc
     use and ovarian cancer among 256 cases of ovarian cancer as compared to 1122 controls.
     Women diagnosed with invasive epithelial ovarian cancer with a history of genital talc
     use had an increased risk of 51% (OR=1.51, CI 1.07-2.12). This increased risk increased
     to 77% (OR=1.77, CI 1.12-2.81) for women diagnosed with invasive serous carcinoma.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 22 of 348 PageID:
                                  60796
                                     21


     Dose-response effects were also found. Increasing frequency of use was associated with
     increasing risk; women who reported use 4–7 times per week had a 74% elevation in
     epithelial ovarian cancer risk (p for trend = 0.015). However, the risk decreased between
     the second and third categories of use (from “rarely to several times per month” and “1-3
     times per week” at 1.34 (CI 0.87-2.08) to 1.16 (CI 0.74-1.81), respectively). Duration of
     use of talc was also associated with increased risk, although the risk peaked among those
     reporting 4–12 years of use and declined somewhat among those reporting longer
     duration of use (p for trend = 0.045). Cumulative use also demonstrated an uneven
     association with risk of epithelial ovarian cancer in that the point estimates peaked in the
     second and third quartiles of intensity but declined in the highest quartile of use. These
     findings were after adjusting for age, race/ethnicity, duration of oral contraceptive use
     and duration of breast feeding. Yet, there wasn’t adjustment for first relative history of
     breast or ovarian cancer, pregnancy history, parity, BMI, hysterectomy, tubal ligation or
     hormone replacement therapy; according to the authors, the Hosmer-Lemshow goodness-
     of-fit tests revealed that after terms for duration of oral contraceptive use and duration of
     breast-feeding were added to the models, fit was not improved by the addition of these
     variables, nor were the estimated odds ratios altered by the addition of several of these
     variables (Mills 2004). However, the fact that participants were queried about other
     possible exposures such as hormone replacement therapy helps to address potential recall
     bias.

             In Wu et al.’s 2009 study, women were found to be at increased risk of ovarian
     cancer if they had a history of prior perineal talc use, with the risk increasing significantly
     in those with long term (20+ years) and frequent (at least daily) use with a relative risk of
     2.08 (CI 1.34-3.23), i.e., a dose effect. The authors did find an increased risk in women
     who used talc on sanitary napkins (RR 1.61, CI 0.93-2.78), underwear (RR 1.71, CI 0.99-
     2.97) and diaphragms/cervical caps (RR 1.14, CI 0.46-2.87). There was a stronger
     association between talc use and serous ovarian cancer; the relative risk with any talc use
     was 1.70 (CI 1.27-2.28). Strengths of this study include the adjustment for multiple
     possible confounding factors (age, race/ethnicity, education, age of menarche, parity, oral
     contraceptive use, family history of ovarian or breast cancer, menopausal status and tubal
     ligation). Another strength was that participants were queried about NSAID and
     endometriosis histories, helping to address potential recall bias. The authors mention in
     their discussion that the participation response was “modest,” possibly leading to
     selection bias (Wu 2009).

             Rosenblatt et al. published a study in 2011 that showed an overall increased risk
     of ovarian cancer in women who used talc after bathing (OR=1.27, CI 0.97-1.66) with a
     more pronounced risk in women diagnosed with mucinous borderline tumors (OR=1.78,
     CI 0.98–3.23) and serous borderline tumors (OR=1.47, CI 0.85-2.55) (serous borderline
     tumor illustrated in Figure 3). They did not see an increased risk by extent of use, defined
     as years in which powder was used, or as lifetime number of applications. There was no
     alteration in the risk of ovarian cancer associated with other types of powder exposure
     such as sanitary napkins or diaphragms. This study did not find an increased risk of
     invasive serous carcinoma (OR 1.01, CI 0.69-1.47). (Rosenblatt 2011) A strength of this
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 23 of 348 PageID:
                                  60797
                                     22


     study is that participants were queried about other potential exposures (smoking, alcohol
     and endometriosis histories), which helps to address recall bias.

              In 2012, Kurta et al. evaluated talc use and the risk of ovarian cancer, although
     their main focus of the study was the associated risk of ovarian cancer with fertility drug
     use. They found a OR of 1.40 (CI 1.16-1.69). Since talc was not the primary focus of this
     study, duration of use was not considered; participants were categorized as talc users if
     they had ever used talc versus never-users. Perineal talc use was only generally defined
     as dusting powder or deodorizing spray on the genital or rectal areas, sanitary napkins,
     underwear, or diaphragms or cervical caps (Kurta 2012). A strength of this study is that
     its main focus was on fertility drug use; participants were asked about exposures such as
     fertility treatments and hormone replacement therapy, which helps to address potential
     recall bias.

             Wu et al. published a paper in 2015 that evaluated talc use and invasive ovarian
     cancer in white, Hispanic and African American women. They found that talc use was
     more common in African-American women (44.1%) than in non-Hispanic whites
     (30.4%) or Hispanics (28.9%) (p=0.001). The results showed ORs of 1.41 for white
     women (CI 1.21-1.67), 1.77 for Hispanic women (CI 1.20-2.62) and 1.56 for African
     American women, although the CI for African American women was 0.80-3.04. Overall,
     the OR was 1.46 (CI 1.27-1.69). However, the response rate and sample size for this
     study was somewhat small, and participants with less than one year of use were
     categorized as never users (Wu 2015).

              In 2016, Schildkraut et al. published a paper as part of the African American
     Cancer Epidemiology Study (AACES), a case-control study of epithelial ovarian cancer
     in African American women. According to the authors, due to the relatively small
     number of women who reported having only used genital powder (43 cases and 44
     controls), the authors merged this exposure category with those who reported use of both
     non-genital and genital powder, creating an exposure category of “any” genital powder
     use, but separately evaluated the categories as “only” or “any” genital powder use. They
     reported an increased risk of ovarian cancer in “any” genital powder users (OR=1.44, CI
     1.11-1.86) and noted a statistically significant dose response effect for both duration of
     use and lifetime applications. A strength of this study was adjustment for multiple
     confounding factors such as age, education, BMI, parity, tubal ligation, OCP use, first
     degree relative with breast or ovarian cancer, and interview year (taking into account
     litigation cases in the year 2014). Participants were also asked about hormone
     replacement therapy, another potential exposure, thus helping to address potential recall
     bias. A weakness of this study is that participants were considered “regular users” if they
     reported using cornstarch, baby or deodorizing powders at least one time per month for at
     least 6 months, and “never users” if they did not, leading to possible misclassification that
     would bias toward the null (Schildkraut 2016).

             The totality of the results of the case-control studies support a causal link between
     talc and ovarian cancer. When observational studies find an increased risk of disease with
     a certain exposure, the possible reasons are chance, bias, confounding and causation.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 24 of 348 PageID:
                                  60798
                                     23


     There is a general consistency of these individual studies; the ORs have been of similar
     magnitude in studies spanning different decades, in different populations, with different
     study designs, by different investigators, over different continents and with adjustment
     for multiple confounders. Therefore, the possibility that the association between perineal
     talc use and ovarian cancer is due to chance is extremely unlikely.

             Although retrospective case-control studies potentially have an element of recall
     bias and other potential biases, again, the consistency of results across these studies and
     populations makes recall and other bias an unlikely explanation. During the period that
     the majority of studies were conducted, public awareness of the link between talc and
     ovarian cancer was limited. There is also a much stronger and statistically significant
     association of perineal talc use and ovarian cancer in studies that compared all-body talc
     use to perineal use. The finding in some studies that serous carcinoma has a stronger
     association with perineal talc exposure than other histologic subtypes of ovarian cancer
     also argues against recall bias, as participants are very unlikely to have knowledge about
     the histologic subtyping of ovarian cancer. In addition, in studies where participants are
     asked to recall multiple exposures, not just talc exposure, this will minimize the risk of
     recall bias because it is unlikely that participants will differentially recall talc exposure
     but not other exposures, especially if they are blinded to the study hypothesis. Studies
     using trained interviewers, structured interview questionnaires, and blinding of both study
     participants and the interviewers to the study hypotheses will also limit the potential for
     recall bias.

             Selection bias (which can arise based on differential participation rates or other
     differences between comparison groups) accounting for the results across studies is also
     unlikely. To see such consistent associations between perineal talc use and ovarian
     cancer, there would need to be strong associations between participation and perineal talc
     use, and strong differences amongst cases and controls due to selection bias only - this
     would be extremely unlikely to produce such large biases across studies. Most studies
     adjusted for confounders, with the majority adjusting for age, BMI, and parity among
     others. With chance, bias, and confounding being unlikely explanations for the
     association of perineal talc use and ovarian cancer across multiple studies, this leaves
     causation as the most likely explanation.


   XII.       COHORT STUDIES

            The talc literature includes several cohort studies reporting the relative risk for
     perineal talc use and risk of ovarian cancer, including the Nurses’ Health Study, the
     Women’s Health Initiative and the Sister Study (Gertig 2000, Gates 2008, Gates 2010
     and Gonzalez 2016). There were several important limitations of these studies to
     adequately capture risk of ovarian cancer based on the methodology used by the
     researchers to assess talc exposure.

             The Gertig study evaluated prospective cohort data from 78,630 women, and
     although there was a 12% overall increased risk of ovarian cancer in women with a
     history of daily genital talc use, this was not statistically significant. Yet, the investigators
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 25 of 348 PageID:
                                  60799
                                     24


     reported a statistically significant increased risk of invasive serous carcinoma (RR=1.4,
     CI 1.02-1.91) after adjusting for age, parity, duration of oral contraceptive use, post-
     menopausal hormone use, tubal ligation, BMI and smoking (Gertig 2000). Additionally,
     the lack of statistical significance of overall ovarian cancer risk may be due to several
     important limitations with this study, including the fact that the question of talc use was
     only in one questionnaire in 1982 and did not include questions on duration of use. Thus,
     a person who used talc just a few times would be included with women who used talc
     daily over a long duration, and this will have the effect of understating the risk. In fact, in
     a follow-up 2008 report, Gates et al. noted that since talc exposure was only referred to
     once in questionnaires, it is possible that some participants were misclassified with
     respect to their talc use or that some women may have started talc use after 1982 and thus
     these women would not be included in the talc user group (Gates 2008). This would
     understate the risk and decrease the calculated statistical significance of talc-related
     ovarian cancer. An additional review of the Nurses’ Health Study published by Gates et
     al. in 2010 studied 876 cases of ovarian cancer and talc use, although this was not the
     primary focus of the study. This study found an overall increased risk of ovarian cancer
     with talc use (RR=1.06), but found an increased risk for mucinous tumors (RR=1.50)
     (Gates 2010) (mucinous carcinoma illustrated I Figure 6). Again, the weaknesses in the
     study include the fact that talc use was only queried once in 1982, and the authors state
     themselves that the limited data on talc use may have influenced the observed association
     with ovarian cancer.

              Cohort studies like the Nurses’ Health Study, Women’s Health Initiative Study
     and the Sister Study have some drawbacks when studying rarer diseases compared to
     case-control studies that have been described above. Cohort and case-control studies are
     both observational, and both have strengths and limitations. Cohort studies begin when
     all participants are free of the disease in question. After a follow-up period, those that
     have the disease being studied are compared by exposure risk being studied to those who
     did not develop the disease. Although this helps to ensure exposure predates disease,
     there may be a lack of data if the disease is rare or if there is a long latency period
     between exposure and disease presentation/diagnosis, as is the case of ovarian cancer and
     talc. In contrast, in case-control studies, patients already have the disease being studied
     and are compared to controls who do not have the disease with a focus on the rates of
     exposure to the agent of interest (here, talcum powder products) in the cases as compared
     to the controls. A possible limitation of case-control studies in the context of ovarian
     cancer and talc is the fact that exposure to talc is self-reported and subject to potential
     recall bias.

             The case-control studies may unavoidably have recall bias, as talc use was self-
     reported by participants. In their 2018 meta-analysis discussed below, Penninkilampi et
     al. noted that in some studies, interviewers were not blinded to cases and controls and
     many studies did not describe whether their controls had a personal history of previous
     ovarian cancer. However, they also noted that in general, controls were well matched to
     cases by other possible confounding factors such as age, geographic, location and
     ethnicity (Penninkilampi 2018).
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 26 of 348 PageID:
                                  60800
                                     25


             In the 2008 Gates paper, women with certain variants in glutathionine S-
     transferase M1 (GSTM1) and/or glutathionine S-transferase T1 (GSTT1) were shown to
     have a higher risk of talc-associated ovarian cancer. Glutathione S-transferases catalyze
     the conjugation of glutathione to numerous potentially genotoxic compounds. Individuals
     with homozygous deletions of GSTM or GSTT have reduced or no glutathione S-
     transferase activity and may be unable to eliminate electrophilic carcinogens as
     efficiently (Coughlin 2002). The 2008 Gates study included 1,175 cases and 1,202
     controls from a case-control study and 210 cases and 600 controls from the prospective
     Nurses' Health Study. Participants were genotyped for the GSTM1 and GSTT1 gene
     deletions and three NAT2 polymorphisms. Regular talc use was associated with increased
     ovarian cancer risk in the combined study population (relative risk=1.36, CI 1.14-1.63; p-
     trend<0.001). In the pooled analysis, the association of talc and ovarian cancer was
     stronger among women with the GSTT1-null genotype (p-interaction=0.03), particularly
     in combination with the GSTM1-present genotype (p-interaction=0.03). There was no
     clear evidence of an interaction with GSTM1 alone or NAT2. Without talc exposure,
     these genes were not clearly associated with risk of ovarian cancer (Gates 2008). The
     specificity of the findings linking the genetic polymorphisms with ovarian cancer subtype
     most associated implicates yet another aspect of the Bradford Hill viewpoints.

             As previously detailed, the Nurses’ Health Study also showed that genital talc use
     was associated with lower levels of anti-MUC1 antibodies, which has been associated
     with an increased risk of ovarian cancer. As part of the Nurse’s Health Study, Pinheiro et
     al. published a paper in 2010 that showed increasing anti-MUC1 antibody levels were
     associated with a nonsignificant trend for a lower risk of ovarian cancer with highly
     significant heterogeneity by age (p-heterogeneity=0.005). The authors concluded that
     anti-MUC1 antibodies evaluated several years prior to diagnosis may be associated with
     lower risk of subsequent ovarian cancer in women less than 64 years old at assessment
     (Pinheiro 2010). Cramer et al. 2005 study showed factors which increase the levels of
     anti-MUC1 antibodies lower the risk of ovarian carcinoma (Cramer 2005). These
     findings provide evidence that a plausible mechanism for talc-associated ovarian cancer
     is a down-regulated immune response to MUC1, and thus an immune tolerance of an
     emerging MUC1-expressing tumor.

              The Women’s Health Initiative Observational Study (WHI-OS) did not report a
     statistically significant increased risk of ovarian cancer with talc use (Houghton 2014). In
     that study, 61,576 women were enrolled and 429 developed ovarian cancer during
     follow-up. The study did find a 12% increased risk of ovarian cancer in perineal talc
     users (RR=1.12, CI 0.92-1.36), but it was not statistically significant. However, the risk
     of developing serous carcinoma was increased by 18% (RR=1.18, CI 0.89-1.56), and by
     13% for invasive serous carcinoma (RR=1.13, CI 0.84-1.51). Additionally, 101 cases
     were categorized histologically as “other,” including tumors that were self-reported, not
     validated and potentially may not have even been primary ovarian tumors. This would
     bias the risk estimate of talc use in ovarian cancer in this study toward the null by
     including cancers or other tumors potentially from other sites; in other words, non-
     specific cancer types may have been included that are not known to have an association
     with talc use. Another weakness of the study is that although the authors did evaluate the
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 27 of 348 PageID:
                                  60801
                                     26


     effect of duration of use of genital talc on the risk of ovarian cancer, they did not evaluate
     frequency of use. Thus a woman who used talc for twenty years once a month would be
     treated the same as a woman who used it every day for twenty years. This will tend to
     understate or obscure the true risk of long term, frequent use. The study also was of an
     older age group (50-79) who were post-menopausal at time of enrollment, which adds
     selection bias.

             Another study in which the effect of talc use on the risk of ovarian cancer is likely
     diluted or understated is the Sister Study, published by Gonzalez et al. in 2016. In this
     study, there was no reported association between perineal talc use and subsequent ovarian
     cancer. The study only enrolled women with a full or half-sister who had been diagnosed
     with breast cancer. BRCA1 and BRCA2 mutations are associated with a markedly
     increased risk of both breast and ovarian cancer, and in the Sister Study, women were not
     tested for this mutation. Most of the ovarian cancers associated with BRCA mutations are
     of the invasive serous subtype, the same subtype most strongly associated with talc use in
     prior studies. By not testing the women for the genetic mutation, the Sister Study
     analyzed a population of women with an increased risk of having a BRCA mutation (by
     having a first degree relative, or sister/half-sister, with breast cancer), a significant
     confounding factor that was not considered. Another limitation of this study is that the
     mean follow-up was 6.6 years, a very short period considering the generally long latency
     period of ovarian cancer. The Sister Study did find an increased risk in ovarian cancer in
     women who douched, providing evidence supporting the link between particulate route of
     access to the ovary/fallopian tube. The histologic subtype of the ovarian cancer was also
     not evaluated. Further, similar to the other cohort studies, the Gonzalez 2016 study failed
     to adequately capture both duration and frequency of talc exposure as participants were
     only asked if they used talc in the last 12 months.


  XIII.       META-ANALYSES REGARDING TALC USE AND OVARIAN CANCER:

              Meta-analyses are an important tool that combines study results from multiple
     studies to develop a single result that has greater power to detect a more precise estimate
     of risk. Several meta-analyses have been published on the association between talc use
     and ovarian cancer, all showing an increased risk (Harlow and Cramer 1992, Gross and
     Berg 1995, Cramer and Harlow 1999, Huncharek 2003, Langseth 2008, Berge 2018,
     Penninkilampi 2018).

             In 1992 Harlow and Cramer published combined results from six case-control
     studies of the association between talc use and ovarian cancer that were performed
     between 1982 and 1989. The association was statistically significant (OR=1.3, CI 1.1-
     1.6) (Harlow 1992). In 1995, Gross and Berg published a meta-analysis that included the
     six case-control studies evaluated in the 1992 Harlow and Cramer paper, plus three
     additional studies. This produced a statistically significant increased risk (OR=1.27, CI
     1.09-1.48) (Gross 1995). Of note, this study was supported in part by Johnson and
     Johnson, raising the issue of funding bias.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 28 of 348 PageID:
                                  60802
                                     27


             Cramer published another meta-analysis in 1999 that included the nine studies in
     Gross and Berg’s 1995 paper plus five additional ones performed through 1999. The
     overall risk of ovarian cancer in talc users was found to be increased at 36% (OR=1.36,
     CI 1.24-1.49) (Cramer 1999).

             Huncharek et al. performed a meta-analysis in 2003 that added five new studies
     and included all of the previous studies except the 1983 Hartge and 1996 Shushan
     studies. The OR in this study was 1.33 (CI 1.16-1.45). Interestingly, the authors
     concluded that even with this statistically significant OR, the data “do not support the
     existence of a causal relationship” between talc use and ovarian cancer (Huncharek
     2003). In a subsequent paper published by Huncharek et al., support from Johnson and
     Johnson and Luzanec America was acknowledged (Huncharek 2007), raising the issue of
     funding bias.

             Langseth et al. published a comprehensive meta-analysis in 2008 of the risk of
     ovarian cancer associated with talc use. The combined OR was 1.35 (CI 1.26-1.46), and
     specifically 1.4 for population-based studies (CI 1.29-1.52), the less potentially biased
     type of study. Langseth et al. also noted that the risk of serous ovarian tumors in
     particular with talc use may be greater (Langseth 2008).

              In 2016, Cramer published a retrospective case-control study that incorporated
     data from three enrollment phases (1992-1997, 1998-2002 and 2003-2008) and combined
     data from the Nurses’ Health Study (Gates 2008) and data from participants in the
     Ovarian Cancer Association Consortium (OCAC, Terry 2013). The study found a
     statistically significant increased risk of invasive serous, invasive endometrioid and
     serous borderline ovarian tumors in women who were genital talc users, with the highest
     risk (OR=2.33 (CI 1.32-4.12) and OR=2.57 (CI 1.51-4.36) for pre- and postmenopausal
     women, respectively) with the greatest lifetime exposure, as defined by “talc-years,” or
     number of applications per year multiplied by years of use. A dose-response was most
     prevalent for invasive serous carcinoma. This study is important as evidence supporting
     an association between talc and ovarian cancer as the authors analyzed case-control data
     collected over 16 years in 2,041 epithelial ovarian cancer cases and 2,100 age- and-
     residence-matched controls. As the authors state, they “addressed issues related to
     definition of the exposure, bias and confounding, effect modification, histologic
     heterogeneity, and dose-response. Talc used regularly in the genital area was associated
     with a 33% increase in ovarian cancer risk overall.” (Cramer 2016)

             Berge et al. published another meta-analysis in 2018 that found a summary RR of
     1.22 (CI 1.13-1.30). They found that the association between talc and ovarian cancer was
     stronger in case-control studies (RR 1.26, CI 1.17-1.35) than cohort studies (RR 1.02, CI
     0.85-1.20). The limitations of the cohort studies are discussed above; limitations of case-
     control studies are recall bias and selection bias. Addressing the latter, Berge et al. found
     a higher summary risk estimate in hospital-based case-control studies compared to
     community-based case-control studies, but this difference was not statistically significant.
     Recall bias can be present in case-control studies, however, Berge et al. found the
     greatest association between genital talc use and serous carcinoma (RR 1.24, CI 1.15-
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 29 of 348 PageID:
                                  60803
                                     28


     1.34). This would argue against recall bias, as participants would likely not know the
     categorization of epithelial ovarian tumors, nor the fact that invasive serous carcinoma
     has been shown to have the strongest association in the majority of studies.

             Penninkilampi et al. published a meta-analysis in 2018 that found any perineal
     talc use was associated with an increased risk of ovarian cancer (OR 1.31, CI 1.24-1.39).
     They found a dose-response effect with greater than 3600 lifetime applications (OR 1.42,
     CI 1.25-1.61) compared to less than 3600 lifetime applications (OR 1.32, CI 1.15-1.50).
     Similar to the Berge 2018 study, an association was found in the case-control studies (OR
     1.35, CI 1.27-1.43) but not in the cohort studies (OR 1.06, CI 0.90-1.25). However,
     Penninkilampi et al. did find an association in cohort studies between talc use and
     invasive serous carcinoma (OR 1.25, CI 1.01-1.55). (Penninkilampi 2018)



  XIV.        POOLED STUDY REGARDING TALC USE AND OVARIAN CANCER:

             The meta-analyses discussed above summarize previously published data and thus
     have increased statistical power for a more precise estimate of effect on talc in ovarian
     cancer risk (Cohn 2003). However, the strength of meta-analyses depends on the quality
     of the previously published data analysis. In comparison, a pooled study analyzes primary
     data from different studies/researchers. The Terry 2013 study is a retrospective pooled
     study from eight population-based case-control studies from OCAC. One advantage of
     pooled studies is the ability to include a large sample size; Terry et al. included 8,525
     cases of ovarian, fallopian tube or perineal cancer and 9,859 controls. Some of the
     included OCAC studies had previously reported on powder use (Chang 1997, Cramer
     1999, Merritt 2008, Moorman 2009, and Rosenblatt 2011), and according to Terry et al.,
     three of these provided data for the pooled 2013 analysis that had not been included in the
     previous publications. The other three studies had not previously published their genital
     powder data (Goodman 2008, Lo-Ciganic 2012, Pike 2004). The pooled analysis showed
     an OR for genital talc use and epithelial ovarian cancer of 1.24 (95% CI 1.15-1.33) after
     adjustment for age, oral contraceptive use, tubal ligation, BMI and race/ethnicity (Terry
     2013). This is consistent with the majority of meta-analyses and individual studies.

             A strength of a pooled study versus a meta-analysis is that pooled studies have
     increased standardization. As an example, the Terry 2013 study excluded participants that
     data was not available on regarding tubal ligation, oral contraceptive duration, parity or height
     and weight. This adjusts for study-specific differences in confounding factors. A weakness of
     pooled studies is that they are limited by the methods of original data collection; for example,
     Terry et al. state “Limitations of our pooled analysis include differences in the wording of
     questions about genital powder use between studies and the retrospective nature of the
     exposure ascertainment.” As Blettner (1999) stated, “Pooling decreases the variation caused
     by random error (increasing the sample size) but does not eliminate any bias (systemic
     errors).” In the 2013 Terry et al. study, classification between cases and controls differed
     between studies, as the women who were classified as genital powder users varied from
     “ever” use, “ever regular” use, to powder use for at least one year. However, Terry et al.
     conclude that if anything, this led to an underestimate of the true association for any given
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 30 of 348 PageID:
                                  60804
                                     29


     study “[due to the fact that] exposure definitions are the same for cases and controls within
     each study, misclassification of genital powder exposure due to the question wording would
     be nondifferential….” (Terry 2013).


   XV.        ASBESTOS, TALCUM POWDER PRODUCTS, AND OVARIAN CANCER:

             I have seen evidence that talcum powder products manufactured by Johnson &
     Johnson (J&J Baby Powder and Shower to Shower) contained and continue to contain
     asbestos, talc containing asbestiform fibers (e.g. talc occurring in a fibrous habit) heavy
     metals (such as cobalt, chromium, nickel) and fragrance chemicals (Longo et al. 2017 and
     2018, Blount 1991, Blount Deposition 2018, Hopkins Deposition and Exhibit 2018, Pier
     Deposition and Exhibit 2018). Other than cobalt, which has been identified as a “possible”
     carcinogen, all of these constituents have been identified as known carcinogens by IARC
     (IARC 2012). It should be noted that National Institute for Occupational Safety and Health
     (NIOSH) has determined that “there is no safe level of asbestos exposure for any type of
     asbestos fiber” (NIOSH 1980). As part of my review and consideration of the evidence I have
     also reviewed Dr. Michael Crowley’s opinion that “fragrance chemicals in Johnson &
     Johnson talcum powder products contribute to the inflammatory properties, toxicity, and
     potential carcinogenicity of the products.” The presence of these constituents as part of the
     talcum powder product provides additional evidence of biological plausibility for talcum
     powder products to cause ovarian cancer.

             Asbestos is a silicate mineral in polyfilamentous bundles. Other silicate minerals exist,
     such as talc, but asbestos is classified by its flexible fibers with small diameter and large
     length. The forms of asbestos are serpentine silicates (“sheet silicates”) such as chrysotile, and
     amphibole silicates (“chain silicates”) such as crocidolite, amosite, anthophyllite, actinolite,
     and tremolite (IARC Monograph). The carcinogenic properties of asbestos fibers depend on
     the length of the fiber (Stanton 1972) and its chemical composition, structure, and cell
     environment (Mossman 1998, Robledo 1999, IARC Monograph). Asbestos fiber surface
     reactivity with free radical generation has also been accepted as a mechanism of
     carcinogenesis (IARC Monograph). Asbestos-derived free radicals can lead to a variety of
     effects on cells including lipid peroxidation, DNA oxidation, TNF release, cell apoptosis, and
     increased uptake of asbestos fibers (Mossman 1983, Hobson 1990, Ghio 1998, Churg 1998,
     Gulumian 1999, Aust 1999, Upadhyay 2003, IARC Monograph). Asbestos fibers may directly
     cause the generation of ROS (IOM 2006) and indirectly cause ROS by inducing inflammation
     and macrophage activation (IARC Monograph).

            It has long been generally accepted that asbestos exposure causes mesothelioma and
     lung cancer (Dement 1994, deKlerk 1996, Berry 2000). Approximately 125 million people
     around the world have been exposed to asbestos in work environments, and at least 90,000
     people die each year from asbestos-related lung cancer, mesothelioma, or asbestosis (Burki
     2009). The relationship between asbestos exposure and ovarian cancer had been less studied;
     however, in 2009, the IARC Monograph Working Group concluded that there is sufficient
     evidence to show that asbestos exposure can cause ovarian cancer (Straif 2009, IARC
     Monograph).
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 31 of 348 PageID:
                                  60805
                                     30


             In the late 1960’s, a suggested link between talc and ovarian cancer was made for the
     following reasons: first, talc powders were shown to contain asbestos (Cralley 1968); second,
     intraperineally placed asbestos in animals induced a proliferation of the ovarian mesothelial
     lining from one layer to multiple layers (Graham 1967). Of note, it was tremolite asbestos that
     was used by Graham, the same type of amphibole asbestos that is found in asbestos-
     contaminated talc. It is important to note that similar to talc being found on the ovarian
     surfaces of perineal talc users, asbestos fibers have been found in women whose household
     contacts worked with asbestos and in Norwegian paper and pulp workers (Heller 1996,
     Langseth 2007).

            In 1972, Newhouse et al. published a study of the mortality of female asbestos workers
     and found at least 4 deaths due to ovarian cancer compared to an expected number of 0.6.
     During histological review of some of the pathology samples from these workers, there was
     evidence that another two deaths that had been registered as due to carcinomatosis were likely
     caused by ovarian cancer (Newhouse 1972).

              Ten years later in 1982, Wignall et al. published a study that followed 535 women who
     were assembly workers that had direct crocidolite exposure during the manufacturing of
     military gas masks. The authors found 2 deaths due to ovarian cancer in women that were
     employed at the facility for less than 1 year, with a standardized mortality rate (SMR) of 1.77.
     Two ovarian cancer deaths occurred in women with a 1 year history of employment at the
     facility (SMR=2.11) and one ovarian cancer death in a woman with a 3 year history of
     employment (SMR=1.05). The authors noted that the expected number of deaths is low,
     making stable estimates of SMR difficult. However, the authors conclude that the “excess of
     deaths from carcinoma of the ovary was unexpected at the start of the study but appears to be
     related directly to exposure to asbestos” (Wignall 1982).

             Also published in 1982 was a study by Acheson et al. that evaluated two groups of
     women exposed to asbestos who assembled gas masks in two separate facilities: 570 women
     at Blackburn (civilian respirators that contained chrysotile) and 757 women at Leyland
     (military respirators containing crocidolite). The study found a SMR in the crocidolite group
     for ovarian cancer of 2.75 (CI 1.42-4.81) and a SMR of 1.48 (CI 0.48-3.44) for the chrysotile
     group. The authors noted that the risk of ovarian cancer increased over time for up to 40 years
     post exposure (Acheson 1982).

            A 1994 study by Rosler et al. examined mortality from ovarian cancer in a cohort of
     616 women in Germany who had been occupationally exposed to asbestos. Although about
     95% of asbestos used in Germany was chrysotile, the authors noted that they could not
     exclude a mixture containing crocidolite. Two deaths from ovarian cancer were observed,
     compared to an expected 1.8 (SMR 1.09, CI 0.13-3.95). (Rosler 1994).

             In 1999, Germani et al. published a study of ovarian cancer mortality in 631 women
     workers in Italy who had been compensated for asbestosis. They found a total of nine ovarian
     cancer deaths (SMR 4.77, CI 2.18-9.04) which included four deaths in a subset of asbestos-
     textile workers (SMR 5.26, CI 1.43-13.47) and five deaths in the subset of asbestos cement
     workers (SMR 5.40, CI 1.75-12.61). (Germani 1999).
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 32 of 348 PageID:
                                  60806
                                     31



            Also in 1999, Vasama-Neovonen et al. published a case-control study of ovarian
     cancer and occupational exposure in Finland. The Standardized Incidence Ratio (SIR) was
     1.30 (CI 0.9-1.80) between ovarian cancer and “medium/high levels of asbestos,” and the SIR
     was 1.1 (CI 0.8-1.3) for “low levels of asbestos.” The SIR is obtained by dividing the
     observed number of cases of cancer by the expected number of cases in the general
     population. The type of asbestos fiber was not noted (Vasama-Neovonen 1999).

             Again in 1999, Langseth et al. published a study of 4247 workers employed for at
     least one year between 1920 and 1993 in the Norwegian pulp and paper industry. 85% of
     them were paper or administration workers. The follow-up period for cancer was from
     1953-1993. An excess risk of ovarian cancer was found (SIR = 1.50, CI 1.07-2.09). The
     SIR was highest among those younger than 55 years, and mostly among those working in
     paper departments. The type of asbestos fiber was not specified (Langseth 1999).
     Langseth et al. published a follow-up case-control study in 2004 that examined the
     association between asbestos exposure and ovarian cancer in this same cohort of female
     pulp and paper workers in Norway that had been found to have excess morbidity from
     ovarian cancer. In the case-control study, the odds ratio for occupational exposure to
     asbestos based on 46 cases of ovarian cancer was 2.02 (CI 0.72-5.66), although this was
     not statistically significant (Langseth 2004).

             In 2000, Berry et al. published a study that evaluated the mortality of a cohort of over
     5000 London asbestos factory workers, both men and women, who were followed for over 30
     years since first asbestos exposure. The study classified exposure by degree (low, moderate
     and severe) and duration (2 years or less or more than 2 years). They assessed mortality by
     comparing the number of cohort deaths with the number of expected deaths in England and
     Wales based on sex, age and period. The study found that there was a significant increase of
     ovarian cancer in women with severe exposure for more than 2 years (SMR of 5.35) and an
     overall SMR for all exposure lengths of 2.53 (CI 1.16-4.8) (Berry 2000).

             In 2005, Pira et al. published a cohort study of 1077 women with at least a one month
     history of employment between 1946 and 1984 at an asbestos-textile factory in Italy. A
     variety of asbestos types were used in this facility, including crocidolite. They followed up
     with the cohort in 1996. There were five deaths due to ovarian cancer with an overall SMR of
     2.61 (CI 0.85-6.09), but there was a SMR of 5.73 for women with longer employment
     histories at the facility (greater than or equal to 10 years of employment). Among women with
     greater than or equal to 35 years since first employment exposure, the SMR was 5.37 (Pira
     2005).

             Also in 2005, Wilcsynska et al. published a study of 1470 Polish asbestos cement
     factory workers with a follow-up period from 1945 to 1999 and a SMR of ovarian cancer
     among workers of 3.76 (CI 1.38-8.18). The type of asbestos fiber was not specified
     (Wilcsynska 2005).

           McDonald et al. published a study in 2006 that followed 567 people, mostly women,
     who had assembled gas masks in the Nottingham factory between 1940 and 1944 and showed
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 33 of 348 PageID:
                                  60807
                                     32


     a SMR for ovarian cancer of 1.2 (CI 0.6-2.2). Gas masks assembled at this facility had filter
     pads that contained 20% crocidolite. As an aside, this study found that the first deaths due to
     mesothelioma happened a little more than 20 years after exposure, which is consistent with
     most other studies (McDonald 2006) and highlights the lengthy time interval between
     exposure and presentation of disease in asbestos-related mesothelioma.

            In 2008 Reid et al. published a study of 2552 women and girls who lived in a Western
     Australia mining town between 1943 and 1992 where crocidolite asbestos was mined. They
     were not directly involved in mining but there was extensive environmental contamination of
     the town. They found a SMR for ovarian cancer of 1.52 (Reid 2008).

            Reid et al. published a study in 2009 that followed the same cohort of 2552
     women and girls in Western Australia with environmental exposure to crocidolite
     asbestos and added 416 women to the study that had worked in the Wittenoom crocidolite
     asbestos mines and mills. For the latter group, there wasn’t an increased rate of ovarian
     cancer (SIR of 0.49, CI 0.01-2.74), but the authors noted that the “female Australian Blue
     Asbestos workers at Wittenoom mostly worked in the company offices, shop, and hotel.
     Their occupational exposure was unlikely to have been as high as that reported for
     women in the earlier cohorts, which may explain why no excess risk for ovarian cancer
     was observed” (Reid 2009).

            Pukkala et al. published a study in 2009 on the incidence of ovarian cancer in
     women employed in various occupations in Denmark, Finland, Iceland, Norway and
     Sweden. One of the groups examined were plumbers, who are known to have
     occupational exposure to asbestos. Four ovarian cancers were found in this group of
     plumbers, with a Standardized Incidence Rate (SIR) of 3.33 (CI 0.91-8.52). Fiber type
     was not specified (Pukkala 2009).

            Magnani et al. and Bertolotti et al. published studies in 2008 that followed the same
     cohort of former asbestos-cement workers who were employed at a facility in Casale
     Montferrato, Italy. A mix of crocidolite and chrysotile asbestos was used at this factory. They
     observed nine ovarian cancer deaths versus 4 expected (SMR of 2.27). In women who had 30
     or more years of exposure, the SMR was 2.97 (Magnani 2008, Bertolotti 2008). Ferrante et al.
     published a study in 2007 that examined cancer mortality in the household contacts of men
     who worked at this facility; among women with exposure due to household contacts, there
     were 11 ovarian cancer deaths versus an expected 7.7, or SMR of 1.42 (CI 0.71-2.54).
     (Ferrante 2007).

             I am aware of two meta-analyses, both published in 2011, that evaluated a link
     between asbestos and ovarian cancer. The first was published in 2011 by Reid et al. and
     analyzed fourteen cohort and two case-control studies of women with exposure to asbestos in
     their work environment. The majority of the cohort cases they evaluated are detailed above.
     The authors added a 2002 paper by Szeszenia-Dabrowska et al. that studied Polish women
     diagnosed with asbestosis and a 2004 paper by Mamo et al. that studied Turin asbestos textile
     factory workers (Szeszenia-Dabrowska 2002, Mamo 2004). The two case-control studies they
     evaluated were a 1992 study of Johns Hopkins patients by Rosenblatt et al. and a 2004 study
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 34 of 348 PageID:
                                  60808
                                     33


     of Norwegian pulp and paper workers by Langseth et al., the same group of workers
     previously described above. Reid et al. concluded that although women “thought to have
     ovarian cancer” (not all cases of ovarian cancer were histologically reviewed and confirmed)
     had an increased rate if exposed to asbestos, the overall numbers were still small and further
     study was warranted as one misclassification could skew the data (Reid 2011).

              The authors of the second 2011 meta-analysis, Camargo et al., included 18 studies.
     They did not include the 1992 Rosenblatt et al. study or the 2004 Langseth et al. study but
     added six others: a 1986 study of cement workers in the U.K. by Gardner et al., a 1989 study
     of friction material workers in the U.K. by Newhouse et al., a 2007 study of textile workers in
     the U.S. by Hein et al., a 2009 study of textile workers in the U.S. by Loomis et al., and two
     other 2009 studies by Harding et al. and Clin et al. The authors of this second meta-analysis
     came to a stronger conclusion that the findings were consistent with an association between
     asbestos exposure and an increased risk of ovarian cancer (Carmargo 2011).

             Considering the consistency of these studies, the Bradford Hill viewpoints (strength of
     association, consistency, biological plausibility, etc.) and the well-known carcinogenic
     properties of asbestos, it is my opinion to a reasonable degree of scientific certainty that
     asbestos exposure can cause ovarian cancer. Even disregarding the evidence that cosmetic talc
     is contaminated with asbestos, it is my opinion that talc is causally associated with ovarian
     cancer. However, to the extent that talcum powder products contain even small amounts of
     asbestos, the evidence of causation is even more compelling.


  XVI.        BRADFORD HILL ANALYSIS:

              In 1965, Sir Austin Bradford Hill proposed nine viewpoints of a causal relationship:
     strength of association, consistency, specificity, temporality, biologic gradient, plausibility,
     coherence, experiment and analogy (Hill 1965). It is important to remember, however, as
     discussed at the beginning of this report, that Hill himself noted that none of these viewpoints
     of association – including the existence of a statistically significant relationship – is either
     necessary or sufficient to show causation. There are no “hard-and-fast rules”. Rather, the
     totality of the evidence must be weighed and considered. With that important command in
     mind, let us examine the evidence.

     1. Strength of association:

             Strength of association is often measured by the magnitude of the relative risk (CDC).
     All meta-analyses and pooled analyses have found a statistically significant increased risk of
     ovarian cancer in perineal talc users, with relative risks falling between 1 and 2. This is
     consistent with a causal relationship. Strength of association is higher for asbestos. There are a
     number of examples of causal relationships where the relative risk is less than 2.0 (e.g.,
     second hand smoke and lung cancer, oral contraceptive use and breast cancer, radon exposure
     and lung cancer). It also is worth noting that small or moderate effects on the benefit side can
     have important clinical significance. For example, aspirin has been deemed “causal” of
     cardiovascular event reduction, based on multiple studies that reported a benefit between 20-
     30% reduction in cardiovascular events. The strength of this association, especially combined
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 35 of 348 PageID:
                                  60809
                                     34


     with the consistency, weigh in favor of a cause-and-effect relationship between talc and
     ovarian cancer.

     2. Consistency:

             The statistically significant increased risk of ovarian cancer with talc use has been
     consistent in size across multiple studies, different populations, different investigators,
     multiple countries and over time. Hill stressed the importance of repetitive findings; no single
     study can prove or disprove causation due to possible inherent internal validity issues. The
     consistency of the increased risk of ovarian cancer (and in particular invasive serous
     carcinoma) with talc use found in numerous studies, in different countries, and after
     adjustments for confounding factors cannot be disregarded. There also is consistent evidence
     of an association between asbestos and ovarian cancer. This was a very important factor in my
     analysis.

     3. Specificity:

             Hill suggested that associations are more likely to be causal when they are specific, in
     other words, a particular substance causes a single disease. However, in the half-century
     experience has shown that this aspect of causation is not particularly important in the context
     of cancer. Few examples of specificity are found when it comes to cancer. Smoking is
     generally accepted to be a cause of lung cancer, yet smoking is also associated with COPD,
     heart disease, stroke, and asthma, amongst other diseases. In multiple studies, talc has been
     shown to be associated with epithelial ovarian cancer, with invasive serous ovarian cancer
     showing the strongest association. Asbestos is generally accepted to cause mesothelioma, lung
     cancer, and ovarian cancer. Asbestos is also generally accepted to cause asbestosis/pulmonary
     fibrosis, pleural inflammation and thickening. This was a less important factor in my analysis.

     4. Temporality:

             Exposure to a substance must precede onset of disease for it to be causal. The above-
     described case-control and cohort studies had the objective of assessing talc exposure that
     preceded the onset of disease. In cohort studies, the exposure data was obtained before any
     women were diagnosed with ovarian cancer. In the case-control studies, women with ovarian
     cancer reported exposures prior to their diagnosis and controls reported exposures in the same
     time frame. In many studies the exposures went back several decades, providing even more
     assurance that the temporality requirement is met. This was an important factor in my
     analysis.

     5. Biological gradient:

             A biologic gradient, or dose-response, refers to an increased exposure corresponding
     to an increased risk. In the case of talc exposure, dose-response would ideally include both
     frequency of use and duration of use, or “application years” (total lifetime applications)
     similar to “pack-years” used in the setting of smoking. However, application-years is much
     more difficult to assess than pack-years, since one cannot easily quantify the amount of talc
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 36 of 348 PageID:
                                  60810
                                     35


     used during each perineal application (unlike in smoking, where one can easily count the
     number of cigarettes smoked to calculate pack-years). Yet, when studies have evaluated
     duration and frequency of perineal talc use, most have found an increased risk of ovarian
     cancer with increased exposure (Harlow 1992, Cramer 1999, Mills 2004, Merritt 2008, Wu
     2009, Terry 2013, Penninkilampi 2018). In the case of asbestos and mesothelioma, a study
     published by Plato et al. in 2018 found “a significant, dose–response relationship between
     maximum intensity asbestos exposure and mesothelioma of the pleura and cumulative
     asbestos exposure with 30-, 40-, and 50-years lag time. Cumulative exposure to asbestos, even
     at low levels, entailed an increased risk of mesothelioma of the pleura, indicating that even
     short periods with cumulative doses <1.78 f-y/ml can increase the risk of mesothelioma. Time
     since first exposure did not show any sufficient dose–response relationship in the longest lag
     period (>50 years).” (Plato 2018)

             While there is evidence of a dose response, this data is more equivocal because of
     the challenge in measuring and comparing the extent of talcum powder usage. The
     evidence of biological gradient for talcum powder products is therefore very difficult to
     study. The evidence of biological gradient supports cause and effect, but for the reasons
     noted, it is limited by difficulties in the measurement of exposure. This was an important
     factor in my analysis.

     6. Plausibility:

             In this context, plausibility means that an association can be explained by and is
     consistent with existing scientific knowledge and, in particular, that there is a biologically
     plausible explanation for the exposure (to talc) as a cause of ovarian cancer. Thus, plausibility
     is dependent upon the current state of scientific knowledge regarding a mechanism of disease.
     Hill noted plausibility is helpful but limited by current knowledge.

              There is evidence that validates the biological plausibility of talc-related ovarian
     cancer. It is generally accepted that inflammation plays a role in carcinogenesis. Pelvic
     inflammatory disease and endometriosis are known risk factors for ovarian cancer, and they
     cause the release of inflammatory mediators. Talc is known to produce an inflammatory
     reaction, and is in fact used in clinical practice to induce inflammation in the pleura to treat
     patients with pneumothorax and pleural effusions. It has also been demonstrated that particles,
     including talc, can migrate proximally through the female genital tract and gain access to the
     perineum, ovaries, and fallopian tubes. Thus, it is plausible that talc can reach the ovaries and
     fallopian tubes and cause a proinflammatory reaction, including induction of cytokines and
     ROS that play a role in the onset of ovarian cancer. Other plausible mechanisms include a
     down-regulated immune response to MUC1, causing an immune tolerance of a MUC1-
     expressing cancer, and talc-induced macrophage TNF-α expression and subsequent ovarian
     tumorigenesis. The 2008 Gates study showed an association of talc and ovarian cancer in
     women with the GSTT1-null genotype (p-interaction=0.03), particularly in combination with
     the GSTM1-present genotype (p-interaction=0.03). It is thus plausible that women with a
     GSST1-null phenotype are unable to eliminate talc as efficiently and are at increased risk of
     ovarian cancer. It is also highly plausible that asbestos in asbestos-tainted talc also releases
     cytokines and mutagenic ROS from inflammatory cells.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 37 of 348 PageID:
                                  60811
                                     36



             In the case of asbestos, fiber surface reactivity with free radical generation has been
     accepted as a mechanism of carcinogenesis (IARC Monograph). Asbestos-derived free
     radicals can lead to a variety of effects on cells including lipid peroxidation, DNA oxidation,
     TNF release, cell apoptosis, and increased uptake of asbestos fibers (Mossman 1983, Hobson
     1990, Ghio 1998, Churg 1998, Gulumian 1999, Aust 1999, Upadhyay 2003, IARC
     Monograph). Asbestos fibers may directly cause the generation of ROS (IOM 2006) and
     indirectly cause ROS by inducing inflammation and macrophage activation (IARC
     Monograph). As noted above, the carcinogenicity of the other constituents of talc (cobalt,
     chromium, nickel, and fragrance ingredients) adds strength to biologic plausibility.

             This biologic evidence, provides a biologically plausible explanation for the increased
     risk seen in the epidemiologic studies and is therefore a very strong factor in favor of a cause
     and effect relationship.

     7. Coherence:

            Coherence in this context means coherence between epidemiological and generally
     accepted knowledge of the disease in question. Numerous studies addressing talc use and
     ovarian cancer have indicated talc use increases ovarian cancer risk consistently. The
     coherence of the epidemiological evidence linking a risk of ovarian cancer with talc use, in
     tandem with biologically plausible mechanistic evidence discussed above, is striking and
     weighs heavily in support of causation.

     8. Experiment:

             Hill suggested that evidence drawn from experimental manipulation, particularly
     epidemiologic studies in which disease risk declines following an intervention or cessation of
     exposure, may lead to the strongest support for causal association. No studies exist that follow
     women after cessation of genital powder use and assess them specifically for a change in risk
     of ovarian cancer. The challenge of such a study is that it has been shown that talc-associated
     ovarian cancer takes years or decades before onset of disease. However, the Australian study
     performed by The Survey of Women’s Health Study Group published in 1997 found that the
     risk of ovarian cancer was highest among women who were talc users and had not undergone
     surgical sterilization (RR=1.3, CI 1.1-1.6). (Green 1997). This indicates that tubal ligation or
     hysterectomy, by impeding the proximal migration of talc into the perineum to the ovaries and
     fallopian tubes, decreases the risk of talc-associated ovarian cancer, lending support to Hill’s
     experiment aspect in the context of talc and ovarian cancer.

            There are experimental studies in the literature that support a causal relationship
     between talc and ovarian cancer. Examples include studies that show increases in
     inflammatory markers following talc exposure (Allaire 1989, Genofre 2009, Arellano-Orden
     2013). There is also evidence that talc causes neoplastic transformation in ovarian cells
     (Buz’Zard 2007) and that talc induces genotoxicity in mesothelial cells (Shukla 2009).
     Additionally, there is evidence that talc induces macrophage TNF-α expression (Cheng 2000),
     and macrophages that express TNF-α have been shown to promote ovarian tumorigenesis
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 38 of 348 PageID:
                                  60812
                                     37


     (Hagemann 2006). Of note, invasive serous carcinomas commonly have p53 mutations and
     TNF-α induced chromosomal mutations have been shown to occur mostly in cells with p53
     aberrations (Yan 2006).

            It has long been generally accepted that asbestos exposure causes mesothelioma,
     ovarian cancer, and lung cancer (Dement 1994, deKlerk 1996, Berry 2000, IARC 2012). The
     experimental evidence was very important to my analysis.




     9. Analogy:

             Comparisons of similar associations can be used to determine plausibility. Hill
     suggested that when there is strong evidence of a causal relationship between a particular
     agent and a specific disease, researchers should be more accepting of weaker evidence that a
     similar agent may cause a similar disease. Analogy under the Bradford Hill viewpoints has
     been interpreted to mean that when one causal agent is known, the standards of evidence are
     lowered for a second causal agent that is similar in some way (Susser 1991). In the case of talc
     and ovarian cancer, one can use the analogy of asbestos and mesothelioma. Both talc and
     asbestos are silicates, and asbestos causes an inflammatory and fibrosing reaction within the
     pleura, which is generally accepted to be the primary cause of mesothelioma years later. It is
     the inflammatory and fibrosing reaction caused by talc that has led to its common use in the
     treatment of pneumothorax and pleural effusions by injection into the pleural cavity.
     Similarly, in the case of asbestos, fiber surface reactivity with free radical generation has been
     accepted as a mechanism of carcinogenesis (IARC Monograph). The analogy evidence was
     somewhat important in my analysis.


  XVII.       CONCLUSION:

            Based upon the totality of the evidence and consideration of the Bradford Hill
     viewpoints, which includes the high consistency and replication of the findings in the
     epidemiological studies, pathological, biological, and mechanistic evidence, it is my opinion,
     which I hold to a reasonable degree of scientific and medical certainty, that genital talcum
     powder exposure can cause ovarian cancer.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 39 of 348 PageID:
                                  60813
                                     38




     Figure 1. Ovarian invasive serous carcinoma.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 40 of 348 PageID:
                                  60814
                                     39




     Figure 2. Mesothelioma. Notice the morphologic similarities to ovarian serous carcinoma
     (Fig 1).
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 41 of 348 PageID:
                                  60815
                                     40




     Figure 3. Ovarian serous borderline tumor.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 42 of 348 PageID:
                                  60816
                                     41




     Figure 4. Ovarian clear cell carcinoma.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 43 of 348 PageID:
                                  60817
                                     42




     Figure 5. Ovarian endometrioid carcinoma.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 44 of 348 PageID:
                                  60818
                                     43




     Figure 6. Ovarian mucinous carcinoma.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 45 of 348 PageID:
                                  60819




                                  EXHIBIT A
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 46 of 348 PageID:
                                  60820



                                  CURRICULUM VITAE
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     Postdoctoral Training:

     2001-2005         Resident       Pathology, AP/CP      Massachusetts General Hospital
     2005-2007         Fellow         Robert E. Scully Fellow Massachusetts General Hospital
                                      Cytopathology, Gynecologic and Perinatal Pathology
     Academic Appointments:

     2001-2005         Clinical Instructor   Pathology     Harvard Medical School
     2005-2007         Graduate Assistant    Pathology     Harvard Medical School
     2007-2011         Instructor            Pathology     Harvard Medical School

     Appointments at Hospitals/Affiliated Institutions

     2007-2011         Staff Pathologist     Pathology     Beth Israel Deaconess
     2007-2011         Staff Pathologist     Pathology     Beth Israel Deaconess-Needham
     2011-Present      Staff Pathologist     Pathology     North Shore Medical Center
     2011-Present      Staff Pathologist     Pathology     Newton-Wellesley Hospital
     2011-Present      Clinical Affiliate    Pathology     Massachusetts General Hospital
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 47 of 348 PageID:
                                  60821



     Major Administrative Responsibilities:

     2005 Chief Resident, Anatomic Pathology          Massachusetts General Hospital
     2007-2011 Course Director, PA501.5 Elective      Harvard Medical School
     2010-2011    Associate Director, Cytopathology Fellowship      BIDMC/Harvard
     2012-2013    Hematology Laboratory Director NSMC               NSMC/Partners
     2013-Present Autopsy Director, North Shore Medical Center      NSMC/Partners

     Major Committee Assignments:

     2005-2007           Cytopathology Junior Member College of American Pathologists
     2005 Path Residency Training Committee Member Massachusetts General Hospital
     2005 Anatomic Path Quality Assurance      Member Massachusetts General Hospital
     2005 Anatomic Path Steering Committee     Member Massachusetts General Hospital
     2008-2011 Path Resident Selection Committee Member Beth Israel Deaconess
     2009-2011 Path Residency Planning Committee    Member Beth Israel Deaconess
     2010 Pathology Scheduling Committee            Member Beth Israel Deaconess
     2010-2011 Anatomic Path Quality Assurance      Member Beth Israel Deaconess

     Professional Societies:

     1997 – 2001           American Medical Student Association              Member
     2001 – Present        Massachusetts Medical Society                     Member
     2003 – Present      United States and Canadian Academy of Pathology     Member
     2005 - Present           College of American Pathologists               Member

     Awards and Honors:

     1994             Charlotte W. Fahey Prize in Chemistry, Skidmore College
     1994             Skidmore College Periclean Honor Society
     1995             Phi Beta Kappa, Skidmore College
     1995             Cum Laude with Department Honors, Skidmore College
     2000             Honors in Pediatric Hematology and Oncology 4th Year Clerkship
     2000             Letter of Commendation, Surgery Third Year Clerkship
     2000             Letter of Commendation, Neurology Third Year Clerkship
     2001             Honors in Anatomic and Clinical Pathology Fourth Year Elective
     2001             Honors in Individual Studies in Pathology Fourth Year Elective
     2016             Partners in Excellence Team Award

     Teaching of Students:

     Harvard Medical School Courses:

     2007-2009                     Respiratory Pathophysiology
     2nd Year Medical Students     Lab Instructor       Three 2 hour sessions, one week
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 48 of 348 PageID:
                                  60822




     2007-2009                      Cardiovascular Pathophysiology
     2nd Year Medical Students      Lab Instructor       Three 2 hour sessions, one week

     2007-2011                      Core Surgery Clerkship
     3rd Year Medical Students      Pathology Coordinator         One hour lecture/3 months

     2009-2011                      Principal Clinical Experience
     3rd Year Medical Students      Mentor                Two hour session per week

     2009-2011                      Principal Clinical Experience – Pathology Elective
     3rd Year Medical Students      Mentor                Minimum 2 hour session/month

     Formal Teaching of Residents:

     2007                  Respiratory Cytology
     All pathology residents      Beth Israel Deaconess           One hour lecture

     2007-2011             Respiratory Cytology            Quarterly 1 hr microscope session
     Pathology residents rotating through Cytology

     2008-2011             Fine Needle Aspiration Techniques
     All pathology residents      Beth Israel Deaconess      One hour lecture

     2008-2011             Histologic and Cytologic Correlation of Cervical Lesions
     All pathology residents      Beth Israel Deaconess         One hour lecture

     Clinical Supervisory and Training Responsibilities:

     2007-2011 Core Surgery Clerkship, Pathology Elective BIDMC          2 students/month

     Local Invited Presentations:

     2005 Cytology/Histology Correlation Clinical Pathology Technician Lecture Series
     Department of Pathology, Massachusetts General Hospital

     2008          Respiratory Cytology      Cytopathology Lecture Series
     Department of Pathology, Brigham and Women’s Hospital

     Current Licensure and Certification:

     2005          Full License, Massachusetts

     2008          Board certified, Anatomic and Clinical Pathology

     2008          Board certified, Cytopathology
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 49 of 348 PageID:
                                  60823




     Practice Activities:
     Surgical Pathology, Cytopathology, Autopsy         North Shore Medical Center

     Surgical Pathology, Cytopathology                  MGH Ambulatory Care Center

     Cytopathology                                      Massachusetts General Hospital

     Clinical Pathology                                 Newton-Wellesley Hospital

     Peer-Reviewed Publications:

     Narasimhan V, Malboueuf B, Hodil SE. Temperature Induced Interstrand
     Crosslinks in Cisplatin-DNA Adducts Detected by Electrophoresis and UV
     Spectrophotometer. Biochem Mol Biol Int. 1995;37:843-851.

     Grundy FJ, Hodil SE, Rollins SM, Henkin TM. Specificity of tRNA-mRNA Interactions
     in Bacillus subtilis tyrS antitermination. J Bacteriol. 1997;179:2587-2594.

    Rollins S, Prayson RA, McMahon JT, Cohen BH. Diagnostic Yield of Muscle
    Biopsy in Patients with Clinical Evidence of Mitochondrial Cytopathy. Am J Clin
    Pathol. 2001;116:326-330.

     Rollins SE, Rollins SM, Ryan ET. Yersinia Pestis and the Plague. Am J Clin Pathol.
     2003:119 Suppl:S78-85.

     Rollins SE, Young RH, Bell DA. Autoimplants in Serous Borderline Tumors of the
     Ovary: A Clinicopathologic Study of 30 Cases of a Process to be Distinguished from
     Serous Adenocarcinoma. Am J Surg Pathol. 2006;30:457-462.

     Chan MP, Hecht JL, Kane SE. Clinicopathologic Correlation of Fetal Vessel
     Thrombosis in Mono- and Dichorionic Twin Placentas. J Perinatol. 2010 Oct;
     30(10):660-4.

     Kane SE, Hecht JL. Endometrial Intraepithelial Neoplasia Terminology in Practice: 4-
     Year Experience at a Single Institution. Int J Gynecol Cancer. 2012 Mar;31(2):160-165.

     Haspel RA, Bhargava P, Gilmore H, Kane SE, Powers A, Sepehr A, Weinstein A,
     Schwartzstein R, Roberts D. Successful Implementation of a Longitudinal, Intergrated
     Pathology Curriculum During the Third Year of Medical School. Arch Pathol Lab Med.
     2012 Nov;136(11):1430-6.
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     Proceedings of Meetings (Poster Presentations):

     Rollins S, Prayson RA, McMahon JT, Cohen BH. Diagnostic Yield of Muscle Biopsy in
     Patients With Clinical Evidence of Mitochondrial Cytopathy. 90th United States and
     Canadian Academy of Pathology. March 2001. Atlanta, GA.

     Rollins SE, Nielsen GP, Hedley-Whyte ET. Light Microscopy, Electron Microscopy,
     and Mitochondrial Enzyme Function in Muscle Biopsies for Suspected Mitochondrial
     Cytopathies. 92nd United States and Canadian Academy of Pathology. March 2003.
     Washington, DC.

     Rollins SE, Nielsen GP, Hedley-Whyte ET. Light Microscopy, Electron Microscopy,
     and Mitochondrial Enzyme Function in Muscle Biopsies for Suspected Mitochondrial
     Cytopathies. Massachusetts General Hospital Clinical Research Day. June 2003. Boston,
     MA.

     Rollins SE, Young RH, Bell DA. Autoimplants Involving Serous Borderline Tumors of
     the Ovary: A Clinicopathologic Study of 30 Cases. 93rd United States and Canadian
     Academy of Pathology. March 2004. Vancouver, BC.

     Michaels PJ, Rollins SE, Bounds BC, Brugge WR, Pitman MB. Cyst Fluid Analysis and
     Endoscopic Features Aid in the Preoperative Grading of Intraductal Papillary Mucinous
     Neoplasms of the Pancreas. 95th United States and Canadian Academy of Pathology.
     February 2006. Atlanta, GA.

     Rollins SE, Clement PB, Young RH. Uterine Tumors Resembling Ovarian Sex Cord
     Tumors Frequently Have Incorporated Mature Smooth Muscle Imparting a
     Pseudoinfiltrative Appearance. 96th United States and Canadian Academy of Pathology,
     March 2007. San Diego, CA.

     White SR, Hecht J, Kane SE, Fu Y, Cohen DW, Wang HH. Bile duct brush cytology:
     indeterminate diagnosis is essential. Arch Pathol Lab Med 2009;133:1689.
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 51 of 348 PageID:
                                  60825




                                  EXHIBIT B
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 52 of 348 PageID:
                                  60826



                             SARAH E. KANE, M.D.
                    Board Certified in Anatomic and Clinical Pathology, and Cytopathology




                           REFERENCES CITED
                AND OTHER MATERIAL AND DATA CONSIDERED

  LITERATURE:
  1.   Acheson ED, Gardner MJ, Pippard EC, and Grime LP. Mortality of two groups of women
       who manufactured gas masks from chrysotile and crocodilite asbestos: a 40 year follow-up.
       Br J Indust Med 1982;39-344-8.
  2.   Allaire GS, Goodman ZD, Ishak KG, et al. Talc in liver tissue of intravenous drug abusers
       with chronic hepatitis. A comparative study. Am J Clin Pathol 1989 Nov;92(5):583-8.
  3.   Antonangelo L, Vargas FS, Teixeira LR, et al. Pleurodesis induced by talc or silver nitrate:
       Evaluation of collagen and elastic fibers in pleural remodeling. Lung 2006;184:105-11.
  4.   Antony VB, Nasreen N, Mohammed KA, et al. Talc pleurodesis: Basic fibroblast growth
       factor mediates pleural fibrosis. Chest 2004;126:1522-8.
  5.   Arellano-Orden E, Romero-Falcon A, Juan JM, et al. Small particle-size talc is associated
       with poor outcome and increased inflammation in thoracoscopic pleurodesis. Respiration
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       1999;222:246-52.
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       ovarian cancer: systematic review and meta-analysis of observational studies. Acta Obstet
       Gynecol Scand 2013;92(3):245-55.
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       Strongly Associated with Ovarian Cancer Survival. PLoS One 2015; 10(8): e0135739.
  9.   Berge W, Mundt K, Luu H, et al. Genital use of talc and risk of ovarian cancer: a meta-
       analysis. Eur J Cancer Prev 2018 May;27(3):248-257.
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       in east London 1933–80. Occup Environ Med 2000;57:782–785.
  11.  Bertolotti M, Ferrante D, Mirabelli D. [Mortality in the cohort of the asbestos cement workers
       in the Eternit plant in Casale Monferrato (Italy)]. Epidemiol Prev 2008;32(4-5):218-28.
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       analyses in epidemiology. Int J Epidemiol 1999 Feb;28(1):1-9.
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       Cancer 1989;60:592-8.
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       endometriosis. Am J Obstet Gynecol 1997;176:572-9.
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       of infertility. Fertil Steril 2004;82:405-14.
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        human ovarian cell cultures. Phytother Res 2007;21:579-86.
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        against the tumor-associated antigen MUC1 and their relationship to risk for ovarian cancer.
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        cancer: A retrospective case-control study in two US states. Epidemiology 2016;27:334-
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        associated with chemoresistance in epithelial ovarian cancer. Free Radic Biol Med 2017
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                                  60837




                       Exhibit 11
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 64 of 348 PageID:
                                  60838

                              Sarah E. Kane, M.D.

                                                                       Page 1
                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
             ------------------------------------x
             IN RE:    JOHNSON & JOHNSON TALCUM
             POWDER PRODUCTS MARKETING, SALES
             PRACTICES, AND PRODUCTS                     MDL NO:
             LIABILITY LITIGATION                        16-2738 (FLW)(LHG)
             ------------------------------------x
             THIS DOCUMENT RELATES TO
             ALL CASES
             -------------------------------------x




                      DEPOSITION UNDER ORAL EXAMINATION OF
                               SARAH E. KANE, M.D.
                          January 25, 2019, 9:19 a.m.


                                      -   -   -
              REPORTED BY: JANET M. SAMBATARO, RMR, CRR, CLR
                                      -   -   -
                           GOLKOW TECHNOLOGIES, INC.
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 65 of 348 PageID:
                                  60839

                                           Sarah E. Kane, M.D.
                                                    Page 2                                                     Page 4
       1                                                          1   APPEARANCES: (Continued)
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      10   Massachusetts, pursuant to Agreement before           10   Johnson & Johnson Consumer Companies, Inc.
      11   Janet Sambataro, a Registered Merit Reporter,         11
      12   Certified Realtime Reporter, Certified LiveNote       12   DRINKER BIDDLE AND REATH LLP
      13   Reporter, and a Notary Public within and for the      13   BY: KATHERINE MCBETH, ESQ.
      14   Commonwealth of Massachusetts, on January 25, 2019,   14   One Logan Square, Suite 2000
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      25   Representing the Plaintiffs                           25   - Continued -

                                                                                              2 (Pages 2 to 5)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 66 of 348 PageID:
                                  60840

                                                Sarah E. Kane, M.D.
                                                          Page 6                                                 Page 8
       1   APPEARANCES: (Continued)                                 1             EXHIBITS
       2                                                            2   Number        Description                Page
       3   SEYFARTH SHAW LLP                                        3   Exhibit 9 Article entitled "Serous tubal
       4   BY: THOMAS T. LOCKE, ESQ. (Via telephone)                4         intraepithelial carcinoma, chronic
       5   975 F Street, N.W.                                       5         fallopian tube injury, and serous
       6   Washington, D.C. 20004                                   6         carcinoma development"                91
       7   (202) 463-2400                                           7   Exhibit 10 "Blaustein's Pathology of the Female
       8   Representing PCPC                                        8         Genital Tract," Fourth Edition        95
       9                                                            9   Exhibit 11 Excerpt from "Blaustein's Pathology of
      10   ALSO PRESENT:                                           10         the Female Genital Tract,"
      11   Jody Urbati, Videographer                               11         Fourth Edition                   98
      12                                                           12   Exhibit 12 Blaustein's Pathology of the Female
      13                                                           13         Genital Tract"                  160
      14                                                           14   Exhibit 13 Excerpt of "Blaustein's Pathology
      15                                                           15         of the Female Genital Tract, Fifth
      16                                                           16         Edition                      160
      17                                                           17   Exhibit 14 Rule 26 Expert Report of Sarah E.
      18                                                           18         Kane, M.D.                      164
      19                                                           19   Exhibit 15 Document entitled "References Cited
      20                                                           20         and Other Material and Data
      21                                                           21         Considered"                     165
      22                                                           22   Exhibit 16 Document entitled "Additional
      23                                                           23         Material Considered"               181
      24                                                           24   Exhibit 17 Document entitled "Additional Materials
      25                                                           25          to Dr. Sarah Kane"               186
                                                          Page 7                                                 Page 9
       1              INDEX                                         1             EXHIBITS
       2   WITNESS      DIRECT CROSS REDIRECT RECROSS               2   Number         Description              Page
       3   SARAH E. KANE, M.D.                                      3   Exhibit 18 "The Plaintiffs' Steering Committee's
       4   By Ms. Ahern 15                                          4         Initial Designation and Disclosure of
       5   By Mr. Klatt    318      348                             5         Non-case Specific Expert Witnesses" 194
       6   By Mr. Rotman     341                                    6   Exhibit 19 Article entitled "Presence of Talc
       7                                                            7         in Pelvic Lymph Nodes of a Woman with
       8             EXHIBITS                                       8         Ovarian Cancer and Long-Term Genital
       9   Number       Description               Page              9         Exposure to Cosmetic Talc"            252
      10   Exhibit 1 Notice of Oral and Videotaped                 10   Exhibit 20 Article entitled "Perineal Exposure
      11         Deposition of Sarah E. Kane and                   11         to Talc and Ovarian Cancer Risk"        260
      12         Duces Tecum                    27                 12   Exhibit 21 Article entitled "Genital Talc
      13   Exhibit 2 Curriculum vitae of Sarah E.                  13         Exposure and Risk of Ovarian Cancer" 266
      14         Kane, M.D.                    29                  14   Exhibit 22 Article entitled "Perineal Talc
      15   Exhibit 3 Invoice from Sarah Kane, M.D., for            15         Exposure and Epithelial Ovarian Cancer
      16         services 5/19 through 7/14         31             16         Risk in the Central Valley of
      17   Exhibit 4 Invoice from Sarah Kane, M.D., for            17         California"                    272
      18         services 7/28 through 9/12         41             18   Exhibit 23 Highlighted copy of Dr. Kane's
      19   Exhibit 5 Invoice from Sarah Kane, M.D., for            19         expert report                  284
      20         services 9/18/17 through 2/5/18      43           20   Exhibit 24 Article entitled "Talcum powder,
      21   Exhibit 6 Invoice from Sarah Kane, M.D., for            21         chronic pelvic inflammation and
      22         services 2/23/18 through 8/3/18      44           22         NSAIDs in relation to risk of
      23   Exhibit 7 Invoice from Sarah Kane, M.D., for            23         epithelial ovarian cancer"          289
      24         services 9/20/18 through 11/16/18     45          24   Exhibit 25 Article entitled "The relationship
      25   Exhibit 8 Excerpt from Blaustein's Second Edition 54    25         between perineal cosmetic talc usage
                                                                                           3 (Pages 6 to 9)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 67 of 348 PageID:
                                  60841

                                          Sarah E. Kane, M.D.
                                                 Page 10                                                   Page 12
       1             EXHIBITS                                   1   identified yesterday in that list are voluminous
       2   Number        Description             Page           2   and dense and require additional time to cover,
       3   Exhibit 25 (Continued)                               3   to the extent that they substantively informed
       4         and ovarian talc particle burden" 308          4   Dr. Kane's opinions in this case.
       5   Exhibit 26 Article entitled "Pycnogenol reduces      5          We'd also like to object to the
       6         Talc-induced Neoplastic Transformation         6   inclusion of those materials on the science day
       7         in Human Ovarian Cell Cultures" 328            7   presentations, which were not intended for any
       8                                                        8   other purpose than for science day in the MDL.
       9                                                        9          And that's all I have to say on the
      10                                                       10   objections.
      11                                                       11          MR. ROTMAN: Go ahead.
      12                                                       12          MR. TISI: First of all, as you know,
      13                                                       13   many of those documents were documents that were
      14                                                       14   provided to counsel in connection with virtually
      15                                                       15   every depositions that have been taken to date.
      16                                                       16   In fact, it was provided with Dr. Mohrman that
      17                                                       17   was being taken at the same time today; it was
      18                                                       18   provided with Dr. Zelikoff earlier in the week;
      19                                                       19   it was provided almost routinely.
      20                                                       20          Many of them -- some of them,
      21                                                       21   particularly the Health Canada document, were
      22                                                       22   documents that only became available in mid
      23                                                       23   December, number one.
      24                                                       24          Number two, I believe that the science
      25                                                       25   day document that you're referring to, which I
                                                 Page 11                                                   Page 13
       1            PROCEEDINGS                                 1   think you'll find was not relied on in any way,
       2         THE VIDEOGRAPHER: We are now on the            2   was a -- that was the California and not the MDL.
       3   record. My name is Jody Urbati. I am a               3   So I just want to be clear about that.
       4   videographer for Golkow Litigation Services.         4           So there is no prejudice, and we would
       5   Today's date is January 25, 2019; the time,          5   clearly object to -- these are not documents she
       6   9:19 a.m.                                            6   relied on for her report; they just are
       7         This video deposition is being held in         7   supplemental materials. But -- you can ask
       8   Boston, Massachusetts, In Re: Johnson & Johnson      8   questions, but we will certainly object to
       9   Talcum Powder Products Liability Litigation in       9   reconvening the deposition at any later time. We
      10   the United States District Court for the District   10   made that clear yesterday.
      11   of New Jersey.                                      11           MS. AHERN: Thank you.
      12         The deponent today is Sarah Kane.             12           MR. ROTMAN: Yeah, there was -- one of
      13   Counsel will be noted on the stenographic record.   13   the documents was a textbook that Dr. Kane first
      14   The court reporter is Janet Sambataro and will      14   looked at two days ago or -- yeah, I think it was
      15   now swear in the witness.                           15   two days ago, and so I added it to the list. And
      16             (Witness sworn.)                          16   she brought the textbook with her today.
      17         MS. AHERN: Just a quick housekeeping          17           MR. KLATT: Can I just add we had an
      18   matter. The defendants would like to lodge an       18   agreement for all the other depositions, and I
      19   objection to the additional materials to Sarah      19   assume we continue today, one objection by a
      20   Kane that were served yesterday at 3:36 p.m. by     20   party is good for all.
      21   Ashcraft law firm. Serving supplementary            21           MR. TISI: That's fine, yes.
      22   materials 24 hours before an expert deposition is   22           MR. ROTMAN: And, you know, just so
      23   prejudicial to the defendants' ability to           23   it's clear to anybody reading the transcript that
      24   prepare.                                            24   what you received yesterday was the third
      25         The number of the documents that were         25   reference list that we've provided for Dr. Kane,
                                                                                   4 (Pages 10 to 13)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 68 of 348 PageID:
                                  60842

                                           Sarah E. Kane, M.D.
                                                  Page 14                                                 Page 16
       1   the first being with her report in November; the     1   Commonwealth Pathology Partners?
       2   second being on January 4th, which was about ten     2       A. The address we commonly use is 81
       3   days before the deposition had been scheduled for    3   Highland Avenue, Salem, Massachusetts. It's
       4   January 14th; and then these additional items        4   01970.
       5   were materials that either were inadvertently        5       Q. Okay. And do you have any separate
       6   left off or not reviewed until just very             6   consulting business?
       7   recently.                                            7       A. No. Other -- outside of this type of
       8          MS. AHERN: Okay. To the extent that           8   medical expert witness work, no.
       9   these new materials inform her substantive           9       Q. Okay. And how often do you do this
      10   opinions and were not included in her report or     10   sort of medical witness work?
      11   prior versions of the reference list, then we can   11       A. I am very new at it. I have done one
      12   talk about that later --                            12   deposition before in a tobacco case.
      13          MR. TISI: Yeah.                              13       Q. Okay. And the fees that you get from
      14          MS. AHERN: -- in terms of additional         14   these cases, do they go directly to you or do
      15   time.                                               15   they go to your -- Commonwealth Pathology
      16          And just to clarify, Steve, you said         16   Partners?
      17   that she reviewed one textbook. It looks like on    17       A. They go directly to me.
      18   the list that I received, she reviewed the          18       Q. And, Dr. Kane, you're a medical doctor;
      19   second, fourth, and fifth editions of the           19   correct?
      20   textbook --                                         20       A. Yes.
      21          MR. ROTMAN: I was referring --               21       Q. And what is your medical specialty?
      22          MS. AHERN: -- or textbooks.                  22       A. I am board certified in anatomic and
      23          MR. ROTMAN: I was referring to that as       23   clinical pathology and cytopathology, with
      24   one textbook, yeah, but you're right, the           24   fellowship training in gynecologic pathology.
      25   different editions. And she did bring with her      25       Q. Does that mean that you review
                                                  Page 15                                                 Page 17
       1   today those materials.                               1   diagnostic materials, slides, and blocks that
       2          MS. AHERN: So she has a copy with her         2   have been taken from patient procedures and make
       3   today of all of the items listed in the              3   determinations regarding diagnosis?
       4   additional materials to Sarah Kane that was          4       A. Yes.
       5   served yesterday.                                    5       Q. Do you see patients as part of your
       6          MR. ROTMAN: No.                               6   medical practice?
       7          MS. AHERN: Okay. Do you know what             7       A. Yes. Occasionally, cytopathologists
       8   she -- well, we can -- we'll find out.               8   sometimes perform a procedure that's called a
       9          MR. ROTMAN: Yeah.                             9   fine-needle aspiration. And so if a patient is
      10          MS. AHERN: Okay. All right.                  10   seen in clinic and the clinician discovers a
      11            SARAH E. KANE, M.D.,                       11   palpable nodule, I might be asked to go into the
      12   having been duly sworn, after presenting            12   room and perform a fine-needle aspiration.
      13   identification in the form of a driver's license,   13       Q. But you don't see patients in the sense
      14   deposes and says as follows:                        14   that you don't counsel patients and provide
      15             DIRECT EXAMINATION                        15   ongoing care for an individual patient?
      16   BY MS. AHERN:                                       16       A. Well, I mean, I guess my pathology
      17      Q. Good morning, Dr. Kane.                       17   report is part of the -- basically speaks to
      18      A. Good morning.                                 18   medical treatment and informs clinical treatment
      19      Q. Can you please state your name for the        19   of the patient. So my pathology reports are seen
      20   record?                                             20   by the patient.
      21      A. Sure. Sarah Kane.                             21       Q. I guess what I'm getting at is: Do you
      22      Q. And, Dr. Kane, who is your current            22   see patients as part of your practice, give them
      23   employer?                                           23   a history and physical, provide ongoing care for
      24      A. Commonwealth Pathology Partners.              24   them outside of the setting of a fine-needle
      25      Q. And do you have a business address at         25   aspiration or a specific procedure related to a
                                                                                  5 (Pages 14 to 17)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 69 of 348 PageID:
                                  60843

                                           Sarah E. Kane, M.D.
                                                  Page 18                                                  Page 20
       1   diagnosis?                                           1   aspiration, a blood transfusion reaction.
       2          MR. ROTMAN: Is this working for you?          2       Are there any others?
       3          THE WITNESS: Oh, I'm sorry?                   3       A. I'm trying to think what another
       4          MR. ROTMAN: Is it working?                    4   possibility might be.
       5          THE WITNESS: Yes.                             5       I mean, I go into the operative room when
       6          MR. ROTMAN: Okay.                             6   patients are in surgery sometimes with the
       7      A. Outside of the fine-needle aspiration          7   surgeon to do intraoperative frozen sections,
       8   setting, the only time I might see a patient         8   which are realtime diagnosis while the patient is
       9   would be with a blood transfusion reaction. I        9   having a procedure.
      10   might have to go to the floor to examine the        10       Q. But you're interacting with the
      11   patient or patient chart.                           11   physicians in that respect, aren't you, not with
      12      Ongoing care for them outside of the setting     12   the patient?
      13   of a fine-needle aspiration, the nature of          13       A. It can be both.
      14   gynecologic pathology, sometimes I will see a Pap   14          MR. ROTMAN: Objection. Objection.
      15   smear from a patient and then a cervical biopsy     15          You can answer.
      16   from a patient and then a LEEP from the patient,    16          MS. AHERN: You can answer.
      17   and I might speak to the clinician about            17       A. The vast majority of the time I'm with
      18   treatment algorithms, that kind of thing.           18   frozen sections, I'm interacting with the
      19      Q. Do you actually then go see the patient       19   surgeon.
      20   themselves and discuss with them the results of     20       Q. Are there times where you are
      21   their Pap smear or other testing?                   21   interacting with the patient during a surgical
      22      A. Typically, no.                                22   procedure?
      23      Q. Have you ever performed a history and         23          MR. ROTMAN: When you say
      24   physical in your practice as a pathologist?         24   "interacting," you mean having a conversation or
      25      A. Yes.                                          25   do you mean having any kind of contact?
                                                  Page 19                                                  Page 21
       1       Q. Under what circumstances?                     1          MR. KLATT: Steve, just limit the
       2       A. Under blood transfusion reactions.            2   objection to "form."
       3       Q. And what sort of history and physical         3          MR. ROTMAN: I'm trying to clarify.
       4   do you take in relation to a blood transfusion       4          MR. KLATT: It doesn't matter.
       5   reaction?                                            5   BY MS. AHERN:
       6       A. Well, you might be looking at blood           6      Q. Did you understand --
       7   pressure and review of the medical chart,            7          MR. KLATT: Object to form.
       8   temperature, that kind of thing.                     8      Q. -- the question, Doctor?
       9       Q. So you review the medical chart.              9      A. Let me -- can -- I'm sorry. Can you
      10       Is that medical chart prepared by another       10   read it back or --
      11   physician?                                          11      Q. You said, "The vast majority of" --
      12       A. Usually, you're looking at                   12          MR. ROTMAN: She's reading, I think.
      13   retrospective data at the time of the blood         13          MS. AHERN: I'll withdraw the question
      14   transfusion reaction.                               14   and just remind you.
      15       Q. How often will you see the same patient      15   BY MS. AHERN:
      16   who has had a blood transfusion reaction?           16      Q. You said that the vast majority of the
      17       A. Not very often.                              17   time you're interacting with the physicians;
      18       Q. Okay. Do you ever counsel patients on        18   correct?
      19   risk factors for ovarian cancer?                    19      A. Yes.
      20       A. Have I ever? Probably, but in my             20      Q. What do you mean by "interacting"?
      21   day-to-day practice, I'm not seeing patients on a   21      A. During the surgery, the surgeon might
      22   regular basis to do that.                           22   have me come up to the operative room or the
      23       Q. And the only time you see patients is        23   surgeon might come down to look at the tissue,
      24   with regard to specific issues that are within      24   both grossly and under the microscope with me.
      25   your realm of pathology expertise, a fine-needle    25      Q. Okay. Under those circumstances, would
                                                                                   6 (Pages 18 to 21)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 70 of 348 PageID:
                                  60844

                                           Sarah E. Kane, M.D.
                                                  Page 22                                                  Page 24
       1   you ever speak to the patient?                       1        A. That's correct. They're not scheduled
       2       A. Usually not.                                  2   to see me.
       3       Q. And if you -- have you ever spoken to a       3        Q. Okay. And so outside of, like you
       4   patient when you were reviewing frozen sections?     4   mentioned, procedures like a fine-needle
       5       A. I might have during rapid reads of            5   aspiration, you wouldn't generally see patients
       6   fine-needle aspirations. So sometimes                6   directly.
       7   interventional radiologists will do fine-needle      7        A. The fine-needle aspiration would be the
       8   aspirations if they have to be ultrasound guided.    8   only setting where they would have a scheduled,
       9   So, yes, I'm speaking to patients sometimes in       9   allotted slot time with me.
      10   that situation and, obviously, when I do            10        Q. Okay. Generally speaking, when you're
      11   fine-needle aspirations.                            11   reviewing slides, what sort of medical records do
      12       Q. Okay. But you don't have a group of          12   you have available to you that are relevant to
      13   patients that come to you for ongoing care and      13   your clinical diagnosis?
      14   see you in an office setting, do you?               14        A. I have the entire medical record
      15       A. They are basically -- I would say it's       15   available to me, whatever is in the hospital
      16   the equivalent of physician referral. So if a --    16   system for that patient.
      17   if a clinician is doing a biopsy -- I mentioned     17        Q. What do you routinely rely on or review
      18   women with Pap smears and then cervical biopsies    18   as part of your review of slides in terms of
      19   and then cone LEEPs, you know, it's a trajectory    19   medical records?
      20   of care, but it's physician referred for tissue.    20        A. Well, it's very patient dependent and
      21       Q. When you say "physician referred," what      21   very diagnosis dependent, but, for example --
      22   do you -- what do you mean by that? Are you         22   I'll stick to the example of cervical biopsy. So
      23   interacting with the physician in providing         23   I'll be looking -- if I have a cervical biopsy,
      24   advice or recommendations or are you interacting    24   I'll look to see the patient's history of Pap
      25   with the patients themselves and providing advice   25   smears, HPV tests, that kind of thing.
                                                  Page 23                                                  Page 25
       1   or recommendations?                                  1        Q. Documents that are directly relevant to
       2       A. The physicians usually.                       2   your review of the current pathology; is that
       3       Q. Okay. So I'm asking about patients.           3   correct?
       4       A. Yeah.                                         4        A. For the most part, I would say so.
       5       Q. On a given day -- like what are -- what       5        Q. In other words, you don't go back
       6   are the days that you're in the office?              6   through all of their physician records or
       7       A. Monday through Friday.                        7   gynecologic visits, their primary care physician
       8       Q. So are there days that you do                 8   records?
       9   particular tasks, administrative, and then days      9        A. Again, it would depend on the
      10   that you do frozen sections or days that you do     10   situation. I mean, if I have a lung tumor case,
      11   just general pathology reads?                       11   I'll probably be looking at the radiology, the
      12       A. Rarely, I have an administrative day.        12   radiology reports, the -- I'll pull up a report
      13   It would be nice to have more, but, typically, I    13   with a primary care physician to look for smoking
      14   am looking at slides the majority of the day.       14   history, that kind of thing, to put the whole
      15       I will be doing frozen sections on some         15   piece together for the diagnosis.
      16   days, but we have a very collegial atmosphere, so   16        Q. Okay. And, Doctor, you're here today
      17   I might do frozens with another pathologist.        17   to provide a deposition as an expert witness on
      18   Some days I'm on cytology, so I'm doing the         18   behalf of the plaintiffs; is that correct?
      19   fine-needle aspirations, which is either me         19        A. Yes.
      20   performing the fine-needle aspirations or me        20        Q. And you said you've given one
      21   reading a rapid interpretation that an              21   deposition in the past?
      22   interventional radiologist has performed.           22        A. Yes, that's correct.
      23       Q. So on -- in a given week, it's not like      23        Q. And what sort of case was that?
      24   you have a patient clinic where patients come to    24        A. That was a tobacco case.
      25   see you and they're scheduled to see you.           25        Q. Were you an expert in that case?
                                                                                   7 (Pages 22 to 25)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 71 of 348 PageID:
                                  60845

                                          Sarah E. Kane, M.D.
                                                  Page 26                                                  Page 28
       1       A. Yes. It was an individual causation           1          MS. AHERN: You're welcome.
       2   case.                                                2   BY MS. AHERN:
       3       Q. Okay. Were you an expert for the              3       Q. Dr. Kane, I've handed you a copy of
       4   plaintiffs or the defendants?                        4   your Notice of Deposition for today.
       5       A. For the plaintiffs.                           5       Have you seen this document before?
       6       Q. And what sort of -- what sort of case         6       A. Yes.
       7   was that in terms of the injury that was being       7       Q. When did you see it?
       8   alleged?                                             8       A. I believe it was sometime in December,
       9       A. It was a patient with lung cancer who         9   because the original deposition date was
      10   was suing a tobacco company.                        10   January 14th.
      11       Q. And what was your specific -- what was       11       Q. And, Doctor, do you know whether you
      12   your opinion in that case?                          12   produced all of the documents that are responsive
      13       A. That it was highly likely that her long      13   to the request in Exhibit 1, your deposition
      14   history of smoking caused her lung cancer.          14   notice?
      15       Q. So -- and I should have gone over this       15          MR. ROTMAN: We've objected to a number
      16   with you in the beginning, but you're familiar      16   of them. And so she's producing -- you should go
      17   with the deposition rules?                          17   item by item, I think, if you want to -- I'm
      18       A. In general, I think.                         18   going to object otherwise.
      19       Q. Okay. You're doing a very good job.          19       Q. Doctor, do you know what you brought
      20   And the main things to remember is the two of us    20   with you today?
      21   will try not to speak over each other so that the   21       A. Yes. We have my -- a copy of my
      22   court reporter can take a clean transcript down.    22   updated CV. We have copies of my invoice. I
      23       If you need a break at some time, that's        23   believe I have a copy of -- oh, right. Sorry.
      24   fine, just let me know. All I ask is if there's     24       I have pages that I found for the Blaustein
      25   a question pending, you go ahead and finish the     25   second edition, which I don't have the actual
                                                  Page 27                                                  Page 29
       1   answer to the question and then we'll take a         1   textbook. I believe I got -- I found this image
       2   break.                                               2   off of the internet. But I do have the fourth
       3       If you don't understand a question that I        3   and fifth editions of the Kurman Blaustein's
       4   ask you, please don't answer it. Let me know         4   textbook, and I've marked any relevant pages that
       5   that you don't understand the question or you'd      5   I reviewed a couple of days ago.
       6   like me to rephrase it and I'll be happy to do       6          MS. AHERN: If you --
       7   that. All right?                                     7          MR. ROTMAN: One second.
       8       A. Okay.                                         8          MS. AHERN: It might be easier if you
       9       Q. Okay. And if you answer the question,         9   just hand me those and let me take a look.
      10   is it fair for me to assume that you understood     10          MR. ROTMAN: In addition, there's the
      11   it?                                                 11   boxes in the room that are the documents that
      12       A. Yes.                                         12   were sent up by counsel from Ashcraft & Gerel.
      13       Q. All right.                                   13          MS. AHERN: Thank you.
      14             (Notice of Oral and Videotaped            14   BY MS. AHERN:
      15       Deposition of Sarah E. Kane and Duces Tecum     15       Q. All right, Doctor. So let's take these
      16       marked Exhibit 1.)                              16   in order, I guess. Let's look at your --
      17   BY MS. AHERN:                                       17          MR. ROTMAN: She also has a copy of her
      18       Q. Doctor, I'm handing you what's been          18   report.
      19   marked as Exhibit No. 1 to your deposition.         19          MS. AHERN: Okay. We'll mark your
      20           MS. AHERN: I don't know how many            20   updated CV as Exhibit No. 2.
      21   people need copies of these. I don't have that      21            (Curriculum vitae of Sarah E.
      22   many, but --                                        22       Kane, M.D. marked Exhibit 2.)
      23           MR. TISI: I'll take a copy. Thank           23   BY MS. AHERN:
      24   you.                                                24       Q. Do you need a copy in front of you?
      25           MR. ROTMAN: Thank you.                      25       A. Sure.
                                                                                   8 (Pages 26 to 29)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 72 of 348 PageID:
                                  60846

                                          Sarah E. Kane, M.D.
                                                  Page 30                                                 Page 32
       1       Q. Okay.                                         1   June 16th, which is the last date. So it would
       2          MS. AHERN: I don't know if anyone else        2   have been after June 16th, 2017.
       3   needs a copy.                                        3       Q. I'm sorry. Do you remember when you
       4   BY MS. AHERN:                                        4   were retained by the plaintiffs to be an expert
       5       Q. Doctor, Exhibit 2, this is a copy of          5   in this litigation?
       6   your current curriculum vitae?                       6       A. I believe I was contacted by Mr. Rotman
       7       A. Yes. January 2019, yes, this is the           7   in early May of 2017.
       8   current.                                             8       Q. Okay. Do you know how Mr. Rotman found
       9       Q. And can you tell me what has been             9   your name?
      10   updated since you submitted your report             10       A. I believe he was referred by a
      11   November 15th of 2018?                              11   colleague.
      12       A. I believe the only change is that I am       12       Q. Do you remember what colleague that is?
      13   now director of cytopathology at North Shore        13       A. Dr. Paul Michaels.
      14   Medical Center, which includes Salem Hospital and   14       Q. And is Dr. Michaels a pathologist?
      15   Union Hospital, which is in Lynn, Massachusetts.    15       A. Yes.
      16       Q. Are there any additional publications        16       Q. Where does Dr. Michaels work?
      17   that you have included on your updated resume --    17       A. I actually don't know the name of his
      18   or, sorry, updated CV?                              18   group, but he is in Austin, Texas now.
      19       A. I don't believe so.                          19       Q. Where was he in 2017?
      20       Q. The only change is that your position        20       A. Austin, Texas, I believe.
      21   has changed to director?                            21       Q. Okay. Is he a gynecologic pathologist?
      22       A. Yes, of cytopathology.                       22       A. No.
      23       Q. Okay. And you've also brought with you       23       Q. What type of pathologist is he?
      24   invoices --                                         24       A. He has a cytopathology fellowship, in
      25       A. Yes.                                         25   addition to anatomic and clinical board
                                                  Page 31                                                 Page 33
       1       Q. -- for your time spent on talc?               1   certification.
       2       A. I handed them to her. Yes.                    2       Q. And how do you know Dr. Michaels?
       3           MR. ROTMAN: What we handed, I think,         3       A. We were residents and fellows together.
       4   is multiple copies, so you can hand one back, I      4       Q. Were you -- fellows where? Mass
       5   suppose.                                             5   General?
       6           MS. AHERN: We'll mark as Exhibit 3 to        6       A. At Massachusetts General, yes.
       7   your deposition an invoice for rendered services.    7       Q. Was he in the gynecologic pathology
       8             (Invoice from Sarah Kane, M.D.,            8   fellowship with you or a different fellowship?
       9       for services 5/19 through 7/14 marked            9       A. So my fellowship was kind of
      10       Exhibit 3.)                                     10   interesting. I was, unfortunately, one of the
      11           MS. AHERN: I can't see a date, but it       11   last groups where a combined anatomic and
      12   looks like it covers -- well, let's just have you   12   clinical pathology residency was five years. I
      13   look at it.                                         13   think the next year after I began residency they
      14   BY MS. AHERN:                                       14   dropped it to four years.
      15       Q. Can you tell me the date range covered       15       So my surgical pathology and cytopathology,
      16   by that invoice?                                    16   it was a two-year fellowship. The gyn path and
      17           MR. ROTMAN: Copy for me?                    17   the cytopathology, it was over a two-year period.
      18       A. Yes. It looks like it is from May 19th       18   And the weeks of gynecologic pathology were mixed
      19   to June 16th. That would be -- if this is the       19   with weeks of cytopathology, so they spread out
      20   first invoice, I believe, that would be of 2017,    20   the cytopathology fellowship over two years.
      21   year 2017.                                          21       Paul was a cytopathology fellow the first
      22       Q. Okay. And, Doctor, was this May 19,          22   year of my fellowship, so we did all four years
      23   2017 -- how long after you were retained did you    23   of anatomic and clinical pathology and then the
      24   submit this invoice?                                24   first year of fellowship at the same time.
      25       A. I wouldn't have sent it until after          25       Q. Okay. And looking back at Exhibit 3,
                                                                                   9 (Pages 30 to 33)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 73 of 348 PageID:
                                  60847

                                           Sarah E. Kane, M.D.
                                                  Page 34                                                  Page 36
       1   this invoice from May 19, 2017, to July 14 of        1      So those hours overlap a little bit. I
       2   2017, the first entry looks like it's -- it          2   mean, I kept track of particular hours so that I
       3   covers a period of May 19th through July 14th,       3   could bill accurately, but those two things --
       4   "Communication with firm regarding talc              4   certainly, generating the medical expert report
       5   litigation case, one hour"; is that correct?         5   would also include review of medical literature.
       6       A. Yes. Sorry. Thank you for correcting          6      Q. Okay. So you started on your -- on the
       7   me. I saw the last line, 6/16, and figured that      7   draft of your expert report in this case back in
       8   was the last day that this covered. But you're       8   May of 2017; is that correct?
       9   correct, it's -- July 14th would have been the       9      A. Late May, yes.
      10   last date that this invoice covered.                10      Q. And did you -- do you remember when you
      11       Yes, June 16th I met with Mr. Rotman,           11   started your review of the medical literature?
      12   Dr. Thompson, and Mr. Soileau -- I don't know how   12   Would it have been May 20th, as reflected in this
      13   to pronounce his last name.                         13   invoice, Exhibit 3?
      14       Q. Are they all -- they're all attorneys;       14      A. Yes, I believe so.
      15   correct?                                            15      Q. You also have on here that you spent
      16       A. Correct.                                     16   some time researching electron microscopy
      17       Q. Okay. What firm?                             17   experts.
      18       A. I know Mr. Rotman is with Hausfeld.          18      A. Yes.
      19   Dr. Thompson is with Allen Beasley. I don't know    19      Q. Was that at the request of the
      20   for sure where Mr. Soileau is from.                 20   plaintiffs' counsel?
      21       Q. You said Mr. Thompson is with Beasley        21      A. Plaintiffs' counsel was looking for
      22   Allen.                                              22   additional people because there are very few
      23       A. I believe so. I don't remember for           23   electron microscopy units in the country and very
      24   certain.                                            24   few expert electron microscopists.
      25       Q. And at least during --                       25      I can't remember if they asked me to or I
                                                  Page 35                                                  Page 37
       1          MR. ROTMAN: It's Ms. Thompson.                1   offered to. It could have been the latter. But
       2          MS. AHERN: Ms. Thompson.                      2   I was aware that they were looking for additional
       3          MR. ROTMAN: Or Dr. Thompson.                  3   people to potentially use electron microscopy.
       4          THE WITNESS: Doctor. She's a -- she's         4      Q. Do you know how plaintiffs intended to
       5   a doctor, as well as an attorney.                    5   use the electron microscopy experts?
       6       Q. And for this first invoice, you billed        6          MR. ROTMAN: Objection. That's going
       7   $26,666.67; correct?                                 7   into areas that you're not entitled to, so she's
       8       A. Yes.                                          8   not going to answer that.
       9       Q. And you spent a total of 53 hours and         9   BY MS. AHERN:
      10   20 minutes working on talc-related issues?          10      Q. Doctor, what sort of electron
      11       A. Yes.                                         11   microscopists were you looking for at the
      12       Q. Seventeen hours and five minutes of          12   plaintiffs' request?
      13   that was reviewing the medical literature, expert   13          MR. ROTMAN: Same objection.
      14   reports, and testimony; is that correct?            14          MS. AHERN: I'm not asking her about
      15       A. So this was my first time ever               15   communications that she had with counsel; I'm
      16   recording any sort of invoice for medical expert    16   asking her what sort of work --
      17   witness work, so the review of medical              17          MR. ROTMAN: Your question --
      18   literature, expert reports, and testimony,          18          MS. AHERN: -- she did --
      19   probably some of that will also be included in      19          MR. ROTMAN: Your question --
      20   the generating of medical expert report, because    20          MS. AHERN: -- that she was paid for by
      21   while I was -- I basically began -- you can see     21   the plaintiffs' counsel and that's reflected on
      22   from the dates I pretty much started drafting,      22   the invoice that you've submitted here today.
      23   taking notes in a draft, around May 28th, which     23          MR. ROTMAN: You are asking her what
      24   was soon after I did my initial medical             24   she was doing at plaintiffs' counsel's request.
      25   literature searches.                                25   That's unrelated to her --
                                                                                 10 (Pages 34 to 37)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 74 of 348 PageID:
                                  60848

                                           Sarah E. Kane, M.D.
                                                  Page 38                                                 Page 40
       1           MS. AHERN: You're --                         1   P-E-T-U-R.
       2           MR. ROTMAN: -- opinions.                     2      Q. N-I-E-, Nielsen?
       3           MS. AHERN: -- instructing her not to         3      A. I believe so.
       4   answer the question of, "Doctor, what sort of        4      Q. -S-S-O-N?
       5   electron microscopists were you looking for at       5      A. No, -L-S-E-N.
       6   plaintiffs' request?"                                6      Q. Did you speak to Dr. Nielsen about
       7           MR. ROTMAN: Yes. I'm objecting to            7   potentially working on the talc litigation?
       8   that.                                                8      A. I believe I e-mailed him.
       9           MR. KLATT: That's not a communication.       9      Q. Do you remember when that occurred?
      10           MS. AHERN: That's not a communication.      10      A. It was probably -- I don't remember
      11   That is what did she do and what was she looking    11   exactly, but I would imagine it was between 5/22
      12   for.                                                12   and 6/1 of 2017.
      13           MR. TISI: It's consulting.                  13      Q. And was he interested in doing any talc
      14           MS. AHERN: She's sitting here today as      14   work?
      15   a testifying expert.                                15      A. He was not interested in doing medical
      16           MR. ROTMAN: Understood. She's not           16   expert witness or consulting work.
      17   going to answer that.                               17      Q. Did you e-mail anybody else, any other
      18   BY MS. AHERN:                                       18   electron microscopists?
      19       Q. Doctor, did you make any                     19         MR. ROTMAN: So you keep on asking her
      20   recommendations regarding electron microscopists?   20   about the consulting work that she was doing that
      21       A. No, ultimately, I did not give them any      21   had nothing to do with her opinions in this case,
      22   names.                                              22   which is why we're here today. We're not here
      23       Q. What electron microscopists were you         23   today for you to take the deposition of her
      24   looking at when you were conducting your            24   consulting work at that stage on this issue, so
      25   research?                                           25   that whole area is off limits and I'm instructing
                                                  Page 39                                                 Page 41
       1          MR. ROTMAN: Again, this is her work           1   her not to answer. If you want to continue
       2   on -- as a consultant not relating to her            2   asking those questions, I'm going to continue to
       3   opinions in this case --                             3   object on the same basis.
       4       Q. Doctor, do you --                             4       Q. Doctor, did you contact any electron
       5          MR. ROTMAN: -- so you're not entitled         5   microscopists who agreed to work on the talc
       6   to this information.                                 6   litigation?
       7          MS. AHERN: You're instructing her not         7          MR. ROTMAN: Objection.
       8   to answer.                                           8          Instruct you not to answer for the
       9          MR. ROTMAN: Yes.                              9   reasons previously provided.
      10          MS. AHERN: Then instruct her not to          10       Q. Doctor, do you know a Dr. Campion?
      11   answer.                                             11       A. I do not.
      12          MR. ROTMAN: I'm instructing you not to       12       Q. Do you know a Dr. John Godleski?
      13   answer.                                             13       A. I know the name. I do not know him
      14          THE WITNESS: Okay.                           14   personally.
      15   BY MS. AHERN:                                       15       Q. Do you know Bill Welch?
      16       Q. Doctor, do you know any electron             16       A. I know the name. I do not know him
      17   microscopists?                                      17   personally.
      18       A. Yes.                                         18       Q. Okay.
      19       Q. Who?                                         19            (Invoice from Sarah Kane, M.D.,
      20       A. I know Dr. Gunnlaugur Nielsen at             20       for services 7/28 through 9/12 marked
      21   Massachusetts General Hospital.                     21       Exhibit 4.)
      22       Q. How do you spell Gunnlaugur's name?          22   BY MS. AHERN:
      23       A. G-U-N-N -- I believe there are two           23       Q. Doctor, I'm handing you what's been
      24   Ns -- L-A-U-G-H-E-R [sic], Nielsen. That's with     24   marked as Exhibit 4 to your deposition.
      25   an S-E-N. But he goes by Petur, which is            25       Can you tell me what that is?
                                                                                 11 (Pages 38 to 41)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 75 of 348 PageID:
                                  60849

                                          Sarah E. Kane, M.D.
                                                 Page 42                                                 Page 44
       1      A. This is probably the second invoice.          1      Q. Who's been your primary contact?
       2   Again, I don't believe I had it numbered on the     2      A. Mr. Rotman.
       3   actual invoice, but this looks like it would be     3      Q. Okay. And a total for that bill was
       4   the second invoice.                                 4   $13,835; is that correct?
       5      Q. And what period of time does Exhibit 4        5      A. Yes.
       6   cover?                                              6            (Invoice from Sarah Kane, M.D.,
       7      A. This covers July 28th to September 12.        7      for services 2/23/18 through 8/3/18 marked
       8      Q. Is this 2017?                                 8      Exhibit 6.)
       9      A. Yes.                                          9   BY MS. AHERN:
      10      Q. And you spent an additional 37 hours         10      Q. I'm handing you what's been marked as
      11   and 40 minutes reviewing literature and            11   Exhibit 6 to your deposition.
      12   generating your expert report; is that correct?    12      Can you tell me what that document is,
      13      A. Right. And you'll see I actually             13   please?
      14   combined everything, because it got too            14      A. So this -- I'm counting now -- looks
      15   complicated to separate them out. And generating   15   like this is the fourth invoice -- yes, the
      16   the medical expert report was sort of this         16   fourth invoice that I sent them.
      17   organic part of reviewing the literature.          17      Q. And what period of time does this
      18      Q. And the total bill was for $19,666.67;       18   Exhibit 6 cover?
      19   correct?                                           19      A. It looks like February 23rd, 2018,
      20      A. Yes.                                         20   through August 7th, 2018.
      21      Q. Okay. Was all your time on Exhibit 4         21      Q. Okay. And Exhibit 6 reflects that you
      22   spent working on your MDL report?                  22   spent an additional 16 hours and 55 minutes
      23      A. I'm sorry. This invoice?                     23   reviewing literature and generating your medical
      24      Q. Yes, ma'am. Was the time spent on            24   expert report; is that correct?
      25   Exhibits 3 and 4, these first two invoices, was    25      A. Yes.
                                                 Page 43                                                 Page 45
       1   this all in relation to your work on the talc       1      Q. And 3 hours and 30 minutes
       2   MDL?                                                2   communicating or meeting with the law firms
       3       A. Yes. I'm not involved in any other           3   involved.
       4   talc litigation.                                    4      A. Correct.
       5       Q. Okay.                                        5      Q. Okay. And the total for that invoice
       6           MS. AHERN: Okay. I'm marking                6   was $10,208; correct?
       7   Exhibit 5 as -- oh, I'm marking, sorry, your        7      A. Correct.
       8   third invoice as Exhibit 5 to your deposition.      8      Q. Okay. I'm handing you what's been
       9             (Invoice from Sarah Kane, M.D.,           9   marked as Exhibit 7 to your deposition.
      10       for services 9/18/17 through 2/5/18 marked     10            (Invoice from Sarah Kane, M.D.,
      11       Exhibit 5.)                                    11      for services 9/20/18 through 11/16/18
      12   BY MS. AHERN:                                      12      marked Exhibit 7.)
      13       Q. This is a copy of an invoice submitted      13   BY MS. AHERN:
      14   by you; correct?                                   14      Q. And this is another invoice prepared by
      15       A. Yes.                                        15   you?
      16       Q. And what dates does it cover?               16      A. Yes.
      17       A. This covers September 18th, 2017, to        17      Q. And the period of time that is covered
      18   February 5th, 2018.                                18   appears to be September 20th, 2018, through
      19       Q. You spent an additional 27 hours and 40     19   November 16th of 2018; is that right?
      20   minutes working on your report; is that correct?   20      A. Yes.
      21       A. Yes. Well, 21 hours, 55 minutes             21      Q. And you spent an additional 71 hours
      22   reviewing the literature and the medical expert    22   and 5 minutes reviewing materials and generating
      23   witness report, and then there were a few hours    23   your expert report?
      24   communicating and meeting with the firm, which     24      A. Yes.
      25   would likely be Mr. Rotman.                        25      Q. And about four-and-a-half hours
                                                                               12 (Pages 42 to 45)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 76 of 348 PageID:
                                  60850

                                           Sarah E. Kane, M.D.
                                                  Page 46                                                 Page 48
       1   communicating with the law firms involved?           1   and produce it to one of the attorneys involved?
       2       A. That's correct.                               2       A. Sure.
       3       Q. For a total of $37,791.67?                    3       Q. Thank you.
       4       A. Yes.                                          4           MR. ROTMAN: She'll find it if it
       5       Q. Doctor, do you have any -- this takes         5   exists. She'll look for it.
       6   us through -- this last invoice, Exhibit 7, takes    6           MS. AHERN: Clearly.
       7   us through November of 2018.                         7           MR. ROTMAN: She didn't testify that
       8       You've done additional work since November       8   she produced a fee schedule; she said she
       9   of 2018; correct?                                    9   believed she did.
      10       A. I have.                                      10           MS. AHERN: Understood. If she finds
      11       Q. Do you know how much time you have yet       11   it --
      12   to invoice or -- sorry, let me back up. Withdraw    12           MR. ROTMAN: Yeah.
      13   that.                                               13           MS. AHERN: -- she'll produce it to you
      14       Have you sent another invoice to plaintiffs'    14   and you'll produce it to us.
      15   counsel?                                            15           MR. ROTMAN: Exactly.
      16       A. I have not.                                  16   BY MS. AHERN:
      17       Q. Okay. Do you have any idea how many          17       Q. Doctor, how much -- I mean, how do you
      18   hours you have yet to invoice?                      18   keep track of your time? Do you have a
      19       A. I have not added it up. I don't really       19   spreadsheet? Do you have some process where you
      20   have a ballpark. Maybe -- I would just be           20   log your hours?
      21   guessing. I haven't added it up, to be honest.      21       A. I keep a list, an electronic list.
      22       Q. Do you know how much money you've made       22   It's not an Excel, but it's just a list.
      23   to date, totaling all of these together?            23       Q. So is it just a Word document and you
      24          MR. ROTMAN: Objection.                       24   put your time entries in and multiply that by
      25       Q. How much money -- how much money have        25   your hourly rate?
                                                  Page 47                                                 Page 49
       1   you made in fees associated with your talc work      1       A. Basically.
       2   to date?                                             2       Q. And do you generate the invoices
       3       A. I would need a calculator to add it all       3   yourself?
       4   up, but this would be the full amount, all added     4       A. I do.
       5   together.                                            5       Q. Is that through some sort of program or
       6       Q. And, Doctor, you're charging $500 an          6   is this just a Word document that you created and
       7   hour; correct?                                       7   you plug the information in?
       8       A. Yes.                                          8       A. It's just a Word document.
       9       Q. Did you ask for a retainer when you           9          (Discussion off the record.)
      10   were initially asked to get involved in the case?   10   BY MS. AHERN:
      11       A. I did not.                                   11       Q. So, Doctor, other than the folders that
      12       Q. Were you offered a retainer?                 12   we've just gone through, is there anything
      13       A. It wasn't discussed.                         13   related to your opinions in this case that you
      14       Q. Does the amount that you charge or your      14   did not bring with you to the deposition today?
      15   fee, does that change with the activity that        15          MR. ROTMAN: Objection.
      16   you're performing?                                  16       Q. Start with that.
      17       A. No. I think I had a fee schedule where       17          MR. ROTMAN: Objection.
      18   trial might be on a per-day basis, but I don't      18       A. I believe I brought all of the
      19   remember what that is.                              19   literature cited in the initial reports. I've
      20       Q. Did you actually submit a written fee        20   tried to be complete, as you know, with listing
      21   schedule to the plaintiffs' counsel?                21   everything that I've reviewed. It's possible
      22       A. I believe I did at some point.               22   there might have been some things that I reviewed
      23          MR. ROTMAN: I don't know. I don't            23   that I forgot to put on a list, but I've tried to
      24   recall that.                                        24   be as complete as possible.
      25       Q. Could you find a copy of that, please,       25       Q. How did you track your literature
                                                                                 13 (Pages 46 to 49)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 77 of 348 PageID:
                                  60851

                                           Sarah E. Kane, M.D.
                                                  Page 50                                                 Page 52
       1   reviews?                                             1          MR. KLATT: Chris, let me just clarify.
       2        A. So when I was writing the report,            2   There's four blue cardboard TLS boxes --
       3   you'll notice the first reference list is a list     3          MR. TISI: Correct.
       4   of papers that I actually cited in the text of       4          MR. KLATT: -- that you're referring
       5   the report, and then I had -- any papers that I      5   to?
       6   reviewed or other data that I reviewed, I kept in    6          MR. TISI: Correct.
       7   folders on my computer.                              7          MR. KLATT: And they have binders in
       8        Unfortunately, I had two hard drives            8   them?
       9   malfunction while I was in the process of writing    9          MR. TISI: They have binders in them.
      10   this report. Luckily, I backed up most of it, so    10   And I haven't even looked at them because they
      11   it's possible a few things didn't get documented,   11   were sent out from the Ashcraft office, but my
      12   ultimately, but I really tried my best to make it   12   understanding -- and you can crack them open at
      13   complete and accurate, and that's why you got       13   break -- but my understanding is there are copies
      14   another list yesterday.                             14   of those. I don't know how many. So it's four
      15        Q. Okay. And, I'm sorry, we forgot to          15   boxes, but there are duplicates in there.
      16   mark some of these.                                 16          But they are -- if I understand -- and
      17        And so can you tell me -- this is something    17   I can correct them on a break -- if I understand
      18   you brought with you today?                         18   them, they are copies of the references. We did
      19        A. Yes.                                        19   not make copies -- or they did not make copies of
      20           MR. TISI: Can I -- and he's defending       20   the materials that were considered but not
      21   the deposition; I just have a little more           21   referenced in the reports.
      22   knowledge of the documents and how they -- at       22          Do you follow what I'm saying?
      23   least I think I do.                                 23          MR. KLATT: Yeah. What I want to
      24           I think that in the boxes here are the      24   clarify is the four boxes here have not been in
      25   references cited. The materials considered, I       25   Dr. Kane's possession, so there's no notations,
                                                  Page 51                                                 Page 53
       1   don't think we printed out. I don't think those      1   highlighting, stickies --
       2   are in the boxes. And so I don't want there to       2          MR. TISI: Oh, no.
       3   be any -- there are documents she reviewed that      3          MR. KLATT: -- that she -- that
       4   are not here that are not referenced, but were       4   Dr. Kane herself would have put on what's in the
       5   identified in that list.                             5   boxes --
       6           Does that make sense?                        6          MR. TISI: No. Those were print- --
       7           MS. AHERN: Maybe. I'm going to go            7          MR. KLATT: -- is that correct?
       8   through the various reference lists with her --      8          MR. TISI: Correct. Those were printed
       9           MR. TISI: Okay.                              9   out by the plaintiffs' steering committee.
      10           MS. AHERN: -- and we can kind of            10   Basically, we took her reference list and printed
      11   clarify as we go.                                   11   them out for you all. There's no -- there are no
      12           MR. TISI: Like, for example, I mean, I      12   notes from her or anything like that.
      13   just -- I'm just using an example -- we             13          What I don't think we printed out for
      14   supplemented with some Health Canada materials.     14   you would be the extensive documents that she
      15   I don't know if she brought those with her,         15   reviewed, including the supplemental materials
      16   because they were not in the original report.       16   that were identified, and then put them -- we can
      17   They weren't available at the time, so they would   17   provide those in a -- you know, on a thumb drive
      18   not be in the reference materials that are in the   18   if you want to. It's just in these depositions
      19   binders.                                            19   we've had so far, half the time the boxes aren't
      20           I know you haven't cracked open the         20   even opened, and we didn't want to just create
      21   boxes, but I don't want there to be any             21   paper for the purpose of creating paper. But if
      22   misimpression. So in terms of what they are, you    22   you want, we can pull those for you and put them
      23   can certainly ask her, but she may not know what    23   in a Dropbox or whatever.
      24   is in the boxes, because we printed them out for    24          I don't want to waste your time,
      25   her. Do you know what I'm saying?                   25   because I do want there to be -- because she
                                                                                 14 (Pages 50 to 53)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 78 of 348 PageID:
                                  60852

                                          Sarah E. Kane, M.D.
                                                 Page 54                                                   Page 56
       1   doesn't necessarily know what was printed out for    1       Q. And, Doctor, the additional materials
       2   her.                                                 2   to -- of Dr. Sarah Kane that were provided to us
       3          MS. AHERN: Understood. So let's --            3   yesterday, you list "Kurman defense report" from
       4          MR. TISI: I'm sorry if I --                   4   a case by the name of Ristesund.
       5          MS. AHERN: That's okay.                       5       Did you not receive that?
       6          MR. TISI: -- took up time.                    6       A. I asked for -- yeah, I did receive
       7            (Excerpt from Blaustein's Second            7   that.
       8      marked Exhibit 8.)                                8       Q. You received it?
       9   BY MS. AHERN:                                        9          MR. ROTMAN: What she -- what she was
      10      Q. Doctor, I'm handing you what's been           10   saying is she --
      11   marked as Exhibit 8 to your deposition.             11          MS. AHERN: Wait. I'm asking her the
      12      A. Yes.                                          12   question.
      13      Q. Is this something that you brought with       13       Q. Did you receive the report, the Kurman
      14   you today in response to the Notice of              14   defense report, from a case by the name of
      15   Deposition?                                         15   Ristesund?
      16      A. It's something I brought because I            16       A. Yes. I had requested a defense report
      17   reviewed it a couple days ago. It probably falls    17   written by Kurman, if they had anything, and that
      18   within the deposition. I know you wanted to see     18   is what I received.
      19   everything that I reviewed.                         19       Q. Okay. I thought just a minute ago you
      20      Q. So, first of all, tell me what this is.       20   said you had not received one because it wasn't
      21   What is Exhibit 8?                                  21   available to you.
      22      A. This is a page from Blaustein's second        22       A. I'm talking about the MDL, the curr- --
      23   edition of the Pathology of the Female Genital      23       Q. Ah.
      24   Tract.                                              24       A. -- the current defense expert witness
      25      Q. Do you know what page it is?                  25   reports.
                                                 Page 55                                                   Page 57
       1       A. Unfortunately, it is cut off. This --         1       Q. Okay.
       2   I don't have this textbook. I found this, I          2       A. Yeah.
       3   think, on Google Books, actually.                    3       Q. Thank you for the clarification.
       4       Q. And so why are you bringing it today          4       So you have seen at least one defense report
       5   again?                                               5   that was written by Dr. Bob Kurman; right?
       6       A. Because I reviewed it.                        6       A. Yes.
       7       Q. Okay. And why did you review this?            7       Q. And did you -- do you know Dr. Robert
       8       A. Well, I recently became aware that            8   Kurman, either personally or by reputation?
       9   Dr. Kurman is a medical expert witness for the       9       A. By reputation and I've gone to dinner
      10   defense, so I was more curious. I actually asked    10   with him before, but I don't know him well.
      11   the plaintiffs' attorneys for a report -- any       11       Q. And what do you know about Dr. Kurman?
      12   report that Dr. Kurman had done, because I was      12       A. So he is a well-known gynecologic
      13   trying to understand his -- what his viewpoint      13   pathologist out of -- he was out of Johns
      14   might be. I don't have his defense report           14   Hopkins. I believe he recently retired.
      15   because they're not available to us yet, but I      15       But he certainly edited one of the main
      16   was trying to get a sense for what defense          16   gynecologic pathology textbooks and was -- you
      17   medical experts -- their viewpoints.                17   know, published quite a bit in gynecologic
      18       And so I did a search for, basically, "talc"    18   pathology, so his name is well known in our
      19   and "Kurman" and I found this (indicating). And     19   community.
      20   then I have two other editions, so I looked         20       Q. And you've actually cited to a number
      21   through my other editions for any references to     21   of his papers in your report; correct?
      22   talc. Because Kurman edited the fourth and fifth    22       A. Yes, I'm sure I have. I know at least
      23   edition. I do not believe he edited the second      23   one or two.
      24   edition, which is -- this one page is from          24       Q. And Dr. Kurman was a Robert Scully
      25   (indicating).                                       25   fellow, as well, wasn't he?
                                                                                 15 (Pages 54 to 57)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 79 of 348 PageID:
                                  60853

                                           Sarah E. Kane, M.D.
                                                  Page 58                                                  Page 60
       1       A. I actually don't remember if he trained       1      A. I'm not really sure what you mean by
       2   under Scully. It's possible. I don't remember        2   "types." You mean foreign body versus infectious
       3   whether or not he did.                               3   versus --
       4       Q. Okay. This Exhibit 8 that you brought         4      Q. Yes.
       5   with you today, are you bringing it here because     5      A. Those would be the top of the list.
       6   it mentions granulomatous endometritis caused by     6      Q. And are there subtypes of granulomatous
       7   foreign bodies?                                      7   inflammation within those categories?
       8       A. It says, "Talc may be introduced into         8      A. Well, you can have multinucleated giant
       9   the endometrial cavity by instruments                9   cells that aren't part of a granuloma.
      10   contaminated with talcum powder or by gloves        10      You can see -- another common situation
      11   during a pelvic examination. Patients may be        11   where you'll see granulomas is in Crohn's
      12   asymptomatic or may present with menorrhagia.       12   disease. That's granulomatous inflammation in
      13   Microscopically, the extent of the granulomatous    13   the colon due to inflammatory bowel disease.
      14   inflammatory reaction depends on the quantity of    14      And I think -- yeah. So foreign body and
      15   the talc inoculated. The infiltrate is              15   infection are -- and certain diseases that may
      16   characterized by histiocytes and foreign-body       16   cause granulomatous -- that's sort of the
      17   multinucleated giant cells surrounded --            17   hallmark of that type of disease, sarcoidosis.
      18   surrounding the talc crystals, along with           18      Q. Have you ever -- the Figure 12.6 in
      19   lymphocytes and plasma cells. The crystals          19   Exhibit 8 actually doesn't have anything to do
      20   appear as refractile, birefringent, needle-like,    20   with granulomatous endometritis, does it?
      21   or fan-shaped splinters in polarizing light."       21      A. No. That figure is of a type of
      22       Q. Are you familiar with the type of            22   finding you can see in the endometrium that's not
      23   reactions -- tissue reactions that are elicited     23   a granulomatous reaction.
      24   by talc in tissue?                                  24      Q. And how did Exhibit 8, if it does,
      25       A. I know -- I'm aware that you can get         25   inform your opinions in this case?
                                                  Page 59                                                  Page 61
       1   granulomous -- granulomatous inflammation, like      1       A. Well, it was just a piece of
       2   here, and you can have acute inflammation, for       2   information I found, again because I was curious
       3   example, in pleurodesis and chronic inflammation,    3   mostly about what Kurman's opinion might be on
       4   like lymphocytes and plasma cells.                   4   this litigation. So...
       5       Q. Are you an expert in granulomatous            5       Q. Does -- do you know what -- did this
       6   inflammation?                                        6   come from a particular chapter in Blaustein's
       7       A. Well, I certainly am familiar with            7   second edition?
       8   the -- with diagnosis of granulomatous               8       A. This, I don't -- I have no more
       9   inflammation. I see it quite commonly.               9   information on this particular one. Um --
      10       Q. Under what circumstances do you              10       Q. Do you know who authored the chapter?
      11   commonly see granulomatous inflammation?            11           MR. ROTMAN: Excuse me. I think she
      12       A. You see it often in -- the most common       12   was in the middle of an answer.
      13   situation would be foreign-body giant cell. That    13       Q. I didn't mean to cut you off. Please
      14   could be due to foreign bodies or it could be due   14   go ahead.
      15   to -- a common situation we might see them is       15       A. Again, I don't have any more
      16   what's called an epidermal inclusion cyst in the    16   information. I brought it because I saw it.
      17   skin, and you actually can get a granulomatous      17       Q. Okay. So you don't know who authored
      18   response to keratin that has -- if it's ruptured    18   the chapter that contains this information in
      19   and gone into the dermis, you can see that.         19   Exhibit 8?
      20       Infections is another one. In tuberculosis,     20       A. Not for this edition, I do not.
      21   you can see granulomatous inflammation. Fungal      21       Q. And are you -- do you -- did you say
      22   infections, you can see granulomatous               22   earlier you weren't sure if Dr. Kurman edited
      23   inflammation.                                       23   this particular version of Blaustein's Pathology?
      24       Q. How many different types of                  24       A. I don't believe he did. I know he
      25   granulomatous reactions are there?                  25   edited the fourth and fifth, but I don't believe
                                                                                 16 (Pages 58 to 61)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 80 of 348 PageID:
                                  60854

                                          Sarah E. Kane, M.D.
                                                 Page 62                                                   Page 64
       1   he did the second.                                   1   going to --
       2       Q. Does the information in Exhibit 8             2          MS. AHERN: One second, please.
       3   inform your decisions regarding talc and             3       Q. You can see inflammatory conditions
       4   causation with regard to ovarian cancer?             4   that are not in any way linked to the development
       5           MR. ROTMAN: Objection.                       5   of cancer; correct?
       6       A. It's another piece of evidence. It            6       A. So not all chronic inflammation is
       7   mentions granulomatous inflammation due to talc      7   going to lead to cancer, but chronic inflammation
       8   in the endometrium.                                  8   is a well-established cause of different types of
       9       Q. And what does that have to do with            9   cancer.
      10   ovarian cancer?                                     10          MR. ROTMAN: I'd like to take a break.
      11       A. Well, one of the plausible biologic          11   We've been going a little over an hour.
      12   mechanisms for talc causing ovarian cancer is       12          MS. AHERN: Okay.
      13   that it elicits a chronic inflammatory reaction.    13          THE VIDEOGRAPHER: Here ends Media 1.
      14       Q. And there are different types of             14   Off the record, 10:21 a.m.
      15   chronic inflammatory reactions, aren't there?       15             (A recess was taken.)
      16       A. Yes, there are.                              16          THE VIDEOGRAPHER: Here begins Media
      17       Q. Is a foreign-body reaction the same as       17   No. 2 in today's deposition of Sarah Kane, M.D.
      18   the type of inflammation seen, for instance, in     18   Back on the record, 10:37 a.m.
      19   ulcerative colitis? If you know.                    19   BY MS. AHERN:
      20       A. No, I'm just rereading the question.         20       Q. All right. Dr. Kane, we were -- we
      21       Ulcerative colitis, you don't typically see     21   left off, we were talking about chronic
      22   foreign-body reaction.                              22   inflammation and cancer.
      23       Q. Ulcerative colitis is one of the             23       Do you remember that?
      24   conditions that has been associated with the        24       A. Yes.
      25   development of cancer; correct?                     25       Q. Okay. Can you identify for me the
                                                 Page 63                                                   Page 65
       1       A. Those with ulcerative colitis have an         1   types of ovarian cancer that have been associated
       2   increased risk of colon cancer, yes.                 2   with chronic inflammation?
       3       Q. Do you know of any particular cancers         3      A. So we know that endometriosis, as an
       4   that have been linked to foreign-body responses?     4   example, causes an inflammatory response. The
       5       A. Well, foreign-body responses -- for           5   types of ovarian cancer that are associated with
       6   example, asbestos is known to cause an               6   endometriosis are clear cell carcinoma and
       7   inflammatory response and asbestos is known to       7   endometrioid carcinoma.
       8   cause mesothelioma and lung cancer, and the IARC     8      Q. Are there other forms of ovarian cancer
       9   states that it causes ovarian cancer.                9   that are associated in the literature with
      10       Q. And how is the response to asbestos          10   chronic inflammation?
      11   different from the response that's been             11      A. So we do see chronic inflammation
      12   documented with talc in terms of tissue reaction?   12   within other types of ovarian cancer, so
      13       A. So you can see a granulomatous reaction      13   high-grade invasive serous, low-grade serous
      14   to talc. You can see an acute reaction to talc      14   carcinoma, you do see chronic inflammation within
      15   in pleurodesis patients.                            15   those tumors.
      16       This page here mentions plasma cells and        16      Q. Let me be more precise, because it's
      17   lymphocytes, which you do see in Crohn's disease.   17   sort of a chicken and the egg kind of thing.
      18       Q. You see plasma cells and lymphocytes in      18      I'm asking what sort of inflammatory
      19   a number of different inflammatory conditions;      19   conditions have been associated with the
      20   correct?                                            20   development or the cause of ovarian cancers?
      21          MR. ROTMAN: You can answer.                  21      A. Yeah. So the mechanisms of a lot of
      22       A. Yes, you can see lymphocytes and plasma      22   ovarian cancer have been somewhat elusive.
      23   cells in inflammatory conditions.                   23   Unfortunately, it's a rare disease. It's hard to
      24       Q. And you can see inflammatory con- --         24   study. It's difficult to have sort of a large
      25          MR. ROTMAN: Object -- object -- I was        25   enough cohort to really get good data on ovarian
                                                                                 17 (Pages 62 to 65)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 81 of 348 PageID:
                                  60855

                                          Sarah E. Kane, M.D.
                                                  Page 66                                                 Page 68
       1   cancer, and so we don't really know all of the       1   inflammation, yes.
       2   mechanisms of the initiation of ovarian cancer.      2       Q. And you would agree that many, if not
       3       But we know that chronic inflammation, we        3   most, cancers are somewhat proinflammatory.
       4   see it in ovarian tumors. We know that -- and        4       A. I think tumors can be -- can be
       5   putting it in a talc perspective, we know that       5   proinflammatory, yes.
       6   talc can cause chronic inflammation and so -- and    6       Q. So the tumor itself can invoke an
       7   we know that chronic inflammation causes other       7   inflammatory response during its development;
       8   types of cancer.                                     8   correct?
       9       Q. So is that -- can you name any other          9       A. Some tumors will.
      10   types of ovarian cancers that have been             10       Q. And often the tumors will hijack
      11   associated in the literature with chronic           11   portions of the immune system to help them to
      12   inflammation in terms of a specific etiology for    12   grow and metastasize; correct?
      13   that cancer?                                        13       A. I'm not sure exactly what you mean by
      14       A. So, again, I would say I don't know if       14   "hijack," but there are mechanisms to -- or
      15   we can say for certain what the specific etiology   15   literature to suggest that.
      16   is for all types of surface epithelial cancer,      16       Q. So just looking at a high-grade serous
      17   but we do know that, again, clear cell has been     17   carcinoma and seeing inflammation doesn't tell
      18   associated with endometriosis, which causes         18   you anything about whether that inflammation
      19   chronic inflammation, and we see chronic            19   caused the tumor or whether it was caused by the
      20   inflammation in tumors. But the mechanisms for      20   tumor; is that correct?
      21   these types of tumors have not been completely      21       A. So, again, the mechanisms are not that
      22   mechan- -- elucidated.                              22   clear, so we don't know for sure. But is all
      23       Q. So do you not know of any other              23   chronic inflammation seen in a tumor the cause of
      24   specific ovarian tumors that have been associated   24   the tumor? I don't know if we know the answer,
      25   in the literature causally with chronic             25   but, you know, it's definitely an associated
                                                  Page 67                                                 Page 69
       1   inflammation?                                        1   pattern that we see with ovarian tumors.
       2       A. Again, I don't believe that the               2       Q. So my question is a little different,
       3   mechanisms of all of these tumors have been          3   if I can go back and find it. And it's missing.
       4   elucidated completely.                               4       My question is: As a pathologist looking at
       5       Q. And I do understand your answer, but I        5   slides from a particular patient who has ovarian
       6   just want to know if there are -- if you're aware    6   cancer --
       7   of literature connecting causally chronic            7       A. Mm-hmm.
       8   inflammation with other types of ovarian cancer      8       Q. -- just the observation that there is
       9   other than the two that you've mentioned,            9   inflammatory cells associated with that tumor
      10   endometrioid and clear cell carcinoma.              10   doesn't tell you anything, as a pathologist, in
      11       A. Well, again, I mentioned that in serous      11   terms of whether that inflammation caused the
      12   tumors, we do see chronic inflammation in those     12   tumor or if the tumor caused the inflammation.
      13   tumors.                                             13       A. Well, I think it depends on the
      14       And with smoking and mucinous ovarian           14   situation. You know, again, for ovarian tumors,
      15   cancers, you know, it's been -- there's some        15   if we have a clear cell carcinoma, we could, you
      16   literature that suggests, you know, smoking is      16   know, deduce, especially if you see associated
      17   associated with mucinous and those -- that can      17   endometriosis, that that is the likely cause,
      18   cause inflammatory reactions.                       18   and, again, depending on the patient and the
      19       But, again, this is all -- it's not entirely    19   patient's risk factors.
      20   clear what the etiology of some of these tumors     20       But, yeah, if you're looking just at one
      21   are.                                                21   slide without any other information, it would be
      22       Q. You mentioned that in high-grade serous      22   difficult to say.
      23   carcinoma, you see associated inflammation;         23       Q. Well, you would never just be looking
      24   correct?                                            24   at one slide, would you? You'd be looking at all
      25       A. You can see associated chronic               25   of the slides that were available for a
                                                                                 18 (Pages 66 to 69)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 82 of 348 PageID:
                                  60856

                                          Sarah E. Kane, M.D.
                                                  Page 70                                                  Page 72
       1   particular patient, which would include              1          MS. AHERN: I'm not finished with my
       2   diagnostic tissue or tumor tissue, as well as        2   question. You can object when I'm done with my
       3   normal, nontumor tissue; correct?                    3   question.
       4       A. Right.                                        4          MR. ROTMAN: I object to you asking a
       5       Q. Okay. So you would never be in a              5   question --
       6   situation where you're just looking at a single      6          MR. KLATT: She didn't have --
       7   slide and making a determination, unless it's        7          MR. ROTMAN: -- when she's asking --
       8   maybe cytology or a biopsy; correct?                 8          MS. AHERN: I can ask a question
       9       A. I'm sorry. I'm just looking at the --         9   whenever I want. She doesn't have to answer the
      10       Q. Sure.                                        10   question if you instruct her not to, but while
      11       A. I'm not sure what the -- the first           11   she's spending time looking through her report,
      12   question came out kind of funny.                    12   I'm going to ask her a different question based
      13       Q. What I was saying is there would never       13   on her recollection.
      14   be a situation where you're only looking at a       14          MR. ROTMAN: Well, you've asked her a
      15   single slide to make a diagnostic determination     15   question, she's in the process of answering it,
      16   unless it was from a biopsy sample or a cytology.   16   and you're asking -- you're asking her a second
      17       A. That's what I was going to kind of           17   question. That's what I'm objecting to.
      18   rewind and clarify, that sometimes there is only    18   BY MS. AHERN:
      19   one slide. So --                                    19      Q. Doctor --
      20       Q. Is that an accurate statement?               20          MR. ROTMAN: Let her finish --
      21          MR. ROTMAN: Let her finish the answer.       21      Q. -- can you answer the question without
      22   I think she was saying "so" and then you asked      22   looking at your report?
      23   another question.                                   23      A. Well, I'd like to refer to my report if
      24       A. So in a larger specimen type, it's           24   you're asking questions.
      25   correct you would be looking, usually, at more      25      Q. And that's fine. My only question,
                                                  Page 71                                                  Page 73
       1   slide if there's more tissue that would fit in       1   really, was, just based on your recollection as
       2   one cassette to make one slide.                      2   we sit here discussing chronic inflammation and
       3       Q. Let's talk about high-grade serous            3   ovarian cancer, if you are aware of studies that
       4   carcinoma.                                           4   causally associate chronic inflammation with
       5       High-grade serous carcinoma is the most          5   high-grade serous carcinoma?
       6   common form of ovarian cancer; correct?              6       A. So there's definitely literature that
       7       A. It's most -- yes.                             7   has looked at associations between chronic
       8       Q. By far the most common form of ovarian        8   inflammation and the resulting sort of
       9   cancer; is that also correct?                        9   expressions.
      10       A. It's the most common form, yes.              10       And that's what -- I was trying to point you
      11       Q. So let's talk about high-grade serous        11   to my report on Page 12, the end of it, where it
      12   carcinoma in the context of chronic inflammation.   12   says, "There also is evidence that talc induces
      13       Do you know of any published literature that    13   macrophage TNF alpha expression and macrophages
      14   connects chronic inflammation causally with the     14   that express TNF alpha promote ovarian tumor
      15   development of high-grade serous carcinoma?         15   genesis. TNF alpha is involved in chronic
      16       A. I can -- in my report, I actually do         16   inflammation and induces mutations in vitro and
      17   have a section. Let me find it.                     17   TNF alpha-induced chromosomal mutations occur
      18          MR. ROTMAN: It might be easier to take       18   mostly in cells with P53 aberrations and, of
      19   off the clip, if that helps you flip the pages,     19   note, high-grade serous carcinomas typically have
      20   because it's two-sided.                             20   inactivating mutations in P53."
      21       Q. Doctor, while you look for that, just        21       So, again, we don't know all the mechanisms
      22   to the best of your recollection, do you remember   22   of all of these tumors, but there's certainly
      23   reading any studies that concluded that --          23   literature that is investigating those types of
      24          MR. ROTMAN: I object. She's in the           24   associations.
      25   middle of answering --                              25          MR. KLATT: Object. Nonresponsive.
                                                                                 19 (Pages 70 to 73)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 83 of 348 PageID:
                                  60857

                                          Sarah E. Kane, M.D.
                                                 Page 74                                                  Page 76
       1           MS. AHERN: Same.                             1   genomic event in the development of high-grade
       2       Q. But since you brought it up, on Page 12       2   serous carcinoma?
       3   of your report, can you translate for me that        3       A. So, again, I don't know if I -- I don't
       4   paragraph that you just read and put it in lay       4   know if we always know what the earliest
       5   terms and explain how that has anything to do        5   identifiable genomic event in the development of
       6   with causal associations with ovarian cancer and     6   high-grade serous carcinoma is.
       7   chronic inflammation caused by talc?                 7       Q. Have you reviewed the literature on
       8           MR. ROTMAN: Objection.                       8   high-grade serous carcinoma from a molecular
       9       A. Well, I think it's there in the report.       9   genetics perspective?
      10   If talc is inducing macrophage TNF alpha            10       A. Yes, I reviewed papers on molecular
      11   expression and macrophages that express TNF alpha   11   genetics, yes.
      12   can promote ovarian tumor genesis that occur        12       Q. Do those papers indicate that one of
      13   mostly in the -- TNF alpha-induced chromosomal      13   the earliest, if not the earliest, genomic event
      14   mutations occur mostly in cells with P53            14   in the development of high-grade serous carcinoma
      15   aberrations, I think that's relevant in looking     15   that has been identified are mutations in P53?
      16   at evidence that -- for a plausible mechanism       16       A. So, again, you can see P53 mutations,
      17   that inflammation caused by talc can cause          17   for example, in the fallopian tubes and you can
      18   aberrations in -- can cause P53 aberrations. And    18   have sort of serous tubal intraepithelial
      19   we know that high-grade serous carcinomas, many     19   carcinomas in the fallopian tube, which are
      20   of them have P53 mutations.                         20   thought to be early precursors for high-grade
      21       Q. And high-grade serous carcinomas with        21   carcinoma.
      22   P53 mutations, what causes the P53 mutations?       22       Q. High-grade serous carcinoma?
      23       A. Well, again, the literature is still         23       A. Mm-hmm. Sorry, high-grade serous
      24   evolving into all of the mechanisms regarding       24   carcinoma.
      25   this. Some of them we know are sort of aberrant     25       Q. And do you agree that the STIC lesions
                                                 Page 75                                                  Page 77
       1   mutations, and we don't always know why they         1   or serous tubal epithelial carcinomas in the
       2   occur.                                               2   fallopian tubes are currently known to be the
       3       We know that women with BRCA1 and BRCA2          3   earliest manifestation of high-grade serous
       4   mutations have -- can get high-grade -- have a       4   carcinoma?
       5   higher risk of high-grade serous carcinoma.          5       A. Well, it depends on what you mean by
       6       But, again, I don't think we know all of the     6   "manifestation." I mean, it takes a period of
       7   mechanisms that cause, you know, all of these        7   time from initial insult until we can recognize
       8   tumors.                                              8   something histologically as a precursor to
       9          MS. AHERN: Objection. Nonresponsive.          9   cancer.
      10       Q. Doctor, do you know, as we sit here          10       Q. That was -- you're right, that was a
      11   today, what causes P53 mutations in high-grade      11   bad question.
      12   serous carcinoma?                                   12       Do you recognize serous tubal
      13       A. I think I answered that. We know, I          13   intraepithelial carcinomas as an in situ serous
      14   mean, what's in my report and women with BRCA1      14   carcinoma?
      15   and BRCA2 mutations. But, again, the literature     15       A. I think evidence is supportive of
      16   is evolving with this.                              16   serous tubal intraepithelial carcinomas being a
      17       Q. Doctor, are you suggesting that BRCA1        17   precursor to some high-grade serous carcinomas.
      18   and -2 mutations cause P53 mutations in             18       Q. And when you say "precursor," do you
      19   high-grade serous carcinomas?                       19   mean a frank cancer or a premalignant lesion?
      20       A. What I'm saying is that we know that         20   What do you mean by "precursor"?
      21   BRCA1 and BRCA2 mutation patients have a high       21       A. Well, again, not -- we don't know if
      22   risk of ovarian cancer.                             22   all STICs are going to become high-grade serous
      23       And so you're asking me what causes, so, you    23   carcinomas. STICs were originally discovered in
      24   know, I'm telling you the data that we have.        24   looking at fallopian tubes of BRCA1 and BRCA2
      25       Q. What is the earliest identifiable            25   patients that had -- what's the word I'm looking
                                                                                 20 (Pages 74 to 77)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 84 of 348 PageID:
                                  60858

                                          Sarah E. Kane, M.D.
                                                  Page 78                                                  Page 80
       1   for? -- prophylactic salpingectomies to decrease     1   that ovulation event, you might end up with
       2   their risk of ovarian cancer.                        2   precursors.
       3        And that was -- you know, they had evaluated    3       We don't really have a model in a lot of
       4   these precursor lesions, and so the thought is       4   ovarian cancers where you can follow a precursor
       5   that when you have these atypical cells in the       5   all the way through to -- what we think is a
       6   fallopian tube fimbria that are -- that have P53     6   precursor all the way through to the final tumor.
       7   aberrations, that that -- the belief is that         7   We just -- we don't really have a lot of data on
       8   that's a precursor to some of the serous invasive    8   those in-between steps.
       9   carcinomas that we see.                              9       So it was very, very interesting when they
      10        Q. Do you consider STIC lesions to be          10   discovered these STIC lesions in the fallopian
      11   carcinomas?                                         11   tube fimbria that had P53 mutations. It was
      12        A. They're -- the name is intraepithelial      12   pretty compelling that these might be the
      13   carcinoma, so its analogous term would be sort of   13   precursor lesions to serous -- high-grade serous
      14   an in situ cancer.                                  14   carcinomas.
      15        Q. It is a cancer; correct?                    15       Now, are all high-grade serous carcinomas
      16        A. Well, they're calling them                  16   caused by STIC lesions or are they all -- is a
      17   intraepithelial carcinomas because they have -- I   17   STIC lesion a precursor to all serous --
      18   mean, it's sort of semantics. They have a P53       18   high-grade serous carcinomas? I don't think we
      19   mutation and they're recognizable histologically.   19   know that.
      20        Q. Do you agree that they're carcinomas or     20       Q. Do you know of any data associating
      21   cancer?                                             21   high -- excuse me, associating chronic
      22        A. I certainly agree that they can be          22   inflammation or injury with the development of
      23   precursors to invasive serous carcinomas. It's      23   STIC lesions?
      24   sort of semantics, precursor -- it -- it's --       24       A. So, again, I think the literature is
      25   it's sort of the same question as ductal            25   still evolving with this -- these STIC lesions.
                                                  Page 79                                                  Page 81
       1   carcinoma in situ in the breast. There's             1       Q. Sorry. Were you finished? I don't
       2   literature that debate about is ductal carcinoma     2   want to interrupt you if you're thinking.
       3   in situ a true cancer or is it a risk factor for     3       A. No, I'm thinking.
       4   cancer, and what is the meaning of treatment for     4       Again, I don't think we really have the data
       5   DCIS in the breast? And I would say that that's      5   on where these STIC lesions are coming from.
       6   sort of analogous to STIC lesions in the             6       Q. As part of your literature review for
       7   fallopian tube.                                      7   your MDL report, did you search specifically for
       8       Q. Okay. Do you agree that most                  8   papers that might be linking or associating
       9   high-grade serous carcinomas arise from the          9   chronic inflammation with early precursor lesions
      10   endometrial cells in the fallopian tube?            10   to serous invasive carcinomas or high-grade
      11       A. High-grade --                                11   serous carcinomas?
      12       Q. Epithelial cells in the fallopian tube.      12       A. I was certainly looking for literature
      13   Excuse me.                                          13   with the association of inflammation with ovarian
      14       A. So, again, we -- this was something          14   cancer.
      15   that the medical community really struggled with,   15       Q. With -- did you look specifically at
      16   trying to find the precursor lesions to a lot of    16   the various subtypes of ovarian cancer?
      17   these tumors.                                       17       A. Yes.
      18       And for a lot of years it was thought that      18       Q. Is there a particular subtype of
      19   maybe serous carcinomas derived from what are       19   ovarian cancer that you think is associated with
      20   called epithelial inclusion cysts, so, basically,   20   talc use?
      21   the thought was that during ovulation, you're       21       A. So most of the epidemiology literature
      22   disrupting the surface epithelium of the ovary      22   show the highest association with high-grade
      23   and when the ovary sort of heals itself, you get    23   serous invasive carcinoma.
      24   this invaginated epithelium within the ovary and    24       Q. When you say "highest association," are
      25   that maybe because of inflammatory response to      25   you talking about strength of association?
                                                                                 21 (Pages 78 to 81)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 85 of 348 PageID:
                                  60859

                                           Sarah E. Kane, M.D.
                                                  Page 82                                                  Page 84
       1       A. I'm talking about the -- for example,         1       A. So I think the most consistent finding
       2   on the cohort studies, they found an association     2   is with high-grade serous carcinoma, but there's
       3   with high-grade serous carcinoma.                    3   data for the other types of surface epithelial
       4       And in a lot of the case-control studies,        4   carcinomas.
       5   when they looked at tumor subtype, a lot of those    5       Q. And what are the surface types of
       6   tumors were serous carcinomas. Now, some of them     6   carcinomas?
       7   broke them out by relative risk by subtype; some     7       A. So they're endometrioid and clear cell,
       8   of them didn't. I'd have to look at the papers.      8   and mucinous less so than, I believe, the
       9       Q. Do you remember which cohort study            9   endometrioid and clear cell, although I believe,
      10   found an association with high-grade serous         10   again, in the 2010 Nurses' Health -- is that --
      11   carcinoma?                                          11   I'd have to go back -- I -- there was a mention
      12       A. I believe the Nurses' Health Study.          12   of mucinous -- I'm not absolutely sure it was the
      13   I'd have to look at it to see the numbers.          13   Gates 2010, but there was a mention of an
      14       Q. Was there more than one cohort study         14   increased risk of mucinous in one of those
      15   that you recall associated talc use with            15   studies.
      16   high-grade serous carcinoma?                        16       Q. Do you agree that the different
      17       A. I'd have to look at them just to be          17   histologic subtypes of epithelial ovarian cancer
      18   sure, but the one that I remember is the Nurses'    18   are likely to have different genetic causes?
      19   Health Study.                                       19       A. I know they're associated with
      20       Q. Are there any other subtypes,                20   different genetic mutations.
      21   histologic types, of ovarian cancer that you        21       Q. Do they develop along distinct
      22   believe are associated with talc use?               22   molecular genetic pathways?
      23       A. Well, I think talc use -- I think talc       23       A. That's what the literature suggests at
      24   use could be associated with the -- any type of     24   this point.
      25   surface epithelial cancer. That seems to bear       25       Q. Do they behave differently?
                                                  Page 83                                                  Page 85
       1   out in the epi data. They've certainly seen an       1       A. So the high-grade surface epithelial
       2   association with different types of surface          2   carcinomas have a more aggressive pathway or
       3   epithelial cancers in the epi data, the strongest    3   presentation. The low-grade surface endothelial
       4   association being with the serous invasive.          4   carcinomas tend to have a more indolent
       5      Q. Have you seen any data supporting an           5   progression.
       6   association with talc use and a low-grade serous     6       Q. You've used the term "surface
       7   carcinoma?                                           7   epithelial carcinomas" and I haven't seen that
       8      A. I'd have -- again, I'd have to look at         8   term generally used in the literature.
       9   the different studies to break it out, but I know    9       When you talk about surface epithelial
      10   there was a study that found an increased risk      10   carcinomas, are you talking about serous or are
      11   with serous borderline carcinomas. I'd have to      11   you talking about endometrioid or are you talking
      12   look through the individual data sets.              12   about clear cell? Mucinous?
      13      Q. And serous borderline -- are -- serous        13       A. Epithelial carcinomas.
      14   borderline tumors are not carcinomas; correct?      14       Q. That would encompass all of those,
      15      A. Sorry. I -- serous borderline tumors,         15   wouldn't it? Wouldn't surface epithelial
      16   yes. I misspoke.                                    16   carcinomas encompass mucinous, clear cell,
      17      Q. And you don't remember what study that        17   endometrioid, and serous subtypes? They're all
      18   was that associated talc use with serous            18   epithelial ovarian cancers; correct?
      19   borderline tumors?                                  19       A. Yes. That's what I'm referring to when
      20      A. I would have to look at the data -- or        20   I -- because we also have germ cell tumors and
      21   the study.                                          21   stromal tumors of the ovary. Those are much more
      22      Q. So do your opinions in this case apply        22   rare, and I'm not -- you know, I don't think
      23   equally to all histologic subtypes of ovarian       23   there's associations with those. So, yes, we're
      24   cancer or are there specific subtype or subtypes    24   talking about epithelial carcinomas, to be clear.
      25   that you are opining are caused by talc?            25       Q. Well, and just -- because I want to
                                                                                 22 (Pages 82 to 85)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 86 of 348 PageID:
                                  60860

                                          Sarah E. Kane, M.D.
                                                 Page 86                                                 Page 88
       1   make sure your testimony is also clear.             1       Does that make sense?
       2       So if we could, if you could use the            2       A. Okay. Yes. Okay.
       3   specific subtype names, like serous or              3       Q. Okay. All right. So let me ask my
       4   endometriod --                                      4   question that I asked a little while again, and
       5       A. Okay.                                        5   you tell me -- you can answer it again with the
       6       Q. -- or clear cell. That way there's no        6   terminology.
       7   confusion later on about what you intended.         7       Do the different histologic subtypes of
       8       So when you say -- let's see. Let me go         8   ovarian cancer behave differently?
       9   down. Sorry.                                        9       A. Yes. Again, the high-grade ones
      10       When you say "high-grade surface epithelial    10   generally behave differently than the low-grade
      11   carcinomas," are you talking about high-grade      11   ones.
      12   serous carcinomas?                                 12       Q. Okay. Do endometrioid and clear cell
      13           MR. ROTMAN: Objection. You're asking       13   carcinomas behave differently from high-grade
      14   her to reflect back on all of her prior answers    14   serous carcinomas?
      15   to all of your prior questions, whether she was    15       A. The high-grade serous carcinomas tend
      16   referring to the same thing in each one?           16   to behave more aggressively.
      17       Q. Do you understand my question?              17       Q. Do low-grade serous carcinomas behave
      18       A. I'd have to figure out what answer          18   differently from endometrioid, clear cell, and
      19   you're talking about, but --                       19   high-grade serous carcinomas?
      20       Q. So you just -- just a few questions         20       A. They tend to be less aggressive. They
      21   ago, you answered -- I said, "Do the different     21   all tend to be less aggressive than the
      22   types -- histologic types develop along the same   22   high-grade serous carcinomas or other high-grade
      23   molecular genetic pathways?"                       23   carcinomas of the ovary.
      24       You said, "That's what the literature          24       Q. And are they thought to each have
      25   suggests at this point."                           25   different cells of origin?
                                                 Page 87                                                 Page 89
       1       I asked, "Do they behave differently?"          1       A. Again, we're not entirely sure where
       2       And then you responded, "So the high-grade      2   these tumors are arising from, particularly with
       3   surface epithelial carcinomas have a more           3   mucinous carcinomas. I think mucinous carcinomas
       4   aggressive pathway or presentation. The             4   and there's also a type transitional cell, which
       5   low-grade surface epithelial carcinomas tend to     5   is very, very rare, and most of the literature,
       6   have a more indolent..."                            6   when it comes to the epi data, don't really
       7       Were you talking about high-grade serous and    7   discuss transitional cell.
       8   low-grade serous carcinomas?                        8       But putting that aside, mucinous carcinomas
       9       A. I was talking -- sorry. I was talking        9   we have, I think, the least amount of data on
      10   about high-grade serous carcinomas, yeah. And we   10   where they are actually arising from. Clear cell
      11   also have sort of undifferentiated carcinomas      11   and endometrial carcinomas have an association
      12   that are also considered high grade.               12   with endometriosis, but, again, you know, are all
      13       Q. Okay. And were you talking about            13   cases of endometriod and clear cell carcinomas,
      14   low-grade serous carcinomas when you said          14   are they all arising from endometriosis? I don't
      15   "low-grade surface"?                               15   think I can say that. I don't think we know for
      16       A. No. So "surface" doesn't really refer       16   sure.
      17   to cell type; it's just sort of a --               17       And serous carcinomas, we talked about the
      18       Q. Right.                                      18   precursor lesions and the fallopian tubes.
      19       A. -- an umbrella term for the epithelial      19       So there are differences where we think the
      20   carcinoma.                                         20   tumors are arising from, but, again, I don't
      21       Q. Right, which is my point. I just            21   think we have absolutes where we can definitively
      22   wanted to be clear. When you say "surface" --      22   say, you know, this particular tumor in this
      23       A. Yes.                                        23   particular woman arised [sic] from this precursor
      24       Q. -- could you instead use the actual         24   or...
      25   cell type.                                         25       Q. Okay. And do you know if the different
                                                                                23 (Pages 86 to 89)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 87 of 348 PageID:
                                  60861

                                          Sarah E. Kane, M.D.
                                                  Page 90                                                  Page 92
       1   histologic subtypes have been associated in the      1       Q. -- this is an article by Karen
       2   epidemiologic literature with different risk         2   Malmberg, et al., entitled "Serous tubal
       3   factors?                                             3   intraepithelial carcinoma, chronic fallopian tube
       4        A. Yes. Again, I think we touched on some       4   injury, and serous carcinoma development," and it
       5   of that before. There is an association with         5   was in Virchows Archives, March of 2016.
       6   endometrioid and clear cell with endometriosis       6           MR. TISI: What did you mark this? I'm
       7   and obesity.                                         7   sorry.
       8        Mucinous carcinomas have shown to be            8           MS. AHERN: I marked this one 9. Thank
       9   associated in some studies with a smoking            9   you. No -- yes, 9.
      10   history.                                            10           MR. TISI: Oh, I'm sorry.
      11        High-grade serous carcinomas, it's a little    11           MS. AHERN: That's okay.
      12   bit harder. We know that BRCA1 and BRCA2            12       Q. Do you recall if you've ever reviewed
      13   patients have an increased risk.                    13   this article?
      14        Q. Now that we're on that topic of             14       A. It's possible. It's certainly possible
      15   genetics, do you know what proportion --            15   that I have seen this before in just my daily
      16   currently, what is believed to be the proportion    16   practice. I don't believe I cited it in any of
      17   of ovarian cancers that are caused by germline      17   the references that I can remember, but it's
      18   mutations?                                          18   highly possible that I've seen it.
      19        A. Off the top of my head, I think -- do I     19       Q. Do you see the first page that -- you
      20   have that in my report? But I -- I'm thinking       20   can just skip if you want, take your time reading
      21   it's 10 to 20 percent, but that's off the top of    21   it if you'd like, but the authors conclude in
      22   my head.                                            22   their study that there is no correlation with
      23        Q. Have you seen any research coming out       23   chronic tubal injury or inflammation with the
      24   of Seattle Cancer Care Alliance over the last 10    24   development of STIC lesions or the existence of
      25   or 15 years that indicates the number could be as   25   STIC lesions.
                                                  Page 91                                                  Page 93
       1   high as a quarter of all ovarian cancers being       1       Do you see that?
       2   linked to germline mutations?                        2       A. No. Can you -- I'm sorry, can you
       3       A. That would roughly fit with what I just       3   point to me --
       4   said, 10 to 20 percent. I can't say for sure         4       Q. Oh, sure.
       5   that I have seen that. I might have. But it          5       A. -- where?
       6   fits with what I remember.                           6       Q. Do you see the abstract, if you carry
       7       Q. I had asked you earlier if you had            7   it over to the second column?
       8   reviewed any literature relating to inflammatory     8       A. Mm-hmm. Yes.
       9   conditions and associations with early STIC          9       Q. It says, "STIC and invasive cancer were
      10   lesions.                                            10   seen more often in the older patients than in the
      11       And you -- and, I'm sorry, I don't want to      11   younger patients"?
      12   misstate your response. What was your response      12       A. Mm-hmm.
      13   to that?                                            13       Q. This study is -- small study, no
      14       A. Had I reviewed literature? Yes, I've         14   correlation with chronic tubal injury or
      15   seen literature.                                    15   inflammation was identified.
      16       Q. Okay.                                        16       A. Yes, with the caveat -- that was a
      17            (Article entitled "Serous tubal            17   conclusion with the caveat that it was a small
      18       intraepithelial carcinoma, chronic              18   study.
      19       fallopian tube injury, and serous carcinoma     19       Q. Have you -- as a gynecologic
      20       development" marked Exhibit 9.)                 20   pathologist or a pathologist who has subspecialty
      21   BY MS. AHERN:                                       21   training in gynecologic malignancies, how often
      22       Q. I'm handing you what's been marked as        22   do you see chronic -- or evidence of chronic
      23   Exhibit 9 to your deposition. And this is --        23   inflammation surrounding STIC lesions?
      24           MS. AHERN: I don't know if anyone else      24       Or strike that. How often do you see STIC
      25   wants one.                                          25   lesions?
                                                                                 24 (Pages 90 to 93)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 88 of 348 PageID:
                                  60862

                                          Sarah E. Kane, M.D.
                                                  Page 94                                                 Page 96
       1       A. On -- certainly, I can't give you a           1   looks --
       2   number. I've certainly made the diagnosis and        2          MR. ROTMAN: Just so the record is
       3   see it -- I can't give you a number of how many      3   clear, when you said "this," do you want to
       4   times.                                               4   identify it?
       5       Q. Have you ever been involved in a study        5      A. Sorry. The fourth edition belongs to a
       6   looking specifically at STIC lesions and             6   colleague. The fifth edition is my own.
       7   high-grade serous carcinomas?                        7          MS. AHERN: Okay. We'll get to that
       8       A. I have not been involved in a study,          8   one. I'll mark that next.
       9   no.                                                  9      Q. There is a photocopy here, "Blaustein's
      10       Q. Have you ever seen evidence of chronic       10   Pathology of the Female Genital Tract, Fourth
      11   inflammation with a STIC lesion?                    11   Edition," Pages 300 and -- well, Page 376,
      12       A. Off the top of my head, I am not sure.       12   Page 539, Page 540, 648, 1216, 1217, 1218.
      13   It's possible, but I can't really answer that off   13      Is this a copy -- are these copies that you
      14   the top of my head.                                 14   made?
      15       Q. How often do you see chronic                 15      A. Yes.
      16   inflammation in the fallopian tubes associated      16      Q. Okay.
      17   with high-grade serous carcinoma?                   17          MR. TISI: Do you have a stapler?
      18       A. You can certainly see it, but it sort        18   Otherwise I'll get one.
      19   of goes along with the discussion that we had       19          MS. AHERN: No, I don't have one.
      20   before. You can see chronic inflammation within     20          MR. TISI: No, I'll go get one.
      21   the tumor, as well.                                 21   BY MS. AHERN:
      22       And so I think, you know, the literature        22      Q. Can you tell me why you made those
      23   is -- the research is ongoing as to, you know...    23   copies?
      24       Q. So once the tumor -- once there's a lot      24      A. I made them because it was easier than
      25   of tumor burden in the abdominal cavity, it's       25   lugging around a whole textbook. That's why I
                                                  Page 95                                                 Page 97
       1   difficult to tell where the inflammation is          1   Xeroxed them. But --
       2   coming from or what started it; is that correct?     2       Q. You had to bring it anyway.
       3       A. Well, if there's chronic inflammation         3       Sorry. Go ahead.
       4   in the tumor, it's likely the tumor has something    4       A. But the particular pages that I copied
       5   to do with the chronic inflammation.                 5   are ones that talk about granulomatous reactions
       6       But, again, you know, as we talked about         6   to talc in the female reproductive system.
       7   before, I think sometimes it is difficult to         7       Oh, sorry. Okay.
       8   tell.                                                8          MS. AHERN: Okay. We'll go ahead and
       9           MS. AHERN: Okay. Housekeeping matters        9   mark those copies as Exhibit 10 to your
      10   before I forget.                                    10   deposition.
      11           Let me go ahead somehow and mark --         11       Q. And just to confirm --
      12   let's mark -- we can remove this later --           12          MS. AHERN: Sorry. Are we on 10 or 11?
      13   "Blaustein's Pathology of the Female Genital        13   We're on 11. Thank you.
      14   Tract," Fourth Edition, as Exhibit 10 to your       14       Q. As a --
      15   deposition.                                         15          MR. TISI: Is this the next one?
      16             ("Blaustein's Pathology of the            16          MS. AHERN: Yeah. Hold on. I'm going
      17       Female Genital Tract," Fourth Edition,          17   to clarify it.
      18       marked Exhibit 10.)                             18       Q. So this photocopy that you made from
      19   BY MS. AHERN:                                       19   Blaustein's came from the fourth edition?
      20       Q. And, Doctor, you brought this textbook       20       A. Correct.
      21   with you today.                                     21       Q. The textbook that we have here marked
      22       Is this your textbook?                          22   as Exhibit 10.
      23       A. That particular copy is not. That's my       23       A. (Witness nodded.)
      24   coworker's copy. This copy is mine (indicating).    24       Q. Okay. So Exhibit 11 are photocopies of
      25       Q. Okay. And inside this, you have what         25   specific pages from Exhibit 10, which is
                                                                                 25 (Pages 94 to 97)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 89 of 348 PageID:
                                  60863

                                          Sarah E. Kane, M.D.
                                                  Page 98                                                Page 100
       1   Blaustein's Pathology of the Female Genital          1   evidence, and it shows that talc can cause
       2   Tract, Fourth Edition.                               2   granulomatous or chronic inflammation in the
       3            (Excerpt from "Blaustein's                  3   female reproductive tract.
       4       Pathology of the Female Genital Tract,"          4       Q. And how is uterine cancer related to,
       5       Fourth Edition, marked Exhibit 11.)              5   for instance, high-grade serous carcinoma of the
       6   BY MS. AHERN:                                        6   ovary?
       7       Q. Okay. And can you tell me, with               7       A. Again, this is just evidence that talc
       8   Exhibit 11, the specific information that you        8   can cause chronic inflammation and granulomas in
       9   found relevant to your opinions in this case?        9   the endometrium, which I think is another piece
      10       A. Okay. So on Page --                          10   of evidence that talc can cause chronic
      11          MR. ROTMAN: You marked the copy as           11   inflammation and granulomatous inflammation in
      12   Exhibit 11 and the book as Exhibit 10?              12   the female reproductive tract.
      13          MS. AHERN: Mm-hmm.                           13       Q. Doctor, shouldn't talc -- based on the
      14          MR. ROTMAN: Okay.                            14   literature that we have available to us over the
      15       A. Okay. You have to bear with me,              15   last 50 years, shouldn't talc induce that
      16   because I don't have any highlights or anything,    16   response in any tissue that it's found in?
      17   so I have to find it.                               17       A. Well, again, different tissues will
      18       So Page 376, right down -- okay. The last       18   respond in different ways, but I think it also
      19   paragraph under "Zanko Granulomatous                19   depends -- well, I'll just...
      20   Inflammation," it says, "Rarely, talc or another    20       Q. Well, as a pathologist --
      21   foreign substance may elicit a foreign-body         21          MR. ROTMAN: Wait. Wait. Are you
      22   reaction in the endometrium. Talc may be            22   done?
      23   introduced into the endometrial cavity by           23          MS. AHERN: Are you done?
      24   instruments contaminated with talcum powder or by   24          THE WITNESS: I think so.
      25   gloves during a pelvic examination. Patients may    25       Q. Okay. So as an anatomic pathologist
                                                  Page 99                                                Page 101
       1   be asymptomatic or may have menorrhagia.             1   who knows something about granulomatous
       2   Microscopically, the extent of the granulomatous     2   reactions, shouldn't a foreign body produce a
       3   inflammatory reaction depends on the quantity of     3   foreign-body reaction in any tissue that it's
       4   talc inoculated. The infiltrate is characterized     4   found in?
       5   by histiocytes and foreign-body multinucleated       5       A. Not -- no, not always. Sometimes you
       6   giant cells surrounding the talc crystals, along     6   will have a foreign body that won't cause a
       7   with lymphocytes and plasma cells. The crystals      7   foreign-body giant cell reaction. It depends
       8   appear as refractile, birefringent, needle-like,     8   on -- it depends on the particle, the foreign
       9   or fan-shaped splinters in polarizing light."        9   body, the tissue it's in. You don't always see
      10       Then on Page 530 --                             10   that. And also the timing, when you're looking
      11       Q. Sorry. Let me just -- let's take this        11   at it, versus how long it's been there.
      12   in order.                                           12       Q. Well, the timing is just more or less
      13       So what about that particular passage           13   when you observed it, not whether it occurred;
      14   informs your causation opinions regarding talc      14   correct?
      15   and ovarian cancer, if at all?                      15           MR. ROTMAN: Objection.
      16       A. So it is evidence that talc causes           16       A. So it's hard to know whether or not it
      17   foreign-body giant cell reaction and chronic        17   occurred -- if it had been there for a long time
      18   inflammation in the endometrium.                    18   and you're looking years, you know, in -- years
      19       Q. And that is the uterine tissue;              19   after it's been there, if you don't see a
      20   correct?                                            20   granulomatous or chronic inflammation, that's not
      21       A. That's the lining of the uterus,             21   evidence that it never occurred; it's just you're
      22   correct.                                            22   not seeing it at that moment.
      23       Q. And how does that inform your opinions       23       Q. Do you know of any -- any foreign
      24   regarding the development of ovarian cancer?        24   bodies that generate tissue-specific reactions?
      25       A. Well, I thought, again, it's a piece of      25       A. Well, we -- I mean, we certainly have
                                                                               26 (Pages 98 to 101)
                   Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 90 of 348 PageID:
                                  60864

                                           Sarah E. Kane, M.D.
                                                 Page 102                                                Page 104
       1   evidence with, say, viruses and bacteria that        1   granulomas, which are caused by talc and
       2   respond differently -- certain tissues will          2   cornstarch and certain other inert-type
       3   respond differently to different infections.         3   materials; correct?
       4       For esophageal cancer, there's some              4          MR. ROTMAN: Objection.
       5   literature to suggest that very hot liquids          5       A. Again, you can have inflammation --
       6   increase your risk of esophageal cancer. So,         6   granulomatous inflammation due to infection, you
       7   yes, certain tissues will respond differently to     7   can have granulomatous infection -- response due
       8   different material.                                  8   to foreign bodies, and you can have granulomas in
       9       Q. So my question was -- it might be just        9   certain diseases, like sarcoidosis or Crohn's
      10   a little simpler to think of just this              10   disease.
      11   question -- do you know of any foreign bodies --    11       So in that respect, yes, we're categorizing
      12   I'm not talking about viruses and bacteria which    12   granulomas, but on a daily basis, other than that
      13   cause immune responses -- but foreign bodies that   13   type of breakdown, we're not subcategorizing
      14   generate a tissue-specific foreign-body reaction?   14   granulomas.
      15       A. Well, it's sort of semantics. I mean,        15       Q. But you are aware of the literature
      16   viruses and bacteria -- that's why I answered the   16   that actually characterizes the different types
      17   way I did -- are foreign to -- and, certainly,      17   of granulomas and the types of cells that are
      18   foreign bodies can elicit immune response.          18   involved in the formation of those granulomas;
      19   That's why you see granulomatous reactions and      19   correct?
      20   chronic inflammation.                               20       A. As far as foreign-body giant cells and
      21       So I guess I'm not -- I think I answered the    21   multinucleated giant cells and inflammatory
      22   question.                                           22   versus foreign body, yes.
      23       Q. Pathologists distinguish the different       23       Q. So, you know, a granuloma caused by
      24   types of granulomatous inflammation based on the    24   tuberculosis is going to be very different from a
      25   cause of the inflammation; correct?                 25   granuloma caused by talc; correct?
                                                 Page 103                                                Page 105
       1       A. We look for -- if we see granulomatous        1          MR. ROTMAN: Objection.
       2   inflammation in tissue, we certainly look for a      2      A. I would say not necessarily. In
       3   potential cause. We want to rule out infection,      3   microbacterial infections, you can have necrosis
       4   so if we see granulomas, we'll routinely do          4   within granulomas, but that doesn't mean that
       5   special stains to rule out infection. Like we'll     5   you're not necessarily going to see necrosis in a
       6   do an acid-fast Bacillus stain for microbacteria.    6   foreign-body granuloma.
       7   We'll do fungal stains to rule out a fungal          7      Q. How often have you seen necrosis
       8   infection that causes inflammation.                  8   associated with a foreign-body granuloma?
       9       And then, of course, if we have -- if those      9      A. I'd say more commonly you see
      10   are negative and we're trying to figure out if      10   necrotizing or necrotic granulomas in infectious
      11   there's a foreign body within a granuloma, we can   11   granulomas.
      12   use polarized light to try to find the foreign      12      Q. There are different types of
      13   body to identify it as a foreign-body giant cell    13   macrophages that are involved, too, in
      14   reaction.                                           14   foreign-body granulomas and in immune granulomas;
      15       But often you do have granulomatous             15   correct?
      16   inflammation and you won't find fungi -- fungal     16      A. As far as macrophages themselves and
      17   lesions -- fungal bodies or bacteria or             17   multinucleated giant cells that can form
      18   birefringent particles on them, so you don't        18   granulomas.
      19   necessarily know why you have a granulomatous       19      Q. There are different types, different
      20   inflammation.                                       20   subtypes of macrophages that are involved in --
      21       Q. Pathologists categorize granulomatous        21      A. Yes.
      22   inflammation, don't they? They categorize it in     22      Q. -- those activities; correct?
      23   terms of the different types of immune granulomas   23      A. Yes.
      24   and the etiologic agents for those granulomas,      24      Q. Okay. So there are differences between
      25   and over here somewhere are the foreign-body        25   a foreign-body granuloma and an immune granuloma?

                                                                             27 (Pages 102 to 105)
                   Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 91 of 348 PageID:
                                  60865

                                           Sarah E. Kane, M.D.
                                                Page 106                                                 Page 108
       1       A. There can be.                                 1   cancer, which is sort of the plausibility arm of
       2       Q. Well, there are, aren't there? I mean,        2   the Bradford Hill. I think it's compelling
       3   there are papers that characterize these.            3   evidence that we see that you can get
       4       A. Yes, but I'm -- yes. In the                   4   granulomatous inflammation and some of these
       5   literature, yes. And -- but are we necessarily       5   sections have mentioned lymphocytes and plasma
       6   categorizing them when we're looking at a            6   cells in the tissue. I mean, I think it's a
       7   particular patient? We're looking for the cause      7   further piece of evidence that talc can cause
       8   of the granuloma, but we're not necessarily          8   these -- this type of inflammation in female
       9   subcategorizing, is my point.                        9   reproductive market.
      10       Q. Understood.                                  10       Q. How often have you, in your career,
      11       Oh, I'm sorry. We were talking about the        11   seen a talc granuloma in gynecologic specimens?
      12   pages that you copied from Blaustein's.             12       A. We don't routinely do -- perform
      13       What was the second page in that photocopy,     13   polarized light microscopy on ovarian tumors,
      14   Exhibit 11?                                         14   partly because you really need electron
      15       A. Okay. So Page 539.                           15   microscopy. You can -- with polarized light
      16       Q. What was it on 539 that's relevant to        16   microscopy, you can tell that there's a foreign
      17   your opinions in this case?                         17   substance there, but that's pretty much as far as
      18       A. Okay. I think it starts at the very          18   you can -- you can get. You need more testing to
      19   bottom. I think it carries into Page 540, where     19   be able to determine what type of particle it is,
      20   it starts talking about foreign-body reactions in   20   usually. So we don't, in daily practice,
      21   the -- this is diseases of the fallopian tube.      21   routinely use polarized light microscopy.
      22       So it starts, "Foreign material may be          22       Now, it's entirely possible that, you know,
      23   introduced into the tube in the course of           23   in the course of my career, I've come across
      24   gynecological investigation, especially             24   chronic inflammation or granulomas in an ovarian
      25   hysterosalpingography, lubricant jelly, mineral     25   tumor that could have been due to talc that I
                                                Page 107                                                 Page 109
       1   oil, and starch and talc powder may cause lipoid     1   didn't polarize so I didn't see particles, I
       2   or granulomatous salpingitis. Talc may cause         2   guess.
       3   mucosal or serosal granulomas. Examination of        3       Q. So let me back up and just ask you:
       4   all granulomas or foreign-body reactions under       4   How often in your career have you seen
       5   polarized light is useful in the recognition of      5   foreign-body granulomas? Regardless of whether
       6   these processes."                                    6   you've identified the particle in the granuloma,
       7       So, again, I'm just referencing the fact         7   how often have you seen foreign-body granulomas
       8   that talc can cause granulomatous reaction in the    8   in gynecologic specimens? Not just tumors, but
       9   fallopian tube.                                      9   any gynecologic specimens you've reviewed.
      10       Q. So another tissue that's exposed to          10       A. No, I understand.
      11   talc forms the typical type of foreign-body         11       Q. Okay.
      12   response?                                           12       A. You can certainly see granulomas -- how
      13       A. That can form a granulomatous reaction.      13   often, I can't give you a number; that would just
      14       Q. Okay. And does that in any way inform        14   be wildly guessing -- but you can see granulomas
      15   your opinions on causation, other than              15   in the endometrium. You can see them in
      16   granulomatous reactions occur?                      16   different types of tumor.
      17       A. Well, so, again, it's another piece of       17       Sometimes it's -- you'll see granulomas, but
      18   evidence that talc can cause a granulomatous        18   you won't see a particle, so you don't know for
      19   reaction within the female reproductive tract.      19   sure if it's a foreign-body granuloma; you just
      20       Now, the fallopian tube, we know some -- has    20   see the granuloma because you're not using
      21   been indicated as a precursor site for certain      21   polarized light microscopy on it.
      22   high-grade serous carcinomas, so I think it's       22          MR. KLATT: Object. Nonresponsive.
      23   relevant.                                           23          MS. AHERN: Same.
      24       But, again, you know, we're talking about       24       Q. So how often, though, in your career --
      25   mechanisms that talc may eventually cause ovarian   25   you can give me an estimate -- have you seen
                                                                             28 (Pages 106 to 109)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 92 of 348 PageID:
                                  60866

                                           Sarah E. Kane, M.D.
                                                Page 110                                                 Page 112
       1   foreign-body granulomas in gynecologic specimens?    1   foreign body, you're not necessarily going to be
       2          MR. ROTMAN: Objection.                        2   able to say whether or not it's a foreign-body
       3       Q. I'm not talking about immune                  3   granuloma with absolute certainty unless you're
       4   granulomas, but just foreign-body granulomas.        4   looking under polarized light microscopy. And
       5   We'll start there.                                   5   even then, you might not see it under polarized
       6          MR. ROTMAN: Objection. You've asked           6   light microscopy, because it depends on the
       7   that question. She's answered it.                    7   section of the tissue you're looking at and --
       8       A. So, again, I've seen granulomas in my         8       Q. Okay. Thank you.
       9   career in the female reproductive tract, but I       9       And if you see a foreign-body response in
      10   don't -- pathologists don't routinely use           10   tissue, do you then go one step further and
      11   polarized light microscopy in that instance to      11   polarize to see if you can identify whether
      12   look for foreign bodies.                            12   that's got a foreign body in it?
      13       Q. Okay. So are you done?                       13       A. It certainly depends on the situation.
      14          MR. ROTMAN: Can we take a break?             14       So, for example, in cases where there's been
      15          MS. AHERN: Not just yet. Let me              15   a surgery and they've taken out more tissue after
      16   finish this line of questioning and then we can     16   surgery, you might be looking for polarizable
      17   take a break. Because we may want to -- what        17   foreign body. Often, you can see a suture on
      18   time is it?                                         18   light microscopy. But, yeah, we do -- depending
      19          MR. ROTMAN: It's been an hour.               19   on the situation, we will use polarized light
      20          MS. AHERN: 11:30. If we go a little          20   microscopy to find foreign bodies.
      21   bit longer, we can break for lunch if you want.     21          MR. ROTMAN: Okay.
      22          MR. ROTMAN: I just want to take a            22       Q. How often do you polarize specimens
      23   break in the next few minutes.                      23   where you've found a foreign-body response? How
      24          MS. AHERN: Sure.                             24   often do you do that?
      25                                                       25       A. I think -- I think I tried to come up
                                                Page 111                                                 Page 113
       1   BY MS. AHERN:                                        1   with an estimate. I think I have it in my
       2       Q. Doctor, are you able, as a -- as a            2   report, actually, in the beginning.
       3   pathologist, under regular light microscopy to       3       Yes. So I estimated that I use polarized
       4   identify a foreign-body granuloma? Not the           4   light microscopy for this purpose, which is
       5   content, just the foreign-body granuloma.            5   identifying foreign material to explain an
       6       A. I would say it depends on the specific        6   inflammatory reaction, I estimated about twice a
       7   granuloma. Sometimes, for example, in epidermal      7   month. It's an estimate.
       8   inclusion cysts, you can see the keratin under       8       And I -- well, that was -- actually, I was
       9   light microscopy that's causing the reaction, but    9   referring to calcium oxalate crystals in breast
      10   you don't always -- you won't always necessarily    10   biopsies. That's different. So it's not
      11   see a particle. They're very small. And unless      11   uncommon, let's put it that way, but I can't
      12   you're looking specifically for polarizable         12   really give you a -- an estimate.
      13   birefringent particles, you're not going to see     13       Q. What was the estimate for breast
      14   it just with regular light microscopy.              14   tissue?
      15       Q. So my question wasn't -- and I thought       15       A. I think it was twice a month, is what I
      16   I was specific -- my question wasn't whether or     16   said.
      17   not you could see the particle; my question was:    17       Q. So compared to looking for calcium
      18   You should be able to see the foreign-body          18   crystals in breast tissue twice a month, how
      19   response in terms of multinucleated giant cells.    19   often in gynecologic specimens do you look for
      20       Do you -- can you see that under regular        20   foreign bodies?
      21   light microscopy?                                   21       A. I would say slightly less than that.
      22       A. Well, so you're categorizing it as a         22       Q. Maybe once a month, maybe less than
      23   foreign-body granuloma. What I'm saying is you      23   that?
      24   can see granulomas, of course, under light          24       A. Once a month is probably a good
      25   microscopy. But if you're not looking for a         25   estimate, I guess.
                                                                             29 (Pages 110 to 113)
                   Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 93 of 348 PageID:
                                  60867

                                          Sarah E. Kane, M.D.
                                                Page 114                                                 Page 116
       1        Q. Do you know, based on your review of         1      I mean, it's not -- it's not frequent that
       2   the epidemiologic literature, what proportion of     2   you're going to find foreign-body giant cell
       3   women are said to use talc?                          3   reactions in tissue, but, again, it doesn't mean
       4        A. I believe I've seen in some of the           4   that they weren't there. Maybe --
       5   literature -- it depends on the population, I        5      Q. And this is based just on your
       6   think. I think I saw -- well, again, I'd have to     6   experience. I know that -- I don't want you to
       7   pull out the papers to be absolutely certain, but    7   guess about what might have been there --
       8   I remember there was a reference to                  8      A. Yeah, I'm --
       9   African-American women, about 50 percent of them     9      Q. -- but based on your experience as a
      10   using talc.                                         10   practicing pathologist.
      11        Q. Would you say that in 50 percent of the     11      A. It would just be a pure guess at this
      12   gynecologic specimens you review, you find          12   point. I couldn't give you an accurate number.
      13   foreign-body granulomas or granulomas?              13      Q. Do you see foreign-body reactions in
      14        A. Well, I wouldn't necessarily expect --      14   50 percent of the gynecologic specimens or cases
      15   I wouldn't expect to, just because, you know,       15   that you review?
      16   again, we're looking at an ovarian tumor at a       16          MR. ROTMAN: Objection.
      17   very particular point in time.                      17      A. I would say it's less than 50 percent.
      18        How many granulomas -- how much talc is        18      Q. Is it less than 25?
      19   getting to the ovary, we don't -- we don't know     19      A. I would say less than 25.
      20   how much talc is getting to the ovary. We know      20      Q. Less than ten?
      21   it's been found there, we know it can get there,    21      A. Probably less than ten.
      22   but we don't know with how much use, how much is    22      Q. Less than five?
      23   actually getting there.                             23      A. That's where I'm not exactly sure.
      24        So we wouldn't necessarily find a lot of       24      Q. Okay.
      25   granulomas in ovarian tissue of women that use      25          MS. AHERN: All right. We can go ahead
                                                Page 115                                                 Page 117
       1   it, because we don't know exactly how much is        1   and take a break. Thank you.
       2   getting there or we don't know how long those        2          THE VIDEOGRAPHER: Here ends Media 2.
       3   granulomas are there once the tissue is in the       3   Off the record, 11:44 a.m.
       4   ovary.                                               4           (A recess was taken.)
       5       I mean, 20 years later, when you're looking      5          THE VIDEOGRAPHER: Here begins Media
       6   at the -- at the ovary for a talc particle that's    6   No. 3 in today's deposition of Sarah Kane, M.D.
       7   been there, we don't know if the granuloma would     7   Back on the record, 12:02 p.m.
       8   still be there or the chronic inflammation would     8   BY MS. AHERN:
       9   still be there.                                      9      Q. All right. Doctor, can we go ahead and
      10       Q. And my question wasn't specific to           10   keep moving through that photocopy, Exhibit 11.
      11   ovarian tissue; it was just gynecologic             11      Can you tell me what the next page was?
      12   specimens.                                          12      A. Okay. We just read from Page 540, I
      13       Because you review more than ovarian tissues    13   believe, so the next one is Page 648.
      14   when you're looking at gynecologic samples;         14      Q. Okay. And tell me what on 648 caught
      15   correct?                                            15   your eye.
      16       A. Yes.                                         16      A. Okay. It's the first paragraph under
      17       Q. So looking at all of your gynecologic        17   "Noninfectious Granulomatous Peritonitis." So it
      18   specimens, your vaginal, vulvar, endometrial,       18   says, "Foreign material typically recognizable on
      19   tubal, ovarian, I guess omentum might fall in       19   histologic examination can elicit a granulomatous
      20   there, how often do you identify foreign bodies     20   reaction on the peritoneum. Starch granulomas
      21   or foreign-body granulomas?                         21   from surgical gloves, douche fluid, and
      22       A. I would have to be -- a completely           22   lubricants typically incite a granulomatous and
      23   ballpark guess, but, I don't know, maybe every --   23   fibrosing peritonitis. In occasional cases, the
      24   I'm really trying to figure out a somewhat          24   inflammatory reaction may be a tuberculoid type
      25   ballpark figure. It's tough.                        25   with KCS necrosis. The periodic acid shift (PAS)
                                                                             30 (Pages 114 to 117)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 94 of 348 PageID:
                                  60868

                                           Sarah E. Kane, M.D.
                                                Page 118                                                 Page 120
       1   positive starch granules exhibit the                 1   head.
       2   characteristic Maltese cross configuration" --       2       Q. And when you say "they" were looking
       3          THE COURT REPORTER: I'm sorry, you're         3   at, are you talking -- who are you talking about?
       4   reading too fast.                                    4       A. When the -- when the regulatory -- if I
       5          THE WITNESS: I'm sorry.                       5   recall -- did I put that in my report? -- they
       6       A. "The periodic acid shift (PAS) positive       6   removed -- I know that they removed starch from
       7   starch granules exhibits a characteristic Maltese    7   surgical gloves because it was causing an
       8   cross configuration under polarized light. Talc      8   inflammatory reaction.
       9   was once an important cause of granulomatous and     9       And they had started using starch more
      10   fibrosing peritonitis because of its use as a       10   commonly because talc had been removed from
      11   lubricant on surgical gloves and talc-induced       11   surgical gloves for also causing inflammatory
      12   peritonitis has been described more recently in     12   reactions.
      13   drug abusers." I think that's kind of where it      13       Q. And talc particles and cornstarch
      14   stops.                                              14   particles cause the same foreign-body reaction in
      15       Q. Okay. And how does that passage that         15   the peritoneum and fibrosis; correct?
      16   you just read inform your opinions in this case?    16       A. Well, again, they can cause a
      17       A. Well, again, it's just another --            17   granulomatous reaction, but they're
      18   similar to the last pieces, this is the             18   bioabsorbable, so it's not going to be -- you
      19   peritoneum, so this is outside of the fallopian     19   know, when we're talking about talc, we're
      20   tube. Once particles are outside of the             20   talking about the talc in surgical gloves. And,
      21   fallopian tube, they are in the peritoneum.         21   you know, talc is not bioabsorbable and it will
      22   That's where the ovary is. And so it's              22   stay in the peritoneum longer than starch, which
      23   discussing foreign-body granulomatous reactions     23   is bioabsorbable. So it will -- the inflammation
      24   in the peritoneum.                                  24   will likely resolve more quickly. It's a
      25       Q. And this question -- this passage that       25   different -- it's a different type of reaction
                                                Page 119                                                 Page 121
       1   you just read also mentions that starch granules     1   because it's bioabsorbable.
       2   from surgical gloves --                              2       Q. Well, they both cause granulomas;
       3       A. Yes.                                          3   right?
       4       Q. -- cause granulomatous and fibrosing          4       A. Mm-hmm.
       5   peritonitis, which is the same that they mention     5       Q. And they both cause fibrosis; correct?
       6   talc use to.                                         6       A. They can cause fibrosis.
       7       Would you say that starch granules, then,        7       Q. Does the biodurability of the causative
       8   have the capacity to cause chronic inflammation      8   agent determine how long fibrosis exists?
       9   that can lead to cancer?                             9       A. Well, the fibrosis is thought to arise
      10       A. Starch can cause inflammatory                10   from the inflammatory process. And since -- I
      11   reactions, but it's a -- very different, in that    11   don't know how much data is really there except
      12   it's bioabsorbable, and so the particles are        12   to say that starch is bioabsorbable and talc is
      13   absorbed in the body. And the literature hasn't     13   not. So talc is going to be available for an
      14   supported a link between starch and ovarian         14   inflammatory response more than a starch particle
      15   cancer.                                             15   will.
      16       Q. How many studies have evaluated the          16       Q. Is the purpose of a foreign-body
      17   association between starch and ovarian cancer?      17   granuloma to essentially wall off an irritant, a
      18       A. I couldn't say, off the top of my head,      18   foreign body, from the rest of the tissue to
      19   how many. But I know, you know, they looked at      19   prevent damage?
      20   starch when they were evaluating whether or not     20       A. That can be one reason.
      21   to remove it from surgical gloves, and they ended   21       Another reason is if the particle is large
      22   up deciding to remove it from surgical gloves.      22   enough and one macrophage can't handle it because
      23       And I -- I think at that point they had done    23   of its size, it will sort of recruit more
      24   a literature search. I don't think there was --     24   macrophages to the area to try to digest the
      25   I don't know how many studies off the top of my     25   foreign material, which is not going to -- they
                                                                             31 (Pages 118 to 121)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 95 of 348 PageID:
                                  60869

                                           Sarah E. Kane, M.D.
                                                Page 122                                                 Page 124
       1   won't be able to digest the talc particle.           1   macrophages are continuously recruited to
       2       Q. If they can't digest the particle,            2   foreign-body granulomas?
       3   these macrophages will fuse to form a                3       A. I know that I've read it in the course
       4   multinucleated giant cell and surround the           4   of my daily practice. I can search at some point
       5   particle to basically encapsulate it and prevent     5   for it, but I know that that's the case, because
       6   it from harming the surrounding tissue; correct?     6   I know that macrophages, again, have a certain
       7       A. It's possible that they would, yes,           7   lifespan.
       8   they would recruit more macrophages and              8       But, you know, again, the inflammatory
       9   potentially do that.                                 9   response, we also don't know how long that
      10       Q. Isn't that the purpose of a                  10   inflammatory response is going to be there for
      11   foreign-body granuloma?                             11   sure. Is it possible that at some point the
      12       A. So, again, you can get well-formed --        12   granuloma resolves and you get some fibrosis and
      13   you can get well-formed encapsulated granulomas.    13   the talc particle or whatever particle is there
      14   You can also get sort of poorly formed granulomas   14   remains? I think that's possible and likely, in
      15   that are -- when more macrophages have been         15   fact, because you do see resolution of granulomas
      16   recruited to that site.                             16   with fibrosis.
      17       You can get a -- you can get a histiocytic      17       Q. Is fibrosis associated with the
      18   reaction that isn't a well-formed granuloma in      18   development of ovarian cancer?
      19   the sense that you're talking about, where it's     19       A. There hasn't -- there hasn't been a
      20   kind of walling off the foreign body. You can       20   lot -- again, the causes of ovarian cancer are
      21   get histiocytic reactions that aren't as well       21   sort of -- the literature and the research is
      22   formed like that.                                   22   still bearing all of it out, but from what I know
      23       Q. But we're just talking about the actual      23   of the literature, I don't think that they found
      24   granuloma itself, those particles that do result    24   fibrosis itself being an increased risk factor
      25   in a well-formed granuloma.                         25   for ovarian cancer.
                                                Page 123                                                 Page 125
       1      Once that granuloma has formed, it can            1       Q. Is fibrosis associated with chronic
       2   persist for many years, can't it, without            2   inflammation?
       3   damaging the surrounding tissue?                     3       A. It can be, yeah. Chronic inflammation
       4           MR. ROTMAN: Objection.                       4   can lead to fibrosis.
       5      A. I think it would depend. Macrophages           5       Q. Do you know of any literature that has
       6   have a certain lifespan, so it's going to be         6   linked talc granulomas introduced into the body
       7   constantly recruiting different macrophages to       7   through the use of talc-dusted surgical gloves
       8   that site.                                           8   with any sort of cancer?
       9      So I don't think we can say for certain that      9       A. So we know that talc can -- there are
      10   the -- in fact, I think the body is still           10   studies that have shown talc in the ovaries, and
      11   reacting to that foreign body if it's still         11   we know that chronic inflammation has been
      12   recruiting new macrophages in.                      12   implicated in cancer.
      13      Q. Do you know that for a fact based on          13       So if talc can reach the ovaries -- and we
      14   your reading of the literature of granulomas,       14   also have evidence that talc causes chronic
      15   that that's the mechanism behind a foreign-body     15   inflammation. So if talc reaches the ovary, I
      16   granuloma, as opposed to an immune granuloma?       16   think it's a plausible mechanism for talc from
      17      A. What I'm saying is -- is that                 17   surgical gloves to cause an inflammatory reaction
      18   macrophages have a certain shelf life, and so       18   and lead to cancer. I think that's plausible.
      19   they will constantly recruit new macrophages to     19       And, again, that's the plausibility arm of
      20   that area.                                          20   it. You know, that's a piece of the general
      21      Now, whether or not there's an exposure in       21   causation opinion, but, you know, they're still
      22   that particle while it's in that process, I don't   22   piecing together a lot of the etiology of ovarian
      23   think we can definitively say.                      23   cancer.
      24      Q. Can you cite to any papers that support       24       Q. Then why --
      25   your understanding of that process whereby          25          MR. KLATT: Objection, nonresponsive.
                                                                             32 (Pages 122 to 125)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 96 of 348 PageID:
                                  60870

                                          Sarah E. Kane, M.D.
                                                Page 126                                                 Page 128
       1           MS. AHERN: Nonresponsive, yeah.              1          MS. AHERN: No. We're going back to
       2       Q. Doctor, why are you so sure, then, that       2   this question.
       3   talc causes ovarian cancer?                          3          MR. ROTMAN: Okay. That's fine.
       4       A. It's --                                       4          So you're asking her again a question
       5           MR. ROTMAN: Objection.                       5   that she previously answered.
       6       A. So I can lay out to you my methodology.       6          MR. KLATT: No --
       7   It's in the report. I did very in-depth,             7          MS. AHERN: I'm interested in --
       8   extensive review of the literature, which            8          MR. KLATT: -- a question she didn't
       9   included the epi studies, animal studies, and        9   answer.
      10   biologic studies.                                   10          MS. AHERN: -- the question she didn't
      11       And I think -- well, I know that the epi        11   answer first.
      12   studies have been very consistent with the          12   BY MS. AHERN:
      13   increased risk associated with talcum powder        13       Q. Which is: "Do you know of any
      14   product usage -- I'm talking about talcum powder    14   literature that has linked talc granulomas
      15   product, what's in the bottle -- and perineal       15   introduced into the body through the use of
      16   talc application with ovarian cancer.               16   talc-dusted surgical gloves with any sort of
      17       And I think if you're looking at -- if you      17   cancer?"
      18   go through the methodology that I used and you're   18       Do you know or not know of any literature
      19   looking at the Bradford Hill analysis, which I've   19   that supports that?
      20   laid out in the report, I've come to the            20       A. Well, first of all, I think we're
      21   professional -- you know, my professional           21   talking about -- you're talking about surgical
      22   judgment is that the talcum powder products --      22   glove talc, right, which is pharmaceutical-grade
      23   weighing everything, that talcum powder products    23   talc, which is different from the talcum powder
      24   cause ovarian cancer.                               24   product that I'm opining about.
      25       And I know -- and, interestingly, about         25       And we know that these talc particles can
                                                Page 127                                                 Page 129
       1   three weeks after I wrote my report, there was       1   get to the ovary and we know that talc can cause
       2   the Health Canada report that, in reading their      2   chronic inflammation.
       3   methodology and the literature that they             3       Q. Doctor, first question about your
       4   reviewed, was very similar to what I reviewed and    4   answer is: What makes you think that cosmetic
       5   my methodology. And they came to the same            5   talc used in Johnson & Johnson baby powder is not
       6   conclusion.                                          6   pharmaceutical-grade talc?
       7         MR. KLATT: Objection.                          7       A. I'm talking about the product, the
       8         MS. AHERN: Objection. Nonresponsive.           8   ultimate product.
       9      Q. Doctor, my question was: Do you know           9       Q. Johnson's baby powder; correct?
      10   of any literature that has linked -- sorry.         10       A. Whatever is in the bottle.
      11      My first question we're going to go back to      11       Q. You're saying that's not
      12   now is: Do you know of any literature that has      12   pharmaceutical-grade talc?
      13   linked talc granulomas introduced into the body     13       A. Whatever is in the bottle.
      14   through the use of talc-dusted surgical gloves to   14       Q. Okay.
      15   any sort of cancer?                                 15       A. So --
      16         MR. ROTMAN: Objection.                        16       Q. What is your -- what is your
      17         MS. AHERN: What's the objection?              17   understanding of what pharmaceutical-grade talc
      18         MR. ROTMAN: Your question was --              18   is and how is that different from what's in
      19         MS. AHERN: I'm reading it.                    19   Johnson's baby powder?
      20         MR. ROTMAN: -- why are you so certain.        20       A. So I didn't opine on the constituents
      21         MS. AHERN: Well, I just told you we're        21   of the talcum powder that -- the baby product --
      22   going back to this question.                        22   talcum powder products, the Johnson & Johnson. I
      23         MR. ROTMAN: Okay. So you're asking --         23   saw evidence as to what's in the talcum powder
      24   you're not saying that she didn't -- you're not     24   products, but I didn't do my own analysis as to
      25   repeating your former question?                     25   what is in the talcum powder products.
                                                                             33 (Pages 126 to 129)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 97 of 348 PageID:
                                  60871

                                          Sarah E. Kane, M.D.
                                                Page 130                                                 Page 132
       1       But pharmaceutical-grade talc, if we're          1       A. Well, I think I've answered, like, to
       2   talking about talc that's used in pleurodesis,       2   me, it doesn't -- it doesn't really matter
       3   for example, is going to be different than talcum    3   what -- the difference between pharmaceutical
       4   powder products in the bottle --                     4   talc and talcum powder products; it's whatever is
       5       Q. Okay.                                         5   in that talcum powder products -- product,
       6       A. -- cosmetic talcum powder products.           6   whatever is in the bottle that women are buying
       7       Q. So how is it different?                       7   off the shelf and applying to their perineum.
       8       A. So, again, I didn't do my own analysis        8          MR. KLATT: Objection. Nonresponsive.
       9   as to what is in the talcum powder product, but      9          MS. AHERN: Objection. Nonresponsive.
      10   that's what I am -- that's what my general          10       Q. My question was -- originally was: Do
      11   causation opinion is on, is the talcum powder       11   you know of any literature that connects talc
      12   product in the bottle, that regular perineal use    12   dust of surgical gloves and any sort of cancer.
      13   of that causes ovarian cancer.                      13       And then you said, "First of all, I think
      14       Q. My question to you is: What do you           14   we're talking about surgical glove talc, which is
      15   understand the difference between the talcum        15   a pharmaceutical-grade talc, which is different
      16   powder products and pharmaceutical-grade talc --    16   from the talcum powder product that I'm opining
      17          MR. ROTMAN: Objection.                       17   about."
      18       Q. -- to be?                                    18       So what I'm asking you is: What is
      19       A. So I've seen evidence that in talcum         19   different about the talcum powder product that
      20   powder products, there are heavy metals. There      20   you're --
      21   are fragrances that are added to the talcum         21       A. It's what I'm opining about. You know,
      22   powder product that, in talc used for               22   I haven't --
      23   pleurodesis, they wouldn't be adding fragrances     23       Q. Right.
      24   to that type of talc.                               24       A. -- looked at the talc that's used for
      25       Q. Would -- you're not saying that talcum       25   pleurodesis, for example. It's what I'm
                                                Page 131                                                 Page 133
       1   powder products that are sold to consumers have      1   separating out.
       2   been altered to add heavy metals, are you?           2       I've looked at the talcum powder product
       3       A. Well, I've seen the report of                 3   that women use on their perineum, what they
       4   Dr. Crowley that looks at heavy metals and           4   bought off the shelf. I haven't looked at
       5   fragrances in the talc, the baby product talc        5   pharmaceutical-grade -- let me correct that --
       6   powder that he examined. I did not do my own         6   pleurodesis talc, for example. I have not looked
       7   analysis of that.                                    7   at pleurodesis talc and ovarian cancer. I have
       8       Q. Does pharmaceutical-grade talcum powder       8   not looked at any literature specifically on
       9   also have associated metals and sometimes heavy      9   that. It's been the talcum powder products that
      10   metals?                                             10   women are buying off the shelf and using on their
      11       A. I'm not sure if I've seen data as to         11   perineum.
      12   what is specifically in pharmaceutical-grade        12       Q. So if I told you that Johnson's baby
      13   talcum powder, but, again, to me, what is           13   powder starts out as pharmaceutical-grade talc
      14   important is the ultimate product and what is in    14   and that, beyond that, fragrance is added, would
      15   that bottle. It can -- whether it's platy talc,     15   it be the fragrance that you're taking issue with
      16   fibrous talc, asbestos, heavy metals, fragrance     16   that you believe is causally associated with the
      17   metals.                                             17   development of ovarian cancer?
      18       I mean, to me -- you know, I've seen            18       A. Again, I -- it's whatever is in that
      19   evidence of those things in that product, but to    19   bottle. It could be platy talc, fibrous talc,
      20   me, what I'm looking at is the final product when   20   asbestos, heavy metals, fragrance. It -- to me,
      21   it comes to causing ovarian cancer.                 21   it's the product, whatever the product is that
      22       Q. So what is different about that final        22   they are using.
      23   product and pharmaceutical-grade talc? What         23       Q. And you have done a biologic
      24   specific components have been added to that that    24   plausibility analysis for fragrances, for metals,
      25   affect your opinions in this case?                  25   for asbestos, for fibrous talc, and for platy
                                                                             34 (Pages 130 to 133)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 98 of 348 PageID:
                                  60872

                                          Sarah E. Kane, M.D.
                                                Page 134                                                 Page 136
       1   talc --                                              1   consistency piece of it.
       2       A. So --                                         2       Q. Can I ask you -- you can go through all
       3       Q. -- each one of those constituents?            3   of it if you want, but would you rather break it
       4       A. So I have looked at evidence -- so            4   down piece by piece?
       5   Dr. Crowley's report, I mentioned. I've looked       5           MR. ROTMAN: She should answer your
       6   at Dr. Longo's report. I've looked at Hopkins        6   question.
       7   and the Pier charts from their depositions. I'm      7           MS. AHERN: I'm not sure she's
       8   aware of evidence that these heavy metals and        8   answering my question. My question was: How do
       9   fragrances and asbestos are in there.                9   you come up with causation when you don't know
      10       However, I haven't done -- what I know, I       10   what the exposure is?
      11   looked at the -- I've looked at some literature     11           MR. ROTMAN: I think she's answering
      12   and I've looked at the IARC categorization of the   12   the question.
      13   heavy metals. I've looked at Dr. Crowley's          13           MR. TISI: That wasn't the question.
      14   report and I've done an extensive look at           14   The question was: Do you need to know the agent?
      15   asbestos and ovarian cancer.                        15   And she said the agent is the product.
      16       But, ultimately, those are just pieces of       16   BY MS. AHERN:
      17   biological plausibility. What I'm mainly -- what    17       Q. The agent is everything in it?
      18   I am opining about is the ultimate product. And,    18       A. Yes, the agent is whatever is in that
      19   again, it can be platy talc, it can be fibrous      19   talcum powder product.
      20   talc, it can be asbestos, it can be heavy metals.   20       Q. So are you basing, then, your causation
      21       It's pieces of information that strengthen      21   conclusions on the epidemiologic literature
      22   the plausibility. We know that asbestos causes      22   alone?
      23   ovarian cancer, that certain heavy metals are       23       A. The epidemiologic literature is very
      24   carcinogens, which the IARC categorized them as.    24   comp- --
      25   So it's just -- it's just additional pieces of      25           MR. ROTMAN: She was not done with her
                                                Page 135                                                 Page 137
       1   information that strengthen the biological           1   earlier answer. Now you've gone two more beyond
       2   plausibility arm of it.                              2   it.
       3       Q. Doctor, how do you arrive at a                3          MS. AHERN: She's answering. Why don't
       4   causation conclusion without a well-defined agent    4   you let her answer. If she wants to go back, she
       5   of exposure?                                         5   can.
       6           MR. ROTMAN: Objection.                       6          MR. ROTMAN: No, I want her to go back.
       7       Q. Do you understand what I'm asking you?        7   She was -- she was in the middle of going through
       8   How do you arrive at your causation and              8   her Bradford Hill to answer your earlier question
       9   conclusion when you're not sure what it is about     9   and you cut her off. So she had covered strength
      10   the talcum powder products that's actually          10   of association.
      11   biologically relevant?                              11   BY MS. AHERN:
      12       A. Well, I think -- well, strike that.          12       Q. Doctor, you can answer the question the
      13       The epi studies are looking at the product      13   way you want to answer the question.
      14   that the women are using. So that is the agent.     14          MR. ROTMAN: Now there's no question in
      15   It's the -- it's the total product. That is the     15   front of her.
      16   agent.                                              16          MS. AHERN: Well, because you
      17       So when you're looking through -- let me        17   interrupted it.
      18   just -- so let's keep in mind that we're looking    18          MR. ROTMAN: Let's go back to what the
      19   at that product.                                    19   question was before you cut her off. "Do you
      20       And then if you go through my Bradford Hill     20   understand what I'm asking you? How do you
      21   analysis, you look at strength of association.      21   arrive at your causation and conclusion when
      22   And, overall, there's a consistent relative risk    22   you're not sure what it is about the talcum
      23   that's between 1 and 2. I would say it's, across    23   powder products that actually biologically --
      24   studies, averaging 1.3 to 1.4 relative risk, and    24   that are biologically relevant?"
      25   that's consistent across studies. That's the        25          And then you gave -- then you started
                                                                             35 (Pages 134 to 137)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 99 of 348 PageID:
                                  60873

                                           Sarah E. Kane, M.D.
                                                Page 138                                                 Page 140
       1   an answer about the epi studies are looking at       1   generally accepted knowledge of the disease in
       2   the product that the women are using, and you        2   question.
       3   were talking about strength of association and       3          So we know that particles can reach the
       4   then you said, "And that's consistent across         4   ovary. We know that talc can cause chronic
       5   studies. That's the consistency piece of it,"        5   inflammation. We know that chronic inflammation
       6   and then you were interrupted.                       6   is associated with certain types of cancer. We
       7          So were you done with your answer to          7   know that certain types of ovarian cancer have
       8   that earlier question?                               8   shown association with chronic inflammatory
       9          THE WITNESS: I can continue, because I        9   conditions.
      10   think it's important.                               10          So, again, going through all this is
      11          I mean, I was -- my general causation        11   experiment and analogy, experiment with the
      12   opinion, the methodology I used was to answer the   12   animal studies and the in vitro studies. And
      13   question: Does perineal application of talcum       13   analogy, I used the example of asbestos, because
      14   powder products, the, you know, baby powder         14   even though asbestos is -- you know, asbestos is
      15   product that you buy off the shelf, does that       15   chemically similar, you can have asbestos fibers
      16   cause ovarian cancer? So it's whatever is in        16   and talc fibers, but it's a similar mineral
      17   that bottle.                                        17   chemically, and we know that that is a
      18          So with the methodology that I used,         18   carcinogen. So that's part of the analogy.
      19   looking at the epi data, but also considering the   19          But, again, it's the whole picture. I
      20   Bradford Hill criteria -- which, you know,          20   mean, you look at the -- all of this data
      21   looking for specificity is another one. So most     21   following my methodology and you apply the
      22   of the studies showed a stronger -- a strong        22   Bradford Hill criteria guidelines -- the Bradford
      23   association with serous ovarian cancer, but it      23   Hill guidelines. And, looking at all that, my
      24   was basically associated with epithelial ovarian    24   professional judgment is that the talcum powder
      25   cancer, so all groups of epithelial ovarian         25   products can cause ovarian cancer.
                                                Page 139                                                 Page 141
       1   cancer. It was pretty specific, the epi data,        1        Q. Okay. Are you done? I don't want to
       2   for that type of ovarian cancer.                     2   interrupt you.
       3           Temporality. If you look at that, I          3        A. I think I answered the question.
       4   mean, the case-control studies are retrospective     4        Q. Okay. One of the things, and I guess a
       5   reviews, so we know that they were using talc        5   major component of the talcum powder products,
       6   before their diagnosis of ovarian cancer.            6   would be talc; correct?
       7           Biological gradient. For those studies       7        A. Presumably -- it's called talcum
       8   that looked at a biological gradient, there was      8   powder, so presumably, talc would be a
       9   an evident -- there was evidence of a                9   constituent.
      10   dose-response, not all of the times statistically   10        Q. Do you know what percentage of talcum
      11   significant, but the trend -- you can see a trend   11   powder products is talc?
      12   of a dose-response across studies.                  12        A. Again, I did not do my own analysis as
      13           And then we get into the plausibility       13   to how much talc was in that product.
      14   piece, which you've been discussing mostly so far   14        Q. Do you know whether any of the heavy
      15   in this deposition, which has to do with the        15   metals that you looked at or were examined by
      16   plausible mechanism of talcum powder -- what I'm    16   other experts in this litigation, whether any of
      17   thinking of, talcum powder products -- whatever     17   those are known carcinogens for the ovary?
      18   is in that bottle was what I'm looking at --        18        A. So it's another piece of information.
      19   talcum powder products causing -- the               19   There is not, to my knowledge -- looking at what
      20   plausibility of it causing a chronic inflammatory   20   the IARC looked at, there's not data right now on
      21   response, leading to ovarian cancer. We've been     21   those heavy metals and ovarian cancer, but
      22   discussing that quite a bit today.                  22   it's -- it's a -- it's a piece of the puzzle.
      23           And then coherence. So I can refer          23   It's a piece of information.
      24   again to my report. Coherence, in this context,     24        The IARC has called some of them
      25   means coherence between epidemiologic and           25   carcinogenic, some of them probably carcinogenic,
                                                                             36 (Pages 138 to 141)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 100 of 348 PageID:
                                   60874

                                           Sarah E. Kane, M.D.
                                                Page 142                                                 Page 144
       1   so we know that they can cause cancer. And if        1   little too wide a net. I think science is always
       2   they're in the talcum powder products, then it's     2   evolving and there's always the possibility of an
       3   just another piece to the puzzle of plausibility.    3   unknown cause of a certain type of cancer.
       4        Q. Are you saying that the probably             4           MS. AHERN: Objection. Nonresponsive.
       5   carcinogenic category for IARC means that they       5        Q. My question was just: Can carcinogens
       6   can cause cancer?                                    6   be organ specific?
       7        A. Well, we can look at what the IARC 2A        7        A. And I feel like I answered that fairly.
       8   categorization -- category actually says, what       8        Q. Do you know of carcinogens that are
       9   they break it down. But my understanding is          9   organ specific?
      10   it's -- probably carcinogenic means it probably     10        A. I know -- for example, we know that H.
      11   causes cancer, more likely than not, probably       11   Pylori causes increased risk of gastric cancer,
      12   causes cancer.                                      12   but not oral or esophageal cancer.
      13        Q. How many categories does IARC have?         13        We know that HPV infection can cause
      14        A. They have four.                             14   cervical cancer, anal cancer, certain types of
      15        Q. What is the -- what is Category 1?          15   squamous cell carcinomas of the oropharyngeal
      16        A. Carcinogenic.                               16   system, but not, you know, of the endometrium,
      17        Q. Known to be carcinogenic?                   17   for example.
      18        A. Mm-hmm.                                     18        So we know that certain things cause certain
      19        Q. And then the next?                          19   cancers and aren't -- haven't been associated
      20        A. Probably carcinogenic.                      20   with other types of cancers. But to cast that
      21        Q. And then?                                   21   wide a net, to say that a carcinogen is only
      22        A. Possibly carcinogenic.                      22   going to cause one type of cancer or this cancer
      23        Q. And then?                                   23   is caused only by this carcinogen, I think that's
      24        A. I think it's unclassifiable. I have to      24   too wide a net, because I feel like research is
      25   look. But I think it's uncertain, basically.        25   constantly evolving. We're constantly learning
                                                Page 143                                                 Page 145
       1       Q. And then what is the last?                    1   of new causal factors in cancer.
       2       A. And then known not to be carcinogenic.        2       Q. Do you think that dose is an important
       3       Q. How many agents are in the known not to       3   consideration when you're looking at the
       4   be carcinogenic category?                            4   toxicologic effects of an agent on a tissue?
       5       A. Very, very few.                               5       A. I think it is a piece of information.
       6       Q. One; right?                                   6   I'm looking at my biological gradient portion of
       7       A. That's plausible. I haven't looked at         7   my report, and I said in my report that it was an
       8   the list recently.                                   8   important factor in my analysis because it does
       9       Q. So going back to the major component,         9   add information to the overall causality.
      10   you don't know what percentage of talcum powder     10       Q. Are there agents that can be toxic at
      11   products are actually talc?                         11   certain levels and not toxic at other levels?
      12          MR. ROTMAN: Objection.                       12       A. There are certainly agents that are
      13       A. I have not done my own analysis as to        13   more toxic with increased exposure and increased
      14   what the components are of that talcum powder --    14   duration. We don't know all of the thresholds
      15   of the talcum powder products.                      15   for carcinogenicity of all carcinogens.
      16       Q. Do you agree that carcinogens can be         16       Q. As part of the biologic plausibility
      17   organ specific?                                     17   analysis that you would do on a particular agent,
      18       A. I will agree that certain tissues            18   would that take into consideration the relative
      19   respond to certain things differently.              19   levels of exposure that a person would have to
      20       Q. Do you agree that carcinogens can be         20   that agent?
      21   organ specific?                                     21       A. Well, dose-response -- I -- I'm taking
      22       A. Certain tissues respond to certain           22   it -- your question -- can you rephrase the
      23   things differently. If you're casting that wide     23   question? I'm sorry. I just want to make sure
      24   a net to say that one specific carcinogen only      24   I'm answering it accurately.
      25   causes one type of cancer, I think that's a         25       Q. To determine whether it's biologically
                                                                             37 (Pages 142 to 145)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 101 of 348 PageID:
                                   60875

                                           Sarah E. Kane, M.D.
                                                Page 146                                                  Page 148
       1   plausible for a particular agent to cause a          1   and ovarian cancer. I certainly saw some of the
       2   particular harm, would you need to be able to        2   data about talc migration and cornstarch on
       3   characterize the dose of that agent that is          3   surgical gloves migration, but I didn't
       4   required to elicit the effect that you're looking    4   specifically -- I don't know if -- I don't even
       5   for?                                                 5   know if that study has really been done.
       6       A. I think it's a piece of the                   6        Q. Did you consider the publications on
       7   information -- a piece of information, but you're    7   talc responses -- or, excuse me, did you consider
       8   not always going to be able to determine a           8   the publications on granulomatous reactions to
       9   dose-response. It's going to depend on the           9   talc from surgical gloves to be relevant to your
      10   carcinogen, the agent, the routes of exposure.      10   biologic plausibility analysis?
      11   You're just not always going to have that data,     11        A. It's a piece of information that
      12   unfortunately. It would be nice to have, but        12   talc -- now, again, surgical glove talc, for me,
      13   you're not always going to have it, and you don't   13   is different than the talcum powder products.
      14   necessarily have to have it to come to              14        You know, my general causation opinion -- I
      15   plausibility.                                       15   just want to be clear -- is about, you know,
      16       Q. And do you have well-characterized           16   talcum powder products, not the talc used in
      17   levels of exposure to the ovaries for women who     17   pleurodesis, not talc on surgical gloves.
      18   are using talc perineally?                          18        Having said that, I think it's an important
      19          MR. ROTMAN: Objection.                       19   piece of information to know that talc on
      20       A. So some of the -- we're never really         20   surgical gloves can cause a granulomatous
      21   going to be able to figure out what an actual --    21   reaction, because that is further evidence for
      22   to characterize what an actual dose -- dose of      22   plausibility that talcum powder products --
      23   talcum powder product of what -- of a talcum        23   they're called talcum powder products, so, again,
      24   powder product in a particular use. We don't        24   it's sort of an assumption. It doesn't really
      25   know how much a woman is putting on her hand to     25   matter to me what's in there, but my assumption
                                                Page 147                                                  Page 149
       1   place into the perineum. We don't know how much      1   is that whatever -- the talc or whatever is in
       2   of that product is getting to the ovary. We know     2   that product is causing the -- a chronic
       3   that it can get to the ovary because we've seen      3   inflammation. And so it's part -- it's a piece
       4   talc in the ovary. But where -- it's extremely       4   of evidence for the plausibility.
       5   difficult in this type of situation, when women      5       Q. So are you not aware of any studies,
       6   use the product differently, to know what the        6   based on the review that you did conduct, that
       7   dose -- what a single dose is.                       7   link surgical glove talcum powder with the
       8       Now, if you're talking long-term, frequent       8   development of any cancer?
       9   use of talcum powder products, of course, the        9           MR. ROTMAN: Objection.
      10   exposure is going to be greater than a single use   10       A. So I'm not sure how you could do that.
      11   of that product.                                    11   If you're looking at patients who -- I think that
      12       But are we ever going to know what one dose     12   would be a very difficult study to design.
      13   of talcum powder product is? I don't think we're    13       If you're looking at women -- if you're
      14   going to be able to say that and how much of one    14   doing a case-control study -- I'm just
      15   dose reaches the ovary.                             15   thinking -- and you're looking at patients who
      16       But, certainly, again, with -- over time,       16   have been diagnosed with ovarian cancer who have,
      17   increased frequency and duration, it's -- you       17   at any time, had surgery during the time period
      18   know, more of that product is going to reach the    18   that talc was used on surgical gloves, I think
      19   ovary.                                              19   that would be a difficult study.
      20       Q. So going back to the discussion we had       20       Q. My question to you was --
      21   earlier about surgical glove talc, do you know of   21           MR. KLATT: Objection. Nonresponsive.
      22   any literature that links exposure to talcum        22       Q. My question to you was: Are you aware
      23   powder -- pharmaceutical-grade talcum powder from   23   of any studies or literature that link
      24   surgical gloves to any kind of cancer?              24   talc-dusted surgical gloves to the development of
      25       A. I did not opine on surgical glove talc       25   any kind of cancer?
                                                                             38 (Pages 146 to 149)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 102 of 348 PageID:
                                   60876

                                           Sarah E. Kane, M.D.
                                                 Page 150                                                Page 152
       1           MR. ROTMAN: Objection.                       1   could be helpful information to my general
       2           THE WITNESS: My thing is not --              2   causation opinion. So it's possible that I did.
       3           MR. ROTMAN: There's a button you can         3      Q. Is it in your report or cited in any of
       4   push.                                                4   your reference lists?
       5           THE WITNESS: Oh, "follow."                   5      A. Again, I can look through my whole
       6           MR. ROTMAN: Do you see the button            6   reference list. It's the same answer. Off the
       7   that's flashing on the right-hand --                 7   top of my head, I don't know the answer to that.
       8           THE WITNESS: Yeah.                           8      Q. Do you know of any studies or any data
       9           MR. ROTMAN: -- side? If you hit that,        9   that link foreign-body granulomas to the
      10   it should go to the bottom.                         10   development of any kind of cancer?
      11           THE WITNESS: Okay. I see. Yup.              11      A. Well, we know that asbestos can cause a
      12           MS. AHERN: And I'll withdraw that,          12   granulomatous reaction and asbestos is certainly
      13   because there's -- the question asked first was,    13   associated with mesothelioma and lung cancer.
      14   I think, better. I slightly modified it on          14      Q. Are there other biologic properties of
      15   accident.                                           15   asbestos that contribute to its carcinogenicity?
      16   BY MS. AHERN:                                       16      A. It can provoke a reactive oxygen
      17       Q. Are you aware of any studies, based on       17   species inflammatory response.
      18   your review, that link surgical glove talcum        18      Q. Can it disrupt DNA?
      19   powder with the development of any kind of          19      A. It can based on that mechanism, yes.
      20   cancer?                                             20      Q. Have you seen any studies or data
      21       And, Doctor, to be clear, I'm only              21   suggesting that talcum powder can do those
      22   interested in whether you know of a study, not      22   things?
      23   whether one could be conducted.                     23      A. I've seen studies that show that talcum
      24       A. Off the top of my head, it's possible        24   powder can increase production of reactive oxygen
      25   that one exists, but I can't come up with one off   25   species and can change gene expression in
                                                 Page 151                                                Page 153
       1   the top of my head.                                  1   mesothelial cells. So, yes, I mean -- let me go
       2       Q. Do you know of any data linking               2   back to your question.
       3   surgical glove talcum powder with the development    3       So I would say, yes, there are studies that
       4   of any cancer?                                       4   show talc can cause the production of reactive
       5          MR. ROTMAN: Objection.                        5   oxygen species and reactive nitrogen species,
       6       A. It would be my same answer.                   6   which can disrupt DNA, similar to asbestos.
       7       Q. That you don't know, but there might          7       Q. How do reactive oxygen and nitrogen
       8   be?                                                  8   species disrupt DNA similar to asbestos?
       9       A. Sitting here right now, I can't come up       9       A. Well, it's the reactive oxygen species
      10   with a specific study that evaluated ovarian        10   -- it's part of this feedback loop with -- what's
      11   cancer patients who have had surgery with talcum    11   the word I'm looking for? -- tumor factors like
      12   powder gloves.                                      12   COX and TNF alpha. It's related to those types
      13       Q. Any cancer. Not ovarian cancer, any          13   of expressions and an inflammatory response.
      14   cancer.                                             14       Q. Are you relying on cell studies?
      15       A. Similar. Sitting here right now, I           15           MR. ROTMAN: Objection.
      16   cannot think of one off the top of my head.         16       A. I have looked at cell studies. The
      17       Q. And wouldn't that have been something        17   Buz'Zard study is one, and I know Saed has done a
      18   you think you would have picked up in your          18   lot with myeloperoxidase and ovarian cells. He
      19   review?                                             19   recently came out with a paper.
      20       A. It's possible that I did. I just said        20       So it's, again, a piece of information
      21   I can't think of it off the top of my head. It's    21   towards the plausibility arm of my general
      22   possible that I did at some point.                  22   causation opinion.
      23       But my -- and, again, I tried to make every     23       Q. Have you seen any studies in animals or
      24   effort to be able to identify studies and           24   in humans that have linked the specific enzymes
      25   literature and evidence that were relevant or       25   that Dr. Saed has evaluated in cell studies to
                                                                             39 (Pages 150 to 153)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 103 of 348 PageID:
                                   60877

                                           Sarah E. Kane, M.D.
                                                Page 154                                                 Page 156
       1   the development of ovarian cancer?                   1   get it.
       2       A. So there have been some studies that          2          THE WITNESS: Oh, I'm sorry.
       3   have looked at anti-inflammatory drugs, aspirin      3      A. "Ovarian cancer may be analogous,
       4   and NSAIDs in particular.                            4   therefore, to plural mesothelioma, which has been
       5       The data on NSAIDs has been less consistent,     5   shown to be caused by asbestos, a chemical
       6   but the data on aspirin has been consistent, in      6   similar to talc."
       7   that it lowers the risk of ovarian cancer with       7      Q. Is that the complete passage that
       8   regular aspirin use.                                 8   you're looking at?
       9       And aspirin, one of the mechanisms of action     9      A. I believe that is why I had highlighted
      10   is on the cyclooxygenase expression, which is       10   that one, yes.
      11   similar to the cyclooxygenase expression seen in    11      Q. You'd agree that this version of
      12   some of the in vitro studies.                       12   Blaustein's textbook was published in 1994?
      13       Q. So my question was: Have you seen any        13      A. Yes, I am aware.
      14   studies in animals or in humans that have linked    14      Q. Would you agree that a number of the
      15   specific enzymes that Dr. Saed has evaluated in     15   risk factors that have been identified here,
      16   his cell studies to the development of ovarian      16   there have been additional studies published on?
      17   cancer?                                             17      A. Yes.
      18           MR. ROTMAN: Objection.                      18      Q. Would you agree that alcohol is a known
      19       Q. Are you relying, then, on epidemiologic      19   risk factor these days for ovarian cancer?
      20   studies looking at NSAID and aspirin use?           20      A. I don't think that's been borne out to
      21           MR. ROTMAN: Objection.                      21   be the case. But with talc, there's continued to
      22       A. I'm saying that the NSAID and aspirin        22   be several case controls and meta-analyses which
      23   use is another piece of information that -- as to   23   have continued to be consistent with the
      24   plausibility, mechanism -- and mechanism of         24   increased risk of ovarian cancer cited in the
      25   regulation of pathways that can result in           25   studies that were cited here, which I didn't
                                                Page 155                                                 Page 157
       1   reactive oxygen species and cause an inflammatory    1   actually Xerox. You have the book, so --
       2   response.                                            2       Yes, I agree this was 1994, but taken into
       3          MR. KLATT: Objection. Nonresponsive.          3   context of the subsequent studies and literature
       4          MS. AHERN: Same.                              4   looking at talc and ovarian cancer, I think it's
       5       Q. Let's go back to that. We'll finish up        5   still relevant.
       6   this Exhibit 11.                                     6       Q. Have there been a number of updates and
       7       What was the next page, if any, the last         7   changes to the classification of tumors since
       8   page in your photocopy?                              8   1994?
       9       A. Okay. So this is Page 1216 of the             9       A. Since 1994, sort of semantically. We
      10   fourth edition, if I am correct. Give me one        10   still have the same subtypes of ovarian cancer.
      11   second while I find it.                             11   There's been a new categorization. We talked
      12       Okay. So the reason why Page 1216 is there      12   about the Type 1 and Type 2 ovarian cancers.
      13   is because it starts the section on ovarian         13       So not a complete overhaul in
      14   cancer, which then continues on to Page 1217.       14   categorization; I think just different ways to
      15   And it says -- the last paragraph on Page 1217      15   category the same entities, let's --
      16   says, "Other suggested factors affecting ovarian    16       Q. Has the --
      17   cancer risk include talc exposure, a history of     17       A. -- put it that way.
      18   mumps infection, and alcohol consumption. Talc      18       Q. Sorry.
      19   exposure, which has been related to an excess       19       Has the understanding of the origin of
      20   risk of ovarian cancer in a number of               20   ovarian tumors evolved significantly since 1994?
      21   case-control studies, is of interest biologically   21       A. So this mentions -- we talked about
      22   in that ovarian cancer is thought to arise from     22   this a little bit earlier -- this does mention
      23   the mesothelium that lines the peritoneal           23   that at this time, in 1994, there was thought
      24   cavity."                                            24   that ovarian cancer might arise from the
      25          MR. ROTMAN: Slow it down so she can          25   mesothelium. So the ovary is covered by a layer
                                                                              40 (Pages 154 to 157)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 104 of 348 PageID:
                                   60878

                                           Sarah E. Kane, M.D.
                                                Page 158                                                Page 160
       1   of mesothelium. That's the outer layer. And so       1   page just because it was a continuation of that.
       2   in 1994, that was still, I would say -- this is      2   So, yes, I think we're done with the fourth
       3   before my residency, a little before my time --      3   edition.
       4   that that was the most common thought, that          4      Sorry. I'm starting to talk fast because
       5   that's where the ovarian cancer -- cancers are       5   I'm excited for lunch.
       6   arising from. Now, since then we've discussed        6         MS. AHERN: We can take a break for
       7   some of the other more recent findings of the        7   lunch, then.
       8   etiology.                                            8         THE VIDEOGRAPHER: Here ends Media 3.
       9       But, anyway, I just -- I had read this a         9   Off the record, 1:05 p.m.
      10   couple of days ago and, you know, it was -- it      10          (Lunch recess was taken.)
      11   was a reference that I think is still relevant      11            ("Blaustein's Pathology of the
      12   because of the -- the subsequent case controls      12      Female Genital Tract," Fifth Edition,
      13   and meta-analyses that were done since then that    13      marked Exhibit 12.)
      14   I think still make it relevant, although, again,    14            (Excerpt of Blaustein's
      15   I -- we're not -- we're still not absolutely sure   15      Pathology of the Female Genital Tract,"
      16   where all of these ovarian epithelial tumors are    16      Fifth Edition marked Exhibit 13.)
      17   arising from. But we have a little more evidence    17         THE VIDEOGRAPHER: Here begins Media
      18   than we did in 1994.                                18   No. 4 in today's deposition of Sarah Kane, M.D.
      19       Q. And in 1994, the first prospective           19   Back on the record, 1:45 p.m.
      20   cohort study had not yet been published; correct?   20   BY MS. AHERN:
      21       A. I believe that is correct.                   21      Q. Okay. Hi, Dr. Kane.
      22       Q. So we would be -- these numbers here         22      A. Hello.
      23   in -- that are discussed for talc exposure would    23      Q. I'm looking here at Blaustein's
      24   be, essentially, just the retrospective case        24   Pathology of the Female Genital Tract, Fifth
      25   controls that had been published up to that point   25   Edition, which you brought with you here today.
                                                Page 159                                                Page 161
       1   or the specific ones --                              1   I marked it as Exhibit 12 to your deposition.
       2       A. Yeah. You have the reference list of          2   You can have it back.
       3   the reference numbers 47, 69, 70, and 182.           3       A. Okay.
       4       Q. Cramer? You said 59?                          4       Q. Thank you. And inside, you brought
       5       A. 69.                                           5   with you a photocopy of the cover page and also
       6       Q. Harlow, 92.                                   6   Page 629. I'll hand that back to you. I think
       7       A. 70.                                           7   there's only one copy. I've marked that as
       8       Q. 70. Hartge.                                   8   Exhibit 13.
       9       And 83.                                          9       A. Oh, okay.
      10       A. And 182.                                     10       Q. Here you go.
      11       Q. And Whittemore, 1988.                        11       A. Okay.
      12       A. So, yes, that was before. They only          12          MR. TISI: What was the page? I'm
      13   looked up until 1988.                               13   sorry.
      14       Q. Okay.                                        14          THE WITNESS: 629. Do you want the
      15          MR. ROTMAN: Hunter, a good time to           15   textbook back?
      16   take our lunch break? It's been an hour since       16       Q. Whichever one you'd rather actually
      17   our last -- since we started.                       17   pass back to me. Thank you.
      18          MS. AHERN: Sure. I'm sure people             18       Can you tell us, on Page 629, what
      19   could use a bio break too.                          19   information you thought was relevant to your
      20       Q. Are these the only pages that you            20   review of the talc issue?
      21   photocopied from this book -- or in -- sorry.       21       A. Yes. I believe this is under "Foreign
      22   Let me rephrase that.                               22   Body." So this is diseases of the fallopian
      23       Have we finished with the photocopy of          23   tube. So under "Foreign Body" -- hold on one
      24   Exhibit 11 or are there more pages?                 24   second. Okay. It says, "Foreign material may be
      25       A. I think -- I think I Xeroxed this last       25   introduced into the tube in the course of
                                                                             41 (Pages 158 to 161)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 105 of 348 PageID:
                                   60879

                                           Sarah E. Kane, M.D.
                                                Page 162                                                 Page 164
       1   gynecologic investigation, especially                1   experimental studies or animal studies
       2   hysteroscopic -- I can't say the word,               2   linking talc foreign-body responses to
       3   hysterosalpingo -- anyway, HPG, lubricant jelly,     3   development of cancer?
       4   mineral oil and starch and talc powder may cause     4       A. From what I can recall in those
       5   a lipoid or granulomatous salpingitis. An            5   textbooks, I don't think they went into any more
       6   intense phagocytic reaction to introduce lipid       6   detail than what I've read for you.
       7   material causes" --                                  7       Q. Okay. What else did you bring with you
       8           THE COURT REPORTER: Excuse me.               8   today? Anything that we haven't covered other
       9        A. Sorry. I think that's basically the --       9   than the boxes behind me?
      10   that is the end.                                    10       A. Correct. I don't think so. Mr. Rotman
      11        No. At the very end of the page, it says,      11   brought a copy of my report, but that is all.
      12   "Talc may cause mucosal or serosal granulomas.      12   This -- let me look.
      13   Examination of all granulomas or foreign body       13       All of these have been marked already.
      14   reactions under polarized light is useful in the    14   Yeah.
      15   recognition of these processes. Other disease       15       Q. All right. Doctor, you've got a copy,
      16   processes in the tube such as leprosy or            16   but I'm going to hand you another one. I've
      17   amyloidosis are so infrequent that they are of      17   marked as Exhibit 14 a copy of your expert report
      18   little clinical or pathologic significance."        18   dated November 15, 2018.
      19        Q. How does that information inform your       19             (Rule 26 Expert Report of Sarah
      20   opinions today?                                     20       E. Kane, M.D. marked Exhibit 14.)
      21        A. So it's just another -- again, similar      21       Q. Can you review Exhibit 14 and tell us
      22   to the other things that we reviewed in the other   22   if this is indeed your expert report dated
      23   edition, just another piece of evidence that talc   23   November 15, 2018?
      24   causes mucosal and serosal granulomas, and          24       A. Yes. This appears to be my report.
      25   they're talking about the fallopian tube in this    25       Q. And you brought with you earlier an
                                                Page 163                                                 Page 165
       1   chapter.                                             1   updated copy of your CV; correct?
       2          MR. KLATT: Can I interrupt?                   2      A. Yes, I did.
       3          (Discussion off the record.)                  3      Q. Which we marked Exhibit 2.
       4          MR. LOCKE: I'm on right now. Thanks,          4            (Document entitled "References
       5   Mike.                                                5      Cited and Other Material and Data
       6   BY MS. AHERN:                                        6      Considered" marked Exhibit 15.)
       7       Q. And, Doctor, did you review any other         7   BY MS. AHERN:
       8   sections of Exhibit 12, Blaustein, Fifth Edition?    8      Q. And Exhibit B to your report was
       9       A. I believe I did. I think in this              9   entitled "References Cited and Other Material and
      10   edition, from what I recall, that was the -- the    10   Data Considered." I've marked that as Exhibit 15
      11   reference was in the fallopian tube.                11   to your deposition.
      12       Q. Is that what we just discussed on            12      A. Okay.
      13   Page 629?                                           13      Q. Okay. And Exhibit 15 isn't paginated
      14       A. Yes. 629 was where talc was discussed        14   but consists of 11 pages. The first ten pages of
      15   in the fallopian tube.                              15   materials consist of 186 items identified by the
      16       Q. Did you see any other information in         16   caption on the top of Page 1 as "Literature"; is
      17   any of the Blaustein texts that we reviewed today   17   that correct?
      18   that suggests that foreign body granulomas caused   18      A. I'm sorry. Are you talking about the
      19   by talc have been associated with the development   19   "References Cited and Other Material and Data
      20   of ovarian cancer?                                  20   Considered," Exhibit 15?
      21       A. Well, we saw mention of the                  21      Q. Yes.
      22   epidemiologic studies in the fourth edition that    22      A. Yes. There is a list of 186 literature
      23   we reviewed.                                        23   references.
      24       Q. So other than the epidemiology, is           24      Q. And the materials listed on Page 11 are
      25   there any reference to pathology studies or         25   identified by a caption as "Other Sources" and
                                                                             42 (Pages 162 to 165)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 106 of 348 PageID:
                                   60880

                                          Sarah E. Kane, M.D.
                                                Page 166                                                 Page 168
       1   include an additional 17 items; is that correct?     1   that you -- the list that you got yesterday is
       2       A. Yes.                                          2   stuff that I had reviewed, I believe. I have to
       3       Q. Okay. So did you prepare Exhibit 15?          3   look at it.
       4       A. Yes. I did.                                   4       But my point is that list that you got
       5       Q. Did you type this out yourself?               5   yesterday was varied, and -- when I looked at it,
       6       A. I did. Yes.                                   6   and it was just an effort to be as complete as
       7       Q. Okay. And how did you go about pulling        7   possible.
       8   this together?                                       8       Q. Okay. And just looking -- we'll get
       9       A. I'm -- in what way?                           9   there, but just looking at Exhibit 15, which --
      10       Q. Did you keep a running list of the           10   the first ten pages, which are the references?
      11   citations as you went and then pull this all        11       A. Mm-hmm.
      12   together at the end of your report?                 12       Q. So do you define the references as the
      13       A. Yes. So what happened is this was my         13   specific sources that you cited within the body
      14   first medical expert witness report I have          14   of your report?
      15   written. And you'll notice that -- let's see,       15       A. These are sources that I cited within
      16   all of the -- oh, I'm sorry. This doesn't           16   the body of my report.
      17   include the January 4th list; right?                17       Q. And are these the sources that you rely
      18       Q. We'll get there.                             18   on to support the opinions expressed in your
      19       A. Okay. So that's what I kind of want to       19   report?
      20   explain. What happened is, the reason why you       20       A. So these are some of the references
      21   had a January 4th list, is because I wrote          21   that I used. Again, I also had reviewed the
      22   this -- the accepted form for published             22   subsequent -- the literature and the other data
      23   literature is listing literature that you've        23   in the subsequent lists. So I would not say this
      24   actually cited within the body of your report,      24   is all-encompassing, but ultimately, with all the
      25   and so it was my misunderstanding. I was not        25   lists you have now, I'm hoping that that is
                                                Page 167                                                 Page 169
       1   aware at first that you guys were going to want a    1   encompassing of at least all of the stuff that I
       2   list of everything that I had reviewed.              2   considered. I wouldn't necessarily say "rely
       3       So what I tried to do is this, I think, was      3   on," but at least everything that I considered.
       4   turned in at the same time, so Exhibit 15 was        4       Q. Okay. And that was -- my next question
       5   turned in at the same time as Exhibit 14, and it     5   was: Do you differentiate between the sources
       6   has the literature that was cited within the body    6   cited here as references and those that you just
       7   of the report.                                       7   considered but weren't included as references?
       8       And then when I realized I needed to get a       8       A. Not necessarily. These are the ones
       9   list together of everything, as complete a list      9   that ended up getting cited in the report. Now,
      10   of everything that I thought I reviewed, I put      10   there were different drafts, which at one point
      11   together the January 4th list, which was -- I had   11   some of the other ones were cited, and there was
      12   to sort of recreate -- and I kept almost all of     12   a little bit of changing it around, which there's
      13   those -- all of this literature in different        13   a couple -- I think there are a couple of
      14   files.                                              14   typographical-type errors in a couple of the
      15       I had to do a little bit of recreation          15   references because of that.
      16   because, as I mentioned before, I lost a couple     16       But essentially, there isn't that much of a
      17   of hard drives during this whole process, which     17   difference, I would say, except to say that this
      18   was not fun. But thankfully, I was -- I had         18   is the literature that I ended up specifically
      19   backed up a lot of it.                              19   citing.
      20       So I tried to be as complete as possible.       20       But all of the literature that I looked at,
      21   It is possible that there are a few things I        21   I considered.
      22   reviewed that did not make the list, which I        22       Q. Would you say that all of the
      23   think I realized on the list that you got           23   literature that you looked at, which would
      24   yesterday there might have been a couple that I     24   include your other sources here on Exhibit 15,
      25   had reviewed before, but most of that literature    25   your January 4, 2018, reference list, and the
                                                                             43 (Pages 166 to 169)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 107 of 348 PageID:
                                   60881

                                           Sarah E. Kane, M.D.
                                                Page 170                                                 Page 172
       1   ones served yesterday, January 24th, would you       1   remember, I did my own literature search, read as
       2   say that you relied on all of those materials?       2   much as possible, started taking my own notes.
       3       A. No. Well, I at least reviewed those.          3   And then thought, as I was sort of forming my
       4   I would say that I considered them. I wouldn't       4   opinion, thought, you know, it would be nice to
       5   necessarily say that I relied upon them.             5   know what the defense is saying. And, of course,
       6       Q. And when you consider material, what          6   I think at that point is when I asked, but I
       7   does that mean to you?                               7   don't remember specific timing.
       8       A. Well, you know, when I'm -- you can           8       Q. And did you specifically -- did you ask
       9   look at my methodology, how I tried to cast as       9   for specific defense reports or specific defense
      10   wide a net as possible with the information that    10   reports related to particular expertise?
      11   I gathered in the information stage. So I wanted    11       A. If I recall -- I'm looking at this
      12   to have as much data, as many literature            12   list -- I believe the first request was a more
      13   references, expert reports, whatever I could kind   13   general request.
      14   of get my hands on that might be relevant to my     14       Q. When you say "more general," do you
      15   general causation report.                           15   mean for --
      16       And then I'm reading through those, and         16       A. Meaning --
      17   that's actually when I started my draft of the      17       Q. -- for defense?
      18   report. It really started as sort of notes that     18       A. -- I didn't ask for specific names of
      19   I took as I read the different literature           19   people.
      20   references, and I sort of built out from there.     20       Q. Ah.
      21       Does that answer your question?                 21       A. I think at this point, I wasn't
      22       Q. I think probably so.                         22   necessarily aware of who would have been defense
      23       Did you collect -- did you identify all of      23   experts. And so I don't remember exactly, but my
      24   the materials in Exhibit 15 yourself, or were       24   inclination is that I had asked for a more
      25   some of these provided to you by the plaintiffs'    25   general sort of representation.
                                                Page 171                                                 Page 173
       1   counsel?                                             1      Q. And can you identify on here which of
       2      A. The vast majority of them, I found             2   the other sources are from defense experts?
       3   through my own literature search. Some of them       3      A. Yes. I'll try my best.
       4   may have been supplied by the plaintiffs'            4      The Michael Ober expert report was provided
       5   attorneys. A lot of those overlapped with what I     5   by plaintiffs' counsel. The deposition of Alice
       6   had already found; the exception, of course,         6   Blount was also provided by plaintiffs' counsel.
       7   being documents on the other sources that I would    7   Both of the Chodosh, his report and his trial
       8   not have had access to on my own.                    8   testimony, was provided by plaintiffs' counsel.
       9      So I had asked for, and in forming my             9   Samuel Cohen was provided by plaintiffs' counsel.
      10   opinion, my general causation opinion, I had        10      And also -- also, let's see, the Cramer, I
      11   asked for defense expert reports so I could get a   11   wouldn't have access to the Cramer reports on the
      12   sense of what the defense experts' opinions were,   12   Byrd and Jacqueline Fox. The expert report of
      13   just to get, you know, the other -- just to get     13   Michael Crowley was given to me. That,
      14   more information.                                   14   obviously, is a plaintiffs' report that was
      15      So that's -- so those were definitely given      15   within a day or two of turning in my report.
      16   to me by plaintiffs' attorneys.                     16   That was very late in the process.
      17      Q. Do you remember, timewise, did you            17      John Godleski, I might have asked for by
      18   review the defense expert reports and the           18   name. Of course, he's a plaintiffs' expert.
      19   materials in the other sources earlier on to get    19   His, I may have asked for by name because of the
      20   a sense of the issues in the litigation and then    20   Cramer papers.
      21   do your literature search, or the other way         21      Q. Did you say Cramer was a plaintiff or
      22   around? What was the timing?                        22   defense expert?
      23      A. I don't remember exactly. I don't             23      A. Cramer, I believe, was a plaintiff.
      24   believe I read the -- I'm trying to think timing.   24      Q. I wasn't sure. You named him after the
      25      I think what I did is -- from what I             25   defense experts. I'm sorry. I'm just going
                                                                             44 (Pages 170 to 173)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 108 of 348 PageID:
                                   60882

                                          Sarah E. Kane, M.D.
                                                Page 174                                                 Page 176
       1   through the list.                                   1   ones that I received. Yes.
       2          MR. ROTMAN: The list is alphabetical,        2      Q. Is there anyone on this list that's --
       3   so she's going down the list.                       3   that specifically addresses gynecologic
       4   BY MS. AHERN:                                       4   pathology?
       5      Q. Yeah. My question was: Which ones are         5      A. I think it's been a long time since I
       6   the defense experts?                                6   read those reports, but I do remember some of
       7      A. I'm sorry.                                    7   those reports speaking to -- your question was on
       8      Q. If you're done, you're done. Are there        8   top. I'm just making sure.
       9   any other defense experts.                          9      Q. Sure.
      10      A. Well, the John Hopkins and Julie Pier,       10      A. Some -- so the gyn onc report
      11   those exhibits and depositions I got from          11   definitely went into some gynecologic pathology.
      12   plaintiffs' counsel.                               12   Gyn oncs are generally knowledgeable about gyn
      13      I believe that is it, looking at the list of    13   pathology because we work pretty closely with
      14   defense reports.                                   14   them. We often show our gyn pathology, for
      15      Q. Did you want to know what the defense        15   example, at multiconferences, multidisciplinary
      16   experts had to say about epidemiology?             16   conferences.
      17      A. I wanted -- yeah. I wanted as much           17      So I vaguely remember a gyn onc one going
      18   evidence as I could get, so --                     18   over some gyn path stuff, but my memory is vague
      19      Q. Were you aware that the defendants had       19   because I have not read these in probably over a
      20   designated epidemiologists in the litigation who   20   year. I don't know exactly.
      21   had given reports and testimony?                   21      Q. Would you be interested in what the
      22      A. I don't know if I was aware                  22   epidemiologists that had served reports and given
      23   specifically of that.                              23   testimony in the litigation the last five years,
      24      Q. Were you aware that the defense had          24   what they've said?
      25   designated a number of gynecologic pathologists    25          MR. ROTMAN: Objection.
                                                Page 175                                                 Page 177
       1   who had given reports and testimony as well?        1       A. Again, I'll take whatever information
       2      A. Again, I don't know if I was                  2   or data, you know, I can get that might be
       3   specifically aware of that. No.                     3   relevant.
       4      Q. Would you have, as a pathologist doing        4       Q. And do you consider expert litigation
       5   an expert report on this litigation, would you      5   reports to be data?
       6   have been interested to know what the defense       6       A. Yes. I think it's data.
       7   pathologists had said?                              7       Q. Okay. Is it the kind of data you rely
       8      A. Well, I will take any data that I can         8   on in your everyday practice as a pathologist?
       9   get to try to see if it's relevant. I mean, so I    9       A. I sort of view they're opinion reports.
      10   had asked for defense reports, and that's what I   10   They're opinion, general causation opinions, and
      11   got.                                               11   a couple of these are -- I can't remember. All
      12      Q. These reports, these other sources, the      12   of these were general, I believe, from the
      13   17 items here were in response to your request,    13   defense.
      14   but they were chosen by the plaintiffs' counsel?   14       So they're professional opinion data, and I
      15          MR. ROTMAN: Objection.                      15   would say that's similar to having a consultation
      16      A. I'm not sure how they were chosen or         16   with a colleague or a peer. I mean, you know, in
      17   how -- why -- all I know is that I asked for       17   my day-to-day practice, I'm certainly asking
      18   reports, and this is what I received.              18   opinions of colleagues and different specialties
      19      Q. And you specifically asked for defense       19   or my own specialty, even. Those are
      20   reports; right?                                    20   professional judgments, professional opinions,
      21      A. I did.                                       21   looking at their knowledge of the literature or
      22      Q. And you got Michael Beer, who is an          22   data.
      23   oncologist; Lewis Chodosh, a cancer biologist;     23       So I think it's a good analogy; looking at
      24   and Sam Cohen, a toxicologist; correct?            24   general causation, professional opinions, is
      25      A. That would appear, from the list, the        25   similar to kind of getting a colleague's opinion.
                                                                            45 (Pages 174 to 177)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 109 of 348 PageID:
                                   60883

                                           Sarah E. Kane, M.D.
                                                 Page 178                                                Page 180
       1       Q. But this is the first time you've             1          But I don't believe I -- well, I might
       2   relied on litigation reports to inform your own      2   have referenced the Longo.
       3   opinions; correct?                                   3   BY MS. AHERN:
       4       A. Well, again, I don't know if I would          4       Q. Page 5. I think if you look at Page 5
       5   use the word "rely." I certainly considered          5   of your report, you reference Dr. Blount --
       6   them, you know. But, again, I think it's very        6       A. Yes.
       7   similar to asking a colleague in my daily            7       Q. -- Dr. Crowley, Longo, Rigler,
       8   practice for an opinion on something.                8   Hopkins --
       9       Q. And, Doctor, looking at 186 references        9       A. Yes.
      10   that are cited in Exhibit 15.                       10       Q. -- Pier?
      11       Did you review each one of these carefully      11       A. Yes. Looking back at the list, you're
      12   and thoroughly?                                     12   absolutely correct. I did.
      13       A. I reviewed each one of them, some of         13       Q. Do you think, as you sit here, that
      14   them probably more thoroughly than others,          14   those are --
      15   depending on what I was looking for; but yes, I     15          MR. TISI: I can look at them if it
      16   reviewed all of them.                               16   makes your life easier. I'm happy to do it.
      17       Q. And do you know whether or not the           17          But I do think -- Mike is back there
      18   boxes, the four boxes that are sitting behind me,   18   looking. I'm thinking that those are the actual,
      19   do those include these 186 references on            19   relied-on referenced materials, not the materials
      20   Exhibit 15?                                         20   considered, which was a separate list.
      21          MR. TISI: Let me see if I can help you       21          MS. AHERN: That's the January 4th, and
      22   out.                                                22   we're going to get to that one.
      23          MS. AHERN: Sure. Go ahead.                   23          MR. TISI: No. it's in the back of the
      24          MR. TISI: My understanding is they do.       24   report. Maybe I'm wrong.
      25          MS. AHERN: That's the 186?                   25          MS. AHERN: There are other sources,
                                                 Page 179                                                Page 181
       1          MR. TISI: That would be the references        1   but she has apparently relied on them --
       2   in the report. It would not be, to my -- I           2          MR. TISI: That's fine.
       3   haven't cracked the boxes, so I can only assume      3          MS. AHERN: -- to some extent in
       4   from past prologue that the information              4   performing reviews about fragrances and asbestos.
       5   considered is not in those boxes. They may be,       5   BY MS. AHERN:
       6   but the information relied on that is cited in       6      Q. Is that right, Doctor?
       7   the report are.                                      7      A. Dr. Crowley's report and Dr. Longo's
       8          MS. AHERN: Okay. So other sources             8   report, yes. I --
       9   here that are not cited specifically, well, they     9      Q. And what about Dr. Hopkins and Pier?
      10   may be --                                           10      A. Yes. I don't believe I read their
      11          MR. TISI: I don't know, for example --       11   entire depositions. I know I had seen the
      12   well, maybe we can open them up. But I don't        12   exhibits from the depositions, and I think
      13   know, for example, if the expert reports and        13   part -- I listed it here, so I must have at some
      14   depositions are in the -- in there. If they're      14   point.
      15   cited, then they're probably in there. If           15          MS. AHERN: Okay. So let's put 15 over
      16   they're not cited --                                16   here, and let's move on to the next one.
      17          THE WITNESS: I'm not sure because --         17             (Document entitled "Additional
      18   I'm not sure I cited these in my report because     18      Material Considered" marked Exhibit 16.)
      19   they weren't necessarily reliance. It was more      19   BY MS. AHERN:
      20   data.                                               20      Q. Okay. Doctor, I'm handing you what's
      21          But I thought at the time that I should      21   been marked as Exhibit 16 to your deposition.
      22   list what -- because these aren't publicly -- I     22      Can you take a look at Exhibit 16 and tell
      23   don't believe any of these are publicly             23   us what that is?
      24   available, what is on this list, so I felt like I   24      A. Yes. So this is a combination. So
      25   should list them.                                   25   once I realized that I needed to give you all a
                                                                             46 (Pages 178 to 181)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 110 of 348 PageID:
                                   60884

                                           Sarah E. Kane, M.D.
                                                Page 182                                                 Page 184
       1   list of -- as complete a list as I could -- I'm      1       A. No.
       2   not going to say this is a complete list -- and,     2       Q. And are there some materials on
       3   of course, you have another list that you just       3   Exhibit 16 that were provided to you or
       4   got, but I tried to be as complete as I could in     4   identified for you by the plaintiffs other
       5   recreating the literature and other reports that     5   than -- and I'm not talking about the litigation
       6   I had considered.                                    6   materials, but the articles?
       7       So these are ones that, to my recollection,      7       A. Again, there might have been some that
       8   I didn't specifically cite or were not               8   overlapped with what I had already found. I'm
       9   available -- I mean, obviously, I have some of       9   looking.
      10   the plaintiffs' expert reports that weren't         10       I believe the April 2014 FDA letter may --
      11   available to me until after I had written and       11   although that might have been available on the
      12   submitted my report. So some of these were          12   internet. I might have come across that on my
      13   available to me only after -- and the Health        13   own first.
      14   Canada came out after my report.                    14       No. I believe the vast majority of this
      15       So these are a combination of things I          15   stuff was stuff that I -- other than those
      16   reviewed subsequent to November 15th and stuff      16   reports was stuff that I had independently
      17   that I had reviewed prior to that but had not       17   already found. That's the only one that is
      18   specifically cited and recreated the list.          18   ringing a bell as a possibility, but I also seem
      19       Q. Okay. And just for the record, this          19   to remember finding it on the internet.
      20   is -- Exhibit 16 is a four-page document. It's      20       Q. Okay. And are any of these materials,
      21   not paginated, but it has 96 items identified as    21   materials that you explicitly rely on or, excuse
      22   "Additional Materials Considered," so -- served     22   me, are any of the materials on Exhibit 16
      23   on January 4, 2018.                                 23   materials that you rely on to support your
      24       Can you identify, as you look through these     24   opinions?
      25   items on Exhibit 16, which of those you reviewed    25       A. Again, it's all data that I considered.
                                                Page 183                                                 Page 185
       1   prior to the submission of your report and which     1   I didn't specifically cite them, but there's
       2   ones you reviewed after?                             2   certainly pieces of information that helped me
       3       A. I can do the best that I can. My              3   come to my conclusion.
       4   memory might be a little -- and I have to jog my     4       Q. And you prepared Exhibit 16, didn't
       5   memory a little bit on some of them.                 5   you?
       6       Clearly, the expert reports that were            6       A. Yes.
       7   dated -- the plaintiff expert reports that were      7       Q. And do you remember when you prepared
       8   dated after my report, I had not seen --             8   it?
       9       Q. Mm-hmm.                                       9       A. Very shortly before you received it.
      10       A. -- prior.                                    10   So it would have been -- you received it
      11       And, again, the Health Canada came out          11   January 4th?
      12   afterwards, so that was not available when I        12       Q. Mm-hmm.
      13   submitted my report. The majority of the rest of    13       A. I think I -- it was only -- I don't
      14   the literature, I had read prior to submitting my   14   remember exactly, but it wasn't very long before
      15   report.                                             15   that that I put it all together, after
      16       Q. Okay. Had you seen any draft reports         16   recreating -- trying to recreate as best I could
      17   from any of the other experts designated by the     17   the list of literature that I had reviewed.
      18   plaintiffs in this litigation?                      18       Q. And did you carefully and completely
      19       A. Not before my report. I didn't see any       19   review all of the information in Exhibit 16?
      20   drafts. I only saw the final reports after my       20       A. Again, I reviewed all of it. Some of
      21   report was submitted.                               21   it was more relevant than others, likely, so --
      22       Q. Okay. Did you have an opportunity to         22   but I reviewed all of them.
      23   talk with any of the other experts that were        23       Q. Okay. Obviously, anything that you
      24   designated by plaintiffs prior to your report       24   received after your report is information you
      25   being submitted?                                    25   would not have relied on to form your opinions in
                                                                             47 (Pages 182 to 185)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 111 of 348 PageID:
                                   60885

                                           Sarah E. Kane, M.D.
                                                Page 186                                                 Page 188
       1   this case; correct?                                  1       I think that covers most of them.
       2       A. No. It's more information for my -- my        2       Q. What about the EFSA guidance on the use
       3   opinion hasn't changed since I wrote my report.      3   of weight of evidence?
       4   In fact, I know we've talked about Health Canada     4       A. Oh, yeah. That, I think, I reviewed
       5   a little bit, but that was pretty interesting to     5   after I had submitted my report.
       6   see that report because their methodology was        6       Q. Did that form part of the basis of your
       7   very similar to mine, and they did a Bradford        7   opinions or your methodology?
       8   Hill analysis, and they looked at a lot of the       8       A. It was more of a -- it basically shows
       9   same literature and came to the same conclusion.     9   that the methodology that I used is very similar
      10       So that definitely was supportive evidence,     10   to evidence-based medicine that we would use on a
      11   I think -- not I think; it is -- of my opinion.     11   daily basis. It kind of went through weight of
      12       Q. And, Doctor, I only have one copy of         12   evidence, and it was sort of helpful to see the
      13   this. It's "Additional Materials to Sarah Kane"     13   similarity of the methodology that I used coming
      14   that were served last night or yesterday            14   to my conclusion.
      15   afternoon, January 24th.                            15       Q. Was the methodology you used for
      16             (Document entitled "Additional            16   preparing your opinions in this case and your
      17       Materials to Dr. Sarah Kane" marked Exhibit     17   report in this case taken directly from the EFSA
      18       17.)                                            18   guidance?
      19   BY MS. AHERN:                                       19       A. No. I think I just -- I saw this EFSA
      20       Q. First of all, can you take a look at         20   guidance after writing my report.
      21   that?                                               21       Q. Did you use any other sort of published
      22       Have you seen it before?                        22   methodology on weight of the evidence when you
      23       A. Yes. Yes. I have.                            23   prepared your opinions?
      24       Q. Did you prepare that?                        24       A. I used what we have been trained to
      25       A. I did. I had listed -- there are a           25   use. I mean, it's evidence. It's an
                                                Page 187                                                 Page 189
       1   couple of papers that I realize I had read           1   evidence-based medicine model of methodology and
       2   previously and didn't -- I can tell you Purdie,      2   coming to conclusions. So it's -- I tried to do
       3   1995, Keskin, 2009, I definitely reviewed while      3   as thorough as possible description of my
       4   preparing my report, and somehow those got off       4   methodology, which we can refer to in my report
       5   the list.                                            5   if you'd like.
       6       The other ones, Taher wasn't available. I'm      6       Q. What about the J&J Science Day
       7   trying to remember Gordon, if I had seen that.       7   presentation?
       8   If I had seen that before I submitted a report,      8       A. That --
       9   it was very late. It might have been after.          9          MR. ROTMAN: Objection. Is there a
      10       The IARC heavy metals, I believe I actually     10   question?
      11   cited that in my reference list, but I was trying   11          MS. AHERN: I'm about to get there if
      12   to be -- it was one of these last-minute, trying    12   you'd let me finish my question.
      13   to be as complete as possible, so that actually     13          MR. ROTMAN: I thought you were.
      14   might be a repeat.                                  14   Sorry.
      15       The website, I had reviewed prior to turning    15          MS. AHERN: You might just hold off.
      16   in my report. And the Longo supplemental report,    16   BY MS. AHERN:
      17   obviously, wasn't available until January. Same     17       Q. What about the J&J Science Day
      18   with the depositions. Those weren't available       18   presentation? Is that something that you
      19   until after they were done.                         19   reviewed?
      20       The Kurman defense report, I asked for          20       A. I reviewed that very quickly, and I
      21   recently when I realized that Kurman was a          21   only received that maybe a week ago. It was very
      22   listed -- a named expert witness, which is also     22   recently.
      23   why I went through my copies of my old textbooks    23       Q. Did you request that information?
      24   and my partner's old textbooks. So that, I asked    24       A. I think, from what I remember, it was
      25   for specifically.                                   25   part of asking for more sort of defense side of
                                                                             48 (Pages 186 to 189)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 112 of 348 PageID:
                                   60886

                                           Sarah E. Kane, M.D.
                                                Page 190                                                 Page 192
       1   the story; what, you know, your experts might        1   is such a rare disease, and you're sort of, you
       2   have been saying; what kind of -- you know, I was    2   know, rolling the dice when you enroll patients
       3   trying to figure out how somebody who had looked     3   as to whether or not they're going to end up with
       4   at the same body of evidence that I did can come     4   a disease at the end that you want to study.
       5   to a different conclusion, so it was part of sort    5       So you're sort of -- and these cohorts are
       6   of that request.                                     6   also designed for multiple endpoints and multiple
       7       I think I probably got it after I requested      7   diseases. They weren't just looking, most of
       8   Kurman's defense report from a prior litigation,     8   them -- I believe the sister -- well, the sister
       9   if memory serves me correctly.                       9   study -- anyway, we can pull it out if I have to,
      10       Q. You would agree that a very large part,      10   but my point is the cohort studies are designed
      11   not just volume, but a very large part of your      11   for multiple different things, especially the
      12   report and your opinions in this case are related   12   Nurses' Health Study.
      13   to the observational epidemiology on talc and       13       And so it's a difficult type of study to
      14   ovarian cancer; is that correct?                    14   design with a very rare disease. And I think
      15       A. Well, I think that epidemiology              15   that's where the case-control studies are
      16   literature is extremely compelling. You have        16   important because you can start with the disease
      17   30 case-control studies over different periods of   17   and work backwards, and so you can have an easier
      18   time in different populations that have come to     18   time getting cases.
      19   the same -- same ballpark relative risk, I would    19       Q. Did you find it interesting or odd that
      20   say, 1.3 to 1.4.                                    20   you were provided with a number of defense expert
      21       Now, not all of those have been                 21   reports, but not a single one of them related to
      22   statistically significant, but some of those        22   the epidemiology specifically from an
      23   studies were smaller studies, and so that tends     23   epidemiologist?
      24   to decrease the power of the study and your         24       A. Well, you know, again, I don't pretend
      25   confidence intervals will be wider.                 25   to know why I was sent what I was sent. I just
                                                Page 191                                                 Page 193
       1       But I thought the epi data was really            1   know that I asked for reports, and I got what I
       2   compelling. And often in causation, the epi data     2   got. So I have no idea what the process was in
       3   sort of leads the way in paving a path to            3   deciding what I received; if there was even a
       4   figuring out causation.                              4   decision. For all I know, it's just what they
       5       A perfect example is tobacco. You know, the      5   had readily available.
       6   Surgeon General issued his report in the 1960s       6       Sorry. What is the question?
       7   about tobacco before they had any mechanism for      7       Q. Well, let me ask another question.
       8   tobacco causing -- so that was a perfect example     8           MR. ROTMAN: Let her finish the answer
       9   of the epi data leading to causation.                9   because you can read -- she can go back and read
      10       So it's true, a lot of the studies looking      10   from the realtime what the question was and see
      11   at talcum powder products and ovarian cancer are    11   if she's done.
      12   epidemiology studies, but they're extremely         12       A. So I guess I don't know if there was
      13   informative in that they are very consistent in     13   thinking -- what the thinking was or if there was
      14   their findings. And, again, different authors,      14   any. But also I can say that the epi data -- I
      15   different populations, different countries.         15   knew that by that point that the epi data was
      16       And there's also the cohort. So I went          16   consistent by the time I -- I think that was the
      17   through the cohort studies. The cohort studies,     17   first literature that I was looking at, and so I
      18   some of them showed an association with serous      18   knew that it was consistent.
      19   invasive carcinoma, but the cohort studies didn't   19       So it's -- anyway, I don't really -- I don't
      20   tend to find, other than that, a statistically      20   know is the answer, the short answer.
      21   significant increased risk, although some of them   21       The long answer, the short answer is I don't
      22   did find increased risk.                            22   know why I got what I did. I just did.
      23       But we can talk about cohort studies versus     23       Q. Okay. And you've seen the designations
      24   case-control studies if you want, but I think the   24   in this case from November of 2017 in which you
      25   difficulty with cohort studies is ovarian cancer    25   were listed formally and publicly as an expert
                                                                             49 (Pages 190 to 193)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 113 of 348 PageID:
                                   60887

                                          Sarah E. Kane, M.D.
                                                Page 194                                                 Page 196
       1   for the MDL? Have you seen that document?            1          MR. TISI: That's fine.
       2       A. I'm not sure that I have, actually.           2          MS. AHERN: Absolutely.
       3       Q. Were you aware that in November of            3          I have the date as November 6, 2017.
       4   2017, you were listed on a court document as an      4          MR. TISI: You are exactly -- well, it
       5   expert for the plaintiffs in the MDL litigation?     5   is what it is.
       6           MR. ROTMAN: Objection.                       6          MS. AHERN: Okay. Either way.
       7       A. I don't know the timing or I don't            7   BY MS. AHERN:
       8   think I saw the document, so I...                    8      Q. Okay. Doctor, if you turn to -- if you
       9            ("The Plaintiffs' Steering                  9   turn to Page 8, the bottom of Page 8, do you see
      10       Committee's Initial Designation and             10   your name?
      11       Disclosure of Non-case Specific Expert          11      A. Yes.
      12       Witnesses" marked Exhibit 18.)                  12      Q. Okay. And did you -- go ahead and
      13   BY MS. AHERN:                                       13   review the text here associated with your name
      14       Q. Okay. I'm marking Exhibit 18 to your         14   and designation.
      15   deposition. Do you see this document,               15             (Witness complies.)
      16   Exhibit 18, is entitled "Plaintiff Steering         16      Q. Just let me know when you're finished.
      17   Committee's Initial Designation and Disclosure of   17      A. I'm finished reading my blurb. I'm
      18   Non-case Specific Expert Witnesses"?                18   just looking...
      19       A. Okay.                                        19      Q. Sure.
      20       Q. And if you turn to -- first of all,          20      A. Okay.
      21   let's see. Unfortunately, I can't find the date     21      Q. Were you aware in November of 2017 that
      22   on that, and I apologize.                           22   you had been publicly disclosed as an expert on
      23           MR. TISI: It's January, if I'm not          23   behalf of plaintiffs in the MDL?
      24   mistaken. I think it was mid-January of 2017.       24          MR. TISI: Okay. That's -- and you do
      25           MS. AHERN: Is that what it is?              25   kind of need to know the context in which this
                                                Page 195                                                 Page 197
       1           MR. TISI: Yeah. And, Counsel, since I        1   was done.
       2   was involved in this process, if you don't mind      2          MS. AHERN: I'm just asking if she was
       3   if I place an objection here.                        3   aware she was publicly -- she was already
       4           MS. AHERN: Sure.                             4   retained at that point.
       5           MR. TISI: As you may not know, during        5          MR. TISI: She was retained, but there
       6   the status conference where this was ordered -- I    6   was no -- the judge was very clear when she
       7   don't have the transcript in front of me -- it       7   ordered that this be done. She understood that
       8   was intended to be an interim -- I don't know        8   this was not a disclosure of experts.
       9   what the questions are going to be, but it was       9          So when you ask the question "You
      10   intended to be an interim disclosure to help        10   understand you were being identified as an expert
      11   guide the legal process for identifying issues      11   at that time," she would have no way of knowing
      12   that would be involved in Judge Wolfson looking     12   that because we didn't know it.
      13   at the science.                                     13          MR. KLATT: Chris, you've got to limit
      14           It was never -- I don't know -- again,      14   your objection.
      15   not knowing what your questions are, I don't even   15          MR. TISI: No. But it's unfair
      16   think it would be intended to be used as an         16   because --
      17   expert -- as an exhibit in a deposition.            17          MR. KLATT: You're coaching the
      18           But, you know, whatever your questions      18   witness. You're telling her the whole story.
      19   are, we would like to reserve that because --       19          MR. TISI: It's a true story. Why
      20           MS. AHERN: Sure.                            20   don't we ask her to leave, and we'll put it on
      21           MR. TISI: -- this was intended to be        21   the record. I have no problem with that.
      22   a -- more of an informative document than           22          MR. KLATT: All right.
      23   anything else.                                      23          MR. TISI: We can ask her to leave, and
      24           MS. AHERN: Okay. Your objection is          24   we can put it on the record.
      25   noted.                                              25          MR. KLATT: Let's do that.
                                                                             50 (Pages 194 to 197)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 114 of 348 PageID:
                                   60888

                                          Sarah E. Kane, M.D.
                                                Page 198                                                Page 200
       1           MR. ROTMAN: Go get a cookie.                 1          MR. TISI: She was probably not, I
       2           MS. AHERN: Sorry, doctor.                    2   mean, what she was aware of when she had been
       3               (Witness exited)                         3   retained.
       4           MS. AHERN: My questions on this are          4          MS. AHERN: Did she agree to be
       5   fairly limited to the time period that she was       5   disclosed as an expert?
       6   retained, time period she was intending to be an     6          MR. TISI: She agreed to be retained.
       7   expert, that sort of thing --                        7   She was disclosed as an expert when she reached
       8           MR. TISI: Yeah.                              8   her conclusions in the case.
       9           MS. AHERN: -- and the subject matter         9          And so what the Court was requiring us
      10   that she is being designated for.                   10   to do was to give us a broad brush, and she was
      11           MR. TISI: Yeah. But, you see, the           11   very clear. I remember standing in court, and
      12   issue in the case -- and the reason why this was    12   she said, "Look, some of these may fall off your
      13   a tricky issue for the judge and -- well, I won't   13   list. Some of these may -- we may have people
      14   speak for the judge, but for us when we disclosed   14   that might be added, but I want a snapshot in
      15   this was because we didn't know -- we didn't have   15   time as to what I'm dealing with in terms of" --
      16   expert reports. We didn't even have opinions        16          MR. KLATT: We don't need to waste time
      17   yet.                                                17   on the record on this.
      18           So this was being done in a way that        18          MR. TISI: We can go off the record if
      19   said, "Okay, Judge, she wants to know, A, are       19   you want. I just don't want to be -- use this as
      20   there new and different witnesses that were going   20   an unfair -- you know, none of your questions
      21   to be designated that were different than what      21   have been unfair up until now.
      22   was designated in the state court?"                 22          But to take this document and to
      23           MS. AHERN: I do recall this, yes.           23   suggest in some fashion -- and I don't know what
      24           MR. TISI: The second issue, she was         24   you're going to do with it. Maybe we just need
      25   very clear that she understood that there was a     25   to wait and see.
                                                Page 199                                                Page 201
       1   lot of discovery that needed to be done,             1          But I think this is -- I don't think
       2   documents to be reviewed, science that was going     2   anyone ever intended that this document would be
       3   to come out. So she was pretty clear that this       3   used as an exhibit in a deposition of one of
       4   was more informative than anything else.             4   these witnesses. I don't think the court
       5          And so when you ask her a question            5   intended that to be the case, just like she --
       6   about -- when you ask her questions, "You know       6   when she ordered the Tardek report --
       7   when this document was disclosed when you were       7   informational only.
       8   identified as an expert," you know, it implies       8          MR. KLATT: Are we off the record?
       9   that she had agreed to be -- you know, what her      9   We're just going on here. Let's go off the
      10   opinions actually were at that time.                10   record.
      11          She -- I can tell you that these             11          MR. TISI: Yeah.
      12   reports were done over a period of time. So it's    12          THE VIDEOGRAPHER: Off the record,
      13   misleading, and it really is an unfair thing to     13   2:38 p.m.
      14   do to a witness because this was a court request    14            (A recess was taken.)
      15   having nothing to do with her opinions or her       15          THE VIDEOGRAPHER: Back on the record,
      16   expert report.                                      16   2:42 p.m.
      17          MS. AHERN: Okay.                             17             (Witness returns)
      18          MR. TISI: Do you understand where I'm        18   BY MS. AHERN:
      19   coming from?                                        19       Q. Okay. Doctor, I've just shown you a
      20          MS. AHERN: I understand where you're         20   copy of some early designations that were
      21   coming from.                                        21   submitted in the talc MDL, and you saw your name
      22          Here is my question to you: Did Dr. --       22   listed as one of the people who was being
      23   was Dr. Kane not aware that you were going to       23   considered as an expert; correct?
      24   designate her or that you had at least publicly     24       A. My name is in this document. Yes.
      25   disclosed her to the Court?                         25       Q. Okay. Is there any -- do you have any
                                                                             51 (Pages 198 to 201)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 115 of 348 PageID:
                                   60889

                                           Sarah E. Kane, M.D.
                                                Page 202                                                 Page 204
       1   issues with the description of the testimony that    1   asked me if I would be willing to do an extensive
       2   you were going to offer to give?                     2   review of the literature and decide what my
       3       A. I believe that to be accurate.                3   opinion would be on talcum powder products
       4       Q. Okay. And you had been working on your        4   causing ovarian cancer.
       5   report at this point since May of 2017; correct?     5       Q. Did you ask them or discuss with them
       6       A. I started in May. "Writing the report"        6   what your role would be in terms of your specific
       7   is a very loose description. What I was -- what      7   area of expertise in anatomic pathology?
       8   I started, as I mentioned before, was I started      8       A. I did not specifically talk to them
       9   to review literature. I sort of took notes. So       9   about that because I know that I'm a gynecologic
      10   I sort of counted that as writing. So I started     10   pathologist, so I thought that would be my area
      11   that process in May.                                11   where I weigh in on my opinion.
      12       Q. Okay. And the only thing I was going         12       Q. And where in your report specifically
      13   to ask you about in this report is, as you look     13   do you address your expertise in gynecologic
      14   through it, do you note that there are a number     14   pathology, anatomic pathology?
      15   of professional epidemiologists that have been      15       A. I list it in the beginning of my
      16   listed in this report on behalf of plaintiffs?      16   report, I think. I talk about -- I talk about my
      17       A. I'd have to go through the list. I           17   background.
      18   actually, even though I did have access to          18       Is that what you mean?
      19   several final reports, after I had submitted my     19       Q. I mean more in terms of the opinions
      20   report, I don't remember who was what specialty,    20   that you're giving being informed by your
      21   what field, for the majority of them.               21   expertise in anatomic pathology.
      22       Q. Well, how about this question: Of the        22       A. Well, again, I'm an expert in
      23   experts -- are you aware of which experts have      23   gynecologic pathology, and the question is about
      24   submitted reports on behalf of the plaintiffs?      24   a causation of ovarian cancer, so certainly that
      25       A. I would need to look at the list that I      25   falls into my area of expertise.
                                                Page 203                                                 Page 205
       1   reviewed, which I think is all of the ones that      1       Q. And do you specifically address in
       2   were submitted, and compare it to this list.         2   terms of anatomic pathology or ovarian cancer
       3       I mean, I know Jack Siemiatycki is an            3   pathogenesis the question of talc and ovarian
       4   epidemiologist, off the top of my head.              4   cancer?
       5   Dr. Singh, I believe, is an epidemiologist.          5       A. I think that goes to the plausibility,
       6       But without going through the list and sort      6   the mechanisms, as part of it.
       7   of jogging my memory as to the reports, I skimmed    7       Q. And which particular mechanisms are
       8   a lot of these reports.                              8   informed by the discipline of anatomic pathology
       9       Q. Okay. And I guess the point is: Are           9   and gynecologic pathology?
      10   you aware, as we sit here today, that the           10       A. Well, I think pathologists, anatomical
      11   plaintiffs have designated a number of              11   and clinical pathologists, have training in
      12   epidemiologists in this MDL litigation who have     12   inflammation and immunology and certainly
      13   given reports and/or testimony at this point on     13   epidemiology, looking at epidemiologic studies.
      14   the topic of epidemiology, talc and ovarian         14   I think all of it is within the realm of
      15   cancer?                                             15   gynecologic pathology.
      16       A. I am aware that they have                    16       Q. Did you discuss anywhere specifically
      17   epidemiologists that have submitted reports for     17   in your report the biology of foreign body
      18   this MDL.                                           18   reactions and granulomas as a part of the
      19       Q. Okay. And specifically, if you can           19   biologic plausibility for exposure?
      20   think back to your initial contact with             20       A. Let me refer to my report. I
      21   plaintiffs' counsel when you were asked to get      21   definitely talk about inflammation. I can do a
      22   involved in the litigation, what specifically       22   word search for granulomas, if you would like.
      23   were you asked to do, or what was your              23       Q. Do you talk about inflammation --
      24   understanding of what your role would be?           24          MR. ROTMAN: Would you like --
      25       A. Yeah. My understanding was they had          25       Q. -- in the context of anatomic
                                                                             52 (Pages 202 to 205)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 116 of 348 PageID:
                                   60890

                                          Sarah E. Kane, M.D.
                                                Page 206                                                Page 208
       1   pathology?                                          1   any other portions of your report that directly
       2          MR. ROTMAN: Would you like to do that?       2   address ovarian cancer pathogenesis from a
       3   Because I can get your report up electronically.    3   pathology standpoint," and --
       4          MS. AHERN: I know where she's                4       A. So my answer is I did the work, but I
       5   mentioned granulomas. I already know. I'm just      5   can't discuss it because of attorney work product
       6   asking her if she knows.                            6   issues.
       7          MR. ROTMAN: So she wants to find it          7       Q. Okay.
       8   quickly.                                            8          MR. ROTMAN: You can -- she can -- you
       9          MS. AHERN: You can give her your             9   can ask her questions about it.
      10   computer and let her search.                       10          MS. AHERN: Sure.
      11          MR. ROTMAN: Okay. That's what I was         11          MR. ROTMAN: But she's -- as to what is
      12   asking.                                            12   in the report or not in the report, that's the
      13   BY MS. AHERN:                                      13   work product piece.
      14       Q. Do you cite any publications describing     14          MS. AHERN: That's kind of all the
      15   the biology of granulomas?                         15   questions.
      16       A. I know some of the literature talks         16          MR. ROTMAN: Ask her about the science.
      17   about granulomatous inflammation, discusses        17          MS. AHERN: I'll ask, and you can
      18   granulomatous inflammation.                        18   object.
      19          MR. ROTMAN: If you want to search, do       19          MR. KLATT: Find out what is in or is
      20   you know how to do it on this computer? Edit,      20   not in the report.
      21   Find, then you can type in a word that you want    21          MS. AHERN: Let's pick up the
      22   to search.                                         22   foundation here.
      23          MR. KLATT: Is there a question?             23   BY MS. AHERN:
      24       A. So I mention it in the animal studies,      24       Q. Doctor, first of all, you said you did
      25   injecting talc into the pleural spaces causes      25   the work relating to ovarian cancer pathogenesis
                                                Page 207                                                Page 209
       1   granulomatous response. It looks like those are     1   from a pathology standpoint; correct?
       2   the two.                                            2       A. Yes.
       3      And then I cite the Mostafa 1985 paper,          3       Q. Was it ever in your report?
       4   "Foreign body granulomas in normal ovaries."        4           MR. ROTMAN: That's part of the work
       5      I'm double-checking. It looks like in doing      5   product objection.
       6   a word search for granuloma, that's what is         6           MR. KLATT: We've got to establish the
       7   popping up.                                         7   facts to know whether there's a basis to assert
       8   BY MS. AHERN:                                       8   the objection.
       9      Q. Okay. Are there any other portions of         9           MR. ROTMAN: You can ask the question.
      10   your report that directly address ovarian cancer   10   But in order to answer the question, you're
      11   pathogenesis from a pathology standpoint?          11   invading the domain of what is protected under
      12          MR. ROTMAN: Objection.                      12   the Federal Rules in terms of the drafting of
      13      A. This might be attorney work product          13   expert reports.
      14   draft stuff.                                       14           I will object and instruct her not to
      15          MR. ROTMAN: Do you want to talk to me       15   answer.
      16   outside where I can understand what you're         16           What's in the report, you have. What
      17   getting at?                                        17   was in drafts of the report, you're not entitled
      18          THE WITNESS: Sure. Sure.                    18   to.
      19          THE VIDEOGRAPHER: Off the record,           19           So that's the problem we have.
      20   2:50 p.m.                                          20           MR. KLATT: She's not asking what was
      21            (A recess was taken.)                     21   in the report. She's asking whether it was or
      22          THE VIDEOGRAPHER: Back on the record,       22   isn't. So we can establish if there's anything
      23   2:54 p.m.                                          23   to even have a dispute about.
      24   BY MS. AHERN:                                      24           MR. ROTMAN: You can ask her about what
      25      Q. Okay. Doctor, I had asked: "Are there        25   is in the report all you want.
                                                                            53 (Pages 206 to 209)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 117 of 348 PageID:
                                   60891

                                           Sarah E. Kane, M.D.
                                                 Page 210                                                Page 212
       1           MS. AHERN: Well, she's already said          1   let me rephrase it.
       2   there was a section on ovarian cancer                2       As a gynecologic pathologist who was asked
       3   pathogenesis from a pathology standpoint in the      3   to opine on ovarian cancer and talc, did you
       4   report, and it was removed; correct?                 4   assume that part of your opinions would be to
       5           MR. TISI: That's not what she                5   incorporate your expertise in anatomic pathology
       6   testified.                                           6   and gynecologic pathology?
       7           MS. AHERN: Read back.                        7          MR. ROTMAN: Wait. Wait. Wait. Wait.
       8           MR. TISI: Why don't we read what she         8   Wait.
       9   said because she said the answer is:                 9          MS. AHERN: I'm only concerned if she
      10           "ANSWER: I did the work, but I can't        10   understands the question.
      11   discuss it because of attorney work product."       11   BY MS. AHERN:
      12           MS. AHERN: Okay. Okay.                      12       Q. Do you understand the question?
      13           MR. TISI: She never said it was in the      13          MR. ROTMAN: No. You have to let me
      14   report.                                             14   see if I understand the question to see if I'm
      15           MS. AHERN: Thank you.                       15   going to object to it before she's allowed to
      16           MR. TISI: Line 48.                          16   answer.
      17   BY MS. AHERN:                                       17          MS. AHERN: Why don't you make an
      18       Q. When you say you "did the work," did         18   objection, and we'll move on.
      19   you take any notes on any reading that you did on   19          MR. TISI: Because he may instruct her
      20   ovarian cancer pathogenesis?                        20   not to answer the question.
      21       A. So in writing this report, I generally       21          MS. AHERN: This is not -- this is not
      22   did not take any notes, handwritten notes. It       22   a question that should invade your privilege.
      23   was sort of a living document that I used.          23          MR. TISI: It involves the discussion
      24       Q. Now, earlier, you referred several           24   between counsel and in the drafting of the
      25   times to taking notes as you were going through     25   reports, what would be in, what would be out,
                                                 Page 211                                                Page 213
       1   literature.                                          1   what she thought, what she didn't think. You're
       2       Are all those notes something that became --     2   not entitled to any of that.
       3   on a single document that ultimately became a        3          MR. ROTMAN: So if you can find the
       4   report?                                              4   question, read the question, and I will object to
       5       A. It was one document that went through         5   the question, but you can answer it.
       6   numerous, numerous editing on my part and, of        6       A. Okay. So you want me to reread the
       7   course, suggestions from attorneys at different      7   question?
       8   points.                                              8          MR. ROTMAN: To yourself.
       9       Q. Now, as an anatomic pathologist and as        9          So my question was -- do you see that?
      10   the only pathologist that has been designated by    10          THE WITNESS: Yeah.
      11   the plaintiffs in this MDL, did you think that it   11       A. Well, I feel as if I did that in my
      12   was important to opine on the pathogenesis of       12   final report. I certainly -- the -- my opinions
      13   ovarian cancer from an anatomic pathology           13   that are in my final report are certainly within
      14   standpoint?                                         14   the realm of gynecologic pathology.
      15           MR. ROTMAN: Objection. For what             15       Q. And can you specifically point to the
      16   purpose?                                            16   opinions and the discussions in your report that
      17           MS. AHERN: I'm asking her.                  17   are within your personal expertise in gynecologic
      18       Q. Can you answer the question?                 18   pathology?
      19       A. First of all, I wasn't aware I was the       19       A. So, again, review of epidemiology is
      20   only pathologist because I didn't have a list of    20   something that physicians do on a regular basis.
      21   their named experts.                                21   We're trained to look at epi data. We're trained
      22       I did work on -- I'm not sure how much I can    22   to practice evidence-based medicine, which has a
      23   really talk about the whole draft process.          23   very similar, if not identical, methodology.
      24           MR. ROTMAN: You can't --                    24       So -- and we certainly are trained in
      25       Q. So my question was: As an anatomic --        25   inflammation, the immune system, talc and
                                                                             54 (Pages 210 to 213)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 118 of 348 PageID:
                                   60892

                                          Sarah E. Kane, M.D.
                                               Page 214                                                  Page 216
       1   tissue -- I have a section on talc and tissue --    1       Q. You do a full systematic review of the
       2   the epi data.                                       2   literature, as that term is defined
       3       Not -- I don't think any of this report is      3   epidemiologically?
       4   outside of my -- I know that none of this is        4       A. We certainly do when we're doing
       5   outside of my expertise as a gynecologic            5   research, when we're writing papers, but we still
       6   pathologist.                                        6   do literature searches when we're assigning out
       7       Q. Okay. Doctor, were you retained as an        7   cases that are relevant to individual patients.
       8   expert epidemiologist in this case?                 8       Q. When was the last time you conducted a
       9       A. I was retained as a gynecologic              9   full systematic review of the literature and a
      10   pathologist.                                       10   Bradford Hill analysis to opine on causation?
      11       Q. And you are not an epidemiologist;          11       A. So, again, this is not something that's
      12   correct?                                           12   completely foreign to me. The legal aspect of it
      13       A. I'm not a epidemiologist, but we            13   is new to me, but this methodology is not new to
      14   certainly review epidemiology and critique         14   me.
      15   epidemiology studies on a regular basis in our     15       The last time -- I mean, there was a tobacco
      16   daily practice.                                    16   case that I worked on, but in my daily practice,
      17       Q. When people ask you what you do for a       17   again, I'm still looking at epidemiology
      18   living, you don't tell them you're an              18   literature all the time.
      19   epidemiologist, do you?                            19       Q. Well, there is a difference, Doctor,
      20       A. I often have to explain what a              20   wouldn't you agree, between looking at the
      21   pathologist is, so I spend half the time just      21   epidemiology to inform yourself about a
      22   trying to describe what a pathologist is, so...    22   particular issue and doing a systematic review of
      23          MR. KLATT: Objection. Nonresponsive.        23   the literature and a full Bradford Hill analysis
      24          MS. AHERN: Yeah.                            24   to opine on causation? Is there a difference?
      25          MR. ROTMAN: She's not done answering        25       A. Well, this was a deep dive, so I'll say
                                               Page 215                                                  Page 217
       1   your question. She's in the middle of an answer.    1   I was aware of the literature on talcum powder
       2       A. So my point is I'm unlikely to describe      2   and ovarian cancer before I became involved in
       3   myself as an epidemiologist when I'm trying to      3   this litigation.
       4   describe what a pathologist does, but that's the    4       I will say, you know, it wasn't until they
       5   big picture.                                        5   asked me to form my opinion on this that I did a
       6       But the real picture is, on a daily basis,      6   deep dive on the literature again on this
       7   we are evaluating epidemiologic data in the         7   particular issue.
       8   literature.                                         8       Again, I've certainly done extensive
       9   BY MS. AHERN:                                       9   literature reviews before to, you know -- in
      10       Q. When was the last time you did a            10   research and in practice.
      11   systematic review of the literature for the        11       Q. But nothing like this?
      12   purpose of opining on causation?                   12       A. It's very similar.
      13       A. So we review literature --                  13           MR. ROTMAN: Objection.
      14       Q. You. I'm just talking about you.            14       A. The methodology is very similar to
      15       A. Hold on one second. Let me just review      15   this. It's identical.
      16   the question. I'm way behind here on my --         16       Q. Doctor, can you point me to -- take a
      17       Well, I do literature searches all the time    17   look at Exhibit 2, your CV.
      18   and looking -- when I'm looking at cases to        18       Can you point me to something in your CV
      19   figure out causation.                              19   that demonstrates some specialized knowledge or
      20       I've been involved in one other legal case,    20   expertise in epidemiology? A course, a class
      21   but it is -- this was the first medical-legal      21   you've taught? A paper that you've published? A
      22   general causation report.                          22   case-control study you've been involved in?
      23       But, again, this is all the same methodology   23   Anything that would indicate that you have
      24   that we use in evidence-based medicine and our     24   specialized expertise in epidemiology?
      25   practice.                                          25       A. It's part of our medical training as
                                                                            55 (Pages 214 to 217)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 119 of 348 PageID:
                                   60893

                                           Sarah E. Kane, M.D.
                                                Page 218                                                 Page 220
       1   part of evidence-based medicine.                     1      So that was sort of more the review on that.
       2       I'm trying to find my CV. I'm not sure I         2      Q. Who is S.M. Rollins?
       3   have it in front of me. Maybe it's under here.       3      A. That's my ex-husband.
       4   Well, you're sitting in -- I mean, all of these      4      Q. What is his specialty?
       5   involved epidemiology research.                      5      A. He's a microbiologist.
       6           MR. ROTMAN: All of what?                     6      Q. What about Ryan?
       7       A. I'm sorry. All of these research              7      A. He is an infectious disease physician.
       8   projects start with -- the pathology publications    8      Q. Okay. What portion of "Yersinia pestis
       9   start with looking at the literature of              9   and the plague" did you draft or did you
      10   epidemiology.                                       10   contribute?
      11       Q. Which ones are you pointing to --            11      A. I drafted the entire -- I was the lead
      12   sorry. Let's look at the peer-reviewed              12   author, and I -- the primary author, and I
      13   publications.                                       13   drafted that report.
      14       Is that what you're talking about?              14      Q. Okay. So if we go in there, we're
      15       A. Yes. Sorry.                                  15   going to find you used statistical methods or
      16       Q. So the first publication is Narasimhan,      16   analysis in any way to weigh the evidence and
      17   "Temperature Induced Interstrand Crosslinks in      17   conduct a systematic review?
      18   Cisplatin-DNA Adducts Detected by Electrophoresis   18      A. It's definitely a review article. Off
      19   and UV Spectrophotometer."                          19   the top of my head, I don't know if I did a
      20       That's not an epi study, is it?                 20   statistical analysis, but...
      21       A. Some of these were biology. The one          21      Q. Would you describe it as more of a
      22   that comes to mind when I'm looking at this list    22   narrative review of the literature?
      23   is the "Yersinia pestis and the plague." That       23      A. A review of the literature. I don't
      24   was a review article. That was around -- that       24   know about the word "narrative," but review.
      25   was after the 2001 mailings of the pattern          25      Q. What about the Grundy paper,
                                                Page 219                                                 Page 221
       1   substance. And so the literature was very            1   "Specificity of tRNA-mRNA Interactions in
       2   interested in Yersinia pestis at the time, and so    2   Bacillus substilis tyrS Antitermination"?
       3   I did a review article on that.                      3       Is that an epi study?
       4       Q. Was that a systematic review and a            4       A. No.
       5   Bradford Hill analysis?                              5       Q. What about the Rollins paper,
       6       A. The Bradford Hill analysis is part of         6   "Diagnostic yield of muscle biopsy in patients
       7   evidence-based medicine when you're coming to a      7   with clinical evidence of mitochondrial
       8   conclusion. So --                                    8   cytopathy"?
       9       Q. This isn't a case-control study or a          9       Is that an epidemiologic article?
      10   prospective cohort study --                         10       A. No. That's not an epidemiology
      11           MR. ROTMAN: You're not allowing her to      11   article, but we --
      12   finish her answer.                                  12       Q. Sorry?
      13       Q. -- or epidemiology study, is it?             13       A. It's getting late in the day.
      14       A. But my general causation opinion is          14           MR. TISI: Do you need some water?
      15   very similar to a review article on causation.      15           THE WITNESS: Sure.
      16   It's a review of the epi data and mechanisms.       16       A. But it's interesting that it actually
      17       Q. Did you do a full review of the epi          17   did involve electron microscopy. And when we do
      18   data and mechanisms on Yersinian plague?            18   muscle biopsies for mitochondrial cytopathy, we
      19       It's kind of a done deal; right? We already     19   use electron microscopy anyway, regularly.
      20   know that; isn't that right?                        20           MR. KLATT: Objection. Nonresponsive.
      21       A. Well, you're still looking at -- you're      21       Q. And what about the Rollins
      22   still looking at data. The question is -- the       22   "Autoimplants and serous borderline tumors of the
      23   question was at the time: Can Yersinia pestis be    23   ovary: A clinicopathologic study of 30 cases and
      24   a dangerous weapon of destruction or                24   a process to be distinguished from serous
      25   terrorist-type agent?                               25   adenocarcinoma"?
                                                                             56 (Pages 218 to 221)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 120 of 348 PageID:
                                   60894

                                           Sarah E. Kane, M.D.
                                                Page 222                                                 Page 224
       1       Was that a systematic review of the              1   are degreed epidemiologists who have been
       2   literature, or an epidemiologic study?               2   designated on behalf of plaintiffs to look at
       3       A. There's definitely review of literature       3   these issues; correct?
       4   as part of that study because the question arises    4      A. I'm aware of that now. I didn't know
       5   with autoimplants, sometimes they're misdiagnosed    5   who their list was before I submitted my report.
       6   as invasive serous.                                  6      Q. You've never published -- as we just
       7       So there is definitely literature review for     7   looked through here -- an epidemiologic study, a
       8   that study.                                          8   case-control study, or a cohort study?
       9       Q. This would be described as you have it        9      A. I have not published; but, again, that
      10   in the title, this is a clinicopathologic study?    10   doesn't -- I mean, it doesn't mean I haven't done
      11       A. Correct.                                     11   them. It's just that --
      12       Q. So you were looking at this as a             12      Q. Have you done them?
      13   pathologist; correct?                               13      A. They haven't been published. Well,
      14       A. Well, I'm looking at -- I mean, some of      14   again, literature reviews of epidemiology is part
      15   these were before I was -- the first couple are     15   of our regular practice.
      16   before I was an M.D., but all of the subsequent     16      Q. I'm asking about, like, actual study
      17   ones I'm looking at as a pathologist.               17   designs.
      18       Q. What about the Chan study,                   18      Have you conducted a case-control or a
      19   "Clinicopathologic Correlation of Fetal Vessel      19   cohort study?
      20   Thrombosis in Mono- and Dichorionic Twin            20      A. Not of an epi- --
      21   Placentas"?                                         21      Q. Okay.
      22       Is that an epidemiologic study?                 22      A. -- specific design.
      23       A. That's a clinicopathologic correlation.      23      Q. Have you ever taught an epidemiology
      24       Q. And then the publication with Jonathan       24   course?
      25   Hecht, "Endometrial Interepithelial Neoplasia,"     25      A. No.
                                                Page 223                                                 Page 225
       1   is that an epidemiology study?                       1       Q. Do you have any grant funding to
       2        A. That was a review of a new terminology       2   conduct epidemiologic observational studies?
       3   in endometrial precursor lesions. So that was a      3       A. No.
       4   pathologic -- an anatomic pathology article.         4       Q. Have you ever given any lectures or
       5        Q. And then you have the one with Haspel,       5   presentations specifically on epidemiology
       6   which is "Successful Implementation of a             6   methodologies?
       7   Longitudinal, Integrated Pathology Curriculum        7       A. That's possible. I'm trying to think.
       8   During the Third Year of Medical School"?            8   It's been a long time. Medical school through
       9        A. That was a medical-education-type            9   residency, fellowship, not that I can think of
      10   article.                                            10   off the top of my head.
      11        Q. Okay. And do you have any proceedings       11       Q. Okay. And have you ever designed a
      12   of meetings, poster presentations, that were from   12   clinical trial?
      13   a case-control or a cohort study that you           13       A. I have not designed a clinical trial.
      14   conducted?                                          14       Q. Have you designed a case-control study?
      15        A. Let me look. I don't believe these          15       A. I have not designed a case-control
      16   poster presentations were case -- well, I mean,     16   study.
      17   case-control or cohort epi-type studies.            17       Q. Have you designed a cohort study?
      18        Q. Okay. And, Doctor, to be fair, you          18       A. I have not designed a cohort study;
      19   don't have a degree in epidemiology; correct?       19   but, again, these are -- we can critically
      20        A. I do not have a degree. But, again,         20   evaluate. Just because I haven't designed one
      21   it's -- epidemiology is a very big part of          21   doesn't mean I can't critically evaluate
      22   evidence-based medicine and what we practice as     22   case-control studies or cohort studies.
      23   M.D.s.                                              23       Q. Doctor, you haven't conducted a
      24            MR. KLATT: Objection. Nonresponsive.       24   meta-analysis or a pooled analysis to evaluate
      25        Q. And, Doctor, you understand that there      25   potential risk factors for any disease, have you?
                                                                             57 (Pages 222 to 225)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 121 of 348 PageID:
                                   60895

                                          Sarah E. Kane, M.D.
                                                Page 226                                                 Page 228
       1       A. No, I haven't.                                1   asbestos in it, that would certainly add to the
       2       Q. Are you qualified to conduct a                2   plausibility of causation.
       3   meta-analysis or a pooled analysis?                  3       Q. If there was not asbestos in talcum
       4       A. I'm -- I'm sure I could develop one.          4   powder products and there was not fragrance in
       5       Q. As we sit here today, are you qualified       5   talcum powder products and you were just left
       6   to conduct a meta-analysis or a pooled analysis?     6   with the pharmaceutical-grade talc, what would
       7       A. If it was sort of a joint venture, I'm        7   your biologic plausibility argument be?
       8   sure; but, again, that doesn't mean that I can't     8         MR. ROTMAN: Objection.
       9   critically evaluate them, because that's what I      9       Q. In other words, what is your mechanism
      10   do on a daily basis.                                10   by which pharmaceutical-grade talc would cause
      11       Q. Have you authored any paper or               11   ovarian cancer?
      12   conducted a study -- well, have you authored any    12         MR. ROTMAN: Objection. Are you asking
      13   paper on the methods of causal interpretation?      13   about causation or about biological plausibility?
      14       A. Have I authored a paper on the methods       14         MS. AHERN: I'm asking --
      15   of causal interpretation?                           15         MR. ROTMAN: You mixed them.
      16       I don't believe I've authored. It would be      16         MS. AHERN: -- about her mechanism.
      17   on my list.                                         17   BY MS. AHERN:
      18       Q. Okay. Doctor, I should have asked you        18       Q. What is your mechanism by which
      19   this when it was in front of you: Do you have a     19   pharmaceutical-grade talc would cause ovarian
      20   copy of that one-page additional materials?         20   cancer?
      21       A. Probably. Let's see.                         21       A. So there are -- again, most of the
      22       Q. Thank you. Maybe I have. Maybe I have        22   studies are dealing with talc powder products.
      23   it too.                                             23   If we were to say that all that was in there is
      24       A. Exhibit 17?                                  24   pharmaceutical -- it's completely hypothetical
      25       Q. Yes. Yes.                                    25   because I don't know what's in there -- I still
                                                Page 227                                                 Page 229
       1       You received a copy of the Longo                 1   think the mechanisms would be similar where, you
       2   supplemental report; correct?                        2   know, there's evidence that talc can cause
       3       A. I did. Yes.                                   3   inflammation, and we know that inflammation is a
       4       Q. And it's, what, 404 pages?                    4   cause of cancer.
       5       A. That's possible. I don't think I              5       And so I -- and there's also, you know,
       6   looked.                                              6   Dr. Cramer talked about anti-MUC-1 antibodies, so
       7       Q. That was my next question: Did you            7   there's an immune -- plausible immune mechanism,
       8   review it?                                           8   so I think all of those are still on the table
       9       A. I did review it. I did skim a lot of          9   and the hypothetical situation that it's only
      10   it because, again, it was additional information    10   pharmaceutical-grade talc in that bottle.
      11   that was nice to have, but it was after my          11       But, again, I -- I'm not opining about what
      12   report.                                             12   is in the bottle; I'm just opining about that --
      13       And, again, my general causation opinion is     13   whatever that product is in that bottle causing
      14   not dependent on asbestos being in the product.     14   ovarian cancer.
      15   My general causation opinion is based on whatever   15       Q. Okay. Let's take a look at your expert
      16   is in the bottle. So it was interesting             16   report again, Exhibit 14, if you will.
      17   information to have.                                17       Just let me know when you've got it.
      18       Q. So your opinions here, it doesn't            18       A. Yeah.
      19   matter for your opinions whether or not there's     19       Q. Okay. Doctor, does Exhibit 14, your
      20   asbestos in talcum powder products; is that your    20   November 15, 2018, expert report, contain all of
      21   testimony?                                          21   the opinions that you intend to offer as a
      22       A. What I'm saying is my opinion is based       22   witness in this matter?
      23   on whatever is in the talcum powder product's       23       A. I wouldn't box myself in that way.
      24   bottle. Now, it's up to the jury to decide if       24   There might be questions that I'm asked here
      25   there's asbestos in it. However, if there is        25   today or in trial that aren't necessarily in my
                                                                             58 (Pages 226 to 229)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 122 of 348 PageID:
                                   60896

                                          Sarah E. Kane, M.D.
                                                Page 230                                                 Page 232
       1   report.                                              1   probably have within them all the references to
       2      Q. Okay. But the opinions that you intend         2   your report. Other than those and what you
       3   to offer, absent somebody asking you to offer        3   brought with you today, is there anything else
       4   other opinions, are all outlined or contained        4   related to your work on your report that you have
       5   within Exhibit 14, your report; is that correct?     5   in your possession that you haven't been able to
       6      A. Again, I wouldn't want to say "all." I         6   bring with you today?
       7   wouldn't want to limit myself. There's always        7       A. Not that I'm aware of. I've tried to
       8   the possibility that something else will come up,    8   be very complete in my list of what I reviewed.
       9   and I even have a thing that additional              9   It's possible -- again, it's possible there are a
      10   information may come up.                            10   couple of things that might have been left off,
      11      Q. Okay. As we sit here today, do you            11   but I tried to be as complete as possible.
      12   understand that this is our opportunity to ask      12       Q. Okay. And you mentioned earlier you
      13   you about the opinions in your report, and we       13   had done some work on the pathogenesis of ovarian
      14   have the day to do it?                              14   cancer.
      15      Do you understand that?                          15       Did you have any articles or publications
      16      A. I understand.                                 16   that are related to that work that are not
      17      Q. Okay. So to the extent that you think         17   referenced in your report?
      18   you're going to offer additional opinions or        18       A. I believe they should be in the list.
      19   different opinions, we need to know that today.     19   They should be included in the list that you
      20      I understand that if something comes up two      20   have.
      21   weeks from now and it's additional information,     21       Q. The one from -- your initial report?
      22   you might supplement your report.                   22       A. Taken all together. Taken all
      23      But as of today, as we sit here today, is        23   together. So that, probably, is more -- the
      24   this report an accurate reflection of the           24   January 4th one would probably be some of those.
      25   opinions that you have formed and that you intend   25       And then I can't remember what's on that one
                                                Page 231                                                 Page 233
       1   to offer in this case?                               1   that you just got, but if there's a couple on
       2       A. I would say it's an accurate reflection       2   there.
       3   of the opinions I have formed with the exception     3       But I would think if they weren't cited in
       4   of anything that might be asked that is not in       4   the report, the majority of those should be in
       5   the report; but yes.                                 5   the January 4th list.
       6       Q. All right. All right.                         6       Q. Okay. And those would pertain to the
       7       And as we sit here today, is your report         7   various histologic categorizations of ovarian
       8   complete?                                            8   cancer; what is known about etiology.
       9       A. Well, it's signed and turned in, so --        9       Is that kind of the gist of the information
      10       Q. Do you, as the expert designated in          10   that you researched?
      11   this case, Sarah Kane, do you consider your         11       A. Yes. Yes. That was certainly part of
      12   report to be complete as we sit here today?         12   it.
      13       A. Yes.                                         13       Q. And were there other parts to that?
      14          MR. ROTMAN: Off the record.                  14           THE WITNESS: Is that -- I don't know
      15          (Discussion off the record.)                 15   if --
      16          THE VIDEOGRAPHER: Off the record,            16           MR. ROTMAN: Yeah. You can say what
      17   3:24 p.m.                                           17   work you did.
      18            (A recess was taken.)                      18       A. There was -- so a good bit of it was
      19          THE VIDEOGRAPHER: Here begins Media          19   sort of background information on the pathologic
      20   No. 5 in today's deposition of Sarah Kane, M.D.     20   diagnosis of ovarian cancer and different, as you
      21   Back on the record, 3:39 p.m.                       21   said, different subtypes.
      22   BY MS. AHERN:                                       22       There was -- I'm trying to remember -- it
      23       Q. Okay. Dr. Kane, we were talking about        23   was so long ago -- what some of the -- I believe
      24   your report. Just some basic housekeeping first.    24   there was a little bit more on inflammation, but
      25       We have the four boxes back here which          25   I can't say for sure.
                                                                             59 (Pages 230 to 233)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 123 of 348 PageID:
                                   60897

                                           Sarah E. Kane, M.D.
                                                 Page 234                                                Page 236
       1   BY MS. AHERN:                                        1   Exhibit 14, your expert report, are they solely
       2       Q. And would that have been just related         2   the product of your own work?
       3   to ovarian cancer pathogenesis?                      3       A. Yes. I wrote the report. Certainly,
       4       A. Yes. Yes.                                     4   again, there were drafts that went back and
       5       Q. And you think that all of the                 5   forth. There may have been suggestions from
       6   publications that you found, identified, reviewed    6   attorneys where language was -- that I accepted
       7   in relation to that work are identified in one of    7   into my report; but yes.
       8   the lists or across several lists?                   8       Q. Okay. You didn't borrow language from
       9       A. I'm hoping that across all of the             9   other experts or from other publications and then
      10   lists, that encompasses the vast majority, if not   10   not quote that in your report?
      11   all. But let's just keep it at vast majority.       11       A. I certainly tried not to. No. I
      12       And, of course, you know, I'm a gynecologic     12   certainly cited anything that I -- I tried to
      13   pathologist, so I read tons of other stuff that,    13   cite everything that I referenced --
      14   you know, is just my background knowledge that      14       Q. Okay.
      15   I'm not going to put on these lists. So I can't     15       A. -- to the best of my ability.
      16   say it's all-inclusive; but, again, I tried.        16       You know, again, I was taking the notes as I
      17       Q. Understood. Understood.                      17   wrote, so it's plausible there might be
      18       And you've now seen at least one report from    18   something, but I was very cognizant of trying not
      19   Dr. Robert Kurman; correct?                         19   to -- trying to cite everything that I was
      20       A. That's correct. That was an individual       20   referencing.
      21   causation report, though. So...                     21       Q. And in reaching your opinions, was it
      22       Q. And he had a very large background           22   important to you that you review the data in a
      23   section on ovarian cancer pathogenesis; correct?    23   fair and objective way?
      24       A. To be honest with you, I sort of             24       A. Yes. I think it's always important to
      25   skimmed it, but I do remember seeing a section on   25   review data in a fair and objective way.
                                                 Page 235                                                Page 237
       1   that. Yes.                                           1       Q. I know. It's kind of a basic question.
       2       Q. Okay. Did you skim the section that           2       When you were doing your literature reviews
       3   was case-specific?                                   3   and searches, were you looking both for papers or
       4       A. No. Mostly the background since I             4   data that supported talc and ovarian cancer
       5   already know that stuff.                             5   connection as well as for data and literature
       6       Q. Okay. And is the stuff that was in his        6   that did not or that -- well, that did not
       7   background section similar to the research that      7   support?
       8   you did?                                             8       A. When I was doing my literature search,
       9       A. I would say yes. If I am remembering          9   I was looking for any data that spoke to talcum
      10   accurately, it was similar. I wouldn't say          10   powder products and ovarian cancer. I was really
      11   identical, but similar.                             11   trying to cast as wide a net as possible to get
      12       Q. Okay. And did anyone other than your         12   as much data as I could.
      13   attorneys assist you in preparing the report?       13       Now, certainly, there are limitations when
      14       A. No.                                          14   you're doing searches. It's possible there are
      15       Q. And you said earlier, I think, that you      15   studies that I missed; but when I was retrieving
      16   didn't consult with any of the other experts in     16   studies, reading them, I would also reference
      17   the MDL litigation in forming your opinions or      17   their references as a sort of cross-check. So I
      18   preparing your report?                              18   tried to be as complete as I could.
      19       A. That's correct.                              19       Q. So when you were reading someone else's
      20       Q. And you didn't review any draft reports      20   work and they referenced an article as the basis
      21   from any other experts in this litigation?          21   for synthesis or the statement in their paper,
      22       A. No. The only time I saw their reports        22   did you then go and review the underlying
      23   was after we had all turned them in to the court.   23   reference as well?
      24       Q. Okay. And are all of the words, the          24       A. Yes. I pulled up those references.
      25   ideas, the analysis that's contained in             25       Q. Okay. And you reviewed those as well?
                                                                             60 (Pages 234 to 237)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 124 of 348 PageID:
                                   60898

                                          Sarah E. Kane, M.D.
                                                Page 238                                                  Page 240
       1       A. Yes.                                          1   I know we talked about the Nurses' Health Study.
       2       Q. Okay. And you mentioned on Page 4 of          2       That's funny, though, I actually did talk --
       3   your report that your interest in talc and           3   I saw Jonathan last night, so it's kind of funny
       4   ovarian cancer began during your training, your      4   timing. But anyway...
       5   fellowship training, at Mass General; is that        5       Q. Have you talked to Dr. Hecht since
       6   right?                                               6   then, since you first discussed with him the
       7       A. I became aware of it. I mean, both            7   Nurses' Health Study?
       8   Dr. Scully and Dr. Bell were still there at my       8       Have you spoken with him on talc and ovarian
       9   time of training, and Dr. Scully was a coauthor      9   cancer?
      10   on Cramer's first 1982 paper.                       10       A. Yes. I saw him last night. We went
      11       And then Dr. Bell was a coauthor in one of      11   out for a drink.
      12   the subsequent -- I think his 1992 paper with       12       Q. Did he give you any opinions on what he
      13   Harlow.                                             13   thought about talc and ovarian cancer?
      14       So I was certainly aware of literature on       14       A. He told me that he had met with defense
      15   talcum powder and ovarian cancer.                   15   counsel at one point; did not want to do medical
      16       Q. And neither one of them published            16   expert witness work but did a brief sort of
      17   anything else on talc; is that correct?             17   intro, I guess, overview for the defense.
      18       A. I believe those were the only two that       18       Q. Did he tell you what his personal or
      19   they were on. That's correct.                       19   his professional opinion was on whether or not
      20       Q. And did you understand that the role         20   talc causes ovarian cancer?
      21   that Dr. Scully played on Dr. Cramer's first        21       A. Yes. He thought that -- so I'll say in
      22   publication was simply that of pathologist and      22   my report, I did not spend a lot of time on
      23   determining or confirming the diagnosis of the      23   migration because in the gynecologic world, it's
      24   samples that were being studied?                    24   widely accepted that migration happens. He told
      25       A. I was aware that he did a pathologic         25   me that he specifically told the defense counsel
                                                Page 239                                                  Page 241
       1   review of the case.                                  1   he met with not to use migration because it's
       2       Q. Okay. Did you ever have an opportunity        2   widely accepted that it occurs.
       3   to talk to Dr. Scully about talc and ovarian         3       We did talk about the Nurses' Health paper.
       4   cancer?                                              4   He said that the data set was very small, it was
       5       A. I believe my conversations were -- my         5   very difficult with classification, and that
       6   memory is -- this is 20 years ago now -- it's        6   that -- there just really wasn't a lot of data in
       7   possible, but probably with Dr. Bell, more. I        7   that 2010 study.
       8   interacted more with Dr. Bell than Dr. Scully.       8       And he thinks that it is plausible for
       9       Dr. Scully was semiretired at the time. He       9   talcum powder to cause ovarian cancer.
      10   would come in for half the day, but that was        10       Q. Have you spoken to any other
      11   usually when I was with other attendings. But I     11   pathologist or colleagues about talc and ovarian
      12   did spend a significant time with Dr. Bell, and I   12   cancer?
      13   do remember being aware of that literature.         13       A. I have talked to my coworkers about it
      14       Now, if you're going to ask me the specific     14   because -- as a conflict-of-interest notification
      15   conversation, I probably can't prompt that at the   15   for our group and for our hospital, Partners
      16   moment.                                             16   Healthcare, and I discussed my findings with my
      17       I was also, when I was at Beth Israel           17   partners.
      18   Deaconess, my colleague Jonathan Hecht is there.    18       And I've also talked about it at
      19   And I was aware he was doing work on the Nurses'    19   multidisciplinary conferences; recently at, for
      20   Health Study.                                       20   example, at a thoracic conference. There were
      21       We didn't -- I can't remember if we really      21   gyn oncs there and radiologists and rad onc
      22   talked about talc at that point because the Gates   22   people there.
      23   2010 paper that he was doing, talc was a very       23       Q. And you talked to them specifically
      24   small -- it was almost, like, a side comment in     24   about talc and ovarian cancer?
      25   that report. But I think we had talked about --     25       A. So I told them about my work on it and
                                                                             61 (Pages 238 to 241)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 125 of 348 PageID:
                                   60899

                                           Sarah E. Kane, M.D.
                                                 Page 242                                                Page 244
       1   the research that I had done, and I was asking       1   Dr. Scully retired; is that right?
       2   them -- it was a thoracic conference, so I was       2        A. Yes. He inherited his consult service.
       3   curious if any of them had asked any of their        3   So it's a separate service from our regular
       4   mesothelioma patients that didn't have               4   clinical work. So it's pathologists from all
       5   nonasbestos exposure if they've ever asked them      5   over the country or even world that have
       6   if they'd had talc exposure.                         6   difficult cases, they will send as a specific
       7        And they said no, they hadn't really done       7   private consult to -- it was Dr. Scully, and now
       8   it, they hadn't thought about it, but maybe it       8   it's Dr. Young.
       9   was something that they should be asking.            9        Q. Okay. When you were first contacted by
      10        Q. And, by the way, what were the              10   the plaintiffs' counsel back in 2017, what were
      11   circumstances under which you and Dr. Hecht had     11   your opinions regarding talc and ovarian cancer
      12   dinner the other night?                             12   at that point?
      13        A. His birthday is coming up. We're still      13        A. First contacted? When I was first
      14   friends, so it was one of these -- I actually       14   contacted, I was aware of the literature,
      15   stayed in a hotel last night because it took me     15   certainly. I hadn't come to a strong opinion one
      16   an hour and a half to drive from Topsfield          16   way or the other. In fact, I'd probably say I
      17   yesterday morning, and I didn't want to be          17   was aware that the epi data had been relatively
      18   worried about traffic. So I decided to stay in a    18   consistent. That was kind of all I knew about it
      19   hotel last night. His birthday is coming up, so     19   until I did my sort of deep dive into the
      20   I said, "Let's just grab a drink."                  20   literature for my general causation opinion.
      21        Q. You mentioned while you were at Mass        21        Q. So as a pathologist, you never had a
      22   General, the fellowship director for your program   22   particular interest in pursuing additional
      23   was Robert Young; correct?                          23   research in the area --
      24        A. Yes.                                        24          MR. ROTMAN: Objection.
      25        Q. Is he someone that you look up to as a      25        Q. -- of talc and ovarian cancer?
                                                 Page 243                                                Page 245
       1   pathologist?                                         1       A. Well, there's certainly a lot of things
       2        A. Yes. He's very well-respected.               2   to study in gynecologic pathology. And so I
       3        Q. By the way, who do you send second           3   hadn't decided to take that -- to do that study
       4   opinion consults to when you have a difficult        4   at the time that I was contacted by counsel.
       5   case?                                                5   That's not to say I never would have or I never
       6        A. We have a relationship with Mass             6   would have thought about it, but I hadn't at the
       7   General, so I'll occasionally send -- if I need      7   time.
       8   another set of eyes on, I'll send it to either --    8       Q. Okay. In your report on Page 4, you
       9   it's sort of their gyn pathology group in            9   say that you've maintained a professional
      10   general, so it might be Dr. Young. It might be      10   interest -- "since your fellowship, you've
      11   Esther Oliva. Those are the two that I would say    11   maintained a professional interest and have
      12   most frequently would receive any consults from     12   continued to monitor developments in the science
      13   our group for gyn path.                             13   regarding talcum powder exposure and ovarian
      14        Q. Have you ever spoken with Dr. Young         14   cancer, and it has been the subject of
      15   about talc and ovarian cancer?                      15   professional discussions predating the
      16        A. It's possible. I haven't recently. He       16   litigation."
      17   and I aren't in regular communication, so I         17       So what sort of professional discussions
      18   certainly wouldn't have talked to him -- I don't    18   about talc and ovarian cancer did you have before
      19   know if I've talked to him since starting this.     19   the plaintiffs retained you?
      20        It's more of a professional-type               20       A. So, again, I was aware of the
      21   relationship, so I don't know if it would have      21   literature. And I knew -- I saw some of the
      22   come up recently. But it's possible in training,    22   newer epi data come out. I had had conversations
      23   but I don't remember specifically.                  23   with Dr. Bell that I remember specifically;
      24        Q. And Robin Young inherited all of            24   again, with Jonathan. I knew he was working on
      25   Dr. Scully's case files in his office when          25   that Nurses' Health. We certainly talked about
                                                                             62 (Pages 242 to 245)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 126 of 348 PageID:
                                   60900

                                          Sarah E. Kane, M.D.
                                                Page 246                                                 Page 248
       1   that study at some point.                            1   in the report.
       2       But, you know, I was certainly aware of the      2       Q. Okay. And the first opinion is that
       3   literature as it came out.                           3   talc can migrate to the ovaries through the
       4       Q. And you call it a "professional               4   genital tract through the lymphatic system and
       5   interest."                                           5   through inhalation.
       6       Did you take -- other than just reviewing        6       Is that an accurate summary of your first
       7   the literature, did you do anything                  7   opinion or set of opinions?
       8   professionally to either advance your knowledge      8            (reading from document)
       9   or other people's knowledge about this potential     9       A. Yes. The talcum powder products can
      10   association?                                        10   reach the ovaries; that they can be transported
      11       A. Not -- I mean, not at the time. I            11   through the lymphatic system; and there is
      12   think "professional interest" in my mind, you       12   evidence that it can be inhaled as well with
      13   know, means being aware of what's going on in the   13   transport to the ovaries.
      14   literature. Again, that doesn't necessarily mean    14       Q. And the second opinion in the case or
      15   an in-depth review of everything but being          15   second set of opinions is that talc causes
      16   generally aware of it.                              16   chronic inflammation in the ovaries, causes
      17       Q. Would you say that since you first           17   increased oxidative stress in the ovaries, and
      18   learned about this in your fellowship and were      18   causes immunosuppression.
      19   interested in the topic, did it influence the way   19       Is that an accurate summary of your
      20   you looked at gynecologic cases as a professional   20   mechanism?
      21   pathologist?                                        21       A. Well, if you're going to read it word
      22       A. Yeah. It's not really routine practice       22   for word, it's "Once reaching the ovaries, talcum
      23   to use polarized light microscopy in gynecologic    23   powder products can cause chronic inflammation,
      24   pathology. It's just -- we use it more commonly     24   can increase oxidative stress, and can reduce
      25   for breast cases, so...                             25   immune response. These are biologically
                                                Page 247                                                 Page 249
       1       And also, you know, even if we found             1   plausible and likely mechanisms for ovarian
       2   birefringent particles and granulomas or -- in       2   cancer development and progression."
       3   the tissue, it wouldn't necessarily mean that        3      Q. Okay. When you say "reduce the immune
       4   they're talc unless you do subsequent studies.       4   response," is that essentially discussing, like,
       5       So I wouldn't say it changed my daily            5   an immunosuppressive effect?
       6   practice in diagnosing tumors.                       6      A. That's referencing the MUC-1 antibody
       7       Q. Okay. Doctor, if you can turn to              7   paper that Cramer published in 2005.
       8   Page 4 and 5 of your report.                         8      Q. Are you aware that Dr. Cramer himself
       9       Is this where you set out a summary of your      9   has disclaimed that theory as a "hypothesis
      10   opinions?                                           10   that's not ready for prime time"? I believe
      11       A. Yes. This is.                                11   those were his words, "prime time."
      12       Q. Under Heading 2, Page 4, "General            12      A. I don't know where you saw those words.
      13   causation opinions."                                13      Q. His testimony in the litigation.
      14       A. Okay.                                        14      A. Okay. I don't believe I saw his
      15       Q. And you list, it looks like, five            15   testimony in the litigation. But, again, it's
      16   specific opinions; is that correct?                 16   not -- I'm not seeing it as something that needs
      17       A. I see where you are. Yes.                    17   to be proven. I'm looking at it as a
      18       Q. And are those -- again, are those all        18   plausibility that, you know, it's a plausible
      19   the opinions that you have that you intend to       19   mechanism. If it's not proven, it doesn't really
      20   offer in this case?                                 20   change the fact that it's plausible.
      21           MR. ROTMAN: Objection.                      21      Q. So are you building -- so is your
      22       A. Same answer as before. Again, there          22   plausibility opinion independent of whether or
      23   might be something that comes up today or at        23   not the basis for that opinion is proven?
      24   trial that I'm asked that I, you know, didn't put   24          MR. ROTMAN: Objection.
      25   in this report. But I tried to be as -- complete    25      Q. In other words, are you -- do you have
                                                                             63 (Pages 246 to 249)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 127 of 348 PageID:
                                   60901

                                           Sarah E. Kane, M.D.
                                                Page 250                                                 Page 252
       1   a plausibility opinion that's based on a bunch of    1   reaching the ovaries.
       2   other potential or plausible mechanisms?             2       So -- and, again, it's widely accepted in
       3           MR. ROTMAN: Objection.                       3   the gynecologic community that migration occurs.
       4       A. Right.                                        4   In fact, endometriosis, we really -- the evidence
       5           MR. ROTMAN: I just objected, but you         5   is that endometriosis is caused by retrograde
       6   can answer. If you can understand the question,      6   menstruation of endometrium.
       7   you can answer it.                                   7       So there's a substantial amount of evidence
       8       A. Well, I think -- I think they're all          8   and widely accepted that migration occurs.
       9   somewhat interrelated.                               9       And I'm aware of studies that didn't find
      10       I think there's the chronic inflammation.       10   migration, but I think, you know, those few
      11   There's the immune response. Those are plausible    11   negative studies don't cancel out the positive
      12   mechanisms for ovarian cancer.                      12   studies.
      13       And the Bradford Hill guidelines, you don't     13       And, you know, certainly, looking for
      14   have to prove -- prove mechanism in order to have   14   migrated particles is very difficult. You know,
      15   causation. We have plenty of -- again, plenty of    15   again, we're talking about dose. How much do you
      16   examples of that in prior diseases, like smoking    16   inject to get there?
      17   and lung cancer. And even certain drugs, they       17       And so I think the positive studies are
      18   don't know the mechanism of action, very common     18   compelling, and it's widely accepted that
      19   drugs like lithium, for example, or metformin.      19   migration occurs.
      20       So you don't need to prove mechanism in         20            (Article entitled "Presence of
      21   order for it to be an important part of a           21       Talc in Pelvic Lymph Nodes of a Woman with
      22   causation because it's part of the plausibility     22       Ovarian Cancer and Long-Term Genital
      23   component.                                          23       Exposure to Cosmetic Talc" marked Exhibit
      24       Q. Do any of the bases on which you -- any      24       19.)
      25   of the bases that you use to support plausibility   25
                                                Page 251                                                 Page 253
       1   for talc and ovarian cancer, do any of them have     1   BY MS. AHERN:
       2   to be proven or established?                         2       Q. Doctor, I'm handing you what's been
       3           MR. ROTMAN: Objection.                       3   marked as Exhibit 19 to your deposition.
       4       A. I think it's important to have evidence       4       A. Okay.
       5   to support it. There may be evidence that            5           MR. TISI: Thank you.
       6   refutes it as well, but you're sort of looking       6           MS. AHERN: You're welcome.
       7   at -- you're balancing the weight of it.             7       Q. Exhibit 19 is an article drafted by
       8       And the plausibility, a plausible mechanism,     8   Dr. Dan Cramer, the "Presence of talc in pelvic
       9   now, is that always going to be probable or          9   lymph nodes of a woman with ovarian cancer and
      10   definite? No. It's plausible.                       10   long-term genital exposure to cosmetic talc."
      11       In this case, I think it's a compelling         11       Is this a paper that you were referring to a
      12   mechanism, chronic inflammation, because, again,    12   few minutes ago?
      13   we know that talcum powder can reach the ovaries,   13       A. The 2005, yes.
      14   and we know that it can cause chronic               14       Q. This is 2007.
      15   inflammation, and we know chronic inflammation is   15       A. I'm sorry. Did I say 2005? Yes. This
      16   implicated in cancer.                               16   is the paper, anyway.
      17       So I think it's a high degree of                17       Q. And the authors are Dan Cramer and Bill
      18   plausibility in that case.                          18   Welch, Ross Berkowitz, and John Godleski.
      19       Q. So when you mention that you know that       19       Do you see that?
      20   talc can reach the ovaries, are you referring to,   20       A. Yes.
      21   for example, the Heller study?                      21       Q. And three of those individuals have
      22       A. So Heller found talc in women's              22   been disclosed as plaintiffs' experts in the talc
      23   ovaries. Yes. Cramer found talc in pelvic lymph     23   litigation.
      24   nodes. We have other animal and human studies of    24       Were you aware of that?
      25   talc or particulates similar in size to talc        25       A. I was not aware of Bill Welch. I knew
                                                                             64 (Pages 250 to 253)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 128 of 348 PageID:
                                   60902

                                          Sarah E. Kane, M.D.
                                               Page 254                                                  Page 256
       1   after -- at some point, I was aware that            1       A. I'm sorry. Where are you now?
       2   Dr. Cramer and Dr. Godleski was. I don't believe    2       Q. Same sentence. He just finishes it
       3   I was aware of that at the beginning of my          3   with "Many subsequent studies found --
       4   research, but I became aware of that. Yes.          4       A. Okay.
       5       Q. Okay. Are you aware that Dr. Welch has       5       Q. -- "talc use to increase the risk for
       6   been designated in maybe three cases and given      6   ovarian cancer."
       7   testimony in those cases?                           7       But he just cites himself again from 1982;
       8       A. Again, I was not aware that Bill Welch       8   correct?
       9   had been retained.                                  9       A. Sorry?
      10       Q. Are you aware that Dr. Welch has run        10       Q. The only cite he provides for that
      11   the pathology portion of Dr. Cramer's study        11   statement is his own study from 1982?
      12   program for 40 years?                              12       A. Oh, the one -- the No. 1?
      13       A. I'm aware who Dr. Welch is, and I've        13       Q. Mm-hmm.
      14   certainly seen his name on papers. But now         14       A. Yes. That's his 1999, it says. 1999.
      15   his -- his role in these studies specifically, I   15       Q. Okay. Sorry about that. You're right.
      16   don't know if I can speak to other than he's       16       And then he says, "However, the causality of
      17   involved.                                          17   the relationship has been challenged for several
      18       Q. He's testified that his only role was       18   reasons."
      19   in identifying the types of tumors involved in     19       Do you see that?
      20   the study to keep people honest.                   20       A. I do.
      21       Are you aware that Dr. Welch has repeatedly    21       Q. And he says, "First, the association is
      22   refused to give -- refused to give a causation     22   a relatively weak one; i.e., summary relative
      23   opinion like you're giving today?                  23   risk of approximately 1.3."
      24       A. I'm not aware of Dr. Welch's opinions.      24       Do you agree that a summary relative risk of
      25   I didn't know that he was an expert, so I          25   1.3 is a weak association?
                                               Page 255                                                  Page 257
       1   wouldn't have reviewed any of that testimony.       1       A. I've seen "weak" or "moderate" used to
       2      Q. Okay. You weren't provided with any of        2   describe a 1.3, but that doesn't mean it's not a
       3   his testimony or his reports in the litigation?     3   significant one, especially in a rare disease
       4      A. No. I was not aware that he was a             4   like ovarian cancer.
       5   medical expert witness.                             5          MS. AHERN: Objection to the
       6      Q. Okay. Do you see under the                    6   nonresponsive portion.
       7   "Background" section here, it says, "Although       7       Q. But I agree it's been described as
       8   epidemiologic studies suggest talc may increase     8   "weak," at least here by Dr. Cramer?
       9   ovarian cancer risk, there is no proof that talc    9       A. That's -- the sentence says, "First,
      10   used externally reaches the pelvis"?               10   the association is a relatively weak one; i.e.,
      11      A. That's what it says.                         11   summary relative risk of approximately 1.3."
      12      Q. Are then if you look down in the -- I'm      12       Q. And he says, "Second, there's no clear
      13   sorry. I'm sorry.                                  13   increase in risk with duration of use."
      14      If you look down in the first paragraph, he     14       Do you agree with that, as of 2007, there
      15   mentions, "An epidemiologic association between    15   was no clear dose-response in the studies that
      16   the use of cosmetic talc and genital hygiene and   16   looked at talc and ovarian cancer?
      17   ovarian cancer was first described in 1982."       17       A. I think there was evidence of a
      18      That's Cramer citing Cramer; isn't it?          18   dose-response by 2007.
      19      A. Let's see. Let me double-check. I'm          19       Q. So do you disagree with Dr. Cramer's
      20   assuming because it's 1982. But let me             20   statement in the 2007 publication that as of that
      21   double-check. Or -- yeah. It's 1999. He's          21   time, there was no clear increase in risk with
      22   referencing his 1999 paper.                        22   duration of use in most studies?
      23      Q. And he says, "And the many subsequent        23       A. I wouldn't necessarily phrase it that
      24   studies found talc use to increase the risk for    24   way: There's no clear increased risk. I think,
      25   ovarian cancer."                                   25   again, there isn't a lot of data, but what data
                                                                            65 (Pages 254 to 257)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 129 of 348 PageID:
                                   60903

                                           Sarah E. Kane, M.D.
                                                Page 258                                                 Page 260
       1   there was -- I believe at that time, I'm trying      1   2.4.
       2   to think if I was in 2007 -- would be evidence       2       And for greater than 10,000, we're looking
       3   that there was a dose-response.                      3   at 1.0 to 3.0.
       4       Q. And which papers, prior to 2007, did          4       Q. And when they just adjusted -- when
       5   they find dose-response that was clear?              5   they excluded -- when they looked at lifetime
       6       A. I would have to look back.                    6   talc applications and ovarian cancer after
       7       Okay. So I tried to do this in chronologic       7   excluding use following hysterectomy or tubal
       8   order.                                               8   ligation, they found no evidence of an
       9       Q. What page are you on?                         9   exposure-response relationship, didn't they?
      10       A. I'm looking at 16.                           10       A. Are you looking at the actual paper?
      11       Q. Page 16 of Exhibit 14?                       11       Q. Do you need it?
      12       A. Yes.                                         12       A. If you're asking me questions about it.
      13       Q. Okay. Were --                                13       Q. Yeah. That wasn't in your report -- or
      14       A. I'm just trying to refresh my memory.        14   is it?
      15       So Harlow's -- let's see -- 1992 study was,     15          MR. ROTMAN: What is the "it" referring
      16   it looks like, the first one that I have listed     16   to?
      17   that had a dose-response -- evaluated for           17       Q. That particular finding is not in her
      18   dose-response.                                      18   report on dose-response from Harlow in 1992?
      19       They both -- let's see. The confidence          19       A. Well, yeah. Let me look at the --
      20   intervals all included the null. Life- -- so        20          MS. AHERN: Sure.
      21   what I wrote here -- this is Page 18 -- "lifetime   21            (Article entitled "Perineal
      22   application ORs when compared to control women      22       Exposure to Talc and Ovarian Cancer Risk"
      23   with no perineal talc exposure were 1.3, 4 less     23       marked Exhibit 20.)
      24   than 1,000, with a confidence interval of 0.7 to    24          MS. AHERN: I'll mark as Exhibit 20 to
      25   2.7; 1.5 for 1,000 to 10,000 with a confidence      25   your deposition "Perineal Exposure to Talc and
                                                Page 259                                                 Page 261
       1   interval of 0.9 to 2.4; and 1.8 for greater than     1   Ovarian Cancer Risk" by Harlow, 1992. That's my
       2   10,000 with the confidence interval of 1.0 to        2   only copy. Sorry.
       3   3.0.                                                 3           MR. ROTMAN: Exhibit 20.
       4       And then I also -- yeah. So that's after         4       A. Okay. So, I'm sorry, where are you
       5   2007, the Terry and the Lou studies.                 5   looking?
       6       Q. You're looking at Harlow 1992?                6       Q. Let me find it. Take your time, if you
       7       A. Yes. That's the paragraph I'm looking         7   need to. I'm trying to find my copy.
       8   at.                                                  8       Okay. If you look at Table 3, "Estimated
       9       Q. And Harlow 1992 found a                       9   total lifetime perineal applications of talc
      10   nonstatistically significant increased risk; is     10   containing powders and cases and controls."
      11   that correct?                                       11       A. Okay. I see Table 3.
      12       A. So the confidence intervals included         12           MR. ROTMAN: Is there a question?
      13   the null. So, yeah, it was not statistically        13           MS. AHERN: She asked to see the study.
      14   significant. I'm not sure -- I don't have the       14   I asked her to confirm that once they excluded
      15   numbers here, though, of how many they had          15   cases after hysterectomy or tubal ligation, there
      16   dose-response data on, which would -- which might   16   was no exposure-response relationship.
      17   increase the interval.                              17       A. These look to be similar -- oh, I see.
      18       In fact, if you look at the confidence          18   Okay. Total applications.
      19   intervals, they're pretty wide, trending toward     19       Well, if you actually look at the numbers,
      20   higher.                                             20   the ones above, which are, I believe, what I
      21       Q. What are the confidence intervals            21   quoted in my report, so under "Total
      22   you're looking at?                                  22   applications."
      23       A. For less than 1,000 lifetime                 23       And then you're asking me about applications
      24   applications, we're looking at 0.7 to 2.7.          24   excluding use after hysterectomy or tubal
      25       For 1,000 to 10,000, we're looking at 0.9 to    25   ligation?
                                                                             66 (Pages 258 to 261)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 130 of 348 PageID:
                                   60904

                                           Sarah E. Kane, M.D.
                                                Page 262                                                 Page 264
       1   BY MS. AHERN:                                        1   dose-response?
       2      Q. Mm-hmm.                                        2       A. Well, I state in my report what the
       3      A. What was your question about it? I'm           3   confidence intervals are. So certainly, I'm
       4   sorry.                                               4   showing that it did include the null hypothesis.
       5      Q. There's no statistically significant           5   But I think it's still -- just because it's not
       6   dose-response relationship with lifetime             6   statistically significant, I think it's still
       7   application?                                         7   data, and I wouldn't completely discount it.
       8      A. So the confidence intervals are                8       But it does -- does contain the null. The
       9   somewhat similar, but -- are somewhat similar, it    9   numbers weren't super high, if I remember. But
      10   looks like, to the top.                             10   on their -- I'll have to find it.
      11      Q. There's no statistically significant          11       On -- in their abstract conclusion, they
      12   dose-response relationship, is there?               12   still say that "The greatest ovarian cancer risk
      13      A. They all include the null. That's             13   associated with perineal talc use was observed in
      14   correct. But, again, they're trending high.         14   the subgroup of women estimated to have made more
      15      Q. But if they include the null, then it's       15   than 10,000 applications during years when they
      16   consistent with the null hypothesis that there's    16   were ovulating and had an intact genital tract
      17   no association; isn't that true?                    17   with the OR of 2.8 and a statistically
      18          MR. ROTMAN: Objection.                       18   significant confidence interval of 1.4 to 5.4.
      19      A. It's possible. The null hypothesis is         19   However, this exposure was found in only
      20   included in "Possibilities."                        20   14 percent of the women with ovarian cancer."
      21      Q. It also basically means you can't             21       Q. Okay. But we were just asking -- you
      22   exclude chance as a reason for the findings;        22   mentioned the study as support for a
      23   correct?                                            23   dose-response relationship in your report?
      24      A. Again, it's possible. I would say it's        24       A. As evidence of a dose -- a
      25   trending higher, but it does include the null       25   dose-response; again, with the caveat, which is
                                                Page 263                                                 Page 265
       1   hypothesis.                                          1   here, that it includes the null hypothesis.
       2       Q. Do you see on Page 25, in the first           2      Q. Okay. And what about Cramer in 1999?
       3   column on the left-hand side, the first full         3           MR. ROTMAN: Objection. I don't think
       4   paragraph, "In our analysis"?                        4   that's a question.
       5       Okay. The authors say, "In our analysis, we      5           MS. AHERN: Fair point.
       6   first calculated all genital applications of talc    6   BY MS. AHERN:
       7   based on frequency and years of use. As a            7      Q. In Cramer 1999, you've also cited as
       8   continuous variable in a multivariate model, no      8   evidence after dose-response, correct, on Page 35
       9   significant dose-response was observed between       9   of your report?
      10   total genital applications of talc and ovarian      10      A. I see that. Yes. It's listed in a
      11   cancer risk"; correct?                              11   reference list.
      12       A. That's what it says.                         12      Q. And the authors, including Cramer,
      13       Q. And the reason they excluded                 13   basically say they "failed to demonstrate
      14   hysterectomy and tubal ligation is the next         14   consistent dose-response relationships with
      15   sentence, "because the translocation theory         15   measures of intensity of exposure."
      16   assumes an open genital tract, we then excluded     16           MR. ROTMAN: Do you have -- do you have
      17   application after tubal ligation or hysterectomy    17   the paper?
      18   but observed no appreciable change in the           18           MS. AHERN: Do you want the paper?
      19   dose-response."                                     19           MR. TISI: Is that the one you
      20       In other words, still no significant            20   identified before?
      21   dose-response; correct?                             21           MS. AHERN: No. This is a new one.
      22       A. That's what it says.                         22           MR. ROTMAN: She's getting the paper
      23       Q. So the authors interpreted both the          23   out.
      24   data you cite in your report as well as the data    24           MS. AHERN: I thought I had it too.
      25   you didn't cite in your report as showing no        25   Maybe it's in one of the boxes. Let me see if I
                                                                             67 (Pages 262 to 265)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 131 of 348 PageID:
                                   60905

                                          Sarah E. Kane, M.D.
                                               Page 266                                                  Page 268
       1   can find my own copy.                               1   in the table. Let me see.
       2          Okay. Sorry. This is the only copy I         2       Q. I think so. If you want to go to --
       3   have right now.                                     3       A. Oh.
       4          THE WITNESS: Okay.                           4       Q. You got it.
       5          MS. AHERN: We can mark it, if you            5       A. Yes. I see it now. Sorry. It was
       6   want.                                               6   buried in Table 3, very small print. Okay. Yes.
       7   BY MS. AHERN:                                       7       So Table 3, years of use. Yup.
       8      Q. It's a copy of the Cramer 1999                8       Q. Do you see they're not showing a
       9   publication that you cited in your report in        9   statistically significant dose-response
      10   support of dose-response.                          10   relationship?
      11          MR. TISI: Are you marking it?               11       A. So for less than 20 years, the
      12          THE COURT: I can if you want me to. I       12   confidence intervals were 1.16 to 3; at 20 and 30
      13   just didn't want to mark my copy.                  13   and greater than 30, they did -- the confidence
      14          MR. KLATT: I don't think I do.              14   intervals did include the null.
      15          MS. AHERN: That's all right. I don't.       15       But, again, I don't know how many -- I can't
      16   We'll mark Cramer -- oops, no, we won't because    16   remember. Oh, here are the cases.
      17   this is the wrong study. Sorry. The old "wrong     17       Yeah. So there are 55, less than 20 cases;
      18   study" trick.                                      18   thirty-two 20 to 30; and 59 greater than 30.
      19          THE WITNESS: I can't find that              19       Q. And you see also the frequency
      20   information. Oh, I've got the wrong reference.     20   analysis? It also did not find a significant
      21   Sorry. All righty.                                 21   dose-response relationship as a statistically
      22             (Article entitled "Genital Talc          22   significant dose-response relationship?
      23      Exposure and Risk of Ovarian Cancer" marked     23       A. Yes. For less than 30 years, the
      24      Exhibit 21.)                                    24   adjusted OR was 2.21 with a confidence interval
      25                                                      25   of 1.37 to 3.56.
                                               Page 267                                                  Page 269
       1   BY MS. AHERN:                                       1       The 30 to 39 was adjusted OR of 1.17 with
       2      Q. Okay. So, Doctor, this is Exhibit 21,         2   confidence intervals .78 to 1.76.
       3   which is "Genital Talc Exposure and Risk of         3       And the 40-plus adjusted OR was 1.57 with
       4   Ovarian Cancer," Dan Cramer, 1999.                  4   confidence intervals of 0.8 to 3.10.
       5      A. Okay.                                         5       Q. So not only did the point estimate go
       6      Q. This is something else.                       6   down with more use, but the higher the
       7      Can you find -- I don't have it in front of      7   concentration, there was also no statistical
       8   me, so I'm going to rely on you to find the         8   significance; correct?
       9   tables that show their dose-response analysis.      9       A. Yeah. I mean, the numbers -- so the
      10          MR. ROTMAN: You made that Exhibit 21?       10   only one that doesn't include the null -- let me
      11          MS. AHERN: Yes.                             11   just double-check.
      12          MR. TISI: It's 21. Yes.                     12       Actually, there are two. So the less than
      13          THE WITNESS: Would that be Table 2,         13   20 years or less than 30 per month are
      14   what you're referring to (indicating)?             14   statistically significant.
      15   BY MS. AHERN:                                      15       Q. It's only the first dose category in
      16      Q. I believe the numbers were -- they were      16   each group --
      17   looked at in terms of zero years' duration, less   17       A. Yeah.
      18   than 20, 20 to 30, and greater than 30.            18       Q. -- shows statistical significance.
      19      Do you see that on there?                       19       And as the doses got higher, the exposure
      20      A. I'm looking. This one says "less             20   frequency got higher, the point estimates went
      21   than -- frequency of use."                         21   down and statistical significance went away;
      22      Q. There's a frequency and a duration.          22   correct?
      23      A. Okay.                                        23       A. The confidence intervals did include
      24      Q. Yeah.                                        24   the null. And I think this illustrates how
      25      A. Sorry. Why am I not seeing it? It's          25   difficult sort of dose and frequency can be to
                                                                            68 (Pages 266 to 269)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 132 of 348 PageID:
                                   60906

                                           Sarah E. Kane, M.D.
                                                Page 270                                                 Page 272
       1   study because we don't really know what the doses    1   "application of talc."
       2   are, and we don't really have granularity as far     2      "Another factor that may affect the
       3   as frequency of use. Well, I have to look at --      3   dose-response relationship is whether use
       4        Q. These are studies that you cited in          4   occurred at a time when the female tract was
       5   your report as evidence of a dose-response,          5   open. There is evidence from several studies
       6   correct, the Harlow and the Cramer papers? You       6   that the talc/ovarian cancer association is
       7   both cited yourself.                                 7   modified by closure of the female tract as a
       8        Did you evaluate the internal validity of       8   result of tubal ligation or hysterectomy.
       9   those studies and critically evaluate the methods    9      Q. Doctor, did they say they didn't find a
      10   and study populations when you included them in     10   dose-response relationship?
      11   your report?                                        11      A. I'm trying to find what they said other
      12        A. Let me -- well, I said -- this is the       12   than that on Page 355.
      13   sentence -- "Most have found an increased risk of   13      Yeah. They said, "Studies that have
      14   ovarian cancer with increased exposure." So,        14   dose-response, including this one, have failed to
      15   yet, when studies have evaluated duration of        15   demonstrate consistent dose-response
      16   frequency of perineal talc use.                     16   relationships."
      17        So this list is the studies that evaluated     17      But it goes on to qualify with the
      18   duration and frequency of perineal talc use. And    18   difficulty of measuring dose and frequency, which
      19   I said, "Most have found an increased risk." So     19   is what I described earlier.
      20   what I'm citing here are the studies that looked    20      Q. Mm-hmm.
      21   at duration and frequency.                          21            (Article entitled "Perineal Talc
      22        Q. Okay. And we were referring to              22      Exposure and Epithelial Ovarian Cancer Risk
      23   Cramer's 2007 publication where he himself says     23      in the Central Valley of California" marked
      24   that the association has been challenged because    24      Exhibit 22.)
      25   it's weak and because there's no clear increase     25
                                                Page 271                                                 Page 273
       1   in risk with duration of use.                        1   BY MS. AHERN:
       2       And you didn't agree with that statement,        2      Q. Okay. The next one -- are you done,
       3   and you referred me to Harlow 1992; correct?         3   sorry, with that one?
       4       A. I was going to where I mentioned the          4      A. If we're moving on, sure.
       5   dose-response studies.                               5      Q. If you're done.
       6       Q. Okay. Just to button up and finish up         6      The next one you mention, you cite in your
       7   with Cramer 1999, if you look at Page 355, the       7   report for dose-response is Mills 2004, which I'm
       8   authors included, "They failed to demonstrate        8   handing you now marked as Exhibit 22.
       9   consistent dose-response relationships with          9      Oh, yeah. We'll leave that here for right
      10   measures of intensity of exposure."                 10   now.
      11       Do you see that?                                11      A. Okay.
      12       A. I'm sorry. Where are you?                    12          MR. ROTMAN: Can I see the one you just
      13       Q. On Page 355.                                 13   finished with?
      14       A. Okay. I'm seeing "in attempting" --          14          MR. TISI: This is 22; right?
      15   sorry. I see, "Most talc and ovarian cancer         15          MS. AHERN: Yes, sir.
      16   studies that have addressed dose-response,          16   BY MS. AHERN:
      17   including this one, have failed to demonstrate      17      Q. And this one, you're welcome to read
      18   consistent dose-response relationships with         18   through it if you want. All I wanted to point
      19   measures of the intensity of the exposure,          19   out is if you look right up front in the
      20   especially when the trend is examined among users   20   abstract, a little more than midway down, they
      21   only. In attempting to address this weakness, we    21   say, "The odds ratio for ever use of talc was
      22   point out that it is difficult to quantify the      22   1.37 with the confidence interval of 1.02 to 1.85
      23   amount of powder actually used and degree of        23   compared to never users. However, no
      24   perineal dusting that might constitute an           24   dose-response association was found."
      25   application of talc," quote/unquote around          25      Do you see that?
                                                                             69 (Pages 270 to 273)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 133 of 348 PageID:
                                   60907

                                           Sarah E. Kane, M.D.
                                                Page 274                                                 Page 276
       1       A. I see where it says that.                     1      Q. I was trying to point you a little bit
       2       Q. And if you want to look through there         2   toward this. It's Page 463. There's some
       3   and convince yourself of that, go for it. I          3   discussion of it.
       4   think the table that we're looking at is Table 2     4      If you look at the third paragraph down, "As
       5   on Page 460.                                         5   in other studies, the present study did not find
       6       A. Yeah. The 4 to 12 years had an OR of          6   a clear dose-response based on duration of use or
       7   1.86 that was statistically significant at 1.16      7   cumulative use."
       8   to 2.98. But the others, which were never --         8      And then it says, "Limiting the analysis of
       9   which, of course, is the null, 4 to 12 years,        9   dose-response to women who reported ever use of
      10   which -- oh, the 13 to 30 was adjusted OR of        10   talc did not affect the results, data not shown.
      11   1.45, confidence interval .9 to 2.32.               11   The lack of dose-response between talc use and
      12       And then the greater than 30 years was OR of    12   epithelial ovarian cancer may be explained by the
      13   1.22 with confidence interval of .72 and 2.08.      13   inability to quantify the actual amount of talc
      14   So the 13 to 30 and the greater than 30 includes    14   used per application and the timing of the
      15   the null.                                           15   application."
      16       And then if we look at frequency, cumulative    16      A. Yeah. So with that caveat.
      17   use, frequency types duration, there was a          17      Q. Well, the findings are what they are;
      18   statistically significant increase with second      18   right?
      19   quartile and third quartile divisions. But then     19      The findings are no dose-response
      20   it dropped in the fourth quartile, the highest      20   relationship?
      21   exposure.                                           21      A. The findings are what they are. But,
      22       And, you know, again, sort of difficulty in     22   again, it's not an easy -- there's not huge
      23   measuring this. But you do see an increase in       23   numbers in these cases.
      24   the second and third quartile, between the second   24      And, again, you still don't know from woman
      25   and third, that was statistically significant.      25   to woman what one dose is, so there's a ton of
                                                Page 275                                                 Page 277
       1   And then --                                          1   variability. It's not like a cigarette, where,
       2       Q. But the authors themselves interpret          2   you know, from one cigarette to the next or, you
       3   their data as no dose-response association;          3   know, a drug dose is probably a more accurate
       4   correct?                                             4   analogy, you know.
       5       A. In the abstract, that's what they             5       Q. True. But just because it's difficult
       6   state. I'm trying to figure out what their --        6   to study, it doesn't mean if we could study it
       7   what they said. They must have said a little bit     7   better, we would get a positive result, does it?
       8   more.                                                8       A. I -- oh, my thing is not working. I
       9       Q. Doctor, you reviewed this study before;       9   think I have to plug my thing in.
      10   right?                                              10          MR. ROTMAN: Can you?
      11       A. I did. Yes.                                  11          COURT REPORTER: I'd have to break to
      12       Q. Okay.                                        12   do it.
      13       A. I'm just refreshing my memory.               13          MR. ROTMAN: Let's go off the record.
      14       Q. Okay. If you look at Page 463.               14          THE VIDEOGRAPHER: Off the record.
      15          MR. ROTMAN: Are you changing the             15   4:37 p.m.
      16   topic?                                              16            (A recess was taken.)
      17          MS. AHERN: No. Same topic.                   17          THE VIDEOGRAPHER: Back on the record,
      18          MR. ROTMAN: She was looking for              18   4:44 p.m.
      19   something as part of a prior answer.                19   BY MS. AHERN:
      20   BY MS. AHERN:                                       20       Q. Okay. Doctor, you saw the Mills paper
      21       Q. As part of your prior answer that there      21   in front of you?
      22   was no dose-response?                               22       A. Yes.
      23       A. As part of the answer that they stated       23       Q. Okay. Could you look at your report on
      24   that in the abstract. I was trying to find out      24   Page 21?
      25   where they had a discussion.                        25             (Witness complies.)
                                                                             70 (Pages 274 to 277)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 134 of 348 PageID:
                                   60908

                                           Sarah E. Kane, M.D.
                                                Page 278                                                  Page 280
       1      A. Okay.                                          1      Q. Is there a reason that that entire
       2      Q. Let's see, where is my copy?                   2   portion of your report is copied identically from
       3      And turn to Page 3 of the Mills publication.      3   Mills except for the qualifier that the pattern
       4      A. Page 3, which would be Page 460?               4   was not clear-cut for dose-response?
       5      Q. That's a good question.                        5      A. Well, I think it still has the same
       6      Where is my Mills publication?                    6   meaning.
       7          MS. AHERN: Do you have it?                    7      Q. Without the qualifier?
       8          MR. TISI: Sure.                               8      A. I think the qualifier is in the -- in
       9          MS. AHERN: Thank you.                         9   the data.
      10          Oh, I know where it is.                      10      Q. Okay.
      11   BY MS. AHERN:                                       11      A. I don't think I was -- I wasn't trying
      12      Q. I'm sorry. I thought I had the                12   to make it sound anything different than what it
      13   specific passage marked. And I do, somewhere in     13   was. I think I was trying to report the data.
      14   here. Okay. Sorry. It's on Page 460. I              14      Q. Okay. All right. And, Doctor, if you
      15   apologize.                                          15   turn to Page 10 of your report, the section on
      16      A. Okay.                                         16   inflammation.
      17      Q. All right. Do you see on the Mills            17      Are you there?
      18   publication on Page 460 that bottom paragraph on    18      A. Yes.
      19   the left, "ever use of talcum powder"?              19      Q. You start on the second paragraph under
      20      A. Yes.                                          20   "Inflammation" discussing oxidative stress.
      21      Q. And if you read down toward the bottom        21      A. Okay.
      22   part of that paragraph, on the fourth line from     22      Q. Okay. Were you aware that a
      23   the bottom, the sentence starts "Duration of        23   significant amount of the section of your report
      24   use."                                               24   on oxidative stress is copied verbatim? More
      25      A. Okay.                                         25   than 60 percent of it, I think, is copied
                                                Page 279                                                  Page 281
       1        Q. "Duration of use of talcum powder was        1   verbatim from Dr. Saed's 2018 publication?
       2   associated with increased risk, although the         2        A. Again, if the language is similar, it
       3   pattern was also not clear-cut in that the point     3   was not an intentional. I am citing him here, so
       4   estimate peaked among those reporting 4 to 12        4   it's -- you know, it's clear that those are the
       5   years of use and declined somewhat among those       5   references. Again, it might have been due to
       6   reporting longer duration of use."                   6   note-taking, but the citation is clear.
       7        Do you see that statement?                      7        Q. Do you ever take verbatim language out
       8        A. I see that. Yup.                             8   of another scientist's work and not set it off in
       9        Q. And if you look at your report on            9   quotation marks in your professional work?
      10   Page 21, the top paragraph, about midway, a         10        A. I think I've cited the source here.
      11   little -- well, a third of the way down, you pick   11   It's -- so it's not -- again, it's not like I was
      12   up with "Duration of use of talc was also           12   intentionally copying his words. It was, again,
      13   associated with increased risk, although the risk   13   probably an editing while I was taking notes, but
      14   peaked."                                            14   the citations are clear.
      15        Do you see that statement?                     15        Q. Is your -- is the underlying
      16        A. Yes.                                        16   understanding that you have related to oxidative
      17        Q. If you compare those statements, are        17   stress and inflammation drawn primarily from
      18   they almost identical with the exception of the     18   Dr. Saed's work?
      19   statement by Mills that the pattern was not         19        A. No. I mean, oxidative stress and
      20   clear-cut?                                          20   inflammation is something that we study -- that
      21        A. They are similar. This might have           21   I've studied.
      22   been, like I described earlier, where, if I was     22        Q. Have you ever published a study on
      23   taking notes, some of the language might have       23   oxidative stress or redox biology?
      24   gotten incorporated, although I do have the         24        A. I have not published on oxidative
      25   citation.                                           25   stress.
                                                                             71 (Pages 278 to 281)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 135 of 348 PageID:
                                   60909

                                           Sarah E. Kane, M.D.
                                                Page 282                                                 Page 284
       1       Q. What sort of work as a pathologist have       1       A. I did attribute -- I certainly cited
       2   you done that incorporates redox biology?            2   him in several places in this area. And, again,
       3       A. Well, again, this is part of our              3   it was not an intentional copying. Again, it
       4   medical training. Certainly in training to be a      4   might have just happened with my editing, but I
       5   physician, that is something that we learn. And,     5   certainly tried to cite everything that I was
       6   you know, pathologists do quite frequently come      6   looking at in the proper place.
       7   across inflammatory -- inflammation literature.      7       But I do believe that it's common knowledge
       8       Q. Are you -- is it your position that the       8   that chronic inflammation can cause different
       9   information in your report under "Inflammation"      9   types of cancer. This is not really new data.
      10   that discusses oxidative stress and redox biology   10       Q. Dr. Saed says that it's new data.
      11   is common knowledge among pathologists?             11       A. In what respect, though? If we're
      12       A. That oxidative stress and inflammation,      12   talking about myeloperoxidase, yes. But I'm
      13   yes. I think -- yes. I think that's widely          13   talking about oxidative stress and chronic
      14   accepted.                                           14   inflammation with known association with certain
      15       Q. The specific information contained on        15   types of cancer.
      16   Pages 10 and 11 of your report that was drawn       16       Q. So it's your testimony that the
      17   from Dr. Saed's work, is that information that is   17   verbatim text that you used in the section from
      18   common knowledge?                                   18   Dr. Saed's 2018 paper was appropriately cited and
      19       The specific enzymes that are discussed, the    19   attributed to him?
      20   research on these issues, is that specific          20          MR. ROTMAN: Objection.
      21   information there common knowledge?                 21       A. Again, I'm not sure it's absolutely
      22       A. It's common knowledge that these types       22   verbatim, but I certainly cited him in every
      23   of cancer are associated with inflammation, and     23   place that I was referencing.
      24   certainly oxidative stress is part of               24       Q. Okay. We'll just move on.
      25   inflammation.                                       25            (Highlighted copy of Dr. Kane's
                                                Page 283                                                 Page 285
       1        Q. Was this common knowledge to you before      1       expert report marked Exhibit 23.)
       2   you reviewed Dr. Saed's 2018 publication?            2   BY MS. AHERN:
       3        A. Yes. I was just citing his report at         3       Q. Doctor, I've marked as Exhibit 23 to
       4   this point.                                          4   your deposition a highlighted copy of your report
       5        Q. Are you aware you also cited his             5   that shows the verbatim text that has been
       6   underlying citations in the same spots that he       6   carried over from various publications into your
       7   cited them?                                          7   report.
       8        A. That's possible because I reviewed his       8       If you turn to Page 10 and 11, you'll see
       9   citations as I was reading his citations.            9   that the highlighted portions are copied directly
      10        Q. Did Dr. Saed give you permission to         10   from Dr. Saed's work.
      11   copy his -- the language from his publication?      11           MR. ROTMAN: Do you have a copy for me
      12        A. I wouldn't characterize it as               12   of this exhibit?
      13   "copying." I think it may be similar language,      13           MS. AHERN: Oh. I do. Sorry about
      14   again, because I was writing as I was reading.      14   that.
      15   But I am certainly clearly citing his work and      15           MR. ROTMAN: So we're at Page 10 and
      16   the other citations.                                16   11?
      17        Q. Do you agree that Dr. Saed's 2018           17           MS. AHERN: That's just for the Saed
      18   paper is a compilation of his own synthesis and     18   publication. And there's one in there that Saed
      19   review of the underlying articles that he           19   was also on.
      20   incorporated into his paper, and do you think       20           MR. ROTMAN: Does she have the Saed
      21   it's appropriate for you to just lift the           21   publication in front of her?
      22   language from his paper and the citations that he   22           MS. AHERN: I can find it for you.
      23   found and synthesized and put it in your report     23   BY MS. AHERN:
      24   and not attribute it to him with quotation marks?   24       Q. But my point is, are you aware that
      25          MR. ROTMAN: Objection.                       25   that -- that there's a significant portion of
                                                                             72 (Pages 282 to 285)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 136 of 348 PageID:
                                   60910

                                          Sarah E. Kane, M.D.
                                               Page 286                                                Page 288
       1   that section of your report that is just            1   biology and inflammation, are you?
       2   cut-and-pasted from Dr. Saed's work?                2       A. I am not currently participating in a
       3       A. I don't believe -- again, it's -- it         3   study of oxidative stress or redox biology.
       4   wasn't intentional with the citations, and it       4       Q. You don't have any funding related to
       5   could have happened with my note-taking or other    5   oxidative stress and inflammation, do you?
       6   suggested input. But, again, I cited -- I           6       A. No, I do not.
       7   certainly cited him in that section.                7       Q. Have you ever applied for any funding
       8       Q. Okay.                                        8   in that area?
       9          MR. TISI: Did you mark that?                 9       A. No. I have not.
      10          MS. AHERN: Hmm?                             10       Q. Have you ever authored a systematic
      11          MR. TISI: Did you mark that as an           11   review of the literature on oxidative stress and
      12   exhibit?                                           12   inflammation?
      13          MS. AHERN: Yes. I think it's 23.            13       A. Oxidative stress and inflammation, no.
      14   Sorry.                                             14   I don't believe I have.
      15          MR. TISI: That's okay.                      15       Q. Have you ever authored a systematic
      16          MR. ROTMAN: Do you have the Saed in         16   review of the literature on oxidative stress and
      17   front of you?                                      17   cancer?
      18   BY MS. AHERN:                                      18       A. No. I have not authored a systematic
      19       Q. I think it's -- it wasn't intentional       19   review on that.
      20   is your testimony, and it's probably just a        20       Q. Okay. Doctor, moving on to
      21   result of your note-taking process; is that        21   inflammation and ovarian cancer.
      22   correct?                                           22       Generally, on inflammation, can you cite to
      23       A. Well, because I cited him specifically,     23   a published experiment that was conducted in
      24   certainly it wasn't intentional to be verbatim.    24   animals in vivo that establishes a role of any
      25   And I'm not sure exactly the process, but          25   particular inflammatory cell or cytokine or
                                               Page 287                                                Page 289
       1   certainly I'm citing him several times there.       1   enzyme in tumor regenesis?
       2       Q. Okay. That's fine. We'll just move           2       A. Oh. Let me -- let me bring up my
       3   on.                                                 3   inflammation section. Sorry. I'm just
       4       And, Doctor, just to be clear, I understand     4   refreshing myself as to what I stated in my
       5   your testimony is that it is common knowledge to    5   report.
       6   pathologists that oxidative stress and              6       Oh, this is low battery again. I don't
       7   inflammation are related; correct?                  7   think this is plugged in.
       8       A. Yes.                                         8          MR. ROTMAN: Can we take five minutes
       9       Q. Okay. But you are -- we're talking           9   off the record?
      10   about oxidative stress and redox biology           10          MS. AHERN: Yes.
      11   specifically as a field of study or research.      11          THE VIDEOGRAPHER: Off the record,
      12       You're not an expert in that field of study    12   5:02 p.m.
      13   or research, are you?                              13            (A recess was taken.)
      14       A. I certainly have read literature in         14          THE VIDEOGRAPHER: Here begins Media
      15   that area.                                         15   No. 6 in today's deposition of Sarah Kane, M.D.
      16       Q. Does that make you an expert?               16   Back on the record, 5:28 p.m.
      17       A. I'm -- I mean, I'm familiar with            17            (Article entitled "Talcum
      18   literature in the area. That's -- that's my        18       powder, chronic pelvic inflammation and
      19   answer.                                            19       NSAIDs in relation to risk of epithelial
      20       Q. Okay. But you don't conduct studies in      20       ovarian cancer" marked Exhibit 24.)
      21   oxidative stress and redox biology, do you?        21   BY MS. AHERN:
      22       A. I do not conduct studies in oxidative       22       Q. Dr. Kane, I'm marking what's been --
      23   stress and redox biology.                          23   well, I'm marking Exhibit 24 to your deposition,
      24       Q. You're not currently participating in a     24   which is a copy of the Merritt 2008 publication.
      25   study looking at oxidative stress or redox         25   And I'm sorry, I don't have an extra. I'm going
                                                                            73 (Pages 286 to 289)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 137 of 348 PageID:
                                   60911

                                           Sarah E. Kane, M.D.
                                                Page 290                                                 Page 292
       1   to share.                                            1   of multiple publications.
       2       It's "Talcum powder, chronic pelvic              2       A. Right.
       3   inflammatory -- sorry, chronic pelvic                3       Q. You're saying that some of those
       4   inflammation and NSAIDs in relation to risk of       4   publications shouldn't be in there because you
       5   epithelial ovarian cancer."                          5   added "statistically significant" as a criteria
       6       And you cite Dr. Merritt's paper a couple of     6   later?
       7   times in your report; is that correct?               7       A. Exactly.
       8       A. I believe I cited it, yes.                    8       Q. Okay. That's actually not my question
       9       Q. I think you cite it as a statistically        9   about Merritt, but thank you.
      10   significant positive talc study on Page 17 of       10       A. I knew that was going to come up --
      11   your report?                                        11       Q. That's okay.
      12       A. Oh, let me get to that, if that's the        12       A. -- at some point.
      13   section I'm thinking of.                            13       Q. While we're there, since we're sitting
      14       Q. There are a couple of places?                14   here looking at this, so these are -- you listed
      15       A. There was -- yes. This happened in           15   out case-control studies addressing talc, and
      16   editing. I believe if this is -- so the sentence    16   they're supposed to be those that have
      17   ended up, it originally didn't have the             17   statistically significant odds ratios; correct?
      18   "statistically significant." It was just, you       18       A. That's correct. That was the
      19   know, an odds ratio greater than one and listed.    19   intention.
      20       And then I mistakenly didn't delete. When I     20       Q. And Gertig 2000 is there, and Houghton
      21   changed it to "statistically significant," for      21   2014 are there, and they're obviously cohort
      22   some reason -- I don't know if it happened in the   22   studies?
      23   editing between additions or something -- somehow   23       A. So, again, I think that somehow that
      24   I seem to remember deleting them. But in the        24   paragraph got all -- and I didn't catch it in the
      25   final, they ended up all there. So that was a --    25   final edits.
                                                Page 291                                                 Page 293
       1           MR. ROTMAN: What page was this?              1       Q. Okay.
       2       A. -- typographical error.                       2       A. I know that that was at least a
       3       It's in there twice. I noticed it after I        3   different paragraph at first, possibly two
       4   submitted it, and it was one of those --             4   paragraphs that got condensed. And then somehow,
       5       Q. Are you saying Merritt is not                 5   the references didn't get changed in the final.
       6   statistically significant?                           6       Q. Okay. Do you happen to know -- and if
       7       A. So I know which -- again, I'd have -- I       7   you don't it's okay -- but do you happen to know
       8   have to go through. It's been a long day, and        8   which of these studies should be there and which
       9   the names are starting to get all confused.          9   should be removed?
      10       Q. Yeah.                                        10       A. Off -- I would want to look just to
      11       A. But I know that that sentence, with          11   make sure.
      12   "all of those" at the end of that sentence, is      12       Q. Okay.
      13   incorrect because I had changed -- I had meant to   13       A. But I'm -- if I am -- I'd want to look
      14   list cumulatively the statistically significant     14   just to make sure, but I know there are some that
      15   ones and ended up --                                15   should not be there.
      16       Q. Okay. So just to clarify for the             16       Q. All right. But looking at Merritt,
      17   record, on Page 17, we're talking about the first   17   there are a couple of places where Merritt is
      18   full paragraph that says, "In addition to the       18   cited in your report. One is Page 17 in that
      19   Cramer 1982 study, numerous other case-control      19   paragraph we just looked at. Another is Page 28
      20   studies addressing talc use and ovarian cancer      20   in Section -- the "Pooled study regarding talc
      21   have shown statistically significant odds ratios    21   use and ovarian cancer" section.
      22   greater than one indicating talc use is             22       It says some -- let's see, you're talking
      23   associated with an increased ovarian cancer         23   about the advantages of pooled studies, and you
      24   risk."                                              24   cited Merritt 2008.
      25       And then there's a string cite with a number    25       A. Okay.
                                                                             74 (Pages 290 to 293)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 138 of 348 PageID:
                                   60912

                                          Sarah E. Kane, M.D.
                                                Page 294                                                Page 296
       1       Q. And then on Page 35, Merritt is cited.       1   endometriosis.
       2   "Studies evaluating duration and frequency of       2      And do you see if you turn to -- I'm trying
       3   perineal use, most have found an increased risk     3   to get through this quickly. You're welcome to
       4   of ovarian cancer with increased exposure."         4   point out anything you want, but I kind of want
       5       We already went through this paragraph          5   to move us along.
       6   earlier --                                          6      A. Okay.
       7       A. Yeah. Yeah.                                  7      Q. If you look at the "Discussion"
       8       Q. -- and discussed Merritt a little bit        8   section, I, unless I missed it, on Page 174, the
       9   in that context.                                    9   right-hand column, second full paragraph, they
      10          MR. ROTMAN: Page 30 -- the last one         10   note that "It has been hypothesized that talc is
      11   was Page 35?                                       11   linked to ovarian cancer development through
      12          MS. AHERN: Thirty-five. Yeah. I             12   inflammation. However, evidence linking an
      13   apologize. We may not have discussed Merritt.      13   inflammatory response with talc contamination of
      14   BY MS. AHERN:                                      14   the ovaries is lacking."
      15       Q. But looking at Merritt now, you're          15      Do you agree or disagree with that statement
      16   aware that Merritt looked specifically at          16   that evidence linking an inflammatory response
      17   inflammatory conditions as part of their           17   with talc contamination of the ovaries is
      18   exploration of the hypothesis that chronic         18   lacking?
      19   inflammation could lead to ovarian cancer; is      19      A. I don't know if I would phrase it that
      20   that right?                                        20   way. Have there been studies that have followed
      21       A. Yes. There was a component from what I      21   talc from application up to the ovaries and
      22   remember.                                          22   documenting an inflammatory response after talc?
      23       Q. They say in the abstract that "Chronic      23   No. There's not going to be that study.
      24   inflammation has been proposed as the possible     24      That would be -- I don't think you could do
      25   causal mechanism that explains the observed        25   that study today with talc being called by the
                                                Page 295                                                Page 297
       1   association between certain risk factors such as    1   IARC a possible carcinogen. I don't think you
       2   the use of talcum powder or talc in the pelvic      2   could design that study right now and do that in
       3   region and epithelial ovarian cancer."              3   women.
       4       Do you see that? It's in the abstract, the      4       But, again, I think -- I think it's still a
       5   first sentence?                                     5   highly compelling, plausible mechanism because we
       6       A. Yeah. Okay. The first sentence.              6   know talc can cause inflammation, and
       7       Q. Okay. They go on to say, "To address         7   inflammation is associated with certain cancers,
       8   the issue, we evaluated the potential role of       8   including certain types of ovarian cancers.
       9   chronic local ovarian inflammation in the           9       So I don't know if I would state it that
      10   development of the major subtypes of epithelial    10   way.
      11   ovarian cancer."                                   11       Q. When you say inflammation is associated
      12       Do you see that?                               12   with ovarian cancer, what studies are you
      13       A. Yes.                                        13   referring to?
      14       Q. Okay. And just want to ask you: They        14       A. I'm referring to, for example, clear
      15   conducted the study as a case-control study        15   cell carcinomas that have arisen from
      16   looking at 2319 women with epithelial ovarian      16   endometriotic lesions that we've talked about
      17   cancer; correct?                                   17   before.
      18       A. I don't remember the exact number, but      18       Q. And those cells are -- the originating
      19   I will -- I will --                                19   cells are thought to come from the endometrium
      20       Q. I think that's -- that's okay.              20   itself, the uterus; correct?
      21       A. I don't remember the exact number.          21       A. I don't know if we know for sure. I
      22       Q. Okay. So they looked at a number of         22   mean, is it endometriosis that's in the ovary
      23   factors that are theoretically associated with     23   causing chronic inflammation in the ovarian cells
      24   chronic inflammation, didn't they, including       24   that are causing the clear cell? I don't know if
      25   pelvic inflammatory disease and talc use,          25   that's been completely delineated.
                                                                            75 (Pages 294 to 297)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 139 of 348 PageID:
                                   60913

                                          Sarah E. Kane, M.D.
                                                Page 298                                                 Page 300
       1       Q. But there are markers that will               1   inflammatory mechanism in the development of
       2   distinguish ovarian surface epithelial cells from    2   epithelial ovarian cancer. However, experimental
       3   endometrioid cells which resemble endometrial        3   evidence that perineal talc use elicits an
       4   cells; correct?                                      4   inflammatory response in the ovaries is lacking,
       5       A. There are some stains that you can do.        5   and overall, we conclude that chronic
       6   But, again, I don't know if it's going to be --      6   inflammation does not play a major role in
       7   been completely elucidated.                          7   development of ovarian cancer."
       8       Q. Are you aware of recent studies that          8       Is there a reason you didn't cite the
       9   have demonstrated that there is some abnormality     9   Merritt study in your report specifically when
      10   in the endometrium of women who develop             10   discussing evidence of chronic inflammation and
      11   endometriosis when compared to women who don't      11   ovarian cancer, a link between those two?
      12   develop endometriosis?                              12       A. In the places that I -- let me just
      13       A. I'm aware that retrograde migration of       13   double-check. Places that I mention, was I
      14   the endometrium is thought to -- has been           14   not -- I wasn't talking about inflammation. Is
      15   associated with endometriosis. I don't know what    15   that what you're --
      16   you mean by "abnormalities" of the -- you have to   16       Q. Yes. You agree you cited Merritt in
      17   be more specific. I can't --                        17   several places in your report?
      18       Q. I don't have the publication with me.        18       A. Yes.
      19   I was just asking if you were aware of those        19       Q. But you didn't cite anything about the
      20   studies.                                            20   inflammation findings from Merritt.
      21       A. I probably read them at some point, but      21       A. I'm not sure I can completely agree
      22   off the top of my head, I'm not really sure         22   with their conclusion. It's true we don't
      23   without knowing more specifically.                  23   have -- like I mentioned before, we don't have a
      24       Q. And would you agree that the studies,        24   study that has looked at women who use talc,
      25   though, that show a decreased risk of ovarian       25   follow it up, and then see chronic inflammation
                                                Page 299                                                 Page 301
       1   cancer for women who have tubal ligation are         1   in the ovary.
       2   studies -- well, are more highly associated with     2       But I think that's going to be -- again, we
       3   endometrioid clear cell carcinomas than with         3   don't know how long that chronic inflammation is
       4   high-grade serous?                                   4   going to be there. We don't know what dose is
       5       A. With tubal ligation, off the top of my        5   getting into the ovary.
       6   head, I believe that's -- that that's the case.      6       I still think -- and, again, this is the
       7       But with salpingectomy, which removes the        7   plausibility part of it -- I think there's still
       8   fallopian tube fimbriae, there's -- that             8   compelling evidence that talc can cause an
       9   decreases the risk of serous carcinomas.             9   inflammatory response that would explain the risk
      10       Q. To a lesser extent, then, the decrease       10   of increased risk of ovarian cancer with talcum
      11   for clear cell and endometrioid, which some         11   powder products.
      12   people have suggested supports the retrograde       12       So, I mean, I certainly read this. It had
      13   migration of endometrial cells into the abdominal   13   some good information in it. I don't think I was
      14   cavity?                                             14   purposely trying to leave out something that had
      15       A. Some people have said that that              15   evidence. This was their opinion.
      16   supports the retrograde migration of the            16       And I'm -- I don't know if I would phrase it
      17   endometrial cells. That is correct.                 17   that way, the exact words that they use.
      18       Q. And I got off topic. We're looking at        18       Q. Well, if those are exactly their
      19   Merritt. Page 174, if you look, let's see --        19   findings here -- if you look at the top of the
      20   here it is. Sorry. I apologize, on Page 175.        20   summary paragraph, "In summary, most factors that
      21       The very bottom of the summary paragraph, it    21   could potentially cause ovarian inflammation such
      22   says, "The elevation in ovarian cancer risk         22   as pelvic inflammatory disease, HPV infection,
      23   associated with use of talc in the perineal         23   and postpubertal mumps were not associated with a
      24   region that we and others have observed has been    24   significant elevation in ovarian cancer risk in
      25   regarded as the main evidence supporting an         25   our study. In addition, the expected corollary,
                                                                             76 (Pages 298 to 301)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 140 of 348 PageID:
                                   60914

                                          Sarah E. Kane, M.D.
                                                Page 302                                                 Page 304
       1   an inverse association with regular use of           1      Q. I'm sorry. I'm just referring
       2   anti-inflammatory medications, was also not          2   generally.
       3   observed -- or was not observed."                    3      Do your opinions, in part, depend on the
       4       A. Yes. Yeah. Yeah.                              4   finding of talc in ovaries?
       5       Q. They looked at multiple sources or            5      A. No. Because I think, again, it's
       6   multiple causes of inflammation in the pelvic        6   difficult to find talc in the ovaries. So I
       7   region and did not find an association with the      7   would not expect to see -- to find, to
       8   risk of ovarian cancer, and they didn't find a       8   histologically find talc in every ovary of a
       9   decreased risk in people that used                   9   woman who has used talcum powder products. I
      10   inflammatory -- anti-inflammatory medications.      10   think that would be extremely difficult to do in
      11       A. I think I mentioned --                       11   every patient.
      12       Q. So this is an inflammation study, isn't      12      And I know we talked about the MUC-1 theory
      13   it?                                                 13   earlier, but if that is the mechanism, that would
      14       A. Yeah. I think I mentioned in -- about        14   not require talc to get to the ovary.
      15   NSAIDs that I might have cited them in that         15      So, no, I don't think it's necessary to find
      16   section, that the evidence was not consistent       16   talc in the ovary in every woman to come --
      17   with NSAIDs, if I remember correctly.               17   that's a user.
      18       I definitely looked at this paper when I was    18      Q. Let's talk about evidence for
      19   looking at NSAID and aspirin use and certainly      19   talc-induced inflammation in the ovary.
      20   inflammation as well. So...                         20      For instance, you've cited the Heller study
      21       Q. It's actually not cited anywhere with        21   from 1996 in your "Migration translocation,
      22   NSAID use or regarding inflammation at all.         22   inhalation, and lymphatic transport" section on
      23       So maybe it was an earlier draft and was        23   Page 14.
      24   removed at some point?                              24      A. Mm-hmm.
      25       A. It's possible.                               25      Q. Heller actually states in their study
                                                Page 303                                                 Page 305
       1      Q. And you also -- you cite -- you do cite        1   that they did not find on their H&E slides any
       2   some of the NSAID studies and aspirin studies,       2   response -- any expected response to talc
       3   but you leave out others. You leave out Baandrup     3   particles.
       4   2013, which was a negative study; Bonovas, 2005,     4       Do you remember that?
       5   which was a negative study; Ni, 2012, which was a    5       A. I do remember that vaguely. Yes.
       6   negative study.                                      6       Q. Did any of the studies that you cite in
       7      When you did your review of inflammation          7   that section for the proposition that talc has
       8   including anti-inflammatory medications and the      8   been found in ovarian tissue, did any of those
       9   risk of ovarian cancer, did you pull out more        9   find a reaction to talc in the ovaries?
      10   studies in review than you actually included in     10       A. I don't believe the studies that have
      11   your report?                                        11   found talc in the ovaries have all looked for
      12      A. Yes. There are definitely more studies        12   chronic inflammation. Some of them, if I'm
      13   than were cited in my report.                       13   remembering correctly, I don't know if they all
      14      Q. Is there a reason you didn't cite the         14   looked histologically; but the ones that did, I
      15   negative studies?                                   15   don't believe they had mentioned finding chronic
      16      A. I didn't intentionally leave out the          16   inflammation near the talc particles.
      17   negative studies, but I do mention that the         17       But again, you know, depending on how long
      18   evidence had been inconsistent with NSAID.          18   that inflammatory response is going to be there,
      19      Q. Okay. And you mentioned the Heller            19   depending how long that particular talc particle
      20   study in a couple of places. You mentioned          20   has been there, you wouldn't necessarily expect
      21   several times that part of your plausibility        21   to still see it 20 years later.
      22   opinions involve the fact that talc has been        22       Q. Okay. In the Heller study, they looked
      23   observed in the ovaries; correct?                   23   at ovarian tissue -- ovaries from one of their
      24      A. Can you show me? I'm sorry. I just            24   subjects who had 1.7 or approximately
      25   want to make sure.                                  25   1.669 million particles per gram of wet weight by
                                                                             77 (Pages 302 to 305)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 141 of 348 PageID:
                                   60915

                                          Sarah E. Kane, M.D.
                                                Page 306                                                 Page 308
       1   electron microscopy and found on hematoxylin and     1           MS. AHERN: What number are we on?
       2   eosin stain slides from the analyzed sections of     2           COURT REPORTER: Twenty-five.
       3   the tissue that no evidence of response to talc      3           MS. AHERN: Twenty-five.
       4   such as foreign body giant cell reactions or         4           MR. TISI: So 24 was --
       5   fibrosis in the tissue.                              5           MS. AHERN: We'll wait.
       6       Is that consistent with the other studies        6             (Article entitled "The
       7   that have reported findings from H&E have also       7       relationship between perineal cosmetic talc
       8   reported no response to talc or supposed talc        8       usage and ovarian talc particle burden"
       9   they found?                                          9       marked Exhibit 25.)
      10       What is an alternative explanation for how      10       A. I believe they went through standard
      11   microscopists doing these sorts of studies might    11   electron microscopy methods, which controls for
      12   find talc by TEM or SEM without any histologic      12   contamination.
      13   response --                                         13   BY MS. AHERN:
      14           MR. ROTMAN: Objection.                      14       Q. How?
      15       Q. -- to talc in the tissue?                    15       A. I don't know if it goes through the
      16       A. Well, I think I addressed that a little      16   whole -- but they're very careful in how they
      17   earlier. Again, I don't know -- we don't know       17   handle tissue before they prep for electron
      18   how long a chronic inflammatory response would be   18   microscopy.
      19   there after a particular talc particle lands on     19       Q. Doctor, do you know where they got the
      20   the ovary.                                          20   tissue from?
      21       But the important thing would be that that      21       A. Yeah. It's listed.
      22   chronic inflammation, the initial chronic           22       Q. Did they collect the tissue themselves
      23   inflammation, whenever that may be, however long    23   from the patient in a particulate-free
      24   it is there, causes oxidative stress that induces   24   environment and handle it with particulate-free
      25   an oncogenic change in an ovarian cell or           25   gloves in containers, or did they get it from
                                                Page 307                                                 Page 309
       1   fallopian tube cell, for that matter.                1   hospital paraffin-embedded tissue?
       2       So -- and these are very small studies that      2       If you look on Page 1508, "Ovarian tissue in
       3   looked at histologic -- that looked                  3   blocks was reparafinized, rehydrated, blotted dry
       4   histologically for talc in these ovaries.            4   and weighed, and then digested with reagents."
       5       So, you know, I don't necessarily think -- I     5       A. So I think these women were talc users.
       6   don't think that you would have to find chronic      6   I'm trying to find controls that they had ovaries
       7   inflammation if you're looking at an ovary at a      7   from -- if I remember correctly, they had ovaries
       8   particular point in time when we're talking about    8   from fetal cases that did not show talc, if I
       9   long-term talc use from, you know, up to 20 years    9   remember correctly. I'm trying to find that.
      10   ago or something.                                   10       Yeah. "In addition, the ovaries of two
      11       Q. Well, if they're finding 1.7 million         11   stillborn fetuses were analyzed as negative
      12   particles per gram of wet tissue right then and     12   controls."
      13   there, and their slides from that time period       13       Q. Does it say anything about where those
      14   don't show any response whatsoever to talc that     14   stillborn fetus ovaries came from and if they
      15   they would expect to see, what's an alternative     15   were handled in the same hospital in the same way
      16   explanation?                                        16   that the parafinized blocks were handled?
      17       A. An alternative explanation is that           17       A. If they didn't have a separate section
      18   there was chronic inflammation, and it has since    18   of their methods how they handled it, it would be
      19   resolved.                                           19   the same methodology.
      20       Q. How about there might be contamination       20       Q. Well, assuming it's not contamination
      21   of their samples with talc, which is ubiquitous     21   and there's still no reaction to talc, another
      22   in many laboratories?                               22   alternative explanation might be that talc
      23       A. I believe they -- I have to look at the      23   doesn't cause chronic inflammation in the
      24   study to -- do you have the study?                  24   ovaries.
      25          MR. ROTMAN: Thank you. What number?          25       A. But they didn't find talc in their
                                                                             78 (Pages 306 to 309)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 142 of 348 PageID:
                                   60916

                                          Sarah E. Kane, M.D.
                                                Page 310                                                 Page 312
       1   negative controls, which were fetal females that     1   something that would happen over days. Chronic
       2   would never have been exposed to talc.               2   inflammation is generally longer, but it still
       3       Q. Except for after the tissues were taken       3   resolves.
       4   from the fetuses and processed?                      4       Q. And are -- for instance, pelvic
       5       A. I'm just trying to find where they --         5   inflammatory disease is -- the effects of pelvic
       6   what they did.                                       6   inflammatory disease can be seen by pathologists
       7       Q. What I wonder and what I don't think is       7   for a very long time; correct?
       8   in the paper, unless you can find it, is an          8       A. You can see fibrosis. So...
       9   explanation for how the fetal ovaries were           9       Q. And one of the things that you
      10   obtained and processed.                             10   mentioned earlier is that talc can cause
      11       Did they come from the same hospital            11   fibrosis?
      12   system --                                           12       A. Talc can cause fibrosis. You get -- in
      13       A. It would be the same.                        13   the ovary, however, you will get surface
      14       Q. -- from the laboratory so that any           14   fibrosis, generally, from the mesothelial cells
      15   contamination that occurred to those tissues        15   in the surface.
      16   prior to the Heller group getting them was          16       But, again, you're not always going to have
      17   accounted for?                                      17   fibrosis with chronic inflammation, either.
      18       Or did they purchase them separately through    18       Q. If it's chronic inflammation that is
      19   a company or something else that handled them       19   significant enough to lead to a transformative
      20   differently from the hospital samples?              20   event, shouldn't you expect to see some evidence
      21           MR. ROTMAN: Objection.                      21   of that chronic inflammation?
      22       A. If those were obtained differently, it       22       A. Well, we don't know how much chronic
      23   should have been in the methodology. So the fact    23   inflammation is necessary to cause a carcinogenic
      24   that it's not there, the next sentence after they   24   effect.
      25   say, "In addition, the ovaries of two stillborn     25       Q. By analogy, wouldn't you look at
                                                Page 311                                                 Page 313
       1   fetuses were analyzed as negative controls," that    1   something like ulcerative colitis and colon
       2   is where, if it had been a different methodology     2   cancer since that seems to be a fairly
       3   or different purchased ovarian cell blocks from      3   well-established association?
       4   fetuses, which I have never -- anyway, it would      4       A. Yes. And as soon as patients are
       5   be -- it would be there. And it's not.               5   diagnosed with ulcerative colitis and Crohn's
       6       Q. Hmm. So my next question is: I had            6   disease, they are carefully followed at the
       7   asked you earlier if there was an alternative        7   beginning. We don't wait 20 years to start
       8   explanation for why there's no tissue response       8   following them. We know that, you know, the risk
       9   seen in this study to talc particles, and you        9   is there. As soon as they're diagnosed, we know
      10   said it could be because the chronic inflammation   10   there is a risk for increased cancer, so we start
      11   was there and not there at the time that they       11   surveying them.
      12   looked at the H&Es?                                 12       Q. But there's massive evidence of
      13       A. Yeah. I mean, you're looking at an           13   inflammation -- tissue-damaging inflammation in
      14   ovary at a very -- at one time point. So we         14   ulcerative colitis; correct?
      15   don't know how long those talc particles were       15       A. Not always massive, but there's chronic
      16   there. We don't know if -- how long -- we don't     16   inflammation.
      17   know how long the chronic inflammation is there.    17       Q. Throughout the entire GI tract or
      18       But the important thing is that the chronic     18   bowel?
      19   inflammation would cause an event to change to an   19       A. In -- it's not always the whole, but
      20   oncogenic phenotype, gene type.                     20   yeah, there's chronic inflammation in the
      21       Q. So chronic inflammation is, by               21   intestines.
      22   definition, chronic; correct? Doesn't just -- it    22       Q. There's nothing in the literature that
      23   doesn't just resolve in a couple of days.           23   suggests that talc causes that kind of an
      24       It's ongoing; is that correct?                  24   inflammatory reaction, is there?
      25       A. It is -- acute inflammation would be         25       A. That talc causes a chronic
                                                                             79 (Pages 310 to 313)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 143 of 348 PageID:
                                   60917

                                          Sarah E. Kane, M.D.
                                               Page 314                                                 Page 316
       1   inflammation?                                       1       Q. Have you ever diagnosed a patient with
       2       Q. That talc causes that sort of chronic        2   a talc-related ovarian cancer?
       3   inflammatory reaction.                              3       A. It's entirely possible that I have, but
       4       A. Well, I showed you some excerpts where       4   I have not used polarized light microscopy on
       5   they mention lymphocytic and plasmacytic            5   ovarian tumors, so it's possible I have and
       6   inflammation due to talc. We know that talc         6   didn't look for talc -- didn't look for talc.
       7   causes an acute inflammation. I know we weren't     7          MR. KLATT: Objection. Nonresponsive.
       8   talking about acute inflammation, but we know it    8       Q. My question was: Have you ever
       9   causes acute inflammation in the -- after a         9   diagnosed a patient with a talc-related ovarian
      10   pleurodesis. And I'm sure you could have           10   cancer, meaning you have said, "Your cancer is
      11   lymphocytes in plasma cells there too.             11   related to talc use"?
      12       Again, I don't think it's the -- sure. The     12       A. Well, first of all, I wouldn't have
      13   amount and duration of chronic inflammation, I     13   said that if I'm not looking for talc.
      14   mean, would that increase the risk? But even a     14       But secondly, in our pathology reports, even
      15   small amount of chronic inflammation for a         15   though we're thinking and looking at causation,
      16   relatively short period of time, I think it's      16   we're not necessarily putting in our individual
      17   plausible.                                         17   patient reports what caused their cancer.
      18       And, again, this is all under the plausible    18       We're certainly putting the diagnosis
      19   thing that this would cause a mutagenic effect.    19   together with their medical history and their --
      20       Q. Can you name other chronic inflammatory     20   to kind of make all the pieces fit together, but
      21   conditions that are not associated with cancer?    21   we're not necessarily in every patient putting
      22       A. Chronic inflammatory conditions that        22   out a report on what causes their cancer.
      23   are not associated with cancer? Well, I'm not      23          MR. KLATT: Objection. Nonresponsive.
      24   sure we absolutely know every -- that a chronic    24          MS. AHERN: Objection. Nonresponsive.
      25   inflammatory condition won't cause a cancer,       25       Q. I just want to know if you've ever
                                               Page 315                                                 Page 317
       1   but -- so I'm not really sure. I'm not really       1   actually diagnosed a patient with a talc-related
       2   sure what you're getting at.                        2   ovarian cancer. It sounds like the answer is no.
       3      Q. Can you list five chronic inflammatory        3       If it is, it's okay. I need an answer.
       4   conditions?                                         4       A. I'm trying to answer your question.
       5      A. That don't cause --                           5   Honestly, it's entirely possible that I have.
       6      Q. Just list five chronic inflammatory           6       But have I specifically put in a patient's
       7   conditions.                                         7   report, "This ovarian cancer was caused by talc,"
       8      A. Well, we have rheumatoid arthritis that       8   no.
       9   increases risk of lymphomas. We have                9       Q. Thank you. That's all I was asking.
      10   Helicobacter pylori infections that increase       10       What about at tumor boards? Do you attend
      11   gastric cancer. We have the ulcerative colitis,    11   tumor boards?
      12   Crohn's disease, that increase the risk of         12       A. I do.
      13   cancer. Agent exposures like asbestos that         13       Q. Have you ever suggested in a tumor
      14   causes chronic inflammation and causes cancer.     14   board meeting with other colleagues that a
      15   HPV infection causes cancer. I mean...             15   particular patient's ovarian cancer was caused by
      16      Q. Can you name one that doesn't involve a      16   talc use?
      17   virus or an underlying immune dysfunction?         17       A. I've certainly discussed with
      18      A. I named asbestos.                            18   oncologists and radiation oncologists about my
      19      Q. Asbestos.                                    19   recent work. Again, it's been only in the last
      20      And was there another?                          20   year and a half that I have really done this deep
      21      A. Again, I don't know if we have all the       21   dive in this literature.
      22   data on potential carcinogens and whether or not   22       And I've certainly talked to radiation
      23   they cause chronic inflammation for sure. I        23   oncologists, oncologists about it at tumor boards
      24   think that, you know, we're still getting that     24   in a way of sort of educating them about my
      25   data.                                              25   findings, but we haven't discussed in the context
                                                                            80 (Pages 314 to 317)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 144 of 348 PageID:
                                   60918

                                          Sarah E. Kane, M.D.
                                                Page 318                                                 Page 320
       1   of a particular patient.                             1   asbestos in it.
       2      Q. And were these discussions with                2       Are you choosing to believe the plaintiffs'
       3   radiation oncologists, were these people that        3   asbestos experts over Ms. Pier's testimony?
       4   focused on -- if they focus on -- gynecologic        4           MR. TISI: Objection.
       5   malignancies? Were they more pulmonary? Is           5       A. Again, I think these were pieces of
       6   there a difference with radiologists in terms of     6   information for me. I wasn't relying on her --
       7   specialty?                                           7   the exhibit from her testimony for my general
       8      A. There are some subspecialties. In this         8   causation. I wasn't -- and I didn't see
       9   one, they were more general radiation                9   Dr. Longo's reports until very late in my process
      10   oncologists.                                        10   from what I recall.
      11      Q. Okay.                                         11       It's interesting information for me. It's
      12          MS. AHERN: How much time do we have?         12   informative in that if the talcum powder products
      13          THE VIDEOGRAPHER: Fifteen minutes.           13   cause [sic] asbestos, that certainly lends
      14          MS. AHERN: I'm going to turn it over         14   significance to plausibility. But I'm --
      15   to my colleagues so they have an opportunity to     15           MR. ROTMAN: Do you want to reread your
      16   ask questions. Thank you very much. I               16   answer there? I think you misspoke.
      17   appreciate it.                                      17           THE WITNESS: Okay. Sorry.
      18          THE WITNESS: Thank you.                      18       A. Yes. I did. If the talcum powder
      19          MR. KLATT: How much time do we have?         19   contains asbestos, that certainly adds to the
      20   We're at 6:37 right now.                            20   plausibility. But I'm not opining on whether or
      21          Are you ready for me to continue?            21   not talcum powder products contain asbestos.
      22             CROSS-EXAMINATION                         22       Q. And you wouldn't have the expertise to
      23   BY MR. KLATT:                                       23   decide that Dr. Longo's testimony about asbestos
      24      Q. Dr. Kane, are you ready to continue?          24   in talc is more credible than Ms. Pier's
      25      A. Yes.                                          25   testimony about asbestos in talc, do you?
                                                Page 319                                                 Page 321
       1       Q. Can you hear me okay?                         1      A. I have a, I would say, cursory
       2       A. Yes.                                          2   knowledge of how they would test for asbestos. I
       3       Q. Yes. Dr. Kane, my name is Mike Klatt,         3   couldn't say that I am an expert in the methods
       4   and I represent a company called Imerys Talc         4   that they use to detect asbestos.
       5   America in this case.                                5      Q. But my specific question is: You don't
       6       Before this lawsuit, have you ever heard of      6   have the expertise to determine that Dr. Longo's
       7   Imerys Talc America?                                 7   testimony about asbestos and talc is more
       8       A. I don't believe I had, no.                    8   credible with or more believable or more
       9       Q. Do you know what Imerys Talc America          9   scientifically valid or less scientifically valid
      10   does?                                               10   than Ms. Pier's testimony about asbestos and
      11       A. From my understanding, they mine talc,       11   talc; correct?
      12   and they supply -- they're the talc -- one of the   12      That's my question.
      13   talc suppliers for Johnson & Johnson.               13      A. Again, it's pieces of information for
      14       Q. You said earlier you reviewed an             14   me. I don't know anything, really, about
      15   exhibit of Julie Pier's deposition.                 15   Dr. Longo versus Ms. Pier. I just have seen the
      16       Do you know who Julie Pier is?                  16   exhibit from Ms. Pier's testimony and Dr. Longo's
      17       A. I know she was a designated                  17   report, but I don't have more information nor
      18   representative. I don't know if it was for J&J      18   have I really sought it out about their
      19   or for Imerys off the top of my head.               19   credentials. I was just using it as pieces of
      20       Q. Ms. Pier works at Imerys, and she's an       20   information.
      21   expert microscopist and at analyzing talc for any   21      Q. But again my question is: You have no
      22   extraneous substances like asbestos.                22   ability or expertise on your own to judge whether
      23       She testified that the evidence you looked      23   Ms. Pier's testimony that there's not asbestos in
      24   at did not indicate in any way that talc that       24   talc is correct or Dr. Longo's testimony is
      25   ended up in Johnson & Johnson's baby powder had     25   correct. That's not an area of your expertise;
                                                                             81 (Pages 318 to 321)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 145 of 348 PageID:
                                   60919

                                           Sarah E. Kane, M.D.
                                                 Page 322                                                Page 324
       1   correct?                                             1   at the end of the answer before you started your
       2       A. It -- I wouldn't say I'm an expert in         2   next question.
       3   that area.                                           3       A. So I'm aware that they're in these
       4       Q. You mentioned earlier in response to          4   things. What I'm looking at is a product that's
       5   Ms. Ahern's questions, you talked about heavy        5   used frequently and for -- in a lot of women for
       6   metals.                                              6   a long duration of time. So their exposure -- if
       7       Are you aware that IARC has not singled out      7   they are in the talcum powder, their exposure to
       8   a single heavy metal as a cause of ovarian           8   those heavy metals would be greater than the
       9   cancer?                                              9   exposure they're getting in the environment.
      10       A. Yes. I have seen that. I have                10       Q. Those same, exact heavy metals are in
      11   reviewed the IARC monograph on heavy metals, and    11   drinking water, bottled water, food, and
      12   I'm aware.                                          12   multivitamins that people take every single day,
      13       But, again, it's another sort of piece of       13   and there's no evidence that they cause ovarian
      14   the plausibility puzzle. If we -- we know that      14   cancer; correct?
      15   some of them are either listed as carcinogens or    15       A. There has not been a link with heavy
      16   probable carcinogens. If they're in the talcum      16   metals to ovarian cancer specifically as of yet.
      17   powder product, that's just another piece of the    17       Q. And there's no evidence you're aware of
      18   biological plausibility puzzle. And I --            18   that the tissue levels of any heavy metals are
      19       Q. Well, is it your -- I'm sorry. I             19   higher in talc users than in women who never used
      20   didn't mean to cut you off.                         20   talc; correct?
      21       A. No. Sorry.                                   21       A. I don't -- I'm not aware of that study
      22       Q. Is it your testimony that if something       22   being done.
      23   is considered a carcinogen for one organ system     23       Are you talking tissue levels?
      24   by IARC, that it's capable of causing cancer in     24       Q. Blood levels --
      25   all organ systems?                                  25       A. Blood levels.
                                                 Page 323                                                Page 325
       1       A. As I've testified several times here          1       Q. -- tissue levels. Anything you want.
       2   today, I think different tissues respond in          2       You're -- there's no medical or scientific
       3   different ways to different carcinogens. So I        3   evidence that you would tell this court that the
       4   would not make a blanket statement that a            4   levels of heavy metals in women who use talcum
       5   carcinogen in one site will definitely cause         5   powder in the genital area are higher than women
       6   cancer in another site.                              6   who have never used talcum powder?
       7       However, having carcinogens, known               7       A. I'm not aware of studies that have been
       8   carcinogens in a product, it can add to the          8   done that have looked at the levels of those
       9   biological plausibility. And we're not talking       9   heavy metals in ovarian tissue or blood levels.
      10   about these heavy metals sort of in the             10       Q. Earlier you mentioned there was a study
      11   environment. I mean, these are -- there's           11   about changing gene expression in the presence of
      12   evidence that they are in a product that's used     12   talc in mesothelial cells?
      13   regularly and frequently.                           13       A. Yes.
      14       Q. Are you -- are you aware that the same,      14       Q. The mere fact that you have changing
      15   exact heavy metals are in bottled drinking water?   15   gene expression in no way implies something is
      16       A. So, again, I don't know what the levels      16   carcinogenic; correct?
      17   of these heavy metals are in drinking water. I      17       A. It -- it's evidence that it's changing
      18   know that they are found in the environment         18   gene expression within those cells, and --
      19   commonly.                                           19       Q. If -- I'm sorry. Go ahead.
      20       Q. Are you aware they're in foods?              20       A. And the genes in that study that had
      21       A. I'm aware that they are in the               21   increased expression are involved in the
      22   environment and foods regularly. Yes. But --        22   inflammatory -- are pieces in the inflammatory
      23       Q. Are you aware they're in multivitamins?      23   response.
      24          MR. ROTMAN: Wait. Wait.                      24       Q. You're aware that many of those genes
      25          I was hearing a "but" and not a period       25   in that study were antioxidant genes and
                                                                             82 (Pages 322 to 325)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 146 of 348 PageID:
                                   60920

                                          Sarah E. Kane, M.D.
                                                Page 326                                                 Page 328
       1   anti-inflammatory genes that were elevated;          1          MR. KLATT: Can we mark that?
       2   correct?                                             2          MR. ROTMAN: Can we get a time check?
       3       A. They can regulate or deregulate, and I        3          THE VIDEOGRAPHER: 6:30.
       4   think it's interesting -- let's say that they        4          MR. ROTMAN: Thank you.
       5   were antioxidant -- they were producing              5            (Article entitled "Pycnogenol
       6   antioxidant enzymes. I think that is evidence        6       reduces Talc-induced Neoplastic
       7   that it's trying -- that the cell is trying to       7       Transformation in Human Ovarian Cell
       8   respond and is trying to prepare itself for an       8       Cultures" marked Exhibit 26.)
       9   insult, an inflammatory insult. Otherwise, why       9          MS. AHERN: That's 26.
      10   would that gene be expressed?                       10       Q. Referring to Exhibit 26, Dr. Kane, is
      11       So, I mean, there's increased and decreased     11   this the Buz'Zard study you were mentioning
      12   regulation.                                         12   earlier?
      13       Q. But, Dr. Kane, you're aware that             13       A. Yes, this is it.
      14   strenuous exercise can increase gene expression     14       Q. And if you'll flip over to Page 3 --
      15   of prooxidants, antioxidants, proinflammatory,      15   excuse me, 582, Figure 3, do you see Figure 3
      16   anti-inflammatory proteins; correct?                16   is --
      17       A. Strenuous exercise can increase              17          MR. ROTMAN: Can I have a copy of that,
      18   antioxidants in proinflammatory,                    18   please?
      19   anti-inflammatory proteins.                         19          MR. KLATT: I'm sorry?
      20       But, again, I'm opining about a product that    20          MR. ROTMAN: I'm waiting for a copy of
      21   someone is going to be using regularly with         21   that.
      22   frequency over a long period of time.               22          MR. KLATT: Oh. Yes. We do provide
      23       Q. You're aware that --                         23   copies.
      24       A. It just adds to the -- I'm not -- you        24          MR. ROTMAN: This is Exhibit No. 1?
      25   know, I don't have an opinion about whether or      25          THE WITNESS: I'm sorry. Which table?
                                                Page 327                                                 Page 329
       1   not those heavy metals are in talc. I've looked      1          MS. AHERN: Twenty-six.
       2   at some evidence that they are there, but I don't    2   BY MR. KLATT:
       3   have an opinion that they're actually in talc.       3       Q. Figure 3. Page 582.
       4   It's just another piece of evidence, again, for      4          MR. ROTMAN: What exhibit are we on?
       5   the biological plausibility.                         5          COURT REPORTER: Twenty-six.
       6       Q. Well, you're not saying that people who       6          MR. ROTMAN: Thank you.
       7   regularly engage in chronic exercise, chronic        7   BY MR. KLATT:
       8   strenuous exercise, for a long period of time are    8       Q. And you see Figure 3 is "ROS."
       9   at increased risk of cancer because they have        9       That stands for reactive oxygen species?
      10   increased gene expression, are you?                 10       A. That's --
      11       A. Well, there hasn't been epidemiologic        11       Q. And, by the way, ROS are generated by
      12   evidence that is consistent that people who do      12   every cell of the body every day, 24 hours a day;
      13   routine strenuous exercise get cancer.              13   correct?
      14       Q. The Buz'Zard study you cited, that           14       A. Reactive -- you do see it in daily cell
      15   actually showed that talc -- increasing doses of    15   life. But, again, I'm talking about an
      16   talc decreased release of reactive oxygen species   16   additional exposure, an agent that that is being
      17   from ovarian cells, not increased it; correct?      17   applied in addition to what you're seeing on --
      18       A. I believe it was different -- I would        18   basically the cell has, as we just discussed,
      19   have to look at the study, but it was over          19   they have ways of mitigating reactive oxygen
      20   different time periods. It fluctuated.              20   species.
      21       Q. The highest level of reactive oxygen         21       The cell can increase their antioxidant
      22   species in the Buz'Zard study was the group of      22   enzymes, but at some point, they can get
      23   cells that had no talc applied at all; correct?     23   overloaded. So if you're giving it a higher dose
      24       A. I'd have to re-review the study.             24   at a higher frequency than those systems can
      25       Q. Let's --                                     25   handle, you're going to have an increased risk of
                                                                             83 (Pages 326 to 329)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 147 of 348 PageID:
                                   60921

                                           Sarah E. Kane, M.D.
                                                 Page 330                                                 Page 332
       1   mutagenesis.                                         1   generation for each talc microgram.
       2      Q. Well, let's look at what Buz'Zard found        2        Q. Do you see in the far right column,
       3   when talc was applied to surface ovarian cells.      3   they applied 200 micrograms of hydrogen peroxide?
       4      Do you see that? That's Figure 3A up at the       4        A. Yes.
       5   top?                                                 5        Q. And that resulted in a 200 percent
       6      A. A, up at the top. Yes.                         6   increase in reactive oxygen species during those
       7      Q. And you'll agree with me, you see on           7   time periods; correct?
       8   the Y axis it says "Percentage of reactive oxygen    8        A. That is what it says. Yes.
       9   species generation in OSE2a cells"; correct?         9        Q. And that's their positive control;
      10      A. Yes.                                          10   correct?
      11      Q. That's ovarian surface epithelial             11        A. Let me just double-check.
      12   cells; correct?                                     12        If I'm remembering the study correctly, yes,
      13      A. Yes.                                          13   you are -- you are right.
      14      Q. And you'll see at the zero talc level         14        Q. People gargle with hydrogen peroxide;
      15   on the X axis --                                    15   correct?
      16      A. Mm-hmm.                                       16        A. They shouldn't.
      17      Q. -- that had 100 percent talc -- excuse        17        Q. Well, you know, it's allowed on the
      18   me -- a 100 percent reactive oxygen species         18   bottle.
      19   generation at all three time periods; correct?      19        You know that; correct?
      20      A. That is correct. And --                       20        A. If you're telling me they gargle with
      21      Q. And when talc was applied?                    21   it, that's fine.
      22          MR. ROTMAN: Wait. Wait.                      22        Q. Well, they put it on cuts; right?
      23          Did you finish your answer?                  23        A. They shouldn't put it on cuts. It's
      24      A. Well, we were just talking about how          24   actually --
      25   cells can have innate ROS generation.               25        Q. It's sold for that, isn't it?
                                                 Page 331                                                 Page 333
       1      Q. And this graph shows that as you               1        A. I think most MDs would tell you that
       2   applied increasing doses of talc, the level of       2   it's probably better not to use hydrogen peroxide
       3   generation of reactive oxygen species in the         3   on open cuts because it can cause a pretty severe
       4   ovarian cells went down.                             4   reaction.
       5      It didn't go up; correct?                         5        Q. You're aware that it's sold over the
       6      A. Well, it goes up at -- what's the 50 --        6   counter in stores every day for -- as an
       7   the 50 micrograms per milliliter. It goes up at      7   antiseptic?
       8   that dose at the 120 hour, and then it goes up at    8        A. Talcum powder is sold for everyday use
       9   the 200 microgram level.                             9   on babies.
      10      Q. That's not talc, is it?                       10        Q. So are you telling us that hydrogen
      11      A. I'm sorry. I'm looking at -- I'm              11   peroxide now causes cancer?
      12   looking at -- it says "Talc micrograms per          12        A. I'm saying that it will release ROS
      13   milliliter," and then it lists the different        13   species generation.
      14   hours on the right; that they're color-coded to     14        Q. Far more than talc; correct?
      15   the different hours.                                15        A. Based on this study, it appears that
      16      Q. And 17 out of the 18 measurements they        16   way.
      17   took when talc is applied to ovarian cells showed   17        Q. And you --
      18   the ovarian cells generated less reactive oxygen    18        A. This one study.
      19   species than no talc at all; correct?               19        Q. You agree with me this shows, as you
      20      A. And I --                                      20   apply talc, reactive oxygen species in ovarian
      21      Q. Is that correct?                              21   cells decreases.
      22      A. It looks like at different periods of         22        It doesn't increase at 17 out of 18 time
      23   time at the 100 micrograms and 500, there was       23   points; correct?
      24   less than the lower. But I'm not sure what the      24        A. They're -- I will agree with you,
      25   threshold dose would be for optimal ROS             25   except there is a time point where it is
                                                                             84 (Pages 330 to 333)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 148 of 348 PageID:
                                   60922

                                          Sarah E. Kane, M.D.
                                                Page 334                                                 Page 336
       1   increased. And I don't know -- my caveat is I        1       A. I have to look at the studies. There
       2   don't know where the threshold would be where the    2   might be one where it wasn't statistically
       3   ROS would stop being generated.                      3   significant, but I think the majority of the ones
       4       Q. Is aspirin approved by any                    4   that looked at aspirin use showed a decreased
       5   pharmaceutical company or recommended by any         5   risk of ovarian cancer.
       6   medical organization for prevention of ovarian       6       Q. Are you -- are you a member of the
       7   cancer?                                              7   International Society of Gynecologic
       8       A. That is not on the label description.         8   Pathologists?
       9       Q. If aspirin prevented ovarian cancer,          9       A. I don't think I'm a member currently.
      10   don't you think it would be marketed for that       10   No.
      11   purpose?                                            11       Q. Have you ever been?
      12          MR. TISI: Objection.                         12       A. I believe so.
      13          MR. ROTMAN: Objection.                       13       Q. It's not on your CV.
      14       A. I'm sure it may be after years of FDA        14       A. Okay. I'm not currently. I know that.
      15   red tape and approval, but the literature --        15       Q. Are you a member of the American
      16   again, I've said the literature is not as beefy     16   Society of Clinical Pathology?
      17   as the epi data when we're looking at aspirin and   17       A. I actually am.
      18   NSAIDs.                                             18       Q. It's not on your CV.
      19       NSAID, in particular, is not as consistent.     19       A. Okay. That should be updated, then.
      20   The aspirin data does appear to be consistent in    20       Q. Have you ever been a member of any
      21   lowering the risk, but there are not a lot of       21   working group or organization on the
      22   studies looking at this yet.                        22   classification of female reproductive organ
      23       Again, though, just a piece of the puzzle       23   tumors?
      24   for a biologic plausibility.                        24       A. No. I can't -- no.
      25       Q. Well, certainly, we're not at the point      25       Q. You mentioned the Surgeon General's
                                                Page 335                                                 Page 337
       1   for aspirin and ovarian cancer that we are, for      1   report in 1964. You're aware that when that came
       2   example, with aspirin in terms of cardiovascular     2   out about smoking, there were numerous studies in
       3   risk; correct?                                       3   the literature at that point in time showing that
       4       A. I would agree with that sentiment.            4   the chemicals in cigarette smoke actually damaged
       5       Q. And doctors and medical organizations         5   DNA and resulted in cancer; it wasn't based just
       6   have recommended aspirin for reduction of            6   on epidemiology?
       7   cardiovascular risk; correct?                        7       A. I think epidemiology -- my point was
       8       A. That's correct. Although the dosage           8   that the epidemiology was the sort of first --
       9   has -- as of late, they're kind of parsing out       9   there were pathologists that had noticed on
      10   the -- they're reevaluating what dosages, but       10   autopsies in patients that smoked -- it was
      11   you're correct.                                     11   actually pathologists and a surgeon in the early
      12       Q. And you can't cite a single medical          12   years -- that had noticed some changes, some
      13   organization that at this point in time says the    13   squamous metaplastic changes.
      14   evidence that aspirin reduces ovarian cancer is     14       But it was really the epi data that sort of
      15   sufficient that women should take it on a regular   15   drove the research on smoking and tobacco
      16   basis to reduce ovarian cancer; correct?            16   initially. But, again, there were some studies
      17       A. Well, I think I've said there aren't         17   that had shown some pathologic changes in
      18   that many studies yet. It's only -- that I'm        18   smokers. That's true.
      19   aware of, there are only a handful. They've been    19       Q. You're aware that the cohort studies,
      20   consistent with aspirin. Not so much with NSAID.    20   the hospital-based case-control studies, and the
      21   That's, I think, as far as the evidence takes us    21   population-based case-control studies all
      22   as this point.                                      22   uniformly showed that smoking increased the risk
      23       Q. There's actually studies showing that        23   of lung cancer; correct?
      24   chronic aspirin ingestion doesn't decrease          24       A. That's correct.
      25   ovarian cancer risk; correct?                       25       Q. And that's not true for talc and
                                                                             85 (Pages 334 to 337)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 149 of 348 PageID:
                                   60923

                                          Sarah E. Kane, M.D.
                                                Page 338                                                 Page 340
       1   ovarian cancer; correct?                             1   that one statement.
       2       A. Well, I have some issues with the             2           Go ahead.
       3   cohort studies.                                      3           MR. ROTMAN: If you want to do that,
       4       Q. I know that.                                  4   that's fine.
       5       But my statement is true; correct?               5   BY MR. KLATT:
       6       A. But I think it's relevant because the         6       Q. That draft -- Health Canada issued a
       7   cohort studies, I don't believe, followed            7   draft assessment that's undergoing a 60-day
       8   patients for a long enough time.                     8   public comment period; correct?
       9       The Nurses' Health Study only asked about        9       A. That's true.
      10   talcum powder use once in 1982, so there's          10       Q. And then they have up to two years to
      11   certainly room for misclassifications of users as   11   decide whether to take any action or no action at
      12   never users.                                        12   all; correct?
      13       And some of -- some of -- again, there's        13       A. Well, there's two pieces of that. From
      14   smaller numbers because it's a -- it's a cohort     14   my understanding is that they've already done the
      15   study.                                              15   scientific. They've already done the literature
      16       Q. You're aware that the National Cancer        16   review. They've already done their Bradford Hill
      17   Institute doesn't agree with you on that, aren't    17   analysis, and they've come to the conclusion that
      18   you?                                                18   they've come to.
      19       A. I have seen the NCI website. I               19       And then there's the public commentary. And
      20   certainly considered what they say about it. I      20   then there's the regulatory aspect of it.
      21   don't know if they have done the same type of       21       Now, I am -- I would not claim to be an
      22   analysis as I've done. I don't believe it's on      22   expert in regulatory. I know we have regulatory
      23   their website what methodology they used and what   23   experts that are coming on. But in -- from my
      24   literature they reviewed.                           24   understanding, the regulatory aspect is different
      25       So I'm aware of what they've stated. But,       25   than the scientific aspect.
                                                Page 339                                                 Page 341
       1   you know, I've still done this extensive review      1         MR. ROTMAN: Mike, you're done? I just
       2   that I'm not sure they did to come to my             2   want to --
       3   conclusion.                                          3         MR. KLATT: I'm through.
       4       Q. You honestly don't know what the NCI          4         MR. ROTMAN: I just want to go off the
       5   did in terms of review to come to their              5   record.
       6   conclusion, do you?                                  6         We're done with seven hours.
       7       A. They didn't state what they did, so I         7         MR. KLATT: Yes. I'm done.
       8   do not know. So that would -- but that's             8         MR. TISI: Let's take a minute.
       9   something that I'm thinking about when I'm taking    9         THE VIDEOGRAPHER: Off the record,
      10   into consideration.                                 10   6:31 p.m.
      11       Q. And you are aware that they just             11           (A recess was taken.)
      12   updated their statement that the evidence does      12         THE VIDEOGRAPHER: Back on the record,
      13   not support a link between talc and ovarian         13   6:40 p.m.
      14   cancer in January 2019, the same month we're        14             CROSS-EXAMINATION
      15   sitting here today?                                 15   BY MR. ROTMAN:
      16       A. I don't know if I've gone to the NCI         16      Q. Dr. Kane, I know it's been a long day
      17   website this month.                                 17   for you, but I'm going to ask you a few
      18       But I'm also aware of Health Canada that        18   questions. I will be brief.
      19   came out and did -- and we know what the            19      A. Okay.
      20   methodology and literature they -- they spelled     20      Q. At one point today, you were asked some
      21   it out very clearly what their methodology was,     21   questions by Attorney Ahern about certain
      22   what literature review they did, and they came to   22   negative studies on inflammation, and she
      23   the same conclusion that I did.                     23   mentioned Bonovast 2005 and Ni 2012, which she
      24          MR. ROTMAN: Off the record, Mike?            24   asked you about.
      25          MR. KLATT: Let me just follow up on          25      Do you recall that?
                                                                             86 (Pages 338 to 341)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 150 of 348 PageID:
                                   60924

                                           Sarah E. Kane, M.D.
                                                Page 342                                                 Page 344
       1       A. Yes.                                          1   just strike that.
       2       Q. She did not show you those studies, did       2       You were asked questions about surgical
       3   she?                                                 3   gloves and surgical-grade talc on surgical
       4       A. I don't believe I saw them.                   4   gloves.
       5       Q. Are you able to agree with her                5       A. Yes.
       6   characterization that these were negative studies    6       Q. Do you recall that?
       7   without having -- without looking at them?           7       A. Yes.
       8       A. I should have asked for them and had          8       Q. And I think you were asked if you were
       9   them in front of me while asking questions.          9   aware of any studies linking the use of talcum
      10       Q. Now, you were asked questions --             10   powder on surgical gloves with the occurrence of
      11       A. I mean answering questions.                  11   ovarian cancer.
      12       Q. -- throughout the day about                  12       Do you recall that?
      13   inflammation as a biologically plausible            13       A. Yes.
      14   mechanism for explaining talc causing ovarian       14       Q. Is there a difference, a notable
      15   cancer in light of the epi study findings.          15   difference, between talcum powder on surgical
      16       A. Yes.                                         16   gloves and the talcum powder products in perineal
      17       Q. You were also asked questions about          17   use that, regardless of the constituent of the
      18   cigarette smoking at various times throughout the   18   powder, that you would want to point out?
      19   day?                                                19          MR. KLATT: Objection. Form.
      20       A. Yes.                                         20          MS. AHERN: Same.
      21       Q. Does cigarette smoking have an               21       A. So a patient's exposure to surgical
      22   inflammatory effect?                                22   gloves are going to be infrequent and not of long
      23       A. Yes.                                         23   duration. It's not the same type of exposure as
      24       Q. What is the --                               24   regular and frequent application of perineal
      25       A. It does cause chronic inflammation.          25   talcum powder that we're seeing in the epi data.
                                                Page 343                                                 Page 345
       1      Q. You were also asked questions about            1           MR. ROTMAN: No further questions.
       2   heavy metals being present in food and water and     2   It's 6: --
       3   vitamins; correct?                                   3           (Discussion off the record.)
       4      A. I remember. Yeah.                              4           MR. ROTMAN: You're right.
       5      Q. Do -- what is different between those          5   BY MR. ROTMAN:
       6   circumstances and the situation that we have been    6       Q. I have some questions for you about
       7   discussing all day today involving talcum powder?    7   your testimony on the Harlow paper.
       8      A. With talcum powder, we do have the epi         8       A. Okay.
       9   data that are consistent and show an increased       9       Q. Can you pull that out in front of you,
      10   risk of ovarian cancer with talcum powder use.      10   which was Exhibit 20?
      11      Q. And with respect -- you were asked some       11       A. Okay.
      12   questions in relation to the Buz'Zard study about   12       Q. Can you turn to Table 3.
      13   hydrogen peroxide and the reactive oxygen species   13       A. Okay.
      14   reaction?                                           14       Q. And do you recall that you were asked
      15      A. Yes.                                          15   questions about dose-response in this study?
      16      Q. Are you aware of any evidence that            16       A. Yes.
      17   hydrogen peroxide -- the effect of hydrogen         17       Q. And do you recall that you were
      18   peroxide in the female genital tract?               18   specifically asked questions about this Table 3?
      19      A. I'm not aware that women routinely use        19       A. Yes.
      20   hydrogen peroxide in the female genital tract.      20       Q. Could you look at the middle part of
      21      Q. And is there anything in particular           21   Table 3, at the column with "adjusted odds
      22   about the -- that part of the anatomy that where    22   ratios"?
      23   certain agents, exposure to certain agents, would   23       A. Yes.
      24   raise any particular concerns -- strike that.       24       Q. What can -- what do you observe with
      25      I think that was a bad question, so I'll         25   respect to the adjusted odds ratio as the -- as
                                                                             87 (Pages 342 to 345)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 151 of 348 PageID:
                                   60925

                                          Sarah E. Kane, M.D.
                                                Page 346                                                 Page 348
       1   the -- as the number of applications goes from       1       A. Yes.
       2   less than 1,000 to greater than 10,000?              2       Q. And this is -- this is in the
       3      A. The adjusted ORs go from -- the null,          3   "Discussion" section of the paper; is that right?
       4   1.0 at none, 1.4 at less than 1,000, to 1.7 at       4       A. Yes.
       5   greater than 10,000.                                 5       Q. And do you see in the paragraph that
       6      Q. And so what, just looking at the               6   I'm pointing to that begins with "Our study"?
       7   adjusted odds ratio, what --                         7       A. Yes.
       8      A. It's an increase with increased --             8       Q. Could you read into the record and
       9      Q. -- what is your takeaway?                      9   comment on the last sentence in that paragraph.
      10      A. So it does show an increased odds ratio       10       A. "Daily versus less-than-daily talc use
      11   with increased applications.                        11   and talc use for more than ten years versus less
      12      The confidence intervals do include the          12   than ten years were associated with greater risk
      13   null, but they're -- the higher end, it's higher    13   for ovarian cancer."
      14   confidence interval at the upper end.               14       Q. And can you comment on that?
      15      And it's not very far from the null on the       15       A. So that does show a trend for a
      16   lower end.                                          16   dose-response.
      17      And it, in fact, includes -- it's 1.0 at         17          MR. ROTMAN: Okay. So I have 6:48.
      18   greater than 10,000.                                18   You've got eight minutes.
      19      Q. And so for the 1,000 to 10,000                19            RECROSS-EXAMINATION
      20   applications, the lower bound of the confidence     20   BY MR. KLATT:
      21   interval is .9?                                     21       Q. That Harlow study you were just looking
      22      A. Correct.                                      22   at --
      23      Q. And how close is that to being a              23       A. Yeah.
      24   statistically significant finding?                  24       Q. -- is that the 1992 Harlow study?
      25      A. Very close.                                   25       A. It's the 1992 from Exhibit 20.
                                                Page 347                                                 Page 349
       1       Q. And can you also take a look at the           1       Q. And can you look on the last page of
       2   discussion on that page in the left-hand column      2   this study, the page where the article ends and
       3   in the paragraph that begins with "We also           3   the reference begins.
       4   examined"?                                           4       Did Harlow find the strength of association
       5       A. Okay.                                         5   between genital use of talc and ovarian cancer
       6       Q. Is there a discussion in that paragraph       6   was strong or weak?
       7   concerning the author's discussion of                7       A. So they use -- they say, "Because the
       8   dose-response?                                       8   overall association between genital use of talc
       9       A. Yeah. There's a sentence that states,         9   and ovarian cancer remains weak."
      10   "The categorical analysis showed that relative to   10       And, again, "weak" is sort of a relative.
      11   nonusers, the risk was greatest in women who        11   I've seen weak to moderate with this odds ratio.
      12   applied talc at least once per day. When years      12   And this is also 1992.
      13   of use was included as a continuous variable, the   13          MR. KLATT: Object. Nonresponsive.
      14   test for linear trend was 3.32, p-value of .07.     14       Q. I'm simply asking you, Dr. Kane, does
      15       "The categorial analysis show that relative     15   Harlow say strength of association between
      16   to nonusers, women who applied talc for more than   16   ovarian cancer and talc use is strong or weak?
      17   ten years were at a 60 percent greater risk for     17       A. Well, I'm putting it in context. He
      18   ovarian cancer. Likewise, perineal applications     18   states -- I agree with you that's what the words
      19   of talc early in life, before age 20, or            19   say, but I'm putting it in context in that "weak
      20   applications within six months of diagnosis         20   to moderate" is used amongst epidemiologists for
      21   reference age for controls produced the stronger    21   this level of overall risk.
      22   ORs."                                               22       And this is 1992, so there wasn't the
      23       Q. And I'd like to also call your               23   subsequent studies that have gone on that show
      24   attention to the page 24 in the right-hand          24   consistent, similar overall risk odds ratio.
      25   column.                                             25       Q. And would it be correct that the
                                                                             88 (Pages 346 to 349)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 152 of 348 PageID:
                                   60926

                                          Sarah E. Kane, M.D.
                                                Page 350                                                 Page 352
       1   statement that I asked you to read says in full,     1   element of recall bias in case-control studies,
       2   "Because the overall association between genital     2   but the authors are aware. Many of them talk
       3   use of talc and ovarian cancer remains weak, it      3   about that and discuss why they feel recall bias
       4   is unlikely that this exposure disease pathway is    4   wasn't an explanation.
       5   the principal one involved in ovarian cancer         5      And, again, we're talking about multiple
       6   etiology"?                                           6   studies over numerous populations over different
       7       Is that what Harlow said?                        7   periods of time, most of them well before the
       8       A. That's what it states. But, again,            8   general public knew about an association between
       9   that is 1992. This is the very beginning of the      9   talcum powder and ovarian cancer.
      10   epi data looking at this exposure and ovarian       10      And even further, the fact that there's a
      11   cancer.                                             11   strong association in the literature with serous
      12           MR. KLATT: Object and move to strike        12   invasive cancer would argue against a recall bias
      13   everything after "That's what it says."             13   because the lay public is not knowledgeable about
      14       Q. And, by the way, the odds ratio that         14   the histologic subtypes of epithelial ovarian
      15   Harlow found overall was 1.5.                       15   carcinoma.
      16       And that's even a little higher than the        16      Q. Let me ask you this, Dr. Kane: We
      17   odds ratios the more recent meta-analyses have      17   lawyers, before we have to go to trial, like to
      18   shown; correct?                                     18   know if the prospective jurors have already made
      19       A. So --                                        19   up their mind about the case.
      20       Q. So they're even weaker than Harlow.          20      Do you know if in any of these case-control
      21       A. I'm sure some epidemiologists might          21   studies where the women who had ovarian cancer,
      22   take -- I'm not -- but, again, I've seen, even      22   were they asked before they entered the study,
      23   with 1.3 and 1.4, epidemiologists refer to that     23   "Do you have a preconceived notion about what
      24   as "moderate."                                      24   caused your ovarian cancer?"
      25       So I don't know if it's semantics, but it's     25      A. I'm not aware of a case-control design
                                                Page 351                                                 Page 353
       1   1.3. It's a 30 percent increased risk. In this       1   that would ask that question because even asking
       2   case, 1.5, a 50 percent increase in risk. And in     2   that question would potentially add an element of
       3   a rare disease like ovarian cancer, that's           3   recall bias --
       4   significant.                                         4       Q. But if a woman already --
       5       Q. And Harlow calls a 1.5 odds ratio weak;       5           MR. TISI: She wasn't finished.
       6   correct?                                             6       Q. Were you finished?
       7       A. That's what he says in this 1992 paper.       7       A. I was going to say in a lot of these
       8       Q. And you'd agree with me the more recent       8   studies, they also asked about smoking history
       9   meta-analyses of talc and ovarian cancer have a      9   and other potential lifestyle issues in addition
      10   lower odds ratio than 1.5?                          10   to talcum powder use that would -- and yet, those
      11       A. They seem to be between 1.3 and 1.4,         11   types of questions didn't show an elevated risk
      12   but the important thing to me is the consistency.   12   like talcum powder products.
      13       Q. And you're aware that epidemiologists        13       Q. Well, wouldn't you want to know --
      14   say with case-control studies that odds ratios in   14   before you interviewed the women who have ovarian
      15   the range of 1.0 to 1.5 are well within the range   15   cancer, wouldn't you want to know if they have a
      16   that can be explained by bias and confounding?      16   preconceived notion about what caused their
      17          MR. ROTMAN: Objection.                       17   ovarian cancer so if you didn't exclude them from
      18       A. I think all of the studies were              18   the study, at least you could take that
      19   aware -- all of the authors were aware of           19   preconceived bias into account when you did the
      20   potential recall bias and confounding and sought    20   statistics?
      21   to control as much as possible those factors in     21       A. I would think if you're designing a
      22   their control studies. Most of them, I feel,        22   case-control study and trying to avoid recall
      23   were relatively well-designed to assess for and     23   bias, there are better ways to do that because
      24   adjust for multiple confounding factors.            24   just by asking, "Do you have a preconceived
      25       And as far as recall bias, there's an           25   notion about it?", you're introducing potential
                                                                             89 (Pages 350 to 353)
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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 153 of 348 PageID:
                                   60927

                                          Sarah E. Kane, M.D.
                                                Page 354                                           Page 356
       1   bias because they might think, Oh, maybe there is    1      Yes. It involves an inflammatory state.
       2   an association. And you're adding bias,              2        MR. KLATT: Thank you, Doctor.
       3   potentially, that way.                               3        MR. TISI: Just one question.
       4      Q. You mentioned cigarette smoking just a         4        (Discussion off the record.)
       5   minute ago in response to Mr. Rotman's questions.    5        MR. ROTMAN: We're done.
       6      And you said cigarette smoking involves a         6        MR. TISI: Thank you.
       7   chronic inflammatory condition in the body;          7        THE VIDEOGRAPHER: Here ends today's
       8   correct?                                             8   deposition. Off the record, 6:58 p.m.
       9      A. There is an inflammatory response in           9      (Deposition concluded at 6:58 p.m.)
      10   the body.                                           10
      11      Q. But cigarette smoking has not been            11
      12   shown to increase the risk of the two most common   12
      13   forms of ovarian cancer, which is serous invasive   13
      14   and endometrioid invasive; correct?                 14
      15      A. So, again, different tissues will             15
      16   respond to different agents in different ways.      16
      17   Mucinous carcinoma has been associated in some      17
      18   studies with smoking, so there is evidence that     18
      19   epithelial ovarian cancer can be caused by          19
      20   smoking.                                            20
      21         MR. KLATT: Object. Nonresponsive.             21
      22      Q. The two most common forms of invasive         22
      23   ovarian cancer -- serous, which is the most         23
      24   common, and endometrioid, which is the second       24
      25   most common -- have not been shown to be elevated   25
                                                Page 355                                           Page 357
       1   as a result of smoking; correct?                     1           ------
       2       A. The data has not shown an association                     ERRATA
       3   between those two types with smoking.                2           ------
       4       Q. Even though smoking involves a chronic        3   PAGE LINE CHANGE
       5   inflammatory state; correct?                         4   ____ ____ ____________________________
       6       A. But, again --                                 5    REASON: _____________________________
       7       Q. That is -- did you hear my question?          6   ____ ____ ____________________________
       8       Even though smoking involves a chronic           7    REASON: _____________________________
       9   inflammatory state; correct?                         8   ____ ____ ____________________________
      10       A. We're talking about different types of        9    REASON: _____________________________
      11   exposures.
                                                               10   ____ ____ ____________________________
                                                               11    REASON: _____________________________
      12       Q. Does smoking --
                                                               12   ____ ____ ____________________________
      13       A. Different agent --                           13    REASON: _____________________________
      14          MR. ROTMAN: One second, Mike.                14   ____ ____ ____________________________
      15          Do you want an answer to the question?       15    REASON: _____________________________
      16   Because you're cutting --                           16   ____ ____ ____________________________
      17   BY MR. KLATT:                                       17    REASON: _____________________________
      18       Q. My question is: Does smoking                 18   ____ ____ ____________________________
      19   involve --                                          19    REASON: _____________________________
      20          MR. ROTMAN: Wait. Wait, Mike. Let            20   ____ ____ ____________________________
      21   her answer the question, and then you're done       21    REASON: _____________________________
      22   because we're over.                                 22   ____ ____ ____________________________
      23          Do you know what the question was?           23    REASON: _____________________________
      24       A. Does smoking involve an inflammatory         24   ____ ____ ____________________________
      25   state?                                              25    REASON: _____________________________
                                                                            90 (Pages 354 to 357)
                   Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 154 of 348 PageID:
                                   60928

                                                        Sarah E. Kane, M.D.
                                                          Page 358
        1       ACKNOWLEDGMENT OF DEPONENT
        2
                     I,_____________________, do
        3   hereby certify that I have read the
            foregoing pages, and that the same
        4   is a correct transcription of the answers
            given by me to the questions therein
        5   propounded, except for the corrections or
            changes in form or substance, if any,
        6   noted in the attached Errata Sheet.
        7
            _______________________________________
        8   SARAH E. KANE, M.D.        DATE
        9
       10
       11
       12
       13
       14
            Subscribed and sworn
       15   to before me this
            _____ day of ______________, 20____.
       16
            My commission expires:______________
       17
       18   ____________________________________
            Notary Public
       19
       20
       21
       22
       23
       24
       25

                                                          Page 359
        1                CERTIFICATE
        2      COMMONWEALTH OF MASSACHUSETTS
        3      SUFFOLK, SS.
        4          I, Janet M. Sambataro, a Registered Merit
        5      Reporter and a Notary Public within and for the
        6      Commonwealth of Massachusetts do hereby certify:
        7          THAT SARAH E. KANE, M.D., the witness whose
        8      testimony is hereinbefore set forth, was duly sworn
        9      by me and that such testimony is a true and accurate
       10      record of my stenotype notes taken in the foregoing
       11      matter, to the best of my knowledge, skill and
       12      ability; that before completion of the deposition
       13      review of the transcript was requested.
       14          I further certify that I am not related to any
       15      parties to this action by blood or marriage; and that
       16      I am in no way interested in the outcome of this
       17      matter.
       18          IN WITNESS WHEREOF, I have hereunto set my hand
       19      this 28th day of January, 2019.
       20
       21                     ____________________
                              JANET M. SAMBATARO
       22                     Notary Public
               My Commission Expires:
       23      July 16, 2021
       24
       25

                                                                          91 (Pages 358 to 359)
                       Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 155 of 348 PageID:
                                     60929
                                      Sarah E. Kane, M.D.
                                                                                               Page 360

         A            accident              29:10 32:25 291:18   293:23                  338:17 342:5
abdominal             150:15                 301:25 309:10       advice                  349:18 351:8
94:25 299:13          account                310:25 329:17       22:24,25              agreed
aberrant              353:19                 353:9               affect                41:5 199:9 200:6
74:25                 accounted             additional           131:25 272:2          agreement
aberrations           310:17                8:22,24 11:19 12:2     276:10              2:10 13:18
73:18 74:15,18,18     accurate               14:4,14 15:4        African-American      Ah
  78:7                50:13 70:20 116:12     30:16 36:22 37:2    114:9                 56:23 172:20
ability                 202:3 230:24         42:10 43:19 44:22   afternoon             ahead
11:23 236:15            231:2 248:6,19       45:21 46:8 56:1     186:15                12:11 26:25 61:14
  321:22 359:12         277:3 359:9          134:25 156:16       age                     95:11 97:3,8
able                  accurately             166:1 181:17        347:19,21               116:25 117:9
108:19 111:2,18       36:3 145:24 235:10     182:22 186:13,16    agent                   178:23 196:12
  112:2 122:1 146:2   acid                   226:20 227:10       121:8 135:4,14,16       325:19 340:2
  146:8,21 147:14     117:25 118:6           230:9,18,21           136:14,15,17,18     Ahern
  151:24 232:5        acid-fast              244:22 329:16         145:4,17,20 146:1   4:4 7:4 11:17 13:11
  342:5               103:6                 additions              146:3,10 219:25       14:8,14,22 15:2,7
abnormalities         ACKNOWLED...          290:23                 315:13 329:16         15:10,16 20:16
298:16                358:1                 address                355:13                21:5,13,15 27:17
abnormality           action                15:25 16:2 204:13    agents                  27:20 28:1,2 29:6
298:9                 154:9 250:18           205:1 207:10        103:24 143:3            29:8,13,14,19,23
absent                  340:11,11 359:15     208:2 271:21          145:10,12 343:23      30:2,4 31:6,11,14
230:3                 activities             295:7                 343:23 354:16         35:2 37:9,14,18
absolute              105:22                addressed            aggressive              37:20 38:1,3,10
112:3                 activity              271:16 306:16        85:2 87:4 88:20,21      38:14,18 39:7,10
absolutely            47:15                 addresses            aggressively            39:15 41:22 43:6
84:12 114:7 158:15    actual                176:3                88:16                   43:12 44:9 45:13
  180:12 196:2        28:25 42:3 87:24      addressing           ago                     48:6,10,13,16
  284:21 314:24         122:23 146:21,22    291:20 292:15        13:14,15 29:5           49:10 51:7,10
absolutes               180:18 224:16       adds                   54:17 56:19 86:21     54:3,5,9 56:11
89:21                   260:10 276:13       320:19 326:24          158:10 189:21         64:2,12,19 72:1,8
absorbed              acute                 Adducts                233:23 239:6          72:18 74:1 75:9
119:13                59:2 63:14 311:25     218:18                 253:12 307:10         91:21,24 92:8,11
abstract                314:7,8,9           adenocarcinoma         354:5                 95:9,19 96:7,19
93:6 264:11 273:20    add                   221:25               agree                   96:21 97:8,12,16
  275:5,24 294:23     13:17 47:3 131:2      adjust               68:2 76:25 78:20        98:6,13 100:23
  295:4                 145:9 228:1 323:8   351:24                 78:22 79:8 84:16      109:23 110:15,20
abusers                 353:2               adjusted               143:16,18,20          110:24 111:1
118:13                added                 260:4 268:24 269:1     156:11,14,18          116:25 117:8
accepted              13:15 46:19,21         269:3 274:10          157:2 190:10          126:1 127:8,17,19
140:1 166:22 236:6      47:4 130:21          345:21,25 346:3,7     200:4 216:20          127:21 128:1,7,10
  240:24 241:2          131:24 133:14       administrative         256:24 257:7,14       128:12 132:9
  252:2,8,18 282:14     200:14 292:5        23:9,12                271:2 283:17          136:7,16 137:3,11
access                adding                advance                296:15 298:24         137:16 144:4
171:8 173:11          130:23 354:2          246:8                  300:16,21 330:7       150:12,16 155:4
  202:18              addition              advantages             333:19,24 335:4       159:18 160:6,20


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 156 of 348 PageID:
                                     60930
                                     Sarah E. Kane, M.D.
                                                                                             Page 361

  163:6 165:7 174:4   26:8                  312:25               94:13 128:9,11      13:23 40:17
  178:23,25 179:8     Allen                analysis              129:4 136:5 137:1   anyway
  180:3,21,25 181:3   34:19,22             126:19 129:24         137:4,8,12,13       97:2 158:9 162:3
  181:5,15,19         Alliance              130:8 131:7          138:1,7,12 151:6     192:9 193:19
  186:19 189:11,15    90:24                 133:24 135:21        152:6,7 170:21       221:19 240:4
  189:16 194:13,25    allotted              141:12 143:13        193:8,20,20,21,21    253:16 311:4
  195:4,20,24 196:2   24:9                  145:8,17 148:10      208:4 209:10,15     apologize
  196:6,7 197:2       allowed               186:8 216:10,23      210:9,10 211:18     194:22 278:15
  198:2,4,9,23        212:15 332:17         219:5,6 220:16,20    212:16,20 213:5      294:13 299:20
  199:17,20 200:4     allowing              225:24 226:3,6       215:1 219:12        apparently
  201:18 206:4,9,13   219:11                235:25 263:4,5       247:22 250:6,7      181:1
  207:8,24 208:10     all-encompassing      267:9 268:20         275:19,21,23        appear
  208:14,17,21,23     168:24                276:8 338:22         287:19 317:2,3,4    58:20 99:8 175:25
  210:1,7,12,15,17    all-inclusive         340:17 347:10,15     320:16 324:1         334:20
  211:17 212:9,11     234:16               analyzed              330:23 355:15,21    APPEARANCES
  212:17,21 214:24    alpha                306:2 309:11 311:1   answered             3:1 4:1 5:1 6:1
  215:9 228:14,16     73:13,14,15 74:10    analyzing            75:13 86:21 102:16   appears
  228:17 231:22         74:11 153:12       319:21                102:21 110:7        45:18 164:24
  234:1 253:1,6       alphabetical         anatomic              128:5 132:1 141:3    333:15
  257:5 260:20,24     174:2                16:22 32:25 33:11     144:7               application
  261:13 262:1        alpha-induced         33:23 100:25        answering            126:16 138:13
  265:5,6,18,21,24    73:17 74:13           204:7,14,21 205:2   71:25 72:15 136:8     258:22 262:7
  266:5,7,15 267:1    altered               205:8,25 211:9,13    136:11 137:3         263:17 271:25
  267:11,15 273:1     131:2                 211:25 212:5         145:24 214:25        272:1 276:14,15
  273:15,16 275:17    alternative           223:4                342:11               296:21 344:24
  275:20 277:19       306:10 307:15,17     anatomical           answers              applications
  278:7,9,11 285:2      309:22 311:7       205:10               86:14 358:4          259:24 260:6 261:9
  285:13,17,22,23     AMARYAM              anatomy              antibodies            261:18,22,23
  286:10,13,18        5:9                  343:22               229:6                 263:6,10 264:15
  289:10,21 294:12    America              ANDERTON             antibody              346:1,11,20
  294:14 308:1,3,5    5:5,14 319:5,7,9     5:18                 249:6                 347:18,20
  308:13 316:24       American             and/or               antioxidant          applied
  318:12,14 328:9     336:15               203:13               325:25 326:5,6       288:7 327:23
  329:1 341:21        amount               animal                329:21               329:17 330:3,21
  344:20              47:4,14 89:9 252:7   126:9 140:12 164:1   antioxidants          331:2,17 332:3
Ahern's                 271:23 276:13       206:24 251:24       326:15,18             347:12,16
322:5                   280:23 314:13,15   animals              antiseptic           apply
al                    amyloidosis          153:23 154:14        333:7                83:22 140:21
92:2                  162:17                288:24              Antitermination       333:20
alcohol               anal                 answer               221:2                applying
155:18 156:18         144:14               20:15,16 27:1,4,9    anti-inflammatory    132:7
algorithms            analogous             37:8 38:4,17 39:8   154:3 302:2,10       appreciable
18:18                 78:13 79:6 156:3      39:11,13 41:1,8      303:8 326:1,16,19   263:18
Alice                 analogy               61:12 63:21 67:5    anti-MUC-1           appreciate
173:5                 140:11,13,18          68:24 70:21 72:9    229:6                318:17
alleged                 177:23 277:4        72:21 86:18 88:5    anybody              appropriate


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 157 of 348 PageID:
                                     60931
                                       Sarah E. Kane, M.D.
                                                                                                Page 362

  283:21                 92:1,13 218:24        345:14,18 350:1    associated            assuming
appropriately            219:3,15 220:18       352:22 353:8       47:1 62:24 65:1,5,9   255:20 309:20
284:18                   221:9,11 223:4,10   asking                 65:19 66:11,18,24   assumption
approval                 237:20 252:20       23:3 37:14,16,23       67:17,23,25 68:25   148:24,25
334:15                   253:7 260:21          40:19 41:2 56:11     69:9,16 81:19       asymptomatic
approved                 266:22 272:21         65:18 72:4,7,16      82:15,22,24 83:18   58:12 99:1
334:4                    289:17 308:6          72:16,24 75:23       84:19 90:1,9        atmosphere
approximately            328:5 349:2           86:13 127:23         94:16 105:8         23:16
256:23 257:11          articles                128:4 132:18         124:17 125:1        attached
  305:24               184:6 232:15            135:7 137:20         126:13 131:9        358:6
April                    283:19                177:17 178:7         133:16 138:24       attempting
184:10                 asbestos                189:25 197:2         140:6 144:19        271:14,21
Archives               63:6,7,10 131:16        206:6,12 209:20      152:13 163:19       attend
92:5                     133:20,25 134:9       209:21 211:17        196:13 264:13       317:10
area                     134:15,20,22          224:16 228:12,14     279:2,13 282:23     attendings
40:25 121:24             140:13,14,14,15       230:3 242:1,9        291:23 295:23       239:11
  123:20 204:7,10        152:11,12,15          260:12 261:23        297:7,11 298:15     attention
  204:25 244:23          153:6,8 156:5         264:21 298:19        299:2,23 301:23     347:24
  284:2 287:15,18        181:4 227:14,20       317:9 342:9          314:21,23 348:12    attorney
  288:8 321:25           227:25 228:1,3        349:14 353:1,24      354:17              35:5 207:13 208:5
  322:3 325:5            315:13,18,19        aspect               associating             210:11 341:21
areas                    319:22 320:1,3,13   216:12 340:20,24     80:20,21 81:8         attorneys
37:7                     320:19,21,23,25       340:25             association           34:14 48:1 55:11
argue                    321:2,4,7,10,23     aspiration           81:13,22,24,25          171:5,16 211:7
352:12                 Ashcraft              17:9,12,25 18:7,13     82:2,10 83:2,4,6      235:13 236:6
argument               11:21 29:12 52:11       20:1 24:5,7          89:11 90:5 119:17   attribute
228:7                  aside                 aspirations            135:21 137:10       283:24 284:1
arised                 89:8                  22:6,8,11 23:19,20     138:3,23 140:8      attributed
89:23                  asked                 aspirin                191:18 246:10       284:19
arisen                 17:11 36:25 47:10     154:3,6,8,9,20,22      255:15 256:21,25    atypical
297:15                   55:10 56:6 70:22      302:19 303:2         257:10 262:17       78:5
arises                   72:14 87:1 88:4       334:4,9,17,20        270:24 272:6        August
222:4                    91:7 110:6 150:13     335:1,2,6,14,20      273:24 275:3        44:20
arising                  171:9,11 172:6,24     335:24 336:4         284:14 295:1        Austin
89:2,10,14,20            173:17,19 175:10    assert                 302:1,7 313:3       4:24 32:18,20
  158:6,17               175:17,19 187:20    209:7                  349:4,8,15 350:2    author
arm                      187:24 193:1        assess                 352:8,11 354:2      220:12,12
108:1 125:19 135:2       203:21,23 204:1     351:23                 355:2               authored
  153:21                 207:25 212:2        assessment           associations          61:10,17 226:11,12
arrive                   217:5 226:18        340:7                73:7,24 74:6 85:23      226:14,16 288:10
135:3,8 137:21           229:24 231:4        assigning              91:9                  288:15,18
arthritis                242:3,5 247:24      216:6                assume                authors
315:8                    261:13,14 311:7     assist               13:19 27:10 179:3     92:21 191:14
article                  338:9 341:20,24     235:13                 212:4                 253:17 263:5,23
8:3 9:6,10,12,14,20      342:8,10,17 343:1   associate            assumes                 265:12 271:8
  9:24 10:5 91:17        343:11 344:2,8      73:4                 263:16                  275:2 351:19


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 158 of 348 PageID:
                                     60932
                                      Sarah E. Kane, M.D.
                                                                                            Page 363

  352:2                 324:3,17,21 325:7 50:10 167:19          214:15 215:6          117:13 133:16
author's                325:24 326:13,23  background            226:10 237:20         156:9 158:21
347:7                   333:5 335:19      204:17 233:19         249:23 335:16         161:21 163:9
autoimplants            337:1,19 338:16    234:14,22 235:4,7   battery                168:2 171:24
221:22 222:5            338:25 339:11,18   255:7               289:6                  172:12 173:23
autopsies               343:16,19 344:9   backwards            Baylen                 174:13 177:12
337:10                  351:13,19,19      192:17               3:13                   179:23 180:1
available               352:2,25          BACON                bear                   181:10 184:10,14
12:22 24:12,15        axis                4:3                  82:25 98:15            187:10 192:8
  51:17 55:15 56:21   330:8,15            bacteria             bearing                202:3 203:5
  69:25 100:14        a.m                 102:1,12,16 103:17   124:22                 223:15 226:16
  121:13 179:24       1:16 2:15 11:6      bad                  Beasley                232:18 233:23
  182:9,11,13           64:14,18 117:3    77:11 343:25         34:19,21               238:18 239:5
  183:12 184:11                           balancing            beefy                  249:10,14 254:2
  187:6,17,18 193:5            B          251:7                334:16                 258:1 261:20
Avenue                B                   ballpark             Beer                   267:16 284:7
4:5,23 5:10,19 16:3   7:8 8:1 9:1 10:1    46:20 115:23,25      175:22                 286:3 288:14
averaging               165:8              190:19              began                  290:8,16 299:6
135:24                Baandrup            Barshak              33:13 35:21 238:4      305:10,15 307:23
avoid                 303:3               2:9                  beginning              308:10 319:8
353:22                babies              based                26:16 113:2 204:15     320:2 327:18
aware                 333:9               72:12 73:1 100:13     254:3 313:7 350:9     336:12 338:7,22
37:2 55:8 58:25       baby                 102:24 114:1        begins                 342:4
  67:6 73:3 104:15    129:5,9,19,21        116:5,9 123:13      64:16 117:5 160:17   believed
  134:8 149:5,22        131:5 133:12       149:6 150:17         231:19 289:14       48:9 90:16
  150:17 156:13         138:14 319:25      152:19 227:15,22     347:3 348:6 349:3   bell
  167:1 172:22        Bacillus             250:1 263:7 276:6   behalf               184:18 238:8,11
  174:19,22,24        103:6 221:2          333:15 337:5        25:18 196:23           239:7,8,12 245:23
  175:3 194:3         back                bases                 202:16,24 224:2     belongs
  196:21 197:3        21:10 25:5 31:4     250:24,25            behave               96:5
  199:23 200:2          33:25 36:7 46:12 basic                 84:25 87:1 88:8,10   Berkowitz
  202:23 203:10,16      64:18 69:3 84:11  231:24 237:1          88:13,16,17         253:18
  211:19 217:1          86:14 109:3 117:7 basically            belief               best
  224:4 232:7 238:7     127:11,22 128:1   17:17 22:15 35:21    78:7                 50:12 71:22 173:3
  238:14,25 239:13      137:4,6,18 143:9   49:1 53:10 55:18    believable             183:3 185:16
  239:19 244:14,17      147:20 153:2       79:20 122:5         321:8                  236:15 359:11
  245:20 246:2,13       155:5 160:19       138:24 142:25       believe              Beth
  246:16 249:8          161:2,6,15,17      162:9 188:8         12:24 28:8,23 29:1   239:17
  252:9 253:24,25       180:11,17,23       262:21 265:13        30:12,19 31:20      better
  254:1,3,4,5,8,10      193:9 201:15       329:18               32:6,10,20 34:23    150:14 277:7 333:2
  254:13,21,24          203:20 207:22     basing                36:14 39:23 40:3      353:23
  255:4 280:22          210:7 231:21,25   136:20                40:8 42:2 47:22     beyond
  283:5 285:24          236:4 244:10      basis                 49:18 55:23 57:14   133:14 137:1
  294:16 298:8,13       258:6 277:17      19:22 41:3 47:18      61:24,25 67:2       bias
  298:19 322:7,12       289:16 341:12      104:12 188:6,11      82:12,22 84:8,9     351:16,20,25 352:1
  323:14,20,21,23     backed               209:7 213:20         92:16 114:4           352:3,12 353:3,19


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 159 of 348 PageID:
                                     60933
                                       Sarah E. Kane, M.D.
                                                                                               Page 364

  353:23 354:1,2       18:15 22:17 24:22     57:5                 323:15 324:11        240:16 341:18
BIDDLE                   24:23 70:8,16       bodies               bottom               bring
4:12                     221:6               58:7 59:14 101:24    106:19 150:10        14:25 49:14 97:2
big                    birefringent           102:11,13,18         196:9 278:18,21      164:7 232:6 289:2
215:5 223:21           58:20 99:8 103:18      103:17 104:8         278:23 299:21       bringing
bill                     111:13 247:2         110:12 112:20       bought               55:4 58:5
36:3 41:15 42:18       birthday               113:20 115:20       133:4                broad
  44:3 253:17,25       242:13,19             body                 bound                200:10
  254:8                bit                   60:2,14 101:2,6,9    346:20               broke
billed                 36:1 57:17 90:12       103:11,13 104:22    bowel                82:7
35:6                     110:21 139:22        112:1,12,17         60:13 313:18         brought
binders                  157:22 167:15        119:13 121:18       box                  13:16 28:19 30:23
51:19 52:7,9             169:12 183:5         122:20 123:10,11    229:23                49:18 50:18 51:15
bio                      186:5 233:18,24      125:6 127:13        boxes                 54:13,16 58:4
159:19                   275:7 276:1 294:8    128:15 161:22,23    29:11 50:24 51:2      61:16 74:2 95:20
bioabsorbable          blanket                162:13 163:18        51:21,24 52:2,15     160:25 161:4
119:12 120:18,21       323:4                  166:24 167:6         52:24 53:5,19        164:11,25 232:3
  120:23 121:1,12      Blaustein              168:13,16 190:4      164:9 178:18,18     brush
biodurability          28:24 163:8,17         205:17 207:4         179:3,5 231:25      200:10
121:7                  Blaustein's            306:4 329:12         265:25              building
biologic               7:25 8:7,9,12,14       354:7,10            Bradford             249:21
62:11 126:10             29:3 54:7,22 61:6   Bonovas              108:2 126:19         built
  133:23 145:16          61:23 95:13,16      303:4                 135:20 137:8        170:20
  148:10 152:14          96:9 97:19 98:1,3   Bonovast              138:20 140:22,22    bunch
  205:19 228:7           106:12 156:12       341:23                186:7 216:10,23     250:1
  334:24                 160:11,14,23        book                  219:5,6 250:13      burden
biological             blocks                98:12 157:1 159:21    340:16              10:4 94:25 308:8
134:17 135:1 139:7     17:1 309:3,16         Books                BRCA1                buried
  139:8 145:6            311:3               55:3                 75:3,14,17,21        268:6
  228:13 322:18        blood                 borderline            77:24 90:12         business
  323:9 327:5          18:9 19:2,4,6,13,16   83:11,13,14,15,19    BRCA2                15:25 16:6
biologically             20:1 324:24,25       221:22              75:3,15,21 77:24     button
135:11 137:23,24         325:9 359:15        borne                 90:12               150:3,6 271:6
  145:25 155:21        blotted               156:20               break                buy
  248:25 342:13        309:3                 borrow               26:23 27:2 52:13     138:15
biologist              Blount                236:8                 52:17 64:10 83:9    buying
175:23                 173:6 180:5           Boston                110:14,17,21,23     132:6 133:10
biology                blue                  2:9 3:6 11:8          117:1 136:3 142:9   Buz'Zard
205:17 206:15          52:2                  bottle                159:16,19 160:6     153:17 327:14,22
  218:21 281:23        blurb                 126:15 129:10,13      277:11               328:11 330:2
  282:2,10 287:10      196:17                 130:4,12 131:15     breakdown             343:12
  287:21,23 288:1,3    board                  132:6 133:19        104:13               Byrd
biopsies               16:22 32:25 317:14     138:17 139:18       breast               173:12
22:18 113:10           boards                 227:16,24 229:10    79:1,5 113:9,13,18
  221:18               317:10,11,23           229:12,13 332:18     246:25                      C
biopsy                 Bob                   bottled              brief                C


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 160 of 348 PageID:
                                     60934
                                    Sarah E. Kane, M.D.
                                                                                               Page 365

  11:1 359:1,1        124:20,25 125:8       272:6,22 276:12       323:5                cardboard
calcium               125:12,18,23          282:23 284:9,15     carcinogenic           52:2
113:9,17              126:3,16,24           288:17,21 289:20    141:25,25 142:5,10     cardiovascular
calculated            127:15 128:17         290:5 291:20,23       142:16,17,20,22      335:2,7
263:6                 130:13 131:21         293:21 294:4,19       143:2,4 312:23       care
calculator            132:12 133:7,17       295:3,11,17           325:16               17:15,23 18:12
47:3                  134:15,23 138:16      296:11 297:12       carcinogenicity          22:13,20 25:7,13
California            138:23,25 139:1,2     299:1,22 300:2,7    145:15 152:15            90:24
9:17 13:2 272:23      139:6,21 140:6,7      300:11 301:10,24    carcinogens            career
call                  140:25 141:21         302:8 303:9 313:2   134:24 141:17          108:10,23 109:4,24
246:4 347:23          142:1,6,11,12         313:10 314:21,23      143:16,20 144:5,8      110:9
called                143:25 144:3,11       314:25 315:11,13      145:15 315:22        careful
17:8 59:16 79:20      144:12,14,14,22       315:14,15 316:2       322:15,16 323:3,7    308:16
  141:7,24 148:23     144:22 145:1          316:10,10,17,22       323:8                carefully
  296:25 319:4        147:24 148:1          317:2,7,15 322:9    carcinoma              178:11 185:18
calling               149:8,16,25           322:24 323:6        8:4,6 65:6,7,14          313:6
78:16                 150:20 151:4,11       324:14,16 327:9       67:10,23 68:17       carried
calls                 151:13,13,14          327:13 333:11         69:15 71:4,5,12      285:6
351:5                 152:10,13 154:1,7     334:7,9 335:1,14      71:15 73:5 75:5      carries
Campion               154:17 155:14,17      335:16,25 336:5       75:12 76:2,6,8,14    106:19
41:10                 155:20,22 156:3       337:5,23 338:1,16     76:21,22,24 77:4     carry
Canada                156:19,24 157:4       339:14 342:15         77:14 78:13 79:1     93:6
12:21 51:14 127:2     157:10,24 158:5       343:10 344:11         79:2 81:23 82:3      case
  182:14 183:11       163:20 164:3          347:18 348:13         82:11,16 83:7        12:4 16:12 25:10
  186:4 339:18        175:23 190:14         349:5,9,16 350:3      84:2 87:20 91:18       25:23,24,25 26:2
  340:6               191:11,25 203:15      350:5,11 351:3,9      91:19 92:3,4           26:6,12 34:5 36:7
cancel                204:4,24 205:2,4      352:9,12,21,24        94:17 100:5            39:3 40:21 47:10
252:11                207:10 208:2,25       353:15,17 354:13      191:19 352:15          49:13 56:4,14
cancer                210:2,20 211:13       354:19,23             354:17                 60:25 83:22 98:9
9:8,11,13,15,23       212:3 217:2         cancers               carcinomas               106:17 118:16
  19:19 26:9,14       228:11,20 229:4     63:3 65:20 66:10      73:19 74:19,21           124:5 131:25
  62:4,10,12,25       229:14 232:14         67:15 68:3 80:4       75:19 76:19 77:1       156:21,22 158:12
  63:2,8,9 64:5,7,9   233:8,20 234:3,23     83:3 85:18 90:17      77:13,16,17,23         158:24 186:1
  64:22 65:1,5,8,12   237:4,10 238:4,15     91:1 144:19,20        78:9,11,17,20,23       188:16,17 190:12
  65:22 66:1,2,8,13   239:4 240:9,13,20     157:12 158:5          79:9,19 80:14,15       193:24 198:12
  66:16 67:8 69:6     241:9,12,24           297:7,8               80:18 81:10,11         200:8 201:5 214:8
  71:6,9 73:3 74:6    243:15 244:11,25    capable                 82:6 83:11,14          215:20 216:16
  75:22 77:9,19       245:14,18 249:2     322:24                  84:4,6 85:2,4,7,10     223:16 231:1,11
  78:2,14,15,21       250:12,17 251:1     capacity                85:13,16,24 86:11      239:1 243:5,25
  79:3,4 81:14,16     251:16 252:22       119:8                   86:12 87:3,5,8,10      247:20 248:14
  81:19 82:21,25      253:9 255:9,17,25   caption                 87:11,14 88:13,14      251:11,18 299:6
  83:24 84:17 88:8    256:6 257:4,16      165:16,25               88:15,17,19,22,23      319:5 351:2
  90:24 93:9 99:15    260:6,22 261:1      carcinogen              89:3,3,8,11,13,17      352:19
  99:24 100:4 102:4   263:11 264:12,20    140:18 143:24           90:8,11 94:7         cases
  102:6 108:1 119:9   266:23 267:4          144:21,23 146:10      107:22 144:15        1:10 16:14 89:13
  119:15,17 124:18    270:14 271:15         297:1 322:23          297:15 299:3,9         112:14 116:14


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 161 of 348 PageID:
                                     60935
                                      Sarah E. Kane, M.D.
                                                                                               Page 366

  117:23 192:18        104:11 106:6          126:24 129:1          191:8 204:4         certain
  215:18 216:7           111:22              138:16 140:4,25       229:13 297:23,24    34:24 60:15 66:15
  221:23 244:6         category              142:1,6 144:3,13      322:24 342:14         102:2,7 104:2,9
  246:20,25 254:6,7    142:5,8,15 143:4      144:18,22 146:1     caveat                  107:21 114:7
  261:10,15 268:16       157:15 269:15       148:20 152:11       93:16,17 264:25         123:6,9,18 124:6
  268:17 276:23        caught                153:4 155:1 162:4     276:16 334:1          127:20 134:23
  309:8                117:14                162:12 228:10,19    cavity                  140:6,7 143:18,19
case-control           causal                229:2,4 241:9       58:9 94:25 98:23        143:22,22 144:3
82:4 139:4 149:14      74:6 145:1 226:13     248:23 251:14         155:24 299:14         144:14,18,18
  155:21 190:17          226:15 294:25       284:8 297:6 301:8   cell                    145:11 250:17
  191:24 192:15        causality             301:21 309:23       10:7 59:13 65:6         284:14 295:1
  217:22 219:9         145:9 256:16          311:19 312:10,12      66:17 67:10 69:15     297:7,8 341:21
  223:13,17 224:8      causally              312:23 314:19,25      84:7,9 85:12,16       343:23,23
  224:18 225:14,15     66:25 67:7 71:14      315:5,23 320:13       85:20 86:6 87:17    certainly
  225:22 291:19          73:4 133:16         322:8 323:5           87:25 88:12,18      13:8 36:4 51:23
  292:15 295:15        causation             324:13 333:3          89:4,7,10,13 90:6     57:15 59:7 73:22
  337:20,21 351:14     26:1 62:4 99:14       342:25                99:17 101:7           78:22 81:12 83:1
  352:1,20,25            107:15 125:21     caused                  103:13 116:2          92:14 94:1,2,18
  353:22                 130:11 135:4,8    26:14 58:6 68:19        122:4 144:15          101:25 102:17
case-specific            136:9,20 137:21     68:19 69:11,12        153:14,16,25          103:2 109:12
235:3                    138:11 148:14       74:7,17 80:16         154:16 288:25         112:13 145:12
cassette                 152:2 153:22        83:25 90:17 104:1     297:15,24 299:3       147:16 148:1
71:2                     170:15 171:10       104:23,25 144:23      299:11 306:4,25       152:12 177:17
cast                     177:10,24 191:2,4   156:5 163:18          307:1 311:3 326:7     178:5 185:2
144:20 170:9             191:9 204:24        252:5 316:17          328:7 329:12,14       204:24 205:12
  237:11                 215:12,19,22        317:7,15 352:24       329:18,21             213:12,13,24
casting                  216:10,24 219:14    353:16 354:19       cells                   214:14 216:4
143:23                   219:15 227:13,15 causes                 58:17,19 59:4 60:9      217:8 228:1
catch                    228:2,13 234:21   63:9 65:4 66:7,18       63:16,18,23 69:9      233:11 236:3,11
292:24                   244:20 247:13       74:22 75:11,23        73:18 74:14 78:5      236:12 237:13
categorial               250:15,22 254:22    84:18 99:16 103:8     79:10,12 88:25        238:14 243:18
347:15                   316:15 320:8        124:20 125:14         99:6,7 104:17,20      244:15 245:1,25
categorical            causative             126:3 130:13          104:21 105:17         246:2 252:13
347:10                 121:7                 134:22 142:11,12      108:6 111:19          254:14 264:3
categories             cause                 143:25 144:11         153:1,18 297:18       282:4,24 283:15
60:7 142:13            60:16 63:6,8 64:8     162:7,24 206:25       297:19,23 298:2,3     284:1,5,22 286:7
categorization           65:20 66:6 67:18    240:20 248:15,16      298:4 299:13,17       286:24 287:1,14
134:12 142:8             68:23 69:17 74:17   248:18 302:6          312:14 314:11         301:12 302:19
  157:11,14              74:18 75:7,18       306:24 313:23,25      325:12,18 327:17      316:18 317:17,22
categorizations          100:1,8,10 101:6    314:2,7,9 315:14      327:23 330:3,9,12     320:13,19 334:25
233:7                    102:13,25 103:3     315:14,15 316:22      330:25 331:4,17       338:11,20
categorize               106:7 107:1,2,8     333:11                331:18 333:21       certainty
103:21,22                107:18,25 108:7   causing               Center                112:3
categorized              118:9 119:4,8,10  62:12 111:9 120:7     30:14                 certification
134:24                   120:14,16 121:2,5   120:11 131:21       Central               33:1
categorizing             121:6 125:17        139:19,20 149:2     9:16 272:23           certified


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 162 of 348 PageID:
                                     60936
                                      Sarah E. Kane, M.D.
                                                                                                Page 367

  2:12,12 16:22       charts                  295:24 297:23         167:6 168:13,15       281:4,6,14 287:4
certify               134:7                   300:5,10,25 301:3     169:6,9,11 178:10     297:14,24 299:3
358:3 359:6,14        check                   305:12,15 306:18      179:6,9,15,16,18      299:11
cervical              328:2                   306:22,22 307:6       182:18 187:11       clearly
18:15 22:18 24:22     chemical                307:18 309:23         233:3 236:12        13:5 48:6 183:6
  24:23 144:14        156:5                   311:10,17,18,21       265:7 266:9 270:4     283:15 339:21
challenged            chemically              311:22 312:1,17       270:7 281:10        clear-cut
256:17 270:24         140:15,17               312:18,21,22          283:5,7 284:1,18    279:3,20 280:4
Chan                  chemicals               313:15,20,25          284:22 286:6,7,23   Cleveland
222:18                337:4                   314:2,13,15,20,22     290:8 293:18,24     5:20
chance                chicken                 314:24 315:3,6,14     294:1 300:16        clinic
262:22                65:17                   315:23 327:7,7        302:15,21 303:13    17:10 23:24
change                Chodosh                 335:24 342:25         304:20 327:14       clinical
30:12,20 47:15        173:7 175:23            354:7 355:4,8       cites                 16:23 17:18 24:13
  152:25 249:20       choosing              chronologic           256:7                   32:25 33:12,23
  263:18 306:25       320:2                 258:7                 citing                  162:18 205:11
  311:19 357:3        chosen                cigarette             169:19 255:18           221:7 225:12,13
changed               175:14,16             277:1,2 337:4           270:20 281:3          244:4 336:16
30:21 186:3 247:5     Chris                   342:18,21 354:4,6     283:3,15 287:1      clinician
  290:21 291:13       52:1 197:13             354:11              claim                 17:10 18:17 22:17
  293:5               CHRISTOPHER           circumstances         340:21                clinicopathologic
changes               3:12                  19:1 21:25 59:10      clarification         221:23 222:10,19
157:7 337:12,13,17    chromosomal             242:11 343:6        57:3                    222:23
  358:5               73:17 74:13           Cisplatin-DNA         clarify               clip
changing              chronic               218:18                14:16 21:3 51:11      71:19
169:12 275:15         8:4 9:21 59:3 62:13   citation                52:1,24 70:18       close
  325:11,14,17          62:15 64:6,7,21     279:25 281:6            97:17 291:16        346:23,25
chapter                 65:2,10,11,14       citations             class                 closely
61:6,10,18 163:1        66:3,6,7,11,19,19   166:11 281:14         217:20                176:13
characteristic          66:25 67:7,12,25      283:6,9,9,16,22     classification        closure
118:2,7                 68:23 71:12,14        286:4               157:7 241:5 336:22    272:7
characterization        73:2,4,7,15 74:7    cite                  clean                 CLR
342:6                   80:21 81:9 91:18    123:24 182:8 185:1    26:22                 1:19
characterize            92:3,23 93:14,22      206:14 207:3        clear                 coaching
106:3 146:3,22          93:22 94:10,15,20     236:13,19 256:10    13:3,10,23 65:6       197:17
  283:12                95:3,5 99:17          263:24,25 273:6       66:17 67:10,20      coauthor
characterized           100:2,8,10 101:20     284:5 288:22          68:22 69:15 84:7    238:9,11
58:16 99:4              102:20 108:24         290:6,9 291:25        84:9 85:12,16,24    cognizant
characterizes           115:8 119:8 125:1     300:8,19 303:1,1      86:1,6 87:22        236:18
104:16                  125:3,11,14 129:2     303:14 305:6          88:12,18 89:10,13   Cohen
charge                  139:20 140:4,5,8      335:12                90:6 96:3 148:15    2:9 173:9 175:24
47:14                   149:2 248:16,23     cited                   150:21 197:6        coherence
charging                250:10 251:12,14    8:19 49:19 50:4,25      198:25 199:3        139:23,24,25
47:6                    251:15 284:8,13       57:20 92:16 152:3     200:11 257:12,15    cohort
chart                   289:18 290:2,3        156:24,25 165:5,9     257:21,24 258:5     65:25 82:2,9,14
18:11 19:7,9,10         294:18,23 295:9       165:19 166:24         270:25 276:6          158:20 191:16,17


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 163 of 348 PageID:
                                     60937
                                      Sarah E. Kane, M.D.
                                                                                                Page 368

  191:17,19,23,25       230:8,10 239:10     communications        131:24 143:14         cone
  192:10 219:10         243:22 244:15       37:15                 computer              22:19
  223:13,17 224:8       245:22 282:6        community             50:7 206:10,20        conference
  224:19 225:17,18      292:10 297:19       57:19 79:15 252:3     con                   195:6 241:20 242:2
  225:22 292:21         304:16 310:11       comp                  63:24                 conferences
  337:19 338:3,7,14     339:2,5 340:17,18   136:24                concentration         176:16 241:19
cohorts               comes                 Companies             269:7                 confidence
192:5                 89:6 131:21 218:22    4:10,19               concerned             190:25 258:19,24
colitis                 230:20 247:23       company               212:9                   258:25 259:2,12
62:19,21,23 63:1      coming                26:10 310:19 319:4    concerning              259:18,21 262:8
  313:1,5,14 315:11   81:5 90:23 95:2         334:5               347:7                   264:3,18 268:12
colleague               188:13 189:2        compare               concerns                268:13,24 269:2,4
32:11,12 96:6           199:19,21 219:7     203:2 279:17          343:24                  269:23 273:22
  177:16 178:7          242:13,19 340:23    compared              conclude                274:11,13 346:12
  239:18              commencing            113:17 258:22         92:21 300:5             346:14,20
colleagues            2:15                    273:23 298:11       concluded             configuration
177:18 241:11         comment               compelling            71:23 356:9           118:2,8
  317:14 318:15       239:24 340:8 348:9    80:12 108:2 190:16    conclusion            confirm
colleague's             348:14                191:2 251:11        93:17 127:6 135:4     97:11 261:14
177:25                commentary              252:18 297:5          135:9 137:21        confirming
collect               340:19                  301:8                 185:3 186:9         238:23
170:23 308:22         commission            compilation             188:14 190:5        conflict-of-interest
collegial             358:16 359:22         283:18                  219:8 264:11        241:14
23:16                 committee             complete                300:22 339:3,6,23   confounding
colon                 53:9                  49:20,24 50:13          340:17              351:16,20,24
60:13 63:2 313:1      Committee's             156:7 157:13        conclusions           confused
Colorado              9:3 194:10,17           167:9,20 168:6      136:21 189:2 200:8    291:9
3:22                  common                  182:1,2,4 187:13    condensed             confusion
color-coded           59:12,15 60:10          231:8,12 232:8,11   293:4                 86:7
331:14                  71:6,8,10 158:4       237:18 247:25       condition             Congress
column                  250:18 282:11,18    completely            314:25 354:7          4:23
93:7 263:3 296:9        282:21,22 283:1     66:21 67:4 115:22     conditions            connecting
  332:2 345:21          284:7 287:5           185:18 216:12       62:24 63:19,23        67:7
  347:2,25              354:12,22,24,25       228:24 264:7          64:3 65:19 91:9     connection
combination           commonly                297:25 298:7          140:9 294:17        12:14 237:5
181:24 182:15         16:2 59:9,11 105:9      300:21                314:21,22 315:4,7   connects
combined                120:10 246:24       completion            conduct               71:14 132:11
33:11 42:14             323:19              359:12                149:6 220:17 225:2    consider
come                  Commonwealth          complicated             226:2,6 287:20,22   78:10 148:6,7
21:22,23 22:13        2:14 15:24 16:1,15    42:15                 conducted               170:6 177:4
  23:24 61:6 108:23     359:2,6             complies              150:23 216:8            231:11
  112:25 126:20       communicating         196:15 277:25           223:14 224:18       consideration
  136:9 146:14        43:24 45:2 46:1       component               225:23 226:12       145:3,18 339:10
  150:25 151:9        communication         141:5 143:9 250:23      288:23 295:15       considered
  184:12 185:3        34:4 38:9,10            294:21              conducting            8:21,23 50:25
  190:4,18 199:3        243:17              components            38:24                   52:20 87:12 165:6


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 164 of 348 PageID:
                                     60938
                                      Sarah E. Kane, M.D.
                                                                                                Page 369

  165:10,20 169:2,3    4:10,19              155:14                copying                 290:7 292:17,18
  169:7,21 170:4       consumers            continuous            281:12 283:13           295:17 297:20
  178:5 179:5          131:1                263:8 347:13            284:3                 298:4 299:17
  180:20 181:18        consumption          continuously          cornstarch              303:23 311:22,24
  182:6,22 184:25      155:18               124:1                 104:2 120:13 148:2      312:7 313:14
  201:23 322:23        contact              contribute            corollary               321:11,24,25
  338:20               20:25 41:4 44:1      152:15 220:10         301:25                  322:1 324:14,20
considering              203:20             control               correct                 325:16 326:2,16
138:19                 contacted            258:22 332:9          16:19 21:18 24:1        327:17,23 329:13
consist                32:6 244:9,13,14       351:21,22             25:3,18,22 34:5,9     330:9,12,19,20
165:15                   245:4              controls                34:15,16 35:7,14      331:5,19,21 332:7
consistency            contain              156:22 158:12,25        36:8 42:12,19         332:10,15,19
136:1 138:5 351:12     229:20 264:8           261:10 308:11         43:14,20 44:4,24      333:14,23 335:3,7
consistent               320:21               309:6,12 310:1        45:4,6,7 46:2,9       335:8,11,16,25
84:1 126:12 135:22     contained              311:1 347:21          47:7 52:3,6,17        337:23,24 338:1,5
  135:25 138:4         230:4 235:25         conversation            53:7,8 57:21          340:8,12 343:3
  154:5,6 156:23         282:15             20:24 239:15            62:25 63:20 64:5      346:22 349:25
  191:13 193:16,18     containers           conversations           67:24 68:8,12,20      350:18 351:6
  244:18 262:16        308:25               239:5 245:22            70:3,8,25 71:6,9      354:8,14 355:1,5
  265:14 271:9,18      containing           convince                78:15 83:14 85:18     355:9 358:4
  272:15 302:16        261:10               274:3                   95:2 97:20 99:20    correcting
  306:6 327:12         contains             cookie                  99:22 101:14        34:6
  334:19,20 335:20     61:18 320:19         198:1                   102:25 104:3,19     corrections
  343:9 349:24         contaminated         copied                  104:25 105:15,22    358:5
consists               58:10 98:24          97:4 106:12 280:2       115:15 120:15       correctly
165:14                 contamination          280:24,25 285:9       121:5 122:6 129:9   190:9 302:17
constantly             296:13,17 307:20     copies                  133:5 141:6           305:13 309:7,9
123:7,19 144:25,25       308:12 309:20      27:21 28:22 31:4        155:10 158:20,21      332:12
constituent              310:15               52:13,18,19,19        164:10 165:1,17     correlation
141:9 344:17           content                96:13,23 97:9         166:1 175:24        92:22 93:14 222:19
constituents           111:5                  187:23 328:23         178:3 180:12          222:23
129:20 134:3           context              copy                    186:1 190:14        cosmetic
constitute             71:12 139:24 157:3   9:18 15:2 27:23         201:23 202:5        9:9,25 129:4 130:6
271:24                   196:25 205:25        28:3,21,23 29:17      209:1 210:4           252:23 253:10
consult                  294:9 317:25         29:24 30:3,5          214:12 222:11,13      255:16 308:7
235:16 244:2,7           349:17,19            31:17 43:13 47:25     223:19 224:3        COUGHLIN
consultant             continuation           95:23,24,24 96:13     227:2 230:5         5:8
39:2                   160:1                  98:11 161:7           234:19,20,23        counsel
consultation           continue               164:11,15,17          235:19 238:17,19    11:13 12:14 17:14
177:15                 13:19 41:1,2 138:9     165:1 186:12          242:23 247:16         19:18 29:12 36:20
consulting               318:21,24            201:20 226:20         256:8 259:11          36:21 37:15,21
16:6 38:13 40:16       continued              227:1 261:2,7         262:14,23 263:11      46:15 47:21 171:1
  40:20,24             4:1 5:1,3,25 6:1       266:1,2,8,13          263:21 265:8          173:5,6,8,9
consults                 10:3 156:21,23       278:2 283:11          269:8,22 270:6        174:12 175:14
243:4,12                 245:12               284:25 285:4,11       271:3 275:4           195:1 203:21
Consumer               continues              289:24 328:17,20      286:22 287:7          212:24 240:15,25


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 165 of 348 PageID:
                                     60939
                                     Sarah E. Kane, M.D.
                                                                                             Page 370

  244:10 245:4        31:12 34:3 42:7      cross                 355:16              219:24
counsel's               43:17 188:1        7:2 118:2,8           cut-and-pasted      data
37:24                 coworkers            Crosslinks            286:2               8:20 19:13 50:6
counted               241:13               218:17                CV                   65:25 75:24 80:7
202:10                coworker's           cross-check           28:22 29:20 30:18    80:20 81:4 83:1,3
counter               95:24                237:17                  165:1 217:17,18    83:5,12,20 84:3
333:6                 COX                  CROSS-EXAMI...          218:2 336:13,18    89:6,9 121:11
counting              153:12               318:22 341:14         cyclooxygenase       131:11 138:19
44:14                 crack                Crowley               154:10,11            139:1 140:20
countries             52:12                131:4 173:13 180:7    cyst                 141:20 146:11
191:15                cracked              Crowley's             59:16                148:2 151:2 152:8
country               51:20 179:3          134:5,13 181:7        cysts                152:20 154:5,6
36:23 244:5           Cramer               CRR                   79:20 111:8          165:5,10,19
couple                159:4 173:10,11,20   1:19                  cytokine             168:22 170:12
29:5 54:17 158:10       173:21,23 229:6    crystals              288:25               175:8 177:2,5,6,7
  167:16,24 169:13      249:7,8 251:23     58:18,19 99:6,7       cytology             177:14,22 179:20
  169:13,14 177:11      253:8,17 254:2       113:9,18            23:18 70:8,16        184:25 191:1,2,9
  187:1 222:15          255:18,18 257:8    ctisi@levinlaw.c...   cytopathologists     193:14,15 213:21
  232:10 233:1          265:2,7,12 266:8   3:16                  17:7                 214:2 215:7
  290:6,14 293:17       266:16 267:4       Cultures              cytopathology        219:16,18,22
  303:20 311:23         270:6 271:7        10:7 328:8            16:23 30:13,22       236:22,25 237:4,5
course                  291:19             cumulative              32:24 33:15,17,19  237:9,12 241:4,6
103:9 106:23          Cramer's             274:16 276:7            33:20,21           244:17 245:22
  108:23 111:24       238:10,21 254:11     cumulatively          cytopathy            257:25,25 259:16
  124:3 147:9           257:19 270:23      291:14                221:8,18             263:24,24 264:7
  161:25 171:6        create               curious                                    275:3 276:10
  172:5 173:18        53:20                55:10 61:2 242:3               D           280:9,13 284:9,10
  182:3 211:7         created              curr                  D                    315:22,25 334:17
  217:20 224:24       49:6                 56:22                 7:1 11:1             334:20 337:14
  234:12 274:9        creating             current               daily                343:9 344:25
court                 53:21                15:22 25:2 30:6,8     92:15 104:12         350:10 355:2
1:1 11:10,14 26:22    credentials            56:24                 108:20 124:4      date
  118:3 162:8 194:4   321:19               currently               178:7 188:11      11:5 12:15 28:9
  198:22 199:14,25    credible             77:2 90:16 287:24       214:16 215:6       31:11,15 32:1
  200:9,11 201:4      320:24 321:8           288:2 336:9,14        216:16 226:10      34:10 46:23 47:2
  235:23 266:12       criteria             curriculum              247:5 329:14       194:21 196:3
  277:11 308:2        138:20 140:22        7:13 29:21 30:6         348:10             358:8
  325:3 329:5           292:5                223:7               damage              dated
cover                 critically           cursory               121:19              164:18,22 183:7,8
12:2 42:6 43:16       225:19,21 226:9      321:1                 damaged             dates
  44:18 161:5           270:9              cut                   337:4               35:22 43:16
covered               critique             55:1 61:13 137:9      damaging            day
31:15 34:8,10         214:14                 137:19 322:20       123:3               12:6,8,25 23:5,12
  45:17 137:9         Crohn's              cuts                  Dan                  23:14 34:8 173:15
  157:25 164:8        60:11 63:17 104:9    332:22,23 333:3       253:8,17 267:4       189:6,17 221:13
covers                  313:5 315:12       cutting               dangerous            230:14 239:10


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 166 of 348 PageID:
                                     60940
                                    Sarah E. Kane, M.D.
                                                                                           Page 371

 291:8 324:12        299:9 333:21         224:1                 139:15 160:18       231:10 254:6
 329:12,12 333:6     deduce               delete                161:1 165:11        319:17
 341:16 342:12,19    69:16                290:20                173:5 181:21       designation
 343:7 347:12        deep                 deleting              194:15 195:17      9:4 194:10,17
 358:15 359:19       216:25 217:6         290:24                201:3 231:20        196:14
days                  244:19 317:20       delineated            253:3 260:25       designations
13:14,15 14:3 23:6   Defendant            297:25                285:4 289:15,23    193:23 201:20
 23:8,9,10,16,18     4:9,18               demonstrate           319:15 356:8,9     designed
 29:5 54:17 156:19   defendants           265:13 271:8,17       359:12             192:6,10 225:11,13
 158:10 311:23       5:4 11:18,23 26:4     272:15              depositions          225:14,15,17,18
 312:1                174:19              demonstrated         12:15 13:18 53:18    225:20
day-to-day           defending            298:9                 134:7 174:11       designing
19:21 177:17         50:20                demonstrates          179:14 181:11,12   353:21
DCIS                 defense              217:19                187:18             designs
79:5                 55:10,14,16 56:3     dense                deps@golkow.com     224:17
Deaconess             56:14,16,24 57:4    12:2                 1:23                destruction
239:18                171:11,12,18        Denver               deregulate          219:24
deal                  172:5,9,9,17,22     3:22                 326:3               detail
219:19                173:2,22,25 174:6   depend               derived             164:6
dealing               174:9,14,15,24      25:9 123:5 146:9     79:19               detect
200:15 228:22         175:6,10,19          304:3               dermis              321:4
debate                177:13 187:20       dependent            59:19               Detected
79:2                  189:25 190:8        24:20,21 227:14      describe            218:18
December              192:20 240:14,17    depending            214:22 215:2,4      determination
12:23 28:8            240:25              69:18 112:18          220:21 257:2       70:7,15
decide               define                178:15 305:17,19    described           determinations
204:2 227:24         168:12               depends              118:12 222:9        17:3
 320:23 340:11       defined              58:14 69:13 77:5      255:17 257:7       determine
decided              216:2                 99:3 100:19 101:7    272:19 279:22      108:19 121:8
242:18 245:3         definite              101:8 111:6 112:6   describing           145:25 146:8
deciding             251:10                112:13 114:5        206:14               321:6
119:22 193:3         definitely           deponent             description         determining
decision             68:25 73:6 171:15    11:12 358:1          7:9 8:2 9:2 10:2    238:23
193:4                 176:11 186:10       deposes               189:3 202:1,7      develop
decisions             187:3 205:21        15:14                 334:8              84:21 86:22 226:4
62:3                  220:18 222:3,7      deposition           design               298:10,12
declined              302:18 303:12       1:14 2:7 7:11 11:7   149:12 192:14       development
279:5                 323:5                11:22 13:9 14:3      224:22 297:2       8:6 62:25 64:4
decrease             definition            16:12 25:17,21       352:25              65:20 68:7 71:15
78:1 190:24 299:10   311:22                26:17 27:15,19      designate            76:1,5,14 80:22
 335:24              definitively          28:4,9,13 31:7      199:24               91:20 92:4,24
decreased            89:21 123:23          40:23 41:24 43:8    designated           99:24 124:18
298:25 302:9         degree                44:11 45:9 49:14    174:20,25 183:17     133:17 149:8,24
 326:11 327:16       223:19,20 251:17      50:21 54:11,15,18    183:24 198:10,21    150:19 151:3
 336:4                271:23               64:17 91:23 95:15    198:22 203:11       152:10 154:1,16
decreases            degreed               97:10 117:6          211:10 224:2        163:19 164:3


                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 167 of 348 PageID:
                                     60941
                                      Sarah E. Kane, M.D.
                                                                                                Page 372

  249:2 295:10           190:18 191:14,15   discipline            disease                95:20 100:13
  296:11 300:1,7         191:15 192:11      205:8                 60:12,13,17 63:17      111:2 117:9 126:2
developments             198:20,21 211:7    disclaimed              65:23 104:10         127:9 129:3 135:3
245:12                   230:19 233:20,21   249:9                   140:1 162:15         137:12 150:21
diagnosed                280:12 284:8       disclosed               192:1,4,14,16        163:7 164:15
149:16 313:5,9           293:3 311:2,3      196:22 198:14           220:7 225:25         178:9 181:6,20
  316:1,9 317:1          323:2,3,3 327:18     199:7,25 200:5,7      257:3 295:25         186:12 196:8
diagnosing               327:20 331:13,15     253:22                301:22 312:5,6       198:2 201:19
247:6                    331:22 340:24      disclosure              313:6 315:12         207:25 208:24
diagnosis                343:5 352:6        9:4 194:11,17           350:4 351:3          214:7 216:19
17:3 18:1 20:8           354:15,16,16         195:10 197:8        diseases               217:16 223:18,25
  24:13,21 25:15         355:10,13          discount              60:15 104:9 106:21     225:23 226:18
  59:8 94:2 139:6      differentiate        264:7                   161:22 192:7         229:19 247:7
  233:20 238:23        169:5                discovered              250:16               253:2 267:2 272:9
  316:18 347:20        differently          77:23 80:10           dispute                275:9 277:20
diagnostic             84:25 87:1 88:8,10   discovers             209:23                 280:14 285:3
17:1 70:2,15 221:6       88:13,18 102:2,3   17:10                 disrupt                287:4 288:20
dice                     102:7 143:19,23    discovery             152:18 153:6,8         308:19 356:2
192:2                    147:6 310:20,22    199:1                 disrupting            doctors
Dichorionic            difficult            discuss               79:22                 335:5
222:20                 65:24 69:22 95:1,7   18:20 89:7 204:5      distinct              document
difference               147:5 149:12,19      205:16 208:5        84:21                 1:9 8:19,22,24
130:15 132:3             192:13 241:5         210:11 352:3        distinguish            12:21,25 28:5
  169:17 216:19,24       243:4 244:6        discussed             102:23 298:2           44:12 48:23 49:6
  318:6 344:14,15        252:14 269:25      47:13 158:6,23        distinguished          49:8 165:4 181:17
differences              271:22 277:5         163:12,14 240:6     221:24                 182:20 186:16
89:19 105:24             304:6,10             241:16 282:19       District               194:1,4,8,15
different              difficulty             294:8,13 317:17     1:1,2 11:10,10         195:22 199:7
14:25 33:8 59:24       191:25 272:18          317:25 329:18       dive                   200:22 201:2,24
  62:14 63:11,19         274:22             discusses             216:25 217:6           210:23 211:3,5
  64:8 69:2 72:12      digest               206:17 282:10           244:19 317:21        248:8
  83:2,9 84:16,18      121:24 122:1,2       discussing            divisions             documented
  84:20 86:21 88:7     digested             73:2 118:23 139:14    274:19                50:11 63:12
  88:25 89:25 90:2     309:4                  139:22 249:4        DNA                   documenting
  100:17,18 102:3,8    dinner                 280:20 300:10       152:18 153:6,8        296:22
  102:23 103:23        57:9 242:12            343:7                 337:5               documents
  104:16,24 105:12     DIRECT               discussion            doctor                11:25 12:13,13,22
  105:19,19 109:16     7:2 15:15            49:9 94:19 147:20     16:18 21:8 25:16       13:5,13 25:1
  113:10 119:11        directly               163:3 212:23          27:18 28:11,19       28:12 29:11 50:22
  120:25,25 123:7      16:14,17 24:6 25:1     231:15 275:25         29:15 30:5 31:22     51:3 53:14 171:7
  128:23 129:18          188:17 207:10        276:3 296:7 345:3     35:4,5 37:10 38:4    199:2
  130:3,7 131:22         208:1 285:9          347:2,6,7 348:3       38:19 39:4,16       doing
  132:15,19 148:13     director               356:4                 41:4,10,23 46:5     22:17 23:15,18
  157:14 167:13        30:13,21 242:22      discussions             47:6 48:17 49:11     26:19 37:24 40:13
  169:10 170:19        disagree             213:16 245:15,17        54:10 56:1 71:21     40:15,20 149:14
  177:18 190:5,17      257:19 296:15          318:2                 72:19 75:10,17       175:4 207:5 216:4


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 168 of 348 PageID:
                                     60942
                                     Sarah E. Kane, M.D.
                                                                                             Page 373

 216:22 237:2,8,14     28:3 32:13,14,16    drawn                274:17 276:6         Edit
 239:19,23 306:11      33:2 34:12,19       281:17 282:16        278:23 279:1,6,12    206:20
domain                 35:3 39:20 40:6     drink                294:2 314:13         edited
209:11                 41:10,12 52:25      240:11 242:20        324:6 344:23         55:22,23 57:15
dosage                 53:4 55:9,12 56:2   DRINKER             dust                    61:22,25
335:8                  57:5,7,11,24        4:12                132:12                editing
dosages                61:22 64:20 131:4   drinking            dusting               211:6 281:13 284:4
335:10                 134:5,6,13 153:25   323:15,17 324:11    271:24                  290:16,23
dose                   154:15 160:21       drive               dysfunction           edition
145:2 146:3,22,22      180:5,7 181:7,7,9   3:4 53:17 242:16    315:17                7:25 8:8,11,16
 147:7,7,12,15         186:17 199:22,23    driver's            D.C                     28:25 54:23 55:23
 252:15 264:24         203:5 229:6         15:13               6:6                     55:24 61:7,20
 269:15,25 272:18      231:23 234:19       drives                                      95:14,17 96:5,6
 276:25 277:3          238:8,8,9,11,21     50:8 167:17                 E               96:11 97:19 98:2
 301:4 329:23          238:21 239:3,7,8    Dropbox             E                       98:5 155:10 160:3
 331:8,25              239:8,9,12 240:5    53:23               1:15 2:7 7:1,3,8,11     160:12,16,25
doses                  242:11 243:10,14    dropped               7:13 8:1,17 9:1       162:23 163:8,10
269:19 270:1           243:25 244:1,7,8    33:14 274:20          10:1 11:1,1 15:11     163:22
 327:15 331:2          245:23 249:8        drove                 27:15 29:21         editions
dose-response          253:8 254:2,2,5     337:15                164:20 357:1        14:19,25 29:3
139:10,12 145:21       254:10,11,13,21     drug                  358:8 359:1,1,7       55:20,21
 146:9 257:15,18       254:24 257:8,19     118:13 277:3        earlier               edits
 258:3,5,17,18         281:1,18 282:17     drugs               12:18 61:22 91:7      292:25
 259:16 260:18         283:2,10,17         154:3 250:17,19       137:1,8 138:8       educating
 262:6,12 263:9,19     284:10,18,25        dry                   147:21 157:22       317:24
 263:21 264:1,23       285:10 286:2        309:3                 164:25 171:19       effect
 264:25 265:8,14       289:22 290:6        Duces                 210:24 232:12       146:4 249:5 312:24
 266:10 267:9          318:24 319:3        7:12 27:15            235:15 272:19         314:19 342:22
 268:9,21,22 270:5     320:9,23 321:6,15   ductal                279:22 294:6          343:17
 271:5,9,16,18         321:16,24 326:13    78:25 79:2            302:23 304:13       effects
 272:3,10,14,15        328:10 341:16       due                   306:17 311:7        145:4 312:5
 273:7,24 275:3,22     349:14 352:16       59:14,14 60:13        312:10 319:14       effort
 276:6,9,11,19        draft                 62:7 104:6,7         322:4 325:10        151:24 168:6
 280:4 345:15         35:23 36:7 170:17     108:25 281:5         328:12              EFSA
 347:8 348:16          183:16 207:14        314:6              earliest              188:2,17,19
double-check           211:23 220:9        DUFFY               75:25 76:4,13,13      egg
255:19,21 269:11       235:20 302:23       5:8                   77:3                65:17
 300:13 332:11         340:6,7             duly                early                 eight
double-checking       drafted              15:12 359:8         32:7 76:20 81:9       348:18
207:5                 220:11,13 253:7      duplicates            91:9 201:20         either
douche                drafting             52:15                 337:11 347:19       14:5 23:19 57:8
117:21                35:22 209:12         duration            easier                  196:6 243:8 246:8
Dr                     212:24              145:14 147:17       29:8 71:18 96:24        312:17 322:15
8:25 9:18 12:4,16     drafts                257:13,22 267:17     180:16 192:17       electron
 12:18 13:13,25       169:10 183:20         267:22 270:15,18   easy                  36:16,23,24 37:3,5
 15:17,22 16:18        209:17 236:4         270:21 271:1       276:22                  37:10 38:5,20,23


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 169 of 348 PageID:
                                     60943
                                      Sarah E. Kane, M.D.
                                                                                                Page 374

  39:16 40:18 41:4      319:25              entirely              90:2 114:2 136:21     79:22,24
  108:14 221:17,19    endometrial           67:19 89:1 108:22       136:23 139:25       epi-type
  306:1 308:11,17     58:9 79:10 89:11        316:3 317:5           154:19 163:22       223:17
electronic              98:23 115:18        entities                205:13 215:7        equally
48:21                   222:25 223:3        157:15                  221:9 222:2,22      83:23
electronically          298:3 299:13,17     entitled                224:7 225:2 255:8   equivalent
206:3                 endometriod           8:3,19,22,24 9:6,10     255:15 327:11       22:16
Electrophoresis       86:4 89:13              9:12,14,20,24       epidemiologically     Errata
218:18                endometrioid            10:5 37:7 39:5      216:3                 358:6
element               65:7 67:10 84:7,9       91:17 92:2 165:4    epidemiologist        error
352:1 353:2             85:11,17 88:12,18     165:9 181:17        192:23 203:4,5        291:2
elevated                90:6 298:3 299:3      186:16 194:16         214:8,11,13,19      errors
326:1 353:11            299:11 354:14,24      209:17 213:2          215:3               169:14
  354:25              endometriosis           252:20 260:21       epidemiologists       esophageal
elevation             65:3,6 66:18 69:17      266:22 272:21       174:20 176:22         102:4,6 144:12
299:22 301:24           89:12,14 90:6         289:17 308:6          202:15 203:12,17    especially
elicit                  252:4,5 296:1         328:5                 224:1 349:20        69:16 106:24 162:1
98:21 102:18            297:22 298:11,12    entries                 350:21,23 351:13      192:11 257:3
  117:19 146:4          298:15              48:24                 epidemiology            271:20
elicited              endometriotic         entry                 81:21 163:24          ESQ
58:23                 297:16                34:2                    174:16 190:13,15    3:3,12,20 4:4,13
elicits               endometritis          environment             191:12 192:22         5:9,18 6:4
62:13 300:3           58:6 60:20            308:24 323:11,18        203:14 205:13       ESQUIRE
ELLIS                 endometrium             323:22 324:9          213:19 214:14,15    4:22
5:17                  60:22 62:8 98:22      enzyme                  216:17,21 217:20    essentially
else's                  99:18 100:9         289:1                   217:24 218:5,10     121:17 158:24
237:19                  109:15 144:16       enzymes                 219:13 221:10         169:16 249:4
elucidated              252:6 297:19        153:24 154:15           223:1,19,21         establish
66:22 67:4 298:7        298:10,14             282:19 326:6          224:14,23 225:5     209:6,22
elusive               endothelial             329:22                337:6,7,8           established
65:22                 85:3                  eosin                 epidermal             251:2
employer              endpoints             306:2                 59:16 111:7           establishes
15:23                 192:6                 epi                   epithelial            288:24
encapsulate           ends                  83:1,3 89:6 126:9     9:15,23 66:16 77:1    Esther
122:5                 64:13 117:2 160:8       126:11 135:13         79:12,20 82:25      243:11
encapsulated            349:2 356:7           138:1,19 139:1        83:3 84:3,17 85:1   estimate
122:13                engage                  191:1,2,9 193:14      85:7,9,13,15,18     109:25 113:1,7,12
encompass             327:7                   193:15 213:21         85:24 86:10 87:3      113:13,25 269:5
85:14,16              enroll                  214:2 218:20          87:5,19 138:24,25     279:4
encompasses           192:2                   219:16,17 221:3       158:16 272:22       estimated
234:10                entered                 224:20 244:17         276:12 289:19       113:3,6 261:8
encompassing          352:22                  245:22 334:17         290:5 295:3,10,16     264:14
169:1                 entire                  337:14 342:15         298:2 300:2         estimates
ended                 24:14 181:11            343:8 344:25          330:11 352:14       269:20
119:21 169:9,18         220:11 280:1          350:10                354:19              et
  290:17,25 291:15      313:17              epidemiologic         epithelium            92:2


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 170 of 348 PageID:
                                     60944
                                      Sarah E. Kane, M.D.
                                                                                                 Page 375

etiologic               304:18 306:3          176:15 179:11,13       44:18,21 45:9,12      305:20 307:15
103:24                  312:20 313:12         191:5,8 241:20         46:6 54:8,11,21       312:20
etiology                319:23 323:12         250:19 251:21          58:4 60:19,24       expected
66:12,15 67:20          324:13,17 325:3       297:14 335:2           61:19 62:2 91:20    301:25 305:2
  125:22 158:8          325:17 326:6        examples                 91:23 95:14,18      experience
  233:8 350:6           327:2,4,12 335:14   250:16                   97:9,22,24,25       116:6,9
evaluate                335:21 339:12       Excel                    98:5,8,12,12        experiment
225:20,21,24 226:9      343:16 354:18       48:22                    106:14 117:10       140:11,11 288:23
  270:8,9             evidence-based        exception                118:1 155:6         experimental
evaluated             188:10 189:1          171:6 231:3 279:18       159:24 160:13,16    164:1 300:2
78:3 119:16 151:10      213:22 215:24       Excerpt                  161:1,8 163:8       expert
  153:25 154:15         218:1 219:7         7:25 8:9,14 54:7         164:17,20,21        8:17 9:5,19 11:22
  258:17 270:15,17      223:22                98:3 160:14            165:3,6,8,10,13       16:8 25:17,25
  295:8               evident               excerpts                 165:20 166:3          26:3 32:4 35:13
evaluating            139:9                 314:4                    167:4,5 168:9         35:16,18,20 36:4
119:20 215:7 294:2    evolved               excess                   169:24 170:24         36:7,24 38:15
event                 157:20                155:19                   178:10,20 181:18      40:16 42:12,16
76:1,5,13 80:1        evolving              excited                  181:21,22 182:20      43:22 44:24 45:23
  311:19 312:20       74:24 75:16 80:25     160:5                    182:25 184:3,22       55:9 56:24 59:5
eventually              144:2,25            exclude                  185:4,19 186:17       164:17,19,22
107:25                exact                 262:22 353:17            194:12,14,16          166:14 170:13
everyday              295:18,21 301:17      excluded                 195:17 201:3          171:11,18 173:4
177:8 333:8             323:15 324:10       260:5 261:14             217:17 226:24         173:12,18,22
evidence              exactly                 263:13,16              229:16,19 230:5       175:5 177:4
62:6 73:12 74:16      40:11 48:15 68:13     excluding                236:1 252:23          179:13 182:10
  77:15 93:22 94:10     115:1 116:23        260:7 261:24             253:3,7 258:11        183:6,7 187:22
  99:16 100:1,7,10      171:23 172:23       excuse                   260:23,24 261:3       192:20 193:25
  101:21 102:1          176:20 185:14       61:11 79:13 80:21        266:24 267:2,10       194:5,11,18
  107:18 108:3,7        196:4 286:25          148:7 162:8            272:24 273:8          195:17 196:22
  125:14 129:23         292:7 301:18          184:21 328:15          285:1,3,12 286:12     197:10 198:7,16
  130:19 131:19       examination             330:17                 289:20,23 308:9       199:8,16 200:5,7
  134:4,8 139:9       1:14 15:15 58:11      exercise                 319:15 320:7          201:23 204:22
  148:21 149:4          98:25 107:3         326:14,17 327:7,8        321:16 328:8,10       209:13 214:8
  151:25 158:17         117:19 162:13         327:13                 328:24 329:4          229:15,20 231:10
  162:23 174:18       examine               exhibit                  345:10 348:25         236:1 240:16
  186:10 188:3,12     18:10                 7:10,13,15,17,19       exhibits                254:25 255:5
  188:22,25 190:4     examined                7:21,23,25 8:3,7,9   42:25 118:7 174:11      285:1 287:12,16
  220:16 221:7        131:6 141:15            8:12,14,17,19,22       181:12                319:21 321:3
  229:2 248:12          271:20 347:4          8:24 9:3,6,10,12     existence               322:2 340:22
  251:4,5 252:4,7     example                 9:14,18,20,24        92:24                 expertise
  257:17 258:2        24:21,22 51:12,13       10:3,5 27:16,19      exists                19:25 172:10 204:7
  260:8 264:24          59:3 63:6 65:4        28:13 29:20,22       48:5 121:8 150:25       204:13,21,25
  265:8 270:5 272:5     76:17 82:1 111:7      30:5 31:6,10         exited                  212:5 213:17
  296:12,16 299:25      112:14 130:3          33:25 36:13 41:21    198:3                   214:5 217:20,24
  300:3,10 301:8,15     132:25 133:6          41:24 42:5,21        expect                  320:22 321:6,22
  302:16 303:18         140:13 144:10,17      43:7,8,11 44:8,11    114:14,15 304:7         321:25


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 171 of 348 PageID:
                                     60945
                                       Sarah E. Kane, M.D.
                                                                                                  Page 376

experts                  324:6,7,9 329:16    F                     fan-shaped              100:12 107:19
36:17 37:5 55:17         343:23 344:21,23     6:5 359:1             58:21 99:9             108:8 110:9
  141:16 171:12          350:4,10            fact                  far                     160:12,15,24
  172:23 173:2,25      exposures              12:16 107:7 123:10    53:19 71:8 104:20      272:4,7 336:22
  174:6,9,16 183:17    315:13 355:11           123:13 124:15         105:16 108:17         343:18,20
  183:23 190:1         exposure-response       186:4 244:16          139:14 270:2        females
  197:8 202:23,23      260:9 261:16            249:20 252:4          332:2 333:14         310:1
  211:21 235:16,21     express                 259:18 303:22         335:21 346:15       fetal
  236:9 253:22         73:14 74:11             310:23 325:14         351:25               222:19 309:8 310:1
  320:3 340:23         expressed               346:17 352:10       fashion                 310:9
expires                168:18 326:10         factor                 200:23               fetus
358:16 359:22          expression             79:3 124:24 145:8    fast                   309:14
explain                73:13 74:11 152:25      156:19 272:2         118:4 160:4          fetuses
74:5 113:5 166:20        154:10,11 325:11    factors               fax                    309:11 310:4 311:1
  214:20 301:9           325:15,18,21         19:19 69:19 90:3      1:22                   311:4
explained                326:14 327:10         145:1 153:11        FDA                   fibers
276:12 351:16          expressions             155:16 156:15        184:10 334:14         140:15,16
explaining             73:9 153:13             225:25 295:1,23     February              fibrosing
342:14                 extensive               301:20 351:21,24     43:18 44:19           117:23 118:10
explains               53:14 126:8 134:14    facts                 Federal                 119:4
294:25                   204:1 217:8 339:1    209:7                 209:12               fibrosis
explanation            extent                failed                fee                    120:15 121:5,6,8,9
306:10 307:16,17       12:3 14:8 58:13        265:13 271:8,17       47:15,17,20 48:8       124:12,16,17,24
  309:22 310:9           99:2 181:3 230:17     272:14              feedback                125:1,4 306:5
  311:8 352:4            299:10              fair                   153:10                 312:8,11,12,14,17
explicitly             externally             27:10 223:18         feel                  fibrous
184:21                 255:10                  236:23,25 265:5      144:7,24 213:11       131:16 133:19,25
exploration            extra                 fairly                  351:22 352:3          134:19
294:18                 289:25                 144:7 198:5 313:2    fees                  field
exposed                extraneous            fall                   16:13 47:1            202:21 287:11,12
107:10 310:2           319:22                 115:19 200:12        fellow                Fifteen
exposure               extremely             fallopian              33:21 57:25           318:13
9:9,10,13,15           147:4 190:16           8:5 76:17,19 77:2    fellows               fifth
  123:21 135:5           191:12 304:10         77:24 78:6 79:7      33:3,4                4:5 8:15 14:19 29:3
  136:10 145:13,19     ex-husband              79:10,12 80:10      fellowship              55:22 61:25 96:6
  146:10,17 147:10     220:3                   89:18 91:19 92:3     16:24 32:24 33:8,8     160:12,16,24
  147:22 155:17,19     eye                     94:16 106:21          33:9,16,20,22,24      163:8
  158:23 205:19        117:15                  107:9,20 118:19       225:9 238:5         figure
  242:5,6 245:13       eyes                    118:21 161:22         242:22 245:10        60:18,21 86:18
  252:23 253:10        243:8                   162:25 163:11,15      246:18                103:10 115:24,25
  258:23 260:22,25     e-mail                  299:8 307:1         felt                    146:21 190:3
  264:19 265:15        40:17                 falls                  179:24                 215:19 275:6
  266:23 267:3         e-mailed               54:17 204:25         female                  328:15,15 329:3,8
  269:19 270:14        40:8                  familiar               8:7,10,12,15 54:23     330:4
  271:10,19 272:22                            26:16 58:22 59:7       95:13,17 96:10      figured
  274:21 294:4                 F               287:17                97:6 98:1,4 100:3    34:7


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 172 of 348 PageID:
                                     60946
                                       Sarah E. Kane, M.D.
                                                                                                  Page 377

figuring               finds                   240:6 244:9,13,13    324:11 343:2            107:13 122:3
 191:4                  48:10                  246:17 248:2,6      foods                    166:22 185:25
files                  fine                    255:14,17 256:21     323:20,22               188:6 217:5
 167:14 243:25          13:21 26:24 72:25      257:9 258:16        foregoing                344:19 358:5
fimbria                  128:3 181:2 196:1     263:2,3,6 269:15     358:3 359:10          formally
 78:6 80:11              287:2 332:21          291:17 293:3        foreign                 193:25
fimbriae                 340:4                 295:5,6 316:12       58:7 59:14 60:2,14    formation
 299:8                 fine-needle             337:8                 98:21 101:2,6,8       104:18
final                   17:9,12,24 18:7,13   fit                     101:23 102:11,13     formed
 80:6 131:20,22          19:25 22:6,7,11      71:1 91:3 316:20       102:17,18 103:11      122:14,22 123:1
  183:20 202:19          23:19,20 24:4,7     fits                    103:12 104:8,22        230:25 231:3
  213:12,13 290:25     finish                 91:6                   106:22 108:16        former
  292:25 293:5          26:25 70:21 72:20    five                    110:12 112:1,12       127:25
find                     110:16 155:5         33:12 35:12 116:22     112:17,20 113:5      forming
 13:1 15:8 47:25         189:12 193:8          176:23 247:15         113:20 115:20         171:9 172:3 235:17
  48:4 69:3 71:17        219:12 271:6          289:8 315:3,6         117:18 121:18,25     forms
  79:16 98:17            330:23              flashing                122:20 123:11         65:8 107:11 354:13
  103:12,16 112:20     finished               150:7                  161:21,23,24           354:22
  114:12,24 116:2       72:1 81:1 159:23     flip                    162:13 163:18        forth
  155:11 191:20,22       196:16,17 273:13     71:19 328:14           205:17 207:4          236:5 359:8
  192:19 194:21          353:5,6             floor                   216:12 306:4         found
  206:7,21 208:19      finishes               18:10                foreign-body            28:24 29:1 32:8
  213:3 218:2           256:2                Florida                58:16 59:13 62:17       55:2,19 61:2 82:2
  220:15 252:9         firm                   3:14                   62:22 63:4,5           82:10 83:10 98:9
  258:5 261:6,7         11:21 34:4,17        fluctuated              98:21 99:5,17          100:16 101:4
  264:10 266:1,19        43:24                327:20                 101:3,7 102:14         112:23 114:21
  267:7,8 268:20       firms                 fluid                   103:13,25 104:20       124:23 171:2,6
  272:9,11 275:24       45:2 46:1             117:21                 105:6,8,14,25          184:8,17 234:6
  276:5 285:22         first                 FLW                     106:20 107:4,11        247:1 251:22,23
  302:7,8 304:6,7,8     12:12 13:13 14:1      1:7                    109:5,7,19 110:1       255:24 256:3
  304:15 305:1,9         31:20 33:21,24      focus                   110:4 111:4,5,18       259:9 260:8
  306:12 307:6           34:2 35:6,15         318:4                  111:23 112:2,9,23      264:19 270:13,19
  309:6,9,25 310:5       42:25 50:3 54:20    focused                 114:13 115:21          273:24 283:23
  310:8 349:4            70:11 92:19          318:4                  116:2,13 118:23        294:3 305:8,11
finding                  117:16 127:11       folders                 120:14 121:16          306:1,9 323:18
 60:22 84:1 184:19       128:11,20 129:3      49:11 50:7             122:11 123:15          330:2 350:15
  260:17 304:4           132:13 150:13       follow                  124:2 152:9 164:2    foundation
  305:15 307:11          158:19 165:14        52:22 80:4 150:5     Forest                  208:22
  346:24                 166:14 167:1          300:25 339:25        3:21                  four
findings                 168:10 172:12       followed              forget                  33:14,22 52:2,14
 158:7 191:14            178:1 184:13         296:20 313:6 338:7    95:10                   52:24 142:14
  241:16 262:22          186:20 193:17       following             forgot                   178:18 231:25
  276:17,19,21           194:20 208:24        140:21 260:7 313:8    49:23 50:15           fourth
  300:20 301:19          211:19 215:21       follows               form                    8:8,11 14:19 29:2
  306:7 317:25           218:16 222:15        15:14                 15:13 21:2,7 71:6,8     44:15,16 55:22
  342:15                 231:24 238:10,21    food                    71:10 105:17           61:25 95:14,17


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 173 of 348 PageID:
                                     60947
                                       Sarah E. Kane, M.D.
                                                                                                Page 378

  96:5,10 97:19        frozens                171:10 172:13,14      350:2               glove
  98:2,5 155:10         23:17                 172:25 177:10,12    genomic               128:22 132:14
  160:2 163:22         full                   177:24 191:6        76:1,5,13               147:21,25 148:12
  274:20 278:22         47:4 216:1,9,23       215:22 219:14       Gerel                   149:7 150:18
four-and-a-half          219:17 263:3         227:13,15 238:5     29:12                   151:3
 45:25                   291:18 296:9         242:22 243:7,10     germ                  gloves
four-page                350:1                244:20 247:12       85:20                 58:10 98:25 117:21
 182:20                fun                    318:9 320:7 352:8   germline                118:11 119:2,21
Fox                     167:18              generally             90:17 91:2              119:22 120:7,11
 173:12                funding              24:5,10 85:8 88:10    Gertig                  120:20 125:7,17
fragrance               225:1 288:4,7         140:1 176:12        292:20                  127:14 128:16
 131:16 133:14,15      fungal                 210:21 246:16       getting                 132:12 147:24
  133:20 228:4          59:21 103:7,7,16      288:22 304:2        17:21 114:19,20,23      148:3,9,17,20
fragrances               103:17               312:2,14              115:2 147:2 169:9     149:18,24 151:12
 130:21,23 131:5       fungi                General's               177:25 192:18         308:25 344:3,4,10
  133:24 134:9          103:16              336:25                  207:17 221:13         344:16,22
  181:4                funny                generate                265:22 301:5        go
frank                   70:12 240:2,3       49:2 101:24 102:14      310:16 315:2,24     12:11 16:14,15,17
 77:19                 further              generated               324:9                 17:11 18:10,19
frequency               108:7 112:10        329:11 331:18         GI                      20:5 25:5 26:25
 147:17 263:7            148:21 345:1         334:3               313:17                  28:16 51:7,11
  267:21,22 268:19       352:10 359:14      generating            giant                   61:14 69:3 84:11
  269:20,25 270:3      fuse                 35:20 36:4 42:12      58:17 59:13 60:8        86:8 95:11 96:20
  270:16,18,21          122:3                 42:15 44:23 45:22     99:6,17 101:7         97:3,8 110:20
  272:18 274:16,17                          generation              103:13 104:20,21      112:10 116:25
  294:2 326:22                 G            330:9,19,25 331:3       105:17 111:19         117:9 126:18
  329:24               G                      332:1 333:13          116:2 122:4 306:4     127:11 135:20
frequent               11:1                 genes                 gist                    136:2 137:4,6,18
 116:1 147:8 344:24    gargle               325:20,24,25 326:1    233:9                   150:10 153:1
frequently             332:14,20            genesis               give                    155:5 161:10
 243:12 282:6          gastric              73:15 74:12           17:22 38:21 94:1,3      166:7 178:23
  323:13 324:5         144:11 315:11        genetic                 109:13,25 113:12      193:9 196:12
Friday                 Gates                84:18,20,22 86:23       116:12 155:10         198:1 200:18
 23:7                  84:13 239:22         genetics                181:25 200:10         201:9 202:17
friends                gathered             76:9,11 90:15           202:2 206:9           220:14 237:22
 242:14                170:11               genital                 240:12 254:22,22      268:2 269:5 274:3
front                  gene                 8:8,10,13,15 9:8,12     283:10                277:13 291:8
 29:24 137:15 195:7    152:25 311:20          54:23 95:13,17      given                   295:7 325:19
  218:3 226:19           325:11,15,18         96:10 98:1,4        23:5,23 25:20           331:5 340:2 341:4
  267:7 273:19           326:10,14 327:10     160:12,15,24          171:15 173:13         346:3 352:17
  277:21 285:21        general                248:4 252:22          174:21 175:1        Godleski
  286:17 342:9         23:11 26:18 33:5,6     253:10 255:16         176:22 203:13       41:12 173:17
  345:9                  39:21 125:20         263:6,10,16           225:4 254:6 358:4     253:18 254:2
frozen                   130:10 138:11        264:16 266:22       giving                goes
 20:7,18 22:4 23:10      148:14 152:1         267:3 325:5         204:20 254:23         39:25 94:19 205:5
  23:15                  153:21 170:15        343:18,20 349:5,8     329:23                272:17 308:15


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 174 of 348 PageID:
                                     60948
                                      Sarah E. Kane, M.D.
                                                                                                Page 379

  331:6,7,8 346:1     4:21 5:3 187:7          247:2                 102:21 109:2                H
going                 gotten                granulomatous           113:25 115:19,23    H
28:18 37:6,8 38:17    279:24                58:6,13 59:1,5,8,11     116:7,11 141:4      7:8 8:1 9:1 10:1
  41:2 51:7 64:1,7    grab                    59:17,21,22,25        193:12 203:9         144:10
  64:11 70:17 72:12   242:20                  60:6,12,16,20,23      240:17              hahern@shb.com
  77:22 97:16         grade                   62:7 63:13 97:5     guessing              4:8
  104:24 105:5        87:12                   98:19 99:2 100:2    46:21 109:14          half
  111:13 112:1        gradient                100:11 101:1,20     guidance              53:19 214:21
  116:2 120:18        139:7,8 145:6           102:19,24 103:1     188:2,18,20            239:10 242:16
  121:13,25 123:6     gram                    103:15,19,21        guide                  317:20
  124:10 127:11,22    305:25 307:12           104:6,7 107:2,8     195:11                hallmark
  128:1 130:3 137:7   grant                   107:13,16,18        guided                60:17
  140:10 143:9        225:1                   108:4 117:17,19     22:8                  hand
  144:22 146:8,9,11   granularity             117:22 118:9,23     guidelines            29:9 31:4 146:25
  146:13,21 147:10    270:2                   119:4 120:17        140:22,23 250:13       161:6 164:16
  147:12,14,18,20     granules                148:8,20 152:12     Gunnlaugur             359:18
  164:16 167:1        118:1,7 119:1,7         162:5 206:17,18     39:20                 handed
  173:25 174:3        granuloma               207:1               Gunnlaugur's          28:3 31:2,3
  176:17 180:22       60:9 103:11 104:23    granulomous           39:22                 handful
  182:2 192:3 195:9     104:25 105:6,8,25   59:1                  guys                  335:19
  198:20 199:2,23       105:25 106:8        graph                 167:1                 handing
  200:24 201:9          108:11 109:6,19     331:1                 gyn                   27:18 41:23 44:10
  202:2,12 203:6        109:20 111:4,5,7    greater               33:16 176:10,12,12     45:8 54:10 91:22
  210:25 212:15         111:23 112:3        147:10 259:1 260:2      176:14,17,18         181:20 253:2
  220:15 230:18         115:7 121:17          267:18 268:13,18      241:21 243:9,13      273:8
  234:15 239:14         122:11,18,24,25       274:12,14 290:19    gynecologic           handle
  246:13 248:21         123:1,16,16           291:22 324:8        16:24 18:14 25:7      121:22 308:17,24
  251:9 267:8 271:4     124:12 207:6          346:2,5,18 347:17     32:21 33:7,18        329:25
  289:25 292:10       granulomas              348:12                57:12,16,17 93:19   handled
  296:23 298:6        60:11 100:8 103:4     greatest                93:21 108:11        309:15,16,18
  301:2,4 305:18        103:23,24 104:1,8   264:12 347:11           109:8,9 110:1        310:19
  312:16 318:14         104:12,14,17,18     grossly                 113:19 114:12       hands
  326:21 329:25         105:4,10,11,14,14   21:24                   115:11,14,17        170:14
  341:17 344:22         105:18 107:3,4      group                   116:14 162:1        handwritten
  353:7                 108:24 109:5,7,12   22:12 32:18 241:15      174:25 176:3,11     210:22
Golkow                  109:14,17 110:1,4     243:9,13 269:16       204:9,13,23 205:9   happen
1:21 11:4               110:4,8 111:24        310:16 327:22         205:15 212:2,6      293:6,7 312:1
good                    114:13,13,18,25       336:21                213:14,17 214:5,9   happened
13:20 15:17,18          115:3,21 117:20     groups                  234:12 240:23       166:13,20 284:4
  26:19 65:25           121:2 122:13,14     33:11 138:25            245:2 246:20,23      286:5 290:15,22
  113:24 159:15         123:14 124:2,15     grow                    252:3 318:4 336:7   happens
  177:23 233:18         125:6 127:13        68:12                 gynecological         240:24
  278:5 301:13          128:14 152:9        Grundy                106:24                happy
Google                  162:12,13,24        220:25                G-U-N-N               27:6 180:16
55:3                    163:18 205:18,22    guess                 39:23                 hard
Gordon                  206:5,15 207:4      17:16,21 29:16                              50:8 65:23 101:16


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 175 of 348 PageID:
                                     60949
                                    Sarah E. Kane, M.D.
                                                                                              Page 380

 167:17              241:16               160:21                  135:20 137:8        337:20
harder               hear                 high                    138:20 140:22,23    hot
90:12                319:1 355:7          75:21 80:21 87:12       186:8 216:10,23     102:5
HARDY                heard                  91:1 251:17           219:5,6 250:13      hotel
4:3                  319:6                  262:14 264:9          340:16              242:15,19
Harlow               hearing              higher                histiocytes           Houghton
159:6 238:13 259:6   323:25               75:5 259:20 262:25    58:16 99:5            292:20
 259:9 260:18        heavy                  269:6,19,20         histiocytic           hour
 261:1 270:6 271:3   130:20 131:2,4,9       324:19 325:5        122:17,21             34:5 47:7 64:11
 345:7 348:21,24      131:16 133:20         329:23,24 346:13    histologic             110:19 159:16
 349:4,15 350:7,15    134:8,13,20,23        346:13 350:16       82:21 83:23 84:17      242:16 331:8
 350:20 351:5         141:14,21 187:10    highest                 86:22 88:7 90:1     hourly
Harlow's              322:5,8,11 323:10   81:22,24 274:20         117:19 233:7        48:25
258:15                323:15,17 324:8       327:21                306:12 307:3        hours
harm                  324:10,15,18        Highland                352:14              11:22 35:9,12 36:1
146:2                 325:4,9 327:1       16:3                  histologically         36:2 42:10 43:19
harming               343:2               highlighted           77:8 78:19 304:8       43:21,23 44:22
122:6                Hecht                9:18 156:9 284:25       305:14 307:4         45:1,21,25 46:18
Hartge               222:25 239:18          285:4,9             history                48:20 329:12
159:8                 240:5 242:11        highlighting          17:23 18:23 19:3       331:14,15 341:6
Haspel               held                 53:1                    24:24 25:14 26:14   housekeeping
223:5                2:8 11:7             highlights              90:10 155:17        11:17 95:9 231:24
Hausfeld             Helicobacter         98:16                   316:19 353:8        HPG
3:2 34:18            315:10               highly                hit                   162:3
head                 Heller               26:13 92:18 297:5     150:9                 HPV
90:19,22 94:12,14    251:21,22 303:19       299:2               Hmm                   24:25 144:13
 119:18 120:1         304:20,25 305:22    high-grade            286:10 311:6           301:22 315:15
 150:24 151:1,16      310:16              65:13 67:22 68:16     hold                  huge
 151:21 152:7        Hello                  71:3,5,11,15 73:5   97:16 161:23          276:22
 203:4 220:19        160:22                 73:19 74:19,21        189:15 215:15       human
 225:10 298:22       help                   75:4,5,11,19 76:1   honest                10:7 251:24 328:7
 299:6 319:19        68:11 178:21           76:6,8,14,20,22     46:21 234:24          humans
Heading               195:10                76:23 77:3,17,22      254:20              153:24 154:14
247:12               helped                 79:9,11 80:13,15    honestly              Hunter
heals                185:2                  80:18 81:10,22      317:5 339:4           4:4 159:15
79:23                helpful                82:3,10,16 84:2     hoping                hydrogen
Health               152:1 188:12           85:1 86:10,11       168:25 234:9          332:3,14 333:2,10
12:21 51:14 82:12    helps                  87:2,7,10 88:9,13   Hopkins                343:13,17,17,20
 82:19 84:10 127:2   71:19                  88:15,19,22,22      57:14 134:6 174:10    hygiene
 182:13 183:11       hematoxylin            90:11 94:7,17         180:8 181:9         255:16
 186:4 192:12        306:1                  100:5 107:22        hospital              hypothesis
 239:20 240:1,7      hereinbefore           299:4               24:15 30:14,15        249:9 262:16,19
 241:3 245:25        359:8                hijack                  39:21 241:15         263:1 264:4 265:1
 338:9 339:18        hereunto             68:10,14                309:1,15 310:11      294:18
 340:6               359:18               Hill                    310:20              hypothesized
Healthcare           Hi                   108:2 126:19          hospital-based        296:10


                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 176 of 348 PageID:
                                     60950
                                     Sarah E. Kane, M.D.
                                                                                               Page 381

hypothetical           170:23 173:1         14:5                   315:10,12 326:14     85:4 87:6
228:24 229:9           182:24              incite                  326:17 329:21       induce
hysterectomy        identifying             117:22                 332:6 333:22         100:15
260:7 261:15,24      113:5 195:11          inclination             346:8 351:2         Induced
 263:14,17 272:8       254:19               172:24                 354:12               218:17
hysterosalpingo     illustrates            include               increased             induces
162:3                269:24                 36:5 70:1 155:17      63:2 83:10 84:14      73:12,16 306:24
hysterosalpingog... image                    166:1,17 169:24       90:13 124:24        inducing
106:25               29:1                    178:19 262:13,15      126:13 144:11        74:10
hysteroscopic       imagine                  262:25 264:4          145:13,13 147:17    inert-type
162:2                40:11                   268:14 269:10,23      156:24 191:21,22     104:2
H&E                 Imerys                   346:12                248:17 257:24       infection
305:1 306:7          5:5,14 319:4,7,9,19   included                259:10 270:13,14     60:15 103:3,5,8
H&Es                   319:20               14:10 30:17 35:19      270:19 279:2,13       104:6,7 144:13
311:12              immune                   126:9 169:7           291:23 294:3,4        155:18 301:22
                     68:11 102:13,18         232:19 258:20         301:10 313:10         315:15
          I            103:23 105:14,25      259:12 262:20         325:21 326:11       infections
IARC                   110:3 123:16          270:10 271:8          327:9,10,17          59:20,22 102:3
 63:8 134:12,24        213:25 229:7,7        303:10 347:13         329:25 334:1          105:3 315:10
  141:20,24 142:5,7    248:25 249:3        includes                337:22 343:9        infectious
  142:13 187:10        250:11 315:17        30:14 265:1 274:14     346:8,10,11 351:1    60:2 105:10 220:7
  297:1 322:7,11,24 immunology               346:17              increases             infiltrate
idea                 205:12                including              315:9                 58:15 99:4
 46:17 193:2        immunosuppress...       53:15 265:12         increasing            inflammation
ideas                248:18                  271:17 272:14        327:15 331:2          9:21 59:1,2,3,6,9
 235:25             immunosuppress...        295:24 297:8        independent             59:11,21,23 60:7
identical            249:5                   303:8                249:22                 60:12 62:7,18
 213:23 217:15      Implementation         inclusion             independently           64:6,7,22 65:2,10
  235:11 279:18      223:6                  12:6 59:16 79:20      184:16                 65:11,14 66:3,6,7
identically         implicated               111:8               indicate                66:12,19,20 67:1
 280:2               125:12 251:16         inconsistent           76:12 217:23           67:8,12,23 68:1
identifiable        implies                 303:18                 319:24                68:17,18,23 69:11
 75:25 76:5          199:8 325:15          incorporate           indicated               69:12 71:12,14
identification      important               212:5                 107:21                 73:2,4,8,16 74:7
 15:13               118:9 131:14          incorporated          indicates               74:17 80:22 81:9
identified             138:10 145:2,8       279:24 283:20         90:25                  81:13 92:23 93:15
 12:1 51:5 53:16       148:18 192:16       incorporates          indicating              93:23 94:11,16,20
  76:15 93:15 109:6    211:12 236:22,24     282:2                 55:19,25 95:24         95:1,3,5 98:20
  156:15 165:15,25     250:21 251:4        incorrect               267:14 291:22         99:18 100:2,8,11
  182:21 184:4         306:21 311:18        291:13               individual              100:11 101:20
  197:10 199:8         351:12              increase               17:15 26:1 83:12       102:20,24,25
  234:6,7 265:20    inability               102:6 152:24           216:7 234:20          103:2,8,16,20,22
identify             276:13                  248:24 255:8,24       316:16                104:5,6 108:4,8
 64:25 96:4 103:13 inactivating              256:5 257:13,21     individuals             108:24 115:8
  111:4 112:11       73:20                   259:17 270:25        253:21                 119:8 120:23
  115:20 151:24     inadvertently            274:18,23 314:14    indolent                125:2,3,11,15


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 177 of 348 PageID:
                                     60951
                                       Sarah E. Kane, M.D.
                                                                                                 Page 382

  129:2 140:5,5         305:18 306:18         248:5 304:22         Integrated             126:25
  149:3 205:12,21       312:5,6 313:24       inhaled                223:7                interim
  205:23 206:17,18      314:3,20,22,25        248:12               intend                 195:8,10
  213:25 229:3,3        315:3,6 325:22,22    inherited              229:21 230:2,25      internal
  233:24 248:16,23      326:9 342:22          243:24 244:2           247:19               270:8
  250:10 251:12,15      354:7,9 355:5,9      initial               intended              International
  251:15 280:16,20      355:24 356:1          9:4 35:24 49:19       12:7 37:4 86:7        336:7
  281:17,20 282:7,9   influence                77:7 194:10,17        195:8,10,16,21      internet
  282:12,23,25         246:19                  203:20 232:21         201:2,5              29:2 184:12,19
  284:8,14 287:7      inform                   306:22              intending             interpret
  288:1,5,12,13,21     14:9 60:25 62:3       initially              198:6                 275:2
  288:22 289:3,18       99:23 107:14          47:10 337:16         intense               interpretation
  290:4 294:19,24       118:16 162:19        initiation             162:6                 23:21 226:13,15
  295:9,24 296:12       178:2 216:21          66:2                 intensity             interpreted
  297:6,7,11,23       information            inject                 265:15 271:10,19      263:23
  300:6,10,14,20,25    39:6 49:7 61:2,9,16    252:16               intention             interrelated
  301:3,21 302:6,12     61:18 62:2 69:21     injecting              292:19                250:9
  302:20,22 303:7       98:8 134:21 135:1     206:25               intentional           interrupt
  304:19 305:12,16      141:18,23 145:5,9    injury                 281:3 284:3 286:4     81:2 141:2 163:2
  306:22,23 307:7       146:7,7 148:11,19     8:5 26:7 80:22         286:19,24           interrupted
  307:18 309:23         152:1 153:20           91:19 92:4,23       intentionally          137:17 138:6
  311:10,17,19,21       154:23 161:19          93:14                281:12 303:16        Interstrand
  311:25 312:2,17       162:19 163:16        innate                interacted             218:17
  312:18,21,23          170:10,11 171:14      330:25                239:8                interval
  313:13,13,16,20       177:1 179:4,6        inoculated            interacting            258:24 259:1,2,17
  314:1,6,7,8,9,13      185:2,19,24 186:2     58:15 99:4            20:10,18,21,24         264:18 268:24
  314:15 315:14,23      189:23 227:10,17     input                   21:17,20 22:23,24     273:22 274:11,13
  341:22 342:13,25      230:10,21 233:9       286:6                Interactions            346:14,21
inflammatory            233:19 266:20        inside                 221:1                intervals
 58:14 60:13 62:13      282:9,15,17,21        95:25 161:4          Interepithelial        190:25 258:20
  62:15 63:7,19,23      301:13 320:6,11      instance               222:25                 259:12,19,21
  63:24 64:3 65:4       321:13,17,20          62:18 100:5 110:11   interest                262:8 264:3
  65:18 67:18 68:7    informational            304:20 312:4         155:21 238:3           268:12,14 269:2,4
  69:9 79:25 91:8      201:7                 Institute               244:22 245:10,11      269:23 346:12
  99:3 104:21 113:6   informative             338:17                 246:5,12            interventional
  117:24 119:10        191:13 195:22         instruct              interested             22:7 23:22
  120:8,11 121:10       199:4 320:12          39:10 41:8 72:10      40:13,15 128:7       interviewed
  121:14 124:8,10     informed                 209:14 212:19         150:22 175:6         353:14
  125:17 139:20        12:3 204:20 205:8     instructing             176:21 219:2        intestines
  140:8 152:17        informs                 38:3 39:7,12 40:25     246:19 359:16        313:21
  153:13 155:1         17:18 99:14           instruments           interesting           intraepithelial
  282:7 288:25        infrequent              58:9 98:24            33:10 80:9 186:5      8:4 76:18 77:13,16
  290:3 294:17         162:17 344:22         insult                  192:19 221:16         78:12,17 91:18
  295:25 296:13,16    ingestion               77:7 326:9,9           227:16 320:11         92:3
  296:22 300:1,4       335:24                intact                  326:4               intraoperative
  301:9,22 302:10     inhalation              264:16               interestingly          20:7


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 178 of 348 PageID:
                                     60952
                                      Sarah E. Kane, M.D.
                                                                                               Page 383

intro                  43:3 45:3 46:1       Jacqueline             JRestaino@Rest...  Kane's
 240:17                 47:10 48:1 73:15     173:12                 3:24              9:18 12:4 52:25
introduce               94:5,8 104:18       Janet                  judge                284:25
 162:6                  105:13,20 195:2      1:19 2:11 11:14        195:12 197:6      Karen
introduced              195:12 203:22         359:4,21               198:13,14,19     92:1
 58:8 98:23 106:23      215:20 217:2,22     January                  321:22           KATHERINE
  125:6 127:13          218:5 254:17,19      1:16 2:14 11:5 14:2   judgment           4:13
  128:15 161:25         325:21 350:5          14:4 28:10 30:7       126:22 140:24     katherine.mcbet...
introducing           involves                166:17,21 167:11     judgments          4:17
 353:25                212:23 354:6 355:4     169:25 170:1          177:20            KCS
invade                  355:8 356:1           180:21 182:23        Julie              117:25
 212:22               involving               185:11 186:15         174:10 319:15,16  keep
invading               343:7                  187:17 194:23        July               40:19 48:18,21
 209:11               in-between              232:24 233:5          34:1,3,9 42:7       117:10 135:18
invaginated            80:8                   339:14 359:19          359:23             166:10 234:11
 79:24                in-depth              jelly                  June                 254:20
invasive               126:7 246:15          106:25 162:3           31:19 32:1,2 34:11Kemble
 65:13 78:8,23        irritant              Jersey                 jurors             5:10
  81:10,23 83:4        121:17                1:2 5:11 11:11         352:18            kept
  93:9 191:19 222:6   Israel                job                    jury               36:2 50:6 167:12
  352:12 354:13,14     239:17                26:19                  227:24            keratin
  354:22              issue                 Jody                   J&J                59:18 111:8
inverse                40:24 133:15          6:11 11:3              189:6,17 319:18   Keskin
 302:1                  161:20 198:12,13    jog                                       187:3
investigating           198:24 216:22        183:4                          K         kind
 73:23                  217:7 295:8         jogging                K                  18:18 19:8 20:25
investigation         issued                 203:7                 4:4                  24:25 25:14 33:9
 106:24 162:1          191:6 340:6          John                   Kane                 51:10 65:17 70:12
invoice               issues                 3:20 41:12 173:17     1:15 2:7 7:3,11,14   70:17 118:13
 7:15,17,19,21,23      19:24 35:10 171:20     174:10 253:18         7:15,17,19,21,23    122:20 147:24
  28:22 31:7,8,16       195:11 202:1        Johns                   8:18,25 11:12,20    149:25 150:19
  31:20,24 34:1,10      208:6 224:3          57:13                  13:13,25 15:4,11    152:10 166:19
  35:6,16 36:13         282:20 338:2        Johnson                 15:17,21,22 16:18   170:13 177:7,25
  37:22 41:19 42:1      353:9                1:4,4 4:9,9,10,10      27:15 28:3 29:22    188:11 190:2
  42:3,4,23 43:8,9    item                    4:18,18,19,19         31:8 41:19 43:9     196:25 208:14
  43:13 44:6,15,16     28:17,17               11:8,8 129:5,5,22     44:6 45:10 53:4     219:19 233:9
  45:5,10,14 46:6     items                   129:22 319:13,13      56:2 64:17,20       237:1 240:3
  46:12,14,18          14:4 15:3 165:15       319:25                117:6 160:18,21     244:18 296:4
invoices                166:1 175:13        Johnson's               164:20 186:13,17    313:23 316:20
 30:24 42:25 49:2       182:21,25            129:9,19 133:12        199:23 231:11,20    335:9
invoke                i.e                     319:25                231:23 289:15,22 Klatt
 68:6                  256:22 257:10        joint                   318:24 319:3      4:22 7:5 13:17 21:1
involve                                      226:7                  326:13 328:10       21:4,7 38:9 52:1,4
 221:17 303:22                 J            Jonathan                341:16 349:14       52:7,23 53:3,7
  315:16 355:19,24    Jack                   222:24 239:18          352:16 358:8        72:6 73:25 109:22
involved              203:3                   240:3 245:24          359:7               125:25 127:7


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 179 of 348 PageID:
                                     60953
                                  Sarah E. Kane, M.D.
                                                                                        Page 384

 128:6,8 132:8       89:12,15,22,25     200:23 203:3         177:21 217:19       70:24
 149:21 155:3        90:12,15 91:24     204:9 206:4,5,16     234:14 246:8,9     last-minute
 163:2 197:13,17     94:22,23 95:6      206:20 209:7         282:11,18,21,22     187:12
 197:22,25 200:16    101:16,18,23       214:4 217:4,9        283:1 284:7 287:5  late
 201:8 206:23        102:11 103:19      219:20 220:19,24     321:2 359:11        36:9 173:16 187:9
 208:19 209:6,20     104:23 107:20,24   224:4 228:25        knowledgeable         221:13 320:9
 214:23 221:20       108:22 109:18      229:2,3,5,17        176:12 352:13         335:9
 223:24 266:14       114:1,15,19,20,21  230:19 233:14       known               law
 316:7,23 318:19     114:22 115:1,2,7   234:12,14 235:5     57:18 63:6,7 77:2    3:19 11:21 45:2
 318:23 319:3        115:23 116:6       236:16 237:1         141:17 142:17        46:1
 328:1,19,22 329:2   119:19,19,25       240:1 243:19,21      143:2,3 156:18     lawsuit
 329:7 339:25        120:6,19,21        246:2,13 247:1,24    233:8 284:14        319:6
 340:5 341:3,7       121:11 123:13      249:12,18 250:18     323:7              lawyers
 344:19 348:20       124:3,5,6,8,9,22   251:13,14,15,19     knows                352:17
 349:13 350:12       125:5,9,11,20,21   252:10,13,14        101:1 206:6         lay
 354:21 355:17       126:11,21,25       254:16,25 268:15    Kurman               74:4 126:6 352:13
 356:2               127:9,12 128:13    270:1 274:22        29:3 55:9,12,19,22  layer
knew                 128:18,18,25       276:24 277:2,3,4     56:3,13,17 57:5,8   157:25 158:1
193:15,18 244:18     129:1 131:18       278:10 281:4         57:11,24 61:22     lead
 245:21,24 253:25    132:11,21 134:10   282:6 290:19,22      187:20,21 234:19    64:7 119:9 125:4
 292:10 352:8        134:22 136:9,14    291:7,11 293:2,6    Kurman's              125:18 220:11
know                 138:14,20 139:5    293:7,14 296:19     61:3 190:8            294:19 312:19
12:12 13:22 15:7     140:3,4,5,7,14,17  297:6,9,21,21,24                        leading
 22:19 26:24 27:4    141:10,14 142:1    298:6,15 301:3,4              L          139:21 191:9
 27:20 28:11,19      143:10 144:8,10    301:16 304:12       label               leads
 30:2 32:8,17 33:2   144:10,13,16,18    305:13,17 306:17     334:8               191:3
 34:12,18,19 37:4    145:14 146:25      306:17 307:5,9      laboratories        learn
 39:16,20 41:10,12   147:1,2,6,12,18    308:15,19 311:15     307:22              282:5
 41:13,13,15,16,16   147:21 148:4,5,14  311:16,17 312:22    laboratory          learned
 46:11,22 47:23      148:15,19 150:22   313:8,8,9 314:6,7    310:14              246:18
 49:20 51:15,20,23   151:2,7 152:7,8    314:8,24 315:21     lack                learning
 51:25 52:14 53:17   152:11 153:17      315:24 316:25        276:11              144:25
 54:1,18,25 57:7     158:10 170:8       319:9,16,17,18      lacking             leave
 57:10,11,17,22      171:13 172:4,5     321:14 322:14        296:14,18 300:4     197:20,23 273:9
 58:25 61:5,10,17    174:15,22 175:2,6  323:16,18 326:25    laid                  301:14 303:3,3,16
 61:24 62:19 63:3    175:17 176:20      332:17,19 334:1,2    126:20             lectures
 65:3 66:1,3,4,5,7   177:2,16 178:4,6   336:14 338:4,21     lands                225:4
 66:14,17,23 67:6    178:17 179:11,13   339:1,4,8,16,19      306:19             LEEP
 67:15,16 68:22,24   181:11 186:4       340:22 341:16       language             18:16
 68:24,25 69:14,16   190:1,2 191:5      350:25 352:18,20     236:6,8 279:23     LEEPs
 71:13 73:21 74:19   192:2,24,25 193:1  353:13,15 355:23      281:2,7 283:11,13 22:19
 74:25 75:1,3,6,7    193:4,12,20,22    knowing                283:22            left
 75:10,13,20,24      194:7 195:5,8,14  195:15 197:11        large                14:6 64:21 228:5
 76:3,4,4 77:21      195:18 196:16,25   298:23               65:24 121:21         232:10 278:19
 78:3 80:19,20       197:12 198:15,19 knowledge               190:10,11 234:22 left-hand
 83:9 84:19 85:22    199:6,8,9 200:20  50:22 140:1 141:19   larger               263:3 347:2


                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 180 of 348 PageID:
                                     60954
                                       Sarah E. Kane, M.D.
                                                                                                 Page 385

legal                    146:17 323:16       limited                  168:1,4 169:25       126:8 127:3,10,12
 195:11 215:20           324:18,23,24,25      198:5                   172:12 174:1,2,3     128:14,18 132:11
  216:12                 325:1,4,8,9         Limiting                 174:13 175:25        133:8 134:11
lends                 LEVIN                   276:8                   176:2 179:22,24      136:21,23 147:22
 320:13                3:11                  limits                   179:25 180:11,20     149:23 151:25
leprosy               Lewis                   40:25                   182:1,1,2,3,18       157:3 165:16,22
 162:16                175:23                line                     185:17 187:5,11      166:23,23 167:6
lesion                LHG                     34:7 110:16 210:16      200:13 202:17,25     167:13,25 168:22
 77:19 80:17 94:11     1:7                     278:22 357:3           203:2,6 204:15       169:18,20,23
lesions               Liability              linear                   211:20 218:22        170:12,19 171:3
 76:25 78:4,10 79:6    1:7 11:9               347:14                  224:5 226:17         171:21 172:1
  79:16 80:10,13,16   license                lines                    232:8,18,19 233:5    177:21 182:5
  80:23,25 81:5,9      15:13                  155:23                  247:15 265:11        183:14 185:17
  89:18 91:10 92:24   life                   lining                   270:17 291:14        186:9 190:16
  92:25 93:23,25       123:18 180:16          99:21                   315:3,6              193:17 202:9
  94:6 103:17 223:3      258:20 329:15       link                  listed                  204:2 206:16
  297:16                 347:19               119:14 149:7,23       15:3 165:24 181:13     211:1 215:8,11,13
lesser                lifespan                 150:18 152:9           186:25 187:22        215:17 216:2,6,9
 299:10                123:6 124:7             300:11 324:15          193:25 194:4         216:18,23 217:1,6
less-than-daily       lifestyle                339:13                 201:22 202:16        217:9 218:9 219:1
 348:10                353:9                 linked                   258:16 265:10        220:22,23 222:2,3
letter                lifetime                63:4 64:4 91:2          290:19 292:14        222:7 224:14
 184:10                258:21 259:23           125:6 127:10,13        308:21 322:15        237:2,5,8 238:14
let's                    260:5 261:9 262:6     128:14 153:24       listing                 239:13 244:14,20
 29:15,16 31:12       lift                     154:14 296:11        49:20 166:23           245:21 246:3,7,14
  54:3 71:3,11 86:8    283:21                linking               lists                   282:7 287:14,18
  95:12 99:11         ligation                81:8 151:2 164:2      51:8 152:4 168:23      288:11,16 313:22
  113:11 135:18        260:8 261:15,25         296:12,16 344:9        168:25 234:8,8,10    317:21 334:15,16
  137:18 155:5           263:14,17 272:8     links                    234:15 331:13        337:3 338:24
  157:15 166:15          299:1,5              147:22               literature              339:20,22 340:15
  173:10 181:15,16    light                  lipid                  35:13,18,25 36:5       352:11
  194:21 197:25        58:21 99:9 103:12      162:6                   36:11 42:11,17    lithium
  201:9 208:21           107:5 108:13,15     lipoid                   43:22 44:23 49:19 250:19
  218:12 226:21          108:21 109:21        107:1 162:5             49:25 65:9 66:11 litigation
  229:15 234:11          110:11 111:3,9,14   liquids                  66:25 67:7,16      1:7 11:4,9 32:5
  242:20 255:19          111:21,24 112:4,6    102:5                   68:15 71:13 73:6     34:5 40:7 41:6
  258:15,19 277:13       112:18,19 113:4     list                     73:23 74:23 75:15    43:4 61:4 141:16
  278:2 293:22           118:8 162:14         12:1 13:15,25           76:7 79:2 80:24      171:20 174:20
  299:19 304:18          246:23 316:4          14:11,18 48:21,21      81:6,12,21 84:23     175:5 176:23
  326:4 327:25           342:15                48:22 49:23 50:3       85:8 86:24 89:5      177:4 178:2
  330:2 341:8         Likewise                 50:3,14 51:5           90:2 91:8,14,15      183:18 184:5
level                  347:18                  53:10 56:3 60:5        94:22 100:14         190:8 194:5
 327:21 330:14        limit                    143:8 152:6 159:2      102:5 104:15         203:12,22 217:3
  331:2,9 349:21       21:1 197:13 230:7       165:22 166:10,17       106:5 114:2,5        235:17,21 245:16
levels                limitations              166:21 167:2,9,9       119:13,24 123:14     249:13,15 253:23
 145:11,11,19          237:13                  167:11,22,23           124:21,23 125:5      255:3


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 181 of 348 PageID:
                                     60955
                                      Sarah E. Kane, M.D.
                                                                                             Page 386

little                   279:6 312:2        13:14 52:10 55:20    191:10 192:7          324:5 334:21
 36:1 50:21 64:11      Longitudinal          73:7 82:5 119:19    193:17 195:12         353:7
   69:2 88:4 90:11      223:7                132:24 133:2,4,6    196:18 205:13       Lou
   102:10 110:20       Longo                 133:8 134:4,5,6     215:18,18 216:17     259:5
   144:1 157:22         180:2,7 187:16       134:11,11,12,13     216:20 218:9,22     low
   158:3,17 162:18       227:1 321:15        139:8 141:15,20     219:21,22 222:12     289:6
   167:15 169:12       Longo's               143:7 153:16        222:14,17 237:3,9   lower
   183:4,5 186:5        134:6 181:7 320:9    154:3 159:13        249:17 251:6         331:24 346:16,20
   233:24 273:20         320:23 321:6,16     168:5 169:20,23     252:13 258:10         351:10
   275:7 276:1           321:24              186:8 190:3 224:7   259:6,7,22,24,25    lowering
   279:11 294:8        long-term             227:6 246:20        260:2,10 261:5       334:21
   306:16 350:16        9:8 147:8 252:22     257:16 260:5        267:20 274:4        lowers
LiveNote                 253:10 307:9        267:17 270:20       275:18 284:6         154:7
 2:12                  look                  293:19 294:16       287:25 292:14       low-grade
living                  21:23 24:24 25:13    295:22 300:24       293:16 294:15        65:13 83:6 85:3
 210:23 214:18           29:9,16 31:13       302:5,18 305:11     295:16 299:18         87:5,8,14,15
LLC                      48:5 71:21 81:15    305:14,22 307:3,3   302:19 307:7          88:10,17
 3:19                    82:8,13,17 83:8     311:12 319:23       311:13 316:13,15    lubricant
LLP                      83:12,20 103:1,2    325:8 327:1 336:4   324:4 331:11,12      106:25 118:11
 3:2 4:12,21 5:3,8       110:12 113:19     looking               334:17,22 342:7       162:3
   5:17 6:3              134:14 135:21      19:6,12 23:14        346:6 348:21        lubricants
local                    139:3 140:20        24:23 25:11 33:25   350:10               117:22
 295:9                   142:7,25 152:5      36:21 37:2,11     looks                 Luckily
LOCKE                    164:12 168:3        38:5,11,24 68:16   14:17 31:12,18        50:10
 6:4 163:4               170:9 180:4,15      69:4,20,23,24       34:2 42:3 44:14     lugging
lodge                    181:22 182:24       70:6,9,14,25        44:19 96:1 131:4     96:25
 11:18                   186:20 200:12       72:11,22 74:15      207:1,5 247:15      lunch
log                      202:13,25 213:21    77:24,25 81:12      258:16 262:10        110:21 159:16
 48:20                   217:17 218:12       94:6 101:10,18      331:22                160:5,7,10
Logan                    223:15 224:2        106:6,7 111:12,25 loop                  lung
 4:14                    229:15 242:25       112:4,7,16 113:17 153:10                 25:10 26:9,14 63:8
long                     255:12,14 258:6     114:16 115:5,14   loose                   152:13 250:17
 26:13 31:23 101:11      259:18 260:19       115:17 120:2       202:7                  337:23
   101:17 115:2          261:8,17,19 270:3   126:17,19 131:20 lost                   lymph
   121:8 124:9 176:5     271:7 273:19        135:13,17,18       167:16                9:7 251:23 252:21
   185:14 193:21         274:2,16 275:14     138:1,19,21       lot                     253:9
   225:8 233:23          276:4 277:23        139:18 140:23      65:21 79:16,18       lymphatic
   291:8 301:3           279:9 293:10,13     141:19 145:3,6      80:3,7 82:4,5        248:4,11 304:22
   305:17,19 306:18      296:7 299:19        146:4 149:11,13     94:24 114:24        lymphocytes
   306:23 311:15,16      301:19 307:23       149:15 153:11       124:20 125:22        58:19 59:4 63:17
   311:17 312:7          309:2 312:25        154:20 156:8        153:18 167:19         63:18,22 99:7
   324:6 326:22          316:6,6 327:19      157:4 160:23        171:5 186:8           108:5 314:11
   327:8 338:8           330:2 336:1         168:8,9 172:11      191:10 199:1        lymphocytic
   341:16 344:22         345:20 347:1        174:13 177:21,23    203:8 227:9          314:5
longer                   349:1               178:9,15 180:11     240:22 241:6        lymphomas
 110:21 120:22         looked                180:18 184:9        245:1 257:25         315:9


                   Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 182 of 348 PageID:
                                     60956
                                  Sarah E. Kane, M.D.
                                                                                           Page 387

Lynn               Maltese              marriage               211:11 235:17       272:18 274:23
30:15              118:2,7              359:15                MDs                  mechan
L-A-U-G-H-E-R      manifestation        Mass                  333:1                66:22
39:24              77:3,6               33:4 238:5 242:21     mean                 mechanism
L-S-E-N            MANSUKHANI            243:6                16:25 17:16 20:5     74:16 123:15
40:5               4:21 5:3             Massachusetts          20:24,25 21:20       125:16 139:16
L.L.P              March                2:10,14 11:8 16:3      22:22 25:10 36:2     152:19 154:24,24
4:3                92:5                  30:15 33:6 39:21      48:17 51:12 60:1     191:7 228:9,16,18
                   Marina                359:2,6               60:2 61:13 68:13     229:7 248:20
        M          3:4                  massive                75:14 77:5,6,19      249:19 250:14,18
M                  mark                 313:12,15              77:20 78:18          250:20 251:8,12
1:19 5:9 359:4,21  29:19 31:6 50:16     material               101:25 102:15        294:25 297:5
MA                  92:6 95:11,12       8:20,23 102:8          105:4 106:2 108:6    300:1 304:13
3:6                 96:8 97:9 260:24     106:22 113:5          115:5 116:1,3        342:14
macrophage          266:5,13,16 286:9    117:18 121:25         131:18 138:11       mechanisms
73:13 74:10 121:22  286:11 328:1         161:24 162:7          139:4 140:20        62:12 65:21 66:2
macrophages        marked                165:5,9,19 170:6      153:1 170:7          66:20 67:3 68:14
73:13 74:11 105:13 27:16,19 29:4,22      181:18                172:15 175:9         68:21 73:21 74:24
 105:16,20 121:24   31:9 41:20,24       materials              177:16 182:9         75:7 107:25 154:9
 122:3,8,15 123:5   43:10 44:7,10       8:24 11:19,22 12:6     188:25 200:2         205:6,7 219:16,18
 123:7,12,18,19     45:9,12 54:8,11      13:7 14:5,9 15:1,4    203:3 204:18,19      229:1 249:1 250:2
 124:1,6            91:20,22 92:8        17:1 45:22 50:25      216:15 218:4         250:12
mailings            95:18 97:21 98:5     51:14,18 52:20        222:14 223:16       Media
218:25              98:11 160:13,16      53:15 56:1 104:3      224:10,10 225:21    64:13,16 117:2,5
main                161:1,7 164:13,17    165:15,24 170:2       226:8 238:7          160:8,17 231:19
5:19 26:20 57:15    164:20 165:3,6,10    170:24 171:19         246:11,14 247:3      289:14
 299:25             181:18,21 186:17     180:19,19 182:22      257:2 269:9 277:6   medical
maintained          194:12 252:23        184:2,6,20,21,22      281:19 287:17       16:8,10,18,21 17:6
245:9,11            253:3 260:23         184:23 186:13,17      297:22 298:16        17:18 19:7,9,10
major               266:23 272:23        226:20                301:12 311:13        24:11,14,19 30:14
141:5 143:9 295:10  273:8 278:13        matter                 314:14 315:15        35:13,16,17,20,24
 300:6              285:1,3 289:20      11:18 21:4 132:2       322:20 323:11        36:4,5,11 40:15
majority            308:9 328:8          148:25 198:9          326:11 342:11        42:16 43:22 44:23
20:17 21:11,16     markers               227:19 229:22        meaning               55:9,17 79:15
 23:14 171:2       298:1                 307:1 359:11,17      79:4 172:16 280:6     166:14 217:25
 183:13 184:14     market               matters                316:10               223:8 225:8
 202:21 233:4      108:9                95:9                  means                 240:15 255:5
 234:10,11 336:3   marketed             ma'am                 139:25 142:5,10       282:4 316:19
making             334:10               42:24                  246:13 262:21        325:2 334:6 335:5
70:7 176:8         MARKETING            MCBETH                meant                 335:12
malfunction        1:5                  4:13                  291:13               medical-educatio...
50:9               marking              MDL                   measurements         223:9
malignancies       43:6,7 194:14        1:6 12:8 13:2 42:22   331:16               medical-legal
93:21 318:5         266:11 289:22,23     43:2 56:22 81:7      measures             215:21
Malmberg           marks                 194:1,5 196:23       265:15 271:10,19     medications
92:2               281:9 283:24          201:21 203:12,18     measuring            302:2,10 303:8


                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 183 of 348 PageID:
                                     60957
                                    Sarah E. Kane, M.D.
                                                                                            Page 388

medicine             2:11 359:4           methodologies         109:21 110:11       56:19 341:8 354:5
188:10 189:1         Merritt              225:6                 111:3,9,14,21,25    minutes
 213:22 215:24       289:24 291:5 292:9   methodology           112:4,6,18,20       35:10,12 42:11
 218:1 219:7          293:16,17,24        126:6,18 127:3,5      113:4 221:17,19      43:20,21 44:22
 223:22               294:1,8,13,15,16     138:12,18 140:21     246:23 306:1         45:1,22 110:23
meeting               299:19 300:9,16      170:9 186:6 188:7    308:11,18 316:4      253:12 289:8
43:24 45:2 317:14     300:20               188:9,13,15,22      mid                   318:13 348:18
meetings             Merritt's             189:1,4 213:23      12:22                misclassifications
223:12               290:6                 215:23 216:13       middle               338:11
member               MESEHA                217:14 309:19       61:12 71:25 137:7    misdiagnosed
336:6,9,15,20        5:9                   310:23 311:2         215:1 345:20        222:5
memory               mesothelial           338:23 339:20,21    midway               misimpression
176:18 183:4,5       153:1 312:14         methods              273:20 279:10        51:22
 190:9 203:7 239:6    325:12              220:15 226:13,14     mid-January          misleading
 258:14 275:13       mesothelioma          270:9 308:11        194:24               199:13
menorrhagia          63:8 152:13 156:4     309:18 321:3        migrate              missed
58:12 99:1            242:4               Michael              248:3                237:15 296:8
menstruation         mesothelium          4:22 5:18 173:4,13   migrated             missing
252:6                155:23 157:25         175:22              252:14               69:3
mention               158:1               Michaels             migration            misspoke
84:11,13 119:5       met                  32:13,14,16 33:2     148:2,3 240:23,24    83:16 320:16
 157:22 163:21       34:11 240:14 241:1   michael.anderto...    241:1 252:3,8,10    misstate
 206:24 251:19       metal                5:22                  252:19 298:13       91:12
 273:6 300:13        322:8                microbacteria         299:13,16 304:21    mistaken
 303:17 314:5        metals               103:6                Mike                 194:24
mentioned            130:20 131:2,4,9     microbacterial       163:5 180:17 319:3   mistakenly
22:17 24:4 67:9,11    131:10,16,17        105:3                 339:24 341:1        290:20
 67:22 108:5 134:5    133:20,24 134:8     microbiologist        355:14,20           misunderstanding
 167:16 202:8         134:13,20,23        220:5                milliliter           166:25
 206:5 232:12         141:15,21 187:10    microgram            331:7,13             mitigating
 238:2 242:21         322:6,11 323:10     331:9 332:1          million              329:19
 264:22 271:4         323:15,17 324:8     micrograms           305:25 307:11        mitochondrial
 300:23 302:11,14     324:10,16,18        331:7,12,23 332:3    Mills                221:7,18
 303:19,20 305:15     325:4,9 327:1       microscope           273:7 277:20 278:3   mixed
 312:10 322:4         343:2               21:24                 278:6,17 279:19     33:18 228:15
 325:10 336:25       metaplastic          Microscopically       280:3               mmeseha@coug...
 341:23 354:4        337:13               58:13 99:2           mind                 5:13
mentioning           metastasize          microscopist         135:18 195:2         Mm-hmm
328:11               68:12                319:21                218:22 246:12       69:7 76:23 93:8,12
mentions             meta-analyses        microscopists         352:19               98:13 121:4
58:6 62:7 63:16      156:22 158:13        36:24 37:11 38:5     mine                  142:18 168:11
 119:1 157:21         350:17 351:9         38:20,23 39:17      95:24 186:7 319:11    183:9 185:12
 255:15              meta-analysis         40:18 41:5 306:11   mineral               256:13 262:2
mere                 225:24 226:3,6       microscopy           106:25 140:16         272:20 304:24
325:14               metformin            36:16,23 37:3,5       162:4                330:16
Merit                250:19                108:13,15,16,21     minute               model


                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 184 of 348 PageID:
                                     60958
                                     Sarah E. Kane, M.D.
                                                                                           Page 389

 80:3 189:1 263:8     89:3,3,8 90:8        31:8 41:19 43:9     229:25 246:14         224:6 244:21
moderate              354:17               44:6 45:10 64:17    247:3 257:23          245:5,5 273:23
257:1 349:11,20      mucosal               117:6 160:18        305:20 307:5          274:8 310:2 311:4
 350:24              107:3 162:12,24       164:20 222:16       316:16,21             324:19 325:6
modified             MUC-1                 231:20 289:15      necessary              338:12
150:14 272:7         249:6 304:12          358:8 359:7        304:15 312:23        new
Mohrman              multiconferences     M.D.s               necrosis             1:2 5:11 11:11 14:9
12:16                176:15               223:23              105:3,5,7 117:25       16:11 123:12,19
molecular            multidisciplinary                        necrotic               145:1 157:11
76:8,10 84:22        176:15 241:19                 N          105:10                 198:20 216:13,13
 86:23               multinucleated       N                   necrotizing            223:2 265:21
moment               58:17 60:8 99:5      7:1 11:1            105:10                 284:9,10
101:22 239:16         104:21 105:17       name                need                 newer
Monday                111:19 122:4        11:3 15:19 32:9,17 26:23 27:21 29:24     245:22
23:7                 multiple               34:13 39:22 41:13  47:3 108:14,18      Ni
money                31:4 192:6,6,11        41:16 56:4,14      136:14 146:2        303:5 341:23
46:22,25,25           292:1 302:5,6         57:18 66:9 78:12   196:25 200:16,24    nice
monitor               351:24 352:5          173:18,19 196:10   202:25 221:14       23:13 146:12 172:4
245:12               multiply               196:13 201:21,24   230:19 243:7          227:11
Mono                 48:24                  254:14 314:20      250:20 260:11       Nielsen
222:20               multivariate           315:16 319:3       261:7 317:3         39:20,24 40:2,6
monograph            263:8                named               needed               night
322:11               multivitamins        173:24 187:22       167:8 181:25 199:1   186:14 240:3,10
month                323:23 324:12          211:21 315:18     needle-like            242:12,15,19
113:7,15,18,22,24    mumps                names               58:20 99:8           nitrogen
 269:13 339:14,17    155:18 301:23        38:22 86:3 172:18 needs                  153:5,7
months               muscle                 291:9             30:3 249:16          nodded
347:20               221:6,18             Narasimhan          negative             97:23
morning              mutagenesis          218:16              103:10 252:11        nodes
15:17,18 242:17      330:1                narrative            303:4,5,6,15,17     9:7 251:24 252:21
Morristown           mutagenic            220:22,24            309:11 310:1          253:9
5:11                 314:19               National             311:1 341:22        nodule
Mostafa              mutation             338:16               342:6               17:11
207:3                75:21 78:19          nature              neither              nonasbestos
Mount                mutations            18:13               238:16               242:5
5:10                 73:16,17,20 74:14    NCI                 Neoplasia            Noninfectious
move                  74:20,22,22 75:1    338:19 339:4,16     222:25               117:17
181:16 212:18         75:4,11,15,18,18    near                Neoplastic           nonresponsive
 284:24 287:2         76:15,16 80:11      305:16              10:6 328:6           73:25 75:9 109:22
 296:5 350:12         84:20 90:18 91:2    necessarily         net                    125:25 126:1
moving               myeloperoxidase      54:1 103:19 105:2   143:24 144:1,21,24     127:8 132:8,9
117:10 273:4         153:18 284:12          105:5 106:5,8      170:10 237:11         144:4 149:21
 288:20              M.D                    111:10 112:1      never                  155:3 214:23
mucinous             1:15 2:7 7:3,14,15     114:14,24 146:14 69:23 70:5,13           221:20 223:24
67:14,17 84:8,12      7:17,19,21,23         169:2,8 170:5      101:21 146:20         257:6 316:7,23,24
 84:14 85:12,16       8:18 15:11 29:22      172:22 179:19      195:14 210:13         349:13 354:21


                    Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 185 of 348 PageID:
                                     60959
                                    Sarah E. Kane, M.D.
                                                                                           Page 390

nonstatistically      194:3 196:3,21       192:12 239:19       189:9 194:6 195:3   occurrence
259:10                229:20               240:1,7 241:3       195:24 197:14       344:10
nontumor             Ns                    245:25 338:9        207:12 209:5,8      occurs
70:3                 39:24                N-I-E                211:15 212:18       241:2 252:3,8,19
nonusers             NSAID                40:2                 214:23 217:13       odd
347:11,16            154:20,22 302:19     N.W                  221:20 223:24       192:19
Non-case              302:22 303:2,18     6:5                  228:8,12 244:24     odds
9:5 194:11,18         334:19 335:20                            247:21 249:24       273:21 290:19
normal               NSAIDs                        O           250:3 251:3 257:5     291:21 292:17
70:3 207:4           9:22 154:4,5         O                    262:18 265:3          345:21,25 346:7
North                 289:19 290:4        11:1                 283:25 284:20         346:10 349:11,24
30:13                 302:15,17 334:18    Ober                 306:14 310:21         350:14,17 351:5
notable              null                 173:4                316:7,23,24 320:4     351:10,14
344:14               258:20 259:13        obesity              334:12,13 344:19    offer
Notary                262:13,15,16,19     90:7                 351:17              202:2 229:21 230:3
2:13 358:18 359:5     262:25 264:4,8      object             objections              230:3,18 231:1
 359:22               265:1 268:14        12:5 13:5,8 21:7   12:10                   247:20
notations             269:10,24 274:9      28:18 41:3 63:25 objective              offered
52:25                 274:15 346:3,13      63:25 71:24 72:2  236:23,25             37:1 47:12
note                  346:15               72:4 73:25 109:22 observation           office
73:19 202:14         number                208:18 209:14     69:8                  22:14 23:6 52:11
 296:10              7:9 8:2 9:2 10:2      212:15 213:4      observational           243:25
noted                 11:25 12:23,24       349:13 350:12     190:13 225:2          offices
11:13 195:25 358:6    28:15 57:20 63:19    354:21            observe               2:8
notes                 90:25 94:2,3        objected           345:24                oh
35:23 53:12 170:18    109:13 116:12       28:15 250:5        observed              18:3 28:23 43:7
 172:2 202:9          155:20 156:14       objecting          101:13 263:9,18         53:2 92:10 93:4
 210:19,22,22,25      157:6 174:25        38:7 72:17           264:13 294:25         97:7 106:11 150:5
 211:2 236:16         192:20 202:14       objection            299:24 302:3,3        156:2 161:9
 279:23 281:13        203:11 291:25       11:19 13:19 20:14    303:23                166:16 188:4
 359:10               295:18,21,22         20:14 21:2 37:6   obtained                256:12 261:17
note-taking           307:25 308:1         37:13 41:7 46:24  310:10,22               266:20 268:3,16
281:6 286:5,21        346:1                49:15,17 62:5     obviously               273:9 274:10
notice               numbered              74:8 75:9 86:13   22:10 173:14 182:9      277:8 278:10
7:10 27:14 28:4,14   42:2                  101:15 104:4        185:23 187:17         285:13 289:2,6
 50:3 54:14 166:15   numbers               105:1 110:2,6       292:21                290:12 328:22
noticed              82:13 158:22 159:3    116:16 123:4      occasional              354:1
291:3 337:9,12        259:15 261:19        125:25 126:5      117:23                Ohio
notification          264:9 267:16         127:7,8,16,17     occasionally          5:20
241:14                269:9 276:23         130:17 132:8,9    17:7 243:7            oil
notion                338:14               135:6 143:12      occur                 107:1 162:4
352:23 353:16,25     numerous              144:4 146:19      73:17 74:12,14        okay
November             211:6,6 291:19        149:9,21 150:1      75:2 107:16         14:8 15:7,10 16:5,9
14:1 30:11 45:19      337:2 352:6          151:5 153:15      occurred                16:13 18:6 19:18
 46:7,8 164:18,23    Nurses                154:18,21 155:3   40:9 101:13,17,21       21:25 22:12 23:3
 182:16 193:24       82:12,18 84:10        175:15 176:25       272:4 310:15          24:3,10 25:16


                 Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 186 of 348 PageID:
                                   60960
                                    Sarah E. Kane, M.D.
                                                                                              Page 391

26:3,19 27:8,9        231:23 232:12       oncogenic               153:22 171:10,10    29:16 99:12 209:10
29:19 30:1,23         233:6 235:2,6,12    306:25 311:20           172:4 177:9,10,14     250:14,21 258:8
31:22 32:8,21         235:24 236:8,14     oncologist              177:25 178:8        ordered
33:25 34:17 36:6      237:25 238:2        175:23                  186:3,11 204:3,11   195:6 197:7 201:6
39:14 41:18 42:21     239:2 244:9 245:8   oncologists             217:5 219:14        organ
43:5,6 44:3,21        247:7,14 248:2      317:18,18,23,23         227:13,15,22        143:17,21 144:6,9
45:5,8 46:17          249:3,14 253:4        318:3,10              240:19 243:4          322:23,25 336:22
50:15 51:9 54:5       254:5 255:2,6       oncs                    244:15,20 248:2,7   organic
55:7 56:19 57:1       256:4,15 258:7,13   176:12 241:21           248:14 249:22,23    42:17
58:4 61:17 64:12      261:4,8,11,18       ones                    250:1 254:23        organization
64:25 70:5 79:8       263:5 264:21        88:9,11 97:5 159:1      301:15 326:25       334:6 335:13
86:5 87:13 88:2,2     265:2 266:2,4         169:8,11 170:1        327:3                 336:21
88:3,12 89:25         267:2,5,23 268:6      174:5 176:1 182:7   opinions              organizations
91:16 92:11 95:9      270:22 271:6,14       183:2 187:6 203:1   12:4 14:10 38:2       335:5
95:25 96:7,16         273:2,11 275:12       218:11 222:17         39:3 40:21 49:13    origin
97:7,8,24 98:7,10     275:14 277:20,23      261:20 291:15         60:25 83:22 98:9    88:25 157:19
98:14,15,18           278:1,14,16,25        305:14 336:3          99:14,23 106:17     original
100:25 105:24         280:10,14,21,22     one-page                107:15 118:16       28:9 51:16
106:15,18 107:14      284:24 286:8,15     226:20                  131:25 162:20       originally
109:11 110:13         287:2,9,20 288:20   ongoing                 168:18 171:12       77:23 132:10
112:8,21 116:24       291:16 292:8,11     17:15,23 18:12          177:10,18,20,24       290:17
117:12,14,16          293:1,6,7,12,25       22:13 94:23           178:3 184:24        originating
118:15 127:23         295:6,7,14,20,22      311:24                185:25 188:7,16     297:18
128:3 129:14          296:6 303:19        oops                    188:23 190:12       oropharyngeal
130:5 141:1,4         305:22 317:3        266:16                  198:16 199:10,15    144:15
150:11 155:9,12       318:11 319:1        open                    204:19 212:4        ORs
159:14 160:21         320:17 336:14,19    51:20 52:12 179:12      213:12,16 227:18    258:22 346:3
161:3,9,11,24         341:19 345:8,11       263:16 272:5          227:19 229:21         347:22
164:7 165:12,13       345:13 347:5          333:3                 230:2,4,13,18,19    OSE2a
166:3,7,19 168:8      348:17              opened                  230:25 231:3        330:9
169:4 177:7 179:8   old                   53:20                   235:17 236:21       outcome
181:15,20 182:19    187:23,24 266:17      operative               240:12 244:11       359:16
183:16,22 184:20    older                 20:5 21:22              247:10,13,16,19     outer
185:23 193:23       93:10                 opine                   248:7,15 254:24     158:1
194:14,19 195:24    Oliva                 129:20 147:25           303:22 304:3        outlined
196:6,8,12,20,24    243:11                  211:12 212:3        opportunity           230:4
198:19 199:17       omentum                 216:10,24           183:22 230:12         outside
201:19,25 202:4     115:19                opining                 239:2 318:15        16:7 17:24 18:7,12
202:12 203:9,19     onc                   83:25 128:24          opposed                 24:3 118:19,20
206:11 207:9,25     176:10,17 241:21        132:16,21 134:18    123:16                  207:16 214:4,5
208:7 210:12,12     once                    215:12 229:11,12    optimal               ovarian
213:6 214:7 220:8   94:24,24 113:22,24      320:20 326:20       331:25                9:8,11,13,15,23
220:14 223:11,18      115:3 118:9,20      opinion               oral                    10:4,7 19:19 62:4
224:21 225:11         123:1 181:25        26:12 61:3 125:21     1:14 7:10 27:14         62:10,12 63:9
226:18 229:15,19      248:22 261:14         130:11 138:12         144:12                65:1,5,8,12,20,22
230:2,11,17           338:10 347:12         148:14 152:2        order                   65:25 66:2,4,10


                Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 187 of 348 PageID:
                                   60961
                                  Sarah E. Kane, M.D.
                                                                                         Page 392

66:24 67:8,14       271:15 272:22       141:17 147:2,3,4    page                 3:11
69:1,5,14 71:6,8    276:12 288:21       147:15,19 157:25    7:9 8:2 9:2 10:2     paper
73:3,14 74:6,12     289:20 290:5        221:23 297:22        54:22,25 55:24      53:21,21 153:19
75:22 78:2 80:4     291:20,23 293:21    301:1,5 304:8,14     63:16 73:11 74:2     207:3 217:21
81:13,16,19 82:21   294:4,19 295:3,9    304:16,19 306:20     92:19 96:11,12,12    220:25 221:5
83:23 84:17 85:18   295:11,16 296:11    307:7 311:14         98:10,18 99:10       226:11,13,14
88:8 90:17 91:1     297:8,12,23 298:2   312:13               106:13,15,19         237:21 238:10,12
99:15,24 107:25     298:25 299:22     overall                117:11,12,13         239:23 241:3
108:13,24 114:16    300:2,7,11 301:10 135:22 145:9 300:5     155:7,8,9,12,14      249:7 253:11,16
114:25 115:11,13    301:21,24 302:8     349:8,21,24 350:2    155:15 160:1         255:22 260:10
115:19 119:14,17    303:9 305:8,23      350:15               161:5,6,12,18        265:17,18,22
124:18,20,25        306:25 308:8      overhaul               162:11 163:13        277:20 283:18,20
125:22 126:3,16     309:2 311:3 316:2 157:13                 165:16,24 180:4,4    283:22 284:18
126:24 130:13       316:5,9 317:2,7   overlap                196:9,9 238:2        290:6 302:18
131:21 133:7,17     317:15 322:8      36:1                   245:8 247:8,12       310:8 345:7 348:3
134:15,23 138:16    324:13,16 325:9   overlapped             258:9,11,21 263:2    351:7
138:23,24,25        327:17 328:7      171:5 184:8            265:8 271:7,13      papers
139:2,6,21 140:7    330:3,11 331:4,17 overloaded             272:12 274:5        50:4,5 57:21 76:10
140:25 141:21       331:18 333:20     329:23                 275:14 276:2         76:12 81:8 82:8
148:1 149:16        334:6,9 335:1,14 overview                277:24 278:3,4,4     106:3 114:7
151:10,13 153:18    335:16,25 336:5   240:17                 278:14,18 279:10     123:24 173:20
154:1,7,16 155:13   338:1 339:13      ovulating              280:15 285:8,15      187:1 216:5 237:3
155:16,20,22        342:14 343:10     264:16                 290:10 291:1,17      254:14 258:4
156:3,19,24 157:4   344:11 347:18     ovulation              293:18,19 294:1      270:6
157:10,12,20,24     348:13 349:5,9,16 79:21 80:1             294:10,11 296:8     paraffin-embedd...
158:5,16 163:20     350:3,5,10 351:3 oxalate                 299:19,20 304:23    309:1
190:14 191:11,25    351:9 352:9,14,21 113:9                  309:2 328:14        parafinized
203:14 204:4,24     352:24 353:14,17 oxidative               329:3 347:2,24      309:16
205:2,3 207:10      354:13,19,23      248:17,24 280:20       349:1,2 357:3       paragraph
208:2,25 210:2,20 ovaries               280:24 281:16,19    pages                74:4 98:19 117:16
211:13 212:3      125:10,13 146:17      281:23,24 282:10    28:24 29:4 71:19      155:15 255:14
217:2 228:11,19     207:4 248:3,10,13   282:12,24 284:13     96:11 97:4,25        259:7 263:4 276:4
229:14 232:13       248:16,17,22        287:6,10,21,22,25    106:12 159:20,24     278:18,22 279:10
233:7,20 234:3,23   251:13,20,23        288:3,5,11,13,16     165:14,14 168:10     280:19 291:18
237:4,10 238:4,15   252:1 296:14,17     306:24               227:4 282:16         292:24 293:3,19
239:3 240:8,13,20   296:21 300:4      oxygen                 358:3                294:5 296:9
241:9,11,24         303:23 304:4,6    152:16,24 153:5,7     paginated             299:21 301:20
243:15 244:11,25    305:9,11,23 307:4   153:9 155:1         165:13 182:21         347:3,6 348:5,9
245:13,18 249:1     309:6,7,10,14,24    327:16,21 329:9     paid                 paragraphs
250:12 251:1        310:9,25            329:19 330:8,18     37:20                293:4
252:22 253:9      ovary                 331:3,18 332:6      palpable             Park
255:9,17,25 256:6 79:22,23,24 85:21     333:20 343:13       17:11                3:4
257:4,16 260:6,22   88:23 100:6                             Pap                  parsing
261:1 263:10        114:19,20 115:4,6          P            18:14,21 22:18       335:9
264:12,20 266:23    118:22 125:15     P                      24:24               part
267:4 270:14        129:1 140:4       11:1                  PAPANTONIO           17:5,17,22 24:18


                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 188 of 348 PageID:
                                     60962
                                      Sarah E. Kane, M.D.
                                                                                             Page 393

 25:4 42:17 60:9        260:17 288:25        69:4,10 93:20,20     18:8,11,11,15,16     301:22 302:6
 81:6 140:18            305:19 306:19        100:20,25 111:3      18:16,19 19:15       312:4,5
 145:16 149:3           307:8 317:15         116:10 175:4         20:8,12,21 22:1,4   pelvis
 153:10 181:13          318:1 334:19         177:8 204:10         23:24 24:16,20      255:10
 188:6 189:25           343:21,24            211:9,10,20 212:2    26:9 69:5,18 70:1   pending
 190:5,10,11 205:6     particularly          214:6,10,21,22       106:7 304:11        26:25
 205:18 209:4          12:21 89:2            215:4 222:13,17      308:23 316:1,9,17   Pennsylvania
 211:6 212:4           particulates          234:13 238:22        316:21 317:1        4:15
 217:25 218:1          251:25                241:11 243:1         318:1               Pensacola
 219:6 222:4           particulate-free      244:21 246:21       patients             3:14
 223:21 224:14         308:23,24             282:1               17:5,13,14,22        people
 233:11 250:21,22      parties              pathologists          19:18,21,23 20:6    27:21 36:22 37:3
 275:19,21,23          359:15               102:23 103:21         22:9,13,25 23:3      159:18 172:19
 278:22 282:3,24       partly                110:10 174:25        23:24 24:5 58:11     200:13 201:22
 294:17 301:7          108:14                175:7 205:10,11      63:15 75:21 77:25    214:17 241:22
 303:21 304:3          partners              244:4 282:6,11       90:13 93:10,11       254:20 299:12,15
 343:22 345:20         15:24 16:1,16         287:6 312:6 336:8    98:25 149:11,15      302:9 318:3
participating           241:15,17            337:9,11             151:11 192:2         324:12 327:6,12
287:24 288:2           partner's            pathology             216:7 221:6 242:4    332:14
particle               187:24               8:7,9,12,14 15:24     313:4 337:10        people's
10:4 101:8 108:19      parts                 16:1,15,23,24        338:8               246:9
 109:6,18 111:11       233:13                17:16,19 18:14      patient's            percent
 111:17 115:6          party                 19:25 23:11 25:2    24:24 69:19 317:6    90:21 91:4 114:9
 121:14,21 122:1,2     13:20                 33:7,12,15,18,23     317:15 344:21        114:11 116:14,17
 122:5 123:22          PAS                   54:23 57:16,18      pattern               264:20 280:25
 124:13,13 305:19      117:25 118:6          61:23 95:13,16      69:1 218:25 279:3     330:17,18 332:5
 306:19 308:8          pass                  96:10 98:1,4         279:19 280:3         347:17 351:1,2
particles              161:17                160:11,15,24        Paul                 percentage
103:18 109:1           passage               163:25 176:4,11     32:13 33:21          141:10 143:10
 111:13 118:20         99:13 118:15,25       176:13,14 204:7     paving                330:8
 119:12 120:13,14       156:7 278:13         204:14,14,21,23     191:3                perfect
 122:24 128:25         path                  205:2,8,9,15        PC                   191:5,8
 140:3 247:2           33:16 176:18 191:3    206:1 207:11        2:9                  perform
 252:14 305:3,16        243:13               208:3 209:1 210:3   PCPC                 17:8,12 108:12
 305:25 307:12         pathogenesis          211:13 212:5,6      6:8                  performed
 311:9,15              205:3 207:11 208:2    213:14,18 218:8     peaked               18:23 23:22
particular              208:25 210:3,20      223:4,7 243:9       279:4,14             performing
23:9 36:2 61:6,9,23     211:12 232:13        245:2 246:24        peer                 23:20 47:16 181:4
 63:3 69:5 70:1         234:3,23             254:11 316:14       177:16               perineal
 81:18 89:22,23        pathologic            336:16              peer-reviewed        9:10,14,25 126:15
 95:23 97:4 99:13      162:18 223:4         pathway              218:12                130:12 138:13
 106:7 114:17           233:19 238:25       85:2 87:4 350:4      pelvic                258:23 260:21,25
 145:17 146:1,2,24      337:17              pathways             9:7,21 58:11 98:25    261:9 264:13
 154:4 172:10          pathologist          84:22 86:23 154:25    251:23 252:21        270:16,18 271:24
 205:7 216:22          18:24 23:17 32:14    patient               253:8 289:18         272:21 294:3
 217:7 244:22           32:21,23 57:13      17:2,9,15,19,20       290:2,3 295:2,25     299:23 300:3


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 189 of 348 PageID:
                                     60963
                                     Sarah E. Kane, M.D.
                                                                                               Page 394

 308:7 344:16,24     per-day               picked                  194:16                143:7 146:1 229:7
 347:18              47:18                 151:18                plaintiffs              236:17 241:8
perineally           pestis                picture               3:9,17,25 9:3 25:18     249:1,18,20 250:2
146:18               218:23 219:2,23       140:19 215:5,6          26:4,5 32:4 36:20     250:11 251:8,10
perineum               220:8               piece                   36:21 37:4,12,21      297:5 314:17,18
132:7 133:3,11       Petur                 25:15 61:1 62:6         37:24 38:6 46:14      342:13
 147:1               39:25                   99:25 100:9           47:21 53:9 55:11    play
period               ph                      107:17 108:7          170:25 171:4,16     300:6
33:17 34:3 42:5      1:22                    125:20 136:1,4,4      173:5,6,8,9,14,18   played
 44:17 45:17 77:6    phagocytic              138:5 139:14          174:12 175:14       238:21
 149:17 198:5,6      162:6                   141:18,22,23          182:10 183:18,24    please
 199:12 307:13       pharmaceutical          142:3 145:5 146:6     184:4 194:5,9       15:19 27:4 44:13
 314:16 323:25       132:3 228:24 334:5      146:7 148:11,19       196:23 202:16,24      47:25 61:13 64:2
 326:22 327:8        pharmaceutical-...      149:3 153:20          203:11,21 211:11      328:18
 340:8               128:22 129:6,12,17      154:23 162:23         224:2 244:10        plenty
periodic               130:1,16 131:8,12     208:13 322:13,17      245:19 253:22       250:15,15
117:25 118:6           131:23 132:15         327:4 334:23          320:2               pleural
periods                133:5,13 147:23     pieces                Plantation            206:25
190:17 327:20          228:6,10,19         118:18 134:16,21      2:9                   pleurodesis
 330:19 331:22         229:10                134:25 185:2        plasma                59:3 63:15 130:2
 332:7 352:7         phenotype               316:20 320:5        58:19 59:4 63:16        130:23 132:25
peritoneal           311:20                  321:13,19 325:22      63:18,22 99:7         133:6,7 148:17
155:23               Philadelphia            340:13                108:5 314:11          314:10
peritoneum           4:15                  piecing               plasmacytic           plug
117:20 118:19,21     photocopied           125:22                314:5                 49:7 277:9
 118:24 120:15,22    159:21                Pier                  platy                 plugged
peritonitis          photocopies           134:7 174:10          131:15 133:19,25      289:7
117:17,23 118:10     97:24                   180:10 181:9          134:19              plural
 118:12 119:5        photocopy               319:16,20 321:15    plausibility          156:4
permission           96:9 97:18 106:13     Pier's                108:1 125:19          point
283:10                 117:10 155:8        319:15 320:3,24         133:24 134:17,22    47:22 73:10 84:24
peroxide               159:23 161:5          321:10,16,23          135:2 139:13,20       86:25 87:21 93:3
332:3,14 333:2,11    phrase                place                   142:3 145:16          106:9 114:17
 343:13,17,18,20     257:23 296:19         147:1 195:3 284:6       146:15 148:10,22      116:12 119:23
persist                301:16                284:23                149:4 153:21          124:4,11 151:22
123:2                physical              Placentas               154:24 205:5,19       158:25 168:4
person               17:23 18:24 19:3      222:21                  228:2,7,13 249:18     169:10 172:6,21
145:19               physician             places                  249:22 250:1,22       181:14 192:10
personal             19:11 22:16,20,21     284:2 290:14            250:25 251:8,18       193:15 197:4
213:17 240:18          22:23 25:6,7,13       293:17 300:12,13      301:7 303:21          202:5 203:9,13
personally             220:7 282:5           300:17 303:20         320:14,20 322:14      213:15 215:2
41:14,17 57:8        physicians            plague                  322:18 323:9          217:16,18 239:22
perspective          20:11 21:17 23:2      218:23 219:18           327:5 334:24          240:15 244:12
66:5 76:9              213:20                220:9               plausible               246:1 254:1 265:5
pertain              pick                  plaintiff             62:11 74:16 125:16      269:5,20 271:22
233:6                208:21 279:11         173:21,23 183:7         125:18 139:16         273:18 276:1


                    Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 190 of 348 PageID:
                                     60964
                                     Sarah E. Kane, M.D.
                                                                                            Page 395

 279:3 283:4          position           1:5 9:20 11:9 58:10    177:8,17 178:8      6:10 58:12 276:5
 285:24 292:12        30:20 282:8         98:24 107:1           213:22 214:16        343:2
 296:4 298:21         positive            126:13,14,22,23       215:25 216:16       presentation
 302:24 307:8         118:1,6 252:11,17   128:23 129:5,9,19     217:10 223:22       85:3 87:4 189:7,18
 311:14 329:22         277:7 290:10       129:21,22,23,25       224:15 246:22       presentations
 333:25 334:25         332:9              130:4,6,9,11,16       247:6               12:7 223:12,16
 335:13,22 337:3,7    possession          130:20,22 131:1,6    PRACTICES             225:5
 341:20 344:18        52:25 232:5         131:8,13 132:4,5     1:6                  presenting
pointing              Possibilities       132:16,19 133:2,9    practicing           15:12
218:11 348:6          262:20              133:13 135:10        116:10               pressure
points                possibility         136:19 137:23        precise              19:7
211:8 333:23          20:4 144:2 184:18   138:14,14 139:16     65:16                presumably
polarizable            230:8              139:17,19 140:24     preconceived         141:7,8
111:12 112:16         possible            141:5,8,11 142:2     352:23 353:16,19     pretend
polarize              49:21,24 50:11      143:10,14,15          353:24              192:24
109:1 112:11,22        58:2 92:14,14,18   146:23,24 147:9      precursor            pretty
polarized              94:13 108:22       147:13,23,23         77:8,17,18,20 78:4   35:22 80:12 108:17
103:12 107:5           122:7 124:11,14    148:13,16,22,23       78:8,24 79:16        139:1 176:13
 108:13,15,21          150:24 151:20,22   149:7 150:19          80:4,6,13,17 81:9    186:5 199:3
 109:21 110:11         152:2 167:20,21    151:3,12 152:21       89:18,23 107:21      259:19 333:3
 112:4,5,19 113:3      168:7 170:10       152:24 162:4          223:3               prevent
 118:8 162:14          172:2 187:13       191:11 204:3         precursors           121:19 122:5
 246:23 316:4          189:3 225:7 227:5  217:1 227:20,23      76:20 78:23 80:2     prevented
polarizing             232:9,9,11 237:11  228:4,5,22 237:10    predating            334:9
58:21 99:9             237:14 239:7       238:15 241:9         245:15               prevention
pooled                 243:16,22 262:19   245:13 248:9,23      prejudice            334:6
225:24 226:3,6         262:24 283:8       251:13 271:23        13:4                 previously
 293:20,23             294:24 297:1       278:19 279:1         prejudicial          41:9 128:5 187:2
poorly                 302:25 316:3,5     289:18 290:2         11:23                primarily
122:14                 317:5 351:21       295:2 301:11         premalignant         281:17
popping               possibly            304:9 319:25         77:19                primary
207:7                 142:22 293:3        320:12,18,21         prep                 25:7,13 44:1
population            poster              322:17 324:7         308:17                220:12
114:5                 223:12,16           325:5,6 333:8        prepare              prime
populations           postpubertal        338:10 343:7,8,10    11:24 166:3 186:24   249:10,11
190:18 191:15         301:23              344:10,15,16,18       326:8               principal
 270:10 352:6         potential           344:25 352:9         prepared             350:5
population-based      103:3 225:25 246:9  353:10,12            19:10 45:14 185:4    print
337:21                 250:2 295:8       powders                185:7 188:23        53:6 268:6
portion                315:22 351:20     261:10                preparing            printed
145:6 220:8 254:11     353:9,25          power                 187:4 188:16         51:1,24 53:8,10,13
 257:6 280:2          potentially        190:24                 235:13,18            54:1
 285:25               37:3 40:7 122:9    practice              presence             prior
portions               301:21 353:2      17:6,22 18:24         9:6 252:20 253:8     14:11 86:14,15
68:11 207:9 208:1      354:3              19:21 92:16           325:11               182:17 183:1,10
 285:9                powder              108:20 124:4         present               183:14,24 187:15


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 191 of 348 PageID:
                                     60965
                                    Sarah E. Kane, M.D.
                                                                                            Page 396

 190:8 250:16        28:12 48:8 347:21     245:9,11,15,17      326:16,19             156:16 158:20,25
 258:4 275:19,21     producing             246:4,12,20 281:9   prove                 166:22 188:21
 310:16              28:16 326:5          professionally       250:14,14,20          217:21 224:6,9,13
private              product              246:8                proven                238:16 249:7
244:7                126:14,15 128:24     professional-type    249:17,19,23 251:2    281:22,24 288:23
privilege             129:7,8,21 130:9    243:20               provide              pull
212:22                130:12,22 131:5     program              17:14,23 25:17       25:12 53:22 114:7
probable              131:14,19,20,23     49:5 242:22 254:12    53:17 328:22         166:11 192:9
251:9 322:16          132:5,16,19 133:2   progression          provided              303:9 345:9
probably              133:21,21 134:18    85:5 249:2           12:14,16,18,19       pulled
19:20 25:11 35:19     135:13,15,19        proinflammatory       13:25 41:9 56:2     237:24
 40:10 42:1 54:17     136:15,19 138:2     68:3,5 326:15,18      170:25 173:4,6,8    pulling
 113:24 116:21        138:15 141:13       projects              173:9 184:3         166:7
 141:25 142:4,10      146:23,24 147:2,6   218:8                 192:20 255:2        pulmonary
 142:10,11,20         147:11,13,18        prologue             provides             318:5
 170:22 176:19        149:2 207:13        179:4                256:10               purchase
 178:14 179:15        208:5,13 209:5      promote              providing            310:18
 190:7 200:1          210:11 227:14       73:14 74:12          22:23,25             purchased
 226:21 232:1,23      229:13 236:2        prompt               provoke              311:3
 232:24 239:7,15      322:17 323:8,12     239:15               152:16               Purdie
 244:16 277:3         324:4 326:20        pronounce            PTI                  187:2
 281:13 286:20       production           34:13                5:23                 pure
 298:21 333:2        152:24 153:4         proof                public               116:11
problem              products             255:9                2:13 340:8,19        purpose
197:21 209:19        1:5,6 11:9 126:22    prooxidants           352:8,13 358:18     12:8 53:21 113:4
procedure             126:23 129:22,24    326:15                359:5,22             121:16 122:10
17:8,25 20:9,22       129:25 130:4,6,16   proper               publication           211:16 215:12
procedures            130:20 131:1        284:6                218:16 222:24         334:11
17:2 24:4             132:4,5 133:9       properties            238:22 257:20       purposely
proceedings           135:10 137:23       152:14                266:9 270:23        301:14
223:11                138:14 139:17,19    prophylactic          278:3,6,18 281:1    pursuant
process               140:25 141:5,11     78:1                  283:2,11 285:18     2:10
48:19 50:9 72:15      142:2 143:11,15     proportion            285:21 289:24       pursuing
 121:10 123:22,25     147:9 148:13,16     90:15,16 114:2        298:18              244:22
 167:17 173:16        148:22,23 191:11    proposed             publications         push
 193:2 195:2,11       204:3 227:20        294:24               30:16 148:6,8        150:4
 202:11 211:23        228:4,5,22 237:10   proposition           206:14 218:8,13     put
 221:24 286:21,25     248:9,23 301:11     305:7                 232:15 234:6        25:14 48:24 49:23
 320:9                304:9 320:12,21     propounded            236:9 285:6 292:1    53:4,16,22 74:4
processed             344:16 353:12       358:5                 292:4                113:11 120:5
310:4,10             product's            prospective          publicly              157:17 167:10
processes            227:23               158:19 219:10        179:22,23 193:25      181:15 185:15
107:6 162:15,16      professional          352:18               196:22 197:3         197:20,24 234:15
produce              126:21,21 140:24     protected             199:24               247:24 283:23
48:1,13,14 101:2      177:14,20,20,24     209:11               published             317:6 332:22,23
produced              202:15 240:19       proteins             57:17 71:13 156:12   putting


                    Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 192 of 348 PageID:
                                     60966
                                      Sarah E. Kane, M.D.
                                                                                              Page 397

  66:5 89:8 146:25      69:2,4 70:12,23      208:9,15 229:24    65:23 85:22 89:5      reactions
  316:16,18,21          72:2,3,5,8,10,12     260:12 318:16        192:1,14 257:3      19:2 58:23,23
  349:17,19             72:15,17,21,25       322:5 341:18,21      351:3                 59:25 62:15 67:18
puzzle                  77:11 78:25 86:17    342:9,10,11,17     Rarely                  97:5 101:2,24
141:22 142:3            88:4 102:9,11,22     343:1,12 344:2     23:12 98:20             102:19 106:20
  322:14,18 334:23      110:7 111:15,16      345:1,6,15,18      rate                    107:4,16 116:3,13
Pycnogenol              111:17 115:10        353:11 354:5       48:25                   118:23 119:11
10:5 328:5              118:25 127:9,11      358:4              ratio                   120:12 122:21
pylori                  127:18,22,25        quick               273:21 290:19           148:8 162:14
144:11 315:10           128:2,4,8,10        11:17                 345:25 346:7,10       205:18 306:4
P-E-T-U-R               129:3 130:14        quickly               349:11,24 350:14    reactive
40:1                    132:10 136:6,8,8    120:24 189:20         351:5,10            152:16,24 153:4,5
p-value                 136:12,13,14         206:8 296:3        ratios                  153:7,9 155:1
347:14                  137:8,12,13,14,19   quite               291:21 292:17           327:16,21 329:9
p.m                     138:8,13 140:2      57:17 59:9 139:22     345:22 350:17         329:14,19 330:8
11:20 117:7 160:9       141:3 144:5          282:6                351:14                330:18 331:3,18
  160:19 201:13,16      145:22,23 149:20    quotation           reach                   332:6 333:20
  207:20,23 231:17      149:22 150:13       281:9 283:24        125:13 140:3            343:13
  231:21 277:15,18      153:2 154:13        quote                 147:18 248:10       read
  289:12,16 341:10      169:4 170:21        236:10                251:13,20           21:10 74:4 117:12
  341:13 356:8,9        174:5 176:7         quoted              reached                 118:16 119:1
P53                     189:10,12 193:6,7   261:21              200:7                   124:3 158:9 164:6
73:18,20 74:14,18       193:10 197:9        quote/unquote       reaches                 170:19 171:24
  74:20,22,22 75:11     199:5,22 202:22     271:25              125:15 147:15           172:1 176:6,19
  75:18 76:15,16        204:23 205:3                              255:10                181:10 183:14
  78:6,18 80:11         206:23 209:9,10             R           reaching                187:1 193:9,9
                        211:18,25 212:10    R                   236:21 248:22           210:7,8 213:4
         Q              212:12,14,20,22     4:22 11:1 357:1,1     252:1                 234:13 248:21
qualified               213:4,4,5,7,9         359:1             reacting                273:17 278:21
226:2,5                 215:1,16 219:22     rad                 123:11                  287:14 298:21
qualifier               219:23 222:4        241:21              reaction                301:12 348:8
280:3,7,8               227:7 237:1 250:6   radiation           18:9 19:5,14,16         350:1 358:3
qualify                 261:12 262:3        317:18,22 318:3,9     20:1 58:14 60:23    readily
272:17                  265:4 278:5 292:8   radiologist           62:13,17,22 63:12   193:5
quantify                311:6 316:8 317:4   23:22                 63:13,14 98:22      reading
271:22 276:13           321:5,12,21 324:2   radiologists          99:3,17 101:3,7     13:23 21:12 23:21
quantity                343:25 353:1,2      22:7 241:21 318:6     102:14 103:14         71:23 92:20 118:4
58:14 99:3              355:7,15,18,21,23   radiology             107:8,13,19 111:9     123:14 127:2,19
quarter                 356:3               25:11,12              113:6 117:20,24       170:16 196:17
91:1                   questioning          raise                 120:8,14,17,25        210:19 237:16,19
quartile               110:16               343:24                122:18 125:17         248:8 283:9,14
274:19,19,20,24        questions            range                 148:21 152:12       reads
question               13:8 41:2 72:24      31:15 351:15,15       162:6 305:9         22:5 23:11
21:8,13 26:25 27:1      86:15,20 195:9,15   rapid                 309:21 313:24       ready
 27:3,5,9 37:17,19      195:18 198:4        22:5 23:21            314:3 333:4         249:10 318:21,24
 38:4 56:12 62:20       199:6 200:20        rare                  343:14              reagents


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 193 of 348 PageID:
                                     60967
                                       Sarah E. Kane, M.D.
                                                                                                 Page 398

  309:4                  120:5 163:10          277:14,17 289:9     335:10                86:14
real                     164:4 172:11          289:11,16 291:17    refer                 reflected
215:6                    198:23 320:10         339:24 341:5,9,12   72:23 87:16 139:23    36:12 37:21
realize                  341:25 344:6,12       345:3 348:8 356:4     189:4 205:20        reflection
187:1                    345:14,17 351:20      356:8 359:10          350:23              230:24 231:2
realized                 351:25 352:1,3,12   recording             reference             reflects
167:8,23 181:25          353:3,22            35:16                 13:25 14:11 50:3      44:21
  187:21               receive               records                 51:8,18 53:10       refractile
really                 56:5,6,13 243:12      24:11,19 25:6,8         114:8 152:4,6       58:20 99:8
46:19 50:12 60:1       received              recreate                158:11 159:2,3      refresh
  65:25 66:1 73:1      13:24 14:18 56:8      167:12 185:16           163:11,25 169:25    258:14
  79:15 80:3,7 81:4      56:18,20 175:18     recreated               180:5 187:11        refreshing
  87:16 89:6 94:13       176:1 185:9,10,24   182:18                  237:16,23 265:11    275:13 289:4
  108:14 113:12          189:21 193:3        recreating              266:20 347:21       refused
  115:24 121:11          227:1               182:5 185:16            349:3               254:22,22
  132:2 146:20         recess                recreation            referenced            refutes
  148:5,24 170:18      64:15 117:4 160:10    167:15                51:4 52:21 180:2      251:6
  191:1 193:19           201:14 207:21       RECROSS                 180:19 232:17       regard
  199:13 211:23          231:18 277:16       7:2                     236:13 237:20       19:24 62:4
  237:10 239:21          289:13 341:11       RECROSS-EXA...        references            regarded
  241:6 242:7          recognition           348:19                8:19 50:25 52:18      299:25
  246:22 249:19        107:5 162:15          recruit                 55:21 92:17 165:4   regarding
  252:4 270:1,2        recognizable          121:23 122:8            165:9,19,23         17:3 34:4 38:20
  284:9 298:22         78:19 117:18            123:19                168:10,12,20          62:3 74:24 99:14
  315:1,1 317:20       recognize             recruited               169:6,7,15 170:13     99:24 244:11
  321:14,18 337:14     77:7,12               122:16 124:1            170:20 178:9,19       245:13 293:20
realm                  recollection          recruiting              179:1 232:1           302:22
19:25 205:14           71:22 72:13 73:1      123:7,12                237:17,24 281:5     regardless
  213:14                 182:7               red                     293:5               109:5 344:17
realtime               recommendations       334:15                referencing           regenesis
2:12 20:8 193:10       22:24 23:1 38:20      REDIRECT              107:7 236:20 249:6    289:1
reason                 recommended           7:2                     255:22 284:23       region
121:20,21 155:12       334:5 335:6           redox                 referral              295:3 299:24 302:7
  166:20 198:12        reconvening           281:23 282:2,10       22:16                 Registered
  262:22 263:13        13:9                    287:10,21,23,25     referred              2:11 359:4
  280:1 290:22         record                  288:3               22:20,21 32:10        regular
  300:8 303:14         11:3,13 15:20         reduce                  210:24 271:3        19:22 111:3,14,20
  357:5,7,9,11,13        24:14 49:9 64:14    248:24 249:3          referring               130:12 154:8
  357:15,17,19,21        64:18 96:2 117:3      335:16              12:25 14:21,23          213:20 214:15
  357:23,25              117:7 160:9,19      reduces                 52:4 85:19 86:16      224:15 243:17
reasons                  163:3 182:19        10:5 328:6 335:14       113:9 251:20          244:3 302:1
41:9 256:18              197:21,24 200:17    reduction               253:11 260:15         335:15 344:24
REATH                    200:18 201:8,10     335:6                   267:14 270:22       regularly
4:12                     201:12,15 207:19    REES                    297:13,14 304:1     221:19 323:13,22
recall                   207:22 231:14,15    4:21 5:3                328:10                326:21 327:7
47:24 82:15 92:12        231:16,21 277:13    reevaluating          reflect               regulate


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 194 of 348 PageID:
                                     60968
                                      Sarah E. Kane, M.D.
                                                                                              Page 399

  326:3               24:12 25:1 29:4         343:4               166:24 167:7          303:13 316:22
regulation              74:15 98:9 106:16   remembering           168:14,16,19          317:7 321:17
154:25 326:12           107:23 135:11       235:9 305:13          169:9 170:15,18       337:1
regulatory              137:24 148:9          332:12              173:4,7,12,14,15    reported
120:4 340:20,22,22      151:25 157:5        remind                175:5 176:10        1:19 276:9 306:7,8
  340:24                158:11,14 161:19    21:14                 179:2,7,18 180:5    reporter
rehydrated              170:14 175:9        remove                180:24 181:7,8      2:11,12,13 11:14
309:3                   177:3 185:21        95:12 119:21,22       182:12,14 183:1,8     26:22 118:3 162:8
related                 216:7 338:6         removed               183:13,15,19,21       277:11 308:2
17:25 49:13 100:4     reliance              120:6,6,10 210:4      183:24 185:24         329:5 359:5
  153:12 155:19       179:19                  293:9 302:24        186:3,6 187:4,8     reporting
  172:10 190:12       relied                removes               187:16,16,20        279:4,6
  192:21 232:4,16     13:1,6 170:2,5        299:7                 188:5,17,20 189:4   reports
  234:2 281:16          178:2 179:6 181:1   rendered              190:8,12 191:6      17:19 25:12 35:14
  287:7 288:4           185:25              31:7                  199:16 201:6          35:18 49:19 52:21
  316:11 359:14       relied-on             reparafinized         202:5,6,13,16,20      56:25 170:13
RELATES               180:19                309:3                 204:12,16 205:17      171:11,18 172:9
1:9                   rely                  repeat                205:20 206:3          172:10 173:11
relating              24:17 168:17 169:2    187:14                207:10 208:1,12       174:14,21 175:1
39:2 91:8 208:25        177:7 178:5         repeatedly            208:12,20 209:3       175:10,12,18,20
relation                184:21,23 267:8     254:21                209:16,17,21,25       176:6,7,22 177:5
9:22 19:4 43:1        relying               repeating             210:4,14,21 211:4     177:9 178:2
  234:7 289:19        153:14 154:19         127:25                213:12,13,16          179:13 182:5,10
  290:4 343:12          320:6               rephrase              214:3 215:22          183:6,7,16,20
relationship          remains               27:6 145:22 159:22    220:13 224:5          184:16 192:21
9:24 243:6,21         124:14 349:9 350:3      212:1               227:2,12 229:16       193:1 198:16
  256:17 260:9        remember              report                229:20 230:1,5,13     199:12 202:19,24
  261:16 262:6,12     26:20 32:3,12         8:17 9:19 13:6 14:1   230:22,24 231:5,7     203:7,8,13,17
  264:23 268:10,21      34:23 36:10,25        14:10 17:17 25:12   231:12,24 232:2,4     209:13 212:25
  268:22 272:3,10       40:9,10 47:19         29:18 30:10 35:20   232:17,21 233:4       235:20,22 255:3
  276:20 308:7          58:1,2 64:23          36:4,7 42:12,16     234:18,21 235:13      316:14,17 320:9
relationships           71:22 82:9,18         42:22 43:20,23      235:18 236:1,3,7    represent
265:14 271:9,18         83:17 91:6 92:17      44:24 45:23 50:2    236:10 238:3        319:4
  272:16                114:8 171:17,23       50:5,10 51:16       239:25 240:22       representation
relative                172:1,7,23 176:6      55:11,12,14 56:3    245:8 247:8,25      172:25
82:7 135:22,24          176:17 177:11         56:13,14,16 57:4    248:1 260:13,18     representative
  145:18 190:19         184:19 185:7,14       57:21 71:16 72:11   261:21 263:24,25    319:18
  256:22,24 257:11      187:7 189:24          72:22,23 73:11      264:2,23 265:9      Representing
  347:10,15 349:10      200:11 202:20         74:3,9 75:14 81:7   266:9 270:5,11      3:9,17,25 4:9,18
relatively              232:25 233:22         90:20 113:2 120:5   273:7 277:23          5:4,14,23 6:8
244:17 256:22           234:25 239:13,21      126:7,20 127:1,2    279:9 280:2,13,15   reproductive
  257:10 314:16         243:23 245:23         131:3 134:5,6,14    280:23 282:9,16     97:6 100:3,12
  351:23                264:9 268:16          139:24 145:7,7      283:3,23 285:1,4      107:19 108:9
release                 290:24 294:22         152:3 164:11,17     285:7 286:1 289:5     110:9 336:22
327:16 333:12           295:18,21 302:17      164:19,22,24        290:7,11 293:18     reputation
relevant                305:4,5 309:7,9       165:8 166:12,14     300:9,17 303:11     57:8,9


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 195 of 348 PageID:
                                     60969
                                      Sarah E. Kane, M.D.
                                                                                                Page 400

request               124:12 312:3          73:8                    303:7,10 339:1,5      128:22 132:23
28:13 36:19 37:12     respect               results                 339:22 340:16         141:20 143:6
  37:24 38:6 172:12   20:11 104:11          18:20 276:10            359:13                151:9,15 163:4
  172:13 175:13         284:11 343:11       resume                reviewed                164:15 166:17
  189:23 190:6          345:25              30:17                 14:6,17,18 29:5         175:20 181:6
  199:14              respond               retained                49:21,22 50:6,6       197:22 219:19,20
requested             100:18 102:2,3,7      31:23 32:4 197:4,5      51:3 53:15 54:17      231:6,6 238:6
56:16 190:7 359:13      143:19,22 323:2       198:6 200:3,6         54:19 55:6 76:7       244:1 250:4
require                 326:8 354:16          214:7,9 245:19        76:10 91:8,14         256:15 266:3,15
12:2 304:14           responded               254:9                 92:12 109:9 127:4     273:9,14,19
required              87:2                  retainer                127:4 162:22          275:10 276:18
146:4                 response              47:9,12                 163:17,23 167:2       278:17 280:14
requiring             54:14 59:18 63:7      retired                 167:10,22,25          292:2 293:16
200:9                   63:10,11 65:4       57:14 244:1             168:2,21 170:3        294:20 297:2
reread                  68:7 79:25 91:12    retrieving              178:13,16 182:16      307:12 318:20
213:6 320:15            91:12 100:16        237:15                  182:17,25 183:2       331:14 332:2,13
rereading               102:18 104:7        retrograde              185:17,20,22          332:22 345:4
62:20                   107:12 111:19       252:5 298:13            187:3,15 188:4        348:3
research                112:9,23 121:14       299:12,16             189:19,20 199:2     righty
38:25 90:23 94:23       124:9,10 139:21     retrospective           203:1 232:8 234:6   266:21
  124:21 144:24         152:17 153:13       19:13 139:4 158:24      237:25 255:1        right-hand
  216:5 217:10          155:2 175:13        returns                 275:9 283:2,8       150:7 296:9 347:24
  218:5,7 235:7         207:1 248:25        201:17                  319:14 322:11       Rigler
  242:1 244:23          249:4 250:11        review                  338:24              180:7
  254:4 282:20          296:13,16,22        16:25 19:7,9 24:17    reviewing             ringing
  287:11,13 337:15      300:4 301:9 305:2     24:18 25:2 35:17    22:4 24:11 35:13      184:18
researched              305:2,18 306:3,8      36:5,11 55:7 81:6     42:11,17 43:22      risk
233:10                  306:13,18 307:14      114:1,12 115:13       44:23 45:22 246:6   9:11,13,16,22
researching             311:8 322:4           116:15 126:8        reviews                 19:19 63:2 69:19
36:16                   325:23 354:5,9        149:6 150:18        50:1 139:5 181:4        75:5,22 78:2 79:3
resemble              responses               151:19 161:20         217:9 224:14          82:7 83:10 84:14
298:3                 63:4,5 102:13           163:7 164:21          237:2                 90:2,13 102:6
reserve                 148:7 164:2           171:18 178:11       rewind                  124:24 126:13
195:19                responsive              185:19 196:13       70:18                   135:22,24 144:11
residency             28:12                   202:9 204:2         re-review               154:7 155:17,20
33:12,13 158:3        rest                    213:19 214:14       327:24                  156:15,19,24
  225:9               121:18 183:13           215:11,13,15        rheumatoid              190:19 191:21,22
residents             RESTAINO                216:1,9,22 218:24   315:8                   225:25 255:9,24
33:3                  3:19,20                 219:3,4,15,16,17    right                   256:5,23,24
resolution            result                  220:1,17,18,22,23   14:24 15:10 27:7        257:11,13,21,24
124:15                122:24 154:25           220:24 222:1,3,7      27:13 28:23 29:15     259:10 260:22
resolve                 272:8 277:7           223:2 227:8,9         42:13 45:19 57:5      261:1 263:11
120:24 311:23           286:21 355:1          235:20 236:22,25      64:20 70:4 77:10      264:12 266:23
resolved              resulted                237:22 239:1          87:18,21 88:3         267:3 270:13,19
307:19                332:5 337:5             246:15 283:19         98:18 116:25          271:1 272:22
resolves              resulting               288:11,16,19          117:9 121:3           279:2,13,13


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 196 of 348 PageID:
                                     60970
                                      Sarah E. Kane, M.D.
                                                                                              Page 401

  289:19 290:4          15:6,9 18:2,4,6       250:3,5 251:3      S                    sarcoidosis
  291:24 294:3          20:14,23 21:3,12      260:15 261:3,12    7:8 8:1 9:1 10:1     60:17 104:9
  295:1 298:25          27:25 28:15 29:7      262:18 265:3,16      11:1               saw
  299:9,22 301:9,10     29:10,17 31:3,17      265:22 267:10      Saed                 34:7 61:16 114:6
  301:24 302:8,9        32:6,8 34:11,18       273:12 275:15,18   153:17,25 154:15       129:23 148:1
  303:9 313:8,10        35:1,3 37:6,13,17     277:10,13 283:25     283:10 284:10        163:21 183:20
  314:14 315:9,12       37:19,23 38:2,7       284:20 285:11,15     285:17,18,20         188:19 194:8
  327:9 329:25          38:16 39:1,5,9,12     285:20 286:16        286:16               201:21 235:22
  334:21 335:3,7,25     40:19 41:7 43:25      289:8 291:1        Saed's                 240:3,10 245:21
  336:5 337:22          44:2 46:24 47:23      294:10 306:14      281:1,18 282:17        249:12,14 277:20
  343:10 347:11,17      48:4,7,12,15          307:25 310:21        283:2,17 284:18      342:4
  348:12 349:21,24      49:15,17 56:9         320:15 323:24        285:10 286:2       saying
  351:1,2 353:11        61:11 62:5 63:21      328:2,4,17,20,24   Salem                51:25 52:22 56:10
  354:12                63:25 64:10 70:21     329:4,6 330:22     16:3 30:14             70:13,22 75:20
Ristesund               71:18,24 72:4,7       334:13 339:24      SALES                  111:23 123:17
56:4,15                 72:14,20 74:8         340:3 341:1,4,15   1:5                    127:24 129:11
RMR                     86:13 96:2 98:11      345:1,4,5 348:17   salpingectomies        130:25 142:4
1:19                    98:14 100:21          351:17 355:14,20   78:1                   154:22 172:5
Robert                  101:15 104:4          356:5              salpingectomy          190:2 227:22
57:7,24 234:19          105:1 110:2,6,14    Rotman's             299:7                  291:5 292:3 327:6
  242:23                110:19,22 112:21    354:5                salpingitis            333:12
Robin                   116:16 123:4        roughly              107:2 162:5          says
243:24                  126:5 127:16,18     91:3                 Sam                  15:14 58:8 73:12
Rogers                  127:20,23 128:3     routes               175:24                 93:9 98:20 117:18
2:8                     130:17 135:6        146:10               Sambataro              142:8 155:15,16
role                    136:5,11,25 137:6   routine              1:19 2:11 11:14        161:24 162:11
203:24 204:6            137:14,18 143:12    246:22 327:13          359:4,21             255:7,11,23
  238:20 254:15,18      146:19 149:9        routinely            sample                 256:14,16,21
  288:24 295:8          150:1,3,6,9 151:5   12:19 24:17 103:4    70:16                  257:9,12 263:12
  300:6                 153:15 154:18,21      108:12,21 110:10   samples                263:22 267:20
rolling                 155:25 159:15         343:19             115:14 238:24          270:23 274:1
192:2                   164:10 174:2        rule                   307:21 310:20        276:8 284:10
Rollins                 175:15 176:25       8:17 103:3,5,7       Samuel                 291:18 293:22
220:2 221:5,21          189:9,13 193:8        164:19             173:9                  299:22 330:8
room                    194:6 198:1         rules                Sarah                  331:12 332:8
17:12 20:5 21:22        205:24 206:2,7,11   26:17 209:12         1:15 2:7 7:3,11,13     335:13 350:1,13
  29:11 338:11          206:19 207:12,15    run                    7:15,17,19,21,23     351:7
ROS                     208:8,11,16 209:4   254:10                 8:17,25 11:12,19   schedule
329:8,11 330:25         209:9,24 211:15     running                15:4,11,21 27:15   47:17,21 48:8
  331:25 333:12         211:24 212:7,13     166:10                 29:21 31:8 41:19   scheduled
  334:3                 213:3,8 214:25      ruptured               43:9 44:6 45:10    14:3 23:25 24:1,8
Ross                    217:13 218:6        59:18                  56:2 64:17 117:6   school
253:18                  219:11 228:8,12     Ryan                   160:18 164:19      223:8 225:8
Rotman                  228:15 231:14       220:6                  186:13,17 231:11   science
3:3 7:6 12:11 13:12     233:16 244:24                              231:20 289:15      12:6,8,24 144:1
  13:22 14:21,23        247:21 249:24               S              358:8 359:7          189:6,17 195:13


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 197 of 348 PageID:
                                     60971
                                    Sarah E. Kane, M.D.
                                                                                            Page 402

  199:2 208:16        289:3 290:13        263:2 265:10,25     semiretired             86:3,12 87:7,8,10
  245:12              293:20,21 296:8     267:19 268:1,5,8    239:9                   87:14 88:14,15,17
scientific            302:16 304:22       268:19 271:11,15    send                    88:19,22 89:17
325:2 340:15,25       305:7 309:17        273:12,25 274:1     243:3,7,8 244:6         90:11 91:17,19
scientifically        348:3               274:23 278:2,17     sense                   92:2,4 94:7,17
321:9,9             sections              279:7,8,15 285:8    17:13 51:6 55:16        100:5 107:22
scientist's         20:7,18 22:4 23:10    293:22 295:4,12       88:1 122:19           138:23 191:18
281:8                 23:15 108:5 163:8   296:2 299:19          171:12,20             221:22,24 222:6
Scully                306:2               300:25 304:7        sent                    299:4,9 352:11
4:21 5:3 57:24 58:2 see                   305:21 307:15       29:12 31:25 44:16       354:13,23
  238:8,9,21 239:3  17:5,13,22 18:8,14    312:8,20 320:8        46:14 52:11         served
  239:8,9 244:1,7     18:19 19:15,23      328:15 329:8,14       192:25,25           11:20 15:5 170:1
Scully's              22:14 23:25,25      330:4,7,14 332:2    sentence                176:22 182:22
243:25                24:2,5,24 28:7      348:5               256:2 257:9 263:15      186:14
search                31:11 35:21 42:13 seeing                  270:13 278:23       serves
55:18 81:7 119:24     54:18 59:9,11,12  19:21 68:17 101:22      290:16 291:11,12    190:9
  124:4 171:3,21      59:15,19,21,22      234:25 249:16         295:5,6 310:24      service
  172:1 205:22        60:10,11,22 62:21   267:25 271:14         347:9 348:9         244:2,3
  206:10,19,22        63:13,14,17,18,22   329:17 344:25       sentiment             services
  207:6 237:8         63:24 64:3 65:11 seen                   335:4                 7:16,18,20,22,24
searches              65:14 66:4,19     17:10,19 28:5 57:4    separate                11:4 31:7,9 41:20
35:25 215:17 216:6    67:12,23,25 69:1    62:18 68:23 83:1    16:5 42:15 180:20       43:10 44:7 45:11
  237:3,14            69:16 76:16 78:9    83:5 85:7 90:23       244:3 309:17        Serving
Seattle               82:13 86:8 92:19    91:5,15 92:15,18    separately            11:21
4:6 90:24             93:1,6,22,24 94:3   93:10 94:10 105:7   310:18                set
second                94:15,18,20 101:9   108:11 109:4,7,25   separating            241:4 243:8 247:9
7:25 14:2,19 28:25    101:19 102:19       110:8 114:4         133:1                   248:7,15 281:8
  29:7 42:1,4 54:7    103:1,4 105:5,9     130:19 131:3,11     September               359:8,18
  54:22 55:23 61:7    108:3 109:1,12,14   131:18 147:3        42:7 43:17 45:18      sets
  62:1 64:2 72:16     109:15,17,18,20     152:20,23 153:23    serosal               83:12
  93:7 106:13         111:8,11,13,17,18   154:11,13 181:11    107:3 162:12,24       setting
  155:11 161:24       111:20,24 112:5,9   183:8,16 186:22     serous                17:24 18:8,12
  198:24 215:15       112:11,17 116:13    187:7,8 193:23      8:3,5 65:13,13          22:14 24:8
  243:3 248:14,15     124:15 139:11       194:1 234:18          67:11,22 68:16      seven
  257:12 274:18,24    150:6,11 163:16     254:14 257:1          71:3,5,11,15 73:5   341:6
  274:24 280:19       166:15 173:10       311:9 312:6           73:19 74:19,21      Seventeen
  296:9 354:24        175:9 178:21        321:15 322:10         75:5,12,19 76:2,6   35:12
  355:14              183:19 186:6        338:19 349:11         76:8,14,18,22,23    severe
secondly              188:12 193:10       350:22                77:1,3,12,13,16     333:3
316:14                194:15,21 196:9   SEM                     77:17,22 78:8,23    SEYFARTH
section               198:11 200:25     306:12                  79:9,19 80:13,13    6:3
71:17 112:7 155:13    212:14,14 213:9   semantically            80:15,17,18 81:10   share
  210:2 214:1         226:21 247:17     157:9                   81:11,23 82:3,6     290:1
  234:23,25 235:2,7   253:19 255:6,19   semantics               82:10,16 83:4,6     SHAW
  255:7 280:15,23     256:19 258:15,19 78:18,24 102:15          83:11,13,13,15,18   6:3
  284:17 286:1,7      261:11,13,17        350:25                84:2 85:10,17       Sheet


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 198 of 348 PageID:
                                     60972
                                      Sarah E. Kane, M.D.
                                                                                                Page 403

  358:6               150:9 189:25          203:5                 69:21,24 70:7,15        333:8
shelf                   239:24 263:3        single                  70:19 71:1,2        solely
123:18 132:7 133:4    Siemiatycki           70:6,15 147:7,10      slides                236:1
  133:10 138:15       203:3                   192:21 211:3        17:1 23:14 24:11      somebody
she'll                signed                  322:8 324:12          24:18 69:5,25       190:3 230:3
48:4,5,13             231:9                   335:12                305:1 306:2         somewhat
shift                 significance          singled                 307:13              65:22 68:3 115:24
117:25 118:6          162:18 269:8,18,21    322:7                 slightly                250:9 262:9,9
SHOOK                   320:14              sir                   113:21 150:14           279:5
4:3                   significant           273:15                slot                  soon
Shore                 139:11 190:22         sister                24:9                  35:24 313:4,9
30:13                   191:21 239:12       192:8,8               Slow                  sorry
short                   257:3 259:10,14     sit                   155:25                18:3 21:9 28:23
193:20,21 314:16        262:5,11 263:9,20   73:2 75:10 180:13     small                   30:18 32:3 34:6
shortly                 264:6,18 268:9,20     203:10 226:5        93:13,17 111:11         42:23 43:7 46:12
185:9                   268:22 269:14         230:11,23 231:7       239:24 241:4          50:15 54:4 70:9
show                    274:7,18,25           231:12                268:6 307:2           76:23 81:1 83:15
81:22 152:23 153:4      280:23 285:25       site                    314:15                86:9 87:9 91:11
  176:14 267:9          290:10,18,21        107:21 122:16         smaller                 92:7,10 93:2 96:5
  298:25 303:24         291:6,14,21 292:5     123:8 323:5,6       190:23 338:14           97:3,7,12 99:11
  307:14 309:8          292:17 301:24       sitting               smear                   106:11 118:3,5
  342:2 343:9           312:19 336:3        38:14 151:9,15        18:15,21                127:10 145:23
  346:10 347:15         346:24 351:4          178:18 218:4        smears                  156:2 157:18
  348:15 349:23       significantly           292:13 339:15       22:18 24:25             159:21 160:4
  353:11              157:20                situ                  smoke                   161:13 162:9
showed                similar               77:13 78:14 79:1,3    337:4                   165:18 166:16
138:22 191:18         118:18 127:4          situation             smoked                  173:25 174:7
  314:4 327:15          140:15,16 151:15    22:10 25:10 59:13     337:10                  189:14 193:6
  331:17 336:4          153:6,8 154:11        59:15 60:10 69:14   smokers                 198:2 218:7,12,15
  337:22 347:10         156:6 162:21          70:6,14 112:13,19   337:18                  221:12 253:15
showing                 177:15,25 178:7       147:5 229:9 343:6   smoking                 255:13,13 256:1,9
263:25 264:4 268:8      186:7 188:9         six                   25:13 26:14 67:14       256:15 261:2,4
  335:23 337:3          213:23 217:12,14    347:20                  67:16 90:9 250:16     262:4 266:2,17,21
shown                   219:15 229:1        size                    337:2,15,22           267:25 268:5
90:8 125:10 140:8       235:7,10,11         121:23 251:25           342:18,21 353:8       271:12,15 273:3
  156:5 201:19          251:25 261:17       skill                   354:4,6,11,18,20      278:12,14 285:13
  276:10 291:21         262:9,9 279:21      359:11                  355:1,3,4,8,12,18     286:14 289:3,25
  337:17 350:18         281:2 283:13        skim                    355:24                290:3 299:20
  354:12,25 355:2       349:24              227:9 235:2           snapshot                303:24 304:1
shows                 similarity            skimmed               200:14                  320:17 322:19,21
100:1 188:8 269:18    188:13                203:7 234:25          Society                 325:19 328:19,25
  285:5 331:1         simpler               skin                  336:7,16                331:11
  333:19              102:10                59:17                 Soileau               sort
sic                   simply                skip                  34:12,20              16:10 19:3 24:11
39:24 89:23 320:13    238:22 349:14         92:20                 sold                    25:23 26:6,6
side                  Singh                 slide                 131:1 332:25 333:5      35:16 37:10,16


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 199 of 348 PageID:
                                     60973
                                      Sarah E. Kane, M.D.
                                                                                                Page 404

  38:4 42:16 49:5     206:25                  133:8 148:4           243:14                120:9 137:25
  60:16 65:17,18,24   speak                   169:18 172:8        spots                   159:17 170:17,18
  73:8 74:25 76:18    18:17 22:1 26:21        174:23 175:3,19     283:6                   172:2 202:6,8,8
  78:13,18,24,25        40:6 198:14           176:3 179:9 182:8   spread                  202:10 324:1
  79:6,23 87:11,17      254:16                182:18 185:1        33:19                 starting
  94:18 102:15        speaking                187:25 192:22       spreadsheet           160:4 243:19 291:9
  108:1 121:23        22:9 24:10 176:7        203:19,22 204:8     48:19                 starts
  122:14 124:21       speaks                  204:12 205:1,16     squamous              106:18,20,22
  125:8 127:15        17:17                   213:15 225:5        144:15 337:13           133:13 155:13
  128:16 132:12       special                 240:25 241:23       Square                  278:23
  148:24 157:9        103:5                   243:23 245:23       4:14                  state
  167:12 170:18,20    specialized             254:15 286:23       srotman@hausfe...     15:19 198:22 264:2
  172:3,25 177:9      217:19,24               287:11 294:16       3:8                     275:6 297:9 339:7
  188:12,21 189:25    specialties             298:23 300:9        SS                      355:5,9,25 356:1
  190:5 191:3 192:1   177:18                  317:6 324:16        359:3                 stated
  192:5 198:7 202:9   specialty               345:18              St                    275:23 289:4
  202:10 203:6        16:21 177:19          specificity           3:13                    338:25
  210:23 220:1          202:20 220:4        138:21 221:1          stage                 statement
  226:7 233:19          318:7               specimen              40:24 170:11          70:20 237:21
  234:24 237:17       species               70:24                 stain                   256:11 257:20
  240:16 243:9        152:17,25 153:5,5     specimens             103:6 306:2             271:2 279:7,15,19
  244:19 245:17         153:8,9 155:1       108:11 109:8,9        stains                  296:15 323:4
  251:6 269:25          327:16,22 329:9       110:1 112:22        103:5,7 298:5           338:5 339:12
  274:22 282:1          329:20 330:9,18       113:19 114:12       standard                340:1 350:1
  314:2 317:24          331:3,19 332:6        115:12,18 116:14    308:10                statements
  322:13 323:10         333:13,20 343:13    Spectrophotomet...    standing              279:17
  337:8,14 349:10     specific              218:19                200:11                states
sorts                 9:5 17:25 19:24       spell                 standpoint            1:1 11:10 63:9
306:11                  26:11 66:12,15,24   39:22                 207:11 208:3 209:1      304:25 347:9
sought                  83:24 86:3 97:25    spelled                 210:3 211:14          349:18 350:8
321:18 351:20           98:8 111:6,16       339:20                stands                statistical
sound                   115:10 131:24       spend                 329:9                 220:15,20 269:7,18
280:12                  139:1 143:17,21     214:21 239:12         stapler                 269:21
sounds                  143:24 144:6,9        240:22              96:17                 statistically
317:2                   151:10 153:24       spending              starch                139:10 190:22
source                  154:15 159:1        72:11                 107:1 117:20 118:1      191:20 259:13
281:10                  168:13 172:7,9,9    spent                   118:7 119:1,7,10      262:5,11 264:6,17
sources                 172:18 194:11,18    31:1 35:9 36:15         119:14,17,20          268:9,21 269:14
165:25 168:13,15        204:6 224:22          42:10,22,24 43:19     120:6,9,22 121:12     274:7,18,25 290:9
  168:17 169:5,24       239:14 244:6          44:22 45:21           121:14 162:4          290:18,21 291:6
  171:7,19 173:2        247:16 278:13       splinters             start                   291:14,21 292:5
  175:12 179:8          282:15,19,20        58:21 99:9            49:16 110:5 192:16      292:17 336:2
  180:25 302:5          298:17 321:5        spoke                   218:8,9 280:19        346:24
South                 specifically          237:9                   313:7,10            statistics
3:13                  81:7,15 94:6          spoken                started               353:20
spaces                  111:12 131:12       22:3 240:8 241:10     35:22 36:6,11 95:2    status


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 200 of 348 PageID:
                                     60974
                                      Sarah E. Kane, M.D.
                                                                                               Page 405

  195:6                strenuous             191:17,17,19,23       240:1,7 241:7         183:25 187:8
stay                   326:14,17 327:8,13    191:24,25 192:10      245:2,3 246:1         188:5 201:21
120:22 242:18          stress                192:15 205:13         251:21 254:11,20      202:19,24 203:2
stayed                 248:17,24 280:20      206:24 214:15         256:11 258:15         203:17 224:5
242:15                   280:24 281:17,19    223:17 225:2,22       261:13 264:22         291:4
steering                 281:23,25 282:10    225:22 228:22         266:17,18 270:1     submitting
9:3 53:9 194:9,16        282:12,24 284:13    237:15,16 247:4       270:10 275:9        183:14
stenographic             287:6,10,21,23,25   251:24 252:9,11       276:5 277:6,6       Subscribed
11:13                    288:3,5,11,13,16    252:12,17 254:15      281:20,22 287:11    358:14
stenotype                306:24              255:8,24 256:3        287:12,25 288:3     subsequent
359:10                 strike                257:15,22 259:5       290:10 291:19       157:3 158:12
step                   93:24 135:12          270:4,9,15,17,20      293:20 295:15,15      168:22,23 182:16
112:10                   343:24 344:1        271:5,16 272:5,13     296:23,25 297:2       222:16 238:12
steps                    350:12              276:5 287:20,22       300:9,24 301:25       247:4 255:23
80:8                   string                291:20 292:15,22      302:12 303:4,5,6      256:3 349:23
Steve                  291:25                293:8,23 294:2        303:20 304:20,25    subspecialties
3:3 14:16 21:1         stromal               296:20 297:12         305:22 307:24,24    318:8
STIC                   85:21                 298:8,20,24 299:2     311:9 324:21        subspecialty
76:25 78:10 79:6       strong                303:2,2,10,12,15      325:10,20,25        93:20
  80:10,16,17,23,25    138:22 244:15         303:17 305:6,10       327:14,19,22,24     substance
  81:5 91:9 92:24        349:6,16 352:11     306:6,11 307:2        328:11 332:12       98:21 108:17 219:1
  92:25 93:9,23,24     stronger              325:7 334:22          333:15,18 338:9       358:5
  94:6,11              138:22 347:21         335:18,23 336:1       338:15 342:15       substances
stick                  strongest             337:2,16,19,20,21     343:12 345:15       319:22
24:22                  83:3                  338:3,7 341:22        348:6,21,24 349:2   substantial
stickies               struggled             342:2,6 344:9         352:22 353:18,22    252:7
53:1                   79:15                 349:23 351:14,18    stuff                 substantive
STICs                  studied               351:22 352:1,6,21   168:2 169:1 176:18    14:9
77:22,23               238:24 281:21         353:8 354:18          182:16 184:15,15    substantively
stillborn              studies             study                   184:16 207:14       12:3
309:11,14 310:25       71:23 73:3 82:2,4   65:24 82:9,12,14        234:13 235:5,6      substilis
stop                     83:9 84:15 90:9     82:19 83:10,17,21   subcategorizing       221:2
334:3                    119:16,25 125:10    92:22 93:13,13,18   104:13 106:9          subtype
stops                    126:9,9,10,12       94:5,8 148:5        subgroup              81:18 82:5,7 83:24
118:14                   135:13,24,25        149:12,14,19        264:14                  86:3
stores                   138:1,5,22 139:4    150:22 151:10       subject               subtypes
333:6                    139:7,12 140:12     153:17 158:20       198:9 245:14          60:6 81:16 82:20
story                    140:12 149:5,23     190:24 192:4,9,12   subjects                83:23,24 84:17
190:1 197:18,19          150:17 151:24       192:13 217:22       305:24                  85:17 88:7 90:1
Street                   152:8,20,23 153:3   218:20 219:9,10     submission              105:20 157:10
2:9 3:21 6:5             153:14,16,23,25     219:13 221:3,23     183:1                   233:21 295:10
strength                 154:2,12,14,16,20   222:2,4,8,10,18     submit                  352:14
81:25 135:21 137:9       155:21 156:16,25    222:22 223:1,13     31:24 47:20           Successful
  138:3 349:4,15         157:3 163:22,25     224:7,8,8,16,19     submitted             223:6
strengthen               164:1,1 190:17,23   225:14,16,17,18     30:10 37:22 43:13     sufficient
134:21 135:1             190:23 191:10,12    226:12 239:20         182:12 183:13,21    335:15


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 201 of 348 PageID:
                                     60975
                                      Sarah E. Kane, M.D.
                                                                                                   Page 406

SUFFOLK                 264:22 266:10       66:16 79:22 82:25      synthesized               281:7 289:8
359:3                   339:13                83:2 84:3,5 85:1,3   283:23                    324:12 335:15
Sugarman              supported               85:6,9,15 86:10      system                    340:11 341:8
2:8                   119:14 237:4            87:3,5,15,16,22      24:16 68:11 97:6          347:1 350:22
suggest               supporting              298:2 312:13,15        144:16 213:25           353:18
68:15 102:5 200:23    83:5 299:25             330:3,11               248:4,11 310:12       takeaway
  255:8               supportive            surgeon                  322:23                 346:9
suggested             77:15 186:10          20:7,19 21:21,23       systematic              taken
155:16 286:6          supports                191:6 336:25         215:11 216:1,9,22        12:15,17 17:2
  299:12 317:13       128:19 299:12,16        337:11                 219:4 220:17            64:15 112:15
suggesting            suppose               surgery                  222:1 288:10,15         117:4 157:2
75:17 152:21          31:5                  20:6 21:21 112:15        288:18                  160:10 188:17
suggestions           supposed                112:16 149:17        systems                   201:14 207:21
211:7 236:5           292:16 306:8            151:11               322:25 329:24             231:18 232:22,22
suggests              sure                  surgical               S-E-N                     277:16 289:13
67:16 84:23 86:25     15:21 29:25 34:20     20:21 33:15 117:21     39:25                     310:3 341:11
  163:18 313:23         48:2 57:22 60:1       118:11 119:2,21      S-S-O-N                   359:10
suing                   61:22 68:13,22        119:22 120:7,11      40:4                    takes
26:10                   70:10,11 82:18        120:20 125:7,17      S.M                      46:5,6 77:6 335:21
Suite                   84:12 86:1 89:1       127:14 128:16,21     220:2                   talc
3:5 4:5,14,23           89:16 91:4 93:4       132:12,14 147:21                              5:5,14 9:6,9,11,12
summary                 94:12 109:19          147:24,25 148:3,9             T                9:14,25 10:4 31:1
247:9 248:6,19          110:24 116:23         148:12,17,20         T                         34:4 40:7,13 41:5
  256:22,24 257:11      124:11 126:2          149:7,18,24           6:4 7:8 8:1 9:1 10:1     43:1,4 47:1 55:18
  299:21 301:20,20      131:11 135:9          150:18 151:3           357:1 359:1,1           55:22 58:8,15,18
super                   136:7 137:22          344:2,3,10,15,21     table                     58:24 62:3,7,12
264:9                   145:23 149:10       surgical-grade          229:8 261:8,11           63:12,14,14 66:5
supplement              158:15 159:18,18    344:3                    267:13 268:1,6,7        66:6 73:12 74:7
230:22                  173:24 175:16       surround                 274:4,4 328:25          74:10,17 81:20
supplemental            176:8,9 178:23      122:4                    345:12,18,21            82:15,22,23,23
13:7 53:15 187:16       179:17,18 194:2     surrounded             tables                    83:6,18,25 97:6
  227:2                 195:4,20 196:19     58:17                   267:9                    98:20,22 99:4,6
supplementary           207:18,18 208:10    surrounding            Taher                     99:14,16 100:1,7
11:21                   211:22 218:2        58:18 93:23 99:6        187:6                    100:10,13,15
supplemented            221:15 226:4,8        122:6 123:3          take                      104:1,25 107:1,2
51:14                   233:25 259:14       surveying               19:4 26:22 27:1,23       107:8,11,18,25
supplied                260:20 273:4        313:11                   29:9,15 40:23           108:7,11,25 114:3
171:4                   278:8 284:21        suture                   64:10 71:18 92:20       114:10,18,20
suppliers               286:25 293:11,14    112:17                   99:11 110:14,17         115:6 118:8 119:6
319:13                  297:21 298:22       swear                    110:22 117:1            120:10,13,19,20
supply                  300:21 303:25       11:15                    145:18 159:16           120:21 121:12,13
319:12                  314:10,12,24        sworn                    160:6 175:8 177:1       122:1 124:13
support                 315:1,2,23 331:24   11:16 15:12 358:14       181:22 186:20           125:6,9,10,13,14
123:24 168:18           334:14 339:2          359:8                  200:22 210:19,22        125:15,16 126:3
  184:23 237:7          350:21              synthesis                217:16 229:15           126:16 127:13
  250:25 251:5        surface               237:21 283:18            245:3 246:6 261:6       128:14,22,23,25


                     Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 202 of 348 PageID:
                                   60976
                                  Sarah E. Kane, M.D.
                                                                                            Page 407

129:1,5,6,12,17     296:25 297:6          149:7 150:18        talking                 199:11 214:18
130:1,2,16,22,24    299:23 300:3,24       151:3,11 152:21      56:22 64:21 81:25      240:18 325:3
131:5,5,15,16,23    301:8 303:22          152:23 191:11         82:1 85:10,11,11      333:1
132:4,11,14,15,24   304:4,6,8,14,16       204:3 217:1           85:24 86:11,19      telling
133:6,7,13,19,19    305:2,7,9,11,16       227:20,23 228:3,5     87:7,9,9,13          75:24 197:18
133:25 134:1,19     305:19 306:3,8,8      237:9 238:15          102:12 106:11,20      332:20 333:10
134:20 139:5        306:12,15,19          241:9 245:13          107:24 110:3        TEM
140:4,16 141:6,8    307:4,9,14,21         248:9,22 251:13       120:3,3,19,20        306:12
141:11,13 143:11    308:7,8 309:5,8       278:19 279:1          122:19,23 126:14    temperature
146:18 147:4,21     309:21,22,25          289:17 290:2          128:21,21 129:7      19:8 218:17
147:25 148:2,7,9    310:2 311:9,15        295:2 301:10          130:2 132:14        Temporality
148:12,12,16,17     312:10,12 313:23      304:9 320:12,18       138:3 147:8          139:3
148:19 149:1,18     313:25 314:2,6,6      320:21 322:16         162:25 165:18       ten
153:4 155:17,18     316:6,6,11,13         324:7 325:4,6         184:5 215:14         14:2 116:20,21
156:6,21 157:4      317:7,16 319:4,7      333:8 338:10          218:14 231:23         165:14 168:10
158:23 161:20       319:9,11,12,13,21     343:7,8,10 344:9      252:15 284:12,13      347:17 348:11,12
162:4,12,23         319:24 320:24,25      344:15,16,25          287:9 291:17        tend
163:14,19 164:2     321:7,11,24           352:9 353:10,12       293:22 300:14        85:4 87:5 88:15,20
190:13 201:21       324:19,20 325:12    talc-dusted             307:8 314:8 323:9     88:21 191:20
203:14 205:3        327:1,3,15,16,23     125:7 127:14           324:23 329:15       tends
206:25 212:3        330:3,14,17,21        128:16 149:24         330:24 352:5         190:23
213:25 214:1        331:2,10,12,17,19   talc-induced            355:10              term
228:6,10,19,22      332:1 333:14,20      10:6 118:11 304:19   talks                  78:13 85:6,8 87:19
229:2,10 237:4      337:25 339:13         328:6                206:16                 216:2
238:3,17 239:3,22   342:14 344:3        talc-related          tape                  terminology
239:23 240:8,13     347:12,16,19         35:10 316:2,9         334:15                88:6 223:2
240:20 241:11,24    348:10,11 349:5,8     317:1               Tardek                terms
242:6 243:15        349:16 350:3        talc/ovarian           201:6                 14:14 24:18 26:7
244:11,25 245:18    351:9                272:6                tasks                   51:22 63:12 66:12
247:4 248:3,15    talcum                talk                   23:9                   69:11 74:5 103:23
251:1,20,22,23,25 1:4 9:20 11:9 58:10    14:12 71:3,11 85:9   taught                  111:19 200:15
251:25 252:21,23    98:24 126:13,14       97:5 160:4 183:23    217:21 224:23          204:6,19 205:2
253:8,10,22 255:8   126:22,23 128:23      191:23 204:8,16     TECHNOLOGI...           209:12 267:17
255:9,16,24 256:5   129:21,22,23,25       204:16 205:21,23     1:21                   318:6 335:2 339:5
257:16 258:23       130:3,6,9,11,15       207:15 211:23       Tecum                 terrorist-type
260:6,22,25 261:9   130:19,21,25          239:3 240:2 241:3    7:12 27:15            219:25
263:6,10 264:13     131:8,13 132:4,5      304:18 352:2        telephone             Terry
266:22 267:3        132:16,19 133:2,9   talked                 6:4                   259:5
270:16,18 271:15    135:10 136:19        89:17 95:6 157:11    tell                  test
271:25 272:1,21     137:22 138:13         157:21 186:4         30:9 31:15 41:25      321:2 347:14
273:21 276:10,11    139:16,17,19          229:6 239:22,25       44:12 50:17 54:20   testified
276:13 279:12       140:24 141:5,7,10     240:1,5 241:13,18     68:17 69:10 88:5     210:6 254:18
290:10 291:20,22    142:2 143:10,14       241:23 243:18,19      95:1,8 96:22 98:7     319:23 323:1
292:15 293:20       143:15 146:23,23      245:25 297:16         108:16 117:11,14    testify
295:2,25 296:10     147:9,13,22,23        304:12 317:22         161:18 164:21        48:7
296:13,17,21,22     148:13,16,22,23       322:5                 181:22 187:2        testifying


                Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 203 of 348 PageID:
                                     60977
                                      Sarah E. Kane, M.D.
                                                                                              Page 408

  38:15                167:18               118:13 119:23,24      280:8,11,13,25       178:12,14
testimony             Thanks                123:5,9,10,23         281:10 282:13,13    thought
 35:14,18 86:1         163:4                124:14,23 125:16      283:13,20 286:13     56:19 76:20 78:4
  173:8 174:21        theoretically         125:18 126:11,17      286:19 289:7          79:18,21 88:24
  175:1 176:23         295:23               128:20 129:4          290:9 292:23          99:25 111:15
  202:1 203:13        theory                132:1,13 135:12       295:20 296:24         121:9 155:22
  227:21 249:13,15     249:9 263:15         136:11 138:10         297:1,4,4 301:2,6     157:23 158:4
  254:7 255:1,3         304:12              141:3 142:24,25       301:7,13 302:11       161:19 167:10
  284:16 286:20       they'd                143:25 144:1,23       302:14 304:5,10       172:3,4 179:21
  287:5 320:3,7,23     242:6                145:2,5 146:6         304:15 306:16         189:13 191:1
  320:25 321:7,10     thing                 147:13 148:18         307:5,6 309:5         204:10 213:1
  321:16,23,24         18:18 19:8 24:25     149:11,18 150:14      310:7 314:12,16       240:13,21 242:8
  322:22 345:7          25:14 65:17 86:16   151:16,18,21          315:24 320:5,16       245:6 265:24
  359:8,9               150:2 198:7         156:20 157:4,14       323:2 326:4,6         278:12 297:19
testing                 199:13 202:12       158:11,14 159:25      333:1 334:10          298:14
 18:21 108:18           230:9 277:8,9       159:25 160:2          335:17,21 336:3,9   three
tests                   306:21 311:18       161:6 162:9 163:9     337:7 338:6          127:1 253:21 254:6
 24:25                  314:19 351:12       164:5,10 167:3,23     343:25 344:8          330:19
Texas                 things                169:13 170:22         351:18 353:21       threshold
 4:24 32:18,20         26:20 36:3 49:22     171:24,25 172:6       354:1                331:25 334:2
text                    50:11 131:19        172:21 176:5        thinking              thresholds
 50:4 196:13 284:17     141:4 143:19,23     177:6,23 178:6       81:2,3 90:20          145:14
  285:5                 144:18 152:22       180:4,13,17           139:17 149:15       Thrombosis
textbook                162:22 167:21       181:12 185:13         180:18 193:13,13     222:20
 13:13,16 14:17,20      182:15 192:11       186:11,11 188:1,4     290:13 316:15       thumb
  14:24 29:1,4 55:2     232:10 245:1        188:19 189:24         339:9                53:17
  95:20,22 96:25        312:9 324:4         190:7,15 191:24     thinks                time
  97:21 156:12        think                 192:14 193:16        241:8                 11:5 12:2,17 13:9
  161:15               13:1,14 20:3 21:12   194:8,24 195:16     third                   14:15 18:8 19:13
textbooks               26:18 28:17 31:3    201:1,1,4 203:1      13:24 43:8 223:8       19:23 20:17 21:17
 14:22 57:16 164:5      33:13 47:17 50:23   203:20 204:16         274:19,24,25          24:9 26:23 31:1
  187:23,24             50:24 51:1,1        205:5,10,14           276:4 279:11          33:24 35:15 36:16
texts                   53:13 55:3 60:14    211:11 213:1        Thirty-five             42:5,21,24 44:17
 163:17                 61:11 68:4 69:13    214:3 225:7,9        294:12                 45:17 46:11 48:18
thank                   70:22 74:9,15       227:5 229:1,8       thirty-two              48:24 51:17 53:19
 13:11 27:23,25         75:6,13 77:15       230:17 233:3         268:18                 53:24 54:6 72:11
  29:13 34:6 48:3       80:5,18,24 81:4     234:5 235:15        THOMAS                  77:7 92:20 101:17
  57:3 92:8 97:13       81:19 82:23,23      236:24 238:12        6:4                    110:18 114:17
  112:8 117:1 161:4     84:1 85:22 89:3,9   239:25 246:12       Thompson                147:16 149:17,17
  161:17 210:15         89:15,15,19,21      250:8,8,10 251:4     34:12,19,21 35:1,2     157:23 158:3
  226:22 253:5          90:4,19 94:22       251:11,17 252:10      35:3                  159:15 167:4,5
  278:9 292:9           95:7 100:9,18,24    252:17 257:17,24    thoracic                176:5 178:1
  307:25 317:9          102:10,21 106:18    258:2 264:5,6        241:20 242:2           179:21 190:18
  318:16,18 328:4       106:19 107:22       265:3 266:14        thorough                192:18 193:16
  329:6 356:2,6         108:2,6 112:25,25   268:2 269:24         189:3                  197:11 198:5,6
thankfully              113:1,15 114:6,6    274:4 277:9 280:5   thoroughly              199:10,12 200:15


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 204 of 348 PageID:
                                     60978
                                      Sarah E. Kane, M.D.
                                                                                                Page 409

  200:16 214:21         210:5,8,13,16         337:15              Topsfield             Transformation
  215:10,17 216:8       212:19,23 221:14    today                  242:16                10:6 328:7
  216:15,18 219:2       253:5 265:19         11:12 12:17 13:16    total                 transformative
  219:23 225:8          266:11 267:12         13:19 15:1,3         35:9 42:18 44:3       312:19
  235:22 238:9          273:14 278:8          25:16 28:4,20         45:5 46:3 135:15    transfusion
  239:9,12 240:22       286:9,11,15 308:4     37:22 38:14 40:22     261:9,18,21          18:9 19:2,4,14,16
  245:4,7 246:11        320:4 334:12          40:23 49:14 50:18     263:10                20:1
  249:10,11 257:21      341:8 353:5 356:3     54:14 55:4 58:5     totaling              transitional
  258:1 261:6 272:4     356:6                 75:11 95:21          46:23                 89:4,7
  307:8,13 311:11     tissue                  139:22 160:25       touched               translate
  311:14 312:7         21:23 22:20 58:23      162:20 163:17        90:4                  74:3
  314:16 318:12,19      58:24 63:12 70:2      164:8 203:10        tough                 translocation
  324:6 326:22          70:2,3 71:1 99:19     226:5 229:25         115:25                263:15 304:21
  327:8,20 328:2        100:16 101:3,9        230:11,19,23,23     toxic                 transport
  330:19 331:23         103:2 107:10          231:7,12 232:3,6     145:10,11,13          248:13 304:22
  332:7 333:22,25       108:6 112:7,10,15     247:23 254:23       toxicologic           transported
  335:13 337:3          113:14,18 114:25      296:25 323:2         145:4                 248:10
  338:8 352:7           115:3,11 116:3        339:15 341:20       toxicologist          treatment
times                   121:18 122:6          343:7                175:24                17:18,18 18:18
 20:20 94:4 139:10      123:3 145:4 214:1   today's               track                   79:4
  210:25 287:1          214:1 247:3 305:8    11:5 64:17 117:6      36:2 48:18 49:25     trend
  290:7 303:21          305:23 306:3,5,15     160:18 231:20       tract                  139:11,11 271:20
  323:1 342:18          307:12 308:17,20      289:15 356:7         8:8,10,13,15 54:24     347:14 348:15
timewise                308:22 309:1,2      told                    95:14,17 96:10      trending
 171:17                 311:8 324:18,23      127:21 133:12          98:2,4 100:3,12      259:19 262:14,25
timing                  325:1,9               240:14,24,25          107:19 110:9        trial
 101:10,12 171:22     tissues                 241:25                160:12,15,24         47:18 173:7 225:12
  171:24 172:7         100:17 102:2,7       ton                     248:4 263:16          225:13 229:25
  194:7 240:4           115:13 143:18,22     276:25                 264:16 272:4,7        247:24 352:17
  276:14                310:3,15 323:2      tons                    313:17 343:18,20    trick
TISI                    354:15               234:13               traffic                266:18
 3:12 12:12 13:21     tissue-damaging       top                    242:18               tricky
  14:13 27:23 38:13    313:13                60:5 90:19,21        trained                198:13
  50:20 51:9,12       tissue-specific         94:12,14 119:18      58:1 188:24 213:21   tried
  52:3,6,9 53:2,6,8    101:24 102:14          119:25 150:24         213:21,24            49:20,23 50:12
  54:4,6 92:6,10      title                   151:1,16,21 152:7   training                112:25 151:23
  96:17,20 97:15       222:10                 165:16 176:8         16:24 93:21 205:11     167:3,20 170:9
  136:13 161:12       TLS                     203:4 220:19          217:25 238:4,5,9      182:4 189:2 232:7
  178:21,24 179:1      52:2                   225:10 262:10         243:22 282:4,4        232:11 234:16
  179:11 180:15,23    TNF                     279:10 298:22       trajectory              236:11,12 237:18
  181:2 194:23         73:13,14,15,17         299:5 301:19         22:19                  247:25 258:7
  195:1,5,21 196:1      74:10,11,13           319:19 330:5,6      transcript              284:5
  196:4,24 197:5,15     153:12              topic                  13:23 26:22 195:7    tRNA-mRNA
  197:19,23 198:8     tobacco                90:14 203:14           359:13               221:1
  198:11,24 199:18     16:12 25:24 26:10      246:19 275:16,17    transcription         true
  200:1,6,18 201:11     191:5,7,8 216:15      299:18               358:4                 79:3 191:10 197:19


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 205 of 348 PageID:
                                     60979
                                       Sarah E. Kane, M.D.
                                                                                               Page 410

  262:17 277:5           89:18 94:16          12:24 13:14,15         73:19 117:18,22    238:20 250:6
  300:22 337:18,25     TUCKER                  26:20 33:20 36:3    typographical        287:4
  338:5 340:9 359:9     5:17                   39:23 42:25 50:8     291:2              understanding
try                    tumor                   55:20 57:23 67:9    typographical-type 52:12,13 123:25
 26:21 103:12           25:10 68:6,19,20       137:1 173:15         169:14              129:17 142:9
  121:24 173:3           68:23,24 69:9,12      207:2 230:20        tyrS                 157:19 178:24
  175:9                  69:12 70:2 73:14      238:18 243:11        221:2               203:24,25 281:16
trying                   74:12 80:6 82:5       269:12 293:3                             319:11 340:14,24
 20:3 21:3 55:13,16      89:22 94:21,24,25     300:11 309:10                U          understands
  73:10 79:16            95:4,4 108:25         310:25 340:10,13    ubiquitous          212:10
  103:10 115:24          109:16 114:16         354:12,22 355:3      307:21             understood
  171:24 185:16          153:11 289:1        two-sided             ulcerative          27:10 38:16 48:10
  187:7,11,12 190:3      317:10,11,13,23      71:20                 62:19,21,23 63:1    54:3 106:10 197:7
  214:22 215:3         tumors                two-year                313:1,5,14 315:11  198:25 234:17,17
  218:2 225:7           65:15 66:4,20,21      33:16,17             ultimate            undifferentiated
  233:22 236:18,19       66:24 67:3,12,13    type                   129:8 131:14       87:11
  237:11 258:1,14        67:20 68:4,9,10      16:7 32:23 58:22       134:18            unfair
  261:7 272:11           69:1,14 73:22         60:17,21 62:18      ultimately          197:15 199:13
  275:6,24 276:1         75:8 79:17 82:6       70:24 82:24 87:17    38:21 50:12 134:16  200:20,21
  280:11,13 296:2        83:14,15,19 85:20     87:25 89:4 104:13     168:24 211:3      unfortunately
  301:14 309:6,9         85:21 89:2,20         107:11 108:8,19     ultrasound          33:10 50:8 55:1
  310:5 317:4 326:7      108:13 109:8          117:24 120:25        22:8                65:23 146:12
  326:7,8 353:22         157:7,20 158:16       130:24 139:2        Um                   194:21
tubal                    221:22 247:6          143:25 144:3,22      61:9               uniformly
 8:3 76:18 77:1,12       254:19 316:5          147:5 157:12,12     umbrella            337:22
  77:16 91:17 92:2       336:23                166:5 192:13         87:19              Union
  92:23 93:14          turn                    206:21 311:20       uncertain           30:15
  115:19 260:7          194:20 196:8,9         338:21 344:23        142:25             United
  261:15,24 263:14       247:7 278:3         types                 unclassifiable      1:1 11:10
  263:17 272:8           280:15 285:8         59:24 60:2 62:14      142:24             units
  299:1,5                296:2 318:14          64:8 65:1,5,12      uncommon            36:23
tube                     345:12                66:8,10,16,21        113:11             unknown
 8:5 76:19 78:6 79:7   turned                  67:8 73:23 82:21    undergoing          144:3
  79:10,12 80:11        167:4,5 231:9          83:2 84:3,5 86:22    340:7              unrelated
  91:19 92:3 106:21      235:23                86:22 102:24        underlying          37:25
  106:23 107:9,20      turning                 103:23 104:16,17     237:22 281:15      updated
  118:20,21 161:23      173:15 187:15          105:12,19 109:16      283:6,19 315:17   28:22 29:20 30:10
  161:25 162:16,25     Twenty-five             140:6,7 144:14,20   understand           30:17,18 165:1
  163:11,15 299:8       308:2,3                153:12 254:19        21:6 27:3,5 52:16   336:19 339:12
  307:1                Twenty-six              274:17 282:22         52:17 55:13 67:5 updates
tuberculoid             329:1,5                284:9,15 297:8        86:17 109:10      157:6
 117:24                twice                   353:11 355:3,10       130:15 135:7      upper
tuberculosis            113:6,15,18 291:3    typical                 137:20 197:10     346:14
 59:20 104:24          Twin                   107:11                 199:18,20 207:16 Urbati
tubes                   222:20               typically               212:12,14 223:25 6:11 11:3
 76:17 77:2,24         two                    18:22 23:13 62:21      230:12,15,16,20   usage


                   Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 206 of 348 PageID:
                                     60980
                                       Sarah E. Kane, M.D.
                                                                                          Page 411

 9:25 126:14 308:8   304:17               verbatim             343:3               266:13 268:2
use                  users                280:24 281:1,7       vitro               273:18 274:2
16:2 37:3,5 81:20    271:20 273:23          284:17,22 285:5    73:16 140:12        293:10,13 295:14
 82:15,22,23,24        309:5 324:19         286:24               154:12            296:4,4 303:25
 83:6,18 86:2          338:11,12          version              vivo                316:25 320:15
 87:24 103:12        usually              61:23 156:11         288:24              325:1 340:3 341:2
 108:21 110:10       19:12 22:2 23:2      versions             volume              341:4 344:18
 112:19 113:3          70:25 108:20       14:11                190:11              353:13,15 355:15
 114:3,22,25           239:11             versus               voluminous         wanted
 118:10 119:6        uterine              60:2,3 101:11        12:1               54:18 87:22 170:11
 125:7 127:14        99:19 100:4            104:22 191:23      vulvar              174:17,17 273:18
 128:15 130:12       uterus                 321:15 348:10,11   115:18             wants
 133:3 146:24        99:21 297:20         Vessel                                  91:25 137:4 198:19
 147:6,9,10 154:8    UV                   222:19                       W           206:7
 154:20,23 159:19    218:19               video                wait               Washington
 178:5 188:2,10,21                        11:7                 56:11 100:21,21    4:6 6:6
 188:25 200:19               V            videographer          200:25 212:7,7,7 wasn't
 215:24 221:19       V                    6:11 11:2,4 64:13     212:7,8 308:5     47:13 56:20 57:25
 241:1 246:23,24     3:12                   64:16 117:2,5       313:7 323:24,24    111:15,16 115:10
 250:25 255:16,24    vaginal                160:8,17 201:12     330:22,22 355:20   136:13 172:21
 256:5 257:13,22     115:18                 201:15 207:19,22    355:20             173:24 185:14
 260:7 261:24        vague                  231:16,19 277:14   waiting             187:6,17 211:19
 263:7 264:13        176:18                 277:17 289:11,14   328:20              217:4 241:6
 267:21 268:7        vaguely                318:13 328:3       wall                260:13 280:11
 269:6 270:3,16,18   176:17 305:5           341:9,12 356:7     121:17              286:4,19,24
 271:1 272:3         valid                Videotaped           walling             300:14 320:6,8
 273:21 274:17       321:9,9              7:10 27:14           122:20              336:2 337:5
 276:6,7,9,11        validity             view                 want                349:22 352:4
 278:19,24 279:1,5   270:8                177:9                13:3 28:17 41:1     353:5
 279:6,12 291:20     Valley               viewpoint             51:2,21 52:23     waste
 291:22 293:21       9:16 272:23          55:13                 53:18,20,22,24,25 53:24 200:16
 294:3 295:2,25      variability          viewpoints            67:6 72:9 81:2    water
 299:23 300:3,24     277:1                55:17                 85:25 91:11 92:20 221:14 323:15,17
 301:17 302:1,19     variable             Virchows              96:3 103:3 110:17  324:11,11 343:2
 302:22 307:9        263:8 347:13         92:5                  110:21,22 116:6   way
 316:11 317:16       varied               virtually             136:3 137:6,13    13:1 64:4 80:5,6
 321:4 325:4 333:2   168:5                12:14                 141:1 145:23       86:6 102:17
 333:8 336:4         various              virus                 148:15 161:14      107:14 113:11
 338:10 343:10,19    51:8 81:16 233:7     315:17                166:19 167:1       137:13 157:17
 344:9,17 347:13       285:6 342:18       viruses               174:15 191:24      166:9 171:21
 348:10,11 349:5,7   vast                 102:1,12,16           192:4 200:14,19    191:3 196:6
 349:8,16 350:3      20:17 21:11,16       visits                200:19 206:19,21   197:11 198:18
 353:10                171:2 184:14       25:7                  207:15 209:25      215:16 220:16
useful                 234:10,11          vitae                 213:6 230:6,7      229:23 236:23,25
107:5 162:14         venture              7:13 29:21 30:6       240:15 242:17      242:10 243:3
user                 226:7                vitamins              265:18 266:6,12    244:16 246:19


                 Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 207 of 348 PageID:
                                     60981
                                     Sarah E. Kane, M.D.
                                                                                             Page 412

 257:24 279:11        28:1 253:6 273:17     114:16 120:19,19    109:14                309:5 324:5,19
 296:20 297:10         296:3                122:23 127:11,21    willing               325:4,5 335:15
 301:17 309:15        well-characterized    128:1,20 130:1      204:1                 343:19 347:11,16
 317:24 319:24        146:16                132:14 135:18       withdraw              352:21 353:14
 325:15 329:11        well-defined          144:25 146:20       21:13 46:12 150:12   women's
 333:16 350:14        135:4                 147:13 158:15,15    witness              251:22
 354:3 359:16         well-designed         160:2 180:22        7:2 11:15,16 16:8    wonder
ways                  351:23                201:9 213:21,21      16:10 18:3,5        310:7
100:18 157:14         well-established      216:4,5,6 220:14     25:17 35:4,17       word
 323:3 329:19         64:8 313:3            242:13 252:15        39:14 40:16 43:23   48:23 49:6,8 77:25
 353:23 354:16        well-formed           259:24,25 260:2      55:9 56:24 97:23     153:11 162:2
weak                  122:12,13,18,25       273:4 274:4          100:24 118:5         178:5 205:22
256:22,25 257:1,8     well-known            284:11 285:15        138:9 150:2,5,8      206:21 207:6
 257:10 270:25        57:12                 287:9 291:17         150:11 156:2         220:24 248:21,22
 349:6,9,10,11,16     well-respected        292:13,13 299:18     161:14 166:14       words
 349:19 350:3         243:2                 307:8 315:24         179:17 187:22       25:5 228:9 235:24
 351:5                went                  316:15,16,18,21      196:15 197:18        249:11,12,25
weaker                164:5 166:11          318:20 323:9         198:3 199:14         263:20 281:12
350:20                 176:11 187:23        334:17,25 339:14     201:17 207:18        301:17 349:18
weakness               188:11 191:16        341:6 344:25         213:10 221:15       work
271:21                 211:5 236:4          352:5 355:10,22      229:22 233:14       16:8,10 32:16
weapon                 240:10 269:20,21     356:5                240:16 255:5         35:17 37:16 39:1
219:24                 294:5 308:10        we've                 266:4,19 267:13      40:14,16,20,24
website                331:4               13:25 28:15 49:12     277:25 318:18        41:5 43:1 46:8
187:15 338:19,23      weren't               53:19 64:11          320:17 328:25        47:1 176:13
 339:17               51:17 61:22 116:4     139:21 147:3         359:7,18             192:17 207:13
week                   169:7 179:19         158:6 186:4 209:6   witnesses             208:4,5,13,25
12:18 23:23 189:21     182:10 187:18        297:16              9:5 194:12,18         209:4 210:10,11
weeks                  192:7 233:3 255:2   whatsoever            198:20 201:4         210:18 211:22
33:18,19 127:1         264:9 314:7         307:14               Wolfson               232:4,13,16
 230:21               wet                  WHEREOF              195:12                233:17 234:7
weigh                 305:25 307:12        359:18               woman                 236:2 237:20
204:11 220:16         we'll                Whichever            9:7 89:23 146:25      239:19 240:16
weighed               15:8 27:1 29:19      161:16                252:21 253:9         241:25 244:4
309:4                  31:6 96:7 97:8      Whittemore            276:24,25 304:9      281:8,9,18 282:1
weighing               103:4,5,7 110:5     159:11                304:16 353:4         282:17 283:15
126:23                 155:5 166:18        wide                 women                 285:10 286:2
weight                 168:8 197:20        143:23 144:1,21,24   22:18 75:3,14         317:19
188:3,11,22 251:7      212:18 266:16        170:10 237:11        114:3,9,25 132:6    worked
 305:25                273:9 284:24         259:19               133:3,10 135:14     216:16
Welch                  287:2 308:5         widely                138:2 146:17        working
41:15 253:18,25       we're                240:24 241:2 252:2    147:5 149:13        18:2,4 35:10 40:7
 254:5,8,10,13,21     40:22,22 85:23        252:8,18 282:13      258:22 264:14,20     42:22 43:20 202:4
Welch's                89:1 90:14 97:13    wider                 276:9 295:16         245:24 277:8
254:24                 103:10 104:11,13    190:25                297:3 298:10,11      336:21
welcome                106:6,7,8 107:24    wildly                299:1 300:24        works


                     Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 208 of 348 PageID:
                                     60982
                                   Sarah E. Kane, M.D.
                                                                                           Page 413

  319:20           13:12,14 14:13,24       220:8               259:1,25              351:2,5,10,15
world                15:9 23:4 48:12     Yersinian             01970               1.57
240:23 244:5         52:23 56:6 57:2     219:18                16:4                269:3
worried              60:14 65:21 69:20   yesterday             02210               1.669
242:18               87:10 97:16         11:20 12:1 13:10      3:6                 305:25
wouldn't             112:18 116:8          13:24 15:5 50:14    07                  1.7
24:5 31:25 85:15     125:3 126:1 150:8     56:3 167:24 168:1   347:14              305:24 307:11
  85:15 114:14,15    159:2 164:14          168:5 170:1         07962                 346:4
  114:24 130:23      174:5,17 188:4        186:14 242:17       5:11                1.76
  151:17 169:2       195:1 198:8,11      yield                                     269:2
  170:4 173:11       201:11 203:25       221:6                          1          1.8
  216:20 229:23      213:10 214:24       Young                 1                   259:1
  230:6,7 235:10     229:18 233:16       242:23 243:10,14      7:10 27:16,19       1.85
  243:18 247:3,5     246:22 255:21         243:24 244:8          28:13 64:13       273:22
  255:1 257:23       259:4,13 260:13     younger                 135:23 142:15     1.86
  264:7 283:12       260:19 267:24       93:11                   157:12 165:16     274:7
  305:20 312:25      268:17 269:9,17     Yup                     256:12 328:24     1:05
  316:12 320:22      272:13 273:9        150:11 268:7 279:8    1,000               160:9
  322:2 353:13,15    274:6 276:16                              258:24,25 259:23    1:45
writing              291:10 294:7,7,12           Z               259:25 346:2,4,19 160:19
50:2,9 188:20        295:6 302:4,4,14    Zanko                 1.0                 10
  202:6,10 210:21    308:21 309:10       98:19                 259:2 260:3 346:4   8:7 90:21,24 91:4
  216:5 283:14       311:13 313:20       Zelikoff                346:17 351:15       95:14,18 97:9,12
written              343:4 347:9         12:18                 1.02                  97:22,25 98:12
47:20 56:17 57:5     348:23              zero                  273:22                280:15 282:16
  166:15 182:11    year                  267:17 330:14         1.16                  285:8,15
wrong              31:21 33:13,22,24                           268:12 274:7        10,000
                                                 $             1.17
180:24 266:17,17     176:20 223:8                                                  258:25 259:2,25
  266:20             317:20              $10,208               269:1                 260:2 264:15
wrote              years                 45:6                  1.22                  346:2,5,18,19
127:1 166:21 186:3 33:12,14,20,22        $13,835               274:13              10:21
  236:3,17 258:21    79:18 90:25         44:4                  1.3                 64:14
                     100:15 101:18,18    $19,666.67            135:24 190:20       10:37
         X           115:5 123:2         42:18                   256:23,25 257:2   64:18
x                    176:23 239:6        $26,666.67              257:11 258:23     100
1:3,8,11 7:1,8 8:1   254:12 263:7        35:7                    350:23 351:1,11   330:17,18 331:23
  9:1 10:1 330:15    264:15 267:17       $37,791.67            1.37                11
Xerox                268:7,11,23         46:3                  268:25 273:22       8:9 97:12,13,24
157:1                269:13 274:6,9,12   $500                  1.4                   98:5,8,12 106:14
Xeroxed              279:5 305:21        47:6                  135:24 190:20         117:10 155:6
97:1 159:25          307:9 313:7                                 264:18 346:4        159:24 165:14,24
                                                 0
                     334:14 337:12                               350:23 351:11       282:16 285:8,16
         Y                               0.7                   1.45
                     340:10 347:12,17                                              11/16/18
Y                                        258:24 259:24         274:11
                     348:11,12                                                     7:24 45:11
330:8                                    0.8                   1.5
                   Yersinia                                                        11:30
yeah                                     269:4                 258:25 350:15
                   218:23 219:2,23                                                 110:20
                                         0.9

                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 209 of 348 PageID:
                                     60983
                                     Sarah E. Kane, M.D.
                                                                                            Page 414

11:44                 1510                 31:18 34:3          142:7                218:25
117:3                 4:23                 19103-6996          2.08                 2004
12                    16                   4:15                274:13               273:7
8:12 42:7 73:11       8:22 44:22 181:18    194                 2.21                 2005
  74:2 160:13 161:1     181:21,22 182:20   9:5                 268:24               249:7 253:13,15
  163:8 274:6,9         182:25 184:3,22    1960s               2.32                   303:4 341:23
  279:4                 185:4,19 258:10    191:6               274:11               2007
12.6                    258:11 359:23      1964                2.4                  253:14 257:14,18
60:18                 16th                 337:1               259:1 260:1            257:20 258:2,4
12:02                 31:19 32:1,2 34:11   1982                2.7                    259:5 270:23
117:7                   45:19              238:10 255:17,20    258:25 259:24        2008
120                   16-2738                256:7,11 291:19   2.8                  289:24 293:24
331:8                 1:7                    338:10            264:17               2009
1216                  160                  1985                2.98                 187:3
96:12 155:9,12        8:13,16              207:3               274:8                2010
1217                  164                  1988                2/23/18              84:10,13 239:23
96:12 155:14,15       8:18                 159:11,13           7:22 44:7              241:7
1218                  165                  1992                2/5/18               2012
96:12                 8:21                 238:12 258:15       7:20 43:10           303:5 341:23
13                    17                     259:6,9 260:18    2:38                 2013
8:14 160:16 161:8     8:24 166:1 175:13      261:1 271:3       201:13               303:4
  274:10,14             186:18 226:24        348:24,25 349:12  2:42                 2014
130                     290:10 291:17        349:22 350:9      201:16               184:10 292:21
3:21                    293:18 331:16        351:7             2:50                 2016
14                      333:22             1994                207:20               92:5
8:17 34:1 164:17      174                  156:12 157:2,8,9    2:54                 2017
  164:20,21 167:5     296:8 299:19           157:20,23 158:2   207:23               31:20,21,23 32:2,7
  229:16,19 230:5     175                    158:18,19         20                     32:19 34:1,2 36:8
  236:1 258:11        299:20               1995                9:10 35:10 90:21       40:12 42:8 43:17
  264:20 304:23       18                   187:3                 91:4 115:5 239:6     193:24 194:4,24
14th                  9:3 194:12,14,16     1996                  260:23,24 261:3      196:3,21 202:5
14:4 28:10 34:3,9       258:21 331:16      304:21                267:18,18 268:11     244:10
1410                    333:22             1999                  268:12,17,18       2018
3:5                   18th                 255:21,22 256:14      269:13 305:21      30:11 43:18 44:19
15                    43:17                  256:14 265:2,7      307:9 313:7          44:20 45:18,19
7:4 8:19 90:25        181                    266:8 267:4 271:7   345:10 347:19        46:7,9 164:18,23
  164:18,23 165:6     8:23                                       348:25 358:15        169:25 182:23
  165:10,13,20        182                           2          20th                   229:20 281:1
  166:3 167:4 168:9   159:3,10             2                   36:12 45:18            283:2,17 284:18
  169:24 170:24       186                  7:13 29:20,22 30:5 200                   2019
  178:10,20 181:15    8:25 165:15,22         64:17 75:18 117:2 331:9 332:3,5        1:16 2:14 11:5 30:7
  229:20                178:9,19,25          135:23 157:12     2000                   339:14 359:19
15th                  19                     165:3 217:17      4:14 292:20          202
30:11 182:16          9:6 31:22 34:1         247:12 267:13     20004                6:7
1508                    252:24 253:3,7       274:4             6:6                  2021
309:2                 19th                 2A                  2001                 359:23


                  Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 210 of 348 PageID:
                                     60984
                                      Sarah E. Kane, M.D.
                                                                                              Page 415

206                    9:17                303                   14:2 166:17,21       5/19
4:7                    28                  3:23                    167:11 180:21      7:16 31:9
207-0600               293:19              308                     185:11 232:24      5/22
3:7                    28th                10:4                    233:5              40:11
21                     35:23 42:7 359:19   31                    4:37                 5:02
9:12 43:21 266:24      284                 7:16                  277:15               289:12
  267:2,10,12          9:19                316                   4:44                 5:28
  277:24 279:10        289                 3:13                  277:18               289:16
215                    9:23                318                   40                   50
4:16                   29                  7:5                   42:11 43:19 254:12   100:15 114:9,11
216                    7:14                32502                 40-plus                116:14,17 331:6,7
5:21                                       3:14                  269:3                  351:2
22                              3          328                   404                  500
9:14 272:24 273:8      3                   10:7                  227:4                331:23
  273:14               7:15 31:6,10 33:25 341                    41                   512
23                       36:13 42:25 45:1  7:6                   7:18                 4:25
9:18 285:1,3             117:6 160:8 261:8 344-7600              43                   53
  286:13                 261:11 268:6,7,12 4:7                   7:20                 35:9
23rd                     278:3,4 328:14,15 348                   435-7000             530
44:19                    328:15 329:3,8    7:5                   3:15                 99:10
2319                     345:12,18,21      35                    44                   539
295:16                 3A                  265:8 294:1,11        7:22                 96:12 106:15,16
24                     330:4               350                   44113                54
9:20 11:22 289:20      3.0                 5:10                  5:20                 7:25
  289:23 308:4         259:3 260:3         355                   45                   540
  329:12 347:24        3.10                271:7,13 272:12       7:24                 96:12 106:19
24th                   269:4               363                   460                    117:12
170:1 186:15           3.32                2:9                   274:5 278:4,14,18    55
25                     347:14              37                    463                  43:21 44:22 268:17
1:16 2:14 9:24 10:3    3.56                42:10                 275:14 276:2         582
  11:5 116:18,19       268:25              376                   463-2400             328:15 329:3
  263:2 308:9          3:24                96:11 98:18           6:7                  59
252                    231:17              39                    47                   159:4 268:18
9:9                    3:36                269:1                 159:3                592-5000
26                     11:20               391-0197              48                   5:21
8:17 10:5 164:19       3:39                4:25                  210:16
  328:8,9,10           231:21                                                                  6
260                    30                           4                     5           6
9:11                   45:1 190:17 221:23 4                      5                    7:21 44:8,11,18,21
266                      267:18,18 268:12 7:17 41:21,24 42:5     7:19 43:7,8,11         196:3 289:15
9:13                     268:13,18,18,23     42:21,25 160:18       45:22 180:4,4        345:2
267-0058                 269:1,13 274:10     169:25 182:23         231:20 247:8       6/1
5:12                     274:12,14,14        238:2 245:8 247:8   5th                  40:12
27                       294:10 351:1        247:12 258:23       43:18                6/16
7:12 43:19             300                   274:6,9 279:4       5.4                  34:7
272                    96:11               4th                   264:18               6:30


                      Golkow Litigation Services - 1.877.370.DEPS
  Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 211 of 348 PageID:
                                     60985
                                      Sarah E. Kane, M.D.
                                                                           Page 416

  328:3               78701                 950
6:31                  4:24                  5:19
341:10                                      96
6:37                           8            182:21
318:20                8                     973
6:40                  7:25 54:8,11,21       5:12
341:13                  58:4 60:19,24       975
6:48                    61:19 62:2 196:9    6:5
348:17                  196:9               98
6:58                  8/3/18                8:11
356:8,9               7:22 44:7             98104
60                    80220                 4:6
280:25 347:17         3:22                  988-2700
60-day                81                    4:16
340:7                 16:2
617                   816
3:7                   4:23
629                   83
161:6,14,18 163:13    159:9
  163:14              839-8000
648                   3:23
96:12 117:13,14       850
6800                  3:15
4:5                   877.370.3377
69                    1:22
159:3,5
                               9
        7             9
7                     8:3 91:20,23 92:8,9
7:23 45:9,12 46:6       274:11 346:21
7th                   9/12
44:20                 7:18 41:20
7/14                  9/18/17
7:16 31:9             7:20 43:10
7/28                  9/20/18
7:18 41:20            7:24 45:11
70                    9:19
159:3,7,8             1:16 2:15 11:6
701                   91
4:5                   8:6
71                    917.591.5672
45:21                 1:22
72                    92
274:13                159:6
78                    95
269:2                 8:8


                     Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 212 of 348 PageID:
                                   60986




                        Exhibit 12
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 213 of 348 PageID:
                                   60987
                               Robert Kurman, M.D.

                                                                        Page 1
                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF NEW JERSEY



             IN RE JOHNSON & JOHNSON         :
             TALCUM POWDER PRODUCTS          :
             MARKETING, SALES PRACTICES, AND :
             PRODUCTS LIABILITY LITIGATION   :
                                             :        NO. 16-2738
                                             :        (FLW) (LHG)
             THIS DOCUMENT RELATES TO
             ALL CASES                       :


                                          - - -

                                     APRIL 2, 2019

                                          - - -

                       Videotaped deposition of ROBERT KURMAN, M.D.

             held in the offices of Duane Morris, LLP, 100 North City

             Parkway, Suite 1560, Las Vegas, Nevada, commencing at

             9:26 A.M., on the above date before Pamela Cotten, CSR,

             RDR, Certified Realtime Reporter, Certificate No. 4497.

                                         -   -   -



                            GOLKOW LITIGATION SERVICES
                        877.370.3377 ph | 917.591.5672 fax
                                  deps@golkow.com




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Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 214 of 348 PageID:
                                   60988
                                                             Robert Kurman, M.D.
                                                                Page 2                                                           Page 4
        1   A P P E A R A N C E S:                                        1                         INDEX
        2
        3   For the Plaintiffs:
                                                                          2
        4         BEASLEY ALLEN LAW FIRM                                  3      Witness: ROBERT KURMAN, M.D.
                  BY: DAVID DEARING, ESQ.                                 4      Examination:                    Page
        5         218 Commerce Street                                     5        BY MR. DEARING --------------------- 8, 325
                  Montgomery, Alabama 36104
        6         (334) 269-2343
                                                                          6        BY MS. AHERN     --------------------- 322
                  david.dearing@beasleyallen.com                          7
        7                                                                 8
                 ROBINSON CALCAGNIE, INC.                                 9
        8        BY: CYNTHIA L. GARBER, ESQ.
                 19 Corporate Plaza Drive                                10                  EXHIBITS
        9        Newport Beach, California 92660                         11      Deposition         Description        Page
                 (949) 720-1288                                          12      Exhibit 1     Expert Report of Robert J.   10
       10        Fax - (949) 720-1292
                 cgarber@robinsonfirm.com
                                                                                           Kurman, M.D., for General
       11                                                                13                Causation Daubert Hearing
                 HAUSFELD                                                14      Exhibit 2     Defendants' Response to      11
       12        BY: STEVEN B. ROTMAN, ESQ.                                                Plaintiffs' Document
                 One Marina Park Drive, Suite 1410
       13        Boston, Massachusetts 02210
                                                                         15                Requests Contained in Notice
                 (617) 207-0600                                                            of Oral and Videotaped
       14        srotman@hausfeld.com                                    16                Deposition of Robert
       15
       16   For the Defendants Johnson & Johnson Entities:
                                                                                           Kurman, M.D., and Duces
       17         SHOOK, HARDY & BACON, LLP                              17                Tecum
                  BY: HUNTER AHERN, ESQ.                                 18      Exhibit 3     IARC's Mission Statement       75
       18         600 Travis Street, Suite 3400                          19      Exhibit 4     Document Titled "Special      78
                  Houston, Texas 77002
       19         (713) 227-8008
                                                                                           Report: Policy, A Review of
                  hahern@shb.com                                         20                Human Carcinogens - Part C:
       20                                                                                  Metals, Arsenic, Dusts, and
                 DRINKER, BIDDLE & REATH, LLP                            21                Fibres"
       21        BY: KATHERINE McBETH, ESQ.
                 One Logan Square, Suite 2000
                                                                         22      Exhibit 5     Excerpts from IARC Monograph 102
       22        Philadelphia, Pennsylvania 19103-6996                                     "Arsenics, Metal, Fibres,
                 (215) 988-2706                                          23                and Dusts," Volume 100C
       23        katherine.mcbeth@dbr.com                                24
       24
       25                                                                25


                                                                Page 3                                                           Page 5
        1    A P P E A R A N C E S (Continued):                           1                EXHIBITS
        2                                                                                   (Continued)
                                                                          2
        3       For the Defendant PTI Royston LLC and PTI Union LLC:      3   Deposition        Description            Page
        4         TUCKER ELLIS LLP                                        4   Exhibit 6     Article Titled "Correlative 190
                  BY: MICHAEL C. ZELLERS, ESQ.                                          Polarizing Light and
        5          42nd Floor                                             5             Scanning Electron Microscopy
                                                                                        for the Assessment of Talc
                   515 South Flower Street                                6             in Pelvic Region Lymph
        6          Los Angeles, California 90071-2223                                   Nodes" by Sandra A.
                   (213) 430-3400                                         7             McDonald, et al.
        7          michael.zellers@tuckerellis.com                        8   Exhibit 7     Photocopy of Chapter 27,       216
        8         TUCKER ELLIS LLP                                                      Epidemiology, Page 1301
                                                                          9
                  BY: MICHAEL ANDERTON, ESQ.                                  Exhibit 8     Article Titled             241
        9          950 Main Avenue, Suite 1100                           10              "Histopathologic Review of
                   Cleveland, Ohio 44113-7213                                            Granulomatous Inflammation"
       10          (216) 592-5000                                        11              by Kabeer K. Shah, et al.
                                                                         12   Exhibit 9     Excerpts from Blaustein's      255
                   michael.anderton@tuckerellis.com                                      Pathology of the Female
       11                                                                13              Genital Tract, Fourth
       12       For Personal Care Products:                                              Edition, Pages 376, 539,
       13         SEYFARTH SHAW LLP                                      14              540, 648, 1216, 127, & 1218
                                                                         15   Exhibit 10     Letter to the Editor Titled 264
                  BY: JAMES R. BILLINGS-KANG, ESQ.                                       "Talc Should Not be Used for
       14          975 F Street, N.W.                                    16              Pleurodesis in Patients with
                   Washington, D.C. 20004-1454                                           Nonmalignant Pleural
       15          (202) 463-2400                                        17              Effusions" by Andrew J.
                   jbillingskang@seyfarth.com                                            Ghio, et al.
                                                                         18
       16                                                                     Exhibit 11     Article Titled "Molecular  269
       17    ALSO PRESENT:                                               19              Bias Supporting the
       18       DARNELL BROWN, Videographer                                              Association of Talcum Powder
       19                                                                20              Use with Increased Risk of
                                                                                         Ovarian Cancer" by Nicole M.
       20                                                                21              Fletcher, PhD, et al.
       21                                                                22   Exhibit 12     Article Titled "On Talc   279
       22                                                                                Translocation from the
       23                                                                23              Vagina to the Oviducts and
       24                                                                                Beyond" by A.P. Wehner, et
                                                                         24              al.
       25                                                                25



                                                                                                         2 (Pages 2 to 5)
                           Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 215 of 348 PageID:
                                   60989
                                                           Robert Kurman, M.D.
                                                                    Page 6                                                            Page 8
        1                         EXHIBITS                                    1     MR. ZELLERS: Michael Zellers on behalf of the
                                   (Continued)                                2   Johnson & Johnson defendants.
        2                                                                     3     MS. AHERN: Hunter Ahern on behalf of Johnson &
        3     Deposition       Description           Page
        4     Exhibit 13    Article Titled "The Lack of 283                   4   Johnson defendants.
                        an Ovarian Effect of                                  5     VIDEO OPERATOR BROWN: The court reporter is Pam
        5               Lifetime Talc Exposure in                             6   Cotten, who will now swear in the witness.
                        F344/N Rats and B6C3F1 Mice"                          7
        6
              Exhibit 14    Article Titled "Systematic               321      8                ROBERT KURMAN, M.D.,
        7               Review and Meta-Analysis of                           9   called as a witness, and having been first duly sworn by
                        the Association Between                              10   the Certified Shorthand Reporter, was examined and
        8               Perineal Use of Talc and                             11   testified as follows:
                        Risk of Ovarian Cancer" by
                                                                             12
        9               Mohamed Kadry Taher, et al.
       10                                                                    13                  EXAMINATION
       11                                                                    14   BY MR. DEARING:
       12                                                                    15     Q Good morning, Doctor.
       13
       14                                                                    16     A Good morning.
       15                                                                    17     Q We've met at least twice, I think. But I'm
       16                                                                    18   David Dearing. I represent the plaintiffs in this
       17                                                                    19   litigation, and I'm going to be asking you some
       18
       19                                                                    20   questions.
       20                                                                    21         You've been produced as an expert by Johnson &
       21                                                                    22   Johnson in this case. So, first of all, if you would,
       22                                                                    23   state your name, please.
       23
       24                                                                    24     A Robert Kurman.
       25                                                                    25     Q What did you do to prepare for this


                                                                    Page 7                                                            Page 9
        1      LAS VEGAS, NEVADA - TUESDAY, APRIL 2, 2019,                    1   deposition?
        2                     9:26 A.M.                                       2      A Well, you have to go back into my career. I
        3     VIDEO OPERATOR BROWN: Good morning. We are now on               3   guess, in a way, I've been preparing for a long time,
        4   the record. My name is Darnell Brown, and I'm the                 4   so to speak.
        5   videographer with Golkow Litigation Services. Today's             5          I was a gynecologic pathologist for almost
        6   date is April 2nd, 2019, and the time is 9:26 A.M.                6   40 years. And during the course of my career -- which
        7         This video deposition is being held in                      7   involves teaching and research and clinical care,
        8   Las Vegas, Nevada, in the matter of In Re Talc for                8   attending meetings, reviewing articles submitted to
        9   United States District Court, Eastern District of New             9   journals -- I would be constantly reading the
       10   Jersey.                                                          10   literature in gynecologic pathology, which, of course,
       11         The deponent is Dr. Robert Kurman.                         11   included ovarian cancer.
       12         Counsel, please identify yourselves for the                12      Q Can I just cut you off.
       13   record.                                                          13          What have you done in the last ten days to
       14     MR. DEARING: David Dearing from Beasley Allen for              14   prepare for this deposition?
       15   the plaintiffs.                                                  15      A I've read over the defense -- the plaintiffs'
       16     MS. GARBER: Cynthia Garber, Robinson Calcagnie,                16   gynecologic pathology expert and gone over papers that
       17   for the plaintiffs.                                              17   she's referred to. I've gone over my report and
       18     MR. ROTMAN: Steve Rotman, Hausfeld, for the                    18   perhaps googled a few things here and there. Oh,
       19   plaintiffs.                                                      19   PubMed, too.
       20     MR. BILLINGS-KANG: James Billings-Kang from                    20      Q Did you have meetings with Johnson & Johnson
       21   Seyfarth Shaw, Personal Care Products' counsel.                  21   lawyers in preparation for this deposition?
       22     MR. ANDERTON: Michael Anderton, Tucker Ellis, for              22      A I did.
       23   PTI Royston and PTI Union.                                       23      Q How much time have you spent with the
       24     MS. McBETH: Katherine McBeth, Drinker Biddle &                 24   Johnson & Johnson lawyers preparing for this
       25   Reath, on behalf of the Johnson & Johnson defendants.            25   deposition?


                                                                                                          3 (Pages 6 to 9)
                              Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 216 of 348 PageID:
                                   60990
                                               Robert Kurman, M.D.
                                                     Page 10                                                        Page 12
        1      A I didn't keep track of the meetings per se --        1   BY MR. DEARING:
        2   the time spent on the meetings per se.                    2      Q It's okay if you haven't seen it; I just don't
        3      Q Can you estimate.                                    3   know.
        4      A I hesitate not to estimate, since I'm under          4      MR. DEARING: I'll just hand them to you, Cynthia,
        5   oath and I want to try to be as specific as possible.     5   and you give them to anybody who wants it.
        6      Q One of the advantages of being an expert is          6      MS. GARBER: I'll be your paralegal today.
        7   you're allowed to estimate. So can you give me a          7      MR. DEARING: Thank you. Then we can trade if you
        8   ballpark? Was it ten hours?                               8   want.
        9      MS. AHERN: Objection. Form.                            9      THE WITNESS: No, I didn't see this.
       10      THE WITNESS: Maybe 15.                                10   BY MR. DEARING:
       11   BY MR. DEARING:                                          11      Q Okay. One of the things in this document that
       12      Q Have you billed them for that time yet?             12   I just gave you, Exhibit 2, is a supplemental reference
       13      A Some of it.                                         13   list, and it's the last four -- last three pages. It
       14         (The document referenced below was                 14   actually starts with page number 1 in the back of the
       15      marked Deposition Exhibit 1 for                       15   document.
       16      identification and is appended hereto.)               16          Do you see that?
       17   BY MR. DEARING:                                          17      A Yes.
       18      Q I'm going to hand you a composite exhibit,          18      Q And at the very top, there's a list of
       19   which I've marked as Exhibit Number 1. And it is your    19   reports.
       20   report, your CV, and your reference list and the         20          Do you see that list?
       21   appendixes -- appendices with your report. So feel       21      A Yes.
       22   free to refer to that as much as you need to.            22      Q Those are all defense witnesses in this case,
       23         I have copies for other people if anybody else     23   aren't they?
       24   wants a stack. I made six copies of everything. I        24      A Yeah, it looks that way.
       25   hope we have enough.                                     25      Q Have you read all those reports?


                                                     Page 11                                                        Page 13
        1   BY MR. DEARING:                                           1      A No, I have not.
        2      Q So have you had a chance to just glance              2      Q Any idea why they would be on your reference
        3   through what I just handed you?                           3   list if you haven't read them?
        4      A Yes.                                                 4      A They were offered to me, but I didn't read
        5      Q Okay. And does that look like your report,           5   them all.
        6   your CV, your reference list, that kind of thing?         6      Q Have you read any of them?
        7      A Yes.                                                 7      A I did.
        8      Q And did you write this report?                       8      Q Which ones have you read?
        9      A I sure did.                                          9      A Dr. Michael Birrer, Dr. Jeff Boyd, Dr. Gregory
       10          (The document referenced below was                10   Diette, Dr. Ie-Ming Shih, and Brooke Mossman.
       11      marked Deposition Exhibit 2 for                       11      Q And I think you mentioned that you read the
       12      identification and is appended hereto.)               12   report of Dr. Kane; right?
       13   BY MR. DEARING:                                          13      A I did.
       14      Q Yesterday, I was given another document that        14      Q A plaintiff expert?
       15   I'm marking as Exhibit 2, and it's entitled              15      A Yes.
       16   "Defendants' Response to Plaintiffs' Document Requests   16      Q Did you read any other report of plaintiff
       17   Contained in Notice of Oral and Videotaped Deposition    17   experts?
       18   of Robert Kurman, M.D., and Duces Tecum."                18      A No, I did not.
       19          Have you ever seen this document before?          19      Q Have you relied on any other materials that
       20      MS. AHERN: Is that Exhibit 2?                         20   aren't contained in your original reference list or
       21      MR. DEARING: It's Exhibit 2, yes.                     21   this new reference list that I got yesterday?
       22      THE WITNESS: This is what you showed me yesterday,    22      A No, I have not.
       23   isn't it? Is this what you showed me yesterday?          23      Q And for clarity, did you prepare this
       24      MS. AHERN: Go ahead and take a look through it.       24   reference list that was handed to me yesterday?
       25   And if you recognize it, you can let him know.           25      A I did not prepare that list.


                                                                                        4 (Pages 10 to 13)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 217 of 348 PageID:
                                   60991
                                                Robert Kurman, M.D.
                                                      Page 14                                                        Page 16
        1      Q Did you ask someone to prepare that list?             1   able to say they were board-certified. They wanted to
        2      A No, I didn't.                                         2   completely compete it -- excuse me -- completely
        3      Q And the first time you saw it was this                3   confine it to pathologists. So they didn't approve of
        4   morning?                                                   4   having a board specialty.
        5      A You asked me about this originally. I said I          5       Q But you can get board-certified in pathology;
        6   didn't see it. Honestly, I didn't look at the last         6   right?
        7   three pages.                                               7       A Oh, certainly.
        8      Q Okay.                                                 8       Q Now, you've been deposed several times in this
        9      A When you mention that, I did see that before,         9   litigation; right?
       10   the reference list.                                       10       A A few times, yes.
       11      Q Okay. But you didn't prepare it?                     11       Q And you've actually testified in at least one
       12      A But I did not prepare it, no.                        12   trial; right?
       13      Q Have you reviewed any internal corporate             13       A Yes. I think you were the person that --
       14   documents, emails, or testing data of Johnson & Johnson   14       Q It was me.
       15   and Imerys?                                               15          Have you testified in any other trials?
       16      A No, I haven't.                                       16       A No.
       17      Q As I understand it, you are now a retired            17       Q And each time you testified, you took an oath
       18   gynecologic pathologist; is that right?                   18   to tell the truth, the whole truth; right?
       19      A That's correct.                                      19       A Yes.
       20      Q Congratulations.                                     20       Q And did you do that?
       21      A Thank you.                                           21       A I did.
       22      Q And I understand that your medical license has       22       Q And do you still stand by the testimony you
       23   lapsed as well; right?                                    23   gave previously in this litigation?
       24      A I have a medical license in Nevada.                  24       MS. AHERN: Objection. Form.
       25      Q Oh, you do?                                          25       THE WITNESS: Well, I'd like to see what -- if


                                                      Page 15                                                        Page 17
        1      A I do.                                                 1   you're referring to specifically, I'd like to see it.
        2      Q Do you agree with me that gynecologic                 2   But I told the truth then, and I'm telling the truth
        3   pathology is not a recognized subspecialty of the          3   now.
        4   American Board of Pathology?                               4   BY MR. DEARING:
        5      A Gynecologic pathology is a -- an acknowledged         5       Q Do you believe your report is a fair and
        6   subspecialty that we have in virtually all major           6   balanced statement of the science on the issues that
        7   institutions, but it is not a board specialty.             7   you address?
        8      Q So you can't become board-certified in                8       A I certainly do.
        9   gynecologic pathology; correct?                            9       Q When you wrote your report in this case, who
       10      A Well, the point is that, in order to do expert       10   was your intended audience or your intended reader?
       11   work in gynecologic pathology, you need to really train   11       A I was responding specifically to the report of
       12   in it, as your plaintiffs' expert did. But you don't      12   Dr. Kane, but I assumed that other individuals who were
       13   need specific board certification.                        13   involved with this litigation would probably be reading
       14          And, in fact, there was -- many years ago,         14   it.
       15   there was -- and I was at the meeting. My predecessor     15       Q Did you write it thinking that the judge would
       16   at Hopkins, Dr. Don Woodruff, who was a gynecologist      16   read it?
       17   but had done a lot of gynecologic pathology -- in fact,   17       A I assumed that that would eventually occur.
       18   he did the gynecologic pathology at Hopkins before I      18       Q When you were first contacted by Johnson &
       19   was there -- went to a meeting of the International       19   Johnson regarding this talcum powder litigation, isn't
       20   Society of Gynecologic Pathologists and asked that it     20   it true that you had never researched the relationship
       21   be made a board specialty.                                21   between genital talc use and ovarian cancer?
       22          And the pathologists resisted. They didn't         22       MS. AHERN: Objection. Form.
       23   want to do it. The reason being that they were            23       THE WITNESS: Are you referring to when I was
       24   concerned that people like Dr. Woodruff -- with all       24   initially contacted or for this specific MDL?
       25   respect to him -- they didn't want gynecologists to be    25   ///


                                                                                         5 (Pages 14 to 17)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 218 of 348 PageID:
                                   60992
                                                      Robert Kurman, M.D.
                                                              Page 18                                                  Page 20
        1   BY MR. DEARING:                                              1      MS. AHERN: Objection. Misstates.
        2     Q No. Before the MDL --                                    2      THE WITNESS: I said before Johnson & Johnson
        3     A Okay.                                                    3   contacted me, there was, in the gynecologic pathology
        4     Q -- when Johnson & Johnson first came to you,             4   community, never -- never a question of talc being
        5   at that time, you had not researched the issue of            5   involved with ovarian cancer. So, therefore, I wasn't
        6   genital talcum powder use and ovarian cancer; right?         6   doing research on talc and ovarian cancer.
        7     MS. AHERN: Objection. Form.                                7   BY MR. DEARING:
        8     THE WITNESS: That's correct, because amongst -- in         8      Q Based on the research you've done since
        9   pathologists in the community and gynecologists, as far      9   Johnson & Johnson contacted you, you're aware that
       10   as I know, there was never a question that talc was         10   there are gynecologic pathologists who have published
       11   involved with ovarian cancer, so there was no need for      11   on this very topic, right, before Johnson & Johnson
       12   me to really pursue it.                                     12   contacted you; right?
       13   BY MR. DEARING:                                             13      MS. AHERN: Objection. Form. Mischaracterizing
       14     Q Well, when was that that Johnson & Johnson              14   the literature.
       15   approached you to be a witness for them for the first       15   BY MR. DEARING:
       16   time?                                                       16      Q William Welch at Harvard, for example, has
       17     A It was about 2015.                                      17   published on this.
       18     Q So there was lots of literature out there and           18          He's a gynecologic pathologist; right?
       19   studies about the association or purported association      19      A I know Bill Welch quite well and --
       20   between genital talc use and ovarian cancer; right?         20      Q I'm just using him as an example.
       21     MS. AHERN: Objection. Form.                               21      A Yeah, right. Right. In his -- he's on the
       22     THE WITNESS: They were epidemiology studies, which        22   paper, but I don't think he ever acknowledges that he
       23   I think never rose to the level of being of interest to     23   says he supports talc as being a cause of ovarian
       24   gynecologic pathologists -- gynecologic pathologists,       24   cancer. I think he reviewed the pathology, and what
       25   for sure.                                                   25   his -- to make sure that these were whatever the


                                                              Page 19                                                  Page 21
        1    BY MR. DEARING:                                             1   authors were saying were ovarian cancers.
        2       Q All those scientists that wrote those studies          2      Q My point is, before Johnson & Johnson
        3    would be disappointed to hear you say that.                 3   contacted you to be one of their experts, there was
        4          But there were also animal studies, weren't           4   some interest among some gynecologic pathologists about
        5    there?                                                      5   this issue of talc and ovarian cancer, right --
        6       MS. AHERN: Objection. Form.                              6      MS. AHERN: Objection. Form.
        7       THE WITNESS: Maybe. I don't know.                        7   BY MR. DEARING:
        8    BY MR. DEARING:                                             8      Q -- as evidenced by the publications that they
        9       Q There were also cell studies, looking at the           9   put their name on?
       10    effects of talc on -- on cell structures and cells --      10      MS. AHERN: Objection. Form.
       11       MS. AHERN: Object.                                      11      THE WITNESS: As I said, Bill Welch, who I honestly
       12    BY MR. DEARING:                                            12   didn't speak to specifically about this topic, but I
       13       Q -- before Johnson & Johnson contacted you;            13   can -- at meetings, he's never brought it up. So I
       14    right?                                                     14   assumed -- assume.
       15       MS. AHERN: Objection. Form.                             15          I should say that, based on those
       16       THE WITNESS: As I said, I didn't -- as you -- I         16   publications, I -- he reviewed those cases. He said
       17    didn't read the literature on it before, so I have         17   they were ovarian cancers, but I don't know if there's
       18    no -- no idea.                                             18   any evidence that he indicated that he believed that
       19    BY MR. DEARING:                                            19   talc caused ovarian cancer.
       20       Q So when you -- I don't want to put words in           20   BY MR. DEARING:
       21    your mouth.                                                21      Q And you understand I'm not talking about just
       22          Did you say that, before Johnson & Johnson           22   Dr. Welch.
       23    contacted you, it wasn't important to you?                 23          I'm talking about other gynecologic
       24          I don't remember what you said.                      24   pathologists have contributed to papers, studies on the
       25       A I --                                                  25   issue of talc and ovarian cancer before Johnson &


                                                                                           6 (Pages 18 to 21)
                         Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 219 of 348 PageID:
                                   60993
                                                Robert Kurman, M.D.
                                                      Page 22                                                        Page 24
        1   Johnson came to you and hired you as an expert; right?     1   mean?
        2      MS. AHERN: Objection. Form.                             2      A Well, there may -- if there was a study that
        3   BY MR. DEARING:                                            3   had -- if there was some kind of exposure to talc that
        4      Q Are you aware of those papers?                        4   I was looking under the microscope, I would assume that
        5      A You'll have to show them to me.                       5   it would -- that it would create a foreign-body giant
        6      Q Okay.                                                 6   cell granulomatous inflammation. And I would,
        7      A Please.                                               7   therefore, have polarized it, perhaps looked at that
        8      Q Okay. So none come to mind, as we sit here?           8   that way. But it haven't seen that.
        9      A You'll have to show them to me.                       9      MR. DEARING: Okay. Move to strike as
       10      Q Okay. And would you also agree that, before          10   nonresponsive.
       11   Johnson & Johnson hired you, many other scientists in     11   BY MR. DEARING:
       12   other fields were quite interested in the issue of        12      Q My question is, have you looked at talc or
       13   genital talc use and ovarian cancer and were publishing   13   Johnson & Johnson body powder products under a
       14   on it?                                                    14   microscope?
       15      MS. AHERN: Objection. Form.                            15      A I have not looked at talc, Johnson & Johnson
       16      THE WITNESS: As I said, since I did not research       16   products, as far as I know, under the microscope.
       17   the area of talc use and the possible talc exposure to    17      Q Have you ever studied gynecologic tissue --
       18   the development of ovarian cancer prior to the time       18   I'm sorry. Strike that.
       19   that Johnson & Johnson contacted me, I wasn't aware of    19          Have you ever studied talc in gynecologic
       20   those studies.                                            20   tissue under a microscope, you specifically?
       21   BY MR. DEARING:                                           21      A I thought I just answered that question.
       22      Q All right. But since then, since you've been         22   Isn't that what you just asked me?
       23   hired by Johnson & Johnson, you've done a lot of          23      Q No. I asked if you looked at the powder. Now
       24   research on it and you've seen that studies were          24   I'm asking you about tissue.
       25   published long before Johnson & Johnson hired you, even   25      A Oh. So your first question was talc powder


                                                      Page 23                                                        Page 25
        1   as far back as the '70s, on this very topic; right?        1   not being in tissue?
        2      A I've seen, since my research on the subject,          2      Q Right. My first question didn't mention
        3   yes, that there have been studies that were performed      3   tissue at all.
        4   before 2015.                                               4          Do you need me to ask it again?
        5      Q And you've never published on the topic of            5      A Well, certainly. I don't look at -- I look at
        6   talc and ovarian cancer; correct?                          6   tissue. I never look at things that are not tissue.
        7      A No, I have not.                                       7      Q Okay. You don't think it's important to look
        8      Q And you've never lectured on it?                      8   at the morphology and characteristics of talc by itself
        9      A I have never lectured on it.                          9   in order to assist you in looking at talc in tissue?
       10      Q Have you ever studied talc, and specifically         10      A No. If I see it in tissue, I'd recognize it,
       11   Johnson & Johnson's baby powder or Shower to Shower       11   as I mentioned with polarization. Seeing a
       12   product, under a microscope?                              12   foreign-body giant cell reaction, polarizing it there,
       13      MS. AHERN: Objection. Form.                            13   seeing birefringent particles, might be talc.
       14      THE WITNESS: I have not specifically done a study      14      Q Have you studied talc in gynecologic tissue
       15   looking at talc exposure in tissues under the             15   under a microscope?
       16   microscope.                                               16      A Okay. So now we are talking about tissue.
       17   BY MR. DEARING:                                           17      Q Yeah.
       18      Q Have you even looked at just plain talc under        18      A I have not.
       19   a microscope?                                             19      Q And you just said that you could look at talc
       20      A Not specifically, no, I have not.                    20   in tissue and recognize it by polarized light.
       21      Q Have you looked at it nonspecifically?               21          Isn't it true that you hardly ever do that?
       22         What do you mean by that?                           22      MS. AHERN: Objection. Form.
       23      MS. AHERN: Objection. Form.                            23   BY MR. DEARING:
       24   BY MR. DEARING:                                           24      Q In fact, I think those were your actual words,
       25      Q When you say "not specifically," what do you         25   that you hardly ever do that.


                                                                                         7 (Pages 22 to 25)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 220 of 348 PageID:
                                   60994
                                                Robert Kurman, M.D.
                                                      Page 26                                                        Page 28
        1      A Well, let me describe the situation to you. I         1   decides how to respond to those comments. And then
        2   don't routinely look at tissue using polarized light.      2   that's resubmitted to the -- to the editor. And then
        3   There's got to be an indication.                           3   the editor, again, makes a decision. Did these authors
        4         The indication is, do I see a foreign-body           4   provide enough explanation to now have successfully
        5   giant cell reaction? Then I would say, "Ah, there may      5   addressed the concerns of the reviewers? Or, hmm,
        6   be something here that's polarizable." Then I would        6   maybe not, in which case they might send it back to the
        7   polarize it.                                               7   reviewers and ask them again to review the paper.
        8      Q That doesn't happen very often, does it?              8          And it goes through the same process again of
        9      A It does not happen very often.                        9   the reviewers saying, well, yes, they have addressed
       10      Q Have you ever participated in any lab study of       10   the questions, or, no, they haven't addressed the
       11   cellular reaction to talc exposure?                       11   questions and, therefore, again submit their
       12      A I haven't --                                         12   recommendation to the editor.
       13      MS. AHERN: Objection. Form.                            13      Q And that's been your experience and your own
       14      THE WITNESS: I have not participated. I'm not a        14   participation either by submitting general publications
       15   laboratory scientist. I'm not a bench scientist. I'm      15   for publication or serving on these review committees?
       16   a surgical pathologist.                                   16      A Yes.
       17   BY MR. DEARING:                                           17      Q And would you agree that the primary purpose
       18      Q And you're not qualified to perform analytical       18   of the peer review process is to validate proposed
       19   scanning electron microscopy or transmission electron     19   scientific findings, methodologies, opinions, and
       20   microscopy or Raman spectroscopy, are you?                20   hypotheses so that bad science doesn't get published in
       21      A Those techniques are not those -- I don't use        21   journals?
       22   those techniques.                                         22      MS. AHERN: Objection. Form.
       23      Q You've served on many peer review and                23      THE WITNESS: The responsibility of the reviewers
       24   editorial committees for a variety of journals and        24   is to perform a fair review of the science and
       25   professional publications.                                25   determine whether that science has been -- is


                                                      Page 27                                                        Page 29
        1         Can you describe how that peer review process        1   appropriate -- is reliable, is valid, and, therefore,
        2   typically works?                                           2   agree or disagree, as I said earlier, to either reject
        3      A Sure. Paper's submitted to a journal. The             3   or accept the paper.
        4   editor looks it over and determines, among the people      4   BY MR. DEARING:
        5   on the editorial board or people not necessarily on the    5      Q None of the opinions that you're offering
        6   editorial board, who has the necessary expertise or        6   today regarding talc and ovarian cancer have ever been
        7   interest in the area to review the paper and provide a     7   published or have ever gone through any peer review
        8   commentary on it, pointing out whether the paper is        8   process, have they?
        9   acceptable as submitted or are there problems with it      9      A That's correct.
       10   that need to be addressed by the authors.                 10      Q Have you tried to publish your opinions about
       11         So that reviewer then submits a report back to      11   talc and ovarian cancer?
       12   the editor. The editor reviews it, looks at it, one       12      A No, I have not.
       13   reviewer's comments -- and invariably it is sent to       13      Q When Johnson & Johnson first approached you
       14   more than one reviewer -- and compares the review of      14   for serving as an expert witness in the MDL litigation
       15   one reviewer to the review of another.                    15   that we are here about today, what's your understanding
       16         If they're concordant the editor, based on          16   of what they wanted you to do?
       17   that editor's judgment, would probably agree and say,     17      A Well, it was my impression from speaking with
       18   based on these reviewers' comments, I will either         18   them that the primary -- what my primary function was,
       19   accept the paper, I will reject it out of hand, or I      19   really, was to be an expert in gynecologic pathology,
       20   will resubmit it to the authors and say it's -- the       20   which I am, I think, and go over the issues of ovarian
       21   reviewers have deemed that your paper is acceptable       21   carcinogenesis from the standpoint of surgical
       22   with the provision that you address certain specific      22   pathology and to review the data concerning talc
       23   issues. And those issues are listed for the -- for the    23   exposure and possible involvement in the development of
       24   author to look at.                                        24   ovarian cancer in terms of ovarian carcinogenesis
       25         And the author reviews those comments and then      25   causation and to review the plaintiffs' expert


                                                                                         8 (Pages 26 to 29)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 221 of 348 PageID:
                                   60995
                                               Robert Kurman, M.D.
                                                      Page 30                                                       Page 32
        1   gynecologic pathologist's report.                          1      Q Sure. There are several on the second one
        2      Q And when you say "review the data," are you           2   that I got yesterday, but right now I'm asking you
        3   talking about cell study data or are you talking about     3   about the first one.
        4   epidemiology? What are you referring to?                   4      A Okay. Well, for starters, Camargo, I believe,
        5      A Well, specifically -- not epidemiologic data          5   may have been an epidemiologic study.
        6   because I testified to that before, but I'm not an         6      Q Can you refer me to what page?
        7   epidemiologist. So it was -- really, the interest was      7      A Oh, I'm looking at page 12 of the references,
        8   in my expertise in gynecologic pathology with the          8   Number 9, Camargo.
        9   focus, again, being on the -- my work as a gynecologic     9      Q Okay.
       10   pathologist. As I said, I'm not a bench scientist. I      10      A There are a couple of papers by Dan Cramer, 14
       11   can certainly review some of those papers, but my area    11   and 15, which are epidemiologic studies, one -- 15, in
       12   and expertise is surgical pathology.                      12   fact, was published in an epidemiology journal.
       13      Q Is it fair to say that, if there are studies         13          Number 23, Falconer in "Ovarian Cancer Risk
       14   out there pertaining to talc and ovarian cancer that      14   After Salpingectomy: A Nationwide Population-Based
       15   are not on your reference list, that you've not           15   Study."
       16   reviewed them?                                            16      Q Let me ask a question in a different way, if I
       17      MS. AHERN: Objection. Form.                            17   can.
       18      THE WITNESS: I may have seen other papers that         18      A Okay.
       19   I've looked at but didn't decide, for whatever reason,    19      Q Certainly lots of these studies rely on
       20   to specifically -- there's a huge -- you know, there      20   population data.
       21   are a lot of papers out there that I may have even        21          Did you rely on any of the population data or
       22   missed. So there may be some things out there that I'm    22   findings of epidemiology studies in preparing your
       23   not aware of that I didn't include.                       23   report and the opinions within your report?
       24   BY MR. DEARING:                                           24      A Well, as I've said, I've indicate I -- earlier
       25      Q Since epidemiology is not your specialty, is         25   on in the litigation, I have reviewed -- I reviewed


                                                      Page 31                                                       Page 33
        1   it fair to say that you've not considered the complete     1   many of these studies, the epidemiologic studies. I
        2   body of literature in epidemiology on the issue of talc    2   briefly looked at them again -- over again and didn't
        3   and ovarian cancer?                                        3   see any reason that they brought -- changed my
        4       A No, no, I wouldn't say that at all. I've             4   testimony from what I've done in the past.
        5   looked at those epidemiology papers, and even though       5          So, yes, I have looked at them and I've taken
        6   I'm not an epidemiologist, I can get a -- I can            6   them into account.
        7   understand them. I'm not an expert in epidemiology,        7       Q Do you think you have reviewed epidemiology
        8   but their papers are important, and I reviewed them.       8   studies on this topic of talc and ovarian cancer that
        9       Q Right. And if you reviewed them, are they            9   aren't reflected in your reference list?
       10   identified on your reference materials list, either the   10       A I may have, yes.
       11   first one or the one I got yesterday?                     11       Q Have you reviewed the Terry study?
       12       A I imagine that some of them are. I'd have to        12       A Terry study, no, does not sound familiar.
       13   look specifically.                                        13       Q Have you reviewed the Taher study, T-a-h-e-r?
       14       Q Okay. Well, I didn't see any epidemiology           14       A I'd have to see that one. I might have. Do
       15   studies on the first list I was provided with your        15   you have it?
       16   original report. You're welcome to look at it. It's       16       Q I do. We're going to come back to it in a
       17   right in front of you. But does that sound right? I'm     17   little bit. I'm just trying to get a --
       18   not going to spend a lot of time on it.                   18       A At this point, I won't comment. I'd like to
       19       MS. AHERN: Are you talking about his reference        19   see it. I may have.
       20   list from his report?                                     20       Q You may have?
       21   BY MR. DEARING:                                           21       A Yeah.
       22       Q Right. I didn't recognize any epidemiology          22       Q How about Penninkilampi? Have you looked at
       23   studies --                                                23   that study?
       24       A Well, I'd have to go through the reference          24       A I looked at the abstract.
       25   list and look at them, actually. Can I do that?           25       Q On page 12 of your report -- and I think you


                                                                                         9 (Pages 30 to 33)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 222 of 348 PageID:
                                   60996
                                                Robert Kurman, M.D.
                                                      Page 34                                                        Page 36
        1   sort of just said this -- you say that "Although           1      MS. AHERN: Objection. Form.
        2   Dr. Kane offers opinions in a host of areas outside of     2      THE WITNESS: Pretty much so, yes.
        3   her field, including epidemiology and cancer biology, I    3   BY MR. DEARING:
        4   will focus my report on the primary area of" --            4      Q Are you intending to offer any opinions that
        5     A Excuse me. Could you tell me exactly where             5   are not contained in your report?
        6   you are reading from?                                      6      MS. AHERN: Objection. Form.
        7     Q Sure. Page 12.                                         7      THE WITNESS: I'd have to hear the question, but I
        8     A Yeah, I got that.                                      8   don't think I would.
        9     Q At the top. First paragraph.                           9   BY MR. DEARING:
       10     A Okay.                                                 10      Q Was it your idea to add the 16 defense experts
       11     Q Last sentence.                                        11   to your second reference list -- 16 expert reports?
       12     A Okay.                                                 12      A No.
       13     Q "Although Dr. Kane offers opinions                    13      MS. AHERN: David, can I just quickly -- it might
       14     in a host of areas outside her field,                   14   help a little bit. We put together the reference list
       15     including epidemiology and cancer                       15   which contains any materials we provided to him, should
       16     biology, I will focus my report on my                   16   he want to review them, and also includes articles I
       17     primary area of expertise, gynecologic                  17   think he found himself that he's reviewed.
       18     pathology."                                             18         So we tried to give you a complete list of
       19         So I want to ask you about that statement.          19   everything that he had to consider. You'll have to ask
       20         Does that mean that you only intend to testify      20   him if he actually reviewed it.
       21   about gynecologic pathology, and not epidemiology and     21   BY MR. DEARING:
       22   cancer biology?                                           22      Q The only plaintiff expert report you reviewed
       23     MS. AHERN: Objection. Form. Depends what you ask        23   was Dr. Kane's; right?
       24   him.                                                      24      A Correct.
       25     MR. DEARING: He seems to be defining the                25      Q Are the opinions of the other defense experts


                                                      Page 35                                                        Page 37
        1   parameters of his testimony. So I want to know what        1   in this case relevant to your pathology opinions?
        2   he's comfortable with testifying about.                    2      A Well, I didn't read them. So I can't comment
        3      MS. AHERN: Understood.                                  3   on them.
        4      THE WITNESS: As I said, that is my primary focus.       4      Q But if you thought they were relevant, you
        5   An epidemiology study that may touch on it briefly, I      5   would have read them; right?
        6   could mention, but it isn't what I'm focusing my           6      A Since they weren't pathologists and my focus
        7   specific testimony on.                                     7   was on the pathology, I -- I would think that's
        8   BY MR. DEARING:                                            8   correct. I would focus on pathology.
        9      Q So, as you sit here today, it is not your             9      Q Certainly your pathology opinions are not
       10   intention to dissect epidemiology studies?                10   dependent on the opinions of the other defense experts;
       11      A That's correct.                                      11   right?
       12      Q And it is not your intention to offer                12      A Well, again, I'd have to see -- if you're
       13   testimony on cancer biology?                              13   referring to something specifically, I would like to
       14      MS. AHERN: Objection. Form.                            14   see what it is. But, in general, they're not -- it's
       15   BY MR. DEARING:                                           15   not focused -- if they don't discuss pathology, it is
       16      Q Right?                                               16   not relevant to my testimony.
       17      A That's correct.                                      17      Q Since your report was written long before
       18      Q Does your report contain a complete outline of       18   yesterday when I received your supplemental reference
       19   your opinions?                                            19   list, is it fair to say that none of the opinions in
       20      MS. AHERN: Objection. Form.                            20   your report are dependent upon anything that's on the
       21      THE WITNESS: What do you mean by a "complete           21   reference list that I was provided yesterday?
       22   outline" of my opinions?                                  22      A That's correct.
       23   BY MR. DEARING:                                           23      Q Do any of the materials I was recently
       24      Q Does your report contain a complete statement        24   provided on your second reference list influence or
       25   of your opinions regarding talc and ovarian cancer?       25   affect or change any of the opinions that you've


                                                                                       10 (Pages 34 to 37)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 223 of 348 PageID:
                                   60997
                                               Robert Kurman, M.D.
                                                      Page 38                                                        Page 40
        1   already put in your report?                                1   disclosure of what he might have reviewed in
        2      A Let me look at that reference list again.             2   preparation for the deposition. We were just
        3         Well, I don't know if I mentioned it. I did          3   overinclusive.
        4   read -- oh, I did mention it earlier. I read               4      MR. DEARING: Thank you.
        5   Dr. Shih's deposition, and it included a report of his,    5   BY MR. DEARING:
        6   a study he was doing. I read that. But I mentioned         6      Q Did you read any of these studies that are on
        7   that before.                                               7   the supplemental list?
        8         Other than that, no. I mean, obviously, the          8      A Again, as I mentioned --
        9   Jeff Seidman study, I was an author. I'm involved with     9      Q You read one of them, but --
       10   that paper on papillary tubal hyperplasia. I wrote it,    10      A -- in the past when I did discuss epidemiology
       11   so I know that.                                           11   in greater detail, I have read Gates, Gertig.
       12         I would say, yes, actually, looking at it,          12   Gonzalez, I actually might have looked at more
       13   there was an important paper that is listed on            13   recently. Houghton, I've looked at in the past. I
       14   page 2 -- important in my opinion -- by -- it is the      14   mentioned Penninkilampi.
       15   second one from the top. Ducie, H. et al., which I        15      Q Are you prepared to discuss those studies
       16   would -- it's not in my original report, but I would --   16   today?
       17   I might refer to that.                                    17      A Well, as I said, I looked in the past. I
       18      Q I believe the question was did your review any       18   haven't really recently gone over them in depth. If
       19   of the materials on the supplemental reference list       19   there's some specific question you may want to ask, I
       20   affect or change any opinions --                          20   could look at it. But the focus of my testimony is not
       21      A Oh.                                                  21   on the epidemiology, as we've discussed.
       22      Q -- you've already written in your report?            22      Q I want to try today to keep you within your
       23      A No, it does not change my opinion.                   23   field of expertise, and I don't want to drag you out in
       24      Q If you are not intending to offer epidemiology       24   any other area that you're not comfortable in or you
       25   opinions or discuss the underlying data of epidemiology   25   don't feel qualified in. So if I do that, please tell


                                                      Page 39                                                        Page 41
        1   studies, why did you add about 15 epidemiology studies     1   me. Okay?
        2   in your supplemental list for today's deposition?          2       A Okay.
        3      MS. AHERN: Objection. Form.                             3       MS. AHERN: Objection.
        4   BY MR. DEARING:                                            4   BY MR. DEARING:
        5      Q Or was your testimony you didn't add those;           5       Q Based on your research that you've done in
        6   someone else did?                                          6   your entire career, both before and after Johnson &
        7      A Yes.                                                  7   Johnson hired you as an expert in this case and in this
        8      Q Okay.                                                 8   litigation, in general, years ago, would you agree with
        9      A They were provided to me. If I was of                 9   me that there are about 30 or so epidemiology studies
       10   interest to read them, I could read them. But I didn't    10   on talc and ovarian cancer that are not on either of
       11   read them.                                                11   your reference lists?
       12      Q Okay.                                                12       MS. AHERN: Objection. Form.
       13      A I did mention I did look at the abstract of          13       THE WITNESS: I'd have to go over and look all
       14   Penninkilampi.                                            14   these 30 that you mentioned. So I can't really
       15      Q Do you think you read any of the epidemiology        15   comment.
       16   studies that are in the supplemental list?                16   BY MR. DEARING:
       17      A Let me take a look.                                  17       Q As you sit here now, would you agree that your
       18      MS. AHERN: You mean recently or previously?            18   two reference lists do not include all of the
       19   BY MR. DEARING:                                           19   epidemiology studies, not even all the meta-analysis
       20      Q They're in a reliance list. So did you read          20   studies, on talc and ovarian cancer?
       21   any anticipating you might review on them?                21       A That is correct.
       22      MS. AHERN: Well, I would object to the                 22       Q And that's because either you weren't aware of
       23   characterization this is a reliance list. This is a       23   them or you read them and didn't find them compelling
       24   supplemental list of materials that we either provided    24   or the attorneys didn't put it on the list for you to
       25   to him or he selected himself so that you had full        25   review; right?


                                                                                      11 (Pages 38 to 41)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 224 of 348 PageID:
                                   60998
                                               Robert Kurman, M.D.
                                                     Page 42                                                        Page 44
        1      MS. AHERN: Objection. Form.                            1           Do you agree with that?
        2      THE WITNESS: Yeah, could you please --                 2       MS. AHERN: Objection. Form.
        3      MR. DEARING: Sure.                                     3       THE WITNESS: That is correct.
        4      THE WITNESS: -- rephrase your question.                4   BY MR. DEARING:
        5   BY MR. DEARING:                                           5       Q Now, because you didn't prepare the second
        6      Q So there are quite a few epidemiology studies        6   list, the lawyers did, and the fact that some of those
        7   and meta-analyses on talc and ovarian cancer that are     7   large studies are not on this list, do you interpret
        8   not on either of your reference lists.                    8   that to mean they didn't provide those to you or didn't
        9      A That's correct.                                      9   think you should look at those?
       10      Q Ms. Ahern just said on the record that they         10       MS. AHERN: Objection. Form.
       11   provided you the reference list.                         11       THE WITNESS: I don't know what the -- what the
       12      MS. AHERN: Objection. Form. The supplemental          12   reason was why they weren't included on that list.
       13   reference list is the one that we put together.          13   BY MR. DEARING:
       14      MR. DEARING: Okay.                                    14       Q Before we get too far into the pathology weeds
       15   BY MR. DEARING:                                          15   today, I want to ask you just some basic questions to
       16      Q If there are epidemiology studies that are not      16   make sure we're communicating well, like some
       17   on your original reference list -- let me ask you: Did   17   definitions.
       18   you put together your original reference list?           18           For example, if I use the term "biologic
       19      A Yes.                                                19   plausibility," can you tell me what that means to you?
       20      Q Did the lawyers help you do that?                   20   Or does it mean anything to you?
       21      A Not really. It was me.                              21       A It means something to me. I think it's a
       22      Q Okay. The original reference list has a             22   factor that would be very important in establishing
       23   handful of epidemiology studies that we started to go    23   causation. So the way I interpret -- view it is that
       24   through.                                                 24   it's -- biologic explanations often, really, base
       25      A Yes. We were only up to like page 2. There          25   cellular studies or extracellular studies that could be


                                                     Page 43                                                        Page 45
        1   may have been more.                                       1   incorporated with the human population studies to seem
        2      Q Right. But it's your list?                           2   to go together in supporting a particular argument.
        3      A Yes.                                                 3      Q Are you familiar with the nine Bradford Hill
        4      Q You wrote it. You made it.                           4   considerations that are used to assess the strength of
        5      A Yes.                                                 5   proposed causal associations?
        6      Q You know there are quite a few epi studies           6      MS. AHERN: Objection to form.
        7   that are not on that list; right?                         7      THE WITNESS: I'm familiar with the Bradford Hill
        8      MS. AHERN: Objection. Form.                            8   criteria, yes.
        9      THE WITNESS: That is correct.                          9   BY MR. DEARING:
       10   BY MR. DEARING:                                          10      Q Are you familiar with the biologic
       11      Q And there are quite a few that aren't on the        11   plausibility consideration of the Bradford Hill
       12   list you made, and there are quite a few that still      12   assessment?
       13   aren't on the list that the lawyer made, the             13      A That's what I just explained, I thought.
       14   supplemental list; right?                                14      Q Okay. That's what I'm asking you. I wanted
       15      A Please rephrase your question.                      15   to know is that your interpretation of the Bradford
       16      Q Sure.                                               16   Hill criteria or assessment, or is that your,
       17          Whatever reason, your reference list does not     17   Dr. Kurman's, definition of biologic plausibility?
       18   include quite a few epidemiology studies; right?         18      MS. AHERN: Objection. Form.
       19      MS. AHERN: Objection. Form.                           19      THE WITNESS: That's my interpretation, which is
       20   BY MR. DEARING:                                          20   what I believe is the criterion spelled out by Bradford
       21      Q We've already established that.                     21   Hill.
       22      A We said that, right.                                22   BY MR. DEARING:
       23      Q The second list that I got yesterday also           23      Q In the term "biologic plausibility," as you've
       24   excludes quite a few epidemiology studies, including     24   just described it, how do you define "plausibility"?
       25   several meta-analysis studies.                           25      A I thought I just described it.


                                                                                     12 (Pages 42 to 45)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 225 of 348 PageID:
                                   60999
                                                Robert Kurman, M.D.
                                                      Page 46                                                        Page 48
        1     Q Well, tell me what you mean by plausibility.           1   does the word "plausible" mean to you?
        2     MS. AHERN: Objection. Form. Asked and answered.          2      MS. AHERN: Objection. Form.
        3     THE WITNESS: I -- that's -- "plausibility" is a          3      THE WITNESS: We never use the term "plausible" --
        4   very general term. Bradford Hill describes not             4   BY MR. DEARING:
        5   plausibility but biological plausibility, and that's       5      Q Okay.
        6   what I just said a minute ago is my definition, which I    6      A -- in -- in pathology.
        7   thought was an interpretation of the way Bradford Hill     7      Q Okay.
        8   used it.                                                   8      A I've never --
        9   BY MR. DEARING:                                            9      Q So anytime that word "plausible" or
       10     Q To you, is there a difference between biologic        10   "plausibility" comes up today, you're going to be
       11   plausibility and biologic probability?                    11   discussing it in terms of epidemiological definitions,
       12     MS. AHERN: Objection. Form.                             12   or are you going to use it some other way?
       13     THE WITNESS: I don't know exactly what biologic         13      MS. AHERN: Objection. Form.
       14   probability is. I would stick with biologic               14         He's giving you his definition, which is not
       15   plausibility.                                             15   an epidemiologic deposition per se.
       16   BY MR. DEARING:                                           16      MR. DEARING: I object. That's not true. For one,
       17     Q Does biologic plausibility have any                   17   he keeps referring back to what is in the Bradford Hill
       18   application to pathology?                                 18   criteria. I don't know what his definition is.
       19     A I think pathology studies could be used for           19      MS. AHERN: You keep defining Bradford Hill
       20   evidence of biologic plausibility in the application of   20   criteria as epidemiology. It's not. I think that's
       21   the Bradford Hill points.                                 21   the confusion here.
       22     Q Right. Bradford Hill is a epidemiology                22      MR. DEARING: Let's ask. Let me ask him. Okay. I
       23   causation assessment tool; right?                         23   don't need your commentary, but thank you.
       24     A Correct.                                              24   BY MR. DEARING:
       25     Q Right. And you've already said you're not             25      Q I believe you just testified that the


                                                      Page 47                                                        Page 49
        1   here to talk about epidemiology specifically; right?       1   definition you were giving of "biologic plausibility"
        2      MS. AHERN: Objection. Form.                             2   was what's offered in the Bradford Hill assessment; is
        3      THE WITNESS: I -- that's what I said.                   3   that right?
        4   BY MR. DEARING:                                            4      A That's correct.
        5      Q Okay. So I'm trying to determine whether the          5      Q Okay. Is that also your definition?
        6   term "biologic plausibility" has any application to you    6      A That's what I said.
        7   outside the field of epidemiology.                         7      Q Okay. And you don't have any other definition
        8      MS. AHERN: Objection. Form. Asked and answered.         8   of "plausibility" other than the way it is interpreted
        9      THE WITNESS: As I mentioned, this litigation is         9   and defined as part of the Bradford Hill assessment?
       10   about causation, does talc cause ovarian cancer.          10      MS. AHERN: Objection. Form.
       11         And what virtually everyone agrees is, in           11      THE WITNESS: Well, as I said, and I'll repeat it,
       12   order to come to a conclusion that it does, is to apply   12   that -- in this litigation, we're attempting to
       13   the Bradford Hill criteria, of which biologic             13   determine whether talc causes ovarian cancer. The --
       14   plausibility is one among several that could go along     14   everyone seems to agree that the Bradford Hill criteria
       15   to support causation.                                     15   is the way to establish that. One of those criteria is
       16         So in that regard, that's the way I'm               16   biologic plausibility.
       17   interpreting and using "biologic plausibility."           17          My definition of "biologic plausibility" is
       18   BY MR. DEARING:                                           18   the biologic plausibility that Bradford Hill uses in
       19      Q Do you agree that, in order to establish             19   his several points.
       20   causation, you do not have to satisfy all nine of the     20   BY MR. DEARING:
       21   Bradford Hill considerations?                             21      Q And you've articulated that to the best of
       22      A I think that's correct, yes.                         22   your ability already?
       23      Q I want you for this question, if you would, to       23      A Yes.
       24   step out of the world of epidemiology and Bradford Hill   24      Q As part of your methodology that you employed
       25   and just tell me, from a pathologist standpoint, what     25   in arriving at your expert opinions regarding talcum


                                                                                       13 (Pages 46 to 49)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 226 of 348 PageID:
                                   61000
                                                Robert Kurman, M.D.
                                                      Page 50                                                        Page 52
        1   powder and ovarian cancer, did you assess whether it is    1   that I ran across that a woman used a -- an
        2   biologically plausible for talcum powder to cause          2   antiperspirant that contained talc, and she got a
        3   inflammation?                                              3   skin -- a granuloma in her axilla. That would be about
        4      A Talcum powder can cause inflammation.                 4   it.
        5      Q Did you consider biologic plausibility that           5       Q Giant cell granulomatous inflammation is
        6   talcum powder could cause inflammation that might be a     6   hardly -- is virtually never seen in gynecologic
        7   precursor to cancer?                                       7   tissue; right?
        8      A For starters, I think it's very important to          8       A Very, very rare is it -- is it seen, that's
        9   look at chronic inflammation. I've noticed that people     9   correct.
       10   tend to throw that around. "Chronic inflammation" is a    10       Q Is it your testimony that the giant cell
       11   very broad term.                                          11   granulomatous inflammation is the only kind of
       12         In terms of the talc exposure, it really            12   inflammation that might be a precursor for cancer?
       13   refers to a very specific subtype of chronic              13       MS. AHERN: Objection. Form. Misstates his
       14   inflammation -- I alluded to it earlier -- namely         14   testimony.
       15   foreign-body giant cell granulomatous inflammation.       15       THE WITNESS: I didn't say that at all.
       16   And that, in my opinion, has not been shown to be         16   BY MR. DEARING:
       17   associated with ovarian cancer.                           17       Q Okay. What other type of chronic inflammation
       18      Q So are you saying the only type of chronic           18   might be a precursor for cancer?
       19   inflammation that might contribute to causing ovarian     19       MS. AHERN: Objection. Form.
       20   cancer is the giant cell granuloma-type inflammation?     20       THE WITNESS: In my opinion, inflammation very
       21      A No, no.                                              21   rarely initiates cancer. It can be seen certainly in
       22      MS. AHERN: Objection to form.                          22   association with cancer, but it's usually -- it
       23      THE WITNESS: That's not what I said.                   23   typically occurs later in the whole process of
       24   BY MR. DEARING:                                           24   malignancy.
       25      Q Okay. Can you repeat what you just --                25   ///


                                                      Page 51                                                        Page 53
        1      A Sure.                                                 1   BY MR. DEARING:
        2      Q -- tried to explain.                                  2      Q And in that statement, when you use the term
        3      A I said that chronic inflammation is a very            3   "inflammation," are you talking giant cell
        4   broad term. And in the context of this litigation,         4   granulomatous inflammation, chronic inflammation, or
        5   specifically does talc cause ovarian cancer, talc          5   something else?
        6   causes a very specific -- or I should say induces a        6      A I'm --
        7   very specific type of inflammation, which is referred      7      MS. AHERN: Objection. Form.
        8   to as foreign-body giant cell granulomatous                8      THE WITNESS: I'm not talking about foreign-body
        9   inflammation. And that type of inflammation is not         9   giant cell granulomatous inflammation, which, as I said
       10   associated with ovarian cancer.                           10   earlier, I don't see any evidence of causing ovarian
       11      Q How do you know that talc used in body powders       11   cancer.
       12   elicits that kind of inflammation that you just           12         So when I was referring in a more general
       13   described, giant cell granuloma inflammation?             13   statement to respond to your question about chronic
       14      A Well, talc is what's -- what I'm referring to.       14   inflammation, I was referring to chronic inflammation
       15   In the literature, talc has been used in a variety of     15   of a different type.
       16   situations where it's caused foreign-body giant cell      16   BY MR. DEARING:
       17   granulomatous inflammation.                               17      Q Okay. You first said when we started talking
       18      Q What are some examples of those situations           18   about inflammation, that it's very important to make
       19   where talc caused that?                                   19   sure we're talking about the same kind of inflammation,
       20      A Pleurodesis.                                         20   because they are different types; right?
       21      Q Okay.                                                21      A That's correct.
       22      A Contamination from gloves.                           22      Q That's why I'm trying to be very specific
       23      Q Right.                                               23   about this.
       24      A That would be the -- well, sometimes it's been       24         Are you aware of any other types of chronic
       25   seen in creating skin granulomas. I remember one case     25   inflammation, other than giant cell or granulomatous


                                                                                      14 (Pages 50 to 53)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 227 of 348 PageID:
                                   61001
                                                Robert Kurman, M.D.
                                                      Page 54                                                        Page 56
        1   inflammation, that can cause cancer?                       1      MS. AHERN: Objection. Form.
        2      MS. AHERN: Objection. Form.                             2      THE WITNESS: I haven't read the other experts, as
        3      THE WITNESS: We're really talking about, again, my      3   you yourself pointed out. I've read Dr. Kane's
        4   testimony specifically concerned with ovarian cancer.      4   explanation. And, as I said, her explanation, I
        5   So I'm not talking about pancreatic cancer, lung           5   believe, is invalid and unreliable.
        6   cancer, stomach cancer.                                    6   BY MR. DEARING:
        7         I mean, cancers are all different, and I'm not       7      Q So as you sit here today, you have no idea how
        8   going to stand up and tell you -- respond to that          8   the plaintiffs, through their experts, are alleging
        9   question because it's a very general question.             9   talc causes ovarian cancer?
       10   BY MR. DEARING:                                           10      A I didn't --
       11      Q I thought it was a very specific question.           11      MS. AHERN: Objection. Form.
       12         There -- you discuss in your report                 12      THE WITNESS: Excuse me. I've interrupted you.
       13   essentially two types of inflammation -- chronic          13         I didn't read those expert reports. I don't
       14   inflammation, infectious chronic inflammation and         14   know what they said.
       15   noninfectious; right?                                     15   BY MR. DEARING:
       16      MS. AHERN: Objection. Form.                            16      Q I know you haven't read the reports, but are
       17      THE WITNESS: That's one type.                          17   you saying that you don't know what the plaintiffs'
       18   BY MR. DEARING:                                           18   experts are alleging as a mechanistic process of how
       19      Q That's two types.                                    19   talc causes ovarian cancer?
       20      A Well, two types.                                     20      MS. AHERN: Objection. Form.
       21      Q Okay. Are there any other types of chronic           21      THE WITNESS: How would I know if I can't read the
       22   inflammation?                                             22   reports? I don't know what they said.
       23      A Just general chronic inflammation not                23   BY MR. DEARING:
       24   associated -- well, infectious or noninfectious, right.   24      Q What's your understanding of Dr. Kane's
       25      Q Okay. So breaking inflammation down, there's         25   opinion on how talc causes ovarian cancer?


                                                      Page 55                                                        Page 57
        1   two broad types, either infectious or noninfectious;       1      A I just told you. I said I thought it's
        2   right?                                                     2   invalid and unreliable.
        3      MS. AHERN: Objection.                                   3      Q I'm not asking you for what you think of it.
        4         Are you talking about foreign body, or are you       4   I'm asking you what's your understanding of what she is
        5   talking about general inflammation?                        5   saying.
        6      THE WITNESS: Right. Foreign-body giant cell             6         How does she describe the mechanism of how
        7   reaction is a type of -- type of inflammation that can     7   talc causes ovarian cancer?
        8   be either infectious or noninfectious. But it's            8      A Well, why don't we go through her report, and
        9   different than other types of chronic inflammation,        9   I can discuss those with you.
       10   which may be infectious or noninfectious.                 10      Q You don't remember?
       11   BY MR. DEARING:                                           11      A I want to go through them so we get them
       12      Q What's your understanding of the plaintiffs'         12   absolutely right.
       13   experts' explanation for how talc causes chronic          13      Q I'll come back to it --
       14   inflammation which can cause ovarian cancer?              14      A Okay.
       15      A You're specifically referring to Dr. Kane?           15      Q -- because that's a big part of this.
       16      Q Well, it's not just Dr. Kane's position, is --       16      A Okay.
       17   well, you probably haven't read all the other             17      Q I just wanted to know what you remembered.
       18   plaintiffs' positions.                                    18      A Okay.
       19         So as you understand it, based on whatever          19      Q Is it your opinion that the notion that talc
       20   you've looked at, what's your understanding of that       20   can cause chronic inflammation, which can cause ovarian
       21   mechanistic process?                                      21   cancer, is that process biologically plausible to you?
       22      A I believe it's unreliable and invalid.               22      A No.
       23      Q No, I don't want your commentary. I want what        23      Q Not the slightest bit?
       24   do you understand that the plaintiffs' experts are        24      A No.
       25   alleging.                                                 25      Q Why do you say that?


                                                                                       15 (Pages 54 to 57)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 228 of 348 PageID:
                                   61002
                                               Robert Kurman, M.D.
                                                      Page 58                                                                 Page 60
        1      A Because, as I -- based on my experience and my        1    carcinomas, due to extrusion of keratin, which can
        2   reviewing of the literatures up to this point, talc        2    produce a foreign-body giant cell reaction. That, I've
        3   induces a specific type of chronic inflammation that       3    seen.
        4   we're terming foreign-body granulomatous inflammation.     4           I've seen teratomas, nothing to do with the
        5          I have never seen that, in all my experience        5    litigation we're talking about now. It's a completely
        6   in ovarian cancer, foreign-body giant cell reaction.       6    different kind of tumor. It's a germ cell tumor. And
        7   So, I mean, I've seen chronic inflammation in ovarian      7    I've seen, with extrusion of keratin in those
        8   cancer. No one would dispute that. But specifically        8    instances, a foreign-body giant cell reaction.
        9   the kind of granuloma -- the kind of inflammation          9           Apart from those instances and maybe suture
       10   induced by talc, I have not observed.                     10    granulomas, which, again, are pretty obvious, I haven't
       11      Q Do you know whether you've treated patients or       11    seen that type of reaction in association with ovarian
       12   performed surgical pathology on patient specimens of      12    cancer during my entire career.
       13   women who used talcum powder for feminine hygiene         13    BY MR. DEARING:
       14   long-term?                                                14        Q And are you saying you haven't seen that type
       15      A I wouldn't know if they haven't used it, but I       15    of inflammatory reaction in gynecologic tissue to any
       16   haven't seen any evidence of it when I looked at tissue   16    foreign particle?
       17   specimens.                                                17        A Well --
       18      Q So if you're looking at --                           18        MS. AHERN: Objection. Form.
       19      MS. AHERN: David, when you get to a stopping           19        THE WITNESS: -- as I just said --
       20   point, can we take a potty break.                         20    BY MR. DEARING:
       21      MR. DEARING: Sure. Let me just wrap up this.           21        Q Except for sutures?
       22      MS. AHERN: Sure.                                       22        A Suture granulomas and the keratin that I
       23   BY MR. DEARING:                                           23    mentioned, which is --
       24      Q So what you're saying is you don't believe           24        Q That's endogenous?
       25   that it's biologically plausible that talc can cause      25        A Yeah, but it -- yeah, okay. Aside from that,


                                                      Page 59                                                                 Page 61
        1   chronic inflammation that can cause ovarian cancer         1   I can't recall seeing anything, no.
        2   because you've never seen it; right?                       2     Q So aside from surgical sutures --
        3      MS. AHERN: Objection. Form.                             3     A Uh-huh.
        4      THE WITNESS: We need to specifically say again the      4     Q -- you've never seen a giant cell
        5   kind of inflammation I'm talking about is foreign-body     5   granulomatous foreign-body reaction in gynecologic
        6   giant cell inflammation, which is the type of              6   tissue?
        7   inflammation that's implicated with talc exposure.         7     A Again, I mentioned the keratin --
        8   Talc doesn't produce other types of chronic                8     Q I'm sorry. Responding to foreign material?
        9   inflammation.                                              9     MS. AHERN: Objection. Form.
       10   BY MR. DEARING:                                           10     THE WITNESS: That's correct.
       11      Q Again, you said you've never seen, in your           11     MR. DEARING: Want to take a break?
       12   career, a chronic inflammatory response to talc like      12     MS. AHERN: Thank you.
       13   giant cell granulomas in gynecologic tissue; is that      13     VIDEO OPERATOR BROWN: The time is now 10:31.
       14   what you are saying?                                      14   Going off the record.
       15      A That's correct.                                      15        (Recess taken.)
       16      Q So my question is, you're saying it's not            16     VIDEO OPERATOR BROWN: Time is now 10:53. Back on
       17   biologically plausible because you've never seen it;      17   the record.
       18   right?                                                    18   BY MR. DEARING:
       19      MS. AHERN: Objection. Form.                            19     Q Right before the break, Doctor, you made a
       20      THE WITNESS: Is that your question?                    20   statement to the effect of "Talc doesn't produce other
       21         I've spent, as I said, 40 years looking at          21   types of chronic inflammation that can cause cancer."
       22   gynecologic pathology specimens, including a large        22        Did you say something like that?
       23   number of ovarian cancers, and I have never seen a        23     A That's -- that's what I said.
       24   foreign body -- I've seen a foreign-body giant cell       24     Q So what other types of inflammation do cause
       25   reaction in rare ovarian tumors, endometrial              25   cancer that you're referring to?



                                                                                           16 (Pages 58 to 61)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 229 of 348 PageID:
                                   61003
                                               Robert Kurman, M.D.
                                                      Page 62                                                      Page 64
        1      A Well, again, in the ovary, there's absolutely        1      Q And when I -- so my question is, the talc that
        2   no evidence that inflammation causes cancer. I want to    2   you're referring to that elicits that type of response
        3   be clear about that. Now, there may be other tumors       3   is talc left behind from either a surgical tool or a
        4   where it plays a role, but those are not things that      4   surgical glove or something like that; right?
        5   I'm familiar with.                                        5      MS. AHERN: Objection. Form.
        6      Q So are you saying that it's not biologically         6      THE WITNESS: That's correct.
        7   plausible that other types of inflammation can cause      7   BY MR. DEARING:
        8   ovarian cancer?                                           8      Q And do you agree that the talc used
        9      MS. AHERN: Objection. Form.                            9   industrially for surgical gloves back in the '70s and
       10      THE WITNESS: I said I haven't observed it and I       10   before, and potentially contaminating a surgical tool,
       11   wasn't aware of anything in the literature that showed   11   is different than cosmetic talc in baby powder?
       12   chronic inflammation causing ovarian cancer.             12      MS. AHERN: Objection. Form.
       13   BY MR. DEARING:                                          13      THE WITNESS: I'm not exactly sure of that. This
       14      Q So because you haven't observed it, is it your      14   is something that I don't have expertise in. I would
       15   opinion that it's not biologically plausible?            15   defer to a mineralogist to describe the references
       16      MS. AHERN: Objection. Form. Misstates his             16   between what you describe as industrial and cosmetic
       17   testimony.                                               17   talc.
       18      THE WITNESS: Well, as I said, I haven't seen it       18   BY MR. DEARING:
       19   nor have I read any paper that has indicated that it     19      Q Just to close the circle, is it your opinion
       20   was a causative factor of ovarian cancer.                20   that it's not biologically plausible that any type of
       21   BY MR. DEARING:                                          21   chronic inflammation can cause ovarian cancer?
       22      Q And the question is, is it biologically             22      A As I said, I've seen no evidence of chronic
       23   plausible?                                               23   inflammation causing ovarian cancer.
       24      MS. AHERN: Objection. Form.                           24      Q My question is, is it biologically plausible,
       25      THE WITNESS: Insofar as what the literature has       25   in your opinion, that some type of inflammation can


                                                      Page 63                                                      Page 65
        1   described about the type of inflammation induced by       1   cause ovarian cancer?
        2   talc, which has never shown any evidence of causing       2      A Well, as I haven't seen it --
        3   cancer, I would say it's not plausible.                   3      MS. AHERN: Objection. Form.
        4   BY MR. DEARING:                                           4      THE WITNESS: -- and I haven't read about it, I --
        5      Q And the type of inflammation caused by talc          5   and it's been studied, I would say it's not
        6   that you're referring to is talc typically left inside    6   biologically plausible.
        7   the body from a contaminated surgical tool, for           7   BY MR. DEARING:
        8   example, surgical gloves maybe back in the day when       8      Q What methodology do you use to reach
        9   they still had talc; right?                               9   conclusions about biologic plausibility?
       10      A Yeah.                                               10      A Well, to begin with, as I said early on in the
       11      MS. AHERN: Objection. Form.                           11   deposition, I have spent 40 years looking at
       12   BY MR. DEARING:                                          12   gynecologic pathology, which ovarian cancer is one of
       13      Q So you're not suggesting that cosmetic-grade        13   those. I have read extensively and kept up with the
       14   baby powder talc is the type of talc that you're         14   literature. I've edited the third, fourth, fifth,
       15   referring to that you've seen these other inflammatory   15   sixth, and in the process of the seventh edition, of
       16   responses to; right?                                     16   Blaustein's pathology textbook.
       17      MS. AHERN: Objection. Form.                           17          I was the lead author on the 2014 WHO
       18      THE WITNESS: Please repeat -- rephrase that           18   classification of ovarian cancer.
       19   question.                                                19          I participate in meetings, both domestically
       20      MR. DEARING: Sure.                                    20   and internationally. I review papers, as we discussed
       21   BY MR. DEARING:                                          21   earlier.
       22      Q You said you expect the inflammatory response       22          So I think all of that together amounts to the
       23   to talc to be giant cell granulomatous foreign-body      23   way I evaluate biological plausibility.
       24   response; right?                                         24      Q Is that a complete description of your
       25      A Yes.                                                25   methodology used to evaluate biologic plausibility?


                                                                                     17 (Pages 62 to 65)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 230 of 348 PageID:
                                   61004
                                               Robert Kurman, M.D.
                                                     Page 66                                                        Page 68
        1      A Well, as I mentioned also, in this particular        1   have.
        2   case, I reviewed what Dr. Kane claimed or alleged that    2   BY MR. DEARING:
        3   were causative agents. I review those papers              3      Q Okay. Do you agree that inert particles can
        4   specifically. So that in addition to everything else I    4   cause an inflammatory response that could trigger or be
        5   described.                                                5   a precursor to cancer?
        6      Q So your methodology for evaluating biologic          6      MS. AHERN: Objection. Form.
        7   plausibility is your reliance on your experience, your    7      THE WITNESS: As I just said, again, I think we
        8   review of the literature, your publication literature,    8   specifically -- in this litigation referring to talc as
        9   I guess, and your review of other expert opinions on      9   an inert substance that does not produce an
       10   it?                                                      10   inflammatory reaction that can cause ovarian cancer.
       11      MS. AHERN: Objection. Form.                           11   BY MR. DEARING:
       12   BY MR. DEARING:                                          12      Q I understand that about talc and that's your
       13      Q Did I leave anything out?                           13   opinion.
       14      A I think that pretty much covers it.                 14         My question is just because a foreign particle
       15      Q And, of course, you haven't published on talc       15   is inert doesn't mean that it can't cause a
       16   and ovarian cancer?                                      16   foreign-body inflammatory reaction that could be a
       17      A That's correct.                                     17   precursor lesion to cancer; right?
       18      Q And you think that's a complete, sound,             18      MS. AHERN: Objection. Form.
       19   reliable methodology for assessing plausible --          19      THE WITNESS: No, I disagree with that.
       20   biologic plausibility?                                   20   BY MR. DEARING:
       21      A Please repeat the question.                         21      Q Well, you would agree that talc does elicit an
       22      Q Sure.                                               22   inflammatory response in tissue; right?
       23         Do you think that that is a complete and           23      A A specific type of inflammatory reaction, we
       24   reliable methodology for assessing plausible --          24   described foreign-body giant cell granulomatous
       25   biologic plausibility?                                   25   reaction, yes.


                                                     Page 67                                                        Page 69
        1       A I believe it is, yes.                               1      Q And so if a large talc particle in the
        2       Q On page 13 of your report -- and I don't know       2   peritoneal cavity elicits an inflammatory giant cell
        3   if you need to look this up. You use the word "inert."    3   granulomatous response and that inflammation is
        4   You suggest that talc is inert.                           4   chronic, can't that chronic inflammatory response
        5           I just want to know, what does "inert" mean to    5   evolve into a lesion or a precursor lesion for cancer?
        6   you?                                                      6      MS. AHERN: Objection. Form. Assumes facts.
        7       A Well, I relied upon -- and I think IARC used        7      THE WITNESS: Could you break that? It was a
        8   that exact same terminology, in fact. And I think in      8   complex question.
        9   contrast to an inflammatory agent, for example, which     9   BY MR. DEARING:
       10   elicits more of a systemic immune response, talc is      10      Q It was a slow question, but it's a simple
       11   very localized and it induces the migration of           11   question.
       12   macrophages, which then become histiocytes in tissue     12      A Okay.
       13   which surround it and engulf it but don't elicit an      13      Q If a large talc particle is left in the
       14   immune kind of response. So, in that respect, I think    14   peritoneal cavity and evokes the type of response that
       15   it is, quote/unquote, inert.                             15   you say it should, a inflammatory giant cell
       16       Q What do you mean by "immune kind of response"?     16   granulomatous foreign-body response, and it becomes a
       17       A Well, where -- antigen-presenting cells,           17   chronic condition, can't that be a precursor lesion to
       18   lymphocytes. Lymphocytes induce various types of         18   cancer, some kind of peritoneal cancer?
       19   reactions in response to an infectious agent, for        19      MS. AHERN: Objection.
       20   example. That's not -- that doesn't occur with talc.     20      THE WITNESS: I don't believe that's true. It's
       21       Q So you told me why you think talc is inert,        21   been demonstrated, as you've alluded to before,
       22   but what does it mean to be inert? How do you define     22   surgical gloves can introduce talc into the peritoneal
       23   "inert," just the word?                                  23   cavity. And I'm not aware of any cancer that's been
       24       MS. AHERN: Objection. Form.                          24   associated or induced by that contamination of talc in
       25       THE WITNESS: Well, I can't do any better than I      25   the peritoneal cavity.


                                                                                     18 (Pages 66 to 69)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 231 of 348 PageID:
                                   61005
                                                Robert Kurman, M.D.
                                                      Page 70                                                        Page 72
        1   BY MR. DEARING:                                            1         So the fact that it might show some reaction
        2      Q Do you agree with me that inert particles can         2   in epithelial cells of the ovary, which some biologic
        3   evoke a chronic inflammatory response, foreign-body        3   studies -- in vitro studies have shown, doesn't have
        4   response, in the body?                                     4   anything to do with causation of ovarian cancer.
        5      A As I said, inert particles induce a                   5   BY MR. DEARING:
        6   foreign-body giant cell reaction of the sort -- similar    6      Q I realize that's your opinion and you've
        7   to what talc does.                                         7   published that, even. But you agree with me that not
        8      Q Do you agree that talc causes inflammation in         8   all gynecologic pathologists agree with you that
        9   epithelial ovarian cells?                                  9   invasive ovarian carcinomas start in the fallopian
       10      A No.                                                  10   tube?
       11      MS. AHERN: Objection. Form.                            11      MS. AHERN: Objection. Form.
       12      THE WITNESS: I don't.                                  12      THE WITNESS: Could you define which kind of
       13   BY MR. DEARING:                                           13   carcinomas you're talking about?
       14      Q Do you believe that talc can cause                   14   BY MR. DEARING:
       15   inflammation in any kind of ovarian cells?                15      Q Sure. Let's start with serous invasive
       16      A Talc produce -- what kind of ovarian cell are        16   carcinomas. You believe that's those typically start
       17   we talking about, for starters?                           17   in the fallopian tubes; right?
       18      Q Well, any kind you want to identify. Any             18      A Low-grade or high-grade?
       19   kind -- let me ask it again.                              19      Q High-grade.
       20         Do you have any opinions about whether              20      A High-grade, I believe, start in the fallopian
       21   exposure to talc could cause any type of reaction in      21   tube.
       22   any type of ovarian cells?                                22      Q And you would agree with not all gynecologic
       23      A I've never seen any evidence of that or read         23   pathologists degree with you on that; right?
       24   any evidence of that.                                     24      A The consensus at this point in time, 2019, is
       25      Q Does that mean you don't think that's                25   that a vast, vast majority of pathologists believe that


                                                      Page 71                                                        Page 73
        1   biologically plausible because you have never seen it?     1   ovarian -- high-grade serous carcinoma begins in
        2      MS. AHERN: Objection. Form.                             2   fallopian tube epithelium.
        3      THE WITNESS: Let me -- when you're talking              3      Q Vast, vast majority of them believe that? Is
        4   about -- you know, the ovary is a complex organ.           4   that what you are saying?
        5   Contains germ cells, contains stromal cells, contains      5      A Well, including your plaintiffs' expert, Susan
        6   surface epithelial cells.                                  6   Kane -- Sarah Kane.
        7          Which cells are you actually talking about?         7      Q I understand.
        8   BY MR. DEARING:                                            8          We'll come back to that.
        9      Q I'm talking about any type of ovarian cell.           9          Is it your testimony that it's not
       10   I'm leaving it up to you to use any cell you like. Are    10   biologically plausible that talc could cause any type
       11   you telling me that talc causes no reaction in any type   11   of inflammatory reaction in any type of ovarian cell?
       12   of ovarian cell that you know of?                         12      MS. AHERN: Objection. Form.
       13      A Well, there have been in vitro studies which         13      THE WITNESS: Well, as I've said, there are some
       14   have used ovarian cells and shown some reaction, if       14   in vitro studies in which exposure to talc has resulted
       15   that's what you mean. I've seen that.                     15   in some proliferation and -- excuse me. I take that
       16      Q Have you seen any studies that suggest that          16   back, proliferation -- expression of some markers that
       17   epithelial cells exposed to talc undergo neoplastic       17   are markers of inflammation. Those studies I won't get
       18   changes?                                                  18   into it because I'm not, as I said, a bench scientist.
       19      MS. AHERN: Objection. Form.                            19   BY MR. DEARING:
       20      THE WITNESS: I think it is important to point out,     20      Q So there is some evidence that some ovarian
       21   before we get all hung up on ovarian epithelial cells,    21   cells will respond in an inflammatory way to talc
       22   that if we are talking about -- which, basically, we're   22   exposure?
       23   talking about causation -- is that ovarian cancer does    23      MS. AHERN: Objection. Form.
       24   not start from ovarian epithelial cells; it starts from   24   BY MR. DEARING:
       25   fallopian tube cells.                                     25      Q Is that what you are saying? There are


                                                                                      19 (Pages 70 to 73)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 232 of 348 PageID:
                                   61006
                                               Robert Kurman, M.D.
                                                     Page 74                                                       Page 76
        1   studies.                                                 1   second.
        2      A That's what I said just now.                        2         I have -- no, I can't say that I have looked
        3      Q Okay. Just making sure I understand.                3   at their mission statement.
        4         Do you agree that asbestos is a known human        4      Q Okay. Well, in the second paragraph, it says:
        5   carcinogen?                                              5         "The objective of the IARC is to
        6      A Yes, I --                                           6      promote international collaboration in
        7      MS. AHERN: Objection. Form.                           7      cancer research. The agency is
        8      THE WITNESS: Yes, I agree that asbestos is a known    8      interdisciplinary, bringing together
        9   carcinogen.                                              9      skills in epidemiology, laboratory
       10   BY MR. DEARING:                                         10      sciences, and biostatistics to identify
       11      Q And you're familiar with IARC, right, the          11      the causes of cancer so that
       12   International Agency for Research on Cancer?            12      preventative -- preventive measures may
       13      A I -- well, I am, yes.                              13      be adopted and the burden of disease and
       14      Q And it's an international intergovernmental        14      associated suffering reduced. A
       15   agency created in 1965; right?                          15      significant feature of the IARC is its
       16      MS. AHERN: Objection. Form.                          16      expertise in coordinating research
       17      THE WITNESS: I don't know when it was created, but   17      across countries and organizations. Its
       18   I'm familiar with IARC.                                 18      independent role as an international
       19   BY MR. DEARING:                                         19      organization facilitates this activity.
       20      Q And it forms part of the World Health              20      The agency has a particular interest in
       21   Organization, which is part of the United Nations;      21      conducting research in low- and
       22   right?                                                  22      middle-income countries through
       23      A It's part of the World Health Organization.        23      partnerships and collaborations with
       24      Q And there are 25 member nations, and it's made     24      researchers in these regions."
       25   up of probably a thousand or more scientists.           25         Is that your understanding of IARC's mission?


                                                     Page 75                                                       Page 77
        1         Would you agree with that?                         1      A Well --
        2      A You'd have to show me the data for that. I          2      MS. AHERN: Objection. Form.
        3   don't know.                                              3      THE WITNESS: -- that's what it states.
        4      Q Okay. Well, would you agree it's made up of         4   BY MR. DEARING:
        5   at least hundreds of scientists?                         5      Q Do you have any --
        6      MS. AHERN: Objection. Form.                           6      A I have no reason --
        7      THE WITNESS: I want to see what you're talking        7      Q -- that that's not --
        8   about. I don't know how many are involved.               8      A -- to argue with it.
        9         (The document referenced below was                 9      Q Okay. Are you aware that in 2009 IARC issued
       10      marked Deposition Exhibit 3 for                      10   a monograph that stated that there is sufficient
       11      identification and is appended hereto.)              11   evidence now available to show that asbestos causes
       12   BY MR. DEARING:                                         12   cancer of the ovary?
       13      Q I'm handing you Exhibit 3, which is taken from     13      A I am aware of it. I would question their
       14   the IARC website, and it identifies IARC's mission      14   methodology and who the individuals were on that
       15   statement.                                              15   committee that came to that conclusion, because, in
       16         Have you ever seen that before?                   16   looking at that, and I am familiar with it, I had
       17      MS. AHERN: Objection to the document. Does it        17   significant issues with the -- their methodology that
       18   have a date?                                            18   they used and the conclusions that they drew from that.
       19      MR. DEARING: Well, I printed it off yesterday, but   19      Q Do you believe asbestos can cause ovarian
       20   no.                                                     20   cancer?
       21      MS. AHERN: Okay.                                     21      A At this point, I do not believe that's the
       22   BY MR. DEARING:                                         22   case.
       23      Q Have you ever looked at IARC's mission             23      Q That same monograph states that "Studies
       24   statement before?                                       24   suggest that asbestos can accumulate in the ovaries of
       25      A I can't -- hmm. I got twisted up here for a        25   women who are exposed to it."


                                                                                    20 (Pages 74 to 77)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 233 of 348 PageID:
                                   61007
                                                       Robert Kurman, M.D.
                                                                Page 78                                                  Page 80
        1          Do you agree with that statement?                       1   tumor site for chromium cancer; right?
        2      MS. AHERN: Objection. Form.                                 2      A Yes.
        3      THE WITNESS: The -- as I recall, those studies              3      Q And then right below that is nickel, nickel
        4   that they're citing were inhalation studies of very --         4   compounds, is identified as a Group 1 agent. And it
        5   of occupational -- of people that were exposed                 5   identifies tumor sites for which there is sufficient
        6   occupationally or environmentally to very high doses of        6   evidence in humans as lungs, nasal cavity, and
        7   asbestos and which bear -- nothing to do with perineal         7   paranasal sinuses.
        8   exposure.                                                      8         Do you agree?
        9   BY MR. DEARING:                                                9      A I see that.
       10      Q The question is do you agree that studies                10      Q Do you agree that arsenic, chromium, and
       11   suggest that asbestos can accumulate in the ovaries of        11   nickel are known human carcinogens?
       12   women who are exposed to it?                                  12      A Well, according to IARC, they are.
       13      A I'd have to see the studies where it shows               13      Q Do you agree that they are?
       14   that.                                                         14      A I agree with IARC on that.
       15      Q So you don't have an opinion on that?                    15      Q And then right below that, another Group 1
       16      A No. I said I'd like to see the studies. I                16   agent, it says asbestos. And then it identifies --
       17   don't believe -- I'd like to see it.                          17   one, two, three, four -- six types of asbestos. And it
       18      Q I don't have them.                                       18   states the tumor sites for which there is sufficient
       19      A Okay.                                                    19   evidence in humans are lung, mesothelioma, larynx, and
       20      Q So I'm asking do you have an opinion on that.            20   ovary.
       21      A My opinion is, as I said earlier, asbestos               21         And are you saying now that you disagree that
       22   does not cause ovarian cancer.                                22   the ovary -- that this is sufficient evidence that
       23          (The document referenced below was                     23   asbestos can cause cancer in the ovaries?
       24      marked Deposition Exhibit 4 for                            24      A I agree that the -- I agree with what I said
       25      identification and is appended hereto.)                    25   earlier, that the evidence upon which IARC came to the


                                                                Page 79                                                  Page 81
        1   BY MR. DEARING:                                                1   conclusion about ovarian cancer has significant issues
        2     Q This is Exhibit 4, and this is the monograph               2   that I would argue with.
        3   I'm referring to.                                              3      Q That's not my question. My question is do you
        4           If you look at -- have you seen this before,           4   agree that asbestos can cause cancer in the ovary, like
        5   this monograph? This is where those statements came            5   IARC says?
        6   from.                                                          6      MS. AHERN: Objection. Form. Asked and answered.
        7     A I have seen the monograph, I don't                         7      THE WITNESS: I just said I don't agree that it
        8   specifically recall this page.                                 8   causes ovarian cancer.
        9     Q Okay. Well, look at the bottom of it, that                 9   BY MR. DEARING:
       10   table. And do you see -- these are Group 1 agents, and        10      Q Do you -- if you move over to the fourth
       11   IARC defines Group 1 agents as known human carcinogens;       11   column under asbestos, it describes the established
       12   right?                                                        12   mechanistic events that cause the cancer. And it says
       13     A Yes, correct.                                             13   the asbestos causes "impaired fiber clearance leading
       14     Q And it identifies, first of all, arsenic as a             14   to macrophage activation, inflammation, generation of
       15   known human carcinogen, and it identifies tumor sites         15   reactive oxygen and nitrogen species, tissue injury,
       16   for which there is sufficient evidence of human               16   genotoxicity, aneuploidy and polyploidy epigenetic
       17   carcinogenicity as lungs, skin, urinary bladder.              17   alteration, activation of signaling pathways,
       18           Do you see that?                                      18   resistances to apoptosis."
       19     A In the second column I see lungs, skin, yes,              19          So do you agree asbestos can cause lung
       20   urinary bladder. Uh-huh.                                      20   cancer?
       21     Q And a little bit further down it identifies               21      A Yes.
       22   chromium as a Group 1 carcinogenic.                           22      Q Do you agree that that's the mechanism by
       23           Do you see that?                                      23   which asbestos can cause lung cancer?
       24     A I do.                                                     24      MS. AHERN: Objection.
       25     Q And it identifies the lung as a potential                 25      THE WITNESS: I should clarify what I just said a


                                                                                           21 (Pages 78 to 81)
                          Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 234 of 348 PageID:
                                   61008
                                               Robert Kurman, M.D.
                                                      Page 82                                                        Page 84
        1   moment ago using the term "cancer." And what I would       1   BY MR. DEARING:
        2   say is that asbestos is primary -- causes                  2      Q Are you aware of other cancers or do you have
        3   mesotheliomas, which is a type of cancer but is very       3   knowledge to explain whether other cancers may be
        4   different from adenocarcinoma or squamous cell             4   caused by this mechanistic process described by IARC
        5   carcinoma of the lung, and which asbestos is -- plays      5   pertaining to asbestos?
        6   maybe a contributory role, but certainly not the major     6      A Again, I mean, with established mechanistic
        7   role.                                                      7   events, things like resistance to apoptosis, activation
        8   BY MR. DEARING:                                            8   of signaling pathways, epigenetic alteration,
        9      Q Okay. So my question is do you believe that           9   genotoxicity, these are general mechanisms that have
       10   asbestos can cause mesothelioma or other lung cancers     10   been implicated in the development of cancer in
       11   by the mechanism that's described in this table?          11   general.
       12      MS. AHERN: Objection. Form.                            12      Q So looking at this mechanism that's described
       13      THE WITNESS: Well, I'm not an expert on                13   by IARC, it says, "Impaired fiber clearance leading to
       14   mesothelioma and asbestosis. However, I would agree       14   macrophage activation."
       15   that asbestos causes mesothelioma -- pleural              15         Do you agree that macrophage activation is a
       16   mesothelioma and potentially these mechanisms might       16   foreign-body response in the body?
       17   explain it, but I haven't studied it.                     17      MS. AHERN: Objection. Form.
       18   BY MR. DEARING:                                           18      THE WITNESS: Macrophages can be induced by a
       19      Q So you say that might be the mechanism, but          19   variety of -- well, of course, you mentioned
       20   you just don't know?                                      20   foreign-body giant cell reaction, but other types of
       21      A Well, I haven't studied it. I don't                  21   inflammation can also induce the presence of
       22   specialize in asbestosis.                                 22   macrophages.
       23      Q I'm not faulting you. I'm just saying you're         23   BY MR. DEARING:
       24   saying that could be, but you don't know. Does that       24      Q And giant cell granulomas are an agglomeration
       25   mean you don't have a concrete opinion on that, whether   25   of macrophages; right?


                                                      Page 83                                                        Page 85
        1   that's the mechanism that causes mesothelioma?             1      A Well, in the tissue, they're referred to
        2      A Well, these are the mechanisms that IARC              2   histiocytes, but they're basically macrophages.
        3   describes which, you know, may be reasonable. But,         3      Q So a giant cell is a joined group of
        4   again, I don't have direct personal experience with        4   macrophages; right?
        5   that. So I can't confirm every one of these features.      5      A Correct.
        6      Q Okay. It also suggests that asbestos causes           6      Q So according to this mechanism described by
        7   cancer in the larynx.                                      7   IARC, macrophage activation occurs, which appears to be
        8          Do you agree that -- that that's true?              8   defined as inflammation.
        9      MS. AHERN: Objection. Form.                             9         Would you agree that that's what they mean
       10      THE WITNESS: I really don't know about the             10   there by saying "inflammation"?
       11   laryngeal carcinoma.                                      11      MS. AHERN: Objection. Form.
       12   BY MR. DEARING:                                           12      THE WITNESS: Well, as I said just a moment ago,
       13      Q It also says there are possibly other sites          13   macrophage activation can occur with a variety of
       14   where asbestos causes cancer -- the colorectum, the       14   inflammatory reactions, not just only foreign-body
       15   pharynx, the stomach.                                     15   giant cell.
       16          Do you have any opinion about whether asbestos     16   BY MR. DEARING:
       17   causes cancer in those organs?                            17      Q Okay. Macrophage activation is a type of
       18      A Again, these are areas that I'm not -- I have        18   inflammation; right? Is that a fair statement?
       19   no involvement with. So I can't really comment.           19      A Not really. It's part of the inflammatory
       20      Q Are you aware of other cancers that are caused       20   reaction. There are other cells as well --
       21   by this mechanistic process that's described here by      21   lymphocytes, plasma cells, eosinophils,
       22   IARC for asbestos?                                        22   polymorphonuclear leukocytes. Macrophages are one type
       23      MS. AHERN: Objection. Form.                            23   of cell involved in inflammation.
       24      THE WITNESS: Could you rephrase that question?         24      Q And then do you agree that inflammation can
       25      MR. DEARING: Sure.                                     25   lead to the generation of reactive oxygen and nitrogen


                                                                                       22 (Pages 82 to 85)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 235 of 348 PageID:
                                   61009
                                               Robert Kurman, M.D.
                                                     Page 86                                                       Page 88
        1   species?                                                  1   BY MR. DEARING:
        2      MS. AHERN: Objection. Form.                            2       Q So thank goodness you can have DNA damage
        3   BY MR. DEARING:                                           3   without cancer, but you can't have cancer without DNA
        4      Q Is that outside your specialty?                      4   damage; right?
        5      A Again, I mean, I've read enough about that to        5       MS. AHERN: Objection. Form.
        6   know that, yes, macrophage activation could induce        6       THE WITNESS: As far as I know, all cancers are
        7   reactive oxygen species.                                  7   part of -- part of the development of cancer is
        8      Q And reactive nitrogen species.                       8   dependent on damage -- or I should say genotoxicity,
        9      A And reactive nitrogen species.                       9   which means damage in DNA in some form.
       10      Q And can reactive oxygen species and reactive        10   BY MR. DEARING:
       11   nitrogen species damage DNA?                             11       Q And resistance to apoptosis can also be a
       12      A Can it damage DNA? Yes.                             12   result of DNA damage; right? That's part of the
       13      Q And damaging, DNA, of course, can cause             13   problem with cancer is the cells don't -- they lose
       14   uncontrolled proliferation of cells; correct?            14   their programmed ability to self-destruct; right?
       15      MS. AHERN: Objection. Form.                           15       MS. AHERN: Objection. Form.
       16      THE WITNESS: Well --                                  16       THE WITNESS: That's one of the factors in
       17   BY MR. DEARING:                                          17   carcinogenesis, one of the factors.
       18      Q I know there's some steps in between, but I'm       18   BY MR. DEARING:
       19   trying to speed this up.                                 19       Q But that resistance to apoptosis is a result
       20      MS. AHERN: Same objection.                            20   of DNA damage; right?
       21      THE WITNESS: Well, involvement -- interjection of     21       MS. AHERN: Objection. Form.
       22   a certain agent into DNA can cause DNA damage, that's    22       THE WITNESS: Generally speaking, it's an
       23   true.                                                    23   activation of a suppressor gene called p53, maybe some
       24   BY MR. DEARING:                                          24   other genes as well.
       25      Q I'm not talking about certain agents. I'm           25   ///


                                                     Page 87                                                       Page 89
        1   talking specifically about reactive oxygen species and    1   BY MR. DEARING:
        2   reactive nitrogen species. Those agents can damage        2     Q So as I mentioned, this is from 2009; right?
        3   DNA; right?                                               3   Do you agree with me?
        4      A Yes, they can.                                       4     A I think that's --
        5      Q And then cells with damaged DNA can become           5     Q The date is at the very bottom of the page.
        6   cancer cells, can't they?                                 6     A Yeah.
        7      MS. AHERN: Objection. Form.                            7     Q It's right under the table, actually.
        8      THE WITNESS: Not necessarily. Not all of them do.      8     A I see it, 2009.
        9   Some might.                                               9     Q Okay. So in 2009 IARC said, "Epidemiological
       10   BY MR. DEARING:                                          10   evidence has increasingly shown an association" --
       11      Q Well, would you agree that all cancers are          11     A Where are we reading now?
       12   borne out of some genetic disruption?                    12     Q I'm sorry. The top of page 454, so the other
       13      MS. AHERN: Objection. Form.                           13   page, very top.
       14      THE WITNESS: The issue is it plays a role in          14     A Uh-huh.
       15   carcinogenesis. But DNA damage, in and of itself, does   15     Q "Epidemiological evidence has
       16   not invariably lead to malignant transformation.         16     increasingly shown an association for
       17   BY MR. DEARING:                                          17     all forms of asbestos (chrysotile,
       18      Q Right. But I'm asking the inverse of that           18     crocidolite, amosite, tremolite,
       19   question.                                                19     actinolite, and anthophyllite) with an
       20         You can't have cancer without original DNA         20     increased risk of lung cancer and
       21   damage; right?                                           21     mesothelioma."
       22      A That's --                                           22         Do you agree with that statement?
       23      MS. AHERN: Objection. Form.                           23     A Yes.
       24      THE WITNESS: DNA damage is part of the process of     24     Q It goes on to say:
       25   development of a carcinoma.                              25         "Although the potency differences


                                                                                     23 (Pages 86 to 89)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 236 of 348 PageID:
                                   61010
                                               Robert Kurman, M.D.
                                                      Page 90                                                        Page 92
        1       with respect to lung cancer or                         1   it applies in 2019?
        2       mesothelioma for fibers of various types               2      A Well, if you read further down the paragraph,
        3       and dimensions are debated, the                        3   you'll see that it says -- let's see, one, two, three,
        4       fundamental conclusion is that all forms               4   four, five, six, seven, eight -- ten lines, it says:
        5       of asbestos are carcinogenic to humans."               5          "Cohort studies of women who were
        6           Do you agree with that?                            6      heavily exposed to asbestos in the
        7       MS. AHERN: Objection. Form.                            7      workplace consistently report increased
        8       THE WITNESS: Well, again, I'm not an expert on the     8      risks of ovarian cancer, as in a study
        9   different types of asbestos. I would leave -- I would      9      of women in the UK who manufactured gas
       10   defer that to an mineralogist to agree as to whether      10      masks during World War II."
       11   all types, as they state here, are associated with        11      Q Right.
       12   cancer.                                                   12      A "Studies suggest asbestos can accumulate in
       13   BY MR. DEARING:                                           13   the ovaries of women who were exposed to it."
       14       Q The next sentence says:                             14          So you're talking about massive exposures of
       15           "Mineral substances, for example,                 15   asbestos in women who are occupationally exposed. The
       16       talc and vermiculite, that contain                    16   numbers of cases, I looked at that, are very small
       17       asbestos should also be regarded as                   17   because most of people who worked in that industry were
       18       carcinogenic to humans."                              18   men.
       19           Do you agree with that statement?                 19          So, again, you're referring to small numbers
       20       A Well, that's --                                     20   of cases, extremely heavy exposure to asbestos that
       21       MS. AHERN: Objection. Form.                           21   allows them to come to that conclusion, which is what I
       22       THE WITNESS: That's what IARC states. Again, I        22   dispute.
       23   don't agree with that, but that -- they state that, but   23          Furthermore, I think there's a significant
       24   I don't agree with it.                                    24   risk that cases called ovarian cancer -- you'll notice
       25   ///                                                       25   that there's no pathologist in the -- in the group in


                                                      Page 91                                                        Page 93
        1   BY MR. DEARING:                                            1   this -- in that statement that we read earlier, no
        2      Q If a mineral substance contains carcinogenic          2   pathologist in the IARC group. And I would dispute the
        3   asbestos, doesn't that make that mineral substance         3   fact that these are all carcinomas of the ovary. They
        4   carcinogenic?                                              4   may be mesotheliomas that were misclassified.
        5      MS. AHERN: Objection. Form.                             5      Q Okay. Do you believe asbestos can cause
        6      THE WITNESS: We have no idea how much asbestos is       6   mesothelioma of the ovary?
        7   in there. It might be a totally minute amount, that        7      A Well, I'd have --
        8   there's a contaminant that doesn't have any                8      MS. AHERN: Objection. Form.
        9   relationship to the development of cancer.                 9      THE WITNESS: I'd have to, again, review the data.
       10   BY MR. DEARING:                                           10   I can tell you I hardly ever see, and there were hardly
       11      Q Well, you would agree with me that the FDA has       11   any reports of, mesotheliomas involving the ovary.
       12   determined that there's no safe level of asbestos         12   BY MR. DEARING:
       13   exposure; right?                                          13      Q The last sentence you just read, "Studies
       14      MS. AHERN: Objection. Form.                            14   suggest that asbestos can accumulate in the ovaries of
       15      THE WITNESS: As I said earlier, when it comes to       15   women who are exposed to it," do you agree or disagree
       16   the specifics of the composition of asbestos or, for      16   with that?
       17   that matter, talc, I would defer to a mineralogist.       17      A Well, let's look at the reference that they're
       18   BY MR. DEARING:                                           18   talking about.
       19      Q Then the next sentence is what I read to you         19      Q It's the Heller study.
       20   already:                                                  20      A Heller study.
       21         "Sufficient evidence is now                         21      Q Drs. Heller, Gordon, Westhoff, Gerber.
       22      available in 2009 to show that asbestos                22      A Yeah, maybe we could look at that and see what
       23      also causes cancer of the larynx and of                23   they say.
       24      the ovary."                                            24      Q Okay. Well, you know, in that study, they --
       25         And you disagree with that statement, even as       25   they used transmission electron microscopy to digest


                                                                                       24 (Pages 90 to 93)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 237 of 348 PageID:
                                   61011
                                               Robert Kurman, M.D.
                                                      Page 94                                                       Page 96
        1   tissue to measure the burden count of asbestos fibers     1      MS. AHERN: Objection. Form. Asked and answered.
        2   in the tissue.                                            2      THE WITNESS: I'll just repeat what I said before.
        3          Do you know that about that study?                 3   All I'm referring to is what they say talc is in the
        4      MS. AHERN: Objection. Form.                            4   various studies. I don't know all the details of the
        5      THE WITNESS: I'd like to see the study.                5   composition of the talcum powder that they use.
        6   BY MR. DEARING:                                           6   BY MR. DEARING:
        7      Q Okay. So you have no opinion about that right        7      Q Since you have an opinion that talc cannot
        8   not without seeing the study that --                      8   cause any type of inflammatory reaction that could
        9      A Well, it's been a long time --                       9   cause ovarian cancer, don't you think it's important to
       10      Q Let me finish the question, please.                 10   know something about whether that talc is platy talc or
       11      A Yeah, sorry.                                        11   asbestiform fibrous talc, or what type of talc it is?
       12      Q So you have no opinion about whether asbestos       12      A No. It doesn't matter. Whatever it is hasn't
       13   can accumulate in the ovaries of women who are exposed   13   been shown to form ovarian cancer.
       14   to it?                                                   14      Q Is it your opinion that asbestos exposed to
       15      A I said I'd like to see the study.                   15   ovaries doesn't cause cancer either?
       16      Q That doesn't answer my question. You either         16      A I'm not convinced of it at this point. I'd
       17   have an opinion or you don't.                            17   like to see more studies.
       18      MS. AHERN: Objection. Form.                           18      Q Okay. Is it biologically plausible that
       19      THE WITNESS: My answer is I can't come to an          19   asbestos could cause ovarian cancer?
       20   opinion until I've seen the study.                       20      A Biologically plausible? Again, to me, it's --
       21   BY MR. DEARING:                                          21   it has to be seen. And I haven't seen that yet. I'd
       22      Q Okay. And you don't know whether you've seen        22   like to see more studies, and then I could tell you
       23   the study before?                                        23   whether I think it's biologically plausible or not.
       24      A I have seen the study, but I'd like to see it       24      Q So you don't know whether it's biologically
       25   again. It's been a while.                                25   plausible, as you sit here right now?


                                                      Page 95                                                       Page 97
        1      Q Okay. All right. Do you have any opinion             1      A I'm saying I'd like to see more studies to be
        2   about whether Johnson & Johnson baby powder or Shower     2   more convinced that it might be biologically plausible.
        3   to Shower product has any form of asbestos in it?         3   At this point, I'm not convinced.
        4      A I'll repeat what I said earlier that I'm just        4      Q That doesn't answer my question. I know you
        5   talking about the talc that I read. I don't know          5   would like to see more studies.
        6   what's in their -- what's in their bottles of baby        6         My question is, do you have an opinion one way
        7   powder or Shower -- whatever. I would depend on -- I      7   or the other whether asbestos exposure to ovaries -- do
        8   would depend really -- because it's complex. It's         8   you have an opinion one way or the other whether it's
        9   complex. It's debated. There are subtle differences       9   biologically plausible that asbestos can cause ovarian
       10   between how much, what the type of asbestos is.          10   cancer? Just do you have an opinion?
       11          So I would really have to defer to a              11         If you don't have an opinion, that's fine. I
       12   mineralogist to answer that question.                    12   just want to know.
       13      Q Are you familiar with the term "asbestiform         13      A When I repeat it --
       14   fibrous talc"?                                           14      MS. AHERN: Objection. Form.
       15      MS. AHERN: Objection. Form.                           15      THE WITNESS: -- I'm repeating what I said earlier.
       16      THE WITNESS: I've heard it mentioned.                 16   BY MR. DEARING:
       17   BY MR. DEARING:                                          17      Q I know you want to see studies.
       18      Q Do you feel like you know enough about it to        18         Does that mean you don't have an opinion?
       19   discuss it?                                              19      A At this point, I'm not convinced that it's
       20      A No.                                                 20   biologically plausible to cause ovarian cancer. I want
       21      Q Based on what you've read -- and maybe you          21   to see something that shows me evidence of that, and I
       22   haven't read anything about this -- do you have an       22   don't see it.
       23   opinion about whether Johnson & Johnson's baby powder    23      Q Well, what would you want to see that would
       24   or Shower to Shower products have asbestiform fibrous    24   show you evidence that it's biologically plausible that
       25   talc in them?                                            25   ovarian -- that asbestos exposure can cause ovarian


                                                                                      25 (Pages 94 to 97)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 238 of 348 PageID:
                                   61012
                                                Robert Kurman, M.D.
                                                      Page 98                                                      Page 100
        1   cancer?                                                    1   herpes simplex virus type 2, was thought to cause
        2       A It would be nice to see asbestos in ovaries          2   cervical cancer. There were electron micrographs
        3   causing a fibrous reaction, maybe seeing some              3   showing HSV-2 particles in cervical cancer.
        4   ferruginous bodies, which are very characteristic of       4          There were zero epidemiologic studies
        5   asbestos exposure in patients who have ovarian cancer.     5   confirming that HSV caused cervical cancer with
        6       Q And while we're talking about this, what would       6   relative risks like ten, much higher than you see with
        7   you expect to see or want to see regarding biologic        7   talc, and it was all wrong. As you said, it's -- you
        8   plausibility of talc causing ovarian cancer?               8   know HPV causes it, not herpes.
        9       A Well, we kind of --                                  9          So just the presence of that in the ovarian
       10       Q Same thing?                                         10   tumor doesn't mean that it causes cancer.
       11       A -- discussed that earlier that with -- I'd          11      MR. DEARING: Right. I move to strike as
       12   like to see a chronic foreign-body giant cell             12   nonresponsive.
       13   granulomatous reaction, something to indicate that it's   13   BY MR. DEARING:
       14   biologically active and not just sitting there, say, as   14      Q My question is, what do you need to see
       15   a contaminant.                                            15   between the foreign-body response that you're
       16       Q Okay. That's all you would want to see?             16   describing and the cancer to link the two? That's the
       17       A I'd like to see ovarian cancer associated with      17   question.
       18   it, an ovarian cancer in which these -- this is           18      MS. AHERN: Objection. Form.
       19   associated with what I just described.                    19   BY MR. DEARING:
       20       Q How would you make the connection between a         20      Q What do you need to see?
       21   foreign-body response to talc in the ovary and cancer     21      MS. AHERN: Objection. Form.
       22   of the ovary? If you saw the foreign-body reaction        22      THE WITNESS: I'd like to see fulfillment of the
       23   that you're saying you want to see, is that enough to     23   various criteria that we've talked about before,
       24   say, "Well, if that's there, it may be able to cause      24   Bradford Hill, to really say that all the various
       25   cancer"?                                                  25   studies, not just biologic plausibility but strength of


                                                      Page 99                                                      Page 101
        1      A Not at all.                                           1   association from epidemiologic studies, dose response,
        2      MS. AHERN: Objection. Form.                             2   consistency, the various factors that Bradford Hill
        3      THE WITNESS: No, not at all.                            3   requires to show causality. That's what I want to see,
        4      MR. DEARING: Okay.                                      4   and I haven't seen that.
        5      THE WITNESS: And I'll give you a specific example       5   BY MR. DEARING:
        6   of something -- where that kind of information was very    6       Q So there's nothing pathologically you want to
        7   misleading.                                                7   see?
        8         I was involved, and I have been involved for         8       A Well, that might explain --
        9   the last 15 years, with HPV and cervical --                9       MS. AHERN: Objection. Form.
       10   BY MR. DEARING:                                           10       THE WITNESS: That may be one factor that could be
       11      Q Excuse me, Doctor. I don't mean to cut you           11   considered.
       12   off. I know about HPV virus. I don't need to talk         12   BY MR. DEARING:
       13   about that.                                               13       Q So back to my question.
       14      MS. AHERN: Let him answer, and then you can object     14          What pathologically you would expect to see in
       15   as nonresponsive.                                         15   tissue such that you would link the formation of
       16      MR. DEARING: Well, he's clearly not, and I have a      16   foreign-body response to the cancer?
       17   limited amount of time.                                   17       MS. AHERN: Objection. Form.
       18   BY MR. DEARING:                                           18       THE WITNESS: I would like to -- I haven't ever
       19      Q What I'm saying is, what do you say about            19   seen it. Okay. So I don't know what I would expect.
       20   talc?                                                     20   It's a completely hypothetical question. I'd have to
       21      A I'm going to talk about why seeing the               21   see what I see, and then I could tell you an answer.
       22   presence of a substance in the ovary with the cancer      22   BY MR. DEARING:
       23   doesn't mean that it's causing the cancer.                23       Q Are you aware that IARC also classified
       24         And I was -- before you interrupted me, I was       24   asbestiform talc fibers as carcinogenic?
       25   going to say that, in the 1960s, '70s, and '80s, HSV-2,   25       A Are you distinguishing that from just other


                                                                                    26 (Pages 98 to 101)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 239 of 348 PageID:
                                   61013
                                               Robert Kurman, M.D.
                                                    Page 102                                                      Page 104
        1   types of asbestos?                                         1   Containing Asbestiform Fibres"?
        2       Q Asbestiform talc fibers are not asbestos.            2     A Where am I? 230?
        3       A I'm sorry. Repeat your question.                     3     Q I think you're on 231.
        4       Q Yes. I am distinguishing those two. And if           4     A Oh, yeah.
        5   you don't know this and I'm outside of your wheelhouse,    5     Q It says:
        6   just tell me and I'll move on.                             6         "Talc particles are normally
        7       A Yeah.                                                7     plate-like. These particles, when
        8       Q Asbestiform talc fibers --                           8     viewed on edge under the microscope, in
        9       A Oh, okay.                                            9     bulk samples or on air filters, may
       10       Q -- so not asbestos.                                 10     appear to be fibers and have been
       11          Are you aware that IARC has identified             11     misidentified as such. Talc may also
       12   asbestiform talc fibers as carcinogenic to humans?        12     form true mineral fibers that are
       13       MS. AHERN: Objection. Form.                           13     asbestiform in habit. In some talc
       14       THE WITNESS: I'm not aware of that.                   14     deposits, tremolite, anthophyllite, and
       15       MR. DEARING: Would that fact affect your opinion      15     actinolite may occur. Talc containing
       16   about whether talc can cause ovarian cancers?             16     asbestiform fibers is a term that has
       17       THE WITNESS: No.                                      17     been used inconsistently in the
       18       MS. AHERN: Objection. Form.                           18     literature. In some contexts, it
       19   BY MR. DEARING:                                           19     applies to talc containing asbestiform
       20       Q Have you read the 2012 IARC Monograph?              20     fibers of talc."
       21       A You'd have to show it to me. I don't recall.        21         Do you feel like you have an understanding of
       22       Q Well, it's on your reference list.                  22   asbestiform talc fibers based on that explanation of
       23       A Yeah. Well, I'd have to see it again.               23   what they are to talk more about them, or are we still
       24       Q Okay.                                               24   outside of your expertise?
       25   ///                                                       25     A I like the term where it says "inconsistently


                                                    Page 103                                                      Page 105
        1         (The document referenced below was                   1   in the literature."
        2      marked Deposition Exhibit 5 for                         2      Q Right.
        3      identification and is appended hereto.)                 3      A So if it's inconsistently in the literature,
        4   BY MR. DEARING:                                            4   I, as not a mineralogist, would have a lot of trouble
        5      Q Doctor, I'm marking as Exhibit 5 a portion of         5   dissecting all that out.
        6   the 2012 Monograph, and the reason is it's several         6      Q It's inconsistent in the literature because
        7   hundred pages long and I'm trying to save some trees.      7   some authors treat asbestiform talc as asbestos, and
        8         But here is the portion that I want to talk to       8   there's some confusion in the name. They should have
        9   you about. First of all --                                 9   named it something else, but that's the confusion
       10      MS. AHERN: I'm sorry, one second. Could I get a        10   they're talking about.
       11   copy? Thank you.                                          11      MS. AHERN: Objection to the characterization.
       12   BY MR. DEARING:                                           12   BY MR. DEARING:
       13      Q So obviously the cover there identifies this         13      Q Anyway, we'll move on to the human exposure
       14   as an IARC Monograph, and it's addressing arsenic,        14   section, page 232. The subheading is "Human Exposure."
       15   metals, fibers, and dust. And it's Volume 100C.           15      A Yes.
       16         Do you see that?                                    16      Q And it says -- and this explains -- this is
       17      A Yes.                                                 17   the way IARC explains exposures and explains
       18      Q And this is the one that you referenced in           18   carcinogenesis of the identified carcinogens is they
       19   your reference list; right?                               19   first talk about how humans get exposed to it.
       20      A Yes.                                                 20          And they say here that:
       21      Q And you think you have seen this before?             21          "Consumer products (cosmetics,
       22   You've read this?                                         22      pharmaceuticals) are the primary source
       23      A Yes.                                                 23      of exposure to talc for the general
       24      Q If you would, turn to page 230.                      24      population. Inhalation and dermal
       25         Do you see the section entitled "Talc               25      contact, (i.e. through perineal


                                                                                  27 (Pages 102 to 105)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 240 of 348 PageID:
                                   61014
                                               Robert Kurman, M.D.
                                                    Page 106                                                      Page 108
        1       application of talcum powders) are the                 1      A Absolutely not.
        2       primary routes of exposure."                           2      Q What is retrograde menstruation?
        3          Do you agree with that statement that               3      A Retrograde menstruation occurs in women when
        4   inhalation and dermal contact, such as through perineal    4   they have, at the time of menses, instead of the
        5   application of talcum powders, is the primary route of     5   breakdown of the lining of the uterus, which is the
        6   exposure for talc for humans?                              6   endometrium, passing through the cervix, the vagina,
        7       MS. AHERN: Objection. Form.                            7   and going as we normally -- as normally occurs in
        8       THE WITNESS: As far as I know, inhalation and          8   menstruation, goes the other way and goes through the
        9   perineal exposure are the main contacts.                   9   fallopian tubes to the peritoneal cavity.
       10   BY MR. DEARING:                                           10      Q And you agree that 90 percent of women with
       11       Q Right. In -- when they describe that                11   healthy fallopian tubes experience retrograde
       12   exposure, IARC is describing exposure to the general      12   menstruation?
       13   population; right? That's what it says right above        13      MS. AHERN: Objection. Form.
       14   it --                                                     14      THE WITNESS: I don't know what the percentage is,
       15       A Yeah.                                               15   but I'm sure it's frequent.
       16       Q -- "exposure to the general population"?            16   BY MR. DEARING:
       17       A That's what it says.                                17      Q In your report on page 9, you have a short
       18       Q Okay. That's all I'm going to ask you about         18   discussion here about endometriosis and endometrioid
       19   that.                                                     19   carcinomas.
       20          Do you agree with the statement that "Patients     20      A Let me get there. Okay. Page 9.
       21   with chronic aspirin, nonsteroidal anti-inflammatory      21      Q Right. You say in the third sentence:
       22   drugs, or acetaminophen use have a reduced risk of        22         "The precise origin of
       23   ovarian -- epithelial ovarian cancer"?                    23      endometriosis has not been conclusively
       24       MS. AHERN: Objection.                                 24      established. Proposed mechanisms
       25       MR. DEARING: That was terrible. Let me start all      25      include retrograde menstrual flow and in


                                                    Page 107                                                      Page 109
        1   over. Good grief.                                          1      situ development in the peritoneum
        2   BY MR. DEARING:                                            2      through a process of metaplasia. Other
        3      Q Do you agree that patients with chronic               3      mechanisms, including development of
        4   aspirin, nonsteroidal anti-inflammatory drug, or           4      embryonic rests, have also been invoked.
        5   acetaminophen use have a reduced risk of epithelial        5      Most cases are best accounted for by
        6   ovarian cancer?                                            6      retrograde menstruation, that's
        7      A So you're referring to the epidemiology               7      endometrial tissue expelled at the time
        8   studies, I assume?                                         8      of menstruation which passes through the
        9      Q There are several studies, yes.                       9      fallopian tubes and implants on the
       10      A Yeah. Well, from what I recall, and it's been        10      ovary or other sites in the peritoneal
       11   a while, they are inconsistent. Some show that they       11      cavity."
       12   decrease risk. And some, specifically the NSAIDs, as I    12          Now, I assume, because you put this in your
       13   remember, did not show there was a reduced risk of        13   report, that's what you believe causes endometriosis.
       14   ovarian cancer.                                           14   Is that right?
       15      Q Do you have an opinion professionally?               15      MS. AHERN: Objection form.
       16      A Well --                                              16      THE WITNESS: Yes, that's correct.
       17      MS. AHERN: Objection. Form.                            17   BY MR. DEARING:
       18      THE WITNESS: -- as I said, I'm not an                  18      Q But you acknowledge that has not conclusively
       19   epidemiologist, I'm not going to get into the             19   established; right?
       20   nitty-gritty of it, but just based on those studies, I    20      A Generally -- it's generally thought to be the
       21   would say that it's not -- it's inconsistent.             21   case.
       22   BY MR. DEARING:                                           22      Q Right. But you write, "The precise origin of
       23      Q Do you believe that talc can migrate from the        23   endometriosis has not been conclusively established."
       24   perineum through a woman's reproductive tract to the      24   Right?
       25   ovaries?                                                  25      A True.


                                                                                  28 (Pages 106 to 109)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 241 of 348 PageID:
                                   61015
                                               Robert Kurman, M.D.
                                                    Page 110                                                       Page 112
        1      Q Does that mean other gynecologic pathologists         1   peritoneal cavity as well.
        2   disagree with you on that mechanism?                       2      Q When that reverse flow transports that
        3      MS. AHERN: Objection to form. Which mechanism?          3   endometrial tissue, does it pick up anything else when
        4   BY MR. DEARING:                                            4   it goes?
        5      Q Is that what you mean by that?                        5      MS. AHERN: Objection. Form.
        6      A Yeah.                                                 6   BY MR. DEARING:
        7      Q That endometriosis is caused by this process          7      Q Anything else that might be in that cavity?
        8   that you just described.                                   8   Any other cells?
        9      A In other words, that endometriosis can be             9      MS. AHERN: Objection. Form.
       10   caused either by retrograde menstruation, metaplasia,     10      THE WITNESS: There are no other cells. There's
       11   or from embryonic rest. That covers it all.               11   just the endometrium.
       12      Q Okay. I want to put a diagram up, just               12   BY MR. DEARING:
       13   because this makes it easier for me to talk about it.     13      Q What if there were bacterium in that area?
       14   I can hand you one if you prefer, if it is easier to      14   Would the retrograde menstruation pick up the bacterium
       15   see, but -- I have lots of them.                          15   and deliver them to the ovaries with the tissue?
       16      MS. AHERN: Thank you.                                  16      A Well, certainly, women who have pelvic
       17      THE WITNESS: Might as well take advantage of your      17   inflammatory disease, sexually transmitted disease, it
       18   generosity. Okay.                                         18   involves the fallopian tubes. So somehow or another,
       19   BY MR. DEARING:                                           19   the bacteria get there. Now, whether they come by
       20      Q So now using this diagram to describe this           20   lymphatics, I don't know. It's usually thought to be
       21   retrograde menstruation that you're talking about.        21   through lymphatics, not necessarily retrograde
       22      A Uh-huh.                                              22   menstruation.
       23      Q So what you're saying is that the                    23      Q Okay. My question is, if there were other
       24   endometrium -- the endometrial tissues expelled during    24   materials in that tissue that's being transported,
       25   menstruation. Can you show me on your diagram, and        25   whether it's bacteria, whether it's foreign material,


                                                    Page 111                                                       Page 113
        1   then I'll repeat it here, where that tissue is coming      1   don't you think -- or don't you agree that it could
        2   from that's being expelled?                                2   also be picked up and transported through the fallopian
        3      A Yeah. It's coming from this little -- where           3   tubes to the ovaries?
        4   it says "uterus."                                          4      MS. AHERN: Objection. Form.
        5       Q Right.                                               5      THE WITNESS: It is complete speculation. I have
        6      A It's like a V.                                        6   no idea.
        7       Q Uh-huh.                                              7   BY MR. DEARING:
        8      A That's the lining of the uterine cavity,              8      Q You also state in your report that --
        9   endometrial tissue.                                        9      A Back to the report. Specific page?
       10       Q Okay.                                               10      Q Yes. Well --
       11      A And that's what breaks down and is expelled.         11      A Tell me where we are.
       12      Q So this area that I'm circling -- and I know         12      Q I don't remember where I read it, and we can
       13   this is not a three-dimensional diagram, but              13   look for it in a minute, but let me just ask you the
       14   essentially it's the lining of the uterus that's being    14   question.
       15   expelled; right?                                          15         Do you agree that the epidemiological data
       16      A That's correct.                                      16   indicate a protective effect of tubal ligations against
       17      Q So you are saying during retrograde                  17   ovarian cancer in general and an even stronger
       18   menstruation, this lining is expelled in the              18   protective effect for endometrioid and clear cell
       19   endometrium and then passes through the fallopian         19   carcinomas, which are sometimes associated with
       20   tubes, out the fimbriated end of the fallopian tube, to   20   endometriosis?
       21   the ovary?                                                21      MS. AHERN: Objection.
       22      MS. AHERN: Objection. Form.                            22      THE WITNESS: It reduces the risk of those,
       23   BY MR. DEARING:                                           23   specifically endometrioid and clear cell, yes.
       24      Q Am I stating that correctly?                         24   BY MR. DEARING:
       25      A That is -- yes. And other parts of the               25      Q Doesn't the epidemiological data also evidence


                                                                                  29 (Pages 110 to 113)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 242 of 348 PageID:
                                   61016
                                                Robert Kurman, M.D.
                                                    Page 114                                                       Page 116
        1   a protective effect of ovarian cancers in general, all     1      carcinoma than for high-grade serous
        2   histologic types of ovarian cancer, by tubal ligation?     2      carcinoma, presumably because tubal
        3      MS. AHERN: Objection. Form.                             3      ligation interrupts the retrograde
        4      THE WITNESS: I'm not sure -- there's data for           4      passage of endometrial tissue from the
        5   high-grade serous carcinoma. I'm not aware of data for     5      uterus to the peritoneal cavity."
        6   low-grade serous carcinoma. I'm not aware of data on       6      A Correct, but you have to keep reading.
        7   mucinous. I'm not aware of that. But for other --          7      Q "However, this mechanism does
        8   certainly high-grade serous carcinoma.                     8      not fit well with the development of
        9   BY MR. DEARING:                                            9      high-grade serous carcinoma, which is
       10      Q Would you agree that high-grade serous               10      now thought to derive from a precursor
       11   carcinomas make up about 80 percent of the ovarian        11      lesion in the fimbriated end (the most
       12   cancers?                                                  12      distal portion) of the fallopian tube,
       13      A Yes. But I should add, as I put in my report,        13      which is in close contact with the
       14   that's not the only explanation. You're implying that     14      ovary."
       15   retrograde menstruation is what -- has reduced the risk   15          I understand that, and I'm going to talk a lot
       16   of high-grade serous carcinoma. I think there's           16    about --
       17   another statement in there that I made which indicates    17      A Read the next sentence.
       18   that tubal ligation has been demonstrated in both         18      Q Okay.
       19   humans and animals to reduce or make that epithelium on   19      A "Importantly, Tiourin, et al.,
       20   the fimbriated end of the tube more quiescent, meaning    20      demonstrated in humans and mouse models
       21   less proliferation, less likelihood of mutations          21      'that tubal ligations induces quiescence
       22   occurring. And perhaps that's another mechanism that      22      of distal fallopian tube epithelium' by
       23   reduces the risk of high-grade serous carcinoma.          23      decreasing the number and proliferation
       24      Q I don't remember seeing that in your report,         24      of progenitor cells in that region,
       25   but you do say, "Also supportive of this" -- and I'm on   25      which can explain the slight reduction


                                                    Page 115                                                       Page 117
        1   page 9, near the bottom of that paragraph.                 1      in the risk of high-grade serous
        2         "Also supportive of this hypothesis                  2      carcinoma associated with this
        3     are epidemiologic data that indicate the                 3      procedure."
        4     protective effect for tubal ligation is                  4      Q Okay. But you agree with me that
        5     stronger for endometrioid and clear cell                 5   epidemiologic data shows a protective effect for
        6     carcinoma than for high-grade serous                     6   high-grade serous carcinoma in particular for women who
        7     carcinoma" --                                            7   have undergone tubal ligations?
        8     A I'm sorry. Could you just tell me where you            8      MS. AHERN: Objection. Form.
        9   are reading again? I want to make sure you're right.       9      THE WITNESS: Yes. Slightly less than it is for
       10     Q Sure. It is middle of that page --                    10   endometrioid and clear cell carcinoma.
       11     A "This suggests"?                                      11   BY MR. DEARING:
       12     Q -- bottom of the paragraph.                           12      Q And for endometrial -- endometrioid and clear
       13     A Is that --                                            13   cell carcinomas, it's a significant reduction in risk,
       14     Q Below "this suggests."                                14   isn't it?
       15     A Okay. "This suggests." Okay.                          15      A I don't --
       16     Q "Also supportive" --                                  16      Q Tubal ligation.
       17     A Okay. Got you.                                        17      A Yes, it definitely plays a role.
       18     Q "Also supportive of this hypothesis" -- and           18      Q And it makes perfect sense because, if you
       19   you're talking about this retrograde menstruation that    19   occlude the tubes, nothing can pass through them;
       20   delivers endometrial tissue the ovary?                    20   right?
       21     A Right.                                                21      MS. AHERN: Objection.
       22     Q "Also supportive of this hypothesis                   22      THE WITNESS: Right.
       23     are epidemiologic data that indicate the                23          How we doing with our bladders?
       24     protective effect for tubal ligation is                 24      MS. AHERN: Do you need to go?
       25     stronger for endometrioid and clear cell                25      THE WITNESS: I drank too much coffee.


                                                                                  30 (Pages 114 to 117)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 243 of 348 PageID:
                                   61017
                                                      Robert Kurman, M.D.
                                                             Page 118                                                       Page 120
        1     MR. DEARING: Want to take a break?                         1      Q Sure.
        2     THE WITNESS: Yeah. Would that be okay?                     2         So you've never actually seen the flow take
        3     MR. DEARING: Absolutely. Anytime. Please tell              3   place, obviously. Have you seen any evidence that that
        4   me. I get carried away.                                      4   flow takes place that makes you think it exists?
        5     VIDEO OPERATOR BROWN: Time is now 11:59. Going             5      A Well, I've seen in microscopic slides of the
        6   off the record.                                              6   fallopian tube taken out at the time a woman is
        7        (Lunch recess taken.)                                   7   menstruating, seen collections of blood and broken-down
        8     VIDEO OPERATOR BROWN: Okay. Time is now 1:02.              8   endometrium within the tubal lumen.
        9        Back on the record.                                     9      Q Okay. So retrograde menstruation takes place
       10   BY MR. DEARING:                                             10   during a woman's regular menstrual cycle, or is it some
       11     Q Doctor, you mentioned a few minutes ago -- a            11   other time during that --
       12   while ago about your textbook that you edited.              12      A No, during the time of the menstrual cycle.
       13        It's called "Blaustein's" --                           13      Q So the menstrual fluid is flowing both ways at
       14     A -- "Pathology of the Female Genital Tract."             14   the same time?
       15     Q And you're the primary editor of that                   15      A Well, conceivably, yes. It's going out in the
       16   textbook; is that right?                                    16   normal pathway, but also collections of the same kind
       17     A I was until the last edition. I had two                 17   of material can be seen in the lumen of the fallopian
       18   junior people join me, and they're doing that with me       18   tube. Not often, but we've seen it.
       19   on this current edition that we're working on.              19      Q Is it your testimony that the only way that
       20     Q What is the last edition that was published?            20   those endometrial cells could get to the lumen of the
       21     A The sixth edition.                                      21   fallopian tube or to the ovaries is by this retrograde
       22     Q And how many editions have you edited?                  22   menstruation?
       23     A Third, fourth, and fifth by myself. Sixth               23      MS. AHERN: Objection to form.
       24   with the two of them, and now the seventh with these        24      THE WITNESS: Yeah. I can't imagine how they would
       25   two people.                                                 25   get there any other way.


                                                             Page 119                                                       Page 121
        1       Q And in addition to editing the textbook, have          1   BY MR. DEARING:
        2    you also authored chapters within the textbook?             2     Q How does -- how do endometrial cells implanted
        3       A Yes, I have.                                           3   on the surface of the ovary cause endometrioid
        4       Q And who is the intended audience for that              4   carcinoma?
        5    textbook? Is it for medical students? Doctors? What?        5     A Well, there's some interesting studies showing
        6       A Yes.                                                   6   that, when you look at the endometrium of women with
        7       Q Anybody that's interested?                             7   endometriosis -- so I'm saying the endometrium, within
        8       A Right. Residents, fellows, gynecologists,              8   the lining of uterus -- and compare that to women who
        9    pathologists in practice, medical students.                 9   don't have endometriosis, there are certain molecular
       10       Q It's a pretty well-recognized and accepted            10   changes in the women with endometriosis -- in the
       11    authority on gynecologic pathology; isn't it?              11   lining of the uterus, in the endomet- -- that are
       12       A Well, it's one among many.                            12   different than the women who don't have endometriosis,
       13       Q Going back to the retrograde menstruation             13   suggesting that there's something different about that
       14    process we were talking about at the break, what's the     14   endometrium in women with endometriosis that leads to
       15    biologic mechanism that causes this reverse upstream       15   the development of endometriosis compared to other
       16    menstrual flow?                                            16   women who may also have retrograde menstruation but who
       17       A I don't know that anyone knows.                       17   don't develop endometriosis.
       18       Q Well, have you ever observed that process             18     Q Right. But what mechanism takes place to turn
       19    taking place?                                              19   a displaced endometrial cell on the surface of the
       20       A Observed it? You mean like with a laparoscope         20   ovary in an endometrioid carcinoma?
       21    and watched the blood flow? No, I haven't.                 21     A Oh. Well, there's certain molecular genetic
       22       Q Have you observed any evidence of that process        22   alterations that occur.
       23    taking place with the exception of the endometrial         23     Q Do they occur once they get to the ovary, or
       24    tissue being implanted on the ovary?                       24   do they occur on the way to the ovary, or do they occur
       25       A Please clarify. Rephrase that question.               25   in the endometrium?


                                                                                      31 (Pages 118 to 121)
                          Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 244 of 348 PageID:
                                   61018
                                                Robert Kurman, M.D.
                                                    Page 122                                                       Page 124
        1      A Well, that's what I was getting to just a             1   fimbriated ends of the tubes and the ovaries; is that a
        2   moment ago. Some of those changes may already be           2   fair statement?
        3   present in the endometrium. So that would explain why      3      MS. AHERN: Objection. Form.
        4   some women -- women -- two women have retrograde           4      THE WITNESS: Well, I didn't say anything about
        5   menstruation; one gets endometriosis and the other one     5   other than blood and endometrial products that are in
        6   doesn't, because of those changes already present.         6   retrograde menstruation, and those are -- tend to be
        7      Q Have you witnessed any of those cell changes          7   associated to a greater extent with clear cell and
        8   in any kind of laboratory study or experiment?             8   endometrioid carcinoma rather than high-grade serous
        9      MS. AHERN: Objection. Form.                             9   carcinoma.
       10      THE WITNESS: Again, could you please rephrase what     10   BY MR. DEARING:
       11   you mean by that.                                         11      Q Right. Were you taking exception to something
       12   BY MR. DEARING:                                           12   I said in that statement?
       13      Q Well, let's say endometrial cells that don't         13      A Yes.
       14   already have some carcinogenic process taking place --    14      Q Did I --
       15      A Okay.                                                15      A Well, do you want to repeat the statement --
       16      Q -- get -- you know, get free from the                16      Q Sure.
       17   endometrium, go through the fallopian tubes, implant on   17      A -- and I'll point out where I'm differing.
       18   the ovary.                                                18      Q The statement is, if you ligate or close the
       19         Are those cells capable of turning into             19   fallopian tubes, endometrial material and potential
       20   endometrioid carcinoma?                                   20   environmental carcinogens are blocked. They cannot --
       21      A Well, the -- based on that study -- there are        21      A Stop. That's where I was disagreeing. "And
       22   a couple studies now -- it apparently doesn't occur.      22   potential environmental carcinogens," I didn't agree
       23   Or that's the suggestion, that it only occurs in women    23   with that. I agreed with the blood but not with that
       24   who have this genetic alteration to begin with.           24   part.
       25   Because, otherwise, as we said, women -- many -- not      25      Q What about environmental carcinogen -- what


                                                    Page 123                                                       Page 125
        1   many -- more normal women can have retrograde              1   about that statement do you disagree with?
        2   menstruation and don't get endometriosis.                  2       A Well, I don't know that environmental
        3      Q And using this diagram again, we were talking         3   carcinogens have ever been demonstrated to go in
        4   about tubal ligation.                                      4   retrograde menstruation.
        5      A Uh-huh.                                               5       Q Is that one of those situations where it's not
        6      Q Where do tubal ligations typically take place         6   biologically plausible to you that tubal ligations
        7   surgically on the fallopian tube? Just anatomically,       7   would reduce potential for environmental carcinogens to
        8   are they --                                                8   reach ovaries because you haven't seen it?
        9      A Yeah.                                                 9       MS. AHERN: Objection. Form.
       10      Q -- on the distal end, or is it closer to             10      THE WITNESS: I think it's speculation because I
       11   the -- close to the uterus or where -- where are they     11   don't think there's been evidence produced to
       12   usually ligated?                                          12   demonstrate that there are other environmental
       13      A It can vary depending on when these are done,        13   carcinogens or whatever that are coming into the
       14   for example, laparoscopically, where the surgeon finds    14   uterus.
       15   a good place to pick up with his forceps some fallopian   15   BY MR. DEARING:
       16   tube to tie it off. So sometimes it's in the middle.      16       Q Doctor, this is your sixth edition of
       17   Sometimes it's more distally. It's more often in the      17   Blaustein's.
       18   middle. That's what people aim for, rather than in the    18       A Ah, yes.
       19   proximal end, which would be the end closer to the        19       Q You recognize it?
       20   uterus.                                                   20       A Yes.
       21      Q And the reason that tubal ligations reduce a         21       Q This is the most current edition; right?
       22   woman's risk of ovarian cancer is because, if you         22       A Currently, that's right.
       23   ligate or close these tubes, endometrial material and     23      Q I'm sorry. I don't have six copies of this.
       24   potential environmental carcinogens are blocked and       24   It's very heavy. But I do want to ask you about
       25   cannot pass through the fallopian tubes and reach the     25   something.


                                                                                  32 (Pages 122 to 125)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 245 of 348 PageID:
                                   61019
                                               Robert Kurman, M.D.
                                                   Page 126                                                       Page 128
        1      A Okay.                                                1      tubal ligation prevent the introduction
        2      Q So I'm referring to Chapter 14 of this book.         2      of a variety of potential environmental
        3   And Chapter 14 is entitled "Surface Epithelial Tumors     3      carcinogens from entering the peritoneal
        4   of the Ovary."                                            4      cavity and thereby coming into contact
        5         You're familiar with this chapter; right?           5      with tubal and ovarian tissue."
        6      A Yes.                                                 6         That's where I got that statement from.
        7      Q And you're one of the authors of this chapter;       7         So are you now saying you disagree with your
        8   right?                                                    8   statements in this textbook with regard to
        9      A Yes.                                                 9   environmental carcinogens?
       10      Q On page 681 of this chapter, you're                 10      A Well, you have to understand textbooks. You
       11   discussing, for context, etiology and risk factors for   11   basically cite what's out there. And what we're
       12   ovarian cancer; right?                                   12   stating there is what some people have allegedly
       13      A Well, I'll have to see. I can't read it from        13   reported, so that we're trying to be complete.
       14   there.                                                   14      Q No, Doctor, that's not what somebody alleged
       15      Q Well -- all right. So this is the title page,       15   in a report. That's the predominant theory. That's
       16   "Surface Epithelial Tumors of the Ovary."                16   why that's in the textbook.
       17         And you see the first section says                 17         You're not saying this is what a few people
       18   "Epidemiology"; right?                                   18   say. You're saying this because this is the
       19      A Well, I can't. Maybe you can magnify it             19   predominant theory; right?
       20   greater.                                                 20      A I didn't say --
       21      Q Maybe.                                              21      MS. AHERN: Objection. Argumentative.
       22      A I can see "Surface Epithelial," but I can't         22      THE WITNESS: I didn't.
       23   see the subheadings.                                     23      MS. AHERN: Object to the form.
       24      MS. AHERN: I think part of it is the glare from       24      THE WITNESS: Sorry.
       25   the lighting is making it a little hard to read.         25         I didn't say anything about the predominance.


                                                   Page 127                                                       Page 129
        1      THE WITNESS: That's better.                            1   I said it's a view that's out there and that's
        2   BY MR. DEARING:                                           2   reported. I didn't say anything about -- that it's the
        3      Q Okay. It'll be easy for you to read along            3   predominant.
        4   with me, but...                                           4   BY MR. DEARING:
        5         So this is the chapter on surface epithelial        5       Q It wouldn't be in this textbook and written
        6   tumors of the ovary.                                      6   that way if it wasn't biologically plausible, would it
        7      A Correct.                                             7   be?
        8      Q And then the first few pages discusses               8       MS. AHERN: Objection. Form.
        9   epidemiology; right?                                      9       THE WITNESS: I'm not getting into biologically
       10      A Yes, it does.                                       10   plausible. We've already discussed that. It's been
       11      Q Okay. And then over here, one of the first          11   described by some people. So in fairness to those
       12   sections it talks about is etiology and risk factors.    12   other reports, we've included it in the chapter.
       13          See that at the bottom there?                     13   BY MR. DEARING:
       14      A Yes.                                                14       Q But you didn't even cite to anybody else.
       15      Q Okay. Then I'm going -- I'm only showing you        15   There's no cite there.
       16   that to show you that's the section that we're in.       16       A It's kind of a general statement.
       17      A Okay.                                               17       Q So it's your testimony that you put that
       18      Q I'm flipping over to the next page, which is        18   statement that tubal ligations and hysterectomies offer
       19   681. And at the bottom of 681, you see it says           19   protective effect against environmental carcinogens
       20   "Reproductive Factors."                                  20   because a few scientists have said that?
       21          And then this is the part I want to read to       21       MS. AHERN: Objection. Form. Argumentative.
       22   you. So we're talking about etiology and risk factors    22       THE WITNESS: I didn't say "a few" or whatever. I
       23   and, within that heading, reproductive factors. And      23   just said it's out there. So I -- we mentioned it. We
       24   you say:                                                 24   included it.
       25         "In addition, hysterectomy and                     25   ///


                                                                                 33 (Pages 126 to 129)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 246 of 348 PageID:
                                   61020
                                                Robert Kurman, M.D.
                                                    Page 130                                                       Page 132
        1   BY MR. DEARING:                                            1   see if you can make it --
        2      Q Do you agree with me that, with regard to this        2      Q Sure. There you go.
        3   statement and the protective effect of hysterectomies      3      A Yeah, that's what it says.
        4   and tubal ligations against the introduction of            4      Q Okay. I wasn't trying to trick you.
        5   environmental carcinogens, that there's no qualifying      5      A Well, I just want to be sure if it's correctly
        6   language associated with this statement like "I don't      6   stated.
        7   really believe this" or "This is an outlier-type           7          I have to make a minor equipment change here.
        8   opinion"? There's nothing like that in that statement,     8   Okay.
        9   is there?                                                  9      Q This textbook was published in 2011; right?
       10      A That's true.                                         10      A That's correct.
       11      Q And this textbook, which you just said is for        11      Q So it was published before you were retained
       12   doctors, medical students, scientists, people that want   12   as an expert by Johnson & Johnson; right?
       13   to know, if they wanted to know what's -- you know,       13      A Correct.
       14   does hysterectomy and tubal ligation offer protective     14      Q Do you agree that if talc can reach the
       15   effect against ovarian cancer, they would look to your    15   uterus, then it could reach the ovaries?
       16   textbook.                                                 16      A I don't --
       17         And all it says is it does offer protective         17      MS. AHERN: Objection. Form.
       18   effect against environmental -- potential environmental   18      THE WITNESS: I don't agree that talc can reach the
       19   carcinogens; right?                                       19   uterus.
       20      MS. AHERN: Objection. Form.                            20   BY MR. DEARING:
       21      THE WITNESS: It's --                                   21      Q Right. I'm just asking you hypothetically, if
       22   BY MR. DEARING:                                           22   talc could reach the uterus, then do you think it could
       23      Q In other words, there's no alternative view          23   also reach the ovaries, either through retrograde
       24   stated there, is there?                                   24   menstruation or some other process?
       25      MS. AHERN: Objection. Form.                            25      MS. AHERN: Objection. Form.


                                                    Page 131                                                       Page 133
        1      THE WITNESS: What's stated there is what's stated       1       THE WITNESS: Again, there's no data. I have no --
        2   there, yes.                                                2   no data, so I can't say that it could.
        3   BY MR. DEARING:                                            3   BY MR. DEARING:
        4      Q Okay. While I have the book open, I asked you         4       Q Well, I'm asking you as a 40-year experienced
        5   a specific question about whether you agreed that          5   gynecologic pathologist. Okay. Relying on all the
        6   retrograde menstruation is a common physiologic process    6   experience that you've -- relying on all of your
        7   that occurs in 90 percent of menstruating women with       7   experience, do you have an opinion either way whether,
        8   normal unoccluded fallopian tubes, and you said you        8   if talc could reach the uterus, then it could probably
        9   think that it's a lot of women or it's a majority.         9   reach the ovaries?
       10      A Yeah, it is pretty high.                             10       A Pure speculation. I can't comment on that.
       11      Q Well, would it surprise you that that                11       Q Well, you're an expert. You are allowed to
       12   90 percent came from your textbook?                       12   speculate.
       13      A Well, I'd like to see it.                            13       A Doesn't matter if I'm an expert. It's
       14      Q Okay. On page 642 where you're describing            14   speculation.
       15   endometriosis, see there, and usual sites?                15       Q Okay. So you --
       16      A I see that.                                          16       A It's meaningless.
       17      Q The next column over where I have the blue           17       Q So you don't have an opinion either way?
       18   marker, it says:                                          18       A I told you I don't think it could reach the
       19         "Retrograde menstruation through                    19   uterus, and I don't -- and, therefore, I don't think it
       20      the fallopian tubes is a common                        20   can go any further. It can't get to the uterus.
       21      physiologic process occurring in                       21       Q If it was implanted in the uterus, do you
       22      90 percent of menstruating women with                  22   think could reach the ovaries?
       23      patent tubes."                                         23       MS. AHERN: Objection. Form.
       24         Do you agreed with that statement?                  24       THE WITNESS: Again, show me a study where they've
       25      A Well, can I -- I can't read that. I want to          25   done that, and then I can, you know, intelligently


                                                                                  34 (Pages 130 to 133)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 247 of 348 PageID:
                                   61021
                                                Robert Kurman, M.D.
                                                    Page 134                                                       Page 136
        1   discuss it.                                                1      THE WITNESS: Well, I should say that, at times,
        2   BY MR. DEARING:                                            2   there can be a lesion that comes from another site that
        3       Q So without seeing a study, you have no opinion       3   mimics serous tubal intraepithelial carcinoma, so you
        4   either way whether talc could move from the uterus to      4   have to be very careful when you draw that conclusion.
        5   the ovary?                                                 5   BY MR. DEARING:
        6       A That's not science. It's just speculation.           6      Q Sir, that's not the question I'm asking.
        7       Q Okay. Is retrograde menstruation one of those        7      A Oh, okay.
        8   biologically plausible ideas that you do believe exists    8      Q Can a trained pathologist tell by looking at a
        9   even though you haven't seen it take place?                9   tumor whether it came from the fallopian tube or
       10       MS. AHERN: Objection. Form.                           10   whether it originated at the ovaries?
       11       THE WITNESS: Wait. I'm sorry.                         11      A Well, you can't do it simply on H&E analysis.
       12   BY MR. DEARING:                                           12   You really require molecular analysis to demonstrate
       13       Q You have testified you've never seen                13   that it's cloned, that the same genetic alterations
       14   retrograde menstruation take place, but you do say that   14   that are present in the STIC are present in the -- in
       15   it's biologically plausible.                              15   the corresponding ovarian cancer.
       16       A Well, I said, in fact, that I've seen, in           16      Q So a surgical pathologist, for example,
       17   microscopic sections of the fallopian tube, parts of      17   looking at a surgical specimen from an oophorectomy
       18   endometrial tissue and blood in the lumen of the          18   that's been diagnosed, at least before surgery, as
       19   fallopian tube. So, yes, I think it can occur.            19   ovarian cancer can't tell if that carcinoma originated
       20       Q I can't remember if you answered this. If you       20   from the ovary or the fallopian tube by looking at the
       21   did, I apologize.                                         21   tumor; right?
       22          You've said retrograde menstruation occurs         22      MS. AHERN: Objection. Form.
       23   during the regular menstrual cycle of a woman. And I      23      THE WITNESS: Just looking at the H&E, based on the
       24   said does that mean you're saying it flows both ways at   24   studies that have been published, I think it would be
       25   the same time, and you said yes.                          25   reasonable to suspect that that's where it came from.


                                                    Page 135                                                       Page 137
        1          Do you know what specifically causes it to          1   BY MR. DEARING:
        2   flow upstream, you know, towards the fallopian tube?       2      Q But there's no characteristic about the tumor
        3      A I have no idea. I don't think anyone has.             3   that tells you that; right? There's nothing you can
        4      Q In your report, on page 6, under the section          4   see under a microscope where you could say, "Oh, that
        5   "Precursor Lesions" --                                     5   came from the fallopian tube versus ovarian primary"?
        6      A Yes.                                                  6      MS. AHERN: Object.
        7      Q -- you state:                                         7      THE WITNESS: That's correct.
        8          "Our understanding of the                           8   BY MR. DEARING:
        9      pathogenesis of ovarian cancer has                      9      Q And when you're using the term "precursor
       10      advanced in the last few years with the                10   lesion" in your report, what do you mean by that? How
       11      recognition that many high-grade serous                11   do you define "precursor lesion"?
       12      carcinomas developed from a precursor                  12      A Well, it's a lesion that precedes the
       13      lesion in the fallopian tube designated                13   development of, in this case, invasive carcinoma.
       14      serous tubal intraepithelial carcinomas                14   Because a STIC is a cancer in situ, if you will, but
       15      or STIC."                                              15   there are other lesions in the p53 signatures which are
       16          Did I read that right?                             16   benign that appear to precede the development of STICs.
       17      A Yes, that's correctly stated as it's written,        17      Q And you don't believe type 1 tumors originate
       18   yes.                                                      18   in the fallopian tube, do you?
       19      Q Do you believe that most high-grade serous           19      A Well, we think possibly that some low-grade
       20   ovarian cancers derive from the fallopian tube?           20   serous carcinomas, which are type 1 tumors, may well
       21      A I do.                                                21   arise from fallopian tube, but in a different
       22      Q Can a trained pathologist tell if a cancer           22   mechanism.
       23   derived from the fallopian tube by looking at it under    23      Q Can you give me an example of a fallopian tube
       24   a microscope?                                             24   precursor lesion that may be a precursor for any type
       25      MS. AHERN: Objection. Form.                            25   of ovarian cancer?


                                                                                  35 (Pages 134 to 137)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 248 of 348 PageID:
                                   61022
                                               Robert Kurman, M.D.
                                                    Page 138                                                       Page 140
        1      A STIC, or p53 signature.                               1      MS. AHERN: Objection.
        2      Q So you're saying it is a -- that type 2 tumors        2      THE WITNESS: Please rephrase the question.
        3   start out as serous tubal intraepithelial carcinomas in    3      MR. DEARING: Sure.
        4   the fallopian tube, and then somehow migrate from the      4   BY MR. DEARING:
        5   fallopian tube to the ovaries?                             5      Q You obviously think that this precursor tubal
        6      MS. AHERN: Objection. Form.                             6   lesion idea that is a precursor lesion for ovarian
        7      THE WITNESS: Yes. That's correct.                       7   cancers --
        8   BY MR. DEARING:                                            8      A For high-grade serous ovarian cancers.
        9      Q What mechanism propels it through the                 9      Q And some low-grade, you said?
       10   fallopian tube to make it implant on the ovary?           10      A No, no. It's a different mechanism.
       11      A Well, there may be a number of ways. One way         11      Q Let's stick with high-grade serous. That's
       12   is that these STIC cells have this cohesiveness, so       12   the majority of cancers anyway, isn't it?
       13   that they are breaking off and they can fall into the     13      A Yes.
       14   fallopian tube and they could migrate up that way, or     14      Q So are you saying that these tubal lesions
       15   they might even be -- even though they are noninvasive,   15   are -- are you saying it's biologically plausible that
       16   there may be a way, it has been suggested -- I'm not      16   these tubal lesions are precursor lesions to high-grade
       17   sure it is well documented -- it somehow may get into     17   serous carcinomas where they're starting in the tube
       18   lymphatics and get into the ovary that way.               18   and implanting in the ovary?
       19      Q What are some of the causes of fallopian tube        19      A That's the mechanism we think is at play, yes.
       20   precursor lesions?                                        20      Q And you believe that's a biologically
       21      MS. AHERN: Objection. Form.                            21   plausible explanation for that process even though you
       22      THE WITNESS: We don't know what they are.              22   don't know what's causing the tubal lesions; right?
       23   BY MR. DEARING:                                           23      MS. AHERN: Objection. Form.
       24      Q Could environmental carcinogens be a potential       24      THE WITNESS: We're saying that we don't know the
       25   cause of a tubal precursor lesion?                        25   cause of STIC, but we know that it has mutations and


                                                    Page 139                                                       Page 141
        1      A Well, we haven't made that finding yet.               1   morphologic changes that are exactly the same as those
        2      Q If talc could reach the fallopian tubes, could        2   in high-grade serous carcinomas. So we're able to make
        3   talc serve as a catalyst for a precursor lesion that       3   that jump, but we don't know -- we'd love to know what
        4   would create a STIC that might lead to an ovarian          4   the cause of a STIC is. Prevention is, to me, the only
        5   cancer?                                                    5   way we're going to make headway and, really, an impact
        6      MS. AHERN: Objection. Form.                             6   on preventing the development of that. But we have no
        7      THE WITNESS: Well, based on what we've seen with        7   idea what it is that we need to prevent at this point.
        8   talc in other locations, such as when it's used in         8   BY MR. DEARING:
        9   pleurodesis -- long-term studies have not shown the        9       Q Could tubal exposure to exogenous or
       10   development of carcinoma -- I don't think it would        10   environmental materials cause tubal precursor lesions?
       11   cause ovarian cancer.                                     11       MS. AHERN: Objection. Form.
       12   BY MR. DEARING:                                           12       THE WITNESS: We don't know.
       13      Q Well, if -- if foreign bodies aren't causing         13   BY MR. DEARING:
       14   tubal precursor lesions, can you give me an example of    14       Q Well, are these serous tubal intraepithelial
       15   anything that does? Anything that's not bacterial.        15   carcinomas -- do they derive from inflammation? Or do
       16      MS. AHERN: Objection. Form.                            16   you not know that either?
       17      THE WITNESS: It's an area we just don't know.          17       A No, I see -- I've looked at a lot of these,
       18   Something causes a p53 mutation -- we don't know what     18   and I've never seen inflammation of any type associated
       19   it does, what it is -- and that starts the ball           19   with STICs.
       20   rolling.                                                  20       Q Are you aware of any reason why a potential
       21   BY MR. DEARING:                                           21   environmental carcinogen could not be a cause or a
       22      Q And you think that's a biologically plausible        22   precipitating exposure of a STIC?
       23   explanation for the carcinogenesis of some ovarian        23       MS. AHERN: Objection. Form.
       24   cancers even though you've never seen it?                 24       THE WITNESS: Please repeat the question.
       25      A May I please --                                      25   ///


                                                                                  36 (Pages 138 to 141)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 249 of 348 PageID:
                                   61023
                                              Robert Kurman, M.D.
                                                   Page 142                                                      Page 144
        1   BY MR. DEARING:                                          1   in the pathogenesis of papillary tubal hyperplasia and
        2     Q So you said you don't know, or we don't know,        2   endosalpingiosis."
        3   whether environmental materials are causing these        3      A Sounds like it's taken out of my paper.
        4   STICs.                                                   4      Q It is.
        5     A Right.                                               5      A Our paper. But, again, we talked about it
        6      Q Is there any particular reason why it could         6   earlier. That refers specifically to serous borderline
        7   not be an environmental material causing these STICs?    7   tumors, which is a precursor, if you will, of low-grade
        8     MS. AHERN: Objection. Form.                            8   serous carcinoma, not high-grade serous carcinoma.
        9      THE WITNESS: It is a negative question. I mean,       9   They're different. They're totally different.
       10   we don't know. It doesn't tell me anything. I still     10      Q Okay. Well, let's talk about low-grade serous
       11   can't really quite figure out what you're driving at.   11   carcinomas and borderline tumors.
       12   BY MR. DEARING:                                         12      A Okay.
       13     Q Well, let me ask it in the positive form of         13      Q Are you agreeing with me, then, with regard to
       14   that question. Is it possible that some of those        14   those tumors that an inflammatory process within the
       15   precursor lesions are caused by environmental           15   fallopian tube is what stimulates the proliferation of
       16   materials?                                              16   the tubal epithelium?
       17     MS. AHERN: Objection. Form.                           17      A That's our hypothesis. That is to say that
       18      THE WITNESS: We need to see the data.                18   inflammation virtually -- basically meaning pelvic
       19   BY MR. DEARING:                                         19   inflammatory disease due to sexually transmitted
       20      Q So you can't say yes or no to that question?       20   disease -- we haven't demonstrated that, but that's our
       21     A That's right. It's not known.                       21   thinking. So it's a hypothesis that we've put out
       22     Q Well, you would agree that it is well known         22   because inflammation of that sort can produce
       23   that tubal epithelial inflammation can stimulate        23   proliferation of tubal epithelium.
       24   proliferation of the epithelium and instigate           24          Proliferation of tubal epithelium in and of
       25   pathogenesis of tubal hyperplasia; right?               25   itself doesn't mean it's going to go on to the next


                                                   Page 143                                                      Page 145
        1      MS. AHERN: Objection. Form.                           1   step, a borderline tumor. You may have tubal
        2      THE WITNESS: That's correct. That's in our paper.     2   proliferation; nothing else happens.
        3   BY MR. DEARING:                                          3      Q Do you have any opinion as to what may be
        4      Q So inflammation can play a role in the              4   causing inflammation that may stimulate proliferation
        5   development of some precursor lesions within the         5   of tubal epithelium?
        6   fallopian tube.                                          6      A As I said, we're thinking maybe pelvic
        7      MS. AHERN: Objection. Form.                           7   inflammatory disease, chlamydia, gonorrhea, those kinds
        8      THE WITNESS: Proliferation isn't the precursor        8   of sexually transmitted diseases may account for that.
        9   lesion. Proliferation can occur in completely benign     9      Q So when you say in your report, "I have
       10   conditions. It has nothing to do with cancer.           10   participated in a number of studies assessing the
       11   BY MR. DEARING:                                         11   characteristics of" --
       12      Q Right. But it's the epithelial inflammation        12      A Where are we talking about now?
       13   that's creating the proliferation of the epithelium;    13      Q I'm sorry. Page 18.
       14   right?                                                  14      A Okay. I'm at 18.
       15      MS. AHERN: Objection. Form.                          15      Q It's near the top.
       16      THE WITNESS: The epithelial -- the inflammation      16      A Okay.
       17   that we describe in our paper on papillary tubal        17      Q It's right in the middle of the first
       18   hyperplasia, I think it's important to point out, is    18   paragraph.
       19   due to pelvic inflammatory disease, not due to talc     19      A Okay. "I have participated." Go ahead, yeah.
       20   exposure.                                               20      Q "I have participated in a number
       21   BY MR. DEARING:                                         21      of studies assessing the characteristics
       22      Q Tell me if you agree with this sentence: "It       22      of serous tubal intraepithelial
       23   is well known that an inflammation may stimulate        23      carcinomas and have not found them to be
       24   proliferation of tubal epithelium; and, therefore, it   24      associated with inflammation."
       25   is plausible that chronic salpingitis may play a role   25         That statement is not true if you substituted


                                                                                37 (Pages 142 to 145)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 250 of 348 PageID:
                                   61024
                                               Robert Kurman, M.D.
                                                    Page 146                                                      Page 148
        1   STIC for low-grade serous carcinomas; right?              1      MS. AHERN: Objection. Form.
        2      MS. AHERN: Objection. Form.                            2      THE WITNESS: We're again talking about ovarian
        3      THE WITNESS: STICs are precursors of high-grade        3   high-grade serous carcinomas.
        4   serous carcinoma --                                       4   BY MR. DEARING:
        5   BY MR. DEARING:                                           5      Q Yes.
        6      Q I know.                                              6      A Yes, I think that happens.
        7      A -- not low-grade.                                    7      Q Okay. So one of the things you said
        8      Q Right. But my point is, even though you say          8   previously was you don't believe talc can cause ovarian
        9   you have not seen STICs associated with inflammation,     9   cancer because you've seen no evidence that talc causes
       10   you have seen low-grade serous carcinomas associated     10   foreign-body granulomatous reactions in gynecologic
       11   with inflammation; right? That's what we were just       11   tissue; right?
       12   talking about.                                           12      MS. AHERN: Objection. Mischaracterizes testimony.
       13      A We've seen --                                       13   BY MR. DEARING:
       14      MS. AHERN: Objection. Form.                           14      Q Does that mischaracterize your testimony?
       15      THE WITNESS: Sorry.                                   15      A Repeat what you just said.
       16         We have seen inflammation associated with          16      Q Sure.
       17   papillary tubal hyperplasia. That's what that paper      17         You said you do not believe that talcum powder
       18   shows.                                                   18   exposure can cause ovarian cancer of any sort because
       19   BY MR. DEARING:                                          19   you have not seen evidence of a foreign-body reaction,
       20      Q Well, papillary tubal hyperplasia can be a          20   granulomatous reaction, to talc in gynecologic tissue?
       21   precursor lesion to ovarian cancer, can't it?            21      MS. AHERN: Same objection. Mischaracterizes
       22      MS. AHERN: Objection. Form.                           22   testimony.
       23      THE WITNESS: Can be a precursor of borderline         23   BY MR. DEARING:
       24   tumors, which can then be a precursor -- not all of      24      Q What did I get wrong?
       25   them. Very few of them progress to low-grade serous      25      A Yes. Okay.


                                                    Page 147                                                      Page 149
        1   carcinoma. So it could be, but many of them don't.        1      Q Is that your testimony?
        2   BY MR. DEARING:                                           2      A Yes.
        3      Q Well, and, of course, some borderline serous         3      Q Your attorney doesn't think so.
        4   tumors progress into invasive serous tumors, don't        4      MS. AHERN: The record will reflect --
        5   they?                                                     5   BY MR. DEARING:
        6      A They progress to invasive low-grade serous           6      Q Did I say it right?
        7   carcinomas, some of them.                                 7      MS. AHERN: -- what his testimony was earlier.
        8      Q And they can also implant in other organs,           8      THE WITNESS: You said the ovary.
        9   can't they?                                               9   BY MR. DEARING:
       10      A Yes, they can.                                      10      Q In fact, you said, "I don't even think it's
       11      Q Incidentally, this paper that we're talking         11   biologically plausible because I've never seen it."
       12   about, the papillary tubal hyperplasia paper that you    12   Right? Remember that whole line of questions?
       13   wrote, it also includes some epidemiology information,   13      A I've never seen talc, yeah, in association
       14   doesn't it?                                              14   with precursor lesions or high-grade ovarian carcinoma.
       15      MS. AHERN: Objection. Form.                           15      Q Right. What you said is you didn't believe
       16      THE WITNESS: You'll have to tell me -- show me        16   talc could cause ovarian cancer because you haven't
       17   exactly what you are talking about.                      17   seen the foreign-body granulomatous response to talc
       18      MR. DEARING: Actually, you know what? I'm not.        18   that you would expect to see --
       19   Let's move on with this.                                 19      MS. AHERN: Objection. Form.
       20   BY MR. DEARING:                                          20   BY MR. DEARING:
       21      Q Do you agree that ovarian cancer precursor          21      Q -- from talc exposure; right?
       22   lesions are rarely seen or observed because ovarian      22      MS. AHERN: Mischaracterizing testimony.
       23   carcinomas typically present in advanced stage and       23      THE WITNESS: I think we need to be clear that,
       24   those precursor lesions are obliterated or rendered      24   even if we saw -- even if we saw talc in the case of
       25   unrecognizable by the cancer?                            25   ovarian cancer, it doesn't mean that it caused it.


                                                                                 38 (Pages 146 to 149)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 251 of 348 PageID:
                                   61025
                                                Robert Kurman, M.D.
                                                    Page 150                                                       Page 152
        1   It's just like I said with the HSV, which all those        1   obliterated or rendered unrecognizable by the cancer?
        2   studies showed HSV and cervical cancer and it was          2      A Can be.
        3   totally wrong. So the fact that you see it in there        3      MS. AHERN: Objection. Form.
        4   doesn't mean it's causing them.                            4      THE WITNESS: Can be.
        5          In fact, in order to have any kind of --            5   BY MR. DEARING:
        6   you've got to focus on early lesions. Those are the        6      Q Can be what?
        7   precursors. That's where the cancer starts, not in the     7      A Can be obliterated. Not in all cases. Most
        8   end product, which is cancer. You can see                  8   of the cases you see it -- or many of the cases you see
        9   inflammation, of course, all over the place in a           9   it. Some cases you don't, so we've come to the --
       10   cancer.                                                   10   well, we've done a study to show that women who have
       11   BY MR. DEARING:                                           11   high-grade serous carcinoma, all stages, with STICs and
       12       Q Right. I'm just trying to make sure that I          12   compare them to women, all -- this high-grade serous
       13   have this fine point of your testimony correct, and       13   carcinoma, all stages without STICs, we've analyzed the
       14   that is, is it your opinion that talc cannot cause        14   molecular genetic features of those carcinomas. They
       15   ovarian cancer of any sort because you have seen no       15   are no different between the ones with STICs and the
       16   evidence that talc elicits a foreign-body granulomatous   16   ones without STICs. Consequently, we think that some
       17   response in gynecologic tissue?                           17   of those cases in which you don't see evidence of the
       18       MS. AHERN: Objection. Mischaracterizes his            18   STIC was due to overgrowth by the cancer. But a lot of
       19   testimony.                                                19   times, the STIC is evident.
       20       THE WITNESS: We've seen talc does not cause           20   BY MR. DEARING:
       21   ovarian cancer. So one has nothing to do with the         21      Q Do you agree that those precursor lesions are
       22   other.                                                    22   rarely seen or observed?
       23   BY MR. DEARING:                                           23      MS. AHERN: Objection. Form.
       24      Q Have you observed any precancerous lesions in        24   BY MR. DEARING:
       25   ovarian tissue?                                           25      Q That's what the statement says, they are


                                                    Page 151                                                       Page 153
        1      A In ovarian tissue, precancerous lesions? Very         1   rarely seen or observed. Do you agree with that?
        2   interesting question. We -- and I say "we," the            2      A What statement is this?
        3   pathology community -- spent 40 years looking for          3      Q One I've read twice now. I can read it a
        4   precursors in ovarian tissue and never found it. So        4   third time if you would like.
        5   that's why the STIC was such a finding, was such a         5      A Read it again, please.
        6   surprise, and was such a revelation in terms of            6      Q Do you agree that ovarian cancer --
        7   elucidating the early lesions that could go on to the      7      A Can you show me where you reading from?
        8   development of high-grade serous carcinoma.                8      Q Yes. Do you agree that ovarian --
        9      Q So have you seen precursor lesions in ovaries?        9      A No, I want to see it.
       10      A No.                                                  10      Q Listen to it first.
       11      MS. AHERN: Objection. Form.                            11         Do you agree that ovarian cancer precursor
       12   BY MR. DEARING:                                           12   lesions are rarely seen or observed because ovarian
       13      Q Have you even precursor lesions that are             13   carcinomas typically present in advanced stage and
       14   precancerous in fallopian tubes?                          14   those precursor lesions are obliterated or rendered
       15      A That's what we are talking about. STICs, we          15   unrecognizable by the cancer?
       16   think, are precursors of invasive cancer. P53             16      MS. AHERN: Objection. Form.
       17   signatures in the fallopian tube are precursors, in       17      THE WITNESS: Okay. Not rarely. I would disagree
       18   some instances, of STICs.                                 18   with "rarely."
       19      Q And when you're observing the STICs, are you         19   BY MR. DEARING:
       20   observing them in the fallopian tube or in the ovary?     20      Q Rarely. Okay.
       21      A In the fallopian tube.                               21      A Right. In other words, yeah, sometimes you
       22      Q So back to my statement. Do you agree that           22   don't see them; many times you do see them.
       23   ovarian cancer precursor lesions are rarely seen or       23      Q Okay. Turning to page 685 of the same
       24   observed because ovarian carcinomas typically present     24   Blaustein textbook you looked at earlier, I'm still in
       25   in advanced stage and those precursor lesions are         25   Chapter 14, of which you were an author.


                                                                                  39 (Pages 150 to 153)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 252 of 348 PageID:
                                   61026
                                               Robert Kurman, M.D.
                                                    Page 154                                                       Page 156
        1     MS. AHERN: Page -- I'm sorry -- 285?                     1   end-stage disease; right?
        2     MR. DEARING: 685.                                        2      MS. AHERN: Object to the form.
        3     MS. AHERN: 685. Thank you.                               3      THE WITNESS: You're said saying "most," and I
        4     MR. DEARING: I'll try to position this.                  4   don't agree with "most."
        5     MS. AHERN: What year is that edition?                    5   BY MR. DEARING:
        6     THE WITNESS: 2011, I think.                              6      Q You don't agree with "most"?
        7     MR. DEARING: It's the most current.                      7      A No.
        8     THE WITNESS: You can see that.                           8      Q Okay. Some?
        9     MS. AHERN: Okay. Thank you.                              9      A Some, yeah. Some might be obliterated.
       10   BY MR. DEARING:                                           10      Q Can you put a percentage on how many ovarian
       11     Q It's under the subheading "Putative                   11   cancer cases you've looked at under a microscope where
       12   Histopathologic Precursor Lesions." And you write:        12   you've observed precursor lesions?
       13        "The study of precursors of ovarian                  13      MS. AHERN: Objection. Form.
       14     carcinoma is difficult because the                      14      THE WITNESS: I can't give you a number.
       15     ovaries are not readily accessible for                  15   BY MR. DEARING:
       16     screening and ovarian carcinomas                        16      Q Is it half?
       17     typically present in advanced stage,                    17      A I've seen a lot of them. I can't give you --
       18     obliterating or rendering unrecognizable                18   over the years. I can't give you a number.
       19     any precursor lesion that may be                        19      Q How about in the last ten years?
       20     present. Furthermore, identification of                 20      MS. AHERN: Objection. Form.
       21     a putative precursor lesion is based on                 21      THE WITNESS: Doesn't make any difference. I would
       22     microscopic examination of a complete                   22   see ovarian cancers -- I'd see maybe 30 cases in a week
       23     resection; and, therefore, the natural                  23   or two weeks. It's a large number of cases. Do I
       24     history of the lesion cannot be                         24   remember how many I've seen with STICs? It's
       25     observed."                                              25   impossible.


                                                    Page 155                                                       Page 157
        1         So do you agree with that statement as it's          1   BY MR. DEARING:
        2   written in your textbook?                                  2      Q I'm not asking for a number, but it seems if
        3      MS. AHERN: Objection. Form.                             3   you observed precursor lesions, that's something that
        4      THE WITNESS: Can I -- I couldn't really read it.        4   would stand out in your mind, wouldn't it?
        5   Let me just see it. I'm sure you are right.                5      MS. AHERN: Objection. Form.
        6         So you're talking about the underlined area.         6      THE WITNESS: Well, not really.
        7   Okay. "The study of precursor" --                          7   BY MR. DEARING:
        8         Well, you read it correctly. That's what is          8      Q Are you even looking for precursor lesions
        9   stated. This edition was published in 2011. A lot has      9   when you're doing a surgical pathology evaluation?
       10   changed since then. It is 2019 now. More and more         10      A Of course we look for them.
       11   data coming out. And the study that I just mentioned      11      Q So you look for them in every case?
       12   to you, which I think is very persuasive, is that in      12      A Every case when the tissue is available, yeah.
       13   some instances the precursor lesion is obliterated;       13      Q So you look for them in every case but you
       14   however, those cancers -- and that's proven by the fact   14   have no idea how often you find them?
       15   that those cancers in which we don't see a STIC are the   15      MS. AHERN: Objection. Form.
       16   same on a molecular analysis as ovarian carcinomas in     16      THE WITNESS: I can't give you a number.
       17   which we do see a STIC, suggesting that, in some          17   BY MR. DEARING:
       18   instances, it's overgrown but not in all by any           18      Q So what has specifically developed in the
       19   instance. You know, we've learned a lot since 2011.       19   science that changed from "rarely seen" to "often seen"
       20   BY MR. DEARING:                                           20   in the last nine -- last eight years?
       21      Q Sure. Well, no matter how advanced the               21      MS. AHERN: Objection. Form. Mischaracterizes
       22   science has become in the last eight years, it doesn't    22   testimony.
       23   change the fact that most of the precursor lesions get    23      THE WITNESS: I didn't -- I'll repeat the same
       24   obliterated by the tumor, right, because, by the time     24   thing again. In some instances, you can see a STIC
       25   they're clinical, most of these poor women are in         25   lesion and a high-grade serous carcinoma. In other


                                                                                  40 (Pages 154 to 157)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 253 of 348 PageID:
                                   61027
                                                Robert Kurman, M.D.
                                                    Page 158                                                       Page 160
        1   instances -- and I can't give you a percentage -- you      1      menstruation-induced salpingitis or by
        2   will not see a STIC lesion and a similar-looking           2      the introduction of foreign material
        3   high-grade serous carcinoma, which we believe is due to    3      through the vagina and uterine cavity
        4   the fact that that STIC lesion has been overgrown by       4      plays an important role in ovarian
        5   the carcinoma. That's all I can say.                       5      carcinogenesis. Evidence of a
        6   BY MR. DEARING:                                            6      pro-inflammatory microenvironment in
        7      Q I should have started with that statement.            7      endometriosis supports this hypothesis
        8         So in some cases where you don't see a               8      for type 1 tumors. High-grade serous
        9   precursor lesion, do you -- do you still attribute         9      carcinomas are associated with chronic
       10   precursor lesions to be the carcinogenesis of the         10      salpingitis in 53 percent of cases
       11   tumor?                                                    11      significantly more often than 23 percent
       12      MS. AHERN: Objection. Form.                            12      seen in nonserous tumors, lending
       13      THE WITNESS: Well, based on that study that I          13      circumstantial support to this
       14   mentioned to you a few minutes ago, that's what we're     14      hypothesis."
       15   saying, yes.                                              15         So this hypothesis about inflammation, and
       16   BY MR. DEARING:                                           16   particularly the part about introduction of foreign
       17      Q Okay. Let's talk about something else.               17   material through the vagina and uterine cavity, is that
       18         Do you believe that the introduction of             18   a plausible mechanism for inflammation?
       19   foreign material through the vagina and uterine cavity    19      A Let me -- I can see it, but --
       20   can cause inflammation and play an important role in      20      Q The entire section.
       21   ovarian carcinogenesis?                                   21      A Yeah, yeah. I just want to check this out.
       22      MS. AHERN: Objection. Form.                            22         I see these references.
       23      THE WITNESS: Could you specifically tell me what       23      Q By the way, I'm not disagreeing with you --
       24   you're thinking about? What -- what are you referring     24   with that statement.
       25   to?                                                       25      A I notice the first reference is from Ness,


                                                    Page 159                                                       Page 161
        1   BY MR. DEARING:                                            1   who's written on this subject. And I don't say I
        2      Q Your textbook, Chapter 14, just past what we          2   entirely agree with her. In fact, I don't.
        3   read previously.                                           3          287 -- who has been an expert witness for
        4      MS. AHERN: Page? Sorry.                                 4   plaintiffs.
        5      MR. DEARING: Let me find it.                            5          287...
        6      MS. AHERN: Okay.                                        6      Q Did you believe her before she became an
        7      MR. DEARING: Oh. I was looking right at it and          7   expert witness for plaintiffs?
        8   just didn't see it.                                        8      A No.
        9   BY MR. DEARING:                                            9          287. Gee, you know, I'm not sure that that
       10      Q Under your section entitled "Inflammation."          10   reference is correct. I'd have to read the article
       11      MS. AHERN: Page, I'm sorry.                            11   specifically because it's -- the title of the article
       12      MR. DEARING: I'm sorry, page 682.                      12   is "The Fallopian Tube: Primary Site of Most Pelvic
       13      MS. AHERN: Thank you.                                  13   High-Grade Serous Carcinomas." It doesn't say anything
       14      MR. DEARING: Chapter 14.                               14   about retrograde menstruation, but anyway. So it would
       15          Let me see if I can blow this up so we can all     15   be nice to see that reference.
       16   see it.                                                   16          And then, finally, evidence of -- type 1
       17   BY MR. DEARING:                                           17   tumors. Let's see, 95. Okay.
       18      Q It says under "Inflammation" -- and, again,          18          So your question, yes, that's stated. I said
       19   we're in the chapter called "Serous Epithelial Tumors     19   that there's problems with the -- with the references.
       20   of the Ovary." And specifically, we're talking about      20      Q Right. But the studies that pertain to that
       21   etiology and risk factors.                                21   topic that are referenced here, that is the proposition
       22          "Inflammation: It has been                         22   of those studies, right, that those three things,
       23      suggested that inflammation potentially                23   either the ovulation-induced surface damage or the
       24      cited by ovulation-induced surface                     24   retrograde menstruation or the introduction of foreign
       25      damage by retrograde                                   25   material through the vagina and uterine cavity, play an


                                                                                  41 (Pages 158 to 161)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 254 of 348 PageID:
                                   61028
                                               Robert Kurman, M.D.
                                                    Page 162                                                       Page 164
        1   important role in ovarian carcinogenesis?                  1      Q So -- but you chose to cite the articles that
        2       A I have to remind you that the inflammation           2   do support that proposition, that these foreign
        3   that is described there is entirely different from the     3   particles can migrate through the female genital tract;
        4   inflammation induced by talc, one being -- the latter      4   right?
        5   being a foreign-body giant cell reaction and this being    5      A That's what --
        6   the usual type of chronic inflammation.                    6      MS. AHERN: Objection.
        7       Q Well, you use the words "introduction of             7      THE WITNESS: -- was --
        8   foreign material through the vagina and uterine            8   BY MR. DEARING:
        9   cavity." So it may not be talc, but you're talking         9      Q You don't even reference the ones that don't
       10   about a foreign material that would evoke the kind of     10   suggest that, do you?
       11   response you're talking -- the kind of foreign-body       11      MS. AHERN: Objection. Form. Misstates what the
       12   reaction you're talking about; right?                     12   actual text says and what his testimony has been.
       13       MS. AHERN: Objection. Form.                           13   BY MR. DEARING:
       14       THE WITNESS: I'll have to say that it's in there.     14      Q You didn't offer the -- any alternative
       15   It's quite speculative.                                   15   suggestion in this short chapter on inflammation that
       16   BY MR. DEARING:                                           16   suggests foreign materials cannot pass through the
       17       Q All right. Did you believe that to be true in       17   vagina and uterine cavity; right?
       18   2011 when you published this book?                        18      MS. AHERN: Objection. Form. That's a section on
       19       A Well, you know, again, what was in there was        19   inflammation, not migration.
       20   what we felt at the time.                                 20      MR. DEARING: I'm sorry. I meant to say
       21       Q By the way, the Ness study --                       21   "inflammation."
       22       A Yeah.                                               22      THE WITNESS: Again, the inflammation is not the
       23       Q -- that it cites --                                 23   type that we see with talc.
       24       A Yeah.                                               24   BY MR. DEARING:
       25       Q -- is a talc study, isn't it?                       25      Q Do you agree, over time, that chronic


                                                    Page 163                                                       Page 165
        1       A I'll have to read the article.                       1   inflammation in gynecologic tissue can cause DNA damage
        2       Q You would at least agree that the introduction       2   and maybe cancer?
        3   of foreign material through the vagina and uterine         3      MS. AHERN: Objection. Form.
        4   cavity was biologically plausible to you when you wrote    4      THE WITNESS: Could you be more specific and repeat
        5   it, right, or you wouldn't put it in your textbook?        5   that question.
        6       MS. AHERN: Objection. Form.                            6   BY MR. DEARING:
        7       THE WITNESS: Again, as I said, a textbook reflects     7      Q Do you believe that, over time, chronic
        8   the general consensus of what's out there.                 8   inflammation in a particular part of gynecologic tissue
        9   BY MR. DEARING:                                            9   can cause DNA damage and result in some type of
       10       Q Okay.                                               10   gynecologic cancer?
       11       A It may not necessarily reflect my own personal      11      MS. AHERN: Objection. Form.
       12   opinion about it because we have to be fair and           12      THE WITNESS: Well, when we -- when we talk about
       13   acknowledge what's out there.                             13   causation and initiation of cancer, it has to be viewed
       14       Q So the general consensus out there is that the      14   at the earliest stage, at a nonlesion that, as a result
       15   introduction of foreign material through the vagina --    15   of, in this case, inflammation, undergoes neoplastic
       16       A I didn't say the general consensus. I said --       16   change.
       17       Q You did. Those were your words.                     17          You can see inflammation in well-formed tumors
       18       A Well, I misspoke.                                   18   that can be associated with factors that -- cytokines
       19          I said that there -- those studies are out         19   or chemokines, whatever -- that participate in the
       20   there; people believe it, and that's what was reflected   20   progression of a tumor, but that's not initiation.
       21   in the textbook.                                          21   That's not causation. And that's what we're really
       22       Q There are also studies out there that --            22   talking about.
       23   presumably, that suggest that particles can't migrate     23   BY MR. DEARING:
       24   through the vagina.                                       24      Q Do you believe that, with regard to peritoneal
       25       A That's true.                                        25   malignancies, apart from asbestos, radiation, chronic


                                                                                  42 (Pages 162 to 165)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 255 of 348 PageID:
                                   61029
                                               Robert Kurman, M.D.
                                                    Page 166                                                      Page 168
        1   inflammation, organic chemicals, and nonasbestos          1   nonasbestos mineral fibers may be an etiologic agent of
        2   mineral fibers may be etiologic agents in some cases?     2   some peritoneal malignancies?
        3      MS. AHERN: Objection. Form.                            3      THE WITNESS: What --
        4      THE WITNESS: Are you reading this from someplace?      4      MS. AHERN: Objection. Form.
        5   BY MR. DEARING:                                           5      THE WITNESS: I'm sorry.
        6      Q I'm reading it right off my outline                  6      MS. AHERN: Go ahead.
        7   regarding --                                              7      THE WITNESS: What peritoneal malignancies are you
        8      A Yeah. But does your outline come from                8   talking about?
        9   something?                                                9   BY MR. DEARING:
       10      Q It comes from several places, but let me ask        10      Q Any peritoneal malignancies. Think of any
       11   you the question again if you didn't get it.             11   kind you want.
       12         I'm referring to peritoneal malignancies.          12      A The only peritoneal malignancy is malignant
       13   Okay. Aside from asbestos, radiation, chronic            13   mesothelioma. That's the only one there is.
       14   inflammation, organic chemicals, and nonasbestos         14      Q Well, maybe I'm coming at this the wrong way.
       15   mineral fibers may be etiologic agents in some cases.    15         How do you define the phrase "etiologic
       16      MS. AHERN: Objection. Form.                           16   agent"?
       17   BY MR. DEARING:                                          17      MS. AHERN: Objection. Form.
       18      Q Do you agree with that?                             18      THE WITNESS: How do you define it?
       19      A I'd like to see where you're quoting that           19   BY MR. DEARING:
       20   from.                                                    20      Q Well, let's find out.
       21      Q Do you agree with that statement or not?            21         I'm looking at Chapter 13 of your book, which
       22      A I want to see what you're quoting. I'm not          22   is written by Dr. Julie Irving and Dr. Philip Clement.
       23   going to just make a comment.                            23         Did you edit this chapter?
       24      Q You don't have an opinion about it?                 24      A Well, I edited the textbook.
       25      MS. AHERN: Check the prompter because I think that    25      Q Did you edit this chapter?


                                                    Page 167                                                      Page 169
        1   your sentence is incomplete, which is what's confusing    1      A I may -- you know, there was three of us, as I
        2   him and me.                                               2   mentioned. I'm not sure if I edited that chapter or
        3          Can you go back up.                                3   one of my other co-editors edited it.
        4      MR. DEARING: I can ask the question again.             4      Q In this chapter, under the subheading
        5      MS. AHERN: Go back up and take a look at it in         5   "Malignant Mesothelioma" is described "clinical
        6   writing. It might help.                                   6   features." And in the third paragraph of that section,
        7      MR. DEARING: Okay. Let me ask this question            7   starting with "More than 80 percent," that's referring
        8   again.                                                    8   to a study. Halfway through that paragraph, it says:
        9   BY MR. DEARING:                                           9          "Asbestos fibers, however, have
       10      Q I think I asked it right the first time, so         10      been identified with special techniques
       11   I'm going to say it slowly.                              11      in some of these women."
       12          With regard to peritoneal malignancies --         12          And they're talking about the malignant
       13   okay? Talking about peritoneal malignancies. Aside       13   mesothelioma patients.
       14   from asbestos -- well, do you believe asbestos can       14          "Aside from asbestos, radiation,
       15   cause peritoneal malignancies?                           15      chronic inflammation, organic chemicals
       16      MS. AHERN: Objection. Form.                           16      and nonasbestos mineral fibers may be
       17          Type?                                             17      etiologic agents in some cases."
       18      THE WITNESS: That's controversial. It's not           18          So in that sentence, what do they mean by
       19   clear.                                                   19   "etiologic agents"?
       20   BY MR. DEARING:                                          20      A Good question. I'm not sure what they mean.
       21      Q Do you have an opinion either way whether --        21   I mean, do they mean they're just present there or do
       22      A I'm not -- it may or may not. I don't think         22   they cause it? Not clear to me.
       23   that the data is sufficiently robust to make a comment   23      Q If you were to use the term "etiologic agent,"
       24   like that -- a definitive comment like that.             24   what would it mean to you?
       25      Q Well, do you believe chronic inflammation or        25      A Well, I've never -- I can't remember using it


                                                                                 43 (Pages 166 to 169)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 256 of 348 PageID:
                                   61030
                                               Robert Kurman, M.D.
                                                   Page 170                                                      Page 172
        1   in that context. I don't use it. It's not something I     1   etiology means to you.
        2   use.                                                      2         Do you agree with that definition?
        3      Q Would you consider asbestos to be an etiologic       3      A That definition just said that. It says
        4   agent of mesothelioma?                                    4   "causing or contributing."
        5      A In some instances, it might be, yes. But in          5      Q Okay. So let's substitute that word in this
        6   some instances it's not been demonstrated. It's been      6   phrase.
        7   much more clearly demonstrated in the pleura than it      7         Aside from asbestos, with regard to malignant
        8   has been in the peritoneum.                               8   mesotheliomas, do you think that nonasbestos mineral
        9      Q Would you agree that the HPV virus is a              9   fibers may cause or contribute to cause malignant
       10   etiologic agent of gynecologic cancers -- of some        10   mesotheliomas in some cases?
       11   gynecologic cancers?                                     11      MS. AHERN: Objection. Form.
       12      MS. AHERN: Objection. Form.                           12      THE WITNESS: Interesting they don't reference that
       13      THE WITNESS: Of cervical cancers and vulvar and       13   point.
       14   vaginal cancers, it is the causative agent.              14   BY MR. DEARING:
       15   BY MR. DEARING:                                          15      Q I'm reading it.
       16      Q So when a scientist or pathologist like             16      A Yeah, I know. I'm saying it's interesting
       17   yourself uses the term "etiology," you're essentially    17   that that point wasn't referenced with a citation.
       18   talking about a causative agent, aren't you?             18      Q Oh, I got you. Okay.
       19      MS. AHERN: Objection. Form.                           19         Well, it's clearly the opinion of the two
       20      THE WITNESS: Well, as I just said a moment ago,       20   authors of this chapter; right?
       21   some may refer to it in that way. I don't necessarily.   21      A The two authors, yes.
       22   BY MR. DEARING:                                          22      Q And this is a chapter you edited; right?
       23      Q Would you -- how would you use the term             23      MS. AHERN: Objection. Form.
       24   "etiology"? What does it mean to you?                    24      THE WITNESS: Like I said, I'm not sure that I
       25      A Why don't we just look it up, and we can all        25   edited it.


                                                   Page 171                                                      Page 173
        1   decide -- agree on it?                                    1   BY MR. DEARING:
        2     Q Okay. I don't want to impose a definition on          2      Q Okay. I'm sorry. I missed that.
        3   you.                                                      3          So when you talk about cause or contributing
        4     A Okay.                                                 4   to cause, what's the distinction between those two
        5     Q But according to Google --                            5   ideas, in your mind?
        6     A Google, huh? That's definitive.                       6      MS. AHERN: Objection. Form.
        7     MR. ROTMAN: According to the dictionary --              7      THE WITNESS: "Causation," to me, means that it's
        8   BY MR. DEARING:                                           8   an initiating factor in setting the process off.
        9     Q Well, let me ask you if you agree with this           9   "Contributing," to me, means that possibly the process
       10   definition.                                              10   is in place and it contributes to its further
       11         Is the medical definition of etiological --        11   progression.
       12   and it says, "causing or contributing to the             12   BY MR. DEARING:
       13   development of a disease or condition." That's what it   13      Q So contributing to cause, in your mind, is
       14   meant to me.                                             14   something that assists the progression of something
       15         Is that what it means to you?                      15   that already exists?
       16     A Causing or what?                                     16      MS. AHERN: Objection.
       17     MS. AHERN: Contributing.                               17   BY MR. DEARING:
       18     THE WITNESS: Contributing.                             18      Q Is that what you're saying?
       19   BY MR. DEARING:                                          19      A I didn't say "contributing." I separated
       20     Q Causing or contributing to cause a medical           20   "cause" and "contribution."
       21   condition.                                               21      Q Okay. I want to talk about "cause" and
       22     A Causing or contributing?                             22   "contributing to cause."
       23     Q Yes.                                                 23          Is there any distinction between those two
       24     A Well, again, contributing isn't cause.               24   terms?
       25     Q I didn't ask you that. I'm asking you what           25      MS. AHERN: Objection. Form. Asked and answered.


                                                                                 44 (Pages 170 to 173)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 257 of 348 PageID:
                                   61031
                                              Robert Kurman, M.D.
                                                   Page 174                                                      Page 176
        1      THE WITNESS: Can I see that book again, please. I     1      MS. AHERN: Objection. Form.
        2   still can't read that.                                   2      THE WITNESS: Well, I think you've got it twisted
        3   BY MR. DEARING:                                          3   around anyway.
        4      Q I'm not talking about that section now, but...      4   BY MR. DEARING:
        5      A Oh, you're not?                                     5      Q Okay. Well, correct me.
        6      Q No. I'm just generally wanting to get your          6      A It starts with initiation, and proliferation
        7   opinion on --                                            7   may be the next step. And then another step may, after
        8      A Oh, I see.                                          8   that, be promotion and then progression.
        9      Q -- "causing" or "contributing to cause."            9      Q So when you use the term "cause" or
       10      A Oh, I thought you were referring to that           10   "contribute to cause," are you referring to the
       11   sentence. Oh, so we're not?                             11   initiation phase of that process or the promotion phase
       12      Q No. That sentence uses the word "etiologic         12   or both?
       13   agent."                                                 13      MS. AHERN: Objection. Form. He's never said that
       14      A Uh-huh.                                            14   he uses those terms.
       15      MS. AHERN: Whatever you meant by that.               15      THE WITNESS: I don't use "contributing to cause"
       16   BY MR. DEARING:                                         16   how you understand it. I'm just saying "causation."
       17      Q So in your mind, is there any distinction          17   That, to me, is initiation, period.
       18   between contributing to cause something and causing     18   BY MR. DEARING:
       19   something?                                              19      Q If gynecologic cancers are multifactorial and
       20      MS. AHERN: Objection. Form. Asked and answered       20   they may have more than one cause, do you agree that
       21   very clearly just two minutes ago.                      21   there may be more than one thing contributing to cause
       22      THE WITNESS: Causation is one issue. Contributing    22   them?
       23   is another. They're not the same.                       23      MS. AHERN: Objection. Form.
       24   BY MR. DEARING:                                         24      THE WITNESS: There may be multiple causes for a
       25      Q I don't mean contributing. I mean                  25   neoplasm to begin, to get an issue, maybe multiple


                                                   Page 175                                                      Page 177
        1   contributing to cause. Okay? You're only giving me       1   causes.
        2   half of the phrase.                                      2   BY MR. DEARING:
        3      MS. AHERN: Objection.                                 3      Q So for the last time, breaking down that
        4   BY MR. DEARING:                                          4   sentence again, coming back full circle now, do you
        5      Q Is there a distinction between contributing to      5   agree that asbestos can be an etiologic agent of some
        6   a disease and -- I'm sorry.                              6   cancers --
        7          Is there a distinction between contributing to    7      MS. AHERN: Objection. Form.
        8   cause a disease and causing a disease? Is there any      8   BY MR. DEARING:
        9   distinction there?                                       9      Q -- of some mesotheliomas?
       10      A To me, yes.                                        10      MS. AHERN: Objection. Form.
       11      MS. AHERN: Objection. Form.                          11      THE WITNESS: Yes, it may be.
       12      THE WITNESS: To me, causation is much stronger.      12   BY MR. DEARING:
       13   Contributing may be involved; may not be. It's much     13      Q And do you believe chronic inflammation can be
       14   more wishy-washy.                                       14   a cause of malignant mesotheliomas?
       15   BY MR. DEARING:                                         15      MS. AHERN: Objection. Form.
       16      Q Do you agree that almost all gynecologic           16      THE WITNESS: Again, I'd like to see the data for
       17   cancers are multifactorial in that they may have more   17   that.
       18   than one cause?                                         18   BY MR. DEARING:
       19      A Yes, that's probably true.                         19      Q So you have no opinion on that without looking
       20      Q Do you believe in the cancer progression model     20   at a --
       21   of initiation, promotion, proliferation?                21      A Yeah, I don't -- I don't agree with that.
       22      MS. AHERN: Objection. Form.                          22      Q Okay. And do you believe that nonasbestos
       23   BY MR. DEARING:                                         23   mineral fibers can be a etiologic agent or cause of
       24      Q Do you agree that that's a reasonable cancer       24   some malignant mesotheliomas?
       25   model?                                                  25      MS. AHERN: Objection. Form.


                                                                                45 (Pages 174 to 177)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 258 of 348 PageID:
                                   61032
                                                        Robert Kurman, M.D.
                                                                Page 178                                                Page 180
        1     THE WITNESS: Same thing, I don't -- I'd like to               1   don't know.
        2   see the data that they're alluding to.                          2       Q Would you expect the stromal tissue to react
        3   BY MR. DEARING:                                                 3   the same way the epithelial tissue would react in
        4     Q Well, you would at least agree with me that                 4   humans?
        5   the two authors of that chapter believe that, wouldn't          5       A Well, they're different. So I don't know how
        6   you?                                                            6   it would react.
        7     MS. AHERN: Objection. Form.                                   7       Q If talc can cause p53 mutations in tubal
        8     THE WITNESS: The two authors appear to believe                8   cells, would you expect that it could also cause
        9   that.                                                           9   cancer?
       10     MR. DEARING: Mind if we take a break?                        10       MS. AHERN: Objection. Form.
       11     MS. AHERN: Sure.                                             11       THE WITNESS: Are you speculating that, or has
       12     VIDEO OPERATOR BROWN: Time is now 2:15. Going off            12   it -- I haven't seen data to that effect.
       13   the record.                                                    13   BY MR. DEARING:
       14           (Recess taken.)                                        14       Q Right. I'm asking -- I'm asking
       15     VIDEO OPERATOR BROWN: The time is now 2:34. Back             15   hypothetically right now. If talc could evoke a p53
       16   on the record.                                                 16   mutation in tubal cells, do you think that talc could
       17   BY MR. DEARING:                                                17   cause cancer in tubal cells?
       18     Q Doctor, you said earlier that you expect that              18       A Not necessarily.
       19   talc exposure would elicit a foreign-body giant cell           19       Q Same with ovarian cells?
       20   granulomatous response within the body; right?                 20       MS. AHERN: Objection. Form.
       21     A That's correct.                                            21   BY MR. DEARING:
       22     Q Would asbestos fibers invoke that same type of             22       Q If talc could evoke a p53 mutation in ovarian
       23   response?                                                      23   cells, do you think it could cause cancer?
       24     A I really am not an expert on asbestos --                   24       MS. AHERN: Objection. Form.
       25   asbestosis, but I'm not aware of it doing foreign              25       THE WITNESS: Not necessarily.


                                                                Page 179                                                Page 181
        1    body -- I really -- best thing not to get into that            1   BY MR. DEARING:
        2    because it's not something I deal with.                        2      Q You answered both of those questions with "not
        3       Q Have you ever looked at pulmonary tissue of               3   necessarily."
        4    someone suffering from mesothelioma?                           4      A Correct.
        5       A No, I haven't.                                            5      Q Does that mean you don't know, or does that
        6       Q So you've never observed asbestos in tissue at            6   mean you don't think so, or it could?
        7    all?                                                           7      MS. AHERN: Objection. Form.
        8       A That's right.                                             8      THE WITNESS: Well --
        9       Q Well, can you think of any reason why asbestos            9   BY MR. DEARING:
       10    wouldn't evoke the same kind of foreign-body reaction         10      Q Let me ask the question again.
       11    that talc would?                                              11      A P53 signatures have p53 mutations. They don't
       12       MS. AHERN: Objection. Form.                                12   all go to STIC. STIC has p53 mutations. They don't
       13       THE WITNESS: Different agents do different things.         13   all go on to invasive cancers. Just having a p53
       14    BY MR. DEARING:                                               14   mutation doesn't mean it's inevitably going to become
       15       Q Do you think that stroma contributes to the              15   cancer.
       16    development of ovarian cancer or tubal cancers?               16      Q Right. I'm not saying it necessary would
       17       MS. AHERN: Objection. Form.                                17   become cancer, but if talc can evoke a p53 response in
       18    BY MR. DEARING:                                               18   tubal cells or ovarian cells, would that be evidence to
       19       Q Or STIC?                                                 19   you that talc could cause cancer?
       20       A It might.                                                20      MS. AHERN: Objection. Form.
       21       Q How might the stroma contribute to the                   21      THE WITNESS: No.
       22    development of tubal cancer or ovarian cancer?                22   BY MR. DEARING:
       23       A Well, in many cancers, there's an interaction            23      Q Do you agree that one example of inflammation
       24    between the epithelium and the stroma. So it's                24   associated with foreign materials includes macrophages?
       25    certainly possible. I wouldn't rule it out, but I             25      MS. AHERN: Objection. Form.


                                                                                       46 (Pages 178 to 181)
                            Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 259 of 348 PageID:
                                   61033
                                               Robert Kurman, M.D.
                                                   Page 182                                                      Page 184
        1      THE WITNESS: Well, macrophages in tissue become        1   BY MR. DEARING:
        2   histiocytes, and that's part of a foreign-body giant      2     Q In your textbook in Chapter 12, written by
        3   cell granuloma.                                           3   Dr. Irving and Dr. Clement, entitled "Nonneoplastic
        4   BY MR. DEARING:                                           4   Lesions of the Ovary," the subtitle "foreign-body
        5      Q A minute ago, when I asked you about talc            5   Granulomas," the statement is:
        6   eliciting a p53 response and I asked you whether you      6         "A variety of foreign materials may
        7   thought that would be evidence that talc could cause      7     evoke a granulomatous reaction on the
        8   cancer in those cells, why did you say no?                8      ovarian and extraovarian peritoneal
        9      MS. AHERN: Objection. Form.                            9     surfaces, potentially mimicking
       10      THE WITNESS: Because, as I said, having a p53         10      malignant tumor at operation."
       11   mutation, in and of itself, does not inevitably mean a   11         So the authors here are a bit equivocal about
       12   tissue is going to become malignant.                     12   whether foreign materials will evoke a granulomatous
       13   BY MR. DEARING:                                          13   reaction; right? They're saying -- they use the word
       14      Q Is it suggestive that a tissue might become         14   "may" because it doesn't always happen; right?
       15   malignant?                                               15      MS. AHERN: Objection. Form.
       16      MS. AHERN: Objection. Form.                           16     THE WITNESS: "Variety of foreign materials may
       17      THE WITNESS: Not necessarily.                         17   evoke granulomatous reaction on" -- "may."
       18   BY MR. DEARING:                                          18   BY MR. DEARING:
       19      Q What does that mean, "not necessarily"?             19      Q Right.
       20      A As I said, you can have a p53 mutation and          20      A That's suggestive, but not definitive at all.
       21   have a perfectly benign lesion.                          21      Q So is it fair to say that sometimes they do
       22      Q You said a while ago that one reason you don't      22   and sometimes they don't evoke a granulomatous
       23   believe talc causes ovarian cancer is because you        23   reaction?
       24   haven't seen talc elicit a foreign-body granulomatous    24      MS. AHERN: Objection. Form.
       25   reaction in gynecologic tissue. Right? Isn't that        25      THE WITNESS: I don't even think they say that.


                                                   Page 183                                                      Page 185
        1   correct?                                                  1   They just say it might.
        2       A No, that's not the reason I don't think it          2   BY MR. DEARING:
        3   causes cancer.                                            3      Q Is it equally true that it might not?
        4       Q Tell me why you think talc doesn't cause --         4      MS. AHERN: Objection. Form.
        5   can't cause cancer.                                       5      THE WITNESS: Well, may not.
        6       A Because there's been absolutely no evidence in      6   BY MR. DEARING:
        7   the literature that it does.                              7      Q Do you agree that whether the body reacts to a
        8       Q Would you agree with me that foreign materials      8   foreign particle by macrophage or granuloma depends in
        9   don't always evoke granulomatous reactions in ovarian     9   part on the body's interpretation of that particle and
       10   tissue?                                                  10   its size?
       11       MS. AHERN: Objection. Form.                          11      MS. AHERN: Objection. Form.
       12   BY MR. DEARING:                                          12      THE WITNESS: I don't know anything about the size
       13       Q Or extraperitoneal tissue?                         13   business. Size.
       14       MS. AHERN: Objection. Form.                          14   BY MR. DEARING:
       15       THE WITNESS: I haven't evaluated other foreign       15      Q So you are saying that the size of a foreign
       16   bodies or agents.                                        16   material is not -- in no way influences whether the
       17   BY MR. DEARING:                                          17   body tries to sequester that particle with macrophages
       18       Q So are you agreeing or disagreeing or do you       18   versus giant cell granulomas?
       19   not know that foreign materials don't always evoke       19      MS. AHERN: Object to the form.
       20   granulomatous reaction on ovarian and extraovarian       20      THE WITNESS: It may. I mean, different sizes of
       21   peritoneal services?                                     21   talc may have -- may induce the same thing. I'm not
       22       MS. AHERN: Objection. Form. Asked and answered.      22   sure the size is that relevant.
       23       THE WITNESS: I'd like to see the data, and then I    23   BY MR. DEARING:
       24   could make a decision. I haven't seen it.                24      Q If a macrophage could engulf a talc particle,
       25   ///                                                      25   you wouldn't expect to see a giant cell granulomatous


                                                                                 47 (Pages 182 to 185)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 260 of 348 PageID:
                                   61034
                                                Robert Kurman, M.D.
                                                    Page 186                                                       Page 188
        1   response, would you?                                       1   BY MR. DEARING:
        2      MS. AHERN: Objection. Form.                             2      Q Why do you think he knows nothing about
        3   BY MR. DEARING:                                            3   gynecologic pathology if you haven't read his stuff?
        4      Q Because the macrophage handles it?                    4      A Because he's a pulmonary pathologist.
        5      MS. AHERN: Same objections.                             5   Pulmonary pathologists don't look at gynecologic
        6      THE WITNESS: Well, generally speaking, from what        6   specimens.
        7   I've read about it, these particles are too large for a    7      Q Well, he's also a general pathologist, a
        8   single macrophage to envelope it, which results in         8   surgical pathologist, and he has been a -- well --
        9   another macrophage coming along with it and membranes      9      A Well, I'm not impugning his -- I'm just saying
       10   fuse and they engulf the particle.                        10   he's not a gynecologic pathologist. Let's put it that
       11   BY MR. DEARING:                                           11   way.
       12      Q Are you referring to talc particles?                 12      Q Okay. Are you aware that the publications
       13      A Yes.                                                 13   he's authored state that the talc particles he
       14      Q What's your basis for concluding that                14   typically finds in ovarian tissue, in pelvic lymph
       15   macrophages cannot engulf a talc particle?                15   nodes is in the 5-micron range, maybe 1 to 10 microns,
       16      MS. AHERN: Objection. Form.                            16   but average around 5 microns?
       17      THE WITNESS: It's been -- I believe it's been          17      MS. AHERN: Objection. Form. Are you talking
       18   stated -- shown in the literature that the particle       18   about publications or litigation reports?
       19   might be too large. It's going -- it's going to elicit    19      MR. DEARING: Publications.
       20   histiocytic reaction for sure.                            20      THE WITNESS: I don't remember reading about the
       21   BY MR. DEARING:                                           21   size of the particles.
       22      Q Well, do you agree with me that macrophages          22   BY MR. DEARING:
       23   may respond to very small particles whereas granulomas    23      Q If a talc particle found its way into ovarian
       24   may respond to larger particles or larger clusters of     24   tissue and it was about 5 to 10 microns in size, you
       25   particles?                                                25   would expect that to be handled by a macrophage,


                                                    Page 187                                                       Page 189
        1       MS. AHERN: Objection.                                  1   wouldn't you, not a giant cell?
        2       THE WITNESS: I haven't seen data that divides it       2      MS. AHERN: Objection. Form.
        3   up that way.                                               3      THE WITNESS: You're stating a big "if," namely
        4   BY MR. DEARING:                                            4   that it gets into ovarian tissue, which I think is --
        5       Q You remember who Dr. John Godleski is, don't         5   BY MR. DEARING:
        6   you?                                                       6      Q I'm going to show you pictures of it in
        7       A I know the name. I know he's involved in this        7   ovarian tissue in just a minute.
        8   litigation.                                                8      A I don't care if you show pictures of it. I
        9       Q Right. He testified in the same trial you            9   don't think it means it's even there. Biologically, it
       10   did.                                                      10   can be a complete contaminant.
       11       A Hmm.                                                11      Q So are you saying there's no possible way talc
       12       Q And he is a pathologist and a microscopist at       12   can get into any ovarian tissue?
       13   Harvard. Well, he's retired, but he spent his career      13      A Well, it's been described. Let's put it that
       14   at Harvard.                                               14   way. It has been described.
       15          Have you read any of his publications?             15      Q What does that mean, "it's been described"?
       16       A No.                                                 16   I've been describing it all day.
       17       Q Have you read any of his opinions about talc        17      A It's been described that talc is present in
       18   in tissue, particularly in the size of particles he       18   ovarian tissue in users or nonusers, as I remember from
       19   typically finds in tissue?                                19   the Heller article.
       20       MS. AHERN: Objection. Form.                           20      Q We can talk about Heller if you like, but the
       21       THE WITNESS: He's a pulmonary pathologist, as I       21   fact of the matter is if a talc particle gets to
       22   recall, knows nothing about gynecologic pathology.        22   ovarian tissue and it's between 1 and 10 microns in
       23   Having said that, I don't recall specifically reading     23   size, wouldn't you expect that would attract a
       24   his summation of his opinions regarding the size of       24   macrophage, not a giant cell?
       25   talc particles.                                           25      MS. AHERN: Objection. Form.


                                                                                  48 (Pages 186 to 189)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 261 of 348 PageID:
                                   61035
                                               Robert Kurman, M.D.
                                                    Page 190                                                             Page 192
        1      THE WITNESS: I don't -- as I said, I haven't read      1          Do you have any reason to disagree with that?
        2   anything about -- specifically about the size of          2       MS. AHERN: Object to the form.
        3   particles and whether it's engulfed by a single           3       THE WITNESS: I want to go back and sort of read
        4   macrophage or by a giant cell.                            4    this Materials and Methods a little better.
        5   BY MR. DEARING:                                           5    BY MR. DEARING:
        6      Q So if you don't know whether a macrophage            6       Q If you want to take time and read the whole
        7   would respond to it or a giant cell respond to it, how    7    study --
        8   can you say that talc can't cause cancer because it       8       A No, I'm just reading --
        9   would evoke a giant cell granulomatous response?          9       Q -- we can go off the record and you can do
       10      MS. AHERN: Objection. That's not at all what he       10    that.
       11   said.                                                    11       A I'm reading materials and methods. I'm up to
       12      THE WITNESS: We have to get back to precursor         12    your paragraph.
       13   lesions and finding evidence of carcinomatous stimulus   13       Q Keep in mind the question is are these -- one,
       14   in those cells, and those are fallopian tube             14    two, three, four, five, six, seven, eight -- eight
       15   epithelium, not ovarian cells.                           15    scientists reporting finding talc particles in the 1-
       16         (The document referenced below was                 16    to 10-micron range in pelvic lymph nodes and
       17      marked Deposition Exhibit 6 for                       17    gynecologic tissue?
       18      identification and is appended hereto.)               18       A Okay. So they're finding talc particles in
       19   BY MR. DEARING:                                          19    lymph nodes, and do they say ovarian tissues here?
       20      Q I'm handing you a study by Dr. Sandra McDonald      20    Probably. It is mainly lymph nodes, it sounds like.
       21   and others, including Dr. Godleski, entitled             21    They're focused on the lymph nodes.
       22   "Correlative Polarizing Light and Scanning Electron      22       Q They are. You're right.
       23   Microscopy for the Assessment of Talc in Pelvic Region   23       A So they find it in lymph nodes, yes. What's
       24   Lymph Nodes."                                            24    your question?
       25         Have you ever seen that study? It's fairly         25       Q The size of the particles they're finding in


                                                    Page 191                                                             Page 193
        1   new. I don't believe it's referenced in your              1   pelvic lymph nodes are 1 to 10 microns, right, as they
        2   materials.                                                2   report it?
        3     A Yeah, I don't think I've seen this.                   3     A Yes.
        4     MS. AHERN: Take your time if you want to read it.       4     Q And if you would turn over to page 9,
        5     THE WITNESS: What's your question?                      5   Figure 3, there's a photomicrograph.
        6   BY MR. DEARING:                                           6     A Hold on one sec.
        7     Q My question is, over on page 3 at the top,            7     MS. AHERN: Take your time. If you need to go off
        8   Dr. McDonald describes the talc being visualized using    8   the record, we can.
        9   polarizing microscopy, and she says:                      9     THE WITNESS: Okay. What were you saying now? I'm
       10         "Talc is readily visible under                     10   sorry.
       11     polarizing light microscopy where it may               11   BY MR. DEARING:
       12     be found as both plates and fibrous form               12     Q Okay. Page 9. There are three
       13     and where the particles or fibers are                  13   photomicrographs. And I just want to talk about one of
       14     brightly birefringent and often in the                 14   them.
       15     size range of 1 to 10 microns."                        15           Do you see the paragraph that starts
       16     MS. AHERN: I'm sorry. Do you have a copy of that?      16   "Figure 3"?
       17     MR. DEARING: I do.                                     17     A I'm on Figure 4.
       18     MS. AHERN: Thank you. Page 3.                          18     Q Page 9.
       19     MR. DEARING: Page 3.                                   19     A I see page --
       20   BY MR. DEARING:                                          20     Q Page 9.
       21     Q What she's describing here are talc particles        21     A Page 9. Yes. Okay.
       22   that she's seen in ovarian tissue and pelvic lymph       22     Q And the paragraph that starts with the word
       23   nodes. And she's saying that the size range that she     23   "Figure 3."
       24   sees and that Dr. Godleski has seen repeatedly is in     24     A Yes.
       25   the 1- to 10-micron range.                               25     Q Okay. Figure 3 -- and that's the table above,


                                                                                     49 (Pages 190 to 193)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 262 of 348 PageID:
                                   61036
                                                Robert Kurman, M.D.
                                                    Page 194                                                      Page 196
        1   but Figure 3 shows "correlative polarizing light           1      lymph node."
        2   microscopy, SEM, and EDX from Case 18 in the digestate     2         So, again, there's another photomicrograph of
        3   study."                                                    3   birefringent particles being sequestered by
        4          Below is some photomicrographs.                     4   macrophages; right?
        5          "Going clockwise from upper left,                   5      MS. AHERN: Objection. Form.
        6      Panel A shows polarized light microscopy                6   BY MR. DEARING:
        7      showing numerous birefringent particles,                7      Q At least according to those six, seven
        8      general size range 1 to 5 microns within                8   authors?
        9      the macrophages of the left external                    9      A So what -- I need -- could you read that -- I
       10      iliac lymph node."                                     10   couldn't follow. I was looking at the pictures. What
       11          Do you see that.                                   11   were you reading exactly?
       12      A In Figure A?                                         12      Q The caption underneath the photomicrograph.
       13      Q Do you see where I'm reading from?                   13      A Oh. The caption --
       14      A "Going clockwise from upper left Panel A shows       14      MS. AHERN: Just read it to yourself so she doesn't
       15   polarized light microscopy, H&E" --                       15   have to write it down.
       16          A is H&E? It sure doesn't look like an H&E.        16   BY MR. DEARING:
       17          "-- shows" --                                      17      Q You can stop after A because that's all I'm
       18      THE REPORTER: Doctor, if you're reading, I'm not       18   talking about.
       19   picking it up.                                            19      A Okay.
       20      THE WITNESS: I'm sorry.                                20      Q So do you agree with me that that's another
       21          Figure 3 shows correlative polarizing light        21   photomicrograph showing birefringent particles being
       22   microscopy, SEM, and EDX from Case 18 in the digestate    22   engulfed by macrophages?
       23   study (Table 1). Going clockwise from upper left,         23      A Well, honestly, I can't tell from this
       24   Panel A shows polarized light microscopy, H&E, showing    24   black-and-white photo what they are. I see polarized
       25   numerous birefringent particles, general size from 1 to   25   light and I -- I see polarized, you know, particles,


                                                    Page 195                                                      Page 197
        1   5 micrograms -- microns within the macrophages of the      1   but I don't see what they are.
        2   left external iliac lymph node.                            2      Q Do you agree that the eight authors are
        3   BY MR. DEARING:                                            3   reporting those to be --
        4      Q Right. That's what I want to point out to             4      A Well, maybe they are. But they reported that.
        5   you.                                                       5   I don't see it. I can't convince myself on this
        6      A Yeah.                                                 6   picture that --
        7      Q Okay. Do you agree that what the authors are          7      Q I'm not asking you to. I'm asking you to
        8   saying there is that the birefringent particles            8   agree with me or not that the eight authors of this
        9   observed in the 1- to 5-micron range are being             9   paper identify these birefringent particles in this
       10   sequestered by macrophages? Right?                        10   photomicrograph as being engulfed by macrophages.
       11      A Okay.                                                11      MS. AHERN: Objection. Form.
       12      MS. AHERN: Objection. Form.                            12      THE WITNESS: Maybe that's what they say, but they
       13   BY MR. DEARING:                                           13   don't -- haven't convinced me in the picture. If I
       14      Q Do you agree with that?                              14   were a reviewer, I wouldn't accept that at all.
       15      A Yeah.                                                15   BY MR. DEARING:
       16      Q If you turn the page, there's another                16      Q Well, of course not. You would want to see
       17   photomicrograph on page 11. And, again, they note in      17   the photomicrograph that they looked at.
       18   the caption underneath it "Numerous birefringent          18      A Yeah. I mean, they're showing this picture,
       19   particles under polarized light microscopy" --            19   but it's a gemish, black and white, some little white
       20      MS. AHERN: Where are you? I'm sorry.                   20   particles. I can't tell if it's a macrophage or not.
       21      MR. DEARING: Page 11.                                  21      Q If you will turn next to the discussion
       22   BY MR. DEARING:                                           22   section. That's the next page.
       23      Q "Numerous birefringent particles                     23      A Okay.
       24      under polarized light microscopy within                24      Q The scientists write:
       25      the macrophages of a left external iliac               25          "The accurate identification of


                                                                                  50 (Pages 194 to 197)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 263 of 348 PageID:
                                   61037
                                               Robert Kurman, M.D.
                                                   Page 198                                                       Page 200
        1     talc in pelvic tissues is important                     1   BY MR. DEARING:
        2     because it documents exposure by                        2      Q Okay. Well, presume for me, if you would,
        3     demonstrating the presence of talc in                   3   that they're right, that they are looking at talc
        4     these tissues and provides evidence and                 4   particles in the 1- to 5-micron range being engulfed by
        5     support of the role of talc in the                      5   macrophages.
        6     epidemiological association with ovarian                6          Do you agree with me, if they're correct, that
        7     cancer in case-control studies."                        7   that's evidence of exposure to talc?
        8     A Yes.                                                  8      MS. AHERN: Objection. Form.
        9     Q Do you agree that the evidence of talc found          9      THE WITNESS: You know, as -- this -- well, if
       10   within the tissue being engulfed by macrophages is       10   they've been exposed to talc, by seeing evidence of it
       11   evidence of talc exposure?                               11   in the tissue, could essentially also mean superimposed
       12     MS. AHERN: Objection. Form. He just said he            12   particles on top of the tissue that could be there as a
       13   couldn't tell they were being engulfed by macrophages.   13   contaminant. So I'm not convinced.
       14   BY MR. DEARING:                                          14   BY MR. DEARING:
       15     Q Well, if you presume those talc particles are        15      Q Okay. How would it have gotten there as a
       16   being engulfed by macrophages and that these six         16   contaminant?
       17   authors are correct in what they observed --             17      A Because talc is all over the place.
       18     A That doesn't --                                      18      Q So you're talking about after it's removed
       19     Q -- do you believe that that's evidence of            19   from the body?
       20   exposure?                                                20      A Yeah.
       21     A It doesn't convince me. I'm not convinced by         21      Q Okay.
       22   these photos, frankly.                                   22      A When you look at a pathology laboratory, the
       23     Q I'm not asking you to be convinced by the            23   laboratory counters, the paper towels, the ceramics --
       24   photos.                                                  24      Q Right.
       25     A Well, there were six authors. Doesn't matter.        25      A -- it all contains talc.


                                                   Page 199                                                       Page 201
        1   They can be all wrong for all I know.                     1      Q Of course.
        2      Q Do you think they're all wrong?                      2      A It could easily be introduced into the
        3      A I have -- I can't see it, and that's what            3   specimen.
        4   you're asking me. Do I see it and believe it? I don't     4      Q Sure. And is a macrophage going to engulf a
        5   believe it.                                               5   talc particle that's been taken out of the body and is
        6      Q One of these authors, by the way, is William         6   sitting on a lab or a paper towel?
        7   Welch that we talked about earlier.                       7      A As I said --
        8      A We talked about him earlier.                         8      MS. AHERN: Objection.
        9      Q Do you think he's wrong?                             9      THE WITNESS: -- I can't distinguish that this is
       10      A Well, I don't even know what Bill's role was        10   in a macrophage. It may be talc particles sitting on
       11   in this. He may have just said, "Oh, yeah. It was the    11   top of the macrophage.
       12   lymph nodes with something in them."                     12   BY MR. DEARING:
       13      Q Is it your testimony today that these six           13      Q Several times in response to my questions,
       14   authors looked at these photomicrographs and got it      14   you've answered with "I'm not convinced."
       15   wrong --                                                 15         Is that the burden that you're applying to
       16      MS. AHERN: Objection.                                 16   your opinions in this case is that if you're not
       17   BY MR. DEARING:                                          17   convinced, then it's not so?
       18      Q -- and then published it in a peer-reviewed         18      MS. AHERN: Objection. Form.
       19   journal?                                                 19      THE WITNESS: I can only say what I believe in
       20      MS. AHERN: Objection. Form. That's not his            20   based on the scientific evidence. In this case, I'm
       21   testimony. He's already given you an answer to this      21   not convinced that the talc particles or the
       22   question.                                                22   birefringent particles that are being shown in these
       23      THE WITNESS: They obviously believe it. I -- if       23   figures are actually within the tissue as a result of
       24   you were -- in -- my opinion is they wrote it, but I     24   them actually being engulfed or whether they are there
       25   don't see it.                                            25   as a possible -- as a contaminant.


                                                                                 51 (Pages 198 to 201)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 264 of 348 PageID:
                                   61038
                                                Robert Kurman, M.D.
                                                    Page 202                                                       Page 204
        1   BY MR. DEARING:                                            1   saying. I wondered what led them to do polarization of
        2      Q Is that the standard that you're using for            2   these lymph nodes if they saw nothing. You know, we
        3   causation, that you're not convinced?                      3   routinely don't polarize tissues in surgical pathology,
        4      MS. AHERN: Objection. Form. Misstates and               4   as even your expert acknowledged.
        5   mischaracterizes his testimony.                            5         So what led them to do -- to do polarization
        6      MR. DEARING: I don't know what his testimony is.        6   if there was no suspicion based on the H&E slides?
        7   I'm asking him.                                            7   BY MR. DEARING:
        8      THE WITNESS: I told you earlier what I expected to      8       Q Right. Well, I'm not really asking you what
        9   see in causation. And that was a fulfillment of all        9   you're wondering about. I'm just asking you if you saw
       10   those criteria that we discussed at multiple times.       10   any statements in there -- and I know you haven't read
       11   BY MR. DEARING:                                           11   it word for word, but you spent about 15 minutes
       12      Q Right. But the fulfillment of that criteria          12   skimming over it.
       13   has to rise to a level of a preponderance of the          13         No mention of granulomatous giant cell
       14   evidence in court, and I want to know what standard       14   response to talc particles, is there?
       15   you're applying.                                          15       MS. AHERN: Objection. Form. He hasn't reviewed
       16         Is it until Dr. Kurman is convinced, or is it       16   the entire article.
       17   a preponderance of the evidence or something else?        17       THE WITNESS: From what I read in this 15 minutes,
       18      MS. AHERN: Objection. Form.                            18   I haven't seen that.
       19      THE WITNESS: A preponderance of the evidence, of       19   BY MR. DEARING:
       20   course.                                                   20      Q Okay. I looked through your CV and tried to
       21   BY MR. DEARING:                                           21   do a quick calculation. It looks like you've received
       22      Q Okay. So are you suggesting that applying the        22   somewhere in the neighborhood of $6 million in funding
       23   preponderance of the evidence to this study, that the     23   from pharmaceutical companies for research in your
       24   preponderance of the evidence suggests these six          24   career.
       25   authors got this wrong, that they're not observing talc   25         Does that sound about accurate to you?


                                                    Page 203                                                       Page 205
        1   particles being engulfed by macrophages?                   1       MS. AHERN: Objection. Form.
        2      MS. AHERN: Objection. Form. Argumentative.              2       THE WITNESS: No. I would like to see that.
        3   Misstates his testimony. He's already answered this        3   BY MR. DEARING:
        4   question. This is the first time he's looking at this      4       Q Okay.
        5   study. He hasn't reviewed the entire thing.                5       A Which pharmaceutical companies?
        6      MR. DEARING: He wasn't asked about preponderance        6       Q Look at your CV, if you like. It's under the
        7   of the evidence.                                           7   title "Pharmaceutical Companies Supported." It looks
        8      MS. AHERN: He's told you what his basic opinion is      8   like the Upjohn Company --
        9   from looking at the study in the last few minutes.         9       A Wait a minute. Wait a minute. Wait a minute.
       10   That's his opinion.                                       10       MS. AHERN: I'm sorry. What page are you on,
       11      THE WITNESS: I'm even wondering how they just          11   David, in the CV?
       12   decide to look at this particular lymph node without      12       THE WITNESS: I see it. It's page 58.
       13   mentioning that they saw some kind of funny reaction      13       MS. AHERN: Thank you.
       14   with the H&E slides that then led them to do              14   BY MR. DEARING:
       15   polarization. I didn't -- I can't find that.              15       Q Okay. It looks like the Upjohn Company gave
       16   BY MR. DEARING:                                           16   you 1.3 million and change for research.
       17      Q It's explained in there.                             17       A Wait a minute. You're looking at line 1,
       18      A Well, maybe you can point it out to me. This         18   right, Upjohn Company?
       19   is the first time I've seen the article.                  19       Q I'm going through the whole thing.
       20      Q In the brief skimming through that that you          20       A I see 1993 to 1995. I see 314,540.
       21   just did and the portions that you read, there was no     21       Q Keep going. There are other entries for
       22   mention of granulomatous giant cell responses to talc     22   Upjohn.
       23   particles, was there?                                     23       A Clinical at Wyeth Ayerst, '93 to '98, 59,000.
       24      MS. AHERN: Objection. Form.                            24          Randomized clinical -- that's a -- an NCI
       25      THE WITNESS: In my brief skimming, that's what I'm     25   study.


                                                                                  52 (Pages 202 to 205)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 265 of 348 PageID:
                                   61039
                                                Robert Kurman, M.D.
                                                    Page 206                                                      Page 208
        1          Merck, human papillomavirus, '99 to '03,            1   it anymore or they were someone else's opinions, the
        2   274,000.                                                   2   other author's opinions.
        3          You know, in case you're not aware of it, this      3          Are you saying you just -- you don't think
        4   money doesn't go directly to me. It goes to the            4   it's necessary to inform the reader that you're --
        5   university.                                                5       A Well, I'll have to think --
        6      Q I know.                                               6       Q -- a highly paid expert witness for Johnson &
        7      A Okay. You know that.                                  7   Johnson?
        8      Q I'm just asking you --                                8       MS. AHERN: Objection. Form.
        9      A Merck.                                                9       THE WITNESS: I'll have to think that out and make
       10      Q -- you've received approximately $6 million of       10   a decision.
       11   funding for research in your career from pharmaceutical   11   BY MR. DEARING:
       12   companies?                                                12       Q Okay. Do you know whether the next
       13      A Upjohn --                                            13   Blaustein's edition includes the epidemiology studies,
       14      MS. AHERN: Objection.                                  14   the 25 to 28 studies that show a statistically
       15   BY MR. DEARING:                                           15   significant increased risk of ovarian cancer in women
       16      Q Upjohn, Merck, Watson, Wyeth, and Pfizer.            16   who use talc for feminine hygiene?
       17      A All going to Hopkins. I don't get money. I           17       MS. AHERN: Objection. Misstates the literature.
       18   don't get paid that amount.                               18       THE WITNESS: We don't go into that degree of
       19      Q Does that number sound about right, though?          19   depth. It'll be a comment very similar -- maybe a
       20      A Well, I haven't added them all up, so I'd have       20   little bit more elaborate than what we had in the 2011
       21   to sit here in -- with a calculator and add it all up.    21   edition, but it's not going to -- it's not an
       22      Q How much have you earned testifying for              22   epidemiological textbook. It's not going to go into
       23   Johnson & Johnson to date?                                23   all those details.
       24      A Since I was first approached?                        24   BY MR. DEARING:
       25      Q Yes.                                                 25       Q As I just mentioned and as you've testified,


                                                    Page 207                                                      Page 209
        1       A A little over $190,000 since 2015.                   1   you don't necessarily agree with all of the statements
        2       Q Okay. And you haven't billed for any of your         2   made by other authors in this textbook; right?
        3   preparation work for this deposition; right?               3       A Right. As I said, the book is intended to
        4       MS. AHERN: Objection.                                  4   give a general overview of what's out there. I may not
        5       THE WITNESS: No. That includes partial billing         5   necessarily specifically agree with something. But we
        6   for this.                                                  6   felt, in fairness, it all needs to be discussed.
        7   BY MR. DEARING:                                            7       Q Well, it's not all being discussed because
        8       Q Okay.                                                8   you're not discussing both sides of these issues on
        9       A Not entirely, partial.                               9   everything; right?
       10       Q And the next edition of Blaustein's that you        10       A What -- both sides of what issues? I mean --
       11   said is on the way --                                     11       Q Well, for example, when we were talking
       12       A In press, yeah.                                     12   earlier about -- I don't remember now.
       13       Q -- in press --                                      13          Oh, we were talking about whether chronic
       14       A Almost in press.                                    14   inflammation, nonasbestos mineral fibers may be
       15       Q -- are you going to disclose in there               15   etiologic agents for malignant mesothelioma --
       16   somewhere that you are a paid witness for Johnson &       16   malignant -- perineal malignancies.
       17   Johnson in the talcum powder litigation?                  17          And you said, well, that's one position, but
       18       A I'll have to look at that. We don't --              18   you didn't offer the other position that those aren't
       19   there's some comment about talc, just very similar to     19   etiologic agents for peritoneal.
       20   what we said there. I don't know that it influenced --    20          So would you agree with me that you've -- you
       21   it influenced my -- again, it's a statement of what's     21   haven't explained both sides of some of these topics?
       22   out there in the literature.                              22       MS. AHERN: Objection. Form.
       23       Q Well, you are -- you've already said that you       23       THE WITNESS: Well, we've tried, to the best of our
       24   don't necessarily agree with some of the statements in    24   ability, to do so.
       25   this version, whether because you just don't agree with   25   ///


                                                                                  53 (Pages 206 to 209)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 266 of 348 PageID:
                                   61040
                                                Robert Kurman, M.D.
                                                     Page 210                                                      Page 212
        1   BY MR. DEARING:                                            1   to review for publication that offered some type of
        2      Q Would you agree that good scientists can have         2   cancer causation analysis that you thought was just
        3   differing opinions about cancer etiology?                  3   biologically not plausible, implausible, would you
        4      MS. AHERN: Objection. Form.                             4   still recommend that publication -- that study for
        5      THE WITNESS: That's a very, very general question.      5   publication?
        6   But if I frame it within the talc litigation, I would      6      MS. AHERN: Objection. Form. Incomplete
        7   venture to say that a reasonable scientist viewing --      7   hypothetical. Other problems.
        8   viewing all -- viewing the totality of this data, I        8      THE WITNESS: I would ask the author to present
        9   don't think anyone would agree to say that talc causes     9   more convincing evidence.
       10   ovarian cancer.                                           10   BY MR. DEARING:
       11   BY MR. DEARING:                                           11      Q Sure. So you wouldn't -- you wouldn't approve
       12      Q Are you saying that all of the plaintiffs'           12   or recommend for publication a study that wasn't
       13   experts, the 30 or so plaintiff experts, that you know    13   biologically plausible, right, in your mind?
       14   about, are not good scientists?                           14      A I would like to see the data and the evidence
       15      MS. AHERN: Objection. Form.                            15   that you're referring to, if there's a specific case
       16      THE WITNESS: I didn't say that.                        16   for me to answer this very general question.
       17   BY MR. DEARING:                                           17      Q I don't have a specific case. I'm asking you
       18      Q Okay. Well, my question is, do you agree with        18   a general question.
       19   me that good scientists can have differing opinions       19          The general question is, if you were reviewing
       20   about cancer etiology?                                    20   a study on some cause of cancer -- and I'm not even
       21      MS. AHERN: Objection. Form.                            21   using a specific, any cause of cancer -- a cause of
       22      THE WITNESS: It's neither good or bad. I'm saying      22   cancer that was being purported in a study and you felt
       23   that reasonable people looking at all this data, in my    23   like it wasn't biologically plausible, you would not
       24   opinion, would not disagree that this is -- that talc     24   recommend that paper for publication; right?
       25   causes ovarian cancer.                                    25      MS. AHERN: Objection. Form.


                                                     Page 211                                                      Page 213
        1   BY MR. DEARING:                                            1       THE WITNESS: I'd like to see the study that you're
        2      Q Right. I'm not asking you about this data.            2   talking about.
        3   I'm talking about cancer in general.                       3   BY MR. DEARING:
        4         For example, there are good scientists,              4       Q There is no study. I'm making it up.
        5   reputable, knowledgeable scientists that disagree with     5       MS. AHERN: Objection.
        6   you about your STIC theory; right?                         6       THE WITNESS: Well, I don't want to comment about
        7      MS. AHERN: Objection. Form.                             7   things that you make up.
        8      THE WITNESS: Not many. Not this day and age.            8   BY MR. DEARING:
        9   Even your expert agrees with us.                           9       Q Okay. So you don't have an opinion either way
       10   BY MR. DEARING:                                           10   whether -- if you reviewed a study that was suggesting
       11      Q I know. I'm not saying that. I'm saying              11   something that wasn't biologically plausible in your
       12   there are scientists that don't agree with you.           12   mind whether you'd approve it for publication?
       13         That doesn't make them bad scientists; right?       13       MS. AHERN: Objection. Form.
       14      A Didn't say they're bad scientists.                   14       THE WITNESS: You're making these hypothetical
       15      Q Do you currently sit on any editorial boards         15   questions that, to me, are -- I can't answer that.
       16   or peer review panels?                                    16   BY MR. DEARING:
       17      A I've taken my -- I retired from those.               17       Q You can't answer the simple question of
       18      Q So, no, you're not currently on any?                 18   whether a paper was sent to you to review that you felt
       19      A No.                                                  19   offered some theory that was not biologically
       20      Q When was the last time you sat on one?               20   plausible, in your mind, whether you would recommend it
       21      A Well, I -- when I retired in June of 2017, I         21   for publication? You can't answer that question?
       22   withdrew from the various editorial boards that I was     22       MS. AHERN: Objection. Form. Asked and answered
       23   on -- that I was currently on.                            23   several times.
       24      Q If you were sitting on a board -- editorial          24       THE WITNESS: No comment.
       25   board or a peer review panel and you were given a study   25   ///


                                                                                  54 (Pages 210 to 213)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 267 of 348 PageID:
                                   61041
                                               Robert Kurman, M.D.
                                                    Page 214                                                      Page 216
        1   BY MR. DEARING:                                           1      Q In fact, your textbooks often lead with a
        2      Q I thought that was an easy question.                 2   section on epidemiology in every chapter almost, don't
        3          All right. The second half of your report is       3   they?
        4   a criticisms of Dr. Kane.                                 4      A I said that earlier. I said sure, we do that,
        5          Do you agree?                                      5   but I'm not focusing in on an epidemiology review.
        6      A Yes.                                                 6      Q Well, it's full of epidemiological data, isn't
        7      Q And were you hired by Johnson & Johnson to           7   it?
        8   offer criticisms of Dr. Kane?                             8      A Yes, yes, yes.
        9      MS. AHERN: Object to the form.                         9      Q Okay. And, in fact, in one of your previous
       10      THE WITNESS: No.                                      10   editions, in the fifth edition, you actually have an
       11   BY MR. DEARING:                                          11   entire chapter devoted to epidemiology, don't you?
       12      Q Were you offered by Johnson & Johnson to offer      12      MS. AHERN: Objection. Form.
       13   your opinions about Dr. Kane's opinions?                 13      THE WITNESS: You'll notice we removed that.
       14      A I was asked --                                      14   BY MR. DEARING:
       15      MS. AHERN: Objection. Form.                           15      Q Yeah. But you felt like it was important for
       16      THE WITNESS: -- to review Dr. Kane's report and       16   pathologists to understand epidemiology, and that's why
       17   comment on it.                                           17   you put a chapter in this textbook; isn't it?
       18   BY MR. DEARING:                                          18      MS. AHERN: Objection. Form.
       19      Q One of the first things you say in your             19      THE WITNESS: In the fifth edition. And then we
       20   comments section about Dr. Kane -- on page 12, you       20   included it in each section in the sixth edition.
       21   write, "Although Dr. Kane offers opinions in a host of   21   BY MR. DEARING:
       22   areas outside her field, including epidemiology and      22      Q Right.
       23   cancer biology" --                                       23      A Of course, epidemiology is important.
       24      A I'm sorry. Where -- let's be on the same            24         (The document referenced below was
       25   page.                                                    25      marked Deposition Exhibit 7 for


                                                    Page 215                                                      Page 217
        1         Right in the beginning. Okay. Go ahead.             1      identification and is appended hereto.)
        2      Q You suggest in the last sentence of the first        2   BY MR. DEARING:
        3   paragraph that Dr. Kane is offering opinions in a host    3      Q I'm going to show you what's marked as
        4   of areas outside her field, including epidemiology and    4   Exhibit 7, which is that chapter on epidemiology.
        5   cancer biology; right?                                    5      MS. AHERN: Or a page from that chapter?
        6      A Yes.                                                 6      MR. DEARING: The front page. That's the cover
        7      Q You would agree with me, wouldn't you, that a        7   page from that chapter.
        8   pathologist, a learned, skilled pathologist, has a        8      MS. AHERN: From the fifth edition?
        9   working knowledge of epidemiology; right?                 9      MR. DEARING: The fifth edition.
       10      A Working knowledge --                                10      MS. AHERN: Okay. Exhibit 7. Do you have an extra
       11      MS. AHERN: Objection. Form.                           11   copy? Okay. Thank you.
       12      THE WITNESS: -- is different than expertise.          12   BY MR. DEARING:
       13   BY MR. DEARING:                                          13      Q And, as you can see, it's written by Dr. Mark
       14      Q I don't think she claimed to be an expert in        14   Schiffman, and it's Chapter 27.
       15   epidemiology.                                            15      A Yes.
       16      A Well, Dr. Kane, in her report -- she's been         16      Q And then he leads that chapter -- hopefully,
       17   asked to present pathology of ovarian cancer, as I       17   you can read that.
       18   understand it -- devotes exactly one paragraph to a      18      A Well, I'm looking at your handout.
       19   discussion of ovarian cancer, which is less than a       19      Q Okay. Yeah, even this one's hard to read.
       20   percent of her entire report, and spends nearly          20   I'm sorry. My daughter made that for me a couple days
       21   50 percent discussing epidemiology. Doesn't make sense   21   ago. It says:
       22   to me.                                                   22         "Most pathologists are part-time
       23      Q Well, you know how to read epidemiology             23      epidemiologists as well. Two medical
       24   studies, don't you?                                      24      disciplines are more closely allied
       25      A Yeah.                                               25      than" -- "the two medical disciplines


                                                                                 55 (Pages 214 to 217)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 268 of 348 PageID:
                                   61042
                                                Robert Kurman, M.D.
                                                    Page 218                                                       Page 220
        1      are more closely allied than many people                1   doing bench research and the pathologist who's doing
        2      realize. Epidemiologists study the                      2   surgical pathology. So, yes, of course, a surgical
        3      distribution and determinants of                        3   pathologist is going to be aware and understanding but
        4      diseases in human populations. In                       4   is not going to have expertise necessarily in cancer
        5      current medical practices, diseases are                 5   biology.
        6      often defined by histopathologic                        6   BY MR. DEARING:
        7      diagnoses or by clinical pathologic test                7      Q Well, pathologists have had training in cancer
        8      values."                                                8   biology, haven't they?
        9         Did I read that right?                               9      A Well, we read about it, we acquaint ourselves
       10      A You read that correct.                               10   with it, we go to lectures, we know something about it,
       11      Q And this is a chapter you actually edited;           11   but we are not experts in it necessarily.
       12   right?                                                    12      Q And cancer pathology papers often discuss cell
       13      MS. AHERN: Objection. Form.                            13   biology, don't they?
       14      THE WITNESS: The fifth edition, yes.                   14      A Yes.
       15   BY MR. DEARING:                                           15      Q You go on to state that your primary area of
       16      Q Okay. So there's nothing necessarily                 16   expertise is gynecologic pathology.
       17   inappropriate about a skilled, learned pathologist from   17         So tell me, what is your -- well, you've
       18   discussing pathology -- I mean, epidemiology; right?      18   already explained to us what your methodology is. Do
       19      A Of course. But the point is she's a                  19   you have any criticism of Dr. Kane's methodology as far
       20   pathologist and she spends over half -- nearly half her   20   as her -- I know you disagree with some of her
       21   report on epidemiology and a paragraph on pathology.      21   opinions, but do you have any criticism of the
       22   It doesn't seem right, even though we're part-time        22   methodology she used to go about that?
       23   epidemiologists.                                          23      A Yes.
       24      Q You spent half of your report critiquing             24      Q Okay. Tell me what that criticism is.
       25   Dr. Kane. So I could suggest that's not right.            25      A Well, one of the main things to start with is


                                                    Page 219                                                       Page 221
        1      MS. AHERN: Objection.                                   1   something we've been discussing during the entire
        2      THE WITNESS: Well, that was in order to point out       2   course of this deposition, and that is that it's now
        3   the shortcomings of her analysis. That's all that          3   generally accepted that high-grade serous carcinoma of
        4   referred to.                                               4   the ovary begins in the fallopian tube with a precursor
        5   BY MR. DEARING:                                            5   p53 signature, p53 STICs, and not the surface
        6      Q I just want to make sure it's crystal-clear           6   epithelium of the ovary. And she even admits that.
        7   that you're not suggesting skilled, experienced            7   But yet all the data that she cites, various biology,
        8   pathologists, like yourself and Dr. Kane, don't            8   the cell cultures and studies that she refers, they're
        9   understand epidemiology.                                   9   all dealing with the epithelial ovarian tissue, the
       10      MS. AHERN: Objection. Form.                            10   surface epithelium of the ovary, which is not the
       11      THE WITNESS: I never said that.                        11   precursor of ovarian cancer. So those are not valid.
       12   BY MR. DEARING:                                           12       Q It sounds like you are disagreeing with her
       13      Q All right. And would you agree with me that          13   opinion as to the carcinogenesis of ovarian cancers if
       14   you can't explain cancer pathology and etiology without   14   her opinion is they're starting in epithelial cells on
       15   some understanding and explanation of cancer biology?     15   the ovarian surface; right?
       16      MS. AHERN: Objection. Form.                            16       MS. AHERN: Objection. Form.
       17      THE WITNESS: Cancer biology and epidemiology all       17   BY MR. DEARING:
       18   come into play.                                           18       Q Is that what you're saying?
       19   BY MR. DEARING:                                           19       MS. AHERN: Objection. Form.
       20      Q So skilled, experienced, learned pathologists        20       THE WITNESS: I'm disagreeing with the studies that
       21   typically do know quite a bit about cancer biology if     21   she cites to support her opinion that talc causes
       22   they are studying cancer; right?                          22   ovarian cancer are based on studies in which she has
       23      MS. AHERN: Objection. Form.                            23   not looked at the true precursor of high-grade serous
       24      THE WITNESS: Well, again, there's a difference         24   carcinoma. That's what I'm saying.
       25   between a pathologist that's a molecular biologist        25   ///


                                                                                  56 (Pages 218 to 221)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 269 of 348 PageID:
                                   61043
                                               Robert Kurman, M.D.
                                                    Page 222                                                     Page 224
        1   BY MR. DEARING:                                            1      A Well, you want to begin with analogy? You
        2      Q Sir, are you saying she's relying on faulty           2   just brought it up a minute ago.
        3   studies to reach her conclusions?                          3      Q Sure.
        4      A In -- the studies may not be faulty, just the         4      A Okay. I can read from my report.
        5   wrong study. Well, as I've said, the precursors -- you     5          "Dr. Kane overstates the
        6   need causation, initiation. We talked about this all       6      significance of compositional
        7   morning. Should be looking at the precursor lesion in      7      similarities between talc and asbestos.
        8   the organ where the lesion begins.                         8      Specifically, Dr. Kane relies on an
        9         She's looking at -- she's looking at the             9      observed 'chemical similarity' between
       10   ovarian surface epithelium, or at least citing studies    10      the two, but the two -- but the fact the
       11   that evaluated the ovarian surface epithelium, which is   11      two materials have similar chemical
       12   not where these cancers begin. So, therefore, she has     12      compositions does not mean they will
       13   selected studies that are inappropriate.                  13      have similar effects on the body. For
       14      Q Do you have any other criticism of her               14      instance, the chemical composition of
       15   methodology other than she's looked at --                 15      water is almost identical to that of
       16      A Well, we can go through them if you want on          16      hydrogen peroxide -- they differ by only
       17   every -- you know, one at a time.                         17      one oxygen atom -- but their biological
       18      Q Let's just talk just generally with regard to        18      effects are vastly different. Dr. Kane
       19   methodology. And we can talk -- we will go                19      fails to provide any support for her
       20   individually.                                             20      suggestion that compositional
       21      A Okay.                                                21      similarities between talc and asbestos
       22      Q But from just a general standpoint, you              22      result in similar biologic effects.
       23   suggested one problem with her methodology is that        23      While talc and asbestos are both
       24   she's looking at the wrong studies.                       24      silicate minerals, talc is inert. By
       25      A Right.                                               25      contrast, surface reactivity and the


                                                    Page 223                                                     Page 225
        1      Q Any other criticism of her methodology                1      ability to release free radicals
        2   generally?                                                 2      contribute to the pathogenic effects of
        3      A Some of the studies themselves may have issues        3      asbestos."
        4   with them specifically. But that, I think, is one of       4          Do you want me to go on?
        5   the main problems, if you're trying to present evidence    5      Q Can you I stop you there? No, I don't. I
        6   for ovarian carcinogenesis and causation, to select the    6   just didn't want to cut you off midsentence.
        7   wrong tissues to be evaluated. Everything else goes by     7      A Okay.
        8   the wayside. If the first part doesn't make any sense      8      Q I know what your report says. I want to ask
        9   biologically, then the rest is of no value.                9   you some questions about it.
       10      Q Okay. Let's start breaking it down issue by          10      A Okay.
       11   issue.                                                    11      Q So your criticism of her application of
       12         One of the first issues you identify -- that        12   analogy --
       13   you criticize is that Dr. Kane made observations          13      A Right.
       14   regarding similarities between talc and asbestos and      14      Q -- the one of nine Bradford Hill
       15   between high-grade serous carcinoma and mesothelioma.     15   considerations --
       16   We've already discussed the Bradford Hill causation       16      A Right.
       17   analysis to some extent.                                  17      Q -- you think that's a methodology flaw?
       18         Do you agree with me that this -- that that         18      A Yes. And also, even -- you didn't want me to
       19   analogy is also one of those nine considerations of       19   go on, but the next is that the analogy between
       20   Bradford Hill; right?                                     20   malignant mesothelioma --
       21      A Yes. Analogy is, yes.                                21      Q I'll get to that.
       22      Q So with regard to Dr. Kane looking at the            22      A -- and -- okay.
       23   wrong studies and your criticism of her methodology, is   23      Q You agree with me that Dr. Kane is not saying
       24   there anything else that comes to mind with regard to     24   that talc and asbestos are morphologically identical;
       25   her methodology that you think is inappropriate?          25   right?


                                                                                 57 (Pages 222 to 225)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 270 of 348 PageID:
                                   61044
                                               Robert Kurman, M.D.
                                                   Page 226                                                       Page 228
        1      A She makes that comment at some point, but then       1   making this analogy comparison.
        2   she says they're similar.                                 2      MS. GARBER: This is a speaking objection.
        3      Q She doesn't say they're identical, does she?         3      MR. DEARING: Thank you. You don't need to do
        4      A She may not, but she builds her whole case of        4   that.
        5   analogy on the fact that they're doing the same thing.    5      MS. AHERN: Well, it was, I think, appropriate
        6      Q I think you testified already, you haven't           6   under the circumstances. You are talking past each
        7   look at talc fibers under a microscope, have you?         7   other.
        8      A I have not.                                          8      MS. GARBER: It's not appropriate under CMO 11.
        9      Q So you don't know whether asbestiform talc           9   You've been doing it all day. You should stop because
       10   fibers and asbestos fibers are similar; right?           10   you're breaking the rules.
       11      MS. AHERN: Objection. Form.                           11   BY MR. DEARING:
       12   BY MR. DEARING:                                          12      Q You don't discuss fibrous talc in your report?
       13      Q Similar in morphology.                              13      A That's right.
       14      MS. AHERN: Objection. Form.                           14      Q Is that why you're looking at your report?
       15      THE WITNESS: I'm referring to what is easily          15      A I'm looking at my report, yeah.
       16   available in the literature, even for a layman who's     16      Q Okay. So do you have an answer to that
       17   not a mineralogist --                                    17   question?
       18   BY MR. DEARING:                                          18      A My answer is that talc, as the -- as is
       19      Q Okay.                                               19   reported in the literature, has been indicated in
       20      A -- that talc and asbestos are very different        20   virtually every study to be different than asbestos.
       21   from a structural standpoint. Structure is more          21      Q It is different.
       22   important, in fact, than chemistry in causing            22      A I'm not getting into asbestiform or any of
       23   biological effects.                                      23   that stuff.
       24      Q I'm not talking about chemistry. I'm talking        24      Q Okay. I don't know if you know the answer to
       25   about morphology.                                        25   this question, but when a scientist is using the


                                                   Page 227                                                       Page 229
        1      A Right.                                               1   Bradford Hill assessment to determine causal
        2      Q They're both needle-like fibers. So they're          2   association and that scientist is studying analogy, you
        3   similar.                                                  3   agree that analogy doesn't mean that the -- the agents
        4      A No, they're not.                                     4   are identical, but what it means is that they are --
        5      Q They're not similar at all?                          5   they have reasonable demonstrable similarities; right?
        6      A No.                                                  6   Do you know that or --
        7      Q Okay. We already talked about the fact that          7      A I'm aware of that, but I don't believe they
        8   IARC treats asbestos fibers and asbestiform fibrous       8   have reasonable demonstrable similarities.
        9   talc the same with regard to the carcinogenicity          9      Q Fair enough.
       10   evaluation; right?                                       10         Do you agree that both fibrous talc and
       11      MS. AHERN: Objection. Form.                           11   asbestos are both fibrous silicate minerals that cannot
       12      THE WITNESS: Again, there's a lot of confusion in     12   be readily absorbed or dissolved by the body?
       13   this terminology, and I don't want to get stuck into     13      MS. AHERN: Objection. Form.
       14   that.                                                    14      THE WITNESS: Talc cannot be easily absorbed and
       15   BY MR. DEARING:                                          15   degraded. Asbestos, on the other hand, can penetrate
       16      Q I'm not confused.                                   16   tissues and stay in there for periods of time and get
       17      A You're better than I am.                            17   into small areas that can lead to development of
       18      Q Well, I don't want to confuse you. So let me        18   mesothelioma.
       19   put it out there again. Maybe you just don't know, but   19   BY MR. DEARING:
       20   do you know whether IARC has classified fibrous talc,    20      Q And they both elicit a biomechanistic
       21   specifically asbestiform fibrous talc, as carcinogenic   21   foreign-body response in the body; right?
       22   as it did asbestos fibers?                               22      MS. AHERN: Objection. Form.
       23      MS. AHERN: Objection. Asked and answered. And I       23      THE WITNESS: Again, I'm not aware of asbestos
       24   think this is supposed to be about Dr. Kane's report,    24   producing a foreign-body giant cell granulomatous
       25   and she doesn't mention asbestiform talc when she's      25   reaction. It produces fibrosis.


                                                                                 58 (Pages 226 to 229)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 271 of 348 PageID:
                                   61045
                                               Robert Kurman, M.D.
                                                    Page 230                                                       Page 232
        1   BY MR. DEARING:                                            1      Q It says:
        2       Q You use the analogy of water and hydrogen            2         "In any event, although it is well
        3   peroxide as two things that may look similar that are      3      established that asbestos exposure can
        4   very different.                                            4      cause pleural mesothelioma (and much
        5           Did you come up with that yourself? Because        5      less commonly lung cancer), the data
        6   it's actually been used in two opening statements in       6      implicating asbestos exposure and
        7   trials.                                                    7      ovarian cancer is significantly weaker."
        8       MS. AHERN: Objection. Form.                            8         When you make that statement about ovarian
        9       THE WITNESS: Honestly, I have another suggest --       9   cancer, you're referring to epidemiological data,
       10   it was actually brought up by counsel, and I totally      10   right, when you say "data"?
       11   agreed with it. But I actually had other comparisons      11      A Pretty much so, yes.
       12   that I could have mentioned, which I didn't.              12      Q So you criticize Dr. Kane for discussing
       13   BY MR. DEARING:                                           13   epidemiology, and then you rely on an epidemiological
       14       Q You go on to say in your report that talc           14   study for -- to support your criticism; right?
       15   particles are normally plate-like, unlike asbestos        15      A Well, in order to criticize her
       16   fibers. And I assume you read that somewhere; right?      16   epidemiological studies, I had to use epidemiological
       17       A Yeah, probably in the IARC monograph.               17   studies.
       18       Q But you make no mention of fibrous talc. Do         18      Q Okay. But you agree that, as we've already
       19   you know that fibrous talc exists?                        19   seen, the data implicating asbestos exposure and
       20       MS. AHERN: Objection. Form.                           20   ovarian cancer was strong enough for IARC to make that
       21       THE WITNESS: I've already commented on the            21   connection; right?
       22   business of fibrous talc. I'm not going to get into       22      MS. AHERN: Objection. Form.
       23   it.                                                       23      THE WITNESS: We've discussed this earlier, and I
       24   BY MR. DEARING:                                           24   mentioned the various -- what I felt are shortcomings
       25       Q I just want to know if you knew about it.           25   of that analysis, and it's summarized here. Especially


                                                    Page 231                                                       Page 233
        1      A Sure, sure.                                           1   when you're comparing it to perineal exposure of talc,
        2      Q All I'm asking is if you know whether it              2   we're talking about inhalation studies, we're talking
        3   exist.                                                     3   about very high occupational exposures or environmental
        4      A I've known it. I've seen it mentioned. Yeah,          4   exposures which are very high. The number of women in
        5   sure.                                                      5   these studies is very small, and there's a significant
        6      Q So you know about it; you just didn't feel the        6   chance that these tumors were not carcinomas but
        7   need to mention it in your report?                         7   mesotheliomas.
        8      MS. AHERN: Objection. Form.                             8   BY MR. DEARING:
        9      THE WITNESS: Well, I didn't want to go into all         9      Q So several times you keep saying occupational
       10   those details because I didn't feel that it was           10   exposure and that exposure was very high. But if you
       11   necessary. I thought there was sufficient evidence to     11   don't believe asbestos can cause ovarian cancer, why
       12   indicate that talc, as described in the literature, is    12   does it matter how high the exposure is?
       13   different from asbestos described in the literature       13      A Well, certain thresholds are required for
       14   insofar as the biological effects that the two produce.   14   certain things.
       15   BY MR. DEARING:                                           15      Q Do you think if there's enough ovarian
       16      Q In your report on page 14, you state "In any         16   exposure to asbestos, that it might cause ovarian
       17   event, although it is well established that" --           17   cancer?
       18      A Wait, wait, wait. I see Dr. Kane's claim.            18      A I'm saying that's maybe why they came to that
       19   Are we worried about that? Where are we?                  19   conclusion. They're looking at huge exposures. And,
       20      Q Right. It's about -- one, two, three, four --        20   yeah, that may be very significant as opposed to a very
       21   five lines down from the top, starting "in any event."    21   minimal exposure.
       22      A Oh. Top photograph.                                  22      Q Of course, when Dr. Kane made the observation
       23      Q Right.                                               23   that high-grade serous carcinoma and mesothelioma have
       24      A One, two, three four -- "in any event." Okay.        24   striking morphologic similarities, she also referred to
       25   Go ahead.                                                 25   two studies that suggest the same thing; right?


                                                                                  59 (Pages 230 to 233)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 272 of 348 PageID:
                                   61046
                                               Robert Kurman, M.D.
                                                    Page 234                                                                Page 236
        1      A I'd have to look at her report, what those two        1    pathologists that are referred to in these studies were
        2   studies are.                                               2    inexperienced?
        3      Q I actually don't have her report. I'm sorry.          3       A One of the studies that they're describing,
        4      A I can't comment.                                      4    they describe using the Danish Cancer Registry, and I
        5      Q Well, would you agree with me that high-grade         5    have, in fact, done studies with the Danish Cancer
        6   serous carcinoma and mesothelioma, although not            6    Registry. And they report a certain disagreement. I
        7   identical, they do have significant morphologic            7    think I came up with 16 percent or something like that.
        8   similarities?                                              8    And I said, well, maybe it could even be as high as
        9      MS. AHERN: Objection. Form.                             9    20 percent.
       10      THE WITNESS: Lots of tumors have similar               10          Well, you have to understand how these
       11   morphologic similarities.                                 11    registry studies are done, at least in Denmark where I
       12   BY MR. DEARING:                                           12    have direct personal experience. These -- the data
       13      Q Well, those two are so close that pathologists       13    that comes in are from every hospital throughout the
       14   might have mistaken one for the other for years before    14    country of Denmark, and it's based on pathology
       15   histopathologic stains were improved eight years ago.     15    records, for the most part.
       16      A I think, if you weren't an expert in                 16          When we did our studies of ovarian tumors,
       17   gynecologic pathology, that may have been -- that may     17    borderline tumors, we requested that the slides be sent
       18   have been an issue.                                       18    in. And they probably did something like that in one
       19      Q So are you agreeing me that they're                  19    of those studies. And I can tell you that in our
       20   pathologically similar enough to where experienced        20    studies, looking at those cases that had been
       21   surgical pathologists may have been diagnosing ovarian    21    classified -- I'm talking about the borderline
       22   cancer when it was mesothelioma or vice versa?            22    studies -- there was significant disagreement because
       23      A No. You said -- I said experienced                   23    those pathologists weren't that skilled. They just
       24   pathologists probably would not have that problem.        24    didn't see enough of these rather uncommon cases to
       25   Inexperienced pathologists might have that problem.       25    make the correct diagnosis.


                                                    Page 235                                                                Page 237
        1      Q Well, let's quote it exactly, on page 14. You         1        And I suspect a similar thing may have
        2   state in the last sentence or so of the first paragraph    2   happened with these mesotheliomas. Mesotheliomas are
        3   "Finally, from a pathology standpoint" --                  3   relatively uncommon. Little hospitals throughout
        4      A Wait, wait. I don't see -- where's "finally"?         4   Denmark may be seeing one mesothelioma, you know, every
        5      Q Last sentence, Doctor. You're way below it.           5   five years. So they don't have that much experience.
        6   First paragraph.                                           6   So they may have misclassified them. They may be
        7      A Oh, the first paragraph.                              7   higher than the 16 percent that they refer to.
        8      Q Top paragraph.                                        8        That's what I was getting at.
        9      A "Finally." I see it.                                  9     Q So the bottom line is you're speculating that
       10      Q Okay.                                                10   some of these pathologists may have misdiagnosed
       11          "Finally, from a pathology                         11   mesotheliomas for ovarian carcinomas?
       12      standpoint, there is a significant                     12     MS. AHERN: Objection. Form.
       13      likelihood that some tumors observed in                13     THE WITNESS: I'm basing it on my own experience.
       14      these occupational studies, which are                  14   Not with mesothelioma, but with the Danish tumor
       15      quite dated, were misclassified due to                 15   registry, with cases seen by nonexpert pathologists
       16      misreporting on death certificates and                 16   sending in to a central review that there is -- there
       17      lack of immunohistochemical analysis to                17   was misclassification, yes.
       18      adequately distinguish peritoneal                      18   BY MR. DEARING:
       19      mesothelioma from ovarian cancer (i.e.,                19     Q So this is a court proceeding, and in court
       20      peritoneal mesotheliomas were                          20   we're interested in evidence. And do you have any
       21      misdiagnosed as ovarian carcinomas)."                  21   evidence that these pathologists in this study that
       22          So by acknowledging that the pathologists may      22   you're referring to likely misdiagnosed ovarian
       23   have misdiagnosed those tumors but then saying but not    23   carcinomas for mesotheliomas?
       24   an experienced -- an experienced pathologist wouldn't     24     MS. AHERN: Objection. Form.
       25   make that mistake, are you saying that all the            25     THE WITNESS: I said there's a significant


                                                                                    60 (Pages 234 to 237)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 273 of 348 PageID:
                                   61047
                                               Robert Kurman, M.D.
                                                   Page 238                                                       Page 240
        1   possibility. I didn't say likelihood.                     1         Last sentence of the first paragraph.
        2   BY MR. DEARING:                                           2      A Yes.
        3      Q What are you basing that on other than -- you        3      Q Actually, that's not it. Wait a minute.
        4   said -- well, you're basing that on your experience       4         On the next page, second sentence, page 16.
        5   with Denmark?                                             5   You say, "Foreign-body granulomas are what you would
        6      A Well, I can -- yes, my experience with Denmark       6   expect to find in tissue exposed to noninfectious
        7   and the Danish tumor registry.                            7   material like talc and surgical gloves"; right?
        8      Q Okay. Would you agree with me that the fact          8      A Sutures.
        9   that skilled surgical pathologists might be confusing     9      Q I'm sorry, surgical sutures.
       10   ovarian cancers with mesothelial cancers or              10         And for support of that statement, you cite to
       11   mesotheliomas, it suggests that those cancers are        11   a study by Dr. Kabeer Shah in the Journal of Clinical
       12   sufficiently similar to meet the analogy consideration   12   Tuberculosis and Other Mycobacterial Diseases; right?
       13   of Bradford Hill?                                        13      A Let me see. That's 108. That doesn't seem to
       14      MS. AHERN: Objection. Form.                           14   be the right reference. Hmm. Oh, 106. Sorry. No,
       15      THE WITNESS: As I said, a skilled gynecologic         15   106 doesn't seem to be correct either.
       16   pathologist, I don't think, would make that mistake. I   16         Am I looking at the wrong part?
       17   think some of those misclassifications are due to        17         Shah here. It should be 95, the reference.
       18   nonskilled pathologists who don't see that much. And,    18      MS. AHERN: I think he's referring to your
       19   therefore, mesothelioma and -- malignant mesothelioma    19   footnote.
       20   and high-grade serous carcinoma can be distinguished     20      THE WITNESS: Could you please repeat your question
       21   morphologically and aided also with immunized            21   and tell me what you're referring to exactly.
       22   chemistry.                                               22   BY MR. DEARING:
       23   BY MR. DEARING:                                          23      Q Sure. With regard to your statement,
       24      Q Sure. I'm not saying they can't be                  24   "Foreign-body granulomas are what you would expect to
       25   distinguished. They clearly can be. My question is       25   find in tissue exposed to noninfectious material like


                                                   Page 239                                                       Page 241
        1   the fact that these surgeons were confusing them for      1   talc and surgical sutures," and you say footnote 108 to
        2   years, apparently, doesn't that rise to the level of      2   support that statement; right?
        3   analogy for purposes of a Bradford Hill causal            3      A Shah, yes.
        4   association analysis?                                     4      Q Right. You go down to footnote 108, that's
        5      MS. AHERN: Objection. Form.                            5   the Shah study?
        6      THE WITNESS: You mean pathologists, not surgeons.      6      A Right.
        7   Pathologists.                                             7      Q Okay. I'm handing you the Shah study that I
        8   BY MR. DEARING:                                           8   believe you're referring to.
        9      Q Pathologists, right.                                 9      MR. DEARING: Anybody else want a copy?
       10      A I don't think it rises to the level necessary       10         I'm going to mark it as Exhibit Number 8.
       11   to really prove that there's analogy.                    11      MS. AHERN: Thank you.
       12      Q You also take exception to Dr. Kane's               12      MR. DEARING: Will you give him the marked one so
       13   recitation of the evidence that talc-induced chronic     13   we can be proper about this.
       14   inflammation can cause ovarian cancer; right?            14      MS. AHERN: Yeah.
       15      A Are we on a specific page of my report or her       15         (The document referenced below was
       16   report?                                                  16      marked Deposition Exhibit 8 for
       17      Q Sure. It's just the next section.                   17      identification and is appended hereto.)
       18   "Talc-induced chronic inflammation is a cause of         18   BY MR. DEARING:
       19   ovarian cancer."                                         19      Q Is that the study that you relied on for that
       20      A Okay. All right. Okay.                              20   statement?
       21      Q We've already had a lengthy conversation about      21      A Yes.
       22   foreign-body granulomas and foreign-body responses.      22      Q And this study is entitled "Histopathologic
       23      A Right.                                              23   Review of Granulomatous Inflammation"; right?
       24      Q But for support -- well, first, you say             24      A Yes.
       25   "foreign-body granuloma" -- I'm sorry.                   25      Q And Dr. Shah does suggest granulomatous


                                                                                 61 (Pages 238 to 241)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 274 of 348 PageID:
                                   61048
                                              Robert Kurman, M.D.
                                                   Page 242                                                      Page 244
        1   inflammation might be associated with talc, surgical     1      MS. AHERN: Objection. Form.
        2   sutures, and food material?                              2   BY MR. DEARING:
        3      A Are you reading something specifically that I       3      Q And in your years of experience, you've never
        4   should be looking at?                                    4   observed -- well, let me ask you, have you ever
        5      Q Well, sure. On page 3 --                            5   observed a surgical suture in gynecologic --
        6      A Okay.                                               6      A Oh, yes.
        7      Q -- about a little over midway down the              7      Q -- material?
        8   left-hand column --                                      8      A Yeah.
        9      A All right.                                          9      Q And did they form granulomatous reactions --
       10      Q -- it starts "Two broad forms."                    10      A Yes.
       11      A Yes.                                               11      Q -- or granulomas?
       12      Q And we talked about these already.                 12      A Yes.
       13      A Right.                                             13      Q You can actually see surgical sutures and
       14      Q "Two broad forms of well-defined granuloma         14   granulomas with the naked eye, can't you?
       15   exist, defined by their etiology." There's that word    15      A You can actually see them with the naked eye,
       16   again.                                                  16   that's right.
       17         Do you know how he is using the word              17      Q That's because surgical sutures are quite
       18   "etiology" in that sentence?                            18   large compared to talc particles, aren't they?
       19      A Yeah. He's dividing them into those that are       19      MS. AHERN: Objection. Form.
       20   foreign-body giant cell granulomas and immune           20   BY MR. DEARING:
       21   granulomas. That's all I can make out of it.            21      Q Well, let me ask you --
       22      Q So -- okay. And he says, "Foreign-body giant       22      THE WITNESS: I would think so, yes.
       23   cells are histiocytic reactions to otherwise inert      23   BY MR. DEARING:
       24   material without an adaptive immune response, for       24      Q Based on Dr. McDonald's study we've already
       25   example, suture, talc, and food material"; right?       25   looked at --


                                                   Page 243                                                      Page 245
        1      A Yep.                                                1      A Right.
        2      Q "A collection of histiocytes                        2      Q If the average size of a talc particle in
        3      surround the foreign material and as                  3   gynecologic tissue that they've studied is in the 5- to
        4      single histiocytes are unable to                      4   10-micron range, a typical surgical suture is probably
        5      phagocytize the foreign material alone.               5   a thousand times larger than that; right?
        6      The foreign material" -- I'm sorry.                   6      A Sure, it's larger. Sure.
        7      "The foreign material can be visualized               7      Q Not just larger, a thousand times larger?
        8      by light microscopy and often exhibits                8      MS. AHERN: Objection. Form.
        9      birefringence using polarized light."                 9      THE WITNESS: I don't know if it's a thousand or
       10          So histiocytes are macrophages; right?           10   500 or 200 or what. Larger.
       11      A Right.                                             11   BY MR. DEARING:
       12      Q Okay. So what he's saying there is that these      12      Q Well, by reference, would you agree that a
       13   giant cells form when macrophages alone cannot engulf   13   human hair is about 80 to 100 microns in diameter?
       14   the particle; right?                                    14      A I honestly have never measured. I don't know.
       15      A Well, when a single, I think, macrophage           15      Q Does that seem unreasonable? I looked it up.
       16   can't, so they join forces to encompass this larger     16      A You looked it up. I haven't looked it up, so
       17   material.                                               17   I don't --
       18      Q So when the material is too big for a single       18      Q Okay.
       19   macrophage to phagocytize -- which means to ingest;     19      A Since I'm under oath, I don't want to say
       20   right?                                                  20   something that may not be true.
       21      A Right.                                             21      Q Okay. Well, I'm just trying to add context to
       22      Q So if the particle is too big for the              22   what a micron is in size.
       23   macrophage to ingest alone, more macrophages join in,   23         So we're talking about granulomatous responses
       24   and then a giant cell granuloma is formed; right?       24   to surgical sutures that are -- if -- if talc particles
       25      A Correct.                                           25   and tissue are 5 microns, surgical sutures are probably


                                                                                62 (Pages 242 to 245)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 275 of 348 PageID:
                                   61049
                                               Robert Kurman, M.D.
                                                    Page 246                                                       Page 248
        1   a thousand times bigger than a talc particle; right?       1   in this study?
        2       MS. AHERN: Objection. Form.                            2      MS. AHERN: Objection. Form.
        3       THE WITNESS: We didn't agree on your -- the            3      THE WITNESS: As I recall --
        4   decision that they're a thousand times -- but they're      4   BY MR. DEARING:
        5   larger. Let's put it that way.                             5      Q Or any gynecologic tissue, for that matter?
        6   BY MR. DEARING:                                            6      A Not specifically.
        7       Q Well, you can't see a 5-micron talc particle         7      MS. AHERN: Objection. Form.
        8   with the naked eye, can you?                               8   BY MR. DEARING:
        9       A No.                                                  9      Q When he discusses reactions to talc, he's
       10       Q But you can see a surgical suture with the          10   referring to lung tissue that has trapped large talc
       11   naked eye?                                                11   particles or clusters of particles by either inhalation
       12       A Yeah. But I can't extrapolate from that that        12   or surgical pleurodesis; right?
       13   it's a thousand times larger. That's all I'm saying.      13      MS. AHERN: Objection. Where are you reading from?
       14       Q Right. It's probably bigger than that, but          14   In the Shah article?
       15   the point is made.                                        15      MR. DEARING: Yeah.
       16           So when Dr. Shah suggested talc might elicit a    16   BY MR. DEARING:
       17   granulomatous response, he's referring to very large      17      Q In the beginning, he describes the organs that
       18   talc particles, not small 5-micron particles or large     18   he's considering.
       19   clusters of particles; right?                             19      MS. AHERN: I'm sorry. The abstract?
       20       MS. AHERN: Objection. Form.                           20      MR. DEARING: Maybe.
       21   BY MR. DEARING:                                           21   BY MR. DEARING:
       22       Q Do you not have an answer to that?                  22      Q Yeah. "The pulmonary system is one of the
       23       A Oh, I'm sorry. I missed it. What was your           23   most commonly affected sites to encounter granulomatous
       24   question?                                                 24   inflammation."
       25       Q So when Dr. Shah is suggesting that talc might      25      A Okay.


                                                    Page 247                                                       Page 249
        1   elicit a granulomatous response, he's referring to very    1      Q Okay. But the point is he doesn't talk about
        2   large talc particles, like industrial grade, not           2   any gynecologic tissue in his response to talc in this
        3   cosmetic-grade particles that are 5 microns?               3   study; right?
        4      MS. AHERN: Okay.                                        4      A I guess it's because it's so rare.
        5   BY MR. DEARING:                                            5      Q Well, you're using a study to support the
        6      Q Or large clusters of particles, he might be           6   statement that foreign-body granulomas will form in
        7   referring to those?                                        7   gynecologic tissue if they're exposed to talc.
        8      MS. AHERN: Objection. Form.                             8      A Right.
        9      THE WITNESS: Yeah. I mean, I don't see why              9      Q And you're using a study that doesn't even
       10   cosmetic talc can't clump together and form larger        10   discuss gynecologic tissue; right?
       11   particles.                                                11      A There's no reason for me to think that there
       12   BY MR. DEARING:                                           12   would be a difference, but --
       13      Q And, again, the statement that you're using          13      Q Okay.
       14   the study to support is that foreign-body granulomas      14      A -- he didn't describe it, GYN.
       15   are what you would expect to find in tissue exposed to    15      Q Okay. Look on page 5, if you would. And
       16   noninfectious material like talc and surgical sutures.    16   that's a photomicrograph. And the way Dr. Shah
       17          You are talking about gynecologic tissue           17   describes it is first he identifies a foreign-body
       18   exposed to talc, right --                                 18   giant cell reaction within the lung alveoli, and then
       19      A Yeah.                                                19   he says, "with macrophages engulfing inhaled talc."
       20      Q -- when you make that statement?                     20      A Okay.
       21      MS. AHERN: Objection. Form.                            21      Q So what he's saying there is that it's
       22      THE WITNESS: Sure.                                     22   actually macrophages engulfing talc particles, right,
       23   BY MR. DEARING:                                           23   not --
       24      Q Okay. Dr. Shah never once mentions talc and          24      A We just said that before. Macrophages are
       25   granulomatous inflammation in ovarian tissue, does he,    25   equivalent to histiocytes.


                                                                                  63 (Pages 246 to 249)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 276 of 348 PageID:
                                   61050
                                                Robert Kurman, M.D.
                                                    Page 250                                                       Page 252
        1      Q Right. But my point is he includes a                  1   presumably those of Dr. McDonald's study as well,
        2   photomicrograph of that happening just like                2   macrophages can adequately sequester smaller talc
        3   Dr. McDonald, Godleski, Welch, that group did in that      3   particles; right?
        4   study that we went over a little while ago; right?         4      A Well, yeah. And they present that in the
        5      MS. AHERN: Objection. Form. Mischaracterizes the        5   article. These are foreign-body granulomas that you're
        6   paper.                                                     6   seeing here. These collections of -- all of them
        7      THE WITNESS: Perhaps so.                                7   together form a foreign-body granuloma.
        8   BY MR. DEARING:                                            8      Q But they're described as macrophages.
        9      Q Can you tell from looking at this                     9      A Yeah, but the macrophages form the granuloma.
       10   photomicrograph whether talc particles are being          10      Q Only when they connect; right?
       11   engulfed by macrophages?                                  11      A No, when they lump together.
       12      A On the H&E slide, I can see it, yes.                 12      Q Right.
       13      Q So you believe that that's being accurately          13      A You can see it says "foreign-body giant cell
       14   described?                                                14   reaction within long alveoli with macrophages engulfing
       15      A I can see it, yes. I couldn't see it in that         15   inhaled talc."
       16   other paper.                                              16         So the macrophages inhale the talc or
       17      Q Okay. So on page 20 of your report, you              17   phagocytize it. And as they come together, they form a
       18   criticize Dr. Kane for discussing parts of the body       18   foreign-body giant cell.
       19   that is unrelated to ovarian carcinogenesis, yet --       19      MS. GARBER: I'm just going to object to Ms. Ahern
       20      A What are you referring to now? What                  20   pointing out to the doctor where to look during his
       21   paragraph?                                                21   testimony. I request that she stop doing that. It's
       22      Q Anyway -- and if I'm remembering this wrong,         22   also violating the rules.
       23   feel free to correct me; it's your report. But I seem     23      MS. AHERN: Well, he's asking about that. I just
       24   to recall that you were criticizing Dr. Kane for using    24   simply pointed him to what he was asking him about.
       25   studies that didn't pertain to gynecologic tissue, they   25      MS. GARBER: You pointed him to where he needed to


                                                    Page 251                                                       Page 253
        1   weren't gynecology studies, to support one of her          1   look to answer the question, so please stop doing that.
        2   propositions.                                              2      MS. AHERN: Well, the question was misleading. I'm
        3          Do you remember criticizing her for that?           3   trying to assume that macrophages are different from
        4      MS. AHERN: Objection. Form.                             4   foreign-body reaction.
        5      THE WITNESS: I know you're having a problem, but        5      MR. DEARING: Okay. Well, make an objection.
        6   I -- that came up different places, so I'd like to see     6   Don't coach the witness. Okay. Just make an
        7   exactly where you're referring so that I can try to        7   objection. That's what you're supposed to do.
        8   respond.                                                   8      MS. AHERN: Well, stop asking misleading questions.
        9   BY MR. DEARING:                                            9   BY MR. DEARING:
       10      Q Well, tell you what. If I have time, I'll            10      Q The same pathologists that have reported
       11   come back to that.                                        11   observing macrophages responding to talc particles in
       12      A Okay.                                                12   tissue also suggest that the reason giant cell
       13      Q It's not that important.                             13   granulomas are not formed is because the talc particles
       14      A Okay.                                                14   are too small and the macrophages can adequately
       15      Q The fact is many pathologists who have studied       15   sequester them.
       16   talc particles in tissue have recognized macrophages as   16         Do you agree with that position?
       17   the foreign-body response in talc particles, not large    17      MS. AHERN: Objection. Form.
       18   cell or giant cell granulomas; right?                     18      THE WITNESS: Please show me the reference that
       19      MS. AHERN: Objection. Form.                            19   you're making.
       20      THE WITNESS: No. The macrophages form giant            20   BY MR. DEARING:
       21   cell --                                                   21      Q You haven't read any studies that you can
       22   BY MR. DEARING:                                           22   recall that say that?
       23      Q Right.                                               23      A No, not specifically.
       24      A -- foreign-body giant cells.                         24      Q Okay. While we're on the topic of
       25      Q But as evidenced in these photomicrographs and       25   macrophages, would you agree with me that macrophages


                                                                                  64 (Pages 250 to 253)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 277 of 348 PageID:
                                   61051
                                                        Robert Kurman, M.D.
                                                              Page 254                                               Page 256
        1    can also release reactive oxygen species and reactive        1    starts "Rarely."
        2    nitrogen species when they deteriorate?                      2           Do you see that?
        3       MS. AHERN: Objection. Form.                               3       A Yeah. Uh-huh.
        4       THE WITNESS: Yes, they can.                               4       Q It says:
        5    BY MR. DEARING:                                              5           "Rarely talc or another foreign
        6       Q Have you taught medical students as part of             6       substance may elicit a foreign-body
        7    your career?                                                 7       reaction in the endometrium. Talc may
        8       A Yes.                                                    8       be introduced into the endometrial
        9       Q What did you teach medical students with                9       cavity by instruments contaminated with
       10    regard to whether size of foreign particles in any way      10       talc powder or by gloves during a pelvic
       11    determines the type of foreign-body reaction to it?         11       exam. Patients may be asymptomatic or
       12       MS. AHERN: Objection. Form.                              12       may have menorrhagia."
       13       THE WITNESS: I don't think I ever taught them            13           Did I pronounce that right?
       14    anything about that.                                        14       A Uh-huh.
       15    BY MR. DEARING:                                             15       Q "Microscopically, the extent of
       16       Q Well, you certainly taught them about                  16       the granulomatous inflammatory reaction
       17    macrophages and giant cell granulomas; right?               17       depends on the quantity of the talc
       18       MS. AHERN: Objection. Form.                              18       inoculated. The infiltrate is
       19       THE WITNESS: Actually, I don't think I did.              19       characterized by histiocytes and
       20    BY MR. DEARING:                                             20       foreign-body multinucleated giant cells
       21       Q Okay. Something else you wrote in Blaustein's          21       surrounding the talc crystals along with
       22    fourth edition --                                           22       lymphocytes and plasma cells. The
       23          Tell you what. Can we take about a                    23       crystals appear as refractile,
       24    five-minute break?                                          24       birefringent, needle-like, or fan-shaped
       25       THE WITNESS: Sure.                                       25       splinters in polarizing light."

                                                              Page 255                                               Page 257
        1     VIDEO OPERATOR BROWN: Time is now 4:05. Going off           1         So two things I want to draw out of that
        2   the record.                                                   2   paragraph.
        3        (Recess taken.)                                          3         The first is, you say, "Microscopically, the
        4     VIDEO OPERATOR BROWN: Okay. Time is now 4:20.               4   extent of the granulomatous inflammatory reaction
        5   Back on the record.                                           5   depends on the quantity of the talc inoculated."
        6        (The document referenced below was                       6         So what you're saying there, right, is that
        7     marked Deposition Exhibit 9 for                             7   the type of foreign-body reaction the body exerts
        8     identification and is appended hereto.)                     8   towards talc depends on how much talc is there or the
        9   BY MR. DEARING:                                               9   size of the particles; right?
       10     Q Doctor, I'm showing you a portion of                     10      MS. AHERN: Objection. Form.
       11   Blaustein's Pathology of the Female Genital Tract,           11      THE WITNESS: Not the type, the extent.
       12   Fourth Edition, marked as Exhibit Number 9.                  12   BY MR. DEARING:
       13        Actually, I'm sorry. Can I see that one                 13      Q By "extent," you mean?
       14   again. Want to make sure I'm giving you the right one.       14      A Amount.
       15   I'm not.                                                     15      Q Okay. So if there were just a few particles,
       16     MS. AHERN: Thank you.                                      16   three or four isolated particles, you know, that
       17   BY MR. DEARING:                                              17   weren't right adjacent to each other that were in the
       18     Q And, Doctor, this is an excerpt from                     18   5-micron range or so, would you expect that a
       19   Chapter 14. It's entitled "Diseases of the Fallopian         19   macrophage could handle those?
       20   Tube," and it looks like it was authored by you and          20      A I cannot -- you know, I can't get down into
       21   Dr. Mazur; is that right?                                    21   the specifics of the size. It would be more --
       22     A It looks that way, yes.                                  22   basically, what that sentence means is the more of the
       23     Q Okay. What I want to point out is, on                    23   inoculum, the more of an infiltrate you'll get. I
       24   page 376, at the bottom, there's a paragraph that --         24   can't break it down to, you know, three macrophages
       25   well, almost at the bottom, there's a paragraph that         25   versus ten, whatever.


                                                                                    65 (Pages 254 to 257)
                          Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 278 of 348 PageID:
                                   61052
                                                       Robert Kurman, M.D.
                                                            Page 258                                               Page 260
        1       Q Okay. But the extent of the granulomatous             1      A Are you asking for the specific risk factors
        2    response depends on the quantity of the talc present in    2   of ovarian cancer or just in general?
        3    the tissue; right?                                         3      Q In general, what do you mean by "risk
        4       A Right.                                                4   factors," the term?
        5       Q The other thing I wanted to draw out of that          5      A A factor that increases the risk of someone
        6    is that the -- when you say, "The crystals appear as       6   developing cancer.
        7    refractile, birefringent, needle-like, or fan-shaped       7      Q What are the recognized risk factors for
        8    splinters in polarizing light," you're talking about       8   ovarian cancer?
        9    talc crystals; right?                                      9      MS. AHERN: Objection. Form.
       10       A Yes.                                                 10      THE WITNESS: Well, it's a little bit of a
       11       Q So if they're needle-like, are you referring         11   complicated question in that different people have
       12    to talc fibers?                                           12   different opinions as to does -- is there enough data
       13       MS. AHERN: Objection. Form.                            13   to suggest that this particular factor rises to the
       14       THE WITNESS: Talc.                                     14   level of a risk factor. Some say, "Oh, yes, it does."
       15    BY MR. DEARING:                                           15   Others say, "Well, it isn't."
       16       Q So you're acknowledging that talc can have           16         So there are these associations which some
       17    needle-like morphology?                                   17   like to consider risk factors and some that don't.
       18       A Yeah.                                                18   Some are much stronger than others.
       19       MS. AHERN: Objection. Form.                            19   BY MR. DEARING:
       20       THE WITNESS: Yes.                                      20      Q Can you specifically identify what you think
       21    BY MR. DEARING:                                           21   are maybe the three strongest risk factors for ovarian
       22       Q By the way, while we're on it, the fourth            22   cancer?
       23    edition of Blaustein's -- and I don't have the book,      23      A Well, family history, I think, is a strong
       24    but it actually identifies talc as a risk factor for      24   one. I think genetic history in terms of specifically
       25    ovarian cancer; doesn't it?                               25   BRCA mutations is a very strong one. And I think kind


                                                            Page 259                                               Page 261
        1      A As a what, risk factor?                                1   of a negative risk factor would be the use of birth
        2      Q For ovarian cancer.                                    2   control pills.
        3      MS. AHERN: Objection. Form. Is there a question?         3       Q By "negative," you mean a protective factor?
        4      MR. DEARING: Yes.                                        4       A Protective factor, right.
        5      THE WITNESS: Oh, you were asking me to comment on        5       Q One of the statements you make in your report
        6   that?                                                       6   is that you mention talc pleurodesis, and I was just
        7      MR. DEARING: Let me ask it again.                        7   looking to try to find it and I don't see it. But I
        8      MS. AHERN: Actually, let him ask you a question          8   think you will recognize the statement. It said:
        9   first.                                                      9           "Further, if the consequence of
       10      THE WITNESS: Sorry. Yeah, I thought you were            10       talc and asbestos exposure were similar,
       11   telling me.                                                11       one would expect to find cancer arising
       12   BY MR. DEARING:                                            12       in patients who underwent talc
       13      Q I did, and then I put a question mark on the          13       pleurodesis."
       14   end.                                                       14           Remember, that was when you were criticizing
       15            So do you agree with me that the fourth           15   her use of analogy of talc and asbestos and high-grade
       16   edition identifies talc as a risk factor for ovarian       16   serous carcinoma and mesothelioma in the beginning.
       17   cancer?                                                    17       A Yes.
       18      A Well, again, I don't have the book, but I'd           18       Q My question is: Would you agree with me that
       19   like to see what I said.                                   19   talc pleurodesis is typically used to treat malignant
       20      Q You don't recall?                                     20   pleural effusion and, more often, it's used in
       21      A I don't remember. The fourth edition goes             21   end-stage disease?
       22   back a few years.                                          22       MS. AHERN: Object to the form.
       23      Q Each of your Blaustein's has a chapter on risk        23       THE WITNESS: Well, it's also treated in benign
       24   factors for ovarian cancer.                                24   disease. It is also used in benign diseases.
       25            What are risk factors?                            25   ///


                                                                                   66 (Pages 258 to 261)
                           Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 279 of 348 PageID:
                                   61053
                                               Robert Kurman, M.D.
                                                    Page 262                                                      Page 264
        1   BY MR. DEARING:                                           1          (The document referenced below was
        2      Q I understand. But the overwhelming majority          2       marked Deposition Exhibit 10 for
        3   of pleurodesis procedures are used in malignant           3       identification and is appended hereto.)
        4   end-stage diseases?                                       4   BY MR. DEARING:
        5      MS. AHERN: Objection. Form.                            5       Q This is publication in the ATS -- in the
        6      THE WITNESS: It is certainly used in malignant         6   American Journal of Respiratory and Critical Care
        7   conditions, but I don't know about the overwhelming       7   Medicine by Dr. Ghio and Victor Roggli.
        8   majority of them.                                         8          Do you know Dr. Roggli?
        9   BY MR. DEARING:                                           9       A No, I don't.
       10      Q Would you agree that the pleurodesis patients       10       Q Well, Dr. Roggli is a pathologist and
       11   who are getting pleurodesis because of an end-stage      11   microscopist who has spent a career studying asbestos
       12   malignancy typically don't live long enough to study     12   and mesothelioma and particularly quantifying asbestos
       13   the long-term effects of the talc pleurodesis on them?   13   burden in lung tissue.
       14      A That's probably true.                               14          Does that sound familiar? You haven't heard
       15      Q And also the talc used in talc pleurodesis is       15   about him?
       16   a different grade of purity than the talc used in body   16       A I don't know him, no.
       17   powders; right?                                          17       Q Okay. Well, do you agree with me that the
       18      MS. AHERN: Objection. Form.                           18   next-to-the-last sentence -- I'm sorry, I -- mean the
       19      THE WITNESS: Again, I wasn't going to get into the    19   last sentence of the first paragraph reads -- well, the
       20   issue of how much is in there and what the purity is     20   title -- the title of this paper is "Talc Should Not Be
       21   and all that. I defer to a mineralogist.                 21   Used for Pleurodesis in Patients with Nonmalignant
       22   BY MR. DEARING:                                          22   Pleural Effusions." And Drs. Ghio and Roggli state
       23      Q And, typically, a pleurodesis procedure is          23   that:
       24   a -- is a one-time administration of a heavy volume of   24          "This dilemma results from a
       25   talc as opposed to a slow trickle of chronic exposure;   25       possible increased risk of malignant


                                                    Page 263                                                      Page 265
        1   right?                                                    1      mesothelioma in those patients treated
        2      MS. AHERN: Objection. Form.                            2      with talc. Consequently, an alternative
        3      THE WITNESS: Heavy volume, yes. A lot it is put        3      agent should be employed in any
        4   in there.                                                 4      additional" -- I'm sorry -- "in any
        5   BY MR. DEARING:                                           5      individual without malignancy requiring
        6      Q It's actually talc slurry that's introduced          6      pleurodesis."
        7   into the pleural cavity; right?                           7         Then he also cites a reference of case reports
        8      MS. AHERN: Objection. Form.                            8   of malignant mesothelioma after occupational exposure
        9      THE WITNESS: Yes, that's correct.                      9   to talc would suggest a possible -- a potential
       10   BY MR. DEARING:                                          10   association.
       11      Q Do you agree with me that there are scientists      11         So do you agree with me that, at least
       12   and physicians that advise against using talc for        12   according to this paper, Drs. Ghio and Dr. Roggli
       13   pleurodesis with patients with nonmalignant pleural      13   advise against using talc for pleurodesis in patients
       14   effusions?                                               14   with nonmalignant plural effusions?
       15      MS. AHERN: Objection. Form.                           15      MS. AHERN: Objection. Form.
       16      THE WITNESS: I've read that there's a controversy,    16      THE WITNESS: Well, that's what they say. They do
       17   some saying it shouldn't be done and some say it's no    17   say that the dilemma is -- in this last two sentences
       18   problem.                                                 18   above the first paragraph, they say the dilemma about
       19   BY MR. DEARING:                                          19   using it for nonmalignant pleural effusions results
       20      Q You think that the split is about 50-50, those      20   from a possible increased risk of malignant
       21   in favor and those who warn against it?                  21   mesothelioma in those patients treated with talc.
       22      A Can't tell. I don't know what the split is.         22   BY MR. DEARING:
       23      Q I brought one with me. Since I brought it, I        23      Q Right. In other words --
       24   might as well show it to you. Right? Actually, I         24      A Possible.
       25   brought two with me.                                     25      Q Right. So he is saying there's a possibility


                                                                                 67 (Pages 262 to 265)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 280 of 348 PageID:
                                   61054
                                               Robert Kurman, M.D.
                                                    Page 266                                                       Page 268
        1   that talc could cause lung cancers; right?                 1      A First paragraph. Okay.
        2      A Mesotheliomas. I'm sorry. Malignant                   2      Q Second sentence.
        3   mesothelioma. We should distinguish carcinoma from         3      A Second sentence. Okay. "She has produced a
        4   mesothelioma.                                              4   lengthy report"?
        5      Q All right.                                            5      Q I'm sorry. Third sentence. "Dr. Kane opines
        6      A He says that at the end. And I do believe --          6   that" --
        7   I think -- I'd have to double-check, but I think there     7      A "That" -- okay.
        8   was a letter to the editor from someone who had written    8      Q -- "genital talcum powder exposure can cause
        9   extensively on pleurodesis who said -- oh, it's Light.     9   ovarian cancer based on her evaluation of
       10   Yeah, Light. References Number 2, Light, RW.              10   epidemiological, pathological, biological, and
       11         Do you see that one --                              11   mechanistic evidence."
       12      Q Yes.                                                 12          Is it your testimony that there is no
       13      A -- in his list of references?                        13   pathological, biological, and mechanistic evidence to
       14         Well, there's a letter to the editor by Light       14   support the assertion that talc exposure can cause
       15   who says I don't agree with that, that they shouldn't     15   ovarian cancer?
       16   be using talc for pleurodesis in patients with            16      MS. AHERN: Objection. Form.
       17   malignant conditions -- nonmalignant conditions because   17      THE WITNESS: That's correct. I haven't seen that
       18   there's never been a reported case of mesothelioma in     18   evidence.
       19   patients with benign diseases treated with pleurodesis.   19   BY MR. DEARING:
       20      Q Light --                                             20      Q Further down in the third paragraph, about
       21      A And Light has written a lot of that as well.         21   halfway, it says:
       22      Q Right. Doesn't his paper say talc should not         22          "Dr. Kane does not identify any
       23   be used for pleurodesis in that cite?                     23      studies linking the use of talc-based
       24      A No, I thought he --                                  24      body powders to the known genetic
       25      Q Look at Light cite Number 2.                         25      alterations associated with the various


                                                    Page 267                                                       Page 269
        1       A I think maybe it's an issue, but he -- and           1      histologic subtypes of ovarian cancer.
        2   very specifically -- did we -- I thought I put that in     2      And, indeed, I am aware of no such
        3   there. I'd have -- I'd have to look for the reference.     3      studies."
        4       Q Okay.                                                4         Would you agree me that many of the
        5       A But I definitely remember a letter to the            5   epidemiologic studies do assess or analyze the data or
        6   editor responding to this saying I have never seen it;     6   divide the data based on exposure and different
        7   it's never been reported in the literature; so I would     7   histological subtypes of ovarian cancer?
        8   disagree with the fact that it shouldn't -- that           8      MS. AHERN: Objection. Form.
        9   pleurodesis with talc should not be used. I'll be able     9      THE WITNESS: They do, and they're pretty
       10   to find it.                                               10   inconsistent, yes.
       11       Q You also have a section in your report about        11   BY MR. DEARING:
       12   precursor lesions. Here it is, page 6.                    12      Q And when you say "I'm aware of no such
       13       A Page 6 of my report.                                13   studies," are you referring to studies that demonstrate
       14       Q Right. I'm sorry. If would you turn to              14   genetic alterations of cells exposed to talc?
       15   page 12.                                                  15      MS. AHERN: Objection. Form.
       16       A 12.                                                 16      THE WITNESS: I'm saying that there are certain
       17       Q 12.                                                 17   genetic alterations that are involved with the -- with
       18       A Okay.                                               18   carcinogenesis of the different types -- high-grade
       19       Q In the first paragraph, second sentence, you        19   serous, low-grade and endometrial clear cell -- and I'm
       20   state, "Dr. Kane opines that genital talcum powder        20   not aware of any studies and she did not -- and
       21   exposure can cause ovarian cancer based on her            21   Dr. Kane didn't mention them either -- linking talc
       22   evaluation of epidemiological" --                         22   powders to inducing those genetic alterations.
       23       A Wait, wait, wait. You said the second               23         (The document referenced below was
       24   paragraph.                                                24      marked Deposition Exhibit 11 for
       25       Q I'm sorry. The first paragraph.                     25      identification and is appended hereto.)


                                                                                  68 (Pages 266 to 269)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 281 of 348 PageID:
                                   61055
                                               Robert Kurman, M.D.
                                                   Page 270                                                       Page 272
        1   BY MR. DEARING:                                           1       MS. AHERN: Objection. Form.
        2      Q I'm showing what is marked as Exhibit                2   BY MR. DEARING:
        3   Number 11, and this is a study by Drs. Fletcher,          3       Q For example, cigarette smoke can cause several
        4   Harper, Memaj, Fan, Morris, and Saed. I don't believe     4   times of cancer; right?
        5   this study was identified in either of your reference     5       MS. AHERN: Objection. Form.
        6   lists.                                                    6       THE WITNESS: Lung cancer, sure. Yeah. What else?
        7          Do you know if you've ever seen this study?        7   BY MR. DEARING:
        8      A No, I don't remember seeing this study.              8       Q It can cause -- it has been linked to liver
        9      Q Well, title of this study is "Molecular Basis        9   cancer; right?
       10   Supporting the Association of Talcum Powder Use with     10       A I'm not familiar with that.
       11   Increased Risk of Ovarian Cancer."                       11       Q Well, asbestos can cause mesothelioma and it
       12      A Yes.                                                12   can cause lung cancer; right?
       13      Q If you would, take a minute and look at the         13       A It's usually not a significant cause of lung
       14   abstract. The last sentence of the abstract reads:       14   cancer. It's a contributing factor to people who are
       15          "These findings are the first to                  15   smokers.
       16      confirm the cellular effect of talc and               16       Q Asbestos is?
       17      provide a molecular mechanism to                      17       A Yeah.
       18      previous reports linking genital talc                 18       Q Okay. Well, I know it usually causes
       19      use to increased ovarian cancer risk."                19   mesothelioma, but asbestos can cause lung cancer;
       20      A I was sort of reading the rest of the               20   right?
       21   abstract. Let me go over it.                             21       MS. AHERN: Objection. Form. Asked and answered.
       22          Okay. I'm sorry, what was your question?          22       THE WITNESS: I think it's pretty rare. I think
       23      Q Well, having read the abstract, do you feel         23   it's mostly, as I said, predominantly lung cancer and
       24   like you have a good handle on the general topic of      24   these -- they can add another factor to it, asbestos,
       25   this study?                                              25   what I've read about it, because I'm not an expert in


                                                   Page 271                                                       Page 273
        1      A Not at all.                                          1   cigarette smoking and lung cancer.
        2      MS. AHERN: Objection. Form.                            2   BY MR. DEARING:
        3   BY MR. DEARING:                                           3      Q On page 20 you have a subheading "Detection of
        4      Q Not at all?                                          4   Talc in Ovarian Tissue."
        5      A No. I'd like to see the materials and                5      A I see it.
        6   methods. I'd like that see what they were actually        6      Q And this appears to be a criticism of
        7   studying. I was looking for that. I couldn't see          7   Dr. Kane's recitation of the evidence that talc has
        8   that.                                                     8   been observed in ovarian tissue and other gynecologic
        9      Q You know, if you're not familiar with it,            9   tissue.
       10   let's move on.                                           10          Is that an accurate summary?
       11      A I'm not.                                            11      A Yes, uh-huh.
       12      Q I want to ask you what you're familiar with.        12      Q Are you saying that that's just not true, that
       13   I might come back to it if I have time for it.           13   talc has not been observed in gynecologic tissue?
       14      A Okay.                                               14      A No. I think in my second sentence, I say,
       15      Q Back to page 12.                                    15   "She then acknowledges that the presence of talc
       16      A Yes.                                                16   particles found in ovarian cancer tissue does not prove
       17      Q Middle paragraph, last two sentences, you           17   that the talc played a causal role yet argues it is
       18   state:                                                   18   'consistent with causation and provides additional
       19          "Further, it is unlikely that                     19   evidence in support after causal relationship,'" which
       20      exposure to a single agent, i.e., talc,               20   is -- the whole sentence doesn't make sense to me.
       21      could result in the development of such               21      Q Okay. I just want to be clear. You're not
       22      distinctly different neoplasms."                      22   taking exception to the fact that she's acknowledging
       23          My question is there are examples where a         23   that scientists have observed talc particles in ovarian
       24   single etiologic agent can cause more than one type of   24   tissue and other gynecologic tissue?
       25   cancer; right?                                           25      A Well, in ovarian tissue, for sure.


                                                                                 69 (Pages 270 to 273)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 282 of 348 PageID:
                                   61056
                                                Robert Kurman, M.D.
                                                    Page 274                                                       Page 276
        1      Q Are you saying the presence of talc in ovarian        1   I want to ask you a question about it. I know that's
        2   tissue has no relevance to the issue of inflammation or    2   your position.
        3   ovarian cancer?                                            3      A Yeah.
        4      A I'm saying it's not evidence that it's causing        4      Q Are you aware that there are many studies that
        5   ovarian cancer.                                            5   conclude that talc particles can, in fact, migrate from
        6      Q So you -- have you seen studies that identify         6   the perineum to the ovaries?
        7   talc in ovarian tissue?                                    7      MS. AHERN: Objection. Form.
        8      A Yes.                                                  8      THE WITNESS: From the perineum?
        9      Q And in those same studies, did they identify a        9      MR. DEARING: Yes.
       10   granulomatous or giant cell response to the talc?         10      THE WITNESS: No, I'm not aware of those.
       11      A Actually, no. That's the Heller article where        11   BY MR. DEARING:
       12   she sees it, but she specifically says she doesn't see    12      Q Are you aware that the 2007 study by
       13   foreign-body giant cell reaction.                         13   Dr. Cramer states that the presence of talc in lymph
       14      Q Can you reconcile that inconsistency if you          14   nodes provides evidence that talc used externally is
       15   think that's how the body should respond to talc?         15   capable of migrating into the pelvis?
       16      A Well, I think -- reconcile it is that I don't        16      MS. AHERN: Objection. Form.
       17   think the talc is there having any biologic function or   17      THE WITNESS: Could -- do you have that paper, by
       18   is really in the tissue. It's a contaminant, and          18   the way?
       19   that's why it didn't produce a biologic reaction.         19   BY MR. DEARING:
       20      Q Is it your opinion that all of the studies           20      Q I don't.
       21   that claim to recognize or identify talc in ovarian       21      A I'd like to see the paper because I think
       22   tissue are what -- are really identifying                 22   there are issues in there that are important to point
       23   contamination?                                            23   out.
       24      A I think it's a significant issue. I can't            24      Q Okay. The one paper I did bring that I
       25   tell you all of them or not.                              25   already showed you was McDonald's 2019 paper.


                                                    Page 275                                                       Page 277
        1      Q The fact is there's not a single study that           1      A Right.
        2   identifies talc particles in ovarian tissue that           2      Q Remember?
        3   recognizes a granulomatous giant cell response to it;      3      A This is a totally different one.
        4   right?                                                     4      Q Right. She said that -- said that the talc
        5      MS. AHERN: Objection. Form.                             5   migrated to pelvic lymph nodes from perineal
        6      THE WITNESS: As far as I know, that's correct.          6   application.
        7   BY MR. DEARING:                                            7      A Yeah. I don't see how she came to that
        8      Q The next section of your report is entitled           8   conclusion.
        9   "Migration of Talc to the Ovaries."                        9         So, first of all, the 2007 study -- let me
       10      A Okay.                                                10   make sure this is the correct. 2007.
       11      Q And I asked you earlier today if you thought         11      Q The one I'm referring to is the pelvic lymph
       12   talc could migrate from the perineum to the ovaries and   12   node study.
       13   you said absolutely not.                                  13      A "Presence of talc in pelvic lymph nodes of a
       14         Is that still your position?                        14   woman with ovarian cancer and long-term genital
       15      A Yes. I don't think it can migrate from the           15   exposure to cosmetic talc."
       16   perineum.                                                 16      Q Okay.
       17      Q Specifically what you say is -- you say that         17      A Right. The first thing is that it's a case
       18   Dr. Kane's opinion that talcum powder applied to the      18   report --
       19   external perineum can migrate to the ovaries is           19      Q Sure.
       20   unsupported by and contrary to the current data and       20      A -- which doesn't really tell you a lot in
       21   understanding of ovarian cancer pathology.                21   terms of scientific evidence. This is just any case,
       22      A Where were you reading that? I'm sorry. I            22   any case report.
       23   know I said that, but can you see that -- show me that    23      Q A case where talc migrated to that lady's
       24   exactly.                                                  24   ovaries from the perineum; right?
       25      Q No, not without reading the whole thing. But         25      MS. AHERN: Objection. Form.


                                                                                  70 (Pages 274 to 277)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 283 of 348 PageID:
                                   61057
                                               Robert Kurman, M.D.
                                                   Page 278                                                       Page 280
        1       THE WITNESS: Where does it say anything about it      1   BY MR. DEARING:
        2   coming from the perineum? I didn't see that. It could     2      Q And this is a paper that you cite for support
        3   have come from inhalation. I mean, I can tell you,        3   that talc cannot migrate from the perineum to the
        4   coming from the peritoneum and going to a lymph node      4   ovaries; right?
        5   sounds totally against any method of lymphatic            5      A I'd have to see my report where we say that.
        6   drainage.                                                 6   I see that we -- we're referring to Venter and Egli and
        7   BY MR. DEARING:                                           7   then we go to Wehner. Yes.
        8       Q Do you believe --                                   8      Q At the top of page --
        9       A Makes no sense.                                     9      A Wehner and Boorman. This is Wehner and
       10       Q Do you believe that inhalation of talc can         10   Wehner.
       11   result in the deposition of talc particles on ovarian    11      Q At the top of page 22, you say "notably
       12   tissue?                                                  12   Dr. Kane omits" and you mention the Wehner 1985 and
       13       A It hasn't been demonstrated that I'm aware of.     13   Boorman 1995.
       14   It has been talked about.                                14      A Right.
       15       Q You just said it could have come from              15      Q "Wehner examined talc migration in
       16   inhalation.                                              16      monkeys, receiving repeated
       17       A Yeah. And I'm saying maybe that's how it came      17      introductions of talc to the upper
       18   from, but there's no definite proof. But I don't think   18      vagina over a period of 45 days.
       19   it --                                                    19      A Right.
       20       MS. AHERN: I think it is in your report. You         20      Q Right?
       21   cited it; right?                                         21      A "No talc particles were found in the uterus or
       22       THE WITNESS: Case report.                            22   tubes."
       23   BY MR. DEARING:                                          23      Q Right.
       24       Q Well, let me ask you about the two cases that      24      A Yes. So they didn't find talc.
       25   you cite --                                              25      Q So what's important I want to point out about


                                                   Page 279                                                       Page 281
        1       A Okay.                                               1   the study is there were six monkeys studied over a
        2       Q -- to support your opinion.                         2   45-day period with only 30 applications of talc; right?
        3       A Okay. Sure. I can't find it.                        3   That's in the abstract. That's also in the body, but
        4       Q One of them was the Wehner study. Do you            4   it is easier to find in the abstract.
        5   remember the title is "On Talc Translocation from the     5       MS. AHERN: Objection. Form.
        6   Vagina to the Oviducts and Beyond," Alfred Wehner. I      6       THE WITNESS: Six monkeys received 30 applications.
        7   have a copy of it here if you would like.                 7   Yeah.
        8       A Yeah. It would be nice to see the paper so I        8   BY MR. DEARING:
        9   can --                                                    9       Q And each of those six monkeys were at
       10       Q I thought you'd say that.                          10   different menstrual cycle places; right?
       11          (The document referenced below was                11       MS. AHERN: Objection. Form.
       12       marked Deposition Exhibit 12 for                     12       THE WITNESS: Don't know that -- where it says
       13       identification and is appended hereto.)              13   that.
       14   BY MR. DEARING:                                          14   BY MR. DEARING:
       15       Q This is Exhibit 12. This is a paper entitled       15       Q The point is 30 applications over 45 days
       16   "On Talc Translocation from the Vagina to the Oviducts   16   doesn't replicate long-term human genital talc use,
       17   and Beyond."                                             17   does it?
       18       A Okay.                                              18       A No, not at all. So you're suggesting that
       19       Q It is by Alfred Wehner and Dr. R.E. Weller;        19   negative finding supports what?
       20   right?                                                   20       Q No. I'm suggesting that your citing this
       21       A Okay.                                              21   study for the proposition that talc cannot migrate from
       22       MS. AHERN: I'm sorry. Do you have --                 22   the perineum to the ovaries in a human is misplaced --
       23       MR. DEARING: Oh, you need a copy.                    23       MS. AHERN: Objection. Form.
       24       MS. AHERN: Thank you.                                24   BY MR. DEARING:
       25   ///                                                      25       Q -- because they're not the same thing.


                                                                                 71 (Pages 278 to 281)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 284 of 348 PageID:
                                   61058
                                               Robert Kurman, M.D.
                                                   Page 282                                                       Page 284
        1      A But the point is to try to demonstrate, from         1   genital talc use cannot -- that talc cannot migrate
        2   your standpoint, that it does get there. And there's      2   from the perineum to the ovaries?
        3   no study that shows that. I mean, you're supporting a     3      MS. AHERN: Objection. Form.
        4   negative, which, to me, is nothing -- is not really       4      THE WITNESS: I think it's just supportive of the
        5   relevant. You want to support a positive.                 5   studies that she quoted that says it does.
        6      Q You would agree with me that the cynomolgus          6   BY MR. DEARING:
        7   monkeys don't menstruate the way humans do; right?        7      Q Well, you criticized her study.
        8      A Oh, I don't know about that.                         8      A Right.
        9      Q They do menstruate, but it's a different             9      Q So if it was just supportive, that means it's
       10   process.                                                 10   not supportive at all; right?
       11      A I don't know why it's different.                    11      MS. AHERN: Objection. Form.
       12      MS. AHERN: Objection. Form.                           12      THE WITNESS: So they're both not supportive.
       13      THE WITNESS: I don't know.                            13   BY MR. DEARING:
       14   BY MR. DEARING:                                          14      Q Okay. Fair enough.
       15      Q Do you know whether these cynomolgus monkeys        15          In fact, the authors practically say that in
       16   experience retrograde menstruation?                      16   this study; right?
       17      A No idea.                                            17          If you look at the last sentence of this
       18      Q Right. Also, did you know that, at the time         18   one-page report, it says, "In the extrapolation of
       19   of this study, Alfred Wehner was a paid consultant for   19   these data, one should consider limitations relative to
       20   Johnson & Johnson?                                       20   the marked anatomical and physiological differences
       21      A No.                                                 21   between rodents and humans; right?
       22      Q You also cite the Boorman study for the             22          Do you see that last sentence?
       23   proposition that talc cannot migrate from the perineum   23      A I'm sorry. I was looking at something else.
       24   to the ovaries in humans.                                24      Q It's the last sentence of this paper.
       25         And, of course, this is a rat study; right?        25      A This Boorman paper?


                                                   Page 283                                                       Page 285
        1      MS. AHERN: Objection. Form.                            1      Q Uh-huh.
        2   BY MR. DEARING:                                           2      A "In the extrapolation of these data, one
        3      Q Rats and mice. Yes?                                  3   should consider limitations relative to the marked
        4      MS. AHERN: Same objection.                             4   anatomical and physiological differences between
        5      THE WITNESS: That's right.                             5   rodents and humans."
        6           (The document referenced below was                6      Q Right. So the Boorman paper doesn't really
        7      marked Deposition Exhibit 13 for                       7   tell you much about whether talc can migrate to the
        8      identification and is appended hereto.)                8   perineum -- from the perineum to the ovaries in humans;
        9   BY MR. DEARING:                                           9   right?
       10      Q In fact, it's a one-page rat study. Here it         10      A That's correct. Interestingly, by the way, in
       11   is, if you'd like to refer to it.                        11   the earlier comment I made about the Cramer 2007 study,
       12           Is this the study you were referencing to        12   I found the sentence -- I'd have to look it up in the
       13   support your proposition that talc can't migrate from    13   paper, but I say, "I note that Cramer 2007," which is
       14   the perineum to the ovaries in humans?                   14   the study that we're talking about, "which Kane relies
       15      MS. AHERN: Objection. Form.                           15   on for a migration opinion, stated that 'there is no
       16      THE WITNESS: Let me see. Boorman, Seely. Yes,         16   proof that talc used externally reaches the pelvis.'"
       17   this looks like the study, 1995. Yes.                    17      Q Right. That's the -- that's the 2007 pelvic
       18   BY MR. DEARING:                                          18   lymph node study.
       19      Q Actually, you criticized Dr. Kane for not           19      A Yes.
       20   mentioning the Boorman study; right?                     20      Q Right.
       21           You say, "Notably, Dr. Kane omits any mention    21      A The one we were talking about just a few
       22   of Wehner of 1985 and Boorman 1991."                     22   minutes ago.
       23      A Right.                                              23      Q Right. And the one I showed you earlier by
       24      Q And you think that this study, this Boorman         24   Dr. McDonald is a follow-up to that study, right, the
       25   one-page rat study, supports the proposition that        25   one that's Exhibit 6?


                                                                                 72 (Pages 282 to 285)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 285 of 348 PageID:
                                   61059
                                                             Robert Kurman, M.D.
                                                               Page 286                                              Page 288
        1     A The one that was just published in -- when was             1       digestion of tissue taken from paraffin
        2   it?                                                            2       blocks in scanning electron microscopy
        3     Q This one was published this year.                          3       with energy-dispersive x-ray analysis.
        4     A 2007, that was published. Okay.                            4       Talc particles correlated significantly
        5     Q This is the follow-up to that study; right?                5       with surface contamination assessments
        6     MS. AHERN: Objection. Form.                                  6       using polarized light microscopy. After
        7   BY MR. DEARING:                                                7       adjusting for surface contamination,
        8     Q Well, if you would, go back to Exhibit 6.                  8       talc burdens in nodes correlated
        9     A What's Exhibit 6?                                          9       strongly with perineal talc use.
       10     Q It's the follow-up to the lymph node study.               10           "In a" -- let me just -- "In a
       11   It's entitled "Correlative Polarizing Light and               11       separate group of lymph nodes,
       12   Scanning" --                                                  12       birefringent particles within the same
       13     A Sandra McDonald.                                          13       plane of focus as the tissues in the
       14     Q Right.                                                    14       histological sections were highly
       15     A Since I haven't read that study, I'd like to              15       correlated with talc particles within
       16   read it more carefully, because they don't describe how       16       the tissue by in situ, SEM-EDX. We
       17   they -- how they -- what tissues they examined, how           17       conclude that since talc can be a
       18   these patients were possibly exposed to talc.                 18       surface contaminant from tissue
       19     Q They do explain all that.                                 19       collection/preparation, digestion
       20     A Where is it?                                              20       measurements may be influenced by
       21     Q Well, I tell you what. Let's go off the                   21       contamination. Instead, because they
       22   record, and you can take all the time you want to read        22       preserve anatomic landmarks and permit
       23   it and we can talk about it.                                  23       identification of particles and cells in
       24     A Okay.                                                     24       tissues, polarized light microscopy and
       25     VIDEO OPERATOR BROWN: The time is now 5:02. Going           25       in situ SEM-EDX are recommended to

                                                               Page 287                                              Page 289
        1   off the record.                                                1      assess talc in lymph nodes."
        2            (Recess taken.)                                       2         Do you agree that that's an accurate summary
        3         VIDEO OPERATOR BROWN: The time is now 5:22. Back         3   of this study?
        4   on the record.                                                 4      MS. AHERN: Objection. Form.
        5   BY MR. DEARING:                                                5      THE WITNESS: Pretty much.
        6         Q Doctor, have you now had an opportunity to             6   BY MR. DEARING:
        7   read this study entitled "Correlative Polarizing Light         7      Q So one of the things we were talking about
        8   and Scanning Electron Microscopy for the Assessment of         8   before we went off the record so you could read this
        9   Talc in Pelvic Region Lymph Nodes"?                            9   study was that you said you weren't sure about the
       10         A I have.                                               10   exposure of the patients in this study.
       11         Q In the abstract, it sets out sort of the              11         And if you would turn to page 2 at the top, it
       12   purpose and the methodology of this study. And it says        12   says:
       13   that:                                                         13         "One exposure of great current
       14            "Perineal talc use is associated                     14      medical, public health, and medicolegal
       15         with ovarian carcinoma in many                          15      importance is the association of ovarian
       16         case-controlled studies. Such talc may                  16      cancers with the use of talc cosmetic
       17         migrate to pelvic organs and regional                   17      products in the genital area. Data
       18         lymph nodes with both clinical and legal                18      related to this association come from
       19         significance. Our goal was to                           19      epidemiologic studies which identified a
       20         differentiate talc in pelvic lymph nodes                20      clear excess of women with ovarian
       21         due to exposure versus contamination                    21      malignancy who had used talc in their
       22         with talc in the laboratory. We studied                 22      genital area prior to developing cancer
       23         22 lymph nodes from ovarian tumor                       23      compared to control women."
       24         patients, some of which had documented                  24         Do you agree with that last sentence of these
       25         talc exposure, to quantify talc using                   25   six scientists that data related to this association


                                                                                     73 (Pages 286 to 289)
                             Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 286 of 348 PageID:
                                   61060
                                               Robert Kurman, M.D.
                                                    Page 290                                                      Page 292
        1   come from epidemiologic studies which identified a        1          "A subset of authors from the
        2   clear excess of women with ovarian malignancy who had     2      present study have previously described
        3   used talc in their genital area prior to developing       3      a case report in which a woman with
        4   cancer compared to the control women?                     4      serous carcinoma of the ovary had a
        5      A I'm not sure what they mean by "clear."              5      history of talc usage in her genital
        6      Q So you don't know how to interpret that              6      area, was demonstrated to have talc in
        7   sentence at all?                                          7      three of four pelvic -- examined pelvic
        8      MS. AHERN: Objection. Form.                            8      lymph nodes."
        9      THE WITNESS: I mean, there have been epidemiologic     9          So when we were talking about the exposure
       10   studies that have demonstrated an association between    10   history in the 2007 Cramer case and you said "I don't
       11   talc usage and ovarian cancer. I don't argue that.       11   know if she used perineal talc," you now do know that
       12   BY MR. DEARING:                                          12   that was a perineal talc exposure; right?
       13      Q And then he goes on to cite an epidemiological      13      MS. AHERN: Objection. Form.
       14   study two sentences farther down.                        14      THE WITNESS: Well, she claims to have perineal
       15         "The most recent summary of the epidemiologic      15   talc exposure, and then these exposure -- and you find
       16   data in 2018" -- I guess at the time he was working --   16   talc in the lymph nodes, but that does not directly
       17   they were working on this paper -- "found that genital   17   prove that it got there through the female reproductive
       18   talc may increase the risk of ovarian carcinoma by       18   tract.
       19   about 30 percent."                                       19   BY MR. DEARING:
       20         And then he's, of course, referring to the         20      Q But the only evidence of exposure in the 2007
       21   Penninkilampi study.                                     21   Cramer study is the statement by the patient that she
       22      A That's a relative risk, about 1.3 or                22   used talc perineally; right?
       23   something.                                               23      MS. AHERN: Objection to form.
       24      Q Do you agree that the Penninkilampi shows a         24   BY MR. DEARING:
       25   relative risk of 30 percent?                             25      Q You're speculating about any other talc


                                                    Page 291                                                      Page 293
        1      MS. AHERN: Objection to form.                          1   exposure; right?
        2      THE WITNESS: Well, by 1.3, right. I just looked        2      MS. AHERN: Objection. Form.
        3   at the abstract on that study, by the way.                3      THE WITNESS: Well, I can't -- yeah. I mean, it
        4   BY MR. DEARING:                                           4   doesn't prove necessarily that -- passage through the
        5      Q Okay. He goes down to describe the Heller            5   female reproductive tract. It could have been inhaled.
        6   study in that same column. And that's a study that we     6   BY MR. DEARING:
        7   briefly touched on earlier.                               7      Q Next, it says in the next paragraph:
        8      A Uh-huh.                                              8         "In the study reported here, we
        9      Q But he says:                                         9      assess talc in a sizeable set of lymph
       10         "A study by Heller was done with                   10      nodes in the pelvic region representing
       11      digestion techniques followed by TEM" --              11      multiple patients; thus, we expanded on
       12      that's transmission electron                          12      the lymph node analysis in the previous
       13      microscopy -- "on ovaries from 24 women               13      case report" -- talking about the Cramer
       14      having hysterectomy, oophorectomy, for                14      2007 report -- "as well as the study of
       15      reasons other than ovarian malignancy.                15      nonmalignant ovaries by Heller, et al.,
       16      The study found talc in approximately                 16      and we examined nodes in 22 patients
       17      half the samples, with no obvious                     17      with various types of ovarian tumors."
       18      correlation with the genital talc use                 18         So do you agree that this study is in part
       19      history, thereby suggesting to the                    19   a -- an expansion of Dr. Cramer's 2007 -- Dr. Cramer's
       20      authors that talc exposure may be                     20   2007 case report and Dr. Heller's study?
       21      relatively ubiquitous across the                      21      A It's a follow-up, yeah. Okay.
       22      population."                                          22      Q Okay. And part of the study here is that they
       23         And then he talks about Dr. Cramer's and           23   assessed -- in the next column at the top, they assess
       24   Godleski's 2007 case report that we were talking about   24   tissue surface contamination as a factor explaining the
       25   prior to the break. He said:                             25   high talc burden in some cases as opposed to talc that


                                                                                 74 (Pages 290 to 293)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 287 of 348 PageID:
                                   61061
                                                Robert Kurman, M.D.
                                                    Page 294                                                      Page 296
        1   migrated to the nodes from perineal exposure.              1   plausible.
        2         So, clearly, they are surmising or suggesting        2   BY MR. DEARING:
        3   that the talc found in the lymph nodes in this study       3       Q So something can be more likely, in your
        4   migrated to those lymph nodes from perineal exposure;      4   mind --
        5   right?                                                     5       A Yeah.
        6      MS. AHERN: Objection. Form.                             6       Q -- without being biologically plausible?
        7      THE WITNESS: Well, as I said, you can't -- you          7       A Right.
        8   can't -- that's a big jump. They don't show you -- I       8       Q And, of course, one of the advantages of using
        9   mean, they're just saying she had perineal exposure.       9   SEM-EDX, according to these eight scientists, is that
       10   Okay. And she has talc in these lymph nodes.              10   it allows you to observe the talc particle in situ --
       11         It doesn't mean that it went through the            11   in other words, in the tissue -- not on the surface of
       12   vagina, the cervix, the uterus, the ovaries, and          12   the tissue; right?
       13   somehow got into the lymph nodes.                         13       MS. AHERN: Objection. Form.
       14   BY MR. DEARING:                                           14       THE WITNESS: Well, I'm not an electron
       15      Q Well, these eight authors concluded that that        15   microscopist, so I can't really comment on their
       16   exposure, the perineal exposure, is what resulted in      16   technology of avoiding contamination, which they,
       17   the presence of talc in the lymph nodes; right?           17   frankly, acknowledge could be a significant problem.
       18      MS. AHERN: Objection. Form.                            18          So I'd have to depend on someone who is an
       19      THE WITNESS: They concluded that, but I don't see      19   electron microscopist to really go over their
       20   why -- they didn't give the alternate explanation, that   20   methodology and say, oh, yes, this really is purified.
       21   it possibly got through inhalation. It makes more         21   I mean, cutting the section off the surface, I don't
       22   sense to me than coming through the vagina or the         22   think that necessarily excludes contamination.
       23   vulva -- from the vulva.                                  23          But, again, I'm not an electron microscopist.
       24   BY MR. DEARING:                                           24   I think that needs to be evaluated by someone who is.
       25      Q Inhalation of talc particles depositing on           25   ///


                                                    Page 295                                                      Page 297
        1   ovarian tissue or pelvic lymph nodes is more plausible     1   BY MR. DEARING:
        2   to you than perineal application?                          2       Q Right. Well, at least three of these authors
        3      A Yes.                                                  3   are electron microscopists. So would you defer to them
        4      Q Are you saying that inhalation of talc                4   when they say that SEM-EDX methodologies is the best
        5   particles depositing on ovarian -- on ovaries or in        5   way to evaluate talc particles in situ or in tissue?
        6   pelvic lymph nodes is a biologically plausible             6       A No.
        7   mechanism of exposure?                                     7       MS. AHERN: Objection. Form.
        8      MS. AHERN: Objection. Form.                             8       THE WITNESS: I would not defer to them. I would
        9      THE WITNESS: Repeat that, please.                       9   think you need an independent -- I mean, it's the same
       10      MR. DEARING: Sure.                                     10   idea. It would have to be -- now, I realize the study
       11   BY MR. DEARING:                                           11   got published, but I still would like to have someone
       12      Q I believe you just said it was more likely, in       12   else who's an electron microscopist to tell me to
       13   your opinion, that the talc particles observed in the     13   review that paper and say, yes, that makes sense. I
       14   pelvic lymph nodes in this study got there through        14   can't do that.
       15   inhalation and -- as opposed to perineal exposure and     15   BY MR. DEARING:
       16   migration.                                                16       Q If there are three of the eight authors of
       17          My question is, by saying that, are you saying     17   this study who are electron microscopists saying that,
       18   that it's biologically plausible that you can -- that a   18   why do you need more?
       19   person can inhale talc and have those particles           19       MS. AHERN: Objection.
       20   deposited on ovarian tissue or pelvic lymph nodes?        20       THE WITNESS: It does -- I mean, they're -- I'm not
       21      MS. AHERN: Objection. Form.                            21   saying necessarily biased, but they want to prove a
       22      THE WITNESS: I didn't say anything about               22   case. So they're going to say, oh, yeah, this shows
       23   biologically plausible; I'm saying that I think it's      23   it.
       24   more likely -- it's hypothesis. And that needs to be      24          I'd like an independent review by someone who
       25   proven before it's accepted as being biologically         25   is an electron microscopist who says yes, that's a


                                                                                  75 (Pages 294 to 297)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 288 of 348 PageID:
                                   61062
                                                Robert Kurman, M.D.
                                                    Page 298                                                                Page 300
        1   reasonable way of doing it and avoids contamination.       1   are closed under normal conditions -- get through the
        2   As I said, I'm not in a position to do that.               2   vagina, get through the cervix -- which, most of the
        3   BY MR. DEARING:                                            3   time, is closed to passage of bacteria, sperm, except
        4      Q Do you agree that the women studied in this           4   at the time of the -- when women ovulate -- get through
        5   publication who are in this study all claimed that they    5   the uterus, get through the fallopian tubes, and get
        6   used talc for feminine hygiene?                            6   into the peritoneal cavity. I don't think that's
        7      A No, I don't think they all did. I think there         7   possible. Unlike the lungs and the mouth, there's an
        8   were some that said they were exposed, but I think         8   open airway. That, to me, is more likely than going
        9   others said they weren't.                                  9   through that complicated route through the genital
       10      Q On page 3 at the top, the beginning of the           10   tract.
       11   first paragraph, it says "Talc is readily visible under   11      Q Do you also recall reading in this study that
       12   polarizing light microscopy."                             12   these eight authors suggested, and might have proved,
       13      A Yes.                                                 13   that one of the flaws in the Heller study was that the
       14      Q You agree with that; right?                          14   technique used for determining the fiber burden in the
       15      A Well, that's what they say, yeah.                    15   ovarian tissue of the women was transmission, EM, in
       16      Q Well, you've --                                      16   which they digested the tissue and thereby brought in
       17      A Oh, yeah, generally speaking, yes. Yes.              17   the surface contaminants that Dr. Godleski and McDonald
       18      Q I mean, you understand how polarizing light          18   and Cramer and Welch and everyone else says that you
       19   microscopes work and how they will illuminate particles   19   have to be careful to avoid?
       20   with birefringent properties?                             20      MS. AHERN: Is there a question? I'm sorry.
       21      A I use it.                                            21      MR. DEARING: Yeah.
       22      Q And it also says that talc may be found as           22      THE WITNESS: Yeah.
       23   both plates and fibrous forms. And I believe you don't    23      MS. AHERN: Objection. Sorry.
       24   have an opinion about the fibrous forms; right?           24      THE WITNESS: No, no. I think I'm getting --
       25      A Right.                                               25   please repeat the question.


                                                    Page 299                                                                Page 301
        1      Q And where the particles of fibers are brightly        1     MR. DEARING: Sure.
        2   birefringent and often in the size range of 1 to 10        2   BY MR. DEARING:
        3   microns. We've already discussed that?                     3     Q So one of the things this study addresses is
        4      A Right.                                                4   the Heller study. And it's a continuation of the
        5      Q And then do you see at the bottom of page 3,          5   Heller study. And they're offering an explanation for
        6   right-hand side, next-to-the-last sentence, it states      6   why the burden count for talc particles in the Heller
        7   what the eight authors' position was with regard to        7   study seems to be inconsistent across the board with
        8   exposure.                                                  8   women who acknowledge being exposed to talc and women
        9         It says "The birefringent particles present          9   who either didn't know or -- or denied using talc.
       10   within lymph nodes were taken to indicate clinically      10     A Correct.
       11   significant talc that migrated there through the          11     Q Okay. And what they say in this study is that
       12   lymphatic system"; right?                                 12   the problem with the Heller study was they digested the
       13      A That's what they say.                                13   tissue and then counted the fibers. And by digesting
       14      MS. AHERN: Objection to form.                          14   the tissue -- or particles, talc particles, by
       15      THE WITNESS: Yes.                                      15   digesting the tissue, you necessarily bring in surface
       16   BY MR. DEARING:                                           16   contaminants so that the particles that you're
       17      Q So we talked about migration through the             17   calculating or quantifying are just as likely to be
       18   genital tract. Do you have an opinion about whether       18   surface contaminants as anything else; right?
       19   perineal talc use can result in talc migration through    19     MS. AHERN: Objection. Form.
       20   the lymphatics to lymph nodes?                            20     THE WITNESS: That's what they claim.
       21      A Well, in order to get to the lymphatics, they        21   BY MR. DEARING:
       22   have to get into the peritoneal cavity. So, as I said     22     Q Do you have any disagreement with them, with
       23   before, I don't believe -- and this, to me -- and this    23   that analysis of the Heller methodology?
       24   study doesn't prove it either, that talc particles on     24     A I think --
       25   the perineum can get through the labia majora -- which    25     MS. AHERN: Objection to form.


                                                                                    76 (Pages 298 to 301)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 289 of 348 PageID:
                                   61063
                                                Robert Kurman, M.D.
                                                    Page 302                                                       Page 304
        1      THE WITNESS: I think that that's -- could be            1   clinicians should consider broader inquiries with their
        2   contamination, yes. That's what I said earlier.            2   patients about talc usage when they're suffering from
        3   BY MR. DEARING:                                            3   ovarian cancer?
        4      Q On page 11, they start summarizing their              4      MS. AHERN: Objection. Form.
        5   findings on the right-hand column --                       5      THE WITNESS: I'm not here to make recommendations
        6      A Hold it. Hold it.                                     6   for how patients should be advised.
        7      Q I'm sorry. Page 13.                                   7   BY MR. DEARING:
        8      A Okay.                                                 8      Q Well, do you agree that, since there are
        9      Q Right-hand column, three-quarters of the way          9   suggestions that pelvic lymph nodes may -- may gather
       10   down, it says:                                            10   or store foreign particles that may have contributed to
       11         "In the long-studied and debated                    11   cancer, to ovarian cancers, do you agree with the
       12      association between talc exposure and                  12   statement here that pathologists may wish to consider
       13      ovarian cancer, our study provides                     13   greater -- may wish to pay greater attention to sampled
       14      additional evidence that talc may enter                14   regional lymph nodes?
       15      pelvic tissues and ultimately be                       15      MS. AHERN: Objection. Form.
       16      detected and measured in regional lymph                16      THE WITNESS: There's no data in this study to say,
       17      nodes, and this relationship became                    17   even if they were correct in saying that talc is in
       18      especially strong when clinical-use data               18   lymph nodes, that it has any bearing on the development
       19      was considered and surface contamination               19   of ovarian cancer. Nothing whatsoever. I've never
       20      was corrected for statistically. This                  20   heard of development of ovarian cancer based on
       21      adds perspective to the known migratory                21   material that's in lymph nodes.
       22      capabilities and overall biological                    22   BY MR. DEARING:
       23      role/impact of talc."                                  23      Q If that's true --
       24         Do you agree with the statement that the            24      A It's biologically not plausible to me.
       25   findings of this study provide additional evidence that   25      Q If that's true, why do at least three of your


                                                    Page 303                                                       Page 305
        1   talc may enter the pelvic tissues and ultimately be        1   textbooks identify talc as a risk factor for ovarian
        2   detected and measured in lymph nodes?                      2   cancer?
        3      MS. AHERN: Objection. Form.                             3       MS. AHERN: Objection. Form.
        4      THE WITNESS: As I said a few minutes ago, I do not      4       THE WITNESS: Well, a risk factor has nothing to do
        5   have the technical expertise in electron microscopy to     5   with its presence in lymph nodes.
        6   critically evaluate the techniques that they claim         6   BY MR. DEARING:
        7   avoided the contamination issue. So I cannot, at this      7       Q Well, risk factors have to do with a woman's
        8   point, agree with that.                                    8   increased risk of getting ovarian cancer; right?
        9   BY MR. DEARING:                                            9       MS. AHERN: Objection. Form.
       10      Q Dr. Cramer, who participated in this study, is       10       THE WITNESS: It doesn't tell you anything about
       11   an OB/GYN; right?                                         11   the mechanism, though.
       12      A Yes.                                                 12       MR. DEARING: I'm going to move to strike your last
       13      Q So with regard to a practical application of         13   answer as nonresponsive.
       14   this study for an OB/GYN, the authors write:              14   BY MR. DEARING:
       15          "Our findings also suggest that in                 15       Q My question was, well, risk factors have to do
       16      patients with ovarian cancer, clinicians               16   with a woman's increased risk of getting ovarian
       17      may want to make broader inquiries into                17   cancer; right? That's the question.
       18      the past and present use of talc by                    18       MS. AHERN: Objection. Form.
       19      their patients. Similarly, pathologists                19       THE WITNESS: I said, yes, increased risk. A truly
       20      may wish to pay greater attention to                   20   accepted risk factor means that there's a risk of
       21      sampled regional lymph nodes."                         21   developing ovarian cancer. We discussed that issue of
       22          First of all, do you agree that, in light of       22   risk factors earlier and that there are weaker risk
       23   the studies, whether you agree with them or not, and in   23   factors and stronger risk factors, and I would still
       24   light of the -- in light of the universe of studies       24   adhere to that statement.
       25   looking at talc and ovarian cancer, do you agree that     25   ///


                                                                                  77 (Pages 302 to 305)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 290 of 348 PageID:
                                   61064
                                                Robert Kurman, M.D.
                                                     Page 306                                                      Page 308
        1   BY MR. DEARING:                                            1   that should have been used as -- to buttress our
        2      Q Do you know whether your new Blaustein's              2   arguments.
        3   edition is going to identify talc as a risk factor for     3   BY MR. DEARING:
        4   ovarian cancer, talc use?                                  4      Q Do you have any other criticisms of her
        5      A It will be mentioned, but not in the kind of          5   methodology as far as how she reached the opinions she
        6   detail that you asked me earlier. Again, to represent      6   reached?
        7   the broad, general notion of what's out there.             7      A Well, as I said, there's some specific issues
        8      Q In the next-to-the-last paragraph in the last         8   that I've listed in the paper. We've addressed some of
        9   sentence, it says, "Our findings yield important           9   them, like analogy. There's others that I mentioned as
       10   insights as to the ability of talc to migrate to          10   well. But, again, since it fails right from the
       11   nodes."                                                   11   beginning not identifying the appropriate tissue to
       12      A Wait, wait, wait. I'm not seeing it.                 12   study in terms of a precursor, everything else after it
       13      Q I'm sorry. Page 14.                                  13   goes by the wayside.
       14      A Yeah. Okay. 14.                                      14      Q As far as you know, have you identified all of
       15      Q Last sentence, next-to-last --                       15   methodological disagreements with her in your report?
       16      A "Our findings yield important" -- okay.              16      MS. AHERN: Objection. Form. Asked and answered.
       17      Q "Our findings yield important                        17      THE WITNESS: Well, in my report and what I've
       18      insights as to the ability of talc to                  18   stated here in the deposition.
       19      migrate to nodes and under what                        19   BY MR. DEARING:
       20      conditions its identification to nodes                 20      Q Speaking of relying on the wrong studies, back
       21      and tissues is clinically meaningful and               21   to the migration -- I forgot to ask you a question.
       22      when not."                                             22          So you relied on the monkey study and the
       23         So do you disagree that this paper offers           23   mouse study, and I think you can see it may have little
       24   important insights as to the ability of talc to migrate   24   or no relevance to the human transmigration. But if
       25   to nodes?                                                 25   you're going to consider animal studies to either


                                                     Page 307                                                      Page 309
        1       MS. AHERN: Objection. Form.                            1   support or refute the idea of talc migrating from the
        2       THE WITNESS: Well, as I said earlier, I still am       2   perineum to the ovaries or from the vagina to the
        3   not -- since I'm unable to truly evaluate their            3   ovaries, you didn't mention the Phillips study.
        4   procedure to prevent migration and to really pin down      4          Are you familiar with the Phillips study?
        5   if talc is in ovarian tissues, I can't comment on the      5   It's a rabbit study.
        6   validity and my impression of this analysis.               6      MS. AHERN: Objection. Form. Mischaracterizing
        7   BY MR. DEARING:                                            7   testimony.
        8       Q So we spent a good bit of time talking about         8      THE WITNESS: I would have to see it.
        9   your criticisms of Dr. Kane. Let me just ask you, do       9   BY MR. DEARING:
       10   you have any criticism of her opinions that are not       10       Q You don't remember it?
       11   contained in your report?                                 11       A No.
       12       A I think it's all there.                             12      Q It was a study where they injected talc into
       13       Q And with regard to her methodology for              13   the vagina of a rat and discovered that it did
       14   evaluating the issues of talc and ovarian cancer, you     14   migrate -- I mean of a rabbit, and discovered that it
       15   testified you have a problem with her methodology in      15   did migrate to the tubes.
       16   that she relied on studies that you think should not      16          Does that not sound familiar to you at all?
       17   have been relied on. Is that a fair statement?            17       MS. AHERN: Objection. Form.
       18       MS. AHERN: Objection. Form.                           18      THE WITNESS: If you had the paper, it may jog my
       19       THE WITNESS: Yes. Specifically, I said she relied     19   memory and I can comment.
       20   on studies utilizing ovarian epithelial cells, surface    20   BY MR. DEARING:
       21   ovarian epithelial cells, to bolster her argument that    21      Q I don't have it. I'm just asking if you --
       22   the studies that she cited were indicative of causation   22      A Okay. Off the top of my head, I don't
       23   of ovarian cancer when I said that the private -- that    23   remember that particular study. I did evaluate a
       24   the -- that the precursor lesions really were in the      24   number of them.
       25   fallopian tube and that should have been the tissue       25          But, again, just as you said, they introduced


                                                                                  78 (Pages 306 to 309)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 291 of 348 PageID:
                                   61065
                                               Robert Kurman, M.D.
                                                   Page 310                                                       Page 312
        1   the talc -- was it talc that they used?                   1   hygiene where she just pours talc in her panties, which
        2      Q Yes.                                                 2   a lot of these plaintiffs have done, and then she has
        3      A They introduced it into the vagina. So that          3   intercourse that day, wouldn't that force some of the
        4   immediately short-circuits one of the major barriers,     4   talc particles presumably into the vagina?
        5   which is from the perineum to get to the vagina. I        5      MS. AHERN: Objection. Form.
        6   mean, it's closed. The vulva is closed. The labia         6      THE WITNESS: If it's still there, present at the
        7   touch each other. Without physically opening them,        7   time of having intercourse, I don't know.
        8   something can't get into it.                              8   BY MR. DEARING:
        9      Q Well, if talc could get inside the vagina,           9      Q Well --
       10   does that change your opinion at all about whether it    10      A It depends how much is there. I mean, it's
       11   can migrate further?                                     11   totally speculation. I can't comment on that.
       12      MS. AHERN: Objection. Form.                           12      Q Is it biologically plausible that talc can be
       13      THE WITNESS: First of all, I would just repeat --     13   forced into the vagina if used externally --
       14   or say if it got into the vagina, and I'd say it can't   14      A No, I don't think that's --
       15   get into the vagina.                                     15      Q -- during intercourse?
       16   BY MR. DEARING:                                          16      A -- biologically plausible.
       17      Q I know.                                             17      Q You don't?
       18      A And then there was a study that I cited in          18      A No.
       19   which they did -- let me see if I can find it. They      19      Q This study that you're referring to actually
       20   put particles, not talc, into the -- where is            20   supports what I was suggesting early on that you
       21   migration? -- into the -- into the vagina. Let's see.    21   disagreed with me on, and that was that, if talc was
       22   I should be able to find that. Migration.                22   introduced into the uterus, you said you still didn't
       23         Okay. Here. On page 22, in the second              23   think it would migrate to the tubes or to the ovaries.
       24   paragraph. You highlighted it:                           24          But this dye did exactly that, didn't it? It
       25         "It should be noted that even when                 25   was introduced into the uterus, and in 50 percent of


                                                   Page 311                                                       Page 313
        1     particles are placed into the vagina,                   1   the women it migrated to the fallopian tubes; right?
        2     passage to the ovaries is quite unusual.                2       MS. AHERN: Objection. Form.
        3     For example, in another study it was                    3       THE WITNESS: Of course, these are part India ink,
        4     reported that when India ink was                        4   not talc. So it's not a great substitute.
        5     introduction into the uterus, it was                    5   BY MR. DEARING:
        6     detected in the fallopian tubes in 50                   6       Q Well, there are some materials, if introduced
        7     percent of women and, when introduced                   7   into the uterus, that would migrate at least half the
        8     into the cervix, it was detected in the                 8   time, according to this study, into the fallopian
        9     fallopian tubes of just 30 percent of                   9   tubes; right?
       10     women. When it was introduced into the                 10       MS. AHERN: Objection. Form.
       11     vagina, it was detected in only 1 of 37,               11       THE WITNESS: India ink.
       12     0.02 percent, patients. In short, the                  12   BY MR. DEARING:
       13     vulva is not an open conduit to the                    13       Q Same question with the cervix. So there are
       14     vagina and, therefore, none of these                   14   some materials that, if introduced in the cervix, could
       15     highly artificial studies can be used to               15   migrate to the fallopian tube perhaps a third of the
       16     assert that talc applied to the external               16   time?
       17     perineum migrates to the fallopian tubes               17       MS. AHERN: Objection. Form.
       18     and ovaries."                                          18       THE WITNESS: Let's get down to the real -- real
       19   BY MR. DEARING:                                          19   reality. When you get to the vagina, which is what
       20     Q So your opinion is talc cannot get into the          20   you're talking about, introducing it in the vagina all
       21   vagina under any circumstance; right?                    21   the time, it occurred in 0.02 percent. Furthermore,
       22     MS. AHERN: Object to the form.                         22   that in and of itself is artificial, as I said. We're
       23     THE WITNESS: I said that, yes.                         23   talking about perineal application, not introduction
       24   BY MR. DEARING:                                          24   into the vagina, into the cervix, or into the uterus.
       25     Q So if a woman uses talc daily for feminine           25   ///


                                                                                 79 (Pages 310 to 313)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 292 of 348 PageID:
                                   61066
                                                         Robert Kurman, M.D.
                                                               Page 314                                                Page 316
        1    BY MR. DEARING:                                               1      MS. AHERN: Objection. Form.
        2       Q On your supplemental reference list -- I know            2      THE WITNESS: I thought I went over that
        3    you didn't prepare this list, but there's a study on          3   methodology right in the beginning.
        4    this list entitled Sjosten. It's spelled                      4   BY MR. DEARING:
        5    S-j-o-s-t-e-n. And it's entitled "Retrograde Migration        5      Q Well, you talked about a general methodology
        6    of Glove Powder in the Human Female Genital Tract."           6   based on your experience, your research; but you
        7           In that study -- that study actually finds or          7   haven't explained how you actually weigh the evidence
        8    found that talc deposited in the vagina from glove            8   of the things that you consider.
        9    powder -- it was a starch powder -- migrated up the           9      MS. AHERN: Objection. Form.
       10    female genital tract.                                        10      THE WITNESS: Well, I read over Dr. Kane's report.
       11           Do you recall that study? Do you know that            11   I ran down her references. And, as I said earlier, the
       12    study?                                                       12   papers that she relied on did not assess or did not
       13       MS. AHERN: Objection. Form.                               13   buttress her arguments about the causation of ovarian
       14       THE WITNESS: Well, it's listed, but I haven't read        14   cancer based on talc usage because they didn't examine
       15    that study. But, again, glove powder means it was            15   the right tissues. And I've said that before, and I
       16    placed into the vagina on pelvic examination.                16   still say that.
       17    BY MR. DEARING:                                              17          Then all the rest of it, like a set of
       18       Q Right.                                                  18   dominoes, falls because, in order to establish
       19       A Not on the vulva. Oh, and by the way --                 19   causation, you need to look not at cancers, which many
       20       Q It doesn't stay there. It didn't stay there             20   of the studies that she cited looked at because of
       21    in this study. It migrated.                                  21   increased inflammation, it's irrelevant. What you have
       22       MS. AHERN: Objection. Form.                               22   to look at is the cell of origin of ovarian cancer,
       23       THE WITNESS: From the?                                    23   which we now acknowledge comes from tubal epithelium,
       24    BY MR. DEARING:                                              24   and the studies that she looked at didn't analyze tubal
       25       Q From the vagina.                                        25   epithelium.


                                                               Page 315                                                Page 317
        1     A We talked about that already, the vagina                   1   BY MR. DEARING:
        2   studies described earlier.                                     2      Q Do you agree that, when a physician or
        3         But I should also -- because you asked about             3   scientist is assessing or forming opinions on issues
        4   sexual intercourse. And I could also -- I remember             4   like causation, inflammation, migration, that it's
        5   that -- it was an epidemiologic study. I can't, off            5   important for that physician or scientist to consider
        6   the top of my head, remember which one, but I know that        6   all of the relevant literature on those topics?
        7   they evaluated talc in diaphragms, and that was not            7      MS. AHERN: Objection. Form.
        8   associated with an increased risk of ovarian cancer            8      THE WITNESS: Well, I don't know if you can ever
        9   either.                                                        9   say all of it. You try your best to read as much as
       10     MR. DEARING: Can we take just a quick break? I              10   you possibly can of the relevant literature and come to
       11   think I'm almost finished.                                    11   a conclusion.
       12     VIDEO OPERATOR BROWN: Time is now 5:59. Going off           12   BY MR. DEARING:
       13   the record.                                                   13      Q You agree with me that you've not done a
       14         (Recess taken.)                                         14   comprehensive review of the literature on talc and
       15     VIDEO OPERATOR BROWN: Time is now 6:10. Back on             15   inflammation?
       16   the record.                                                   16      A I'm sorry. Could you repeat that?
       17   BY MR. DEARING:                                               17      MS. AHERN: Objection. Form.
       18     Q Doctor, in reviewing your report, I notice                18   BY MR. DEARING:
       19   that your methodology for weighing the evidence on            19      Q I said do you agree with me that you have not
       20   these issues that we've been discussing is not                20   done a comprehensive review of all of the relevant
       21   described.                                                    21   literature on the issue of talc and inflammation?
       22         Can you describe for me what your methodology           22      MS. AHERN: Objection. Form.
       23   is with regarding to weighing the evidence as it              23      THE WITNESS: Well, as I said, I've reviewed many,
       24   pertains to the causation, migration, inflammation, the       24   many studies, and you can form an evaluation as these
       25   issues we've been discussing?                                 25   studies play out one way or the other. But all, every


                                                                                      80 (Pages 314 to 317)
                          Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 293 of 348 PageID:
                                   61067
                                                Robert Kurman, M.D.
                                                    Page 318                                                       Page 320
        1   conceivable study? No, I didn't do that.                   1          Would you agree with me that you haven't done
        2   BY MR. DEARING:                                            2   a comprehensive search of the epidemiologic studies out
        3      Q Well, the studies that you considered are             3   there on talc and ovarian cancer; in fact, you only
        4   listed in your reference materials; right? Your two        4   named a few in your reference materials?
        5   reference lists; right?                                    5      MS. AHERN: Objection. Form.
        6      A Yes.                                                  6      THE WITNESS: Well, as I said at the beginning, in
        7      MS. AHERN: Objection. Form.                             7   previous depositions and in the trial, I had reviewed
        8   BY MR. DEARING:                                            8   many of the epidemiologic studies to, frankly, get up
        9      Q In fact, some of the studies on the second            9   to speed on them because I -- up until 2015, I hadn't
       10   reference list you didn't consider because you didn't     10   read all those studies, but at that time, I reviewed
       11   even read; right?                                         11   all -- you know, there was many that I thought were
       12      A Right.                                               12   relevant. So I did review them at that time.
       13      Q So if the studies aren't on your reference           13          I didn't review them this time because I felt,
       14   list, you did not consider them in forming your           14   well, I've done that in the past. And my focus at this
       15   opinions that we've been discussing today; right?         15   deposition would be more on ovarian carcinogenesis from
       16      MS. AHERN: Objection. Form.                            16   the standpoint of the gynecologic pathology.
       17      THE WITNESS: That is correct.                          17   BY MR. DEARING:
       18   BY MR. DEARING:                                           18      Q Are you aware that quite a few epidemiology
       19      Q So is it fair to say that you did not do a           19   study and meta-analyses have actually been published
       20   comprehensive review of the literature regarding talc     20   since 2015, since you testified?
       21   and its ability to migrate to the ovaries from the        21      A There have been some. And, like, I looked at
       22   perineum?                                                 22   some of these abstracts. Didn't look like it changed
       23      MS. AHERN: Objection. Form.                            23   much.
       24      THE WITNESS: No, I disagree. I think I did. In         24      Q Well, you haven't looked at the Taher study;
       25   fact, I reviewed her studies which she claims supported   25   right?


                                                    Page 319                                                       Page 321
        1   migration, and I added other studies.                      1       A Can I see that?
        2   BY MR. DEARING:                                            2       MS. AHERN: Object to the form.
        3      Q With regard to the issue of inflammation, you         3          (The document referenced below was
        4   had not seen the Saed study that we started to go over.    4       marked Deposition Exhibit 14 for
        5   You didn't recite the Ness 1999 study. You just saw        5       identification and is appended hereto.)
        6   the Godleski 2019 study for the first time today.          6   BY MR. DEARING:
        7         So there are significant studies that you did        7       Q So this is the Taher study, and it's not on
        8   not consider in forming your opinions today; correct?      8   your reference list.
        9      MS. AHERN: Objection. Form.                             9          Have you seen that study before today?
       10      THE WITNESS: Well, I can tell you -- and I didn't      10       MS. AHERN: You asked about published studies? Is
       11   analyze the Saed study because a number of other          11   that your question?
       12   experts looked at it, and I did read their reports        12       MR. DEARING: Studies.
       13   prior to this deposition and they felt that the studies   13       MS. AHERN: The question was have there been other
       14   were terrible, basically. And so I didn't find it         14   published studies that you did not review?
       15   necessary to review it. I found other experts             15       THE WITNESS: I have not seen this study.
       16   reviewing it.                                             16   BY MR. DEARING:
       17         And right off the bat, he was looking at            17       Q Have you reviewed the Health Canada assessment
       18   ovarian cancer cells, and that's not what you're          18   that was published on the issue of talc and ovarian
       19   supposed to be looking at when you're trying to           19   cancer?
       20   establish causation of ovarian cancer. You don't look     20       MS. AHERN: Objection. Form.
       21   at ovarian cancer; you look at precursor lesions.         21       THE WITNESS: The only time I ever was aware of a
       22   BY MR. DEARING:                                           22   Health Canada study was in reading the deposition of
       23      Q Well, you've testified that epidemiology is          23   Dr. Kane. And she basically said, "Well, the findings
       24   not one of your primary topics that you plan to testify   24   in the Health Canada study agree with my findings."
       25   about.                                                    25   ///


                                                                                  81 (Pages 318 to 321)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 294 of 348 PageID:
                                   61068
                                               Robert Kurman, M.D.
                                                   Page 322                                                        Page 324
        1   BY MR. DEARING:                                           1       A Yes.
        2     Q You haven't read the Health Canada findings,          2       Q The next question you were asked by
        3   have you?                                                 3   Mr. Dearing is:
        4     A No, I haven't.                                        4           "Are you saying that all of the
        5     Q With regard to Dr. Saed's 2019 study, are you         5       plaintiffs' experts, the 30 or so
        6   aware that one of the things he looked at and studied     6       plaintiff experts that you know about,
        7   were fallopian tube cells?                                7       are not good scientists."
        8     MS. AHERN: Objection. Form.                             8           And you said, "I didn't say that."
        9     THE WITNESS: I said I didn't read his study.            9           And then he asked you:
       10   BY MR. DEARING:                                          10           "Okay. Well, my question is do you
       11     Q So, no, you're not aware of the types of cells       11       agree with me that good scientists can
       12   that he studied?                                         12       have differing opinions about cancer
       13     A No.                                                  13       etiology?"
       14     Q I think that's it.                                   14           You said:
       15     A Okay. Thank you.                                     15           "It's neither good or bad; I'm
       16     MS. AHERN: Okay. I have just have a couple -- or       16       saying that reasonable people, looking
       17   maybe one or two questions just for clarification.       17       at all this data, in my opinion, would
       18     THE WITNESS: All right.                                18       not disagree that this is -- that talc
       19     MS. AHERN: Where is my note? Could you do me a         19       causes ovarian cancer."
       20   favor and could you pull up time 15:14:19.               20           Is that consistent with your opinions on --
       21         Hold on a minute. There you go.                    21   that you've given today on talc and ovarian cancer as
       22                                                            22   it's written --
       23             EXAMINATION                                    23       A That's a little bit of a confusing statement,
       24   BY MS. AHERN:                                            24   I agree. It's kind of a double negative, "not
       25    Q So, Doctor, you were asked repeatedly today           25   disagree." So my view is -- I'm sorry.


                                                   Page 323                                                        Page 325
        1   about your opinions on ovarian cancer and talc and        1      Q Sorry. And my next question was, in response
        2   whether or not you thought talc caused ovarian cancer.    2   to that question, what did you intend to say?
        3         Do you remember throughout the day?                 3      A What I had said earlier. And you can go back
        4     A Yes.                                                  4   and cite the same thing again, that looking at the
        5     Q Okay. There are just a couple of question and         5   totality of evidence and data that's presently
        6   answers that I want to go over with you, and then I'm     6   available, I don't think anyone would agree to say that
        7   going to ask you a question. And I think -- because we    7   talc causes ovarian cancer.
        8   need some clarification on something.                     8      MS. AHERN: Okay. That's all the questions I have.
        9         You were asked the question:                        9   Thank you.
       10         "Would you agree that good                         10
       11     scientists can have differing opinions                 11                FURTHER EXAMINATION
       12     about cancer etiology?"                                12   BY MR. DEARING:
       13         And you responded:                                 13       Q Doctor, you just testified that you have not
       14         "That's a very, very general                       14   looked at the totality of all the evidence, that there
       15     question. But if I frame it with the                   15   are some studies you have not seen and have not looked
       16     talc litigation, I would venture to say                16   at.
       17     that a reasonable scientist viewing --                 17          So do you agree with me that you have not
       18     viewing all, viewing the totality of                   18   considered the totality of all the evidence?
       19     this data, I don't think anyone would                  19       A Well, "totality," insofar as what is --
       20     agree to say that talc causes ovarian                  20   looking at available, but -- I didn't look at every
       21     cancer."                                               21   single study, but I think if you put it all into
       22         Do you see that?                                   22   perspective, as I mentioned when you asked me that
       23     A Yes.                                                 23   earlier, is that you read a number of studies and
       24     Q Is that consistent with your opinions on talc        24   things start to fall in place. And another one study
       25   and ovarian cancer?                                      25   isn't going to change it.


                                                                                 82 (Pages 322 to 325)
                      Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 295 of 348 PageID:
                                   61069
                                                    Robert Kurman, M.D.
                                                          Page 326                                                  Page 328
        1     MR. DEARING: Okay.                                      1             INSTRUCTIONS TO WITNESS
        2     MR. ZELLERS: Thank you, everyone.                       2
        3     VIDEO OPERATOR BROWN: The time is now 6:23. This        3          Please read your deposition over carefully and
        4   concludes the deposition. Going off the record.           4    make any necessary corrections. You should state the
        5   (The deposition proceeding was concluded at 6:23 P.M.)    5    reason in the appropriate space on the errata sheet for
        6                                                             6    any corrections that are made.
        7                 --ooOoo--                                   7          After doing so, please sign the errata sheet
        8                                                             8    and date it.
        9                                                             9          You are signing same subject to the changes you
       10                                                            10    have noted on the errata sheet, which will be attached
       11                                                            11    to your deposition.
       12                                                            12          It is imperative that you return the
       13                                                            13    original errata sheet to the deposing attorney within
       14                                                            14    thirty (30) days of receipt of the deposition transcript
       15                                                            15    by you. If you fail to do so, the deposition transcript
       16                                                            16    may be deemed to be accurate and may be used in court.
       17                                                            17
       18                                                            18
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                                                          Page 327                                                  Page 329
        1                                                             1              ------
        2                                                             2              ERRATA
        3               CERTIFICATE
        4                  OF                                         3              ------
        5            CERTIFIED SHORTHAND REPORTER                     4   PAGE LINE CHANGE
        6                                                             5   ____ ____ ________________________________________
        7          The undersigned Certified Shorthand Reporter of
             the State of California does hereby certify:             6    REASON: ________________________________________
        8          That the foregoing proceeding was taken before     7   ____ ____ ________________________________________
             me at the time and place therein set forth, at which     8    REASON: ________________________________________
        9    time the witness was duly sworn by me;
                   That the testimony of the witness and all          9   ____ ____ ________________________________________
       10    objections made at the time of the examination were     10    REASON: ________________________________________
             recorded stenographically by me and were thereafter
       11    transcribed, said transcript being a true and correct   11   ____ ____ ________________________________________
             copy of my shorthand notes thereof;                     12    REASON: ________________________________________
       12          That the dismantling of the original transcript   13   ____ ____ ________________________________________
             will void the reporter's certificate.
       13                                                            14    REASON: ________________________________________
       14          In witness thereof, I have subscribed my name     15   ____ ____ ________________________________________
       15    this date:_______________________.                      16    REASON: ________________________________________
       16
       17                                                            17   ____ ____ ________________________________________
       18                      ________________________              18    REASON: ________________________________________
       19                      PAMELA COTTEN, CSR, RDR
                                                                     19   ____ ____ ________________________________________
                               Certificate No. 4497
       20                      Certified Realtime Reporter           20    REASON: ________________________________________
       21                                                            21   ____ ____ ________________________________________
       22
       23          (The foregoing certification of                   22    REASON: ________________________________________
               this transcript does not apply to any                 23   ____ ____ ________________________________________
       24      reproduction of the same by any means,                24    REASON: ________________________________________
               unless under the direct control and/or
       25      supervision of the certifying reporter.)              25



                                                                                 83 (Pages 326 to 329)
                        Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 296 of 348 PageID:
                                   61070
                                                       Robert Kurman, M.D.
                                                            Page 330
        1            ACKNOWLEDGMENT OF DEPONENT
        2
        3         I,___________________________, do hereby
        4   certify that I have read the foregoing pages, and that
        5   the same is a correct transcription of the answers given
        6   by me to the questions therein propounded, except for
        7   the corrections or changes in form or substance, if any,
        8   noted in the attached Errata Sheet.
        9
       10
       11   ___________________________________________________
       12   ROBERT KURMAN, M.D.                 DATE
       13
       14   Subscribed and sworn to
            before me this
       15
            ______day of_______________,20___.
       16
            My commission expires:_______________
       17
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                                                                             84 (Page 330)
                         Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 297 of 348 PageID:
                                   61071
                                    Robert Kurman, M.D.
                                                                                  Page 331

              A          acknowledge        adequately       158:14 170:20      210:2,9,18
      A.M 1:15 7:2,6       109:18 163:13      235:18 252:2   174:21 182:5       211:12 214:5
      A.P 5:23             296:17 301:8       253:14         182:22 217:21      215:7 219:13
      ability 49:22        316:23           adhere 305:24    224:2 234:15       223:18 225:23
        88:14 209:24     acknowledged       adjacent 257:17  250:4 285:22       229:3,10
        225:1 306:10       15:5 204:4       adjusting 288:7  303:4              232:18 234:5
        306:18,24        acknowledges       administration agree 15:2 22:10     238:8 245:12
        318:21             20:22 273:15       262:24         27:17 28:17        246:3 253:16
      able 16:1 98:24    acknowledging      admits 221:6     29:2 41:8,17       253:25 259:15
        141:2 267:9        235:22 258:16    adopted 76:13    44:1 47:19         261:18 262:10
        310:22             273:22           advanced         49:14 64:8         263:11 264:17
      absolutely 57:12   ACKNOWLE...          135:10 147:23  68:3,21 70:2,8     265:11 266:15
        62:1 108:1         330:1              151:25 153:13  72:7,8,22 74:4     269:4 282:6
        118:3 183:6      acquaint 220:9       154:17 155:21  74:8 75:1,4        289:2,24
        275:13           actinolite 89:19   advantage        78:1,10 80:8       290:24 293:18
      absorbed             104:15             110:17         80:10,13,14,24     298:4,14
        229:12,14        activation 81:14   advantages 10:6  80:24 81:4,7       302:24 303:8
      abstract 33:24       81:17 84:7,14      296:8          81:19,22 82:14     303:22,23,25
        39:13 248:19       84:15 85:7,13    advise 263:12    83:8 84:15         304:8,11 317:2
        270:14,14,21       85:17 86:6         265:13         85:9,24 87:11      317:13,19
        270:23 281:3,4     88:23            advised 304:6    89:3,22 90:6       320:1 321:24
        287:11 291:3     active 98:14       affect 37:25     90:10,19,23,24     323:10,20
      abstracts 320:22   activity 76:19       38:20 102:15   91:11 93:15        324:11,24
      accept 27:19       actual 25:24       age 211:8        106:3,20 107:3     325:6,17
        29:3 197:14        164:12           agency 74:12,15  108:10 113:1     agreed 124:23
      acceptable 27:9    adaptive 242:24      76:7,20        113:15 114:10      131:5,24
        27:21            add 36:10 39:1,5   agent 67:9,19    117:4 124:22       230:11
      accepted 119:10      114:13 206:21      80:4,16 86:22  130:2 132:14     agreeing 144:13
        221:3 295:25       245:21 272:24      168:1,16       132:18 142:22      183:18 234:19
        305:20           added 206:20         169:23 170:4   143:22 147:21    agrees 47:11
      accessible           319:1              170:10,14,18   151:22 152:21      211:9
        154:15           addition 66:4        174:13 177:5   153:1,6,8,11     Ah 26:5 125:18
      account 33:6         119:1 127:25       177:23 265:3   155:1 156:4,6    ahead 11:24
        145:8            additional 265:4     271:20,24      161:2 163:2        145:19 168:6
      accounted 109:5      273:18 302:14    agents 66:3      164:25 166:18      215:1 231:25
      accumulate           302:25             79:10,11 86:25 166:21 170:9     Ahern 2:17 4:6
        77:24 78:11      address 17:7         87:2 166:2,15  171:1,9 172:2      8:3,3 10:9
        92:12 93:14        27:22              169:17,19      175:16,24          11:20,24 16:24
        94:13            addressed 27:10      179:13 183:16  176:20 177:5       17:22 18:7,21
      accurate 197:25      28:5,9,10          209:15,19      177:21 178:4       19:6,11,15
        204:25 273:10      308:8              229:3          181:23 183:8       20:1,13 21:6
        289:2 328:16     addresses 301:3    agglomeration    185:7 186:22       21:10 22:2,15
      accurately         addressing           84:24          195:7,14           23:13,23 25:22
        250:13             103:14           ago 15:14 41:8   196:20 197:2,8     26:13 28:22
      acetaminophen      adds 302:21          46:6 82:1      198:9 200:6        30:17 31:19
        106:22 107:5     adenocarcino...      85:12 118:11   207:24,25          34:23 35:3,14
                           82:4               118:12 122:2   209:1,5,20         35:20 36:1,6

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 298 of 348 PageID:
                                   61072
                                   Robert Kurman, M.D.
                                                                                  Page 332

        36:13 39:3,18    128:23 129:8     187:1,20           261:22 262:5       128:14
        39:22 41:3,12    129:21 130:20    188:17 189:2       262:18 263:2,8   allegedly 128:12
        42:1,10,12       130:25 132:17    189:25 190:10      263:15 265:15    alleging 55:25
        43:8,19 44:2     132:25 133:23    191:4,16,18        268:16 269:8       56:8,18
        44:10 45:6,18    134:10 135:25    192:2 193:7        269:15 271:2     Allen 2:4 7:14
        46:2,12 47:2,8   136:22 137:6     195:12,20          272:1,5,21       allied 217:24
        48:2,13,19       138:6,21 139:6   196:5,14           275:5 276:7,16     218:1
        49:10 50:22      139:16 140:1     197:11 198:12      277:25 278:20    allowed 10:7
        52:13,19 53:7    140:23 141:11    199:16,20          279:22,24          133:11
        54:2,16 55:3     141:23 142:8     200:8 201:8,18     281:5,11,23      allows 92:21
        56:1,11,20       142:17 143:1,7   202:4,18 203:2     282:12 283:1,4     296:10
        58:19,22 59:3    143:15 146:2     203:8,24           283:15 284:3     alluded 50:14
        59:19 60:18      146:14,22        204:15 205:1       284:11 286:6       69:21
        61:9,12 62:9     147:15 148:1     205:10,13          289:4 290:8      alluding 178:2
        62:16,24 63:11   148:12,21        206:14 207:4       291:1 292:13     alteration 81:17
        63:17 64:5,12    149:4,7,19,22    208:8,17           292:23 293:2       84:8 122:24
        65:3 66:11       150:18 151:11    209:22 210:4       294:6,18 295:8   alterations
        67:24 68:6,18    152:3,23         210:15,21          295:21 296:13      121:22 136:13
        69:6,19 70:11    153:16 154:1,3   211:7 212:6,25     297:7,19           268:25 269:14
        71:2,19 72:11    154:5,9 155:3    213:5,13,22        299:14 300:20      269:17,22
        73:12,23 74:7    156:2,13,20      214:9,15           300:23 301:19    alternate 294:20
        74:16 75:6,17    157:5,15,21      215:11 216:12      301:25 303:3     alternative
        75:21 77:2       158:12,22        216:18 217:5,8     304:4,15 305:3     130:23 164:14
        78:2 81:6,24     159:4,6,11,13    217:10 218:13      305:9,18 307:1     265:2
        82:12 83:9,23    162:13 163:6     219:1,10,16,23     307:18 308:16    alveoli 249:18
        84:17 85:11      164:6,11,18      221:16,19          309:6,17           252:14
        86:2,15,20       165:3,11 166:3   226:11,14          310:12 311:22    American 15:4
        87:7,13,23       166:16,25        227:11,23          312:5 313:2,10     264:6
        88:5,15,21       167:5,16 168:4   228:5 229:13       313:17 314:13    amosite 89:18
        90:7,21 91:5     168:6,17         229:22 230:8       314:22 316:1,9   amount 91:7
        91:14 93:8       170:12,19        230:20 231:8       317:7,17,22        99:17 206:18
        94:4,18 95:15    171:17 172:11    232:22 234:9       318:7,16,23        257:14
        96:1 97:14       172:23 173:6     237:12,24          319:9 320:5      amounts 65:22
        99:2,14 100:18   173:16,25        238:14 239:5       321:2,10,13,20   analogy 223:19
        100:21 101:9     174:15,20        240:18 241:11      322:8,16,19,24     223:21 224:1
        101:17 102:13    175:3,11,22      241:14 244:1       325:8              225:12,19
        102:18 103:10    176:1,13,23      244:19 245:8     aided 238:21         226:5 228:1
        105:11 106:7     177:7,10,15,25   246:2,20 247:4   aim 123:18           229:2,3 230:2
        106:24 107:17    178:7,11         247:8,21 248:2   air 104:9            238:12 239:3
        108:13 109:15    179:12,17        248:7,13,19      airway 300:8         239:11 261:15
        110:3,16         180:10,20,24     250:5 251:4,19   al 5:7,11,17,21      308:9
        111:22 112:5,9   181:7,20,25      252:19,23          5:24 6:9 38:15   analysis 136:11
        113:4,21 114:3   182:9,16         253:2,8,17         116:19 293:15      136:12 155:16
        117:8,21,24      183:11,14,22     254:3,12,18      Alabama 2:5          212:2 219:3
        120:23 122:9     184:15,24        255:16 257:10    Alfred 279:6,19      223:17 232:25
        124:3 125:9      185:4,11,19      258:13,19          282:19             235:17 239:4
        126:24 128:21    186:2,5,16       259:3,8 260:9    alleged 66:2         288:3 293:12

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 299 of 348 PageID:
                                   61073
                                    Robert Kurman, M.D.
                                                                                      Page 333

       301:23 307:6      antiperspirant    apply 47:12          274:11              233:11,16
      analytical 26:18    52:2               327:23           articles 9:8          261:10,15
      analyze 269:5      anybody 10:23     applying 201:15      36:16 164:1         264:11,12
       316:24 319:11      12:5 119:7         202:15,22        articulated           272:11,16,19
      analyzed 152:13     129:14 241:9     approached           49:21               272:24
      anatomic           anymore 208:1       18:15 29:13      artificial 311:15   asbestosis 82:14
       288:22            anytime 48:9        206:24             313:22              82:22 178:25
      anatomical          118:3            appropriate        asbestiform         aside 60:25 61:2
       284:20 285:4      anyway 105:13       29:1 228:5,8       95:13,24 96:11      166:13 167:13
      anatomically        140:12 161:14      308:11 328:5       101:24 102:2,8      169:14 172:7
       123:7              176:3 250:22     approve 16:3         102:12 104:1      asked 14:5
      and/or 327:24      apart 60:9          212:11 213:12      104:13,16,19        15:20 24:22,23
      Anderton 3:8        165:25           approximately        104:22 105:7        46:2 47:8 81:6
       7:22,22           apologize           206:10 291:16      226:9 227:8,21      96:1 131:4
      Andrew 5:17         134:21           April 1:10 7:1,6     227:25 228:22       167:10 173:25
      aneuploidy         apoptosis 81:18   area 22:17 27:7    asbestos 74:4,8       174:20 182:5,6
       81:16              84:7 88:11,19      30:11 34:4,17      77:11,19,24         183:22 203:6
      Angeles 3:6        apparently          40:24 111:12       78:7,11,21          213:22 214:14
      animal 19:4         122:22 239:2       112:13 139:17      80:16,17,23         215:17 227:23
       308:25            appear 104:10       155:6 220:15       81:4,11,13,19       272:21 275:11
      animals 114:19      137:16 178:8       289:17,22          81:23 82:2,5        306:6 308:16
      answer 94:16,19     256:23 258:6       290:3 292:6        82:10,15 83:6       315:3 321:10
       95:12 97:4        appears 85:7      areas 34:2,14        83:14,16,22         322:25 323:9
       99:14 101:21       273:6              83:18 214:22       84:5 89:17          324:2,9 325:22
       199:21 212:16     appended 10:16      215:4 229:17       90:5,9,17 91:3    asking 8:19
       213:15,17,21       11:12 75:11      argue 77:8 81:2      91:6,12,16,22       24:24 32:2
       228:16,18,24       78:25 103:3        290:11             92:6,12,15,20       45:14 57:3,4
       246:22 253:1       190:18 217:1     argues 273:17        93:5,14 94:1        78:20 87:18
       305:13             241:17 255:8     argument 45:2        94:12 95:3,10       132:21 133:4
      answered 24:21      264:3 269:25       307:21             96:14,19 97:7       136:6 157:2
       46:2 47:8 81:6     279:13 283:8     Argumentative        97:9,25 98:2,5      171:25 180:14
       96:1 134:20        321:5              128:21 129:21      102:1,2,10          180:14 197:7,7
       173:25 174:20     appendices          203:2              105:7 165:25        198:23 199:4
       181:2 183:22       10:21            arguments            166:13 167:14       202:7 204:8,9
       201:14 203:3      appendixes          308:2 316:13       167:14 169:9        206:8 211:2
       213:22 227:23      10:21            arising 261:11       169:14 170:3        212:17 231:2
       272:21 308:16     application       arriving 49:25       172:7 177:5         252:23,24
      answers 323:6       46:18,20 47:6    arsenic 4:20         178:22,24           253:8 259:5
       330:5              106:1,5 225:11     79:14 80:10        179:6,9 223:14      260:1 309:21
      anthophyllite       277:6 295:2        103:14             224:7,21,23       aspirin 106:21
       89:19 104:14       303:13 313:23    Arsenics 4:22        225:3,24            107:4
      anti-inflamma...   applications      article 5:4,9,18     226:10,20         assert 311:16
       106:21 107:4       281:2,6,15         5:22 6:4,6         227:8,22          assertion 268:14
      anticipating       applied 275:18      161:10,11          228:20 229:11     assess 45:4 50:1
       39:21              311:16             163:1 189:19       229:15,23           269:5 289:1
      antigen-prese...   applies 92:1        203:19 204:16      230:15 231:13       293:9,23
       67:17              104:19             248:14 252:5       232:3,6,19          316:12

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 300 of 348 PageID:
                                   61074
                                     Robert Kurman, M.D.
                                                                                    Page 334

      assessed 293:23    attached 328:10    avoids 298:1     bacterium            32:4 38:18
      assessing 66:19      330:8            aware 20:9 22:4   112:13,14           45:20 48:25
        66:24 145:10     attempting           22:19 30:23    bad 28:20            55:22 56:5
        145:21 317:3       49:12              41:22 53:24     210:22 211:13       58:24 67:1
      assessment 5:5     attending 9:8        62:11 69:23     211:14 324:15       69:20 70:14
        45:12,16 46:23   attention 303:20     77:9,13 83:20  balanced 17:6        72:16,20,25
        49:2,9 190:23      304:13             84:2 101:23    ball 139:19          73:3 77:19,21
        229:1 287:8      attorney 149:3       102:11,14      ballpark 10:8        78:17 82:9
        321:17             328:13             114:5,6,7      barriers 310:4       93:5 107:23
      assessments        attorneys 41:24      141:20 178:25  base 44:24           109:13 130:7
        288:5            attract 189:23       188:12 206:3   based 20:8           134:8 135:19
      assist 25:9        attribute 158:9      220:3 229:7,23  21:15 27:16,18      137:17 140:20
      assists 173:14     audience 17:10       269:2,12,20     41:5 55:19          148:8,17
      associated 50:17     119:4              276:4,10,12     58:1 95:21          149:15 158:3
        51:10 54:24      author 27:24,25      278:13 320:18   104:22 107:20       158:18 161:6
        69:24 76:14        38:9 65:17         321:21 322:6    122:21 136:23       162:17 163:20
        90:11 98:17,19     153:25 212:8       322:11          139:7 154:21        165:7,24
        113:19 117:2     author's 208:2     axilla 52:3       158:13 201:20       167:14,25
        124:7 130:6      authored 119:2     Ayerst 205:23     204:6 221:22        175:20 177:13
        141:18 145:24      188:13 255:20                      236:14 244:24       177:22 178:5,8
        146:9,10,16      authority                 B          267:21 268:9        182:23 186:17
        160:9 165:18       119:11           B 2:12 4:10 5:1   269:6 304:20        191:1 198:19
        181:24 242:1     authors 21:1        6:1              316:6,14            199:4,5,23
        268:25 287:14      27:10,20 28:3    B6C3F1 6:5       basic 44:15          201:19 229:7
        315:8              105:7 126:7      baby 23:11        203:8               233:11 241:8
      association 5:19     172:20,21         63:14 64:11     basically 71:22      250:13 266:6
        6:7 18:19,19       178:5,8 184:11    95:2,6,23        85:2 128:11         270:4 278:8,10
        52:22 60:11        195:7 196:8      back 9:2 12:14    144:18 257:22       295:12 298:23
        89:10,16 101:1     197:2,8 198:17    23:1 27:11       319:14 321:23       299:23
        149:13 198:6       198:25 199:6      28:6 33:16      basing 237:13      believed 21:18
        229:2 239:4        199:14 202:25     48:17 57:13      238:3,4           bench 26:15
        265:10 270:10      209:2 284:15      61:16 63:8      basis 186:14         30:10 73:18
        289:15,18,25       291:20 292:1      64:9 73:8,16     270:9               220:1
        290:10 302:12      294:15 297:2      101:13 113:9    bat 319:17         benign 137:16
      associations         297:16 300:12     118:9 119:13    Beach 2:9            143:9 182:21
        45:5 260:16        303:14            151:22 167:3,5 bear 78:7             261:23,24
      assume 21:14       authors' 299:7      177:4 178:15    bearing 304:18       266:19
        24:4 107:8       available 77:11     190:12 192:3    Beasley 2:4 7:14   best 49:21 109:5
        109:12 230:16      91:22 157:12      251:11 255:5    beginning 215:1      179:1 209:23
        253:3              226:16 325:6      259:22 271:13    248:17 261:16       297:4 317:9
      assumed 17:12        325:20            271:15 286:8     298:10 308:11     better 67:25
        17:17 21:14      Avenue 3:9          287:3 308:20     316:3 320:6         127:1 192:4
      Assumes 69:6       average 188:16      315:15 325:3    begins 73:1          227:17
      asymptomatic         245:2            BACON 2:17        221:4 222:8       Beyond 5:23
        256:11           avoid 300:19       bacteria 112:19 behalf 7:25 8:1       279:6,17
      atom 224:17        avoided 303:7       112:25 300:3     8:3               Bias 5:19
      ATS 264:5          avoiding 296:16    bacterial 139:15 believe 17:5       biased 297:21

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 301 of 348 PageID:
                                   61075
                                      Robert Kurman, M.D.
                                                                                        Page 335

      Biddle 2:20 7:24      312:12,16          120:7 124:5,23    127:13,19           263:23,25
      big 57:15 189:3     biologist 219:25     134:18            237:9 255:24        300:16
        243:18,22         biology 34:3,16    blow 159:15         255:25 299:5       Brown 3:18 7:3
        294:8               34:22 35:13      blue 131:17        Boyd 13:9            7:4 8:5 61:13
      bigger 246:1,14       214:23 215:5     board 15:4,7,13    Bradford 45:3,7      61:16 118:5,8
      Bill 20:19 21:11      219:15,17,21       15:21 16:4        45:11,15,20         178:12,15
      Bill's 199:10         220:5,8,13         27:5,6 211:24     46:4,7,21,22        255:1,4 286:25
      billed 10:12          221:7              211:25 301:7      47:13,21,24         287:3 315:12
        207:2             biomechanistic     board-certified     48:17,19 49:2       315:15 326:3
      billing 207:5         229:20             15:8 16:1,5       49:9,14,18         builds 226:4
      Billings-Kang       biostatistics      boards 211:15       100:24 101:2       bulk 104:9
        3:13 7:20,20        76:10              211:22            223:16,20          burden 76:13
      biologic 44:18      birefringence      bodies 98:4         225:14 229:1        94:1 201:15
        44:24 45:10,17      243:9              139:13 183:16     238:13 239:3        264:13 293:25
        45:23 46:10,11    birefringent       body 24:13 31:2    BRCA 260:25          300:14 301:6
        46:13,14,17,20      25:13 191:14       51:11 55:4       break 58:20         burdens 288:8
        47:6,13,17          194:7,25 195:8     59:24 63:7        61:11,19 69:7      business 185:13
        49:1,16,17,18       195:18,23          70:4 84:16        118:1 119:14        230:22
        50:5 65:9,25        196:3,21 197:9     178:20 179:1      178:10 254:24      buttress 308:1
        66:6,20,25          201:22 256:24      185:7,17          257:24 291:25       316:13
        72:2 98:7           258:7 288:12       200:19 201:5      315:10
        100:25 119:15       298:20 299:2,9     224:13 229:12    breakdown                   C
        224:22 274:17     Birrer 13:9          229:21 250:18     108:5              C 2:1 3:1,4 4:20
        274:19            birth 261:1          257:7 262:16     breaking 54:25      Calcagnie 2:7
      biological 46:5     bit 33:17 36:14      268:24 274:15     138:13 177:3         7:16
        65:23 224:17        57:23 79:21        281:3             223:10 228:10      calculating
        226:23 231:14       184:11 208:20    body's 185:9       breaks 111:11         301:17
        268:10,13           219:21 260:10    bolster 307:21     brief 203:20,25     calculation
        302:22              307:8 324:23     book 126:2         briefly 33:2 35:5     204:21
      biologically 50:2   black 197:19         131:4 162:18      291:7              calculator
        57:21 58:25       black-and-wh...      168:21 174:1     brightly 191:14       206:21
        59:17 62:6,15       196:24             209:3 258:23      299:1              California 2:9
        62:22 64:20,24    bladder 79:17        259:18           bring 276:24          3:6 327:7
        65:6 71:1           79:20            Boorman 280:9       301:15             called 8:9 88:23
        73:10 96:18,20    bladders 117:23      280:13 282:22    bringing 76:8         92:24 118:13
        96:23,24 97:2     Blaustein            283:16,20,22     broad 50:11           159:19
        97:9,20,24          153:24             283:24 284:25     51:4 55:1          Camargo 32:4,8
        98:14 125:6       Blaustein's 5:12     285:6             242:10,14          Canada 321:17
        129:6,9 134:8       65:16 118:13     borderline          306:7                321:22,24
        134:15 139:22       125:17 207:10      144:6,11 145:1   broader 303:17        322:2
        140:15,20           208:13 254:21      146:23 147:3      304:1              cancer 5:20 6:8
        149:11 163:4        255:11 258:23      236:17,21        broken-down           9:11 17:21
        189:9 212:3,13      259:23 306:2     borne 87:12         120:7                18:6,11,20
        212:23 213:11     blocked 123:24     Boston 2:13        Brooke 13:10          20:5,6,24 21:5
        213:19 223:9        124:20           bottles 95:6       brought 21:13         21:19,25 22:13
        295:6,18,23,25    blocks 288:2       bottom 79:9         33:3 224:2           22:18 23:6
        296:6 304:24      blood 119:21         89:5 115:1,12     230:10 263:23        29:6,11,24


                    Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 302 of 348 PageID:
                                   61076
                                   Robert Kurman, M.D.
                                                                                    Page 336

        30:14 31:3       146:21 147:21      306:4 307:14       102:12 122:14      161:13 233:6
        32:13 33:8       147:25 148:9       307:23 315:8       227:21             235:21 237:11
        34:3,15,22       148:18 149:16      316:14,22        carcinogenicity      237:23
        35:13,25 41:10   149:25 150:2,7     319:18,20,21       79:17 227:9      carcinomatous
        41:20 42:7       150:8,10,15,21     320:3 321:19     carcinogens          190:13
        47:10 49:13      151:16,23          323:1,2,12,21      4:20 79:11       care 3:12 7:21
        50:1,7,17,20     152:1,18 153:6     323:25 324:12      80:11 105:18       9:7 189:8
        51:5,10 52:12    153:11,15          324:19,21          123:24 124:20      264:6
        52:18,21,22      156:11 165:2       325:7              124:22 125:3,7   career 9:2,6
        53:11 54:1,4,5   165:10,13        cancers 21:1,17      125:13 128:3,9     41:6 59:12
        54:6,6 55:14     175:20,24          54:7 59:23         129:19 130:5       60:12 187:13
        56:9,19,25       179:16,22,22       82:10 83:20        130:19 138:24      204:24 206:11
        57:7,21 58:6,8   180:9,17,23        84:2,3 87:11     carcinoma 73:1       254:7 264:11
        59:1 60:12       181:15,17,19       88:6 102:16        82:5 83:11       careful 136:4
        61:21,25 62:2    182:8,23 183:3     114:1,12           87:25 114:5,6      300:19
        62:8,12,20       183:5 190:8        135:20 139:24      114:8,16,23      carefully 286:16
        63:3 64:21,23    198:7 208:15       140:7,8,12         115:6,7 116:1      328:3
        65:1,12,18       210:3,10,20,25     155:14,15          116:2,9 117:2    carried 118:4
        66:16 68:5,10    211:3 212:2,20     156:22 170:10      117:6,10 121:4   case 8:22 12:22
        68:17 69:5,18    212:21,22          170:11,13,14       121:20 122:20      17:9 28:6 37:1
        69:18,23 71:23   214:23 215:5       175:17 176:19      124:8,9 136:3      41:7 51:25
        72:4 74:12       215:17,19          177:6 179:16       136:19 137:13      66:2 77:22
        76:7,11 77:12    219:14,15,17       179:23 181:13      139:10 144:8,8     109:21 137:13
        77:20 78:22      219:21,22          221:13 222:12      146:4 147:1        149:24 157:11
        80:1,23 81:1,4   220:4,7,12         238:10,10,11       149:14 151:8       157:12,13
        81:8,12,20,23    221:11,22          266:1 289:16       152:11,13          165:15 194:2
        82:1,3 83:7,14   232:5,7,9,20       304:11 316:19      154:14 157:25      194:22 201:16
        83:17 84:10      233:11,17        capabilities         158:3,5 221:3      201:20 206:3
        87:6,20 88:3,3   234:22 235:19      302:22             221:24 223:15      212:15,17
        88:7,13 89:20    236:4,5 239:14   capable 122:19       233:23 234:6       226:4 265:7
        90:1,12 91:9     239:19 258:25      276:15             238:20 261:16      266:18 277:17
        91:23 92:8,24    259:2,17,24      caption 195:18       266:3 287:15       277:21,22,23
        96:9,13,15,19    260:2,6,8,22       196:12,13          290:18 292:4       278:22 291:24
        97:10,20 98:1    261:11 267:21    carcinogen 74:5    carcinomas 60:1      292:3,10
        98:5,8,17,18     268:9,15 269:1     74:9 79:15         72:9,13,16         293:13,20
        98:21,25 99:22   269:7 270:11       124:25 141:21      93:3 108:19        297:22
        99:23 100:2,3    270:19 271:25    carcinogenesis       113:19 114:11    case-control
        100:5,10,16      272:4,6,9,12       29:21,24 87:15     117:13 135:12      198:7
        101:16 106:23    272:14,19,23       88:17 105:18       135:14 137:20    case-controlled
        107:6,14         273:1,16 274:3     139:23 158:10      138:3 140:17       287:16
        113:17 114:2     274:5 275:21       158:21 160:5       141:2,15         cases 1:7 21:16
        123:22 126:12    277:14 289:22      162:1 221:13       144:11 145:23      92:16,20,24
        130:15 135:9     290:4,11           223:6 250:19       146:1,10 147:7     109:5 152:7,8
        135:22 136:15    302:13 303:16      269:18 320:15      147:23 148:3       152:8,9,17
        136:19 137:14    303:25 304:3     carcinogenic         151:24 152:14      156:11,22,23
        137:25 139:5     304:11,19,20       79:22 90:5,18      153:13 154:16      158:8 160:10
        139:11 143:10    305:2,8,17,21      91:2,4 101:24      155:16 160:9       166:2,15

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 303 of 348 PageID:
                                   61077
                                   Robert Kurman, M.D.
                                                                                    Page 337

        169:17 172:10    165:1,9 167:15   63:2 64:23          249:18 251:18     certificates
        236:20,24        169:22 171:20    98:3,8 99:23        251:18,21           235:16
        237:15 278:24    171:24 172:9,9   139:13 140:22       252:13,18         certification
        293:25           173:3,4,13,20    142:3,7 145:4       253:12 254:17       15:13 327:23
      catalyst 139:3     173:21,22        150:4 171:12        269:19 274:10     Certified 1:16
      causal 45:5        174:9,18 175:1   171:16,20,22        274:13 275:3        8:10 327:5,7
        229:1 239:3      175:8,18 176:9   172:4 174:9,18      316:22              327:20
        273:17,19        176:10,15,20     175:8 226:22      cells 19:10 67:17   certify 327:7
      causality 101:3    176:21 177:14    274:4               70:9,15,22          330:4
      causation 4:13     177:23 180:7,8 cavity 69:2,14        71:5,5,6,7,14     certifying
        29:25 44:23      180:17,23        69:23,25 80:6       71:17,21,24,25      327:25
        46:23 47:10,15   181:19 182:7     108:9 109:11        72:2 73:21        cervical 99:9
        47:20 71:23      183:4,5 190:8    111:8 112:1,7       85:20,21 86:14      100:2,3,5
        72:4 165:13,21   212:20,21,21     116:5 128:4         87:5,6 88:13        150:2 170:13
        173:7 174:22     232:4 233:11     158:19 160:3        112:8,10          cervix 108:6
        175:12 176:16    233:16 239:14    160:17 161:25       116:24 120:20       294:12 300:2
        202:3,9 212:2    239:18 266:1     162:9 163:4         121:2 122:13        311:8 313:13
        222:6 223:6,16   267:21 268:8     164:17 256:9        122:19 138:12       313:14,24
        273:18 307:22    268:14 271:24    263:7 299:22        180:8,16,17,19    cgarber@robi...
        315:24 316:13    272:3,8,11,12    300:6               180:23 181:18       2:10
        316:19 317:4     272:13,19      cell 19:9,10 24:6     181:18 182:8      chance 11:2
        319:20         caused 21:19       25:12 26:5          190:14,15           233:6
      causative 62:20    51:16,19 63:5    30:3 50:15,20       221:14 242:23     change 37:25
        66:3 170:14,18   83:20 84:4       51:8,13,16          243:13 251:24       38:20,23 132:7
      cause 20:23        100:5 110:7,10   52:5,10 53:3,9      256:20,22           155:23 165:16
        47:10 50:2,4,6   142:15 149:25    53:25 55:6          269:14 288:23       205:16 310:10
        51:5 54:1        323:2            58:6 59:6,13        307:20,21           325:25 329:4
        55:14 57:20,20 causes 49:13       59:24 60:2,6,8      319:18 322:7      changed 33:3
        58:25 59:1       51:6 55:13       61:4 63:23          322:11              155:10 157:19
        61:21,24 62:7    56:9,19,25       68:24 69:2,15     cellular 26:11        320:22
        64:21 65:1       57:7 62:2 70:8   70:6,16 71:9        44:25 270:16      changes 71:18
        68:4,10,15       71:11 76:11      71:10,12 73:11    central 237:16        121:10 122:2,6
        70:14,21 73:10   77:11 81:8,13    82:4 84:20,24     ceramics 200:23       122:7 141:1
        77:19 78:22      82:2,15 83:1,6   85:3,15,23        certain 27:22         328:9 330:7
        80:23 81:4,12    83:14,17 91:23   98:12 113:18        86:22,25 121:9    chapter 5:8
        81:19,23 82:10   100:8,10         113:23 115:5        121:21 233:13       126:2,3,5,7,10
        86:13,22 93:5    109:13 119:15    115:25 117:10       233:14 236:6        127:5 129:12
        96:8,9,15,19     135:1 138:19     117:13 121:19       269:16              153:25 159:2
        97:9,20,25       139:18 148:9     122:7 124:7       certainly 16:7        159:14,19
        98:24 100:1      176:24 177:1     162:5 178:19        17:8 25:5           164:15 168:21
        102:16 121:3     182:23 183:3     182:3 185:18        30:11 32:19         168:23,25
        138:25 139:11    210:9,25         185:25 189:1        37:9 52:21          169:2,4 172:20
        140:25 141:4     221:21 272:18    189:24 190:4,7      82:6 112:16         172:22 178:5
        141:10,21        323:20 324:19    190:9 203:22        114:8 179:25        184:2 216:2,11
        148:8,18         325:7            204:13 220:12       254:16 262:6        216:17 217:4,5
        149:16 150:14 causing 50:19       221:8 229:24      certificate 1:16      217:7,14,16
        150:20 158:20    53:10 62:12      242:20 243:24       327:3,12,19         218:11 255:19

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 304 of 348 PageID:
                                   61078
                                      Robert Kurman, M.D.
                                                                                          Page 338

        259:23              273:1               167:19 169:22       76:6                309:19 312:11
      chapters 119:2      circle 64:19          269:19 273:21     collaborations      commentary
      characteristic        177:4               289:20 290:2,5      76:23               27:8 48:23
        98:4 137:2        circling 111:12     clearance 81:13     collection 243:2      55:23
      characteristics     circumstance          84:13             collection/pre...   commented
        25:8 145:11,21      311:21            clearly 99:16         288:19              230:21
      characterizati...   circumstances         170:7 172:19      collections         comments 27:13
        39:23 105:11        228:6               174:21 238:25       120:7,16 252:6      27:18,25 28:1
      characterized       circumstantial        294:2             colorectum            214:20
        256:19              160:13            Clement 168:22        83:14             Commerce 2:5
      check 160:21        citation 172:17       184:3             column 79:19        commission
        166:25            cite 128:11         Cleveland 3:9         81:11 131:17        330:16
      chemical 224:9        129:14,15         clinical 9:7          242:8 291:6       committee
        224:11,14           164:1 240:10        155:25 169:5        293:23 302:5,9      77:15
      chemicals 166:1       266:23,25           205:23,24         come 22:8 33:16     committees
        166:14 169:15       278:25 280:2        218:7 240:11        47:12 57:13         26:24 28:15
      chemistry             282:22 290:13       287:18              73:8 92:21        common 131:6
        226:22,24           325:4             clinical-use          94:19 112:19        131:20
        238:22            cited 159:24          302:18              152:9 166:8       commonly
      chemokines            278:21 307:22     clinically 299:10     219:18 230:5        232:5 248:23
        165:19              310:18 316:20       306:21              251:11 252:17     communicating
      chlamydia           cites 162:23        clinicians            271:13 278:3        44:16
        145:7               221:7,21 265:7      303:16 304:1        278:15 289:18     community 18:9
      chose 164:1         citing 78:4         clockwise 194:5       290:1 317:10        20:4 151:3
      chromium              222:10 281:20       194:14,23         comes 48:10         companies
        79:22 80:1,10     City 1:13           cloned 136:13         91:15 136:2         204:23 205:5,7
      chronic 50:9,10     claim 231:18        close 64:19           166:10 223:24       206:12
        50:13,18 51:3       274:21 301:20       116:13 123:11       236:13 316:23     Company 205:8
        52:17 53:4,13       303:6               123:23 124:18     comfortable           205:15,18
        53:14,24 54:13    claimed 66:2          234:13              35:2 40:24        compare 121:8
        54:14,21,23         215:14 298:5      closed 300:1,3      coming 111:1,3        152:12
        55:9,13 57:20     claims 292:14         310:6,6             125:13 128:4      compared
        58:3,7 59:1,8       318:25            closely 217:24        155:11 168:14       121:15 244:18
        59:12 61:21       clarification         218:1               177:4 186:9         289:23 290:4
        62:12 64:21,22      322:17 323:8      closer 123:10,19      278:2,4 294:22    compares 27:14
        69:4,4,17 70:3    clarify 81:25       clump 247:10        commencing          comparing
        98:12 106:21        119:25            clusters 186:24       1:14                233:1
        107:3 143:25      clarity 13:23         246:19 247:6      comment 33:18       comparison
        160:9 162:6       classification        248:11              37:2 41:15          228:1
        164:25 165:7        65:18             CMO 228:8             83:19 133:10      comparisons
        165:25 166:13     classified 101:23   co-editors 169:3      166:23 167:23       230:11
        167:25 169:15       227:20 236:21     coach 253:6           167:24 207:19     compelling
        177:13 209:13     clear 62:3          coffee 117:25         208:19 213:6        41:23
        239:13,18           113:18,23         cohesiveness          213:24 214:17     compete 16:2
        262:25              115:5,25            138:12              226:1 234:4       complete 31:1
      chrysotile 89:17      117:10,12         Cohort 92:5           259:5 285:11        35:18,21,24
      cigarette 272:3       124:7 149:23      collaboration         296:15 307:5        36:18 65:24

                    Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 305 of 348 PageID:
                                   61079
                                     Robert Kurman, M.D.
                                                                                      Page 339

        66:18,23 113:5   conclusively       considerations     contaminated         167:18
        128:13 154:22      108:23 109:18      45:4 47:21         63:7 256:9       controversy
        189:10             109:23             223:19 225:15    contaminating        263:16
      completely 16:2    concordant         considered 31:1      64:10            conversation
        16:2 60:5          27:16              101:11 302:19    contamination        239:21
        101:20 143:9     concrete 82:25       318:3 325:18       51:22 69:24      convince 197:5
      complex 69:8       condition 69:17    considering          274:23 287:21      198:21
        71:4 95:8,9        171:13,21          248:18             288:5,7,21       convinced 96:16
      complicated        conditions         consistency          293:24 296:16      97:2,3,19
        260:11 300:9       143:10 262:7       101:2              296:22 298:1       197:13 198:21
      composite 10:18      266:17,17        consistent           302:2,19 303:7     198:23 200:13
      composition          300:1 306:20       273:18 323:24    context 51:4         201:14,17,21
        91:16 96:5       conducting           324:20             126:11 170:1       202:3,16
        224:14             76:21            consistently         245:21           convincing
      compositional      conduit 311:13       92:7             contexts 104:18      212:9
        224:6,20         confine 16:3       constantly 9:9     continuation       coordinating
      compositions       confirm 83:5       consultant           301:4              76:16
        224:12             270:16             282:19           Continued 3:1      copies 10:23,24
      compounds 80:4     confirming         Consumer             5:1 6:1            125:23
      comprehensive        100:5              105:21           contrary 275:20    copy 103:11
        317:14,20        confuse 227:18     contact 105:25     contrast 67:9        191:16 217:11
        318:20 320:2     confused 227:16      106:4 116:13       224:25             241:9 279:7,23
      conceivable        confusing 167:1      128:4            contribute           327:11
        318:1              238:9 239:1      contacted 17:18      50:19 172:9      corporate 2:8
      conceivably          324:23             17:24 19:13,23     176:10 179:21      14:13
        120:15           confusion 48:21      20:3,9,12 21:3     225:2            correct 14:19
      concerned 15:24      105:8,9 227:12     22:19            contributed          15:9 18:8 23:6
        54:4             Congratulatio...   contacts 106:9       21:24 304:10       29:9 35:11,17
      concerning           14:20            contain 35:18,24   contributes          36:24 37:8,22
        29:22            connect 252:10       90:16              173:10 179:15      41:21 42:9
      concerns 28:5      connection         contained 4:15     contributing         43:9 44:3
      conclude 276:5       98:20 232:21       11:17 13:20        171:12,17,18       46:24 47:22
        288:17           consensus 72:24      36:5 52:2          171:20,22,24       49:4 52:9
      concluded            163:8,14,16        307:11             172:4 173:3,9      53:21 59:15
        294:15,19        consequence        containing           173:13,19,22       61:10 64:6
        326:5              261:9              104:1,15,19        174:9,18,22,25     66:17 79:13
      concludes 326:4    Consequently       contains 36:15       175:1,5,7,13       85:5 86:14
      concluding           152:16 265:2       71:5,5,5 91:2      176:15,21          109:16 111:16
        186:14           consider 36:19       200:25             272:14             116:6 127:7
      conclusion           50:5 170:3       contaminant        contribution         132:10,13
        47:12 77:15        260:17 284:19      91:8 98:15         173:20             137:7 138:7
        81:1 90:4          285:3 304:1,12     189:10 200:13    contributory         143:2 150:13
        92:21 136:4        308:25 316:8       200:16 201:25      82:6               161:10 176:5
        233:19 277:8       317:5 318:10       274:18 288:18    control 261:2        178:21 181:4
        317:11             318:14 319:8     contaminants         289:23 290:4       183:1 198:17
      conclusions 65:9   consideration        300:17 301:16      327:24             200:6 218:10
        77:18 222:3        45:11 238:12       301:18           controversial        236:25 240:15

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 306 of 348 PageID:
                                   61080
                                     Robert Kurman, M.D.
                                                                                     Page 340

        243:25 250:23      150:9 157:10      criticized          161:23 165:1,9   281:15 328:14
        263:9 268:17       197:16 201:1        283:19 284:7     damaged 87:5     deal 179:2
        275:6 277:10       202:20 216:23     criticizing        damaging 86:13 dealing 221:9
        285:10 301:10      218:19 220:2        250:24 251:3     Dan 32:10        Dearing 2:4 4:5
        304:17 318:17      221:2 233:22        261:14           Danish 236:4,5    7:14,14 8:14
        319:8 327:11       282:25 290:20     critiquing          237:14 238:7     8:18 10:11,17
        330:5              296:8 313:3         218:24           Darnell 3:18 7:4  11:1,13,21
      corrected          court 1:1 7:9 8:5   crocidolite        data 14:14 29:22  12:1,4,7,10
        302:20             202:14 237:19       89:18             30:2,3,5 32:20   17:4 18:1,13
      corrections          237:19 328:16     crystal-clear       32:21 38:25      19:1,8,12,19
        328:4,6 330:7    cover 103:13          219:6             75:2 93:9        20:7,15 21:7
      correctly 111:24     217:6             crystals 256:21     113:15,25        21:20 22:3,21
        132:5 135:17     covers 66:14          256:23 258:6,9    114:4,5,6        23:17,24 24:9
        155:8              110:11            CSR 1:15            115:3,23 117:5   24:11 25:23
      correlated 288:4   Cramer 32:10          327:19            133:1,2 142:18   26:17 29:4
        288:8,15           276:13 285:11     cultures 221:8      155:11 167:23    30:24 31:21
      correlation          285:13 292:10     current 118:19      177:16 178:2     34:25 35:8,15
        291:18             292:21 293:13       125:21 154:7      180:12 183:23    35:23 36:3,9
      correlative 5:4      300:18 303:10       218:5 275:20      187:2 210:8,23   36:21 39:4,19
        190:22 194:1     Cramer's              289:13            211:2 212:14     40:4,5 41:4,16
        194:21 286:11      291:23 293:19     currently           216:6 221:7      42:3,5,14,15
        287:7              293:19              125:22 211:15     232:5,9,10,19    43:10,20 44:4
      corresponding      create 24:5           211:18,23         236:12 260:12    44:13 45:9,22
        136:15             139:4             cut 9:12 99:11      269:5,6 275:20   46:9,16 47:4
      cosmetic 64:11     created 74:15,17      225:6             284:19 285:2     47:18 48:4,16
        64:16 247:10     creating 51:25      cutting 296:21      289:17,25        48:22,24 49:20
        277:15 289:16      143:13            CV 10:20 11:6       290:16 302:18    50:24 52:16
      cosmetic-grade     criteria 45:8,16      204:20 205:6      304:16 323:19    53:1,16 54:10
        63:13 247:3        47:13 48:18,20      205:11            324:17 325:5     54:18 55:11
      cosmetics            49:14,15          cycle 120:10,12    date 1:15 7:6     56:6,15,23
        105:21             100:23 202:10       134:23 281:10     75:18 89:5       58:21,23 59:10
      Cotten 1:15 8:6      202:12            cynomolgus          206:23 327:15    60:13,20 61:11
        327:19           criterion 45:20       282:6,15          328:8 330:12     61:18 62:13,21
      counsel 7:12,21    Critical 264:6      Cynthia 2:8        dated 235:15      63:4,12,20,21
        230:10           critically 303:6      7:16 12:4        Daubert 4:13      64:7,18 65:7
      count 94:1 301:6   criticism 220:19    cytokines          daughter 217:20   66:12 68:2,11
      counted 301:13       220:21,24           165:18           David 2:4 7:14    68:20 69:9
      counters 200:23      222:14 223:1                          8:18 36:13       70:1,13 71:8
      countries 76:17      223:23 225:11            D            58:19 205:11     72:5,14 73:19
        76:22              232:14 273:6      D 4:1              david.dearing...  73:24 74:10,19
      country 236:14       307:10            D.C 3:14            2:6              75:12,19,22
      couple 32:10       criticisms 214:4    daily 311:25       day 63:8 189:16   77:4 78:9 79:1
        122:22 217:20      214:8 307:9       damage 86:11        211:8 228:9      81:9 82:8,18
        322:16 323:5       308:4              86:12,22 87:2      312:3 323:3      83:12,25 84:1
      course 9:6,10      criticize 223:13     87:15,21,24        330:15           84:23 85:16
        66:15 84:19        232:12,15          88:2,4,8,9,12     days 9:13         86:3,17,24
        86:13 147:3        250:18             88:20 159:25       217:20 280:18    87:10,17 88:1

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 307 of 348 PageID:
                                   61081
                                   Robert Kurman, M.D.
                                                                                 Page 341

        88:10,18 89:1    164:20,24        220:6 221:17      302:3 303:9      defined 49:9
        90:13 91:1,10    165:6,23 166:5   222:1 226:12      304:7,22 305:6    85:8 218:6
        91:18 93:12      166:17 167:4,7   226:18 227:15     305:12,14         242:15
        94:6,21 95:17    167:9,20 168:9   228:3,11          306:1 307:7      defines 79:11
        96:6 97:16       168:19 170:15    229:19 230:1      308:3,19 309:9   defining 34:25
        99:4,10,16,18    170:22 171:8     230:13,24         309:20 310:16     48:19
        100:11,13,19     171:19 172:14    231:15 233:8      311:19,24        definite 278:18
        101:5,12,22      173:1,12,17      234:12 237:18     312:8 313:5,12   definitely
        102:15,19        174:3,16,24      238:2,23 239:8    314:1,17,24       117:17 267:5
        103:4,12         175:4,15,23      240:22 241:9      315:10,17        definition 45:17
        105:12 106:10    176:4,18 177:2   241:12,18         316:4 317:1,12    46:6 48:14,18
        106:25 107:2     177:8,12,18      244:2,20,23       317:18 318:2,8    49:1,5,7,17
        107:22 108:16    178:3,10,17      245:11 246:6      318:18 319:2      171:2,10,11
        109:17 110:4     179:14,18        246:21 247:5      319:22 320:17     172:2,3
        110:19 111:23    180:13,21        247:12,23         321:6,12,16      definitions
        112:6,12 113:7   181:1,9,22       248:4,8,15,16     322:1,10 324:3    44:17 48:11
        113:24 114:9     182:4,13,18      248:20,21         325:12 326:1     definitive
        117:11 118:1,3   183:12,17        250:8 251:9,22   death 235:16       167:24 171:6
        118:10 121:1     184:1,18 185:2   253:5,9,20       debated 90:3       184:20
        122:12 124:10    185:6,14,23      254:5,15,20       95:9 302:11      degraded
        125:15 127:2     186:3,11,21      255:9,17         decide 30:19       229:15
        129:4,13 130:1   187:4 188:1,19   257:12 258:15     171:1 203:12     degree 72:23
        130:22 131:3     188:22 189:5     258:21 259:4,7   decides 28:1       208:18
        132:20 133:3     190:5,19 191:6   259:12 260:19    decision 28:3     deliver 112:15
        134:2,12 136:5   191:17,19,20     262:1,9,22        183:24 208:10    delivers 115:20
        137:1,8 138:8    192:5 193:11     263:5,10,19       246:4            demonstrable
        138:23 139:12    195:3,13,21,22   264:4 265:22     decrease 107:12    229:5,8
        139:21 140:3,4   196:6,16         268:19 269:11    decreasing        demonstrate
        141:8,13 142:1   197:15 198:14    270:1 271:3       116:23            125:12 136:12
        142:12,19        199:17 200:1     272:2,7 273:2    deemed 27:21       269:13 282:1
        143:3,11,21      200:14 201:12    275:7 276:9,11    328:16           demonstrated
        146:5,19 147:2   202:1,6,11,21    276:19 278:7     Defendant 3:3      69:21 114:18
        147:18,20        203:6,16 204:7   278:23 279:14    defendants 2:16    116:20 125:3
        148:4,13,23      204:19 205:3     279:23 280:1      7:25 8:2,4        144:20 170:6,7
        149:5,9,20       205:14 206:15    281:8,14,24      Defendants'        278:13 290:10
        150:11,23        207:7 208:11     282:14 283:2,9    4:14 11:16        292:6
        151:12 152:5     208:24 210:1     283:18 284:6     defense 9:15      demonstrating
        152:20,24        210:11,17        284:13 286:7      12:22 36:10,25    198:3
        153:19 154:2,4   211:1,10         287:5 289:6       37:10            denied 301:9
        154:7,10         212:10 213:3,8   290:12 291:4     defer 64:15       Denmark
        155:20 156:5     213:16 214:1     292:19,24         90:10 91:17       236:11,14
        156:15 157:1,7   214:11,18        293:6 294:14      95:11 262:21      237:4 238:5,6
        157:17 158:6     215:13 216:14    294:24 295:10     297:3,8          depend 95:7,8
        158:16 159:1,5   216:21 217:2,6   295:11 296:2     define 45:24       296:18
        159:7,9,12,14    217:9,12         297:1,15 298:3    67:22 72:12      dependent
        159:17 162:16    218:15 219:5     299:16 300:21     137:11 168:15     37:10,20 88:8
        163:9 164:8,13   219:12,19        301:1,2,21        168:18           depending

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 308 of 348 PageID:
                                   61082
                                     Robert Kurman, M.D.
                                                                                      Page 342

       123:13             143:17 236:4      determining          64:11 82:4         324:25
      depends 34:23       249:14 286:16       300:14             90:9 121:12,13   disagreed
       185:8 256:17       291:5 315:22      develop 121:17       137:21 140:10      312:21
       257:5,8 258:2     described 45:24    developed            144:9,9 152:15   disagreeing
       312:10             45:25 51:13         135:12 157:18      162:3 179:13       124:21 160:23
      deponent 7:11       63:1 66:5         developing           179:13 180:5       183:18 221:12
       330:1              68:24 82:11         260:6 289:22       185:20 215:12      221:20
      deposed 16:8        83:21 84:4,12       290:3 305:21       224:18 226:20    disagreement
      deposing 328:13     85:6 98:19        development          228:20,21          236:6,22
      deposited           110:8 129:11        22:18 29:23        230:4 231:13       301:22
       295:20 314:8       162:3 169:5         84:10 87:25        251:6 253:3      disagreements
      depositing          189:13,14,15        88:7 91:9          260:11,12          308:15
       294:25 295:5       189:17 231:12       109:1,3 116:8      262:16 269:6     disappointed
      deposition 1:12     231:13 250:14       121:15 137:13      269:18 271:22      19:3
       4:11,16 5:3 6:3    252:8 292:2         137:16 139:10      277:3 281:10     disciplines
       7:7 9:1,14,21      315:2,21            141:6 143:5        282:9,11           217:24,25
       9:25 10:15        describes 46:4       151:8 171:13     differentiate      disclose 207:15
       11:11,17 38:5      81:11 83:3          179:16,22          287:20           disclosure 40:1
       39:2 40:2          191:8 248:17        229:17 271:21    differing 124:17   discovered
       48:15 65:11        249:17              304:18,20          210:3,19           309:13,14
       75:10 78:24       describing         devoted 216:11       323:11 324:12    discuss 37:15
       103:2 190:17       100:16 106:12     devotes 215:18     difficult 154:14     38:25 40:10,15
       207:3 216:25       131:14 189:16     diagnosed          digest 93:25         54:12 57:9
       221:2 241:16       191:21 236:3        136:18           digestate 194:2      95:19 134:1
       255:7 264:2       description 4:11   diagnoses 218:7      194:22             220:12 228:12
       269:24 278:11      5:3 6:3 65:24     diagnosing         digested 300:16      249:10
       279:12 283:7      designated           234:21             301:12           discussed 40:21
       308:18 319:13      135:13            diagnosis          digesting 301:13     65:20 98:11
       320:15 321:4      detail 40:11         236:25             301:15             129:10 202:10
       321:22 326:4,5     306:6             diagram 110:12     digestion 288:1      209:6,7 223:16
       328:3,11,14,15    details 96:4         110:20,25          288:19 291:11      232:23 299:3
      depositions         208:23 231:10       111:13 123:3     dilemma 264:24       305:21
       320:7             detected 302:16    diameter 245:13      265:17,18        discusses 127:8
      deposits 104:14     303:2 311:6,8     diaphragms         dimensions 90:3      248:9
      deps@golkow...      311:11              315:7            direct 83:4        discussing 48:11
       1:20              Detection 273:3    dictionary 171:7     236:12 327:24      126:11 209:8
      depth 40:18        deteriorate        Diette 13:10       directly 206:4       215:21 218:18
       208:19             254:2             differ 224:16        292:16             221:1 232:12
      derive 116:10      determinants       difference 46:10   disagree 29:2        250:18 315:20
       135:20 141:15      218:3               156:21 219:24      68:19 80:21        315:25 318:15
      derived 135:23     determine 28:25      249:12             91:25 93:15      discussion
      dermal 105:24       47:5 49:13        differences          110:2 125:1        108:18 197:21
       106:4              229:1               89:25 95:9         128:7 153:17       215:19
      describe 26:1      determined           284:20 285:4       192:1 210:24     disease 76:13
       27:1 57:6          91:12             different 32:16      211:5 220:20       112:17,17
       64:15,16          determines 27:4      53:15,20 54:7      267:8 306:23       143:19 144:19
       106:11 110:20      254:11              55:9 60:6          318:24 324:18      144:20 145:7

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 309 of 348 PageID:
                                   61083
                                     Robert Kurman, M.D.
                                                                                      Page 343

        175:6,8,8         61:19 99:11        56:3,24 66:2     drugs 106:22        easy 127:3 214:2
        261:21,24         103:5 118:11       168:22,22        Duane 1:13          edge 104:8
      diseases 145:8      125:16 128:14      184:3,3 187:5    Duces 4:16          edit 168:23,25
        218:4,5 240:12    178:18 194:18      190:20,21         11:18              edited 65:14
        255:19 261:24     235:5 252:20       191:8,24         Ducie 38:15           118:12,22
        262:4 266:19      255:10,18          202:16 214:4,8   due 60:1 143:19       168:24 169:2,3
      dismantling         287:6 315:18       214:13,16,20      143:19 144:19        172:22,25
        327:12            322:25 325:13      214:21 215:3      152:18 158:3         218:11
      displaced          doctors 119:5       215:16 217:13     235:15 238:17      editing 119:1
        121:19            130:12             218:25 219:8      287:21             edition 5:13
      dispute 58:8       document 1:7        220:19 223:13    duly 8:9 327:9        65:15 118:17
        92:22 93:2        4:14,19 10:14      223:22 224:5,8   dust 103:15           118:19,20,21
      disruption          11:10,14,16,19     224:18 225:23    Dusts 4:20,23         125:16,21
        87:12             12:11,15 75:9      227:24 231:18    dye 312:24            154:5 155:9
      dissect 35:10       75:17 78:23        232:12 233:22                          207:10 208:13
      dissecting 105:5    103:1 190:16       239:12 240:11            E             208:21 216:10
      dissolved 229:12    216:24 241:15      241:25 244:24    E 2:1,1 3:1,1 4:1     216:19,20
      distal 116:12,22    255:6 264:1        246:16,25          4:10 5:1 6:1        217:8,9 218:14
        123:10            269:23 279:11      247:24 249:16      329:2               254:22 255:12
      distally 123:17     283:6 321:3        250:3,18,24      earlier 29:2          258:23 259:16
      distinction        documented          252:1 255:21       32:24 38:4          259:21 306:3
        173:4,23          138:17 287:24      264:7,8,10         50:14 53:10       editions 118:22
        174:17 175:5,7   documents           265:12 267:20      65:21 78:21         216:10
        175:9             14:14 198:2        268:5,22           80:25 91:15       editor 5:15 27:4
      distinctly         doing 20:6 38:6     269:21 273:7       93:1 95:4           27:12,12,16
        271:22            117:23 118:18      275:18 276:13      97:15 98:11         28:2,3,12
      distinguish         157:9 178:25       279:19 280:12      144:6 149:7         118:15 266:8
        201:9 235:18      220:1,1 226:5      283:19,21          153:24 178:18       266:14 267:6
        266:3             228:9 252:21       285:24 291:23      199:7,8 202:8     editor's 27:17
      distinguished       253:1 298:1        293:19,19,20       209:12 216:4      editorial 26:24
        238:20,25         328:7              300:17 303:10      232:23 275:11       27:5,6 211:15
      distinguishing     domestically        307:9 316:10       285:11,23           211:22,24
        101:25 102:4      65:19              321:23 322:5       291:7 302:2       EDX 194:2,22
      distribution       dominoes           drag 40:23          305:22 306:6      effect 6:4 61:20
        218:3             316:18            drainage 278:6      307:2 315:2         113:16,18
      District 1:1,2     Don 15:16          drank 117:25        316:11 325:3        114:1 115:4,24
        7:9,9            dose 101:1         draw 136:4          325:23              117:5 129:19
      divide 269:6       doses 78:6          257:1 258:5      earliest 165:14       130:3,15,18
      divides 187:2      double 324:24      drew 77:18        early 65:10           180:12 270:16
      dividing 242:19    double-check       Drinker 2:20        150:6 151:7       effects 19:10
      DNA 86:11,12        266:7              7:24               312:20              224:13,18,22
        86:13,22,22      Dr 7:11 13:9,9,9   Drive 2:8,12      earned 206:22         225:2 226:23
        87:3,5,15,20      13:10,12 15:16    driving 142:11    easier 110:13,14      231:14 262:13
        87:24 88:2,3,9    15:24 17:12       Drs 93:21           281:4             effusion 261:20
        88:12,20 165:1    21:22 34:2,13      264:22 265:12    easily 201:2        effusions 5:17
        165:9             36:23 38:5         270:3              226:15 229:14       263:14 264:22
      doctor 8:15         45:17 55:15,16    drug 107:4        Eastern 1:2 7:9       265:14,19

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 310 of 348 PageID:
                                   61084
                                     Robert Kurman, M.D.
                                                                                      Page 344

      Egli 280:6         embryonic          endosalpingio...     78:6               219:9,17
      eight 92:4           109:4 110:11       144:2            eosinophils          232:13 319:23
        155:22 157:20    employed 49:24     ends 124:1           85:21              320:18
        192:14,14          265:3            energy-disper...   epi 43:6           epigenetic 81:16
        197:2,8 234:15   encompass            288:3            epidemiologic        84:8
        294:15 296:9       243:16           engulf 67:13         30:5 32:5,11     epithelial 70:9
        297:16 299:7     encounter            185:24 186:10      33:1 48:15         71:6,17,21,24
        300:12             248:23             186:15 201:4       100:4 101:1        72:2 106:23
      either 27:18       end-stage 156:1      243:13             115:3,23 117:5     107:5 126:3,16
        28:14 29:2         261:21 262:4     engulfed 190:3       269:5 289:19       126:22 127:5
        31:10 39:24        262:11             196:22 197:10      290:1,9,15         142:23 143:12
        41:10,22 42:8    endogenous           198:10,13,16       315:5 320:2,8      143:16 159:19
        55:1,8 64:3        60:24              200:4 201:24     epidemiological      180:3 221:9,14
        94:16 96:15      endomet-             203:1 250:11       48:11 89:9,15      307:20,21
        110:10 132:23      121:11           engulfing            113:15,25        epithelium 73:2
        133:7,17 134:4   endometrial          249:19,22          198:6 208:22       114:19 142:24
        141:16 161:23      59:25 109:7        252:14             216:6 232:9,13     143:13,24
        167:21 213:9       110:24 111:9     enter 302:14         232:16,16          144:16,23,24
        240:15 248:11      112:3 115:20       303:1              267:22 268:10      145:5 179:24
        269:21 270:5       116:4 117:12     entering 128:3       290:13             190:15 221:6
        299:24 301:9       119:23 120:20    entire 41:6        epidemiologist       221:10 222:10
        308:25 315:9       121:2,19           60:12 160:20       30:7 31:6          222:11 316:23
      elaborate            122:13 123:23      203:5 204:16       107:19             316:25
        208:20             124:5,19           215:20 216:11    epidemiologists    epithelium'
      electron 5:5         134:18 256:8       221:1              217:23 218:2       116:22
        26:19,19 93:25     269:19           entirely 161:2       218:23           equally 185:3
        100:2 190:22     endometrioid         162:3 207:9      epidemiology       equipment
        287:8 288:2        108:18 113:18    Entities 2:16        5:8 18:22 30:4     132:7
        291:12 296:14      113:23 115:5     entitled 11:15       30:25 31:2,5,7   equivalent
        296:19,23          115:25 117:10      103:25 126:3       31:14,22 32:12     249:25
        297:3,12,17,25     117:12 121:3       159:10 184:3       32:22 33:7       equivocal
        303:5              121:20 122:20      190:21 241:22      34:3,15,21         184:11
      elicit 67:13         124:8              255:19 275:8       35:5,10 38:24    errata 328:5,7
        68:21 178:19     endometriosis        279:15 286:11      38:25 39:1,15      328:10,13
        182:24 186:19      108:18,23          287:7 314:4,5      40:10,21 41:9      330:8
        229:20 246:16      109:13,23        entries 205:21       41:19 42:6,16    especially
        247:1 256:6        110:7,9 113:20   envelope 186:8       42:23 43:18,24     232:25 302:18
      eliciting 182:6      121:7,9,10,12    environmental        46:22 47:1,7     ESQ 2:4,8,12,17
      elicits 51:12        121:14,15,17       123:24 124:20      47:24 48:20        2:21 3:4,8,13
        64:2 67:10         122:5 123:2        124:22,25          76:9 107:7       essentially 54:13
        69:2 150:16        131:15 160:7       125:2,7,12         126:18 127:9       111:14 170:17
      Ellis 3:4,8 7:22   endometrium          128:2,9 129:19     147:13 208:13      200:11
      else's 208:1         108:6 110:24       130:5,18,18        214:22 215:4,9   establish 47:19
      elucidating          111:19 112:11      138:24 141:10      215:15,21,23       49:15 316:18
        151:7              120:8 121:6,7      141:21 142:3,7     216:2,5,11,16      319:20
      EM 300:15            121:14,25          142:15 233:3       216:23 217:4     established
      emails 14:14         122:3,17 256:7   environmenta...      218:18,21          43:21 81:11

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 311 of 348 PageID:
                                   61085
                                     Robert Kurman, M.D.
                                                                                      Page 345

        84:6 108:24      evidence 21:18       196:11 215:18      216:25 217:4       13:14 15:10,12
        109:19,23          46:20 53:10        235:1 240:21       217:10 241:10      22:1 29:14,19
        231:17 232:3       58:16 62:2         251:7 275:24       241:16 255:7       29:25 31:7
      establishing         63:2 64:22         312:24             255:12 264:2       36:11,22 41:7
        44:22              70:23,24 73:20   exam 256:11          269:24 270:2       49:25 56:13
      estimate 10:3,4      77:11 79:16      examination 4:4      279:12,15          66:9 73:5
        10:7               80:6,19,22,25      8:13 154:22        283:7 285:25       82:13 90:8
      et 5:7,11,17,21      89:10,15 91:21     314:16 322:23      286:8,9 321:4      132:12 133:11
        5:23 6:9 38:15     97:21,24           325:11 327:10    exhibits 243:8       133:13 161:3,7
        116:19 293:15      113:25 119:22    examine 316:14     exist 231:3          178:24 204:4
      etiologic 166:2      120:3 125:11     examined 8:10        242:15             208:6 211:9
        166:15 168:1       148:9,19           280:15 286:17    exists 120:4         215:14 234:16
        168:15 169:17      150:16 152:17      292:7 293:16       134:8 173:15       272:25
        169:19,23          160:5 161:16     example 20:16        230:19           expertise 27:6
        170:3,10           181:18 182:7       20:20 44:18      exogenous 141:9      30:8,12 34:17
        174:12 177:5       183:6 190:13       63:8 67:9,20     expanded             40:23 64:14
        177:23 209:15      198:4,9,11,19      90:15 99:5         293:11             76:16 104:24
        209:19 271:24      200:7,10           123:14 136:16    expansion            215:12 220:4
      etiological          201:20 202:14      137:23 139:14      293:19             220:16 303:5
        171:11             202:17,19,23       181:23 209:11    expect 63:22       experts 13:17
      etiology 126:11      202:24 203:7       211:4 242:25       98:7 101:14,19     21:3 36:10,25
        127:12,22          212:9,14 223:5     272:3 311:3        149:18 178:18      37:10 55:24
        159:21 170:17      231:11 237:20    examples 51:18       180:2,8 185:25     56:2,8,18
        170:24 172:1       237:21 239:13      271:23             188:25 189:23      210:13,13
        210:3,20           268:11,13,18     exception            240:6,24           220:11 319:12
        219:14 242:15      273:7,19 274:4     119:23 124:11      247:15 257:18      319:15 324:5,6
        242:18 323:12      276:14 277:21      239:12 273:22      261:11           experts' 55:13
        324:13             292:20 302:14    excerpt 255:18     expected 202:8     expires 330:16
      evaluate 65:23       302:25 315:19    Excerpts 4:22      expelled 109:7     explain 51:2
        65:25 297:5        315:23 316:7       5:12               110:24 111:2       82:17 84:3
        303:6 307:3        325:5,14,18      excess 289:20        111:11,15,18       101:8 116:25
        309:23           evidenced 21:8       290:2            experience           122:3 219:14
      evaluated            251:25           excludes 43:24       28:13 58:1,5       286:19
        183:15 222:11    evident 152:19       296:22             66:7 83:4        explained 45:13
        223:7 296:24     evoke 70:3         excuse 16:2 34:5     108:11 133:6,7     203:17 209:21
        315:7              162:10 179:10      56:12 73:15        236:12 237:5       220:18 316:7
      evaluating 66:6      180:15,22          99:11              237:13 238:4,6   explaining
        307:14             181:17 183:9     exerts 257:7         244:3 282:16       293:24
      evaluation           183:19 184:7     exhibit 4:12,14      316:6            explains 105:16
        157:9 227:10       184:12,17,22       4:18,19,22 5:4   experienced          105:17,17
        267:22 268:9       190:9              5:8,9,12,15,18     133:4 219:7,20   explanation
        317:24           evokes 69:14         5:22 6:4,6         234:20,23          28:4 55:13
      event 231:17,21    evolve 69:5          10:15,18,19        235:24,24          56:4,4 104:22
        231:24 232:2     exact 67:8           11:11,15,20,21   experiment           114:14 139:23
      events 81:12       exactly 34:5         12:12 75:10,13     122:8              140:21 219:15
        84:7               46:13 64:13        78:24 79:2       expert 4:12 8:21     294:20 301:5
      eventually 17:17     141:1 147:17       103:2,5 190:17     9:16 10:6        explanations

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 312 of 348 PageID:
                                   61086
                                     Robert Kurman, M.D.
                                                                                     Page 346

        44:24              73:16             283:10 284:15      124:19 131:8     fellows 119:8
      exposed 71:17      extensively         318:9,25 320:3     131:20 134:17    felt 162:20 209:6
        77:25 78:5,12      65:13 266:9     factor 44:22         134:19 135:2       212:22 213:18
        92:6,13,15       extent 124:7        62:20 101:10       135:13,20,23       216:15 232:24
        93:15 94:13        223:17 256:15     173:8 258:24       136:9,20 137:5     319:13 320:13
        96:14 105:19       257:4,11,13       259:1,16 260:5     137:18,21,23     female 5:12
        200:10 240:6       258:1             260:13,14          138:4,5,10,14      118:14 164:3
        240:25 247:15    external 194:9      261:1,3,4          138:19 139:2       255:11 292:17
        247:18 249:7       195:2,25          272:14,24          143:6 144:15       293:5 314:6,10
        269:14 286:18      275:19 311:16     293:24 305:1,4     151:14,17,20     feminine 58:13
        298:8 301:8      externally          305:20 306:3       151:21 161:12      208:16 298:6
      exposure 6:5         276:14 285:16   factors 88:16,17     190:14 221:4       311:25
        22:17 23:15        312:13            101:2 126:11       255:19 300:5     ferruginous
        24:3 26:11       extra 217:10        127:12,20,22       307:25 311:6,9     98:4
        29:23 50:12      extracellular       127:23 159:21      311:17 313:1,8   fiber 81:13
        59:7 70:21         44:25             165:18 259:24      313:15 322:7       84:13 300:14
        73:14,22 78:8    extraovarian        259:25 260:1,4   falls 316:18       fibers 90:2 94:1
        91:13 92:20        183:20 184:8      260:7,17,21      familiar 33:12       101:24 102:2,8
        97:7,25 98:5     extraperitoneal     305:7,15,22,23     45:3,7,10 62:5     102:12 103:15
        105:13,14,23       183:13            305:23             74:11,18 77:16     104:10,12,16
        106:2,6,9,12     extrapolate       facts 69:6           95:13 126:5        104:20,22
        106:12,16          246:12          fail 328:15          264:14 271:9       166:2,15 168:1
        141:9,22         extrapolation     fails 224:19         271:12 272:10      169:9,16 172:9
        143:20 148:18      284:18 285:2      308:10             309:4,16           177:23 178:22
        149:21 178:19    extremely 92:20   fair 17:5 28:24    family 260:23        191:13 209:14
        198:2,11,20      extrusion 60:1,7    30:13 31:1       Fan 270:4            226:7,10,10
        200:7 232:3,6    eye 244:14,15       37:19 85:18      fan-shaped           227:2,8,22
        232:19 233:1       246:8,11          124:2 163:12       256:24 258:7       230:16 258:12
        233:10,10,12                         184:21 229:9     far 18:9 23:1        299:1 301:13
        233:16,21                 F          284:14 307:17      24:16 44:14      Fibres 4:21,22
        261:10 262:25    F 3:14              318:19             88:6 106:8         104:1
        265:8 267:21     F344/N 6:5        fairly 190:25        220:19 275:6     fibrosis 229:25
        268:8,14 269:6   facilitates 76:19 fairness 129:11      308:5,14         fibrous 95:14,24
        271:20 277:15    fact 15:14,17       209:6            farther 290:14       96:11 98:3
        287:21,25          25:24 32:12     Falconer 32:13     faulting 82:23       191:12 227:8
        289:10,13          44:6 67:8 72:1 fall 138:13         faulty 222:2,4       227:20,21
        291:20 292:9       93:3 102:15       325:24           favor 263:21         228:12 229:10
        292:12,15,15       134:16 149:10 fallopian 71:25        322:20             229:11 230:18
        292:20 293:1       150:3,5 155:14    72:9,17,20       fax 1:19 2:10        230:19,22
        294:1,4,9,16       155:23 158:4      73:2 108:9,11    FDA 91:11            298:23,24
        294:16 295:7       161:2 189:21      109:9 111:19     feature 76:15      field 34:3,14
        295:15 299:8       216:1,9 224:10    111:20 112:18    features 83:5        40:23 47:7
        302:12             226:5,22 227:7    113:2 116:12       152:14 169:6       214:22 215:4
      exposures 92:14      236:5 238:8       116:22 120:6     feel 10:21 40:25   fields 22:12
        105:17 233:3,4     239:1 251:15      120:17,21          95:18 104:21     fifth 65:14
        233:19             267:8 273:22      122:17 123:7       231:6,10           118:23 216:10
      expression           275:1 276:5       123:15,25          250:23 270:23      216:19 217:8,9

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 313 of 348 PageID:
                                   61087
                                      Robert Kurman, M.D.
                                                                                   Page 347

         218:14             103:9 105:19     follow-up          229:21,24        95:15 96:1,13
      figure 142:11         126:17 127:8       285:24 286:5     239:22,22,25     97:14 99:2
         193:5,16,17,23     127:11 145:17      286:10 293:21    240:5,24         100:18,21
         193:25 194:1       153:10 160:25    followed 291:11    242:20,22        101:9,17
         194:12,21          167:10 203:4     follows 8:11       247:14 249:6     102:13,18
      figures 201:23        203:19 206:24    food 242:2,25      249:17 251:17    104:12 106:7
      filters 104:9         214:19 215:2     footnote 240:19    251:24 252:5,7   107:17 108:13
      fimbriated            223:8,12 235:2     241:1,4          252:13,18        109:15 110:3
         111:20 114:20      235:6,7 239:24   force 312:3        253:4 254:11     111:22 112:5,9
         116:11 124:1       240:1 249:17     forced 312:13      256:6,20 257:7   113:4 114:3
      finally 161:16        257:3 259:9      forceps 123:15     274:13           117:8 120:23
         235:3,4,9,11       264:19 265:18    forces 243:16    forgot 308:21      122:9 124:3
      find 41:23            267:19,25        foregoing 327:8 form 10:9 16:24     125:9 128:23
        157:14 159:5        268:1 270:15       327:23 330:4     17:22 18:7,21    129:8,21
        168:20 192:23       277:9,17         foreign 55:4       19:6,15 20:13    130:20,25
        203:15 240:6        298:11 303:22      59:24 60:16      21:6,10 22:2     132:17,25
        240:25 247:15       310:13 319:6       61:8 68:14       22:15 23:13,23   133:23 134:10
        261:7,11          fit 116:8            112:25 139:13    25:22 26:13      135:25 136:22
        267:10 279:3      five 92:4 192:14     158:19 160:2     28:22 30:17      138:6,21 139:6
        280:24 281:4        231:21 237:5       160:16 161:24    34:23 35:14,20   139:16 140:23
        292:15 310:19     five-minute          162:8,10 163:3   36:1,6 39:3      141:11,23
        310:22 319:14       254:24             163:15 164:2     41:12 42:1,12    142:8,13,17
      finding 139:1       flaw 225:17          164:16 178:25    43:8,19 44:2     143:1,7,15
         151:5 190:13     flaws 300:13         181:24 183:8     44:10 45:6,18    146:2,14,22
         192:15,18,25     Fletcher 5:21        183:15,19        46:2,12 47:2,8   147:15 148:1
         281:19             270:3              184:6,12,16      48:2,13 49:10    149:19 151:11
      findings 28:19      flipping 127:18      185:8,15 243:3   50:22 52:13,19   152:3,23
         32:22 270:15     Floor 3:5            243:5,6,7        53:7 54:2,16     153:16 155:3
         302:5,25         flow 108:25          254:10 256:5     56:1,11,20       156:2,13,20
         303:15 306:9       112:2 119:16       304:10           59:3,19 60:18    157:5,15,21
         306:16,17          119:21 120:2,4   foreign-body       61:9 62:9,16     158:12,22
         321:23,24          135:2              24:5 25:12       62:24 63:11,17   162:13 163:6
         322:2            Flower 3:5           26:4 50:15       64:5,12 65:3     164:11,18
      finds 123:14        flowing 120:13       51:8,16 53:8     66:11 67:24      165:3,11 166:3
        187:19 188:14     flows 134:24         55:6 58:4,6      68:6,18 69:6     166:16 167:16
        314:7             fluid 120:13         59:5,24 60:2,8   70:11 71:2,19    168:4,17
      fine 97:11          FLW 1:6              61:5 63:23       72:11 73:12,23   170:12,19
        150:13            focus 30:9 34:4      68:16,24 69:16   74:7,16 75:6     172:11,23
      finish 94:10          34:16 35:4         70:3,6 84:16     77:2 78:2 81:6   173:6,25
      finished 315:11       37:6,8 40:20       84:20 85:14      82:12 83:9,23    174:20 175:11
      FIRM 2:4              150:6 288:13       98:12,21,22      84:17 85:11      175:22 176:1
      first 8:9,22 14:3     320:14             100:15 101:16    86:2,15 87:7     176:13,23
        17:18 18:4,15     focused 37:15        148:10,19        87:13,23 88:5    177:7,10,15,25
        24:25 25:2          192:21             149:17 150:16    88:9,15,21       178:7 179:12
        29:13 31:11,15    focusing 35:6        162:5,11         90:7,21 91:5     179:17 180:10
        32:3 34:9           216:5              178:19 179:10    91:14 93:8       180:20,24
        53:17 79:14       follow 196:10        182:2,24 184:4   94:4,18 95:3     181:7,20,25

                    Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 314 of 348 PageID:
                                   61088
                                     Robert Kurman, M.D.
                                                                                    Page 348

        182:9,16           272:1,5,21       four 12:13 80:17 Gates 40:11          314:6,10
        183:11,14,22       275:5 276:7,16     92:4 192:14    gather 304:9       genotoxicity
        184:15,24          277:25 281:5       231:20,24      Gee 161:9            81:16 84:9
        185:4,11,19        281:11,23          257:16 292:7   gemish 197:19        88:8
        186:2,16           282:12 283:1     fourth 5:13      gene 88:23         Gerber 93:21
        187:20 188:17      283:15 284:3       65:14 81:10    general 4:12       germ 60:6 71:5
        189:2,25           284:11 286:6       118:23 254:22    28:14 37:14      Gertig 40:11
        191:12 192:2       289:4 290:8        255:12 258:22    41:8 46:4        getting 122:1
        195:12 196:5       291:1 292:13       259:15,21        53:12 54:9,23      129:9 228:22
        197:11 198:12      292:23 293:2     frame 210:6        55:5 84:9,11       237:8 262:11
        199:20 200:8       294:6,18 295:8     323:15           105:23 106:12      300:24 305:8
        201:18 202:4       295:21 296:13    frankly 198:22     106:16 113:17      305:16
        202:18 203:2       297:7 299:14       296:17 320:8     114:1 129:16     Ghio 5:17 264:7
        203:24 204:15      301:19,25        free 10:22         163:8,14,16        264:22 265:12
        205:1 208:8        303:3 304:4,15     122:16 225:1     188:7 194:8,25   giant 24:5 25:12
        209:22 210:4       305:3,9,18         250:23           209:4 210:5        26:5 50:15,20
        210:15,21          307:1,18         frequent 108:15    211:3 212:16       51:8,13,16
        211:7 212:6,25     308:16 309:6     front 31:17        212:18,19          52:5,10 53:3,9
        213:13,22          309:17 310:12      217:6            222:22 260:2,3     53:25 55:6
        214:9,15           311:22 312:5     fulfillment        270:24 306:7       58:6 59:6,13
        215:11 216:12      313:2,10,17        100:22 202:9     316:5 323:14       59:24 60:2,8
        216:18 218:13      314:13,22          202:12         generally 88:22      61:4 63:23
        219:10,16,23       316:1,9 317:7    full 39:25 177:4   109:20,20          68:24 69:2,15
        221:16,19          317:17,22,24       216:6            174:6 186:6        70:6 84:20,24
        226:11,14          318:7,16,23      function 29:18     221:3 222:18       85:3,15 98:12
        227:11 229:13      319:9 320:5        274:17           223:2 298:17       162:5 178:19
        229:22 230:8       321:2,20 322:8   fundamental      generation           182:2 185:18
        230:20 231:8       330:7              90:4             81:14 85:25        185:25 189:1
        232:22 234:9     formation          funding 204:22   generosity           189:24 190:4,7
        237:12,24          101:15             206:11           110:18             190:9 203:22
        238:14 239:5     formed 243:24      funny 203:13     genes 88:24          204:13 229:24
        243:13 244:1,9     253:13           further 79:21    genetic 87:12        242:20,22
        244:19 245:8     forming 317:3        92:2 133:20      121:21 122:24      243:13,24
        246:2,20 247:8     318:14 319:8       173:10 261:9     136:13 152:14      249:18 251:18
        247:10,21        forms 74:20          268:20 271:19    260:24 268:24      251:20,24
        248:2,7 249:6      89:17 90:4         310:11 325:11    269:14,17,22       252:13,18
        250:5 251:4,19     242:10,14        Furthermore      genital 5:13         253:12 254:17
        251:20 252:7,9     298:23,24          92:23 154:20     17:21 18:6,20      256:20 274:10
        252:17 253:17    forth 327:8          313:21           22:13 118:14       274:13 275:3
        254:3,12,18      found 36:17        fuse 186:10        164:3 255:11     give 10:7 12:5
        257:10 258:13      145:23 151:4                        267:20 268:8       36:18 99:5
        258:19 259:3       188:23 191:12            G          270:18 277:14      137:23 139:14
        260:9 261:22       198:9 273:16     Garber 2:8 7:16    281:16 284:1       156:14,17,18
        262:5,18 263:2     280:21 285:12      7:16 12:6        289:17,22          157:16 158:1
        263:8,15           290:17 291:16      228:2,8 252:19   290:3,17           209:4 241:12
        265:15 268:16      294:3 298:22       252:25           291:18 292:5       294:20
        269:8,15 271:2     314:8 319:15     gas 92:9           299:18 300:9     given 11:14

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 315 of 348 PageID:
                                   61089
                                     Robert Kurman, M.D.
                                                                                      Page 349

        199:21 211:25      259:21 290:13    granuloma          Gregory 13:9        38:15
        324:21 330:5       291:5 308:13       51:13 52:3       grief 107:1        H&E 136:11,23
      giving 48:14       going 8:19 10:18     58:9 182:3       group 79:10,11      194:15,16,16
        49:1 175:1         31:18 33:16        185:8 239:25       79:22 80:4,15     194:24 203:14
        255:14             48:10,12 54:8      242:14 243:24      85:3 92:25        204:6 250:12
      glance 11:2          61:14 99:21,25     252:7,9            93:2 250:3       habit 104:13
      glare 126:24         106:18 107:19    granuloma-type       288:11           hahern@shb....
      glove 64:4 314:6     108:7 116:15       50:20            guess 9:3 66:9      2:19
        314:8,15           118:5 119:13     granulomas           249:4 290:16     hair 245:13
      gloves 51:22         120:15 127:15      51:25 59:13      GYN 249:14         half 156:16
        63:8 64:9          141:5 144:25       60:10,22 84:24   gynecologic 9:5     175:2 214:3
        69:22 240:7        166:23 167:11      184:5 185:18       9:10,16 14:18     218:20,20,24
        256:10             178:12 181:14      186:23 239:22      15:2,5,9,11,17    291:17 313:7
      go 9:2 11:24         182:12 186:19      240:5,24           15:18,20 18:24   halfway 169:8
        29:20 31:24        186:19 189:6       242:20,21          18:24 20:3,10     268:21
        41:13 42:23        194:5,14,23        244:11,14          20:18 21:4,23    hand 10:18 12:4
        45:2 47:14         201:4 205:19       247:14 249:6       24:17,19 25:14    27:19 110:14
        57:8,11 117:24     205:21 206:17      251:18 252:5       29:19 30:1,8,9    229:15
        122:17 125:3       207:15 208:21      253:13 254:17      34:17,21 52:6    handed 11:3
        132:2 133:20       208:22 217:3     granulomatous        59:13,22 60:15    13:24
        144:25 145:19      220:3,4 230:22     5:10 24:6          61:5 65:12       handful 42:23
        151:7 167:3,5      241:10 252:19      50:15 51:8,17      72:8,22 110:1    handing 75:13
        168:6 181:12       255:1 262:19       52:5,11 53:4,9     119:11 133:5      190:20 241:7
        181:13 192:3,9     278:4 286:25       53:25 58:4         148:10,20        handle 257:19
        193:7 206:4        297:22 300:8       61:5 63:23         150:17 165:1,8    270:24
        208:18,22          305:12 306:3       68:24 69:3,16      165:10 170:10    handled 188:25
        215:1 220:10       308:25 315:12      98:13 148:10       170:11 175:16    handles 186:4
        220:15,22          323:7 325:25       148:20 149:17      176:19 182:25    handout 217:18
        222:16,19          326:4              150:16 178:20      187:22 188:3,5   happen 26:8,9
        225:4,19         Golkow 1:19 7:5      182:24 183:9       188:10 192:17     184:14
        230:14 231:9     gonorrhea            183:20 184:7       220:16 234:17    happened 237:2
        231:25 241:4       145:7              184:12,17,22       238:15 244:5     happening
        270:21 280:7     Gonzalez 40:12       185:25 190:9       245:3 247:17      250:2
        286:8,21         good 7:3 8:15,16     203:22 204:13      248:5 249:2,7    happens 145:2
        296:19 319:4       107:1 123:15       229:24 241:23      249:10 250:25     148:6
        322:21 323:6       169:20 210:2       241:25 244:9       273:8,13,24      hard 126:25
        325:3              210:14,19,22       245:23 246:17      320:16            217:19
      goal 287:19          211:4 270:24       247:1,25         gynecologist       HARDY 2:17
      Godleski 187:5       307:8 323:10       248:23 256:16      15:16            Harper 270:4
        190:21 191:24      324:7,11,15        257:4 258:1      gynecologists      Harvard 20:16
        250:3 300:17     goodness 88:2        274:10 275:3       15:25 18:9        187:13,14
        319:6            Google 171:5,6     great 289:13         119:8            Hausfeld 2:11
      Godleski's         googled 9:18         313:4            gynecology          7:18
        291:24           Gordon 93:21       greater 40:11        251:1            head 309:22
      goes 28:8 89:24    gotten 200:15        124:7 126:20                         315:6
        108:8,8 112:4    grade 247:2          303:20 304:13           H           heading 127:23
        206:4 223:7        262:16             304:13           H 4:10 5:1 6:1     headway 141:5

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 316 of 348 PageID:
                                   61090
                                     Robert Kurman, M.D.
                                                                                      Page 350

      health 74:20,23      149:14 151:8       187:11 240:14     224:16 230:2        36:10 56:7
        289:14 321:17      152:11,12         Hold 193:6        hygiene 58:13        91:6 113:6
        321:22,24          157:25 158:3       302:6,6 322:21    208:16 298:6        135:3 140:6
        322:2              160:8 161:13      honestly 14:6      312:1               141:7 157:14
      healthy 108:11       221:3,23           21:11 196:23     hyperplasia          282:17 297:10
      hear 19:3 36:7       223:15 233:23      230:9 245:14      38:10 142:25        309:1
      heard 95:16          234:5 238:20      hope 10:25         143:18 144:1     ideas 134:8
        264:14 304:20      261:15 269:18     hopefully          146:17,20           173:5
      Hearing 4:13       higher 100:6         217:16            147:12           identical 224:15
      heavily 92:6         237:7             Hopkins 15:16     hypotheses           225:24 226:3
      heavy 92:20        highlighted          15:18 206:17      28:20               229:4 234:7
        125:24 262:24      310:24            hospital 236:13   hypothesis        identification
        263:3            highly 208:6        hospitals 237:3    115:2,18,22         10:16 11:12
      held 1:13 7:7        288:14 311:15     host 34:2,14       144:17,21           75:11 78:25
      Heller 93:19,20    Hill 45:3,7,11,16    214:21 215:3      160:7,14,15         103:3 154:20
        93:21 189:19       45:21 46:4,7      Houghton 40:13     295:24              190:18 197:25
        189:20 274:11      46:21,22 47:13    hours 10:8        hypothetical         217:1 241:17
        291:5,10           47:21,24 48:17    Houston 2:18       101:20 212:7        255:8 264:3
        293:15 300:13      48:19 49:2,9      HPV 99:9,12        213:14              269:25 279:13
        301:4,5,6,12       49:14,18           100:8 170:9      hypothetically       283:8 288:23
        301:23             100:24 101:2      HSV 100:5          132:21 180:15       306:20 321:5
      Heller's 293:20      223:16,20          150:1,2          hysterectomies    identified 31:10
      help 36:14 42:20     225:14 229:1      HSV-2 99:25        129:18 130:3        80:4 102:11
        167:6              238:13 239:3       100:3            hysterectomy         105:18 169:10
      hereto 10:16       hired 22:1,11,23    huge 30:20         127:25 130:14       270:5 289:19
        11:12 75:11        22:25 41:7         233:19            291:14              290:1 308:14
        78:25 103:3        214:7             huh 171:6                           identifies 75:14
        190:18 217:1     histiocytes         human 4:20                 I           79:14,15,21,25
        241:17 255:8       67:12 85:2         45:1 74:4        i.e 105:25           80:5,16 103:13
        264:3 269:25       182:2 243:2,4      79:11,15,16         235:19 271:20     249:17 258:24
        279:13 283:8       243:10 249:25      80:11 105:13     IARC 4:22 67:7       259:16 275:2
        321:5              256:19             105:14 206:1        74:11,18 75:14 identify 7:12
      herpes 100:1,8     histiocytic          218:4 245:13        76:5,15 77:9      70:18 76:10
      hesitate 10:4        186:20 242:23      281:16,22           79:11 80:12,14    197:9 223:12
      high 78:6 131:10   histologic 114:2     308:24 314:6        80:25 81:5        260:20 268:22
        233:3,4,10,12      269:1             humans 80:6,19       83:2,22 84:4      274:6,9,21
        236:8 293:25     histological         90:5,18 102:12      84:13 85:7        305:1 306:3
      high-grade           269:7 288:14       105:19 106:6        89:9 90:22     identifying
        72:18,19,20      histopathologic      114:19 116:20       93:2 101:23       274:22 308:11
        73:1 114:5,8       5:10 154:12        180:4 282:7,24      102:11,20      Ie-Ming 13:10
        114:10,16,23       218:6 234:15       283:14 284:21       103:14 105:17 II 92:10
        115:6 116:1,9      241:22             285:5,8             106:12 227:8   iliac 194:10
        117:1,6 124:8    history 154:24      hundred 103:7        227:20 230:17     195:2,25
        135:11,19          260:23,24         hundreds 75:5        232:20         illuminate
        140:8,11,16        291:19 292:5      hung 71:21        IARC's 4:18          298:19
        141:2 144:8        292:10            Hunter 2:17 8:3      75:14,23 76:25 imagine 31:12
        146:3 148:3      hmm 28:5 75:25      hydrogen          idea 13:2 19:18      120:24

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 317 of 348 PageID:
                                   61091
                                    Robert Kurman, M.D.
                                                                                       Page 351

      Imerys 14:15       impose 171:2        265:20 270:11     inevitably            239:18 241:23
      immediately        impossible          270:19 305:8        181:14 182:11       242:1 247:25
        310:4              156:25            305:16,19         inexperienced         248:24 274:2
      immune 67:10       impression          315:8 316:21        234:25 236:2        315:24 316:21
        67:14,16           29:17 307:6     increases 260:5     infectious 54:14      317:4,15,21
        242:20,24        improved          increasingly          54:24 55:1,8        319:3
      immunized            234:15            89:10,16            55:10 67:19       inflammatory
        238:21           impugning         independent         infiltrate 256:18     59:12 60:15
      immunohistoc...      188:9             76:18 297:9,24      257:23              63:15,22 67:9
        235:17           inappropriate     India 311:4         inflammation          68:4,10,16,22
      impact 141:5         218:17 222:13     313:3,11            5:10 24:6 50:3      68:23 69:2,4
      impaired 81:13       223:25          indicate 32:24        50:4,6,9,10,14      69:15 70:3
        84:13            Incidentally        98:13 113:16        50:15,19,20         73:11,21 85:14
      imperative           147:11            115:3,23            51:3,7,9,9,12       85:19 96:8
        328:12           include 30:23       231:12 299:10       51:13,17 52:5       112:17 143:19
      implant 122:17       41:18 43:18     indicated 21:18       52:11,12,17,20      144:14,19
        138:10 147:8       108:25            62:19 228:19        53:3,4,4,9,14       145:7 256:16
      implanted          included 9:11     indicates 114:17      53:14,18,19,25      257:4
        119:24 121:2       38:5 44:12      indication 26:3       54:1,13,14,14     influence 37:24
        133:21             129:12,24         26:4                54:22,23,25       influenced
      implanting           216:20          indicative            55:5,7,9,14         207:20,21
        140:18           includes 36:16      307:22              57:20 58:3,4,7      288:20
      implants 109:9       147:13 181:24   individual 265:5      58:9 59:1,5,6,7   influences
      implausible          207:5 208:13    individually          59:9 61:21,24       185:16
        212:3              250:1             222:20              62:2,7,12 63:1    inform 208:4
      implicated 59:7    including 34:3    individuals           63:5 64:21,23     information
        84:10              34:15 43:24       17:12 77:14         64:25 69:3          99:6 147:13
      implicating          59:22 73:5      induce 67:18          70:8,15 73:17     ingest 243:19,23
        232:6,19           109:3 190:21      70:5 84:21          81:14 84:21       inhalation 78:4
      implying 114:14      214:22 215:4      86:6 185:21         85:8,10,18,23       105:24 106:4,8
      importance         incomplete        induced 58:10         85:24 141:15        233:2 248:11
        289:15             167:1 212:6       63:1 69:24          141:18 142:23       278:3,10,16
      important 19:23    inconsistency       84:18 162:4         143:4,12,16,23      294:21,25
        25:7 31:8          274:14          induces 51:6          144:18,22           295:4,15
        38:13,14 44:22   inconsistent        58:3 67:11          145:4,24 146:9    inhale 252:16
        50:8 53:18         105:6 107:11      116:21              146:11,16           295:19
        71:20 96:9         107:21 269:10   inducing 269:22       150:9 158:20      inhaled 249:19
        143:18 158:20      301:7           industrial 64:16      159:10,18,22        252:15 293:5
        160:4 162:1      inconsistently      247:2               159:23 160:15     initially 17:24
        198:1 216:15       104:17,25       industrially          160:18 162:2,4    initiates 52:21
        216:23 226:22      105:3             64:9                162:6 164:15      initiating 173:8
        251:13 276:22    incorporated      industry 92:17        164:19,21,22      initiation 165:13
        280:25 306:9       45:1            inert 67:3,4,5,15     165:1,8,15,17       165:20 175:21
        306:16,17,24     increase 290:18     67:21,22,23         166:1,14            176:6,11,17
        317:5            increased 5:20      68:3,9,15 70:2      167:25 169:15       222:6
      Importantly          89:20 92:7        70:5 224:24         177:13 181:23     injected 309:12
        116:19             208:15 264:25     242:23              209:14 239:14     injury 81:15

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 318 of 348 PageID:
                                   61092
                                      Robert Kurman, M.D.
                                                                                       Page 352

      ink 311:4 313:3     interested 22:12   introductions        317:3            judge 17:15
        313:11              119:7 237:20       280:17           It'll 127:3        judgment 27:17
      inoculated          interesting        invalid 55:22        208:19           Julie 168:22
        256:18 257:5        121:5 151:2        56:5 57:2                           jump 141:3
      inoculum              172:12,16        invariably 27:13           J            294:8
        257:23            Interestingly        87:16            J 4:12 5:17        June 211:21
      inquiries 303:17      285:10           invasive 72:9,15   James 3:13 7:20    junior 118:18
        304:1             intergovernm...      137:13 147:4,6   jbillingskang...
      inside 63:6           74:14              151:16 181:13      3:15                    K
        310:9             interjection       inverse 87:18      Jeff 13:9 38:9     K 5:11
      insights 306:10       86:21            invoke 178:22      Jersey 1:2 7:10    Kabeer 5:11
        306:18,24         internal 14:13     invoked 109:4      jog 309:18          240:11
      insofar 62:25       international      involved 17:13     John 187:5         Kadry 6:9
        231:14 325:19       15:19 74:12,14     18:11 20:5       Johnson 1:4,4      Kane 13:12
      instance 155:19       76:6,18            38:9 75:8          2:16,16 7:25      17:12 34:2,13
        224:14            internationally      85:23 99:8,8       7:25 8:2,2,3,4    55:15 66:2
      instances 60:8,9      65:20              175:13 187:7       8:21,22 9:20      73:6,6 214:4,8
        151:18 155:13     interpret 44:7       269:17             9:20,24,24        214:20,21
        155:18 157:24       44:23 290:6      involvement          14:14,14 17:18    215:3,16
        158:1 170:5,6     interpretation       29:23 83:19        17:19 18:4,4      218:25 219:8
      instigate 142:24      45:15,19 46:7      86:21              18:14,14 19:13    223:13,22
      institutions 15:7     185:9            involves 9:7         19:13,22,22       224:5,8,18
      INSTRUCTI...        interpreted 49:8     112:18             20:2,2,9,9,11     225:23 232:12
        328:1             interpreting       involving 93:11      20:11 21:2,2      233:22 250:18
      instruments           47:17            irrelevant           21:25 22:1,11     250:24 267:20
        256:9             interrupted          316:21             22:11,19,19,23    268:5,22
      intelligently         56:12 99:24      Irving 168:22        22:23,25,25       269:21 280:12
        133:25            interrupts 116:3     184:3              23:11 24:13,13    283:19,21
      intend 34:20        intraepithelial    isolated 257:16      24:15,15 29:13    285:14 307:9
        325:2               135:14 136:3     issue 18:5 21:5      29:13 41:6,7      321:23
      intended 17:10        138:3 141:14       21:25 22:12        95:2,2,23        Kane's 36:23
        17:10 119:4         145:22             31:2 87:14         132:12,12         55:16 56:3,24
        209:3             introduce 69:22      174:22 176:25      206:23,23         214:13,16
      intending 36:4      introduced           223:10,11          207:16,17         220:19 227:24
        38:24               201:2 256:8        234:18 262:20      208:6,7 214:7     231:18 239:12
      intention 35:10       263:6 309:25       267:1 274:2,24     214:7,12,12       273:7 275:18
        35:12               310:3 311:7,10     303:7 305:21       282:20,20         316:10
      interaction           312:22,25          317:21 319:3     Johnson's 23:11    Katherine 2:21
        179:23              313:6,14           321:18             95:23             7:24
      intercourse         introducing        issued 77:9        join 118:18        katherine.mc...
        312:3,7,15          313:20           issues 17:6          243:16,23         2:23
        315:4             introduction         27:23,23 29:20   joined 85:3        keep 10:1 40:22
      interdisciplin...     128:1 130:4        77:17 81:1       journal 27:3        48:19 116:6
        76:8                158:18 160:2       209:8,10 223:3     32:12 199:19      192:13 205:21
      interest 18:23        160:16 161:24      223:12 276:22      240:11 264:6      233:9
        21:4 27:7 30:7      162:7 163:2,15     307:14 308:7     journals 9:9       keeps 48:17
        39:10 76:20         311:5 313:23       315:20,25          26:24 28:21      kept 65:13


                    Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 319 of 348 PageID:
                                   61093
                                  Robert Kurman, M.D.
                                                                                   Page 353

      keratin 60:1,7    140:24,25         268:24 302:21     layman 226:16        151:25 152:21
        60:22 61:7      141:3,3,12,16    knows 119:17       lead 65:17 85:25     153:12,14
      kind 11:6 24:3    142:2,2,10        187:22 188:2        87:16 139:4        154:12 155:23
        51:12 52:11     146:6 147:18     Kurman 1:12          216:1 229:17       156:12 157:3,8
        53:19 58:9,9    155:19 161:9      4:3,12,16 7:11    leading 81:13        158:10 184:4
        59:5 60:6       162:19 169:1      8:8,24 11:18        84:13              190:13 267:12
        67:14,16 69:18  172:16 180:1,5    202:16 330:12     leads 121:14         307:24 319:21
        70:15,16,18,19  181:5 183:19     Kurman's 45:17       217:16           let's 48:22 72:15
        72:12 98:9      185:12 187:7,7                      learned 155:19       92:3 93:17
        99:6 120:16     190:6 196:25            L             215:8 218:17       122:13 140:11
        122:8 129:16    199:1,10 200:9   L 2:8                219:20             144:10 147:19
        150:5 162:10    202:6,14 204:2   lab 26:10 201:6    leave 66:13 90:9     158:17 161:17
        162:11 168:11   204:10 206:3,6   labia 299:25       leaving 71:10        168:20 172:5
        179:10 203:13   206:7 207:20       310:6            lectured 23:8,9      188:10 189:13
        260:25 306:5    208:12 210:13    laboratory         lectures 220:10      214:24 222:18
        324:24          211:11 215:23      26:15 76:9       led 203:14 204:1     223:10 235:1
      kinds 145:7       219:21 220:10      122:8 200:22       204:5              246:5 271:10
      knew 230:25       220:20 222:17      200:23 287:22    left 63:6 64:3       286:21 310:21
      know 11:25 12:3   225:8 226:9      lack 6:4 235:17      69:13 194:5,9      313:18
        18:10 19:7      227:19,20        lady's 277:23        194:14,23        letter 5:15 266:8
        20:19 21:17     228:24,24        landmarks            195:2,25           266:14 267:5
        24:16 30:20     229:6 230:19       288:22           left-hand 242:8    leukocytes
        35:1 38:3,11    230:25 231:2,6   language 130:6     legal 287:18         85:22
        43:6 44:11      237:4 242:17     laparoscope        lending 160:12     level 18:23
        45:15 46:13     245:9,14 251:5     119:20           lengthy 239:21       91:12 202:13
        48:18 51:11     257:16,20,24     laparoscopica...     268:4              239:2,10
        56:14,16,17,21  262:7 263:22       123:14           lesion 68:17         260:14
        56:22 57:17     264:8,16 270:7   lapsed 14:23         69:5,5,17        LHG 1:6
        58:11,15 67:2   271:9 272:18     large 44:7 59:22     116:11 135:13    LIABILITY 1:5
        67:5 71:4,12    275:6,23 276:1     69:1,13 156:23     136:2 137:10     license 14:22,24
        74:17 75:3,8    281:12 282:8       186:7,19           137:11,12,24     Lifetime 6:5
        82:20,24 83:3   282:11,13,15       244:18 246:17      138:25 139:3     ligate 123:23
        83:10 86:6,18   282:18 290:6       246:18 247:2,6     140:6,6 143:9      124:18
        88:6 93:24      292:11,11          248:10 251:17      146:21 154:19    ligated 123:12
        94:3,22 95:5    301:9 306:2      larger 186:24,24     154:21,24        ligation 114:2
        95:18 96:4,10   308:14 310:17      243:16 245:5,6     155:13 157:25      114:18 115:4
        96:24 97:4,12   312:7 314:2,11     245:7,7,10         158:2,4,9          115:24 116:3
        97:17 99:12     315:6 317:8        246:5,13           182:21 222:7,8     117:16 123:4
        100:8 101:19    320:11 324:6       247:10           lesions 135:5        128:1 130:14
        102:5 106:8    knowledge 84:3    laryngeal 83:11      137:15 138:20    ligations 113:16
        108:14 111:12   215:9,10         larynx 80:19         139:14 140:14      116:21 117:7
        112:20 119:17 knowledgeable        83:7 91:23         140:16,16,22       123:6,21 125:6
        122:16 125:2    211:5            Las 1:14 7:1,8       141:10 142:15      129:18 130:4
        130:13,13,13   known 74:4,8      LAW 2:4              143:5 147:22     light 5:4 25:20
        133:25 135:1,2  79:11,15 80:11   lawyer 43:13         147:24 149:14      26:2 190:22
        138:22 139:17   142:21,22        lawyers 9:21,24      150:6,24 151:1     191:11 194:1,6
        139:18 140:22   143:23 231:4       42:20 44:6         151:7,9,13,23      194:15,21,24

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 320 of 348 PageID:
                                   61094
                                     Robert Kurman, M.D.
                                                                                        Page 354

        195:19,24           318:10,14        locations 139:8       221:23 222:15      312:2
        196:25 243:8,9      321:8            Logan 2:21            244:25 245:15    lots 18:18 32:19
        256:25 258:8     listed 27:23        long 9:3 22:25        245:16,16          110:15 234:10
        266:9,10,10,14      38:13 308:8        37:17 94:9          291:2 316:20     love 141:3
        266:20,21,25        314:14 318:4       103:7 252:14        316:24 319:12    low- 76:21
        286:11 287:7     Listen 153:10         262:12              320:21,24        low-grade 72:18
        288:6,24         lists 41:11,18      long-studied          322:6 325:14       114:6 137:19
        298:12,18           42:8 270:6         302:11              325:15             140:9 144:7,10
        303:22,24,24        318:5            long-term 58:14     looking 19:9         146:1,7,10,25
      lighting 126:25    literature 9:10       139:9 262:13        23:15 24:4         147:6 269:19
      likelihood            18:18 19:17        277:14 281:16       25:9 32:7        lumen 120:8,17
        114:21 235:13       20:14 31:2       look 11:5,24          38:12 58:18        120:20 134:18
        238:1               51:15 62:11,25     14:6 25:5,5,6,7     59:21 65:11      lump 252:11
      limitations           65:14 66:8,8       25:19 26:2          77:16 84:12      Lunch 118:7
        284:19 285:3        104:18 105:1,3     27:24 31:13,16      135:23 136:8     lung 54:5 79:25
      limited 99:17         105:6 183:7        31:25 38:2          136:17,20,23       80:19 81:19,23
      line 149:12           186:18 207:22      39:13,17 40:20      151:3 157:8        82:5,10 89:20
        205:17 237:9        208:17 226:16      41:13 44:9          159:7 168:21       90:1 232:5
        329:4               228:19 231:12      50:9 67:3 79:4      177:19 196:10      248:10 249:18
      lines 92:4            231:13 267:7       79:9 93:17,22       200:3 203:4,9      264:13 266:1
        231:21              317:6,10,14,21     113:13 121:6        205:17 210:23      272:6,12,13,19
      lining 108:5          318:20             130:15 157:10       217:18 222:7,9     272:23 273:1
        111:8,14,18      literatures 58:2      157:11,13           222:9,24         lungs 79:17,19
        121:8,11         litigation 1:5,19     167:5 170:25        223:22 228:14      80:6 300:7
      link 100:16           7:5 8:19 16:9      188:5 194:16        228:15 233:19    lymph 5:6
        101:15              16:23 17:13,19     200:22 203:12       236:20 240:16      188:14 190:24
      linked 272:8          29:14 32:25        205:6 207:18        242:4 250:9        191:22 192:16
      linking 268:23        41:8 47:9          226:7 230:3         261:7 271:7        192:19,20,21
        269:21 270:18       49:12 51:4         234:1 249:15        284:23 303:25      192:23 193:1
      list 10:20 11:6       60:5 68:8          252:20 253:1        319:17,19          194:10 195:2
        12:13,18,20         187:8 188:18       266:25 267:3        324:16 325:4       196:1 199:12
        13:3,20,21,24       207:17 210:6       270:13 284:17       325:20             203:12 204:2
        13:25 14:1,10       323:16             285:12 316:19     looks 12:24 27:4     276:13 277:5
        30:15 31:10,15   little 33:17          316:22 319:20       27:12 204:21       277:11,13
        31:20,25 33:9       36:14 79:21        319:21 320:22       205:7,15           278:4 285:18
        36:11,14,18         111:3 126:25       325:20              255:20,22          286:10 287:9
        37:19,21,24         192:4 197:19     looked 23:18,21       283:17             287:18,20,23
        38:2,19 39:2        207:1 208:20       24:7,12,15,23     Los 3:6              288:11 289:1
        39:16,20,23,24      237:3 242:7        30:19 31:5        lose 88:13           292:8,16 293:9
        40:7 41:24          250:4 260:10       33:2,5,22,24      lot 15:17 22:23      293:12 294:3,4
        42:11,13,17,18      308:23 324:23      40:12,13,17         30:21 31:18        294:10,13,17
        42:22 43:2,7     live 262:12           55:20 58:16         105:4 116:15       295:1,6,14,20
        43:12,13,14,17   liver 272:8           75:23 76:2          131:9 141:17       299:10,20
        43:23 44:6,7     LLC 3:3,3             92:16 141:17        152:18 155:9       302:16 303:2
        44:12 102:22     LLP 1:13 2:17         153:24 156:11       155:19 156:17      303:21 304:9
        103:19 266:13       2:20 3:4,8,13      179:3 197:17        227:12 263:3       304:14,18,21
        314:2,3,4        localized 67:11       199:14 204:20       266:21 277:20      305:5

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 321 of 348 PageID:
                                   61095
                                    Robert Kurman, M.D.
                                                                                    Page 355

      lymphatic 278:5    major 15:6 82:6   marker 131:18       250:3 285:24     means 44:19,21
        299:12            310:4            markers 73:16       286:13 300:17     88:9 171:15
      lymphatics         majora 299:25      73:17             McDonald's         172:1 173:7,9
        112:20,21        majority 72:25    MARKETING           244:24 252:1      189:9 229:4
        138:18 299:20     73:3 131:9        1:5                276:25            243:19 257:22
        299:21            140:12 262:2,8   marking 11:15      MDL 17:24 18:2     284:9 305:20
      lymphocytes        making 74:3        103:5              29:14             314:15 327:24
        67:18,18 85:21    126:25 213:4     masks 92:10        mean 23:22 24:1   meant 164:20
        256:22            213:14 228:1     Massachusetts       34:20 35:21       171:14 174:15
                          253:19            2:13               38:8 39:18       measure 94:1
            M            malignancies      massive 92:14       44:8,20 46:1     measured
      M 5:20              165:25 166:12    material 61:8       48:1 54:7 58:7    245:14 302:16
      M.D 1:12 4:3,12     167:12,13,15      112:25 120:17      67:5,16,22        303:2
       4:16 8:8 11:18     168:2,7,10        123:23 124:19      68:15 70:25      measurements
       330:12             209:16            142:7 158:19       71:15 82:25       288:20
      macrophage         malignancy         160:2,17           84:6 85:9 86:5   measures 76:12
       81:14 84:14,15     52:24 168:12      161:25 162:8       97:18 99:11,23   mechanism 57:6
       85:7,13,17         262:12 265:5      162:10 163:3       100:10 110:1,5    81:22 82:11,19
       86:6 185:8,24      289:21 290:2      163:15 185:16      119:20 122:11     83:1 84:12
       186:4,8,9          291:15            240:7,25 242:2     134:24 137:10     85:6 110:2,3
       188:25 189:24     malignant 87:16    242:24,25          142:9 144:25      114:22 116:7
       190:4,6 197:20     168:12 169:5      243:3,5,6,7,17     149:25 150:4      119:15 121:18
       201:4,10,11        169:12 172:7,9    243:18 244:7       169:18,20,21      137:22 138:9
       243:15,19,23       177:14,24         247:16 304:21      169:21,24         140:10,19
       257:19             182:12,15        materials 13:19     170:24 174:25     160:18 270:17
      macrophages         184:10 209:15     31:10 36:15        174:25 181:5,6    295:7 305:11
       67:12 84:18,22     209:16 225:20     37:23 38:19        181:14 182:11    mechanisms
       84:25 85:2,4       238:19 261:19     39:24 112:24       182:19 185:20     82:16 83:2
       85:22 181:24       262:3,6 264:25    141:10 142:3       189:15 197:18     84:9 108:24
       182:1 185:17       265:8,20 266:2    142:16 164:16      200:11 209:10     109:3
       186:15,22          266:17            181:24 183:8       218:18 224:12    mechanistic
       194:9 195:1,10    manufactured       183:19 184:6       229:3 239:6       55:21 56:18
       195:25 196:4       92:9              184:12,16          247:9 257:13      81:12 83:21
       196:22 197:10     Marina 2:12        191:2 192:4,11     260:3 261:3       84:4,6 268:11
       198:10,13,16      mark 217:13        224:11 271:5       264:18 278:3      268:13
       200:5 203:1        241:10 259:13     313:6,14 318:4     282:3 290:5,9    medical 14:22
       243:10,13,23      marked 10:15       320:4              293:3 294:9,11    14:24 119:5,9
       249:19,22,24       10:19 11:11      matter 7:8 91:17    296:21 297:9      130:12 171:11
       250:11 251:16      75:10 78:24       96:12 133:13       297:20 298:18     171:20 217:23
       251:20 252:2,8     103:2 190:17      155:21 189:21      309:14 310:6      217:25 218:5
       252:9,14,16        216:25 217:3      198:25 233:12      312:10            254:6,9 289:14
       253:3,11,14,25     241:12,16         248:5             meaning 114:20    Medicine 264:7
       253:25 254:17      255:7,12 264:2   Mazur 255:21        144:18           medicolegal
       257:24             269:24 270:2     McBETH 2:21        meaningful         289:14
      magnify 126:19      279:12 283:7      7:24,24            306:21           meet 238:12
      main 3:9 106:9      284:20 285:3     McDonald 5:7       meaningless       meeting 15:15
       220:25 223:5       321:4             190:20 191:8       133:16            15:19

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 322 of 348 PageID:
                                   61096
                                    Robert Kurman, M.D.
                                                                                     Page 356

      meetings 9:8,20     38:3,6 40:8,14    43:25               23:12,16,19       313:7,15
       10:1,2 21:13       41:14 47:9       Metal 4:22           24:4,14,16,20     318:21
       65:19              60:23 61:7       metals 4:20          25:15 104:8      migrated 277:5
      Memaj 270:4         66:1 84:19        103:15              135:24 137:4      277:23 294:1,4
      member 74:24        89:2 95:16       metaplasia           156:11 226:7      299:11 313:1
      membranes           118:11 129:23     109:2 110:10       microscopes        314:9,21
       186:9              155:11 158:14    method 278:5         298:19           migrates 311:17
      memory 309:19       169:2 208:25     methodological      microscopic       migrating
      men 92:18           230:12 231:4      308:15              120:5 134:17      276:15 309:1
      menorrhagia         232:24 306:5     methodologies        154:22           migration 67:11
       256:12             308:9 325:22      28:19 297:4        Microscopically    164:19 275:9
      menses 108:4       mentioning        methodology          256:15 257:3      280:15 285:15
      menstrual           203:13 283:20     49:24 65:8,25      microscopist       295:16 299:17
       108:25 119:16     mentions 247:24    66:6,19,24          187:12 264:11     299:19 307:4
       120:10,12,13      Merck 206:1,9      77:14,17            296:15,19,23      308:21 310:21
       134:23 281:10      206:16            220:18,19,22        297:12,25         310:22 314:5
      menstruate         mesothelial        222:15,19,23       microscopists      315:24 317:4
       282:7,9            238:10            223:1,23,25         297:3,17          319:1
      menstruating       mesothelioma       225:17 287:12      microscopy 5:5    migratory
       120:7 131:7,22     80:19 82:10,14    296:20 301:23       26:19,20 93:25    302:21
      menstruation        82:15,16 83:1     307:13,15           190:23 191:9     million 204:22
       108:2,3,8,12       89:21 90:2        308:5 315:19        191:11 194:2,6    205:16 206:10
       109:6,8 110:10     93:6 168:13       315:22 316:3,5      194:15,22,24     mimicking
       110:21,25          169:5,13 170:4   methods 192:4        195:19,24         184:9
       111:18 112:14      179:4 209:15      192:11 271:6        243:8 287:8      mimics 136:3
       112:22 114:15      223:15 225:20    mice 6:5 283:3       288:2,6,24       mind 22:8 157:4
       115:19 119:13      229:18 232:4     Michael 3:4,8        291:13 298:12     173:5,13
       120:9,22           233:23 234:6      7:22 8:1 13:9       303:5             174:17 178:10
       121:16 122:5       234:22 235:19    michael.ander...    middle 115:10      192:13 212:13
       123:2 124:6        237:4,14          3:10                123:16,18         213:12,20
       125:4 131:6,19     238:19,19        michael.zeller...    145:17 271:17     223:24 296:4
       132:24 134:7       261:16 264:12     3:7                middle-income     mineral 90:15
       134:14,22          265:1,8,21       microenviron...      76:22             91:2,3 104:12
       161:14,24          266:3,4,18        160:6              midsentence        166:2,15 168:1
       282:16             272:11,19        micrograms           225:6             169:16 172:8
      menstruation-...   mesotheliomas      195:1              midway 242:7       177:23 209:14
       160:1              82:3 93:4,11     micrographs         migrate 107:23    mineralogist
      mention 14:9        172:8,10 177:9    100:2               138:4,14          64:15 90:10
       25:2 35:6 38:4     177:14,24        micron 245:22        163:23 164:3      91:17 95:12
       39:13 203:22       233:7 235:20     microns 188:15       275:12,15,19      105:4 226:17
       204:13 227:25      237:2,2,11,23     188:16,24           276:5 280:3       262:21
       230:18 231:7       238:11 266:2      189:22 191:15       281:21 282:23    minerals 224:24
       261:6 269:21      met 8:17           193:1 194:8         283:13 284:1      229:11
       280:12 283:21     meta-analyses      195:1 245:13        285:7 287:17     minimal 233:21
       309:3              42:7 320:19       245:25 247:3        306:10,19,24     minor 132:7
      mentioned          meta-analysis      299:3               309:14,15        minute 46:6
       13:11 25:11        6:7 41:19        microscope           310:11 312:23     91:7 113:13

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 323 of 348 PageID:
                                   61097
                                      Robert Kurman, M.D.
                                                                                   Page 357

       182:5 189:7         mistake 235:25     147:19 271:10    209:1,5 218:16    23:5,8,9 25:6
       205:9,9,9,17         238:16            305:12           220:4,11 293:4    48:3,8 52:6
       224:2 240:3         mistaken 234:14   mucinous 114:7    296:22 297:21     58:5 59:2,11
       270:13 322:21       model 175:20,25   multifactorial    301:15            59:17,23 61:4
      minutes 118:11       models 116:20      175:17 176:19 necessary 27:6       63:2 70:23
       158:14 174:21       Mohamed 6:9       multinucleated    181:16 208:4      71:1 120:2
       203:9 204:11        molecular 5:18     256:20           231:11 239:10     134:13 139:24
       204:17 285:22        121:9,21         multiple 176:24   319:15 328:4      141:18 149:11
       303:4                136:12 152:14     176:25 202:10 need 10:22           149:13 151:4
      mischaracterize       155:16 219:25     293:11           15:11,13 18:11    169:25 176:13
       148:14               270:9,17         mutation 139:18   25:4 27:10        179:6 219:11
      mischaracteri...     moment 82:1        180:16,22        48:23 59:4        244:3 245:14
       148:12,21            85:12 122:2       181:14 182:11    67:3 99:12        247:24 266:18
       150:18 157:21        170:20            182:20           100:14,20         267:6,7 304:19
       202:5 250:5         money 206:4,17    mutations         117:24 141:7    new 1:2 7:9
      Mischaracteri...     monkey 308:22      114:21 140:25    142:18 149:23     13:21 191:1
       20:13 149:22        monkeys 280:16     180:7 181:11     193:7 196:9       306:2
       309:6                281:1,6,9         181:12 260:25    222:6 228:3     Newport 2:9
      misclassificati...    282:7,15         Mycobacterial     231:7 279:23    next-to-last
       237:17              monograph          240:12           297:9,18          306:15
      misclassificati...    4:22 77:10,23                      316:19 323:8    next-to-the-last
       238:17               79:2,5,7                 N        needed 252:25      264:18 299:6
      misclassified         102:20 103:6     N 2:1 3:1 4:1    needle-like        306:8
       93:4 235:15          103:14 230:17    N.W 3:14          227:2 256:24    nice 98:2 161:15
       237:6               Montgomery        naked 244:14,15   258:7,11,17       279:8
      misdiagnosed          2:5               246:8,11        needs 209:6      nickel 80:3,3,11
       235:21,23           morning 7:3       name 7:4 8:23     295:24 296:24 Nicole 5:20
       237:10,22            8:15,16 14:4      21:9 105:8      negative 142:9   nine 45:3 47:20
      misidentified         222:7             187:7 327:14     261:1,3 281:19    157:20 223:19
       104:11              morphologic       named 105:9       282:4 324:24      225:14
      misleading 99:7       141:1 233:24      320:4           neighborhood     nitrogen 81:15
       253:2,8              234:7,11         nasal 80:6        204:22            85:25 86:8,9
      misplaced            morphologica...   nations 74:21,24 neither 210:22     86:11 87:2
       281:22               225:24 238:21    Nationwide        324:15            254:2
      misreporting         morphology         32:14           neoplasm         nitty-gritty
       235:16               25:8 226:13,25   natural 154:23    176:25            107:20
      missed 30:22          258:17           NCI 205:24       neoplasms        node 194:10
       173:2 246:23        Morris 1:13       near 115:1        271:22            195:2 196:1
      mission 4:18          270:4             145:15          neoplastic 71:17   203:12 277:12
       75:14,23 76:3       Mossman 13:10     nearly 215:20     165:15            278:4 285:18
       76:25               mouse 116:20       218:20          Ness 160:25        286:10 293:12
      misspoke              308:23           necessarily 27:5  162:21 319:5    nodes 5:6
       163:18              mouth 19:21        87:8 112:21     Nevada 1:14 7:1    188:15 190:24
      Misstates 20:1        300:7             163:11 170:21    7:8 14:24         191:23 192:16
       52:13 62:16         move 24:9 81:10    180:18,25       never 17:20        192:19,20,21
       164:11 202:4         100:11 102:6      181:3 182:17     18:10,23 20:4     192:23 193:1
       203:3 208:17         105:13 134:4      182:19 207:24    20:4 21:13        199:12 204:2

                     Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 324 of 348 PageID:
                                   61098
                                   Robert Kurman, M.D.
                                                                              Page 358

       276:14 277:5     nonusers 189:18   39:22 48:16      101:9,17         180:20,24
       277:13 287:9     normal 120:16     99:14 128:23     102:13,18        181:7,20,25
       287:18,20,23       123:1 131:8     137:6 156:2      105:11 106:7     182:9,16
       288:8,11 289:1     300:1           185:19 192:2     106:24 107:17    183:11,14,22
       292:8,16         normally 104:6    214:9 252:19     108:13 109:15    184:15,24
       293:10,16          108:7,7 230:15  261:22 311:22    110:3 111:22     185:4,11 186:2
       294:1,3,4,10     North 1:13        321:2            112:5,9 113:4    186:16 187:1
       294:13,17        notably 280:11   objection 10:9    113:21 114:3     187:20 188:17
       295:1,6,14,20      283:21          16:24 17:22      117:8,21         189:2,25
       299:10,20        Notary 330:18     18:7,21 19:6     120:23 122:9     190:10 195:12
       302:17 303:2     note 195:17       19:15 20:1,13    124:3 125:9      196:5 197:11
       303:21 304:9       285:13 322:19   21:6,10 22:2     128:21 129:8     198:12 199:16
       304:14,18,21     noted 310:25      22:15 23:13,23   129:21 130:20    199:20 200:8
       305:5 306:11       328:10 330:8    25:22 26:13      130:25 132:17    201:8,18 202:4
       306:19,20,25     notes 327:11      28:22 30:17      132:25 133:23    202:18 203:2
      nonasbestos       notice 4:15       34:23 35:14,20   134:10 135:25    203:24 204:15
       166:1,14 168:1     11:17 92:24     36:1,6 39:3      136:22 138:6     205:1 206:14
       169:16 172:8       160:25 216:13   41:3,12 42:1     138:21 139:6     207:4 208:8,17
       177:22 209:14      315:18          42:12 43:8,19    139:16 140:1     209:22 210:4
      nonexpert         noticed 50:9      44:2,10 45:6     140:23 141:11    210:15,21
       237:15           notion 57:19      45:18 46:2,12    141:23 142:8     211:7 212:6,25
      noninfectious       306:7           47:2,8 48:2,13   142:17 143:1,7   213:5,13,22
       54:15,24 55:1    NSAIDs 107:12     49:10 50:22      143:15 146:2     214:15 215:11
       55:8,10 240:6    number 10:19      52:13,19 53:7    146:14,22        216:12,18
       240:25 247:16      12:14 32:8,13   54:2,16 55:3     147:15 148:1     218:13 219:1
      noninvasive         59:23 116:23    56:1,11,20       148:12,21        219:10,16,23
       138:15             138:11 145:10   59:3,19 60:18    149:19 150:18    221:16,19
      nonlesion           145:20 156:14   61:9 62:9,16     151:11 152:3     226:11,14
       165:14             156:18,23       62:24 63:11,17   152:23 153:16    227:11,23
      nonmalignant        157:2,16        64:5,12 65:3     155:3 156:13     228:2 229:13
       5:16 263:13        206:19 233:4    66:11 67:24      156:20 157:5     229:22 230:8
       264:21 265:14      241:10 255:12   68:6,18 69:6     157:15,21        230:20 231:8
       265:19 266:17      266:10,25       69:19 70:11      158:12,22        232:22 234:9
       293:15             270:3 309:24    71:2,19 72:11    162:13 163:6     237:12,24
      Nonneoplastic       319:11 325:23   73:12,23 74:7    164:6,11,18      238:14 239:5
       184:3            numbers 92:16     74:16 75:6,17    165:3,11 166:3   244:1,19 245:8
      nonresponsive       92:19           77:2 78:2 81:6   166:16 167:16    246:2,20 247:8
       24:10 99:15      numerous 194:7    81:24 82:12      168:4,17         247:21 248:2,7
       100:12 305:13      194:25 195:18   83:9,23 84:17    170:12,19        248:13 250:5
      nonserous           195:23          85:11 86:2,15    172:11,23        251:4,19 253:5
       160:12                             86:20 87:7,13    173:6,16,25      253:7,17 254:3
      nonskilled                O         87:23 88:5,15    174:20 175:3     254:12,18
       238:18           oath 10:5 16:17   88:21 90:7,21    175:11,22        257:10 258:13
      nonspecifically     245:19          91:5,14 93:8     176:1,13,23      258:19 259:3
       23:21            OB/GYN            94:4,18 95:15    177:7,10,15,25   260:9 262:5,18
      nonsteroidal        303:11,14       96:1 97:14       178:7 179:12     263:2,8,15
       106:21 107:4     object 19:11      99:2 100:18,21   179:17 180:10    265:15 268:16

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 325 of 348 PageID:
                                   61099
                                     Robert Kurman, M.D.
                                                                                    Page 359

       269:8,15 271:2      153:1,12         offices 1:13       116:18 117:4      255:4,23
       272:1,5,21          154:25 156:12    oh 9:18 14:25      118:2,8 120:9     257:15 258:1
       275:5 276:7,16      157:3 179:6        16:7 24:25       122:15 126:1      264:17 267:4
       277:25 281:5        195:9 198:17       32:7 38:4,21     127:3,11,15,17    267:18 268:1,3
       281:11,23           224:9 235:13       102:9 104:4      131:4,14 132:4    268:7 270:22
       282:12 283:1,4      244:4,5 273:8      121:21 136:7     132:8 133:5,15    271:14 272:18
       283:15 284:3        273:13,23          137:4 159:7      134:7 136:7       273:21 275:10
       284:11 286:6        295:13             172:18 174:5,8   144:10,12         276:24 277:16
       289:4 290:8       observing            174:10,11        145:14,16,19      279:1,3,18,21
       291:1 292:13        151:19,20          196:13 199:11    148:7,25          284:14 286:4
       292:23 293:2        202:25 253:11      209:13 231:22    153:17,20,23      286:24 291:5
       294:6,18 295:8    obvious 60:10        235:7 240:14     154:9 155:7       293:21,22
       295:21 296:13       291:17             244:6 246:23     156:8 158:17      294:10 301:11
       297:7,19          obviously 38:8       259:5 260:14     159:6 161:17      302:8 306:14
       299:14 300:23       103:13 120:3       266:9 279:23     163:10 166:13     306:16 309:22
       301:19,25           140:5 199:23       282:8 296:20     167:7,13 171:2    310:23 322:15
       303:3 304:4,15    occlude 117:19       297:22 298:17    171:4 172:5,18    322:16 323:5
       305:3,9,18        occupational         314:19           173:2,21 175:1    324:10 325:8
       307:1,18            78:5 233:3,9     Ohio 3:9           176:5 177:22      326:1
       308:16 309:6        235:14 265:8     okay 11:5 12:2     188:12 192:18    omits 280:12
       309:17 310:12     occupationally       12:11 14:8,11    193:9,12,21,25    283:21
       312:5 313:2,10      78:6 92:15         18:3 22:6,8,10   195:7,11         once 121:23
       313:17 314:13     occur 17:17          24:9 25:7,16     196:19 197:23     247:24
       314:22 316:1,9      67:20 85:13        31:14 32:4,9     200:2,15,21      one's 217:19
       317:7,17,22         104:15 121:22      32:18 34:10,12   202:22 204:20    one-page 283:10
       318:7,16,23         121:23,24,24       39:8,12 41:1,2   205:4,15 206:7    283:25 284:18
       319:9 320:5         122:22 134:19      42:14,22 45:14   207:2,8 208:12   one-time 262:24
       321:20 322:8        143:9              47:5 48:5,7,22   210:18 213:9     ones 13:8 152:15
      objections 186:5   occurred 313:21      49:5,7 50:25     215:1 216:9        152:16 164:9
       327:10            occurring            51:21 52:17      217:10,11,19     ooOoo-- 326:7
      objective 76:5       114:22 131:21      53:17 54:21,25   218:16 220:24    oophorectomy
      obliterated        occurs 52:23         57:14,16,18      222:21 223:10      136:17 291:14
       147:24 152:1,7      85:7 108:3,7       60:25 68:3       224:4 225:7,10   open 131:4
       153:14 155:13       122:23 131:7       69:12 74:3       225:22 226:19      300:8 311:13
       155:24 156:9        134:22             75:4,21 76:4     227:7 228:16     opening 230:6
      obliterating       offer 35:12 36:4     77:9 78:19       228:24 231:24      310:7
       154:18              38:24 129:18       79:9 82:9 83:6   232:18 235:10    operation
      observation          130:14,17          85:17 89:9       238:8 239:20       184:10
       233:22              164:14 209:18      93:5,24 94:7     239:20 241:7     OPERATOR
      observations         214:8,12           94:22 95:1       242:6,22          7:3 8:5 61:13
       223:13            offered 13:4         96:18 98:16      243:12 245:18     61:16 118:5,8
      observe 296:10       49:2 212:1         99:4 101:19      245:21 247:4      178:12,15
      observed 58:10       213:19 214:12      102:9,24         247:24 248:25     255:1,4 286:25
       62:10,14          offering 29:5        106:18 108:20    249:1,13,15,20    287:3 315:12
       119:18,20,22        215:3 301:5        110:12,18        250:17 251:12     315:15 326:3
       147:22 150:24     offers 34:2,13       111:10 112:23    251:14 253:5,6   opines 267:20
       151:24 152:22       214:21 306:23      115:15,15,17     253:24 254:21     268:5

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 326 of 348 PageID:
                                   61100
                                   Robert Kurman, M.D.
                                                                                 Page 360

      opinion 38:14     opposed 233:20     33:8 35:25       181:18 182:23      324:19,21
       38:23 50:16        262:25 293:25    41:10,20 42:7    183:9,20 184:8     325:7
       52:20 56:25        295:15           47:10 49:13      188:14,23        ovaries 77:24
       57:19 62:15      Oral 4:15 11:17    50:1,17,19       189:4,7,12,18      78:11 80:23
       64:19,25 68:13   order 15:10 25:9   51:5,10 53:10    189:22 190:15      92:13 93:14
       72:6 78:15,20      47:12,19 150:5   54:4 55:14       191:22 192:19      94:13 96:15
       78:21 82:25        219:2 232:15     56:9,19,25       198:6 208:15       97:7 98:2
       83:16 94:7,12      299:21 316:18    57:7,20 58:6,7   210:10,25          107:25 112:15
       94:17,20 95:1    organ 71:4         59:1,23,25       215:17,19          113:3 120:21
       95:23 96:7,14      222:8            60:11 62:8,12    221:9,11,13,15     124:1 125:8
       97:6,8,10,11     organic 166:1      62:20 64:21,23   221:22 222:10      132:15,23
       97:18 102:15       166:14 169:15    65:1,12,18       222:11 223:6       133:9,22
       107:15 130:8     organization       66:16 68:10      232:7,8,20         136:10 138:5
       133:7,17 134:3     74:21,23 76:19   70:9,15,16,22    233:11,15,16       151:9 154:15
       145:3 150:14     organizations      71:9,12,14,21    234:21 235:19      275:9,12,19
       163:12 166:24      76:17            71:23,24 72:4    235:21 236:16      276:6 277:24
       167:21 172:19    organs 83:17       72:9 73:1,11     237:11,22          280:4 281:22
       174:7 177:19       147:8 248:17     73:20 77:19      238:10 239:14      282:24 283:14
       199:24 203:8       287:17           78:22 81:1,8     239:19 247:25      284:2 285:8
       203:10 210:24    origin 108:22      92:8,24 96:9     250:19 258:25      291:13 293:15
       213:9 221:13       109:22 316:22    96:13,19 97:9    259:2,16,24        294:12 295:5
       221:14,21        original 13:20     97:20,25,25      260:2,8,21         309:2,3 311:2
       274:20 275:18      31:16 38:16      98:5,8,17,18     267:21 268:9       311:18 312:23
       279:2 285:15       42:17,18,22      100:9 102:16     268:15 269:1,7     318:21
       295:13 298:24      87:20 327:12     106:23,23        270:11,19        ovary 62:1 71:4
       299:18 310:10      328:13           107:6,14         273:4,8,16,23      72:2 77:12
       311:20 324:17    originally 14:5    113:17 114:1,2   273:25 274:1,3     80:20,22 81:4
      opinions 28:19    originate 137:17   114:11 123:22    274:5,7,21         91:24 93:3,6
       29:5,10 32:23    originated         126:12 128:5     275:2,21           93:11 98:21,22
       34:2,13 35:19      136:10,19        130:15 135:9     277:14 278:11      99:22 109:10
       35:22,25 36:4    outlier-type       135:20 136:15    287:15,23          111:21 115:20
       36:25 37:1,9       130:7            136:19 137:5     289:15,20          116:14 119:24
       37:10,19,25      outline 35:18,22   137:25 139:4     290:2,11,18        121:3,20,23,24
       38:20,25 49:25     166:6,8          139:11,23        291:15 293:17      122:18 126:4
       66:9 70:20       outside 34:2,14    140:6,8 146:21   295:1,5,20         126:16 127:6
       187:17,24          47:7 86:4        147:21,22        300:15 302:13      134:5 136:20
       201:16 208:1,2     102:5 104:24     148:2,8,18       303:16,25          138:10,18
       210:3,19           214:22 215:4     149:14,16,25     304:3,11,19,20     140:18 149:8
       214:13,13,21     ovarian 5:20 6:4   150:15,21,25     305:1,8,16,21      151:20 159:20
       215:3 220:21       6:8 9:11 17:21   151:1,4,23,24    306:4 307:5,14     184:4 221:4,6
       260:12 307:10      18:6,11,20       153:6,8,11,12    307:20,21,23       221:10 292:4
       308:5 317:3        20:5,6,23 21:1   154:13,16        315:8 316:13     overall 302:22
       318:15 319:8       21:5,17,19,25    155:16 156:10    316:22 319:18    overgrown
       323:1,11,24        22:13,18 23:6    156:22 158:21    319:20,21          155:18 158:4
       324:12,20          29:6,11,20,24    160:4 162:1      320:3,15         overgrowth
      opportunity         29:24 30:14      179:16,22        321:18 323:1,2     152:18
       287:6              31:3 32:13       180:19,22        323:20,25        overinclusive

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 327 of 348 PageID:
                                   61101
                                   Robert Kurman, M.D.
                                                                                  Page 361

        40:3            214:25 217:5,6    Paper's 27:3       293:22 313:3      257:9,15,16
      overstates 224:5  217:7 231:16      papers 9:16       part-time          273:16,23
      overview 209:4    235:1 239:15       21:24 22:4        217:22 218:22     275:2 276:5
      overwhelming      240:4,4 242:5      30:11,18,21      partial 207:5,9    278:11 280:21
        262:2,7         249:15 250:17      31:5,8 32:10     participate        288:4,12,15,23
      Oviducts 5:23     255:24 267:12      65:20 66:3        65:19 165:19      294:25 295:5
        279:6,16        267:13,15          220:12 316:12    participated       295:13,19
      ovulate 300:4     271:15 273:3      papillary 38:10    26:10,14          297:5 298:19
      ovulation-ind...  280:8,11           143:17 144:1      145:10,19,20      299:1,9,24
        159:24 161:23   289:11 298:10      146:17,20         303:10            301:6,14,14,16
      oxygen 81:15      299:5 302:4,7      147:12           participation      304:10 310:20
        85:25 86:7,10   306:13 310:23     papillomavirus     28:14             311:1 312:4
        87:1 224:17     329:4              206:1            particle 60:16    particular 45:2
        254:1          pages 5:13 12:13   paraffin 288:1     68:14 69:1,13     66:1 76:20
                        14:7 103:7        paragraph 34:9     185:8,9,17,24     117:6 142:6
              P         127:8 330:4        76:4 92:2         186:10,15,18      165:8 203:12
      P 2:1,1 3:1,1    paid 206:18         115:1,12          188:23 189:21     260:13 309:23
      P.M 326:5         207:16 208:6       145:18 169:6,8    201:5 243:14     particularly
      p53 88:23         282:19             192:12 193:15     243:22 245:2      160:16 187:18
        137:15 138:1   Pam 8:5             193:22 215:3      246:1,7 296:10    264:12
        139:18 151:16 Pamela 1:15          215:18 218:21    particles 25:13   partnerships
        180:7,15,22     327:19             235:2,6,7,8       68:3 70:2,5       76:23
        181:11,11,12   pancreatic 54:5     240:1 250:21      100:3 104:6,7    parts 111:25
        181:13,17      panel 194:6,14      255:24,25         163:23 164:3      134:17 250:18
        182:6,10,20     194:24 211:25      257:2 264:19      186:7,12,23,24   pass 117:19
        221:5,5        panels 211:16       265:18 267:19     186:25 187:18     123:25 164:16
      page 4:4,11 5:3 panties 312:1        267:24,25         187:25 188:13    passage 116:4
        5:8 6:3 12:14  paper 20:22         268:1,20          188:21 190:3      293:4 300:3
        32:6,7 33:25    27:7,8,19,21       271:17 293:7      191:13,21         311:2
        34:7 38:14      28:7 29:3          298:11 306:8      192:15,18,25     passes 109:8
        42:25 67:2      38:10,13 62:19     310:24            194:7,25 195:8    111:19
        79:8 89:5,12    143:2,17 144:3    paralegal 12:6     195:19,23        passing 108:6
        89:13 103:24    144:5 146:17      parameters 35:1    196:3,21,25      patent 131:23
        105:14 108:17   147:11,12         paranasal 80:7     197:9,20         pathogenesis
        108:20 113:9    197:9 200:23      Park 2:12          198:15 200:4      135:9 142:25
        115:1,10        201:6 212:24      Parkway 1:14       200:12 201:10     144:1
        126:10,15       213:18 250:6      part 4:20 49:9     201:21,22        pathogenic
        127:18 131:14   250:16 264:20      49:24 57:15       203:1,23          225:2
        135:4 145:13    265:12 266:22      74:20,21,23       204:14 230:15    pathologic
        153:23 154:1    276:17,21,24       85:19 87:24       244:18 245:24     218:7
        159:4,11,12     276:25 279:8       88:7,7,12         246:18,18,19     pathological
        191:7,18,19     279:15 280:2       124:24 126:24     247:2,3,6,11      268:10,13
        193:4,12,18,19  284:24,25          127:21 160:16     248:11,11        pathologically
        193:20,21       285:6,13           165:8 182:2       249:22 250:10     101:6,14
        195:16,17,21    290:17 297:13      185:9 223:8       251:16,17         234:20
        197:22 205:10   306:23 308:8       236:15 240:16     252:3 253:11     pathologist 9:5
        205:12 214:20   309:18             254:6 293:18      253:13 254:10     14:18 20:18

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 328 of 348 PageID:
                                   61102
                                   Robert Kurman, M.D.
                                                                                   Page 362

       26:16 30:10       220:2,12,16       229:15            perineum          phagocytize
       47:25 92:25       234:17 235:3     Penninkilampi       107:24 275:12      243:5,19
       93:2 133:5        235:11 236:14     33:22 39:14        275:16,19          252:17
       135:22 136:8      255:11 275:21     40:14 290:21       276:6,8 277:24   pharmaceutical
       136:16 170:16     320:16            290:24             278:2 280:3        204:23 205:5,7
       187:12,21        pathway 120:16    Pennsylvania        281:22 282:23      206:11
       188:4,7,8,10     pathways 81:17     2:22               283:14 284:2     pharmaceutic...
       215:8,8 218:17    84:8             people 10:23        285:8,8 299:25     105:22
       218:20 219:25    patient 58:12      15:24 27:4,5       309:2 310:5      pharynx 83:15
       220:1,3 235:24    292:21            50:9 78:5          311:17 318:22    phase 176:11,11
       238:16 264:10    patients 5:16      92:17 118:18      period 176:17     PhD 5:21
      pathologist's      58:11 98:5        118:25 123:18      280:18 281:2     Philadelphia
       30:1              106:20 107:3      128:12,17         periods 229:16      2:22
      pathologists       169:13 256:11     129:11 130:12     peritoneal 69:2   Philip 168:22
       15:20,22 16:3     261:12 262:10     163:20 210:23      69:14,18,22,25   Phillips 309:3,4
       18:9,24,24        263:13 264:21     218:1 260:11       108:9 109:10     photo 196:24
       20:10 21:4,24     265:1,13,21       272:14 324:16      112:1 116:5      Photocopy 5:8
       37:6 72:8,23      266:16,19        percent 108:10      128:3 165:24     photograph
       72:25 110:1       286:18 287:24     114:11 131:7       166:12 167:12      231:22
       119:9 188:5       289:10 293:11     131:12,22          167:13,15        photomicrogr...
       216:16 217:22     293:16 303:16     160:10,11          168:2,7,10,12      193:5 195:17
       219:8,20 220:7    303:19 304:2,6    169:7 215:20       183:21 184:8       196:2,12,21
       234:13,21,24      311:12            215:21 236:7,9     209:19 235:18      197:10,17
       234:25 235:22    pay 303:20         237:7 290:19       235:20 299:22      249:16 250:2
       236:1,23          304:13            290:25 311:7,9     300:6              250:10
       237:10,15,21     peer 26:23 27:1    311:12 312:25     peritoneum        photomicrogr...
       238:9,18 239:6    28:18 29:7        313:21             109:1 170:8        193:13 194:4
       239:7,9 251:15    211:16,25        percentage          278:4              199:14 251:25
       253:10 303:19    peer-reviewed      108:14 156:10     permit 288:22     photos 198:22
       304:12            199:18            158:1             peroxide 224:16     198:24
      pathology 5:12    pelvic 5:6        perfect 117:18      230:3            phrase 168:15
       9:10,16 15:3,4    112:16 143:19    perfectly 182:21   person 16:13        172:6 175:2
       15:5,9,11,17      144:18 145:6     perform 26:18       295:19           physically 310:7
       15:18 16:5        161:12 188:14     28:24             personal 3:12     physician 317:2
       20:3,24 29:19     190:23 191:22    performed 23:3      7:21 83:4          317:5
       29:22 30:8,12     192:16 193:1      58:12              163:11 236:12    physicians
       34:18,21 37:1     198:1 256:10     perineal 6:8       perspective         263:12
       37:7,8,9,15       277:5,11,13       78:7 105:25        302:21 325:22    physiologic
       44:14 46:18,19    285:17 287:9      106:4,9 209:16    persuasive          131:6,21
       48:6 58:12        287:17,20         233:1 277:5        155:12           physiological
       59:22 65:12,16    292:7,7 293:10    287:14 288:9      pertain 161:20      284:20 285:4
       118:14 119:11     295:1,6,14,20     292:11,12,14       250:25           pick 112:3,14
       151:3 157:9       302:15 303:1      294:1,4,9,16      pertaining          123:15
       187:22 188:3      304:9 314:16      295:2,15           30:14 84:5       picked 113:2
       200:22 204:3     pelvis 276:15      299:19 313:23     pertains 315:24   picking 194:19
       215:17 218:18    pelvis.' 285:16   perineally         Pfizer 206:16     picture 197:6,13
       218:21 219:14    penetrate          292:22            ph 1:19             197:18

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 329 of 348 PageID:
                                   61103
                                     Robert Kurman, M.D.
                                                                                       Page 363

      pictures 189:6,8     66:7,20,25         263:13 264:22     25:12 190:22        124:22 125:7
        196:10             98:8 100:25        265:19            191:9,11 194:1      128:2 130:18
      pills 261:2        plausible 48:1,3   pleurodesis 5:16    194:21 256:25       138:24 141:20
      pin 307:4            48:9 50:2          51:20 139:9       258:8 286:11        265:9
      place 119:19,23      57:21 58:25        248:12 261:6      287:7 298:12       potentially
        120:3,4,9          59:17 62:7,15      261:13,19         298:18              64:10 82:16
        121:18 122:14      62:23 63:3         262:3,10,11,13   Policy 4:19          159:23 184:9
        123:6,15 134:9     64:20,24 65:6      262:15,23        polymorphon...      potty 58:20
        134:14 150:9       66:19,24 71:1      263:13 264:21     85:22              pours 312:1
        173:10 200:17      73:10 96:18,20     265:6,13 266:9   polyploidy          powder 1:4 5:19
        325:24 327:8       96:23,25 97:2      266:16,19,23      81:16               17:19 18:6
      placed 311:1         97:9,20,24         267:9            poor 155:25          23:11 24:13,23
        314:16             125:6 129:6,10   plural 265:14      population           24:25 50:1,2,4
      places 166:10        134:8,15         point 15:10 21:2    32:20,21 45:1       50:6 58:13
        251:6 281:10       139:22 140:15      33:18 58:2,20     105:24 106:13       63:14 64:11
      plain 23:18          140:21 143:25      71:20 72:24       106:16 291:22       95:2,7,23 96:5
      plaintiff 13:14      149:11 160:18      77:21 96:16      Population-B...      148:17 207:17
        13:16 36:22        163:4 212:3,13     97:3,19 124:17    32:14               256:10 267:20
        210:13 324:6       212:23 213:11      141:7 143:18     populations          268:8 270:10
      plaintiffs 2:3       213:20 295:1,6     146:8 150:13      218:4               275:18 314:6,9
        7:15,17,19         295:18,23          172:13,17        portion 103:5,8      314:9,15
        8:18 56:8          296:1,6 304:24     195:4 203:18      116:12 255:10      powders 51:11
        161:4,7 312:2      312:12,16          218:19 219:2     portions 203:21      106:1,5 262:17
      plaintiffs' 4:14   play 140:19          226:1 246:15     position 55:16       268:24 269:22
        9:15 11:16         143:4,25           249:1 250:1       154:4 209:17       practical 303:13
        15:12 29:25        158:20 161:25      255:23 276:22     209:18 253:16      practically
        55:12,18,24        219:18 317:25      280:25 281:15     275:14 276:2        284:15
        56:17 73:5       played 273:17        282:1 303:8       298:2 299:7        practice 119:9
        210:12 324:5     plays 62:4 82:5    pointed 56:3       positions 55:18     practices 1:5
      plan 319:24          87:14 117:17       252:24,25        positive 142:13      218:5
      plane 288:13         160:4            pointing 27:8       282:5              precancerous
      plasma 85:21       Plaza 2:8            252:20           possibility 238:1    150:24 151:1
        256:22           please 7:12 8:23   points 46:21        265:25              151:14
      plate-like 104:7     22:7 40:25         49:19            possible 10:5       precede 137:16
        230:15             42:2 43:15       polarizable 26:6    22:17 29:23        precedes 137:12
      plates 191:12        63:18 66:21      polarization        142:14 179:25      precipitating
        298:23             94:10 118:3        25:11 203:15      189:11 201:25       141:22
      platy 96:10          119:25 122:10      204:1,5           264:25 265:9       precise 108:22
      plausibility         139:25 140:2     polarize 26:7       265:20,24           109:22
        44:19 45:11,17     141:24 153:5       204:3             300:7              precursor 50:7
        45:23,24 46:1      174:1 240:20     polarized 24:7     possibly 83:13       52:12,18 68:5
        46:3,5,5,11,15     253:1,18 295:9     25:20 26:2        137:19 173:9        68:17 69:5,17
        46:17,20 47:6      300:25 328:3,7     194:6,15,24       286:18 294:21       116:10 135:5
        47:14,17 48:10   pleura 170:7         195:19,24         317:10              135:12 137:9
        49:1,8,16,17     pleural 5:16         196:24,25        potency 89:25        137:11,24,24
        49:18 50:5         82:15 232:4        243:9 288:6,24   potential 79:25      138:20,25
        65:9,23,25         261:20 263:7     polarizing 5:4      123:24 124:19       139:3,14 140:5

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 330 of 348 PageID:
                                   61104
                                   Robert Kurman, M.D.
                                                                                  Page 364

       140:6,16          99:22 100:9      primary 28:17      122:14 131:6      176:11
       141:10 142:15     198:3 273:15      29:18,18 34:4     131:21 132:24    prompter
       143:5,8 144:7     274:1 276:13      34:17 35:4        140:21 144:14     166:25
       146:21,23,24      277:13 294:17     82:2 105:22       173:8,9 176:11   pronounce
       147:21,24         305:5             106:2,5 118:15    282:10            256:13
       149:14 151:9     present 3:17       137:5 161:12     produce 59:8      proof 278:18
       151:13,23,25      122:3,6 136:14    220:15 319:24     60:2 61:20        285:16
       152:21 153:11     136:14 147:23    printed 75:19      68:9 70:16       propels 138:9
       153:14 154:12     151:24 153:13    prior 22:18        144:22 231:14    proper 241:13
       154:19,21         154:17,20         289:22 290:3      274:19           properties
       155:7,13,23       169:21 189:17     291:25 319:13    produced 8:21      298:20
       156:12 157:3,8    212:8 215:17     private 307:23     125:11 268:3     proposed 28:18
       158:9,10          223:5 252:4      pro-inflamma...   produces 229:25    45:5 108:24
       190:12 221:4      258:2 292:2       160:6            producing         proposition
       221:11,23         299:9 303:18     probability        229:24            161:21 164:2
       222:7 267:12      312:6             46:11,14         product 23:12      281:21 282:23
       307:24 308:12    presently 325:5   probably 17:13     95:3 150:8        283:13,25
       319:21           preserve 288:22    27:17 55:17      products 1:4,5    propositions
      precursors        press 207:12,13    74:25 133:8       3:12 24:13,16     251:2
       146:3 150:7       207:14            175:19 192:20     95:24 105:21     propounded
       151:4,16,17      presumably         230:17 234:24     124:5 289:17      330:6
       154:13 222:5      116:2 163:23      236:18 245:4     Products' 7:21    protective
      predecessor        252:1 312:4       245:25 246:14    professional       113:16,18
       15:15            presume 198:15     262:14            26:25             114:1 115:4,24
      predominance       200:2            problem 88:13     professionally     117:5 129:19
       128:25           pretty 36:2        222:23 234:24     107:15            130:3,14,17
      predominant        60:10 66:14       234:25 251:5     progenitor         261:3,4
       128:15,19         119:10 131:10     263:18 296:17     116:24           prove 239:11
       129:3             232:11 269:9      301:12 307:15    programmed         273:16 292:17
      predominantly      272:22 289:5     problems 27:9      88:14             293:4 297:21
       272:23           prevent 128:1      161:19 212:7     progress 146:25    299:24
      prefer 110:14      141:7 307:4       223:5             147:4,6          proved 300:12
      preparation       preventative      procedure 117:3   progression       proven 155:14
       9:21 40:2         76:12             262:23 307:4      165:20 173:11     295:25
       207:3            preventing        procedures         173:14 175:20    provide 27:7
      prepare 8:25       141:6             262:3             176:8             28:4 44:8
       9:14 13:23,25    Prevention        proceeding        proliferation      224:19 270:17
       14:1,11,12        141:4             237:19 326:5      73:15,16 86:14    302:25
       44:5 314:3       preventive         327:8             114:21 116:23    provided 31:15
      prepared 40:15     76:12            process 27:1       142:24 143:8,9    36:15 37:21,24
      preparing 9:3     previous 216:9     28:8,18 29:8      143:13,24         39:9,24 42:11
       9:24 32:22        270:18 293:12     52:23 55:21       144:15,23,24     provides 198:4
      preponderance      320:7             56:18 57:21       145:2,4 175:21    273:18 276:14
       202:13,17,19     previously         65:15 83:21       176:6             302:13
       202:23,24         16:23 39:18       84:4 87:24       promote 76:6      provision 27:22
       203:6             148:8 159:3       109:2 110:7      promotion         proximal 123:19
      presence 84:21     292:2             119:14,18,22      175:21 176:8     PTI 3:3,3 7:23

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 331 of 348 PageID:
                                   61105
                                     Robert Kurman, M.D.
                                                                                    Page 365

       7:23               144:21 156:10      192:13,24                R           61:5 68:10,16
      public 289:14       163:5 188:10       199:22 203:4     R 2:1 3:1,13        68:23,25 70:6
       330:18             189:13 216:17      210:5,18           329:2,2           70:21 71:11,14
      publication         227:19 246:5       212:16,18,19     R.E 279:19          72:1 73:11
       28:15 66:8         259:13 263:3       213:17,21        rabbit 309:5,14     84:20 85:20
       212:1,4,5,12       267:2 310:20       214:2 228:17     radiation           96:8 98:3,13
       212:24 213:12      325:21             228:25 238:25      165:25 166:13     98:22 148:19
       213:21 264:5      putative 154:11     240:20 246:24      169:14            148:20 162:5
       298:5              154:21             253:1,2 259:3    radicals 225:1      162:12 179:10
      publications                           259:8,13         Raman 26:20         182:25 183:20
       21:8,16 26:25             Q           260:11 261:18                        184:7,13,17,23
                                                              ran 52:1 316:11
       28:14 187:15      qualified 26:18     270:22 271:23    Randomized          186:20 203:13
       188:12,18,19       40:25              276:1 295:17       205:24            229:25 249:18
      publish 29:10      qualifying 130:5    300:20,25        range 188:15        252:14 253:4
      published 20:10    quantify 287:25     305:15,17          191:15,23,25      254:11 256:7
       20:17 22:25       quantifying         308:21 313:13      192:16 194:8      256:16 257:4,7
       23:5 28:20         264:12 301:17      321:11,13          195:9 200:4       274:13,19
       29:7 32:12        quantity 256:17     323:5,7,9,15       245:4 257:18    reactions 67:19
       66:15 72:7         257:5 258:2        324:2,10 325:1     299:2             85:14 148:10
       118:20 132:9      question 18:10      325:2            rare 52:8 59:25     183:9 242:23
       132:11 136:24      20:4 24:12,21     questions 8:20      249:4 272:22      244:9 248:9
       155:9 162:18       24:25 25:2         28:10,11 44:15   rarely 52:21      reactive 81:15
       199:18 286:1,3     32:16 36:7         149:12 181:2       147:22 151:23     85:25 86:7,8,9
       286:4 297:11       38:18 40:19        201:13 213:15      152:22 153:1      86:10,10 87:1
       320:19 321:10      42:4 43:15         225:9 253:8        153:12,17,18      87:2 254:1,1
       321:14,18          47:23 53:13        322:17 325:8       153:20 157:19   reactivity
      publishing          54:9,9,11          330:6              256:1,5           224:25
       22:13              59:16,20 62:22    quick 204:21      rat 282:25        reacts 185:7
      PubMed 9:19         63:19 64:1,24      315:10             283:10,25       read 9:15 12:25
      pull 322:20         66:21 68:14       quickly 36:13       309:13            13:3,4,6,8,11
      pulmonary           69:8,10,11        quiescence        Rats 6:5 283:3      13:16 17:16
       179:3 187:21       77:13 78:10        116:21           RDR 1:16            19:17 37:2,5
       188:4,5 248:22     81:3,3 82:9       quiescent           327:19            38:4,4,6 39:10
      Pure 133:10         83:24 87:19        114:20           reach 65:8          39:10,11,15,20
      purified 296:20     94:10,16 95:12    quite 20:19         123:25 125:8      40:6,9,11
      purity 262:16,20    97:4,6 100:14      22:12 42:6         132:14,15,18      41:23 55:17
      purported 18:19     100:17 101:13      43:6,11,12,18      132:22,23         56:2,3,13,16
       212:22             101:20 102:3       43:24 142:11       133:8,9,18,22     56:21 62:19
      purpose 28:17       112:23 113:14      162:15 219:21      139:2 222:3       65:4,13 70:23
       287:12             119:25 131:5       235:15 244:17    reached 308:5,6     86:5 91:19
      purposes 239:3      136:6 140:2        311:2 320:18     reaches 285:16      92:2 93:1,13
      pursue 18:12        141:24 142:9      quote 235:1       react 180:2,3,6     95:5,21,22
      put 19:20 21:9      142:14,20         quote/unquote     reaction 25:12      102:20 103:22
       36:14 38:1         151:2 161:18       67:15              26:5,11 55:7      113:12 116:17
       41:24 42:13,18     165:5 166:11      quoted 284:5        58:6 59:25        126:13,25
       109:12 110:12      167:4,7 169:20    quoting 166:19      60:2,8,11,15      127:3,21
       114:13 129:17      181:10 191:5,7     166:22                               131:25 135:16

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 332 of 348 PageID:
                                   61106
                                     Robert Kurman, M.D.
                                                                                      Page 366

        153:3,3,5          30:7 40:18         281:6              114:23           referring 17:1
        155:4,8 159:3      41:14 42:21      receiving 280:16   reduction            17:23 30:4
        161:10 163:1       44:24 50:12      recess 61:15         116:25 117:13      37:13 48:17
        174:2 186:7        54:3 83:10,19      118:7 178:14     refer 10:22 32:6     51:14 53:12,14
        187:15,17          85:19 95:8,11      255:3 287:2        38:17 170:21       55:15 61:25
        188:3 190:1        100:24 130:7       315:14             237:7 283:11       63:6,15 64:2
        191:4 192:3,6      136:12 141:5     recitation         reference 10:20      68:8 79:3
        196:9,14           142:11 155:4       239:13 273:7       11:6 12:12         92:19 96:3
        203:21 204:10      157:6 165:21     recite 319:5         13:2,20,21,24      107:7 126:2
        204:17 215:23      178:24 179:1     recognition          14:10 30:15        158:24 166:12
        217:17,19          204:8 239:11       135:11             31:10,19,24        169:7 174:10
        218:9,10 220:9     274:18,22        recognize 11:25      33:9 36:11,14      176:10 186:12
        224:4 230:16       277:20 282:4       25:10,20 31:22     37:18,21,24        212:15 226:15
        253:21 263:16      285:6 296:15       125:19 261:8       38:2,19 41:11      232:9 237:22
        270:23 272:25      296:19,20          274:21             41:18 42:8,11      240:18,21
        286:15,16,22       307:4,24         recognized 15:3      42:13,17,18,22     241:8 246:17
        287:7 289:8      Realtime 1:16        251:16 260:7       43:17 93:17        247:1,7 248:10
        314:14 316:10      327:20           recognizes           102:22 103:19      250:20 251:7
        317:9 318:11     reason 15:23         275:3              160:25 161:10      258:11 269:13
        319:12 320:10      30:19 33:3       recommend            161:15 164:9       277:11 280:6
        322:2,9 325:23     43:17 44:12        212:4,12,24        172:12 240:14      290:20 312:19
        328:3 330:4        77:6 103:6         213:20             240:17 245:12    refers 50:13
      reader 17:10         123:21 141:20    recommendat...       253:18 265:7       144:6 221:8
        208:4              142:6 179:9        28:12              267:3 270:5      reflect 149:4
      readily 154:15       182:22 183:2     recommendat...       314:2 318:4,5      163:11
        191:10 229:12      192:1 249:11       304:5              318:10,13        reflected 33:9
        298:11             253:12 328:5     recommended          320:4 321:8        163:20
      reading 9:9          329:6,8,10,12      288:25           referenced         reflects 163:7
        17:13 34:6         329:14,16,18     reconcile 274:14     10:14 11:10      refractile
        89:11 115:9        329:20,22,24       274:16             75:9 78:23         256:23 258:7
        116:6 153:7      reasonable 83:3    record 7:4,13        103:1,18         refute 309:1
        166:4,6 172:15     136:25 175:24      42:10 61:14,17     161:21 172:17    regard 47:16
        187:23 188:20      210:7,23 229:5     118:6,9 149:4      190:16 191:1       128:8 130:2
        192:8,11           229:8 298:1        178:13,16          216:24 241:15      144:13 165:24
        194:13,18          323:17 324:16      192:9 193:8        255:6 264:1        167:12 172:7
        196:11 242:3     reasons 291:15       255:2,5 286:22     269:23 279:11      222:18 223:22
        248:13 270:20    Reath 2:20 7:25      287:1,4 289:8      283:6 321:3        223:24 227:9
        275:22,25        recall 61:1 78:3     315:13,16        references 32:7      240:23 254:10
        300:11 321:22      79:8 102:21        326:4              64:15 160:22       299:7 303:13
      reads 264:19         107:10 187:22    recorded 327:10      161:19 266:10      307:13 319:3
        270:14             187:23 248:3     records 236:15       266:13 316:11      322:5
      real 313:18,18       250:24 253:22    reduce 114:19      referencing        regarded 90:17
      reality 313:19       259:20 300:11      123:21 125:7       283:12           regarding 17:19
      realize 72:6         314:11           reduced 76:14      referred 9:17        29:6 35:25
        218:2 297:10     receipt 328:14       106:22 107:5       51:7 85:1          49:25 98:7
      really 15:11       received 37:18       107:13 114:15      219:4 233:24       166:7 187:24
        18:12 29:19        204:21 206:10    reduces 113:22       236:1              223:14 315:23

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 333 of 348 PageID:
                                   61107
                                    Robert Kurman, M.D.
                                                                                    Page 367

        318:20             232:13         report 4:12,19     reporter's           81:18
      region 5:6         relying 133:5,6    9:17 10:20,21      327:12           resisted 15:22
        116:24 190:23      222:2 308:20     11:5,8 13:12     reporting          respect 15:25
        287:9 293:10     remember           13:16 17:5,9       192:15 197:3       67:14 90:1
      regional 287:17      19:24 51:25      17:11 27:11      reports 12:19,25   Respiratory
        302:16 303:21      57:10 107:13     30:1 31:16,20      36:11 56:13,16     264:6
        304:14             113:12 114:24    32:23,23 33:25     56:22 93:11      respond 28:1
      regions 76:24        134:20 149:12    34:4,16 35:18      129:12 188:18      53:13 54:8
      registry 236:4,6     156:24 169:25    35:24 36:5,22      265:7 270:18       73:21 186:23
        236:11 237:15      187:5 188:20     37:17,20 38:1      319:12             186:24 190:7,7
        238:7              189:18 209:12    38:5,16,22       represent 8:18       251:8 274:15
      regular 120:10       251:3 259:21     54:12 57:8         306:6            responded
        134:23             261:14 267:5     67:2 92:7        representing         323:13
      reject 27:19         270:8 277:2      108:17 109:13      293:10           responding
        29:2               279:5 309:10     113:8,9 114:13   reproduction         17:11 61:8
      related 289:18       309:23 315:4,6   114:24 128:15      327:24             253:11 267:6
        289:25             323:3            135:4 137:10     reproductive       response 4:14
      RELATES 1:7        remembered         145:9 193:2        107:24 127:20      11:16 59:12
      relationship         57:17            214:3,16           127:23 292:17      63:22,24 64:2
        17:20 91:9       remembering        215:16,20          293:5              67:10,14,16,19
        302:17             250:22           218:21,24        reputable 211:5      68:4,22 69:3,4
      relationship,'     remind 162:2       224:4 225:8      request 252:21       69:14,16 70:3
        273:19           removed 200:18     227:24 228:12    requested            70:4 84:16
      relative 100:6       216:13           228:14,15          236:17             98:21 100:15
        284:19 285:3     rendered 147:24    230:14 231:7     Requests 4:15        101:1,16
        290:22,25          152:1 153:14     231:16 234:1,3     11:16              149:17 150:17
      relatively 237:3   rendering          236:6 239:15     require 136:12       162:11 178:20
        291:21             154:18           239:16 250:17    required 233:13      178:23 181:17
      release 225:1      repeat 49:11       250:23 261:5     requires 101:3       182:6 186:1
        254:1              50:25 63:18      267:11,13        requiring 265:5      190:9 201:13
      relevance 274:2      66:21 95:4       268:4 275:8      research 9:7         204:14 229:21
        308:24             96:2 97:13       277:18,22          20:6,8 22:16       242:24 246:17
      relevant 37:1,4      102:3 111:1      278:20,22          22:24 23:2         247:1 249:2
        37:16 185:22       124:15 141:24    280:5 284:18       41:5 74:12         251:17 258:2
        282:5 317:6,10     148:15 157:23    291:24 292:3       76:7,16,21         274:10 275:3
        317:20 320:12      165:4 240:20     293:13,14,20       204:23 205:16      325:1
      reliable 29:1        295:9 300:25     307:11 308:15      206:11 220:1     responses 63:16
        66:19,24           310:13 317:16    308:17 315:18      316:6              203:22 239:22
      reliance 39:20     repeated 280:16    316:10           researched           245:23
        39:23 66:7       repeatedly       reported 128:13      17:20 18:5       responsibility
      relied 13:19         191:24 322:25    129:2 197:4      researchers          28:23
        67:7 241:19      repeating 97:15    228:19 253:10      76:24            rest 110:11
        307:16,17,19     rephrase 42:4      266:18 267:7     resection 154:23     223:9 270:20
        308:22 316:12      43:15 63:18      293:8 311:4      Residents 119:8      316:17
      relies 224:8         83:24 119:25   reporter 1:16      resistance 84:7    rests 109:4
        285:14             122:10 140:2     8:5,10 194:18      88:11,19         resubmit 27:20
      rely 32:19,21      replicate 281:16   327:5,7,20,25    resistances        resubmitted

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 334 of 348 PageID:
                                   61108
                                     Robert Kurman, M.D.
                                                                                  Page 368

        28:2               297:13,24        63:9,16,24       196:4 200:3,24     280:4,14,19,20
      result 88:12,19      317:14,20        64:4 68:17,22    202:12 204:8       280:23 281:2
        165:9,14           318:20 319:15    72:17,23 74:11   205:18 206:19      281:10 282:7
        201:23 224:22      320:12,13        74:15,22 79:12   207:3 209:2,3      282:18,25
        271:21 278:11      321:14           80:1,3,15        209:9 211:2,6      283:5,20,23
        299:19           reviewed 14:13     84:25 85:4,18    211:13 212:13      284:8,10,16,21
      resulted 73:14       20:24 21:16      87:3,18,21       212:24 214:3       285:6,9,17,20
        294:16             30:16 31:8,9     88:4,12,14,20    215:1,5,9          285:23,24
      results 186:8        32:25,25 33:7    89:2,7 91:13     216:22 218:9       286:5,14 291:2
        264:24 265:19      33:11,13 36:17   92:11 94:7       218:12,18,22       292:12,22
      retained 132:11      36:20,22 40:1    95:1 96:25       218:25 219:13      293:1 294:5,17
      retired 14:17        66:2 203:5       100:11 103:19    219:22 221:15      296:7,12 297:2
        187:13 211:17      204:15 213:10    105:2 106:11     222:25 223:20      298:14,24,25
        211:21             317:23 318:25    106:13,13        225:13,16,25       299:4,12
      retrograde           320:7,10         108:21 109:14    226:10 227:1       301:18 303:11
        108:2,3,11,25      321:17           109:19,22,24     227:10 228:13      305:8,17
        109:6 110:10     reviewer 27:11     111:5,15 115:9   229:5,21           308:10 311:21
        110:21 111:17      27:14,15         115:21 117:20    230:16 231:20      313:1,9 314:18
        112:14,21          197:14           117:22 118:16    231:23 232:10      316:3,15 318:4
        114:15 115:19    reviewer's 27:13   119:8 121:18     232:14,21          318:5,11,12,15
        116:3 119:13     reviewers 27:21    124:11 125:21    233:25 239:9       319:17 320:25
        120:9,21           28:5,7,9,23      125:22 126:5,8   239:14,20,23       322:18
        121:16 122:4     reviewers' 27:18   126:12,15,18     240:7,12,14      right-hand
        123:1 124:6      reviewing 9:8      127:9 128:19     241:2,4,6,23       299:6 302:5,9
        125:4 131:6,19     58:2 212:19      130:19 132:9     242:9,13,25      rise 202:13
        132:23 134:7       315:18 319:16    132:12,21        243:10,11,14       239:2
        134:14,22        reviews 27:12      135:16 136:21    243:20,21,24     rises 239:10
        159:25 161:14      27:25            137:3 140:22     244:16 245:1,5     260:13
        161:24 282:16    right 13:12        142:5,21,25      246:1,14,19      risk 5:20 6:8
        314:5              14:18,23 16:6    143:12,14        247:18 248:12      32:13 89:20
      return 328:12        16:9,12,18       145:17 146:1,8   249:3,8,10,22      92:24 106:22
      revelation 151:6     18:6,20 19:14    146:11 148:11    250:1,4 251:18     107:5,12,13
      reverse 112:2        20:11,12,18,21   149:6,12,15,21   251:23 252:3       113:22 114:15
        119:15             20:21 21:5       150:12 153:21    252:10,12          114:23 117:1
      review 4:19 5:10     22:1,22 23:1     155:5,24 156:1   254:17 255:14      117:13 123:22
        6:7 26:23 27:1     25:2 31:9,17     159:7 161:20     255:21 256:13      126:11 127:12
        27:7,14,15         31:17,22 32:2    161:22 162:12    257:6,9,17         127:22 159:21
        28:7,15,18,24      35:16 36:23      162:17 163:5     258:3,4,9          208:15 258:24
        29:7,22,25         37:5,11 41:25    164:4,17 166:6   261:4 262:17       259:1,16,23,25
        30:2,11 36:16      43:2,7,14,18     167:10 172:20    263:1,7,24         260:1,3,5,7,14
        38:18 39:21        43:22 46:22,23   172:22 178:20    265:23,25          260:17,21
        41:25 65:20        46:25 47:1       179:8 180:14     266:1,5,22         261:1 264:25
        66:3,8,9 93:9      49:3 51:23       180:15 181:16    267:14 271:25      265:20 270:11
        211:16,25          52:7 53:20       182:25 184:13    272:4,9,12,20      270:19 290:18
        212:1 213:18       54:15,24 55:2    184:14,19        275:4 277:1,4      290:22,25
        214:16 216:5       55:6 57:12       187:9 192:22     277:17,24          305:1,4,7,8,15
        237:16 241:23      59:2,18 61:19    193:1 195:4,10   278:21 279:20      305:16,19,20

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 335 of 348 PageID:
                                   61109
                                      Robert Kurman, M.D.
                                                                                     Page 369

        305:23 306:3      Saed's 322:5         233:18 235:23      157:19         see 12:9,16,20
        315:8             safe 91:12           235:25 238:24    sciences 76:10     14:6,9 16:25
      risks 92:8 100:6    SALES 1:5            243:12 246:13    scientific 28:19   17:1 25:10
      Robert 1:12 4:3     Salpingectomy        249:21 257:6       201:20 277:21    26:4 31:14
        4:12,16 7:11        32:14              263:17 265:25    scientist 26:15    33:3,14,19
        8:8,24 11:18      salpingitis          267:6 269:16       26:15 30:10      37:12,14 53:10
        330:12              143:25 160:1       273:12 274:1,4     73:18 170:16     75:7 78:13,16
      Robinson 2:7          160:10             278:17 294:9       210:7 228:25     78:17 79:10,18
        7:16              sampled 303:21       295:4,17,17,23     229:2 317:3,5    79:19,23 80:9
      robust 167:23         304:13             297:17,21          323:17           89:8 92:3,3
      rodents 284:21      samples 104:9        304:17 324:4     scientists 19:2    93:10,22 94:5
        285:5               291:17             324:16             22:11 74:25      94:15,24 96:17
      Roggli 264:7,8      Sandra 5:6         says 20:23 76:4      75:5 129:20      96:22 97:1,5
        264:10,22           190:20 286:13      80:16 81:5,12      130:12 192:15    97:17,21,22,23
        265:12            Sarah 73:6           83:13 84:13        197:24 210:2     98:2,7,7,12,16
      role 62:4 76:18     sat 211:20           90:14 92:3,4       210:14,19        98:17,23 100:6
        82:6,7 87:14      satisfy 47:20        104:5,25           211:4,5,12,13    100:14,20,22
        117:17 143:4      save 103:7           105:16 106:13      211:14 263:11    101:3,7,14,21
        143:25 158:20     saw 14:3 98:22       106:17 111:4       273:23 289:25    101:21 102:23
        160:4 162:1         149:24,24          126:17 127:19      296:9 323:11     103:16,25
        198:5 199:10        203:13 204:2,9     130:17 131:18      324:7,11         110:15 126:13
        273:17              319:5              132:3 152:25     screening          126:17,22,23
      role/impact         saying 21:1 28:9     159:18 164:12      154:16           127:13,19
        302:23              50:18 56:17        169:8 171:12     se 10:1,2 48:15    131:13,15,16
      rolling 139:20        57:5 58:24         172:3 191:9      search 320:2       132:1 137:4
      rose 18:23            59:14,16 60:14     217:21 225:8     sec 193:6          141:17 142:18
      Rotman 2:12           62:6 73:4,25       226:2 232:1      second 32:1        149:18 150:3,8
        7:18,18 171:7       80:21 82:23,24     242:22 249:19      36:11 37:24      152:8,8,17
      route 106:5           85:10 97:1         252:13 256:4       38:15 43:23      153:9,22,22
        300:9               98:23 99:19        266:6,15           44:5 76:1,4      154:8 155:5,15
      routes 106:2          110:23 111:17      268:21 274:12      79:19 103:10     155:17 156:22
      routinely 26:2        121:7 128:7,17     281:12 284:5       214:3 240:4      156:22 157:24
        204:3               128:18 134:24      284:18 287:12      267:19,23        158:2,8 159:8
      Royston 3:3           138:2 140:14       289:12 291:9       268:2,3 273:14   159:15,16
        7:23                140:15,24          293:7 297:25       310:23 318:9     160:19,22
      rule 179:25           156:3 158:15       298:11,22        section 103:25     161:15,17
      rules 228:10          172:16 173:18      299:9 300:18       105:14 126:17    164:23 165:17
        252:22              176:16 181:16      302:10 306:9       127:16 135:4     166:19,22
      RW 266:10             184:13 185:15    scanning 5:5         159:10 160:20    174:1,8 177:16
                            188:9 189:11       26:19 190:22       164:18 169:6     178:2 183:23
              S             191:23 193:9       286:12 287:8       174:4 197:22     185:25 193:15
      S 2:1 3:1 4:10        195:8 204:1        288:2              214:20 216:2     193:19 194:11
        5:1 6:1             208:3 210:12     Schiffman            216:20 239:17    194:13 196:24
      S-j-o-s-t-e-n         210:22 211:11      217:14             267:11 275:8     196:25 197:1,5
        314:5               211:11 221:18    science 17:6         296:21           197:16 199:3,4
      Saed 270:4            221:24 222:2       28:20,24,25      sections 127:12    199:25 202:9
        319:4,11            225:23 233:9       134:6 155:22       134:17 288:14    205:2,12,20,20

                       Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 336 of 348 PageID:
                                   61110
                                    Robert Kurman, M.D.
                                                                                      Page 370

        212:14 213:1       139:7,24          167:1 169:18       269:19 292:4        147:16 152:10
        217:13 231:18      141:18 146:9      174:11,12        serve 139:3           153:7 189:6,8
        235:4,9 236:24     146:10,13,16      177:4 215:2      served 26:23          208:14 217:3
        238:18 240:13      147:22 148:9      235:2,5 240:1    services 1:19 7:5     253:18 263:24
        244:13,15          148:19 149:11     240:4 242:18       183:21              275:23 294:8
        246:7,10 247:9     149:13,17         257:22 264:18    serving 28:15       showed 11:22,23
        250:12,15,15       150:15,20         264:19 267:19      29:14               62:11 150:2
        251:6 252:13       151:9,23          268:2,3,5        set 293:9 316:17      276:25 285:23
        255:13 256:2       152:22 153:1      270:14 273:14      327:8             Shower 23:11
        259:19 261:7       153:12 156:17     273:20 284:17    sets 287:11           23:11 95:2,3,7
        266:11 271:5,6     156:24 157:19     284:22,24        setting 173:8         95:24,24
        271:7 273:5        157:19 160:12     285:12 289:24    seven 92:4          showing 100:3
        274:12 275:23      180:12 182:24     290:7 299:6        192:14 196:7        121:5 127:15
        276:21 277:7       183:24 187:2      306:9,15         seventh 65:15         194:7,24
        278:2 279:8        190:25 191:3    sentences            118:24              196:21 197:18
        280:5,6 283:16     191:22,24         265:17 271:17    sexual 315:4          255:10 270:2
        284:22 294:19      203:19 204:18     290:14           sexually 112:17     shown 50:16
        299:5 308:23       231:4 232:19    separate 288:11      144:19 145:8        63:2 71:14
        309:8 310:19       237:15 267:6    separated          Seyfarth 3:13         72:3 89:10,16
        310:21 321:1       268:17 270:7      173:19             7:21                96:13 139:9
        323:22             274:6 319:4     sequester          Shah 5:11             186:18 201:22
      seeing 25:11,13      321:9,15          185:17 252:2       240:11,17         shows 78:13
        61:1 94:8 98:3     325:15            253:15             241:3,5,7,25        97:21 117:5
        99:21 114:24     sees 191:24       sequestered          246:16,25           146:18 194:1,6
        134:3 200:10       274:12            195:10 196:3       247:24 248:14       194:14,17,21
        237:4 252:6      Seidman 38:9      serous 72:15         249:16              194:24 282:3
        270:8 306:12     select 223:6        73:1 114:5,6,8   Shaw 3:13 7:21        290:24 297:22
      Seely 283:16       selected 39:25      114:10,16,23     sheet 328:5,7,10    side 299:6
      seen 11:19 12:2      222:13            115:6 116:1,9      328:13 330:8      sides 209:8,10
        22:24 23:2       self-destruct       117:1,6 124:8    Shih 13:10            209:21
        24:8 30:18         88:14             135:11,14,19     Shih's 38:5         sign 328:7
        51:25 52:6,8     SEM 194:2,22        136:3 137:20     SHOOK 2:17          signaling 81:17
        52:21 58:5,7     SEM-EDX             138:3 140:8,11   short 108:17          84:8
        58:16 59:2,11      288:16,25         140:17 141:2       164:15 311:12     signature 138:1
        59:17,23,24        296:9 297:4       141:14 144:6,8   short-circuits        221:5
        60:3,4,7,11,14   send 28:6           144:8,10           310:4             signatures
        61:4 62:18       sending 237:16      145:22 146:1,4   shortcomings          137:15 151:17
        63:15 64:22      sense 117:18        146:10,25          219:3 232:24        181:11
        65:2 70:23         215:21 223:8      147:3,4,6        shorthand 8:10      significance
        71:1,15,16         273:20 278:9      148:3 151:8        327:5,7,11          224:6 287:19
        75:16 79:4,7       294:22 297:13     152:11,12        show 22:5,9         significant
        94:20,22,24      sent 27:13          157:25 158:3       72:1 75:2           76:15 77:17
        96:21,21 101:4     213:18 236:17     159:19 160:8       77:11 91:22         81:1 92:23
        101:19 103:21    sentence 34:11      161:13 221:3       97:24 101:3         117:13 208:15
        120:2,3,5,7,17     90:14 91:19       221:23 223:15      102:21 107:11       233:5,20 234:7
        120:18 125:8       93:13 108:21      233:23 234:6       107:13 110:25       235:12 236:22
        134:9,13,16        116:17 143:22     238:20 261:16      127:16 133:24       237:25 272:13

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 337 of 348 PageID:
                                   61111
                                      Robert Kurman, M.D.
                                                                                        Page 371

        274:24 296:17       248:23             236:17             144:22 148:18       59:4 66:4 68:8
        299:11 319:7      sitting 98:14      slight 116:25        150:15 192:3        79:8 87:1
      significantly         201:6,10         slightest 57:23      270:20 287:11       107:12 113:23
        160:11 232:7        211:24           Slightly 117:9     sound 31:17           135:1 144:6
        288:4             situ 109:1         slow 69:10           33:12 66:18         157:18 158:23
      signing 328:9         137:14 288:16      262:25             204:25 206:19       159:20 161:11
      silicate 224:24       288:25 296:10    slowly 167:11        264:14 309:16       187:23 190:2
        229:11              297:5            slurry 263:6       sounds 144:3          209:5 223:4
      similar 70:6        situation 26:1     small 92:16,19       192:20 221:12       224:8 227:21
        207:19 208:19     situations 51:16     186:23 229:17      278:5               242:3 248:6
        224:11,13,22        51:18 125:5        233:5 246:18     source 105:22         253:23 260:20
        226:2,10,13       six 10:24 80:17      253:14           South 3:5             260:24 267:2
        227:3,5 230:3       92:4 125:23      smaller 252:2      space 328:5           274:12 275:17
        234:10,20           192:14 196:7     smoke 272:3        speak 9:4 21:12       307:19
        237:1 238:12        198:16,25        smokers 272:15     speaking 29:17      specifics 91:16
        261:10              199:13 202:24    smoking 273:1        88:22 186:6         257:21
      similar-looking       281:1,6,9        Society 15:20        228:2 298:17      specimen
        158:2               289:25           somebody             308:20              136:17 201:3
      similarities        sixth 65:15          128:14           special 4:19        specimens 58:12
        223:14 224:7        118:21,23        someplace 166:4      169:10              58:17 59:22
        224:21 229:5,8      125:16 216:20    sorry 24:18 61:8   specialize 82:22      188:6
        233:24 234:8      size 185:10,12       89:12 94:11      specialty 15:7      spectroscopy
        234:11              185:13,15,22       102:3 103:10       15:21 16:4          26:20
      similarity' 224:9     187:18,24          115:8 125:23       30:25 86:4        speculate
      Similarly             188:21,24          128:24 134:11    species 81:15         133:12
        303:19              189:23 190:2       145:13 146:15      86:1,7,8,9,10     speculating
      simple 69:10          191:15,23          154:1 159:4,11     86:11 87:1,2        180:11 237:9
        213:17              192:25 194:8       159:12 164:20      254:1,2             292:25
      simplex 100:1         194:25 245:2       168:5 173:2      specific 10:5       speculation
      simply 136:11         245:22 254:10      175:6 191:16       15:13 17:24         113:5 125:10
        252:24              257:9,21 299:2     193:10 194:20      27:22 35:7          133:10,14
      single 186:8        sizeable 293:9       195:20 205:10      40:19 50:13         134:6 312:11
        190:3 243:4,15    sizes 185:20         214:24 217:20      51:6,7 53:22      speculative
        243:18 271:20     Sjosten 314:4        234:3 239:25       54:11 58:3          162:15
        271:24 275:1      skilled 215:8        240:9,14 243:6     68:23 99:5        speed 86:19
        325:21              218:17 219:7       246:23 248:19      113:9 131:5         320:9
      sinuses 80:7          219:20 236:23      255:13 259:10      165:4 212:15      spelled 45:20
      Sir 136:6 222:2       238:9,15           264:18 265:4       212:17,21           314:4
      sit 22:8 35:9       skills 76:9          266:2 267:14       239:15 260:1      spend 31:18
        41:17 56:7        skimming             267:25 268:5       308:7             spends 215:20
        96:25 206:21        203:20,25          270:22 275:22    specifically 17:1     218:20
        211:15              204:12             279:22 284:23      17:11 21:12       spent 9:23 10:2
      site 80:1 136:2     skin 51:25 52:3      300:20,23          23:10,14,20,25      59:21 65:11
        161:12              79:17,19           302:7 306:13       24:20 30:5,20       151:3 187:13
      sites 79:15 80:5    slide 250:12         317:16 324:25      31:13 37:13         204:11 218:24
        80:18 83:13       slides 120:5         325:1              47:1 51:5 54:4      264:11 307:8
        109:10 131:15       203:14 204:6     sort 34:1 70:6       55:15 58:8        sperm 300:3

                    Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 338 of 348 PageID:
                                   61112
                                     Robert Kurman, M.D.
                                                                                     Page 372

      splinters 256:25     327:7 328:4      stenographica...    striking 233:24   97:1,5,17
        258:8            stated 77:10         327:10            stroma 179:15     100:4,25 101:1
      split 263:20,22      130:24 131:1,1   step 47:24 145:1      179:21,24       107:8,9,20
      squamous 82:4        132:6 135:17       176:7,7           stromal 71:5      121:5 122:22
      Square 2:21          155:9 161:18     steps 86:18           180:2           136:24 139:9
      srotman@hau...       186:18 285:15    Steve 7:18          strong 232:20     145:10,21
        2:14               308:18           STEVEN 2:12           260:23,25       150:2 161:20
      stack 10:24        statement 4:18     STIC 135:15           302:18          161:22 163:19
      stage 147:23         17:6 34:19         136:14 137:14     stronger 113:17   163:22 198:7
        151:25 153:13      35:24 53:2,13      138:1,12 139:4      115:5,25        208:13,14
        154:17 165:14      61:20 75:15,24     140:25 141:4        175:12 260:18   215:24 221:8
      stages 152:11,13     76:3 78:1          141:22 146:1        305:23          221:20,22
      stains 234:15        85:18 89:22        151:5 152:18      strongest 260:21  222:3,4,10,13
      stand 16:22 54:8     90:19 91:25        152:19 155:15     strongly 288:9    222:24 223:3
        157:4              93:1 106:3,20      155:17 157:24     structural        223:23 232:16
      standard 202:2       114:17 124:2       158:2,4 179:19      226:21          232:17 233:2,5
        202:14             124:12,15,18       181:12,12         Structure         233:25 234:2
      standpoint           125:1 128:6        211:6               226:21          235:14 236:1,3
        29:21 47:25        129:16,18        stick 46:14         structures 19:10  236:5,11,16,19
        222:22 226:21      130:3,6,8          140:11            stuck 227:13      236:20,22
        235:3,12 282:2     131:24 145:25    STICs 137:16        students 119:5,9  250:25 251:1
        320:16             151:22 152:25      141:19 142:4,7      130:12 254:6,9  253:21 268:23
      starch 314:9         153:2 155:1        146:3,9 151:15    studied 23:10     269:3,5,13,13
      start 71:24 72:9     158:7 160:24       151:18,19           24:17,19 25:14  269:20 274:6,9
        72:15,16,20        166:21 184:5       152:11,13,15        65:5 82:17,21   274:20 276:4
        106:25 138:3       207:21 232:8       152:16 156:24       245:3 251:15    284:5 287:16
        220:25 223:10      240:10,23          221:5               281:1 287:22    289:19 290:1
        302:4 325:24       241:2,20         stimulate             298:4 322:6,12  290:10 303:23
      started 42:23        247:13,20          142:23 143:23     studies 18:19,22  303:24 307:16
        53:17 158:7        249:6 261:8        145:4               19:2,4,9 21:24  307:20,22
        319:4              292:21 302:24    stimulates            22:20,24 23:3   308:20,25
      starters 32:4        304:12 305:24      144:15              30:13 31:15,23  311:15 315:2
        50:8 70:17         307:17 324:23    stimulus 190:13       32:11,19,22     316:20,24
      starting 140:17    statements 79:5    stomach 54:6          33:1,1,8 35:10  317:24,25
        169:7 221:14       128:8 204:10       83:15               39:1,1,16 40:6  318:3,9,13,25
        231:21             207:24 209:1     stop 124:21           40:15 41:9,19   319:1,7,13
      starts 12:14         230:6 261:5        196:17 225:5        41:20 42:6,16   320:2,8,10
        71:24 139:19     states 1:1 7:9       228:9 252:21        42:23 43:6,18   321:10,12,14
        150:7 176:6        77:3,23 80:18      253:1,8             43:24,25 44:7   325:15,23
        193:15,22          90:22 276:13     stopping 58:19        44:25,25 45:1 study 23:14 24:2
        242:10 256:1       299:6            store 304:10          46:19 71:13,16  26:10 30:3
      state 8:23 90:11   stating 111:24     Street 2:5,18 3:5     72:3,3 73:14    32:5,15 33:11
        90:23 113:8        128:12 189:3       3:14                73:17 74:1      33:12,13,23
        135:7 188:13     statistically      strength 45:4         77:23 78:3,4    35:5 38:6,9
        220:15 231:16      208:14 302:20      100:25              78:10,13,16     92:8 93:19,20
        235:2 264:22     stay 229:16        strike 24:9,18        92:5,12 93:13   93:24 94:3,5,8
        267:20 271:18      314:20,20          100:11 305:12       96:4,17,22      94:15,20,23,24

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 339 of 348 PageID:
                                   61113
                                     Robert Kurman, M.D.
                                                                                     Page 373

        122:8,21           304:16 308:12    subtle 95:9        summarized        sure 11:9 18:25
        133:24 134:3       308:22,23        subtype 50:13        232:25            20:25 27:3
        152:10 154:13      309:3,4,5,12     subtypes 269:1     summarizing         32:1 34:7 42:3
        155:7,11           309:23 310:18      269:7              302:4             43:16 44:16
        158:13 162:21      311:3 312:19     successfully       summary             51:1 53:19
        162:25 169:8       313:8 314:3,7      28:4               273:10 289:2      58:21,22 63:20
        190:20,25          314:7,11,12,15   suffering 76:14      290:15            64:13 66:22
        192:7 194:3,23     314:21 315:5       179:4 304:2      summation           72:15 74:3
        202:23 203:5,9     318:1 319:4,5    sufficient 77:10     187:24            83:25 108:15
        205:25 211:25      319:6,11           79:16 80:5,18    superimposed        114:4 115:9,10
        212:4,12,20,22     320:19,24          80:22 91:21        200:11            120:1 124:16
        213:1,4,10         321:7,9,15,22      231:11           supervision         132:2,5 138:17
        218:2 222:5        321:24 322:5,9   sufficiently         327:25            140:3 148:16
        228:20 232:14      325:21,24          167:23 238:12    supplemental        150:12 155:5
        237:21 240:11    studying 219:22    suggest 67:4         12:12 37:18       155:21 161:9
        241:5,7,19,22      229:2 264:11       71:16 77:24        38:19 39:2,16     169:2,20
        244:24 247:14      271:7              78:11 92:12        39:24 40:7        172:24 178:11
        248:1 249:3,5    stuff 188:3          93:14 163:23       42:12 43:14       185:22 186:20
        249:9 250:4        228:23             164:10 215:2       314:2             194:16 201:4
        252:1 262:12     subheading           218:25 230:9     support 47:15       212:11 216:4
        270:3,5,7,8,9      105:14 154:11      233:25 241:25      160:13 164:2      219:6 224:3
        270:25 275:1       169:4 273:3        253:12 260:13      198:5 221:21      231:1,1,5
        276:12 277:9     subheadings          265:9 303:15       224:19 232:14     238:24 239:17
        277:12 279:4       126:23           suggested            239:24 240:10     240:23 242:5
        281:1,21 282:3   subject 23:2         138:16 159:23      241:2 247:14      245:6,6 247:22
        282:19,22,25       161:1 328:9        222:23 246:16      249:5 251:1       254:25 255:14
        283:10,12,17     submit 28:11         300:12             268:14 273:19     272:6 273:25
        283:20,24,25     submits 27:11      suggesting           279:2 280:2       277:10,19
        284:7,16         submitted 9:8        63:13 121:13       282:5 283:13      279:3 289:9
        285:11,14,18       27:3,9             155:17 202:22      309:1             290:5 295:10
        285:24 286:5     submitting           213:10 219:7     supported 205:7     301:1
        286:10,15          28:14              246:25 281:18      318:25          surface 71:6
        287:7,12 289:3   subscribed           281:20 291:19    supporting 5:19     121:3,19 126:3
        289:9,10           327:14 330:14      294:2 312:20       45:2 270:10       126:16,22
        290:14,21        subset 292:1       suggestion           282:3             127:5 159:24
        291:3,6,6,10     subspecialty         122:23 164:15    supportive          161:23 221:5
        291:16 292:2       15:3,6             224:20             114:25 115:2      221:10,15
        292:21 293:8     substance 68:9     suggestions          115:16,18,22      222:10,11
        293:14,18,20       91:2,3 99:22       304:9              284:4,9,10,12     224:25 288:5,7
        293:22 294:3       256:6 330:7      suggestive         supports 20:23      288:18 293:24
        295:14 297:10    substances           182:14 184:20      160:7 281:19      296:11,21
        297:17 298:5       90:15            suggests 83:6        283:25 312:20     300:17 301:15
        299:24 300:11    substitute 172:5     115:11,14,15     supposed            301:18 302:19
        300:13 301:3,4     313:4              164:16 202:24      227:24 253:7      307:20
        301:5,7,11,12    substituted          238:11             319:19          surfaces 184:9
        302:13,25          145:25           Suite 1:14 2:12    suppressor        surgeon 123:14
        303:10,14        subtitle 184:4       2:18,21 3:9        88:23           surgeons 239:1

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 340 of 348 PageID:
                                   61114
                                      Robert Kurman, M.D.
                                                                                  Page 374

        239:6             T 4:10 5:1 6:1      56:25 57:7,19    192:15,18        273:13,15,17
      surgery 136:18        329:2             58:2,10,25       198:1,3,5,9,11   273:23 274:1,7
      surgical 26:16      T-a-h-e-r 33:13     59:7,8,12        198:15 200:3,7   274:10,15,17
        29:21 30:12       table 79:10         61:20 63:2,5,6   200:10,17,25     274:21 275:2,9
        58:12 61:2          82:11 89:7        63:9,14,14,23    201:5,10,21      275:12 276:5
        63:7,8 64:3,4,9     193:25 194:23     64:1,3,8,11,17   202:25 203:22    276:13,14
        64:10 69:22       Taher 6:9 33:13     66:15 67:4,10    204:14 207:19    277:4,13,15,23
        136:16,17           320:24 321:7      67:20,21 68:8    208:16 210:6,9   278:10,11
        157:9 188:8       take 11:24 39:17    68:12,21 69:1    210:24 221:21    279:5,16 280:3
        204:3 220:2,2       58:20 61:11       69:13,22,24      223:14 224:7     280:15,17,21
        234:21 238:9        73:15 110:17      70:7,8,14,16     224:21,23,24     280:24 281:2
        240:7,9 241:1       118:1 120:2       70:21 71:11,17   225:24 226:7,9   281:16,21
        242:1 244:5,13      123:6 134:9,14    73:10,14,21      226:20 227:9     282:23 283:13
        244:17 245:4        167:5 178:10      90:16 91:17      227:20,21,25     284:1,1 285:7
        245:24,25           191:4 192:6       95:5,14,25       228:12,18        285:16 286:18
        246:10 247:16       193:7 239:12      96:3,7,10,10     229:10,14        287:9,14,16,20
        248:12              254:23 270:13     96:11,11 98:8    230:14,18,19     287:22,25,25
      surgically 123:7      286:22 315:10     98:21 99:20      230:22 231:12    288:4,8,9,15
      surmising 294:2     taken 33:5 61:15    100:7 101:24     233:1 240:7      288:17 289:1
      surprise 131:11       75:13 118:7       102:2,8,12,16    241:1 242:1,25   289:16,21
        151:6               120:6 144:3       103:25 104:6     244:18 245:2     290:3,11,18
      surround 67:13        178:14 201:5      104:11,13,15     245:24 246:1,7   291:16,18,20
        243:3               211:17 255:3      104:19,20,22     246:16,18,25     292:5,6,11,12
      surrounding           287:2 288:1       105:7,23 106:6   247:2,10,16,18   292:15,16,22
        256:21              299:10 315:14     107:23 132:14    247:24 248:9     292:25 293:9
      Susan 73:5            327:8             132:18,22        248:10 249:2,7   293:25,25
      suspect 136:25      takes 120:4,9       133:8 134:4      249:19,22        294:3,10,17,25
        237:1               121:18            139:2,3,8        250:10 251:16    295:4,13,19
      suspicion 204:6     talc 5:5,15,22      143:19 148:8,9   251:17 252:2     296:10 297:5
      suture 60:9,22        6:5,8 7:8 17:21   148:20 149:13    252:15,16        298:6,11,22
        242:25 244:5        18:10,20 19:10    149:16,17,21     253:11,13        299:11,19,19
        245:4 246:10        20:4,6,23 21:5    149:24 150:14    256:5,7,10,17    299:24 301:6,8
      sutures 60:21         21:19,25 22:13    150:16,20        256:21 257:5,8   301:9,14
        61:2 240:8,9        22:17,17 23:6     162:4,9,25       257:8 258:2,9    302:12,14,23
        241:1 242:2         23:10,15,18       164:23 178:19    258:12,14,16     303:1,18,25
        244:13,17           24:3,12,15,19     179:11 180:7     258:24 259:16    304:2,17 305:1
        245:24,25           24:25 25:8,9      180:15,16,22     261:6,10,12,15   306:3,4,10,18
        247:16              25:13,14,19       181:17,19        261:19 262:13    306:24 307:5
      swear 8:6             26:11 29:6,11     182:5,7,23,24    262:15,15,16     307:14 309:1
      sworn 8:9 327:9       29:22 30:14       183:4 185:21     262:25 263:6     309:12 310:1,1
        330:14              31:2 33:8         185:24 186:12    263:12 264:20    310:9,20
      system 248:22         35:25 41:10,20    186:15 187:17    265:2,9,13,21    311:16,20,25
        299:12              42:7 47:10        187:25 188:13    266:1,16,22      312:1,4,12,21
      Systematic 6:6        49:13 50:12       188:23 189:11    267:9 268:14     313:4 314:8
      systemic 67:10        51:5,5,11,14      189:17,21        269:14,21        315:7 316:14
                            51:15,19 52:2     190:8,23 191:8   270:16,18        317:14,21
             T              55:13 56:9,19     191:10,21        271:20 273:4,7   318:20 320:3

                    Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 341 of 348 PageID:
                                   61115
                                     Robert Kurman, M.D.
                                                                                      Page 375

        321:18 323:1,2     146:12 147:11      158:23 183:4       307:15 319:23      322:15 325:9
        323:16,20,24       147:17 148:2       196:23 197:20      320:20 325:13      326:2
        324:18,21          151:15 155:6       198:13 220:17    testify 34:20      theory 128:15
        325:7              159:20 162:9       220:24 236:19      319:24             128:19 211:6
      talc-based           162:11,12          240:21 250:9     testifying 35:2      213:19
        268:23             165:22 167:13      251:10 254:23      206:22           thereof 327:11
      talc-induced         168:8 169:12       263:22 274:25    testimony 16:22      327:14
        239:13,18          170:18 174:4       277:20 278:3       33:4 35:1,7,13   thing 11:6 98:10
      talcum 1:4 5:19      188:17 196:18      285:7 286:21       37:16 39:5         157:24 176:21
        17:19 18:6         200:18 209:11      297:12 305:10      40:20 52:10,14     178:1 179:1
        49:25 50:2,4,6     209:13 211:3       319:10             54:4 62:17         185:21 203:5
        58:13 96:5         213:2 226:24     telling 17:2         73:9 120:19        205:19 226:5
        106:1,5 148:17     226:24 228:6       71:11 259:11       129:17 148:12      233:25 237:1
        207:17 267:20      233:2,2 236:21   tells 137:3          148:14,22          258:5 275:25
        268:8 270:10       245:23 247:17    TEM 291:11           149:1,7,22         277:17 281:25
        275:18             258:8 285:14     ten 9:13 10:8        150:13,19          325:4
      talk 47:1 99:12      285:21 289:7       92:4 100:6         157:22 164:12    things 9:18
        99:21 103:8        291:24 292:9       156:19 257:25      199:13,21          12:11 25:6
        104:23 105:19      293:13 307:8     tend 50:10 124:6     202:5,6 203:3      30:22 62:4
        110:13 116:15      313:20,23        teratomas 60:4       252:21 268:12      84:7 148:7
        144:10 158:17    talks 127:12       term 44:18           309:7 327:9        161:22 179:13
        165:12 173:3       291:23             45:23 46:4       testing 14:14        213:7 214:19
        173:21 189:20    taught 254:6,13      47:6 48:3        Texas 2:18           220:25 230:3
        193:13 222:18      254:16             50:11 51:4       text 164:12          233:14 257:1
        222:19 249:1     teach 254:9          53:2 82:1        textbook 65:16       289:7 301:3
        286:23           teaching 9:7         95:13 104:16       118:12,16          316:8 322:6
      talked 100:23      technical 303:5      104:25 137:9       119:1,2,5          325:24
        144:5 199:7,8    technique            169:23 170:17      128:8,16 129:5   think 8:17 13:11
        222:6 227:7        300:14             170:23 176:9       130:11,16          16:13 18:23
        242:12 278:14    techniques           260:4              131:12 132:9       20:22,24 25:7
        299:17 315:1       26:21,22         terming 58:4         153:24 155:2       25:24 29:20
        316:5              169:10 291:11    terminology          159:2 163:5,7      33:7,25 36:8
      talking 21:21,23     303:6              67:8 227:13        163:21 168:24      36:17 37:7
        25:16 30:3,3     technology         terms 29:24          184:2 208:22       39:15 44:9,21
        31:19 53:3,8       296:16             48:11 50:12        209:2 216:17       46:19 47:22
        53:17,19 54:3    Tecum 4:17           151:6 173:24     textbooks            48:20 50:8
        54:5 55:4,5        11:18              176:14 260:24      128:10 216:1       57:3 65:22
        59:5 60:5        tell 16:18 34:5      277:21 308:12      305:1              66:14,18,23
        70:17 71:3,7,9     40:25 44:19      terrible 106:25    thank 12:7           67:7,8,14,21
        71:22,23 72:13     46:1 47:25         319:14             14:21 40:4         68:7 70:25
        75:7 86:25         54:8 93:10       Terry 33:11,12       48:23 61:12        71:20 89:4
        87:1 92:14         96:22 101:21     test 218:7           88:2 103:11        92:23 96:9,23
        93:18 95:5         102:6 113:11     testified 8:11       110:16 154:3,9     103:21 104:3
        98:6 105:10        115:8 118:3        16:11,15,17        159:13 191:18      113:1 114:16
        110:21 115:19      135:22 136:8       30:6 48:25         205:13 217:11      120:4 125:10
        119:14 123:3       136:19 142:10      134:13 187:9       228:3 241:11       125:11 126:24
        127:22 145:12      143:22 147:16      208:25 226:6       255:16 279:24      131:9 132:22

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 342 of 348 PageID:
                                   61116
                                   Robert Kurman, M.D.
                                                                                 Page 376

        133:18,19,22      323:7,19 325:6   61:13,16 72:24   119:24 128:5     Titled 4:19 5:4,9
        134:19 135:3      325:21           94:9 99:17       134:18 148:11      5:15,18,22 6:4
        136:24 137:19   thinking 17:15     108:4 109:7      148:20 150:17      6:6
        139:10,22         144:21 145:6     118:5,8 120:6    150:25 151:1,4   today 12:6 29:6
        140:5,19          158:24           120:11,12,14     157:12 165:1,8     29:15 35:9
        143:18 148:6    third 65:14        134:25 153:4     179:3,6 180:2      40:16,22 44:15
        149:3,10,23       108:21 118:23    155:24 162:20    180:3 182:1,12     48:10 56:7
        151:16 152:16     153:4 169:6      164:25 165:7     182:14,25          199:13 275:11
        154:6 155:12      268:5,20         167:10 177:3     183:10,13          318:15 319:6,8
        166:25 167:10     313:15           178:12,15        187:18,19          321:9 322:25
        167:22 168:10   thirty 328:14      191:4 192:6      188:14,24          324:21
        172:8 176:2     thought 24:21      193:7 203:4,19   189:4,7,12,18    today's 7:5 39:2
        179:9,15          37:4 45:13,25    211:20 222:17    189:22 191:22    told 17:2 57:1
        180:16,23         46:7 54:11       229:16 251:10    192:17 198:10      67:21 133:18
        181:6 183:2,4     57:1 100:1       255:1,4 271:13   200:11,12          202:8 203:8
        184:25 188:2      109:20 112:20    282:18 286:22    201:23 221:9     tool 46:23 63:7
        189:4,9 191:3     116:10 174:10    286:25 287:3     240:6,25 245:3     64:3,10
        199:2,9 208:3     182:7 212:2      290:16 300:3,4   245:25 247:15    top 12:18 34:9
        208:5,9 210:9     214:2 231:11     307:8 312:7      247:17,25          38:15 89:12,13
        215:14 223:4      259:10 266:24    313:8,16,21      248:5,10 249:2     145:15 191:7
        223:25 225:17     267:2 275:11     315:12,15        249:7,10           200:12 201:11
        226:6 227:24      279:10 316:2     319:6 320:10     250:25 251:16      231:21,22
        228:5 233:15      320:11 323:2     320:12,13        253:12 258:3       235:8 280:8,11
        234:16 236:7    thousand 74:25     321:21 322:20    264:13 273:4,8     289:11 293:23
        238:16,17         245:5,7,9        326:3 327:8,9    273:9,13,16,24     298:10 309:22
        239:10 240:18     246:1,4,13       327:10           273:24,25          315:6
        243:15 244:22   three 12:13 14:7 times 16:8,10      274:2,7,18,22    topic 20:11
        249:11 254:13     80:17 92:3       136:1 152:19     275:2 278:12       21:12 23:1,5
        254:19 260:20     161:22 169:1     153:22 201:13    288:1,16,18        33:8 161:21
        260:23,24,25      192:14 193:12    202:10 213:23    293:24 295:1       253:24 270:24
        261:8 263:20      231:20,24        233:9 245:5,7    295:20 296:11    topics 209:21
        266:7,7 267:1     257:16,24        246:1,4,13       296:12 297:5       317:6 319:24
        272:22,22         260:21 292:7     272:4            300:15,16        totality 210:8
        273:14 274:15     297:2,16       Tiourin 116:19     301:13,14,15       323:18 325:5
        274:16,17,24      304:25         tissue 24:17,20    307:25 308:11      325:14,18,19
        275:15 276:21   three-dimensi...   24:24 25:1,3,6 tissues 23:15      totally 91:7
        278:18,20         111:13           25:6,9,10,14     110:24 192:19      144:9 150:3
        283:24 284:4    three-quarters     25:16,20 26:2    198:1,4 204:3      230:10 277:3
        295:23 296:22     302:9            52:7 58:16       223:7 229:16       278:5 312:11
        296:24 297:9    thresholds         59:13 60:15      286:17 288:13    touch 35:5 310:7
        298:7,7,8         233:13           61:6 67:12       288:24 302:15    touched 291:7
        300:6,24        throw 50:10        68:22 81:15      303:1 306:21     towel 201:6
        301:24 302:1    tie 123:16         85:1 94:1,2      307:5 316:15     towels 200:23
        307:12,16       time 7:6 9:3,23    101:15 109:7   title 126:15       track 10:1
        308:23 312:14     10:2,12 14:3     111:1,9 112:3    161:11 205:7     tract 5:13
        312:23 315:11     16:17 18:5,16    112:15,24        264:20,20          107:24 118:14
        318:24 322:14     22:18 31:18      115:20 116:4     270:9 279:5        164:3 255:11

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 343 of 348 PageID:
                                   61117
                                      Robert Kurman, M.D.
                                                                                       Page 377

        292:18 293:5      trickle 262:25       142:23,25          79:15 80:1,5       290:14 318:4
        299:18 300:10     tried 29:10          143:17,24          80:18 100:10       322:17
        314:6,10            36:18 51:2         144:1,16,23,24     136:9,21 137:2   type 50:18 51:7
      trade 12:7            204:20 209:23      145:1,5,22         145:1 155:24       51:9 52:17
      train 15:11         tries 185:17         146:17,20          158:11 165:20      53:15 54:17
      trained 135:22      trigger 68:4         147:12 179:16      184:10 237:14      55:7,7 58:3
        136:8             trouble 105:4        179:22 180:7       238:7 287:23       59:6 60:11,14
      training 220:7      true 17:20 25:21     180:16,17        tumors 59:25         63:1,5,14 64:2
      transcribed           48:16 69:20        181:18 316:23      62:3 126:3,16      64:20,25 68:23
        327:11              83:8 86:23         316:24             127:6 137:17       69:14 70:21,22
      transcript            104:12 109:25    tube 71:25 72:10     137:20 138:2       71:9,11 73:10
        327:11,12,23        130:10 145:25      72:21 73:2         144:7,11,14        73:11 82:3
        328:14,15           162:17 163:25      111:20 114:20      146:24 147:4,4     85:17,22 95:10
      transcription         175:19 185:3       116:12,22          159:19 160:8       96:8,11 100:1
        330:5               221:23 245:20      120:6,18,21        160:12 161:17      137:17,20,24
      transformation        262:14 273:12      123:7,16           165:17 233:6       138:2 141:18
        87:16               304:23,25          134:17,19          234:10 235:13      160:8 161:16
      Translocation         327:11             135:2,13,20,23     235:23 236:16      162:6 164:23
        5:22 279:5,16     truly 305:19         136:9,20 137:5     236:17 293:17      165:9 167:17
      transmigration        307:3              137:18,21,23     turn 103:24          178:22 212:1
        308:24            truth 16:18,18       138:4,5,10,14      121:18 193:4       254:11 257:7
      transmission          17:2,2             138:19 140:17      195:16 197:21      257:11 271:24
        26:19 93:25       try 10:5 40:22       143:6 144:15       267:14 289:11    types 53:20,24
        291:12 300:15       154:4 251:7        151:17,20,21     turning 122:19       54:13,19,20,21
      transmitted           261:7 282:1        161:12 190:14      153:23             55:1,9 59:8
        112:17 144:19       317:9              221:4 255:20     twice 8:17 153:3     61:21,24 62:7
        145:8             trying 33:17         307:25 313:15    twisted 75:25        67:18 80:17
      transported           47:5 53:22         322:7              176:2              84:20 90:2,9
        112:24 113:2        86:19 103:7      Tuberculosis       two 41:18 54:13      90:11 102:1
      transports            128:13 132:4       240:12             54:19,20 55:1      114:2 269:18
        112:2               150:12 223:5     tubes 72:17          80:17 92:3         293:17 322:11
      trapped 248:10        245:21 253:3       108:9,11 109:9     100:16 102:4     typical 245:4
      Travis 2:18           319:19             111:20 112:18      118:17,24,25     typically 27:2
      treat 105:7         tubal 38:10          113:3 117:19       122:4 156:23       52:23 63:6
        261:19              113:16 114:2       122:17 123:23      172:19,21          72:16 123:6
      treated 58:11         114:18 115:4       123:25 124:1       173:4,23           147:23 151:24
        261:23 265:1        115:24 116:2       124:19 131:8       174:21 178:5,8     153:13 154:17
        265:21 266:19       116:21 117:7       131:20,23          192:14 217:23      187:19 188:14
      treats 227:8          117:16 120:8       139:2 151:14       217:25 224:10      219:21 261:19
      trees 103:7           123:4,6,21         280:22 300:5       224:10,11          262:12,23
      tremolite 89:18       125:6 128:1,5      309:15 311:6,9     230:3,6 231:14
        104:14              129:18 130:4       311:17 312:23      231:20,24               U
      trial 16:12 187:9     130:14 135:14      313:1,9            233:25 234:1     ubiquitous
        320:7               136:3 138:3,25   Tucker 3:4,8         234:13 242:10     291:21
      trials 16:15          139:14 140:5       7:22               242:14 257:1     uh-huh 61:3
        230:7               140:14,16,22     TUESDAY 7:1          263:25 265:17     79:20 89:14
      trick 132:4           141:9,10,14      tumor 60:6,6         271:17 278:24     110:22 111:7


                    Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 344 of 348 PageID:
                                   61118
                                     Robert Kurman, M.D.
                                                                                    Page 378

        123:5 174:14      74:21               299:19 303:18    315:1              129:1 130:23
        256:3,14         universe 303:24      306:4          vaginal 170:14       324:25
        273:11 285:1     university 206:5   users 189:18     valid 29:1         viewed 104:8
        291:8            unoccluded         uses 49:18         221:11             165:13
      UK 92:9             131:8               170:17 174:12  validate 28:18     viewing 210:7,8
      ultimately         unreasonable         176:14 311:25  validity 307:6       210:8 323:17
        302:15 303:1      245:15            usual 131:15     value 223:9          323:18,18
      unable 243:4       unrecognizable       162:6          values 218:8       violating 252:22
        307:3             147:25 152:1      usually 52:22    variety 26:24      virtually 15:6
      uncommon            153:15 154:18       112:20 123:12    51:15 84:19        47:11 52:6
        236:24 237:3     unrelated            272:13,18        85:13 128:2        144:18 228:20
      uncontrolled        250:19            uterine 111:8      184:6,16         virus 99:12
        86:14            unreliable 55:22     158:19 160:3   various 67:18        100:1 170:9
      undergo 71:17       56:5 57:2           160:17 161:25    90:2 96:4        visible 191:10
      undergoes          unsupported          162:8 163:3      100:23,24          298:11
        165:15            275:20              164:17           101:2 211:22     visualized 191:8
      undergone          unusual 311:2      uterus 108:5       221:7 232:24       243:7
        117:7            Upjohn 205:8         111:4,14 116:5   268:25 293:17    vitro 71:13 72:3
      underlined          205:15,18,22        121:8,11       vary 123:13          73:14
        155:6             206:13,16           123:11,20      vast 72:25,25      void 327:12
      underlying         upper 194:5,14       125:14 132:15    73:3,3           volume 4:23
        38:25             194:23 280:17       132:19,22      vastly 224:18        103:15 262:24
      underneath         upstream             133:8,19,20,21 Vegas 1:14 7:1,8     263:3
        195:18 196:12     119:15 135:2        134:4 280:21   Venter 280:6       vulva 294:23,23
      undersigned        urinary 79:17        294:12 300:5   venture 210:7        310:6 311:13
        327:7             79:20               311:5 312:22     323:16             314:19
      understand         usage 290:11         312:25 313:7   vermiculite        vulvar 170:13
        14:17,22 21:21    292:5 304:2         313:24           90:16
        31:7 55:19,24     316:14            utilizing 307:20 versa 234:22              W
        68:12 73:7       use 5:20 6:8                        version 207:25     wait 134:11
        74:3 116:15       17:21 18:6,20            V         versus 137:5        205:9,9,9,17
        128:10 176:16     22:13,17 26:21    V 111:6            185:18 257:25     231:18,18,18
        215:18 216:16     44:18 48:3,12     vagina 5:23        287:21            235:4,4 240:3
        219:9 236:10      53:2 65:8 67:3      108:6 158:19   vice 234:22         267:23,23,23
        262:2 298:18      71:10 96:5          160:3,17       Victor 264:7        306:12,12,12
      understanding       106:22 107:5        161:25 162:8   video 7:3,7 8:5    want 10:5 12:8
        29:15 55:12,20    162:7 169:23        163:3,15,24      61:13,16 118:5    15:23,25 19:20
        56:24 57:4        170:1,2,23          164:17 279:6     118:8 178:12      34:19 35:1
        76:25 104:21      176:9,15            279:16 280:18    178:15 255:1,4    36:16 40:19,22
        135:8 219:15      184:13 208:16       294:12,22        286:25 287:3      40:23 44:15
        220:3 275:21      230:2 232:16        300:2 309:2,13   315:12,15         47:23 55:23,23
      Understood          261:1,15            310:3,5,9,14     326:3             57:11 61:11
        35:3              268:23 270:10       310:15,21      videographer        62:2 67:5
      underwent           270:19 281:16       311:1,11,14,21   3:18 7:5          70:18 75:7
        261:12            284:1 287:14        312:4,13       Videotaped 1:12     97:12,17,20,23
      Union 3:3 7:23      288:9 289:16        313:19,20,24     4:15 11:17        98:7,16,23
      United 1:1 7:9      291:18 298:21       314:8,16,25    view 44:23          101:3,6 103:8


                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 345 of 348 PageID:
                                   61119
                                   Robert Kurman, M.D.
                                                                                   Page 379

       110:12 115:9      44:23 46:7        285:14 313:22      257:17 289:9       87:8,14,24
       118:1 124:15      47:16 48:12      we've 8:17 40:21    298:9              88:6,16,22
       125:24 127:21     49:8,15 65:23     43:21 100:23      Westhoff 93:21      90:8,22 91:6
       130:12 131:25     73:21 97:6,8      120:18 129:10     whatsoever          91:15 93:9
       132:5 153:9       105:17 108:8      129:12 139:7       304:19             94:5,19 95:16
       160:21 166:22     120:19,25         144:21 146:13     wheelhouse          96:2 97:15
       168:11 171:2      121:24 129:6      150:20 152:9       102:5              99:3,5 100:22
       173:21 191:4      133:7,17 134:4    152:10,13         white 197:19,19     101:10,18
       192:3,6 193:13    138:11,14,16      155:19 209:23     William 20:16       102:14,17
       195:4 197:16      138:18 141:5      221:1 223:16       199:6              106:8 107:18
       202:14 213:6      160:23 162:21     232:18,23         wish 303:20         108:14 109:16
       219:6 222:16      167:21 168:14     239:21 244:24      304:12,13          110:17 112:10
       224:1 225:4,6     170:21 180:3      299:3 308:8       wishy-washy         113:5,22 114:4
       225:8,18          185:16 187:3      315:20,25          175:14             117:9,22,25
       227:13,18         188:11,23         318:15            withdrew            118:2 120:24
       230:25 231:9      189:11,14        weaker 232:7        211:22             122:10 124:4
       241:9 245:19      199:6 207:11      305:22            witness 4:3 8:6,9   125:10 127:1
       255:14,23         213:9 235:5      website 75:14       10:10 11:22        128:22,24
       257:1 271:12      246:5 249:16     weeds 44:14         12:9 16:25         129:9,22
       273:21 276:1      254:10 255:22    week 156:22         17:23 18:8,15      130:21 131:1
       280:25 282:5      258:22 276:18    weeks 156:23        18:22 19:7,16      132:18 133:1
       286:22 297:21     282:7 285:10     Wehner 5:23         20:2 21:11         133:24 134:11
       303:17 323:6      291:3 297:5       279:4,6,19         22:16 23:14        136:1,23 137:7
      wanted 16:1        298:1 302:9       280:7,9,9,10       26:14 28:23        138:7,22 139:7
       29:16 45:14       314:19 317:25     280:12,15          29:14 30:18        139:17 140:2
       57:17 130:13     ways 120:13        282:19 283:22      35:4,21 36:2,7     140:24 141:12
       258:5             134:24 138:11    weigh 316:7         41:13 42:2,4       141:24 142:9
      wanting 174:6     wayside 223:8     weighing 315:19     43:9 44:3,11       142:18 143:2,8
      wants 10:24        308:13            315:23             45:7,19 46:3       143:16 146:3
       12:5             we'll 73:8        Welch 20:16,19      46:13 47:3,9       146:15,23
      War 92:10          105:13            21:11,22 199:7     48:3 49:11         147:16 148:2
      warn 263:21       we're 33:16        250:3 300:18       50:23 52:15,20     149:8,23
      Washington         44:16 49:12      welcome 31:16       53:8 54:3,17       150:20 152:4
       3:14              53:19 54:3       well-defined        55:6 56:2,12       153:17 154:6,8
      wasn't 19:23       58:4 60:5         242:14             56:21 59:4,20      155:4 156:3,14
       20:5 22:19        71:22 98:6       well-formed         60:19 61:10        156:21 157:6
       62:11 129:6       118:19 127:16     165:17             62:10,18,25        157:16,23
       132:4 172:17      127:22 128:11    well-recognized     63:18 64:6,13      158:13,23
       203:6 212:12      128:13 140:24     119:10             65:4 67:25         161:3,7 162:14
       212:23 213:11     141:2,5 145:6    Weller 279:19       68:7,19 69:7       163:7 164:7,22
       262:19            147:11 148:2     went 15:19          69:20 70:12        165:4,12 166:4
      watched 119:21     158:14 159:19     250:4 289:8        71:3,20 72:12      167:18 168:3,5
      water 224:15       159:20 165:21     294:11 316:2       73:13 74:8,17      168:7,18
       230:2             174:11 218:22    weren't 19:4        75:7 77:3 78:3     170:13,20
      Watson 206:16      233:2,2 237:20    37:6 41:22         81:7,25 82:13      171:18 172:12
      way 9:3 12:24      245:23 253:24     44:12 234:16       83:10,24 84:18     172:24 173:7
       24:8 32:16        258:22 280:6      236:23 251:1       85:12 86:16,21     174:1,22

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 346 of 348 PageID:
                                   61120
                                    Robert Kurman, M.D.
                                                                                  Page 380

        175:12 176:2      262:19 263:3,9    112:16 117:6       197:14 212:11    132:3 145:19
        176:15,24         263:16 265:16     121:6,8,10,12      212:11 215:7     149:13 153:21
        177:11,16         268:17 269:9      121:14,16          235:24 312:3     156:9 157:12
        178:1,8 179:13    269:16 272:6      122:4,4,4,23     wrap 58:21         160:21,21
        180:11,25         272:22 275:6      122:25 123:1     write 11:8 17:15   162:22,24
        181:8,21 182:1    276:8,10,17       131:7,9,22         109:22 154:12    166:8 172:16
        182:10,17         278:1,22 281:6    152:10,12          196:15 197:24    177:21 191:3
        183:15,23         281:12 282:13     155:25 169:11      214:21 303:14    195:6,15
        184:16,25         283:5,16 284:4    208:15 233:4     writing 167:6      197:18 199:11
        185:5,12,20       284:12 289:5      289:20,23        written 37:17      200:20 207:12
        186:6,17 187:2    290:9 291:2       290:2,4 291:13     38:22 129:5      215:25 216:15
        187:21 188:20     292:14 293:3      298:4 300:4,15     135:17 155:2     217:19 228:15
        189:3 190:1,12    294:7,19 295:9    301:8,8 311:7      161:1 168:22     230:17 231:4
        191:5 192:3       295:22 296:14     311:10 313:1       184:2 217:13     233:20 241:14
        193:9 194:20      297:8,20         wondered 204:1      266:8,21         242:19 244:8
        197:12 199:23     299:15 300:22    wondering           324:22           246:12 247:9
        200:9 201:9,19    300:24 301:20     203:11 204:9     wrong 100:7        247:19 248:15
        202:8,19          302:1 303:4      Woodruff 15:16      148:24 150:3     248:22 252:4,9
        203:11,25         304:5,16 305:4    15:24              168:14 199:1,2   256:3 258:18
        204:17 205:2      305:10,19        word 48:1,9         199:9,15         259:10 266:10
        205:12 207:5      307:2,19          67:3,23 172:5      202:25 222:5     272:6,17 276:3
        207:16 208:6,9    308:17 309:8      174:12 184:13      222:24 223:7     277:7 278:17
        208:18 209:23     309:18 310:13     193:22 204:11      223:23 240:16    279:8 281:7
        210:5,16,22       311:23 312:6      204:11 242:15      250:22 308:20    293:3,21 296:5
        211:8 212:8       313:3,11,18       242:17           wrote 17:9 19:2    297:22 298:15
        213:1,6,14,24     314:14,23        words 19:20         38:10 43:4       298:17 300:21
        214:10,16         316:2,10 317:8    25:24 110:9        147:13 163:4     300:22 306:14
        215:12 216:13     317:23 318:17     130:23 153:21      199:24 254:21 year 154:5 286:3
        216:19 218:14     318:24 319:10     162:7 163:17     Wyeth 205:23     years 9:6 15:14
        219:2,11,17,24    320:6 321:15      265:23 296:11      206:16           41:8 59:21
        221:20 226:15     321:21 322:9     work 15:11 30:9                      65:11 99:9
        227:12 229:14     322:18 327:9,9    207:3 298:19             X          135:10 151:3
        229:23 230:9      327:14 328:1     worked 92:17      X 4:1,10 5:1 6:1   155:22 156:18
        230:21 231:9     witnessed 122:7   working 118:19    x-ray 288:3        156:19 157:20
        232:23 234:10    witnesses 12:22    215:9,10                            234:14,15
        237:13,25        woman 52:1         290:16,17                Y          237:5 239:2
        238:15 239:6      120:6 134:23     workplace 92:7    yeah 12:24         244:3 259:22
        240:20 244:22     277:14 292:3     works 27:2          20:21 25:17    Yep 243:1
        245:9 246:3       311:25           world 47:24         33:21 34:8     yesterday 11:14
        247:9,22 248:3   woman's 107:24     74:20,23 92:10     42:2 60:25,25    11:22,23 13:21
        250:7 251:5,20    120:10 123:22    worried 231:19      63:10 89:6       13:24 31:11
        253:6,18 254:4    305:7,16         wouldn't 31:4       93:22 94:11      32:2 37:18,21
        254:13,19,25     women 58:13        58:15 129:5        102:7,23 104:4   43:23 75:19
        257:11 258:14     77:25 78:12       157:4 163:5        106:15 107:10 yield 306:9,16
        258:20 259:5      92:5,9,13,15      178:5 179:10       110:6 111:3      306:17
        259:10 260:10     93:15 94:13       179:25 185:25      118:2 120:24
        261:23 262:6      108:3,10          189:1,23           123:9 131:10           Z


                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 347 of 348 PageID:
                                   61121
                                   Robert Kurman, M.D.
                                                                                   Page 381

      Zellers 3:4 8:1,111:59 118:5                2          23 32:13 160:11   4:20 255:4
        326:2          1100 3:9           2 1:10 4:14 7:1    230 103:24        40 9:6 59:21
      zero 100:4       12 5:22 32:7         11:11,15,20,21     104:2             65:11 151:3
                         33:25 34:7         12:12 38:14      231 104:3         40-year 133:4
              0          184:2 214:20                        232 105:14        42nd 3:5
                                            42:25 100:1
      0.02 311:12        267:15,16,17       138:2 266:10     24 291:13         430-3400 3:6
        313:21           271:15 279:12      266:25 289:11    241 5:9           44113-7213 3:9
      02210 2:13         279:15           2:15 178:12        25 74:24 208:14   4497 1:16
      03 206:1         1216 5:14          2:34 178:15        255 5:12            327:19
                       1218 5:14          20 236:9 250:17    264 5:15          45 280:18
              1        127 5:14                              269 5:18            281:15
      1 4:12 10:15,19 13 6:4 67:2           273:3 330:15
                                          200 245:10         269-2343 2:6      45-day 281:2
        12:14 79:10,11   168:21 283:7                        27 5:8 217:14     454 89:12
        79:22 80:4,15                     2000 2:21
                         302:7            20004-1454 3:14    274,000 206:2     463-2400 3:15
        137:17,20      1301 5:8                              279 5:22
        160:8 161:16                      2007 276:12
                       14 6:6 32:10                          28 208:14                5
        188:15 189:22                       277:9,10
                         126:2,3 153:25     285:11,13,17     283 6:4          5 4:22 103:2,5
        191:15 193:1     159:2,14                            285 154:1          188:16,24
        194:8,23,25                         286:4 291:24
                         231:16 235:1       292:10,20        287 161:3,5,9      194:8 195:1
        205:17 299:2     255:19 306:13                       2nd 7:6            245:25 247:3
        311:11                              293:14,19,20
                         306:14 321:4     2009 77:9 89:2,8                      249:15
      1- 191:25 192:15 1410 2:12                                     3        5- 245:3
        195:9 200:4                         89:9 91:22
                       15 10:10 32:11     2011 132:9         3 4:18 75:10,13 5-micron 188:15
      1.3 205:16         32:11 39:1                            191:7,18,19      195:9 200:4
        290:22 291:2                        154:6 155:9,19
                         99:9 204:11,17     162:18 208:20      193:5,16,23,25   246:7,18
      1:02 118:8       15:14:19 322:20                         194:1,21 242:5   257:18
      10 4:12 5:15                        2012 102:20
                       1560 1:14            103:6              298:10 299:5   5:02 286:25
        188:15,24      16 36:10,11                           30 41:9,14       5:22 287:3
        189:22 191:15                     2014 65:17
                         236:7 237:7      2015 18:17 23:4      156:22 210:13 5:59 315:12
        193:1 264:2      240:4                                 281:2,6,15     50 215:21 311:6
        299:2                               207:1 320:9,20
                       16-2738 1:6        2017 211:21          290:19,25        312:25
      10-micron        18 145:13,14                            311:9 324:5    50-50 263:20
        191:25 192:16                     2018 290:16
                         194:2,22         2019 1:10 7:1,6      328:14         500 245:10
        245:4          19 2:8                                314,540 205:20   515 3:5
      10:31 61:13                           72:24 92:1
                       190 5:4              155:10 276:25    321 6:6          53 160:10
      10:53 61:16      190,000 207:1                         322 4:6          539 5:13
      100 1:13 245:13 19103-6996 2:22       319:6 322:5
                                          202 3:15           325 4:5          540 5:14
      100C 4:23        1960s 99:25                           334 2:6          58 205:12
        103:15                            207-0600 2:13
                       1965 74:15         213 3:6            3400 2:18        59,000 205:23
      102 4:22         1985 280:12                           36104 2:5        592-5000 3:10
      106 240:14,15                       215 2:22
                         283:22           216 3:10 5:8       37 311:11
      108 240:13       1991 283:22                           376 5:13 255:24          6
        241:1,4                           218 2:5                             6 5:4 135:4
                       1993 205:20        22 280:11
      11 4:14 5:18     1995 205:20                                   4          190:17 204:22
        195:17,21                           287:23 293:16    4 4:19 78:24       206:10 267:12
                         280:13 283:17      310:23
        228:8 269:24   1999 319:5                              79:2 193:17      267:13 285:25
        270:3 302:4                       227-8008 2:19      4:05 255:1         286:8,9


                    Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-8 Filed 05/29/19 Page 348 of 348 PageID:
                                   61122
                                    Robert Kurman, M.D.
                                                                     Page 382

      6:10 315:15        949 2:9,10
      6:23 326:3,5       95 161:17
      600 2:18             240:17
      617 2:13           950 3:9
      642 131:14         975 3:14
      648 5:14           98 205:23
      681 126:10         988-2706 2:22
        127:19,19        99 206:1
      682 159:12
      685 153:23
        154:2,3
              7
      7 5:8 216:25
        217:4,10
      70s 23:1 64:9
        99:25
      713 2:19
      720-1288 2:9
      720-1292 2:10
      75 4:18
      77002 2:18
      78 4:19
              8
      8 4:5 5:9 241:10
        241:16
      80 114:11 169:7
        245:13
      80s 99:25
      877.370.3377
        1:19
              9
      9 5:12 32:8
        108:17,20
        115:1 193:4,12
        193:18,20,21
        255:7,12
      9:26 1:15 7:2,6
      90 108:10 131:7
        131:12,22
      90071-2223 3:6
      917.591.5672
        1:19
      92660 2:9
      93 205:23


                     Golkow Litigation Services - 877.370.DEPS
